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                    UNITED STATES BANKRUPTCY COURT
                       MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION
                            www.flmb.uscourts.gov

IN RE:                                            Chapter 11 Case

RED LOBSTER MANAGEMENT LLC,                       Case No. 6:24-bk-02486-GER

      Debtor.
______________________________________________/



  SCHEDULES OF ASSETS AND LIABILITIES AND STATEMENT OF FINANCIAL
                             AFFAIRS
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                               UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION
                                       www.flmb.uscourts.gov

IN RE:                                                                    Chapter 11 Cases

RED LOBSTER MANAGEMENT LLC, 1                                             Case No. 6:24-bk-02486-GER
                                                                          Lead Case

                                                                          Jointly Administered with
RED LOBSTER RESTAURANTS LLC,                                              Case No. 6:24-bk-02487-GER
RLSV, INC.,                                                               Case No. 6:24-bk-02488-GER
RED LOBSTER CANADA, INC.,                                                 Case No. 6:24-bk-02489-GER
RED LOBSTER HOSPITALITY LLC,                                              Case No. 6:24-bk-02490-GER
RL KANSAS LLC,                                                            Case No. 6:24-bk-02491-GER
RED LOBSTER SOURCING LLC,                                                 Case No. 6:24-bk-02492-GER
RED LOBSTER SUPPLY LLC,                                                   Case No. 6:24-bk-02493-GER
RL COLUMBIA LLC,                                                          Case No. 6:24-bk-02494-GER
RL OF FREDERICK, INC.,                                                    Case No. 6:24-bk-02495-GER
RED LOBSTER OF TEXAS, INC.,                                               Case No. 6:24-bk-02496-GER
RL MARYLAND, INC.,                                                        Case No. 6:24-bk-02497-GER
RED LOBSTER OF BEL AIR, INC.,                                             Case No. 6:24-bk-02498-GER
RL SALISBURY, LLC,                                                        Case No. 6:24-bk-02499-GER
RED LOBSTER INTERNATIONAL HOLDINGS LLC,                                   Case No. 6:24-bk-02500-GER

      Debtors.
______________________________________________/

                                   GLOBAL NOTES AND
                       STATEMENTS OF LIMITATIONS, METHODOLOGY,
                        AND DISCLAIMERS REGARDING THE DEBTORS’
                           SCHEDULES OF ASSETS AND LIABILITIES
                          AND STATEMENTS OF FINANCIAL AFFAIRS

            Red Lobster Management LLC and its debtor affiliates, as debtors and debtors-in-
    possession in the above-captioned chapter 11 cases (collectively, the “Debtors”), filed their
    respective Schedules of Assets and Liabilities (each, a “Schedule” and, collectively, the
    “Schedules”) and Statements of Financial Affairs (each, a “Statement” and, collectively, the

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      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number are Red Lobster Management LLC (6889); Red Lobster Sourcing LLC (3075); Red Lobster Supply
      LLC (9187); RL Kansas LLC (2396); Red Lobster Hospitality LLC (5297); Red Lobster Restaurants
      LLC (4308); RL Columbia LLC (7825); RL of Frederick, Inc. (9184); RL Salisbury, LLC (7836); RL
      Maryland, Inc. (7185); Red Lobster of Texas, Inc. (1424); Red Lobster of Bel Air, Inc. (2240); RLSV,
      Inc. (6180); Red Lobster Canada, Inc. (4569); and Red Lobster International Holdings LLC (4661). The
      Debtors’ principal offices are located at 450 S. Orange Avenue, Suite 800, Orlando, FL 32801.
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    “Statements” and, together with the Schedules, the “Schedules and Statements”) with the
    United States Bankruptcy Court for the Middle District of Florida. The Debtors, with the
    assistance of their legal and financial advisors, prepared the unaudited Schedules and
    Statements in accordance with section 521 of title 11 of the United States Code, 11 U.S.C.
    §§ 101-1532 (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy
    Procedure (the “Bankruptcy Rules”).

           These global notes and statements of limitations, methodology, and disclaimers
    regarding the Debtors’ Schedules and Statements (the “Global Notes”) pertain to, are
    incorporated by reference in, and comprise an integral part of, each of the Schedules and
    Statements, and should be referred to, and referenced in connection with, any review of the
    Schedules and Statements. 2

        The Schedules and Statements reflect the Debtors’ reasonable efforts to report certain
financial information of each Debtor on a stand-alone, unconsolidated basis. The financial
information contained in the Schedules and Statements is limited in scope, covers a limited time
period, and is presented on a preliminary and unaudited basis. As such, the Schedules and
Statements have not been subject to procedures that would typically be applied to financial
statements prepared in accordance with accounting principles generally accepted in the United
States of America (“GAAP”) and do not include all of the information and footnotes required
by GAAP. Upon the application of such procedures, the financial information could be subject
to changes, which could be material. The Schedules and Statements neither purport to represent
financial statements prepared in accordance with GAAP, nor are they intended to be fully
reconciled with the financial statements of each Debtor.

        The Debtors historically prepared consolidated quarterly and annual financial statements.
Solely to comply with their obligations in chapter 11 to prepare and file the Schedules and
Statements, the Debtors have prepared the Schedules and Statements using the best information
presently available to them, which has been collected, maintained, and prepared in accordance
with their historical accounting practices. The Schedules and Statements generally reflect
operations and financial information of the Debtors on a non-consolidated basis, in a form not
maintained by the Debtors in the ordinary course of their business, and are not intended to fully
reconcile to the consolidated financial statements prepared by the Debtors. Accordingly, the
amounts listed in the Schedules and Statements will likely differ, at times materially, from the
historical consolidated financial reports. Because the Debtors’ accounting systems, policies, and
practices were developed to produce consolidated financial statements, rather than financial
statements by legal entity, it is possible that not all assets, liabilities, income, or expenses have
been recorded on the correct legal entity.

       In preparing the Schedules and Statements, the Debtors relied on financial data derived
from their books and records that was available at the time of such preparation. Although the

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      The Global Notes supplement, and are in addition to, any specific notes contained in each Debtor’s Schedules
      and Statements. The fact that the Debtors prepared any of the Global Notes that relates to an individual Debtor
      and its Schedules and Statements and not to another Debtor and its Schedules and Statements should not be
      interpreted as a decision by the Debtors to exclude the applicability of such Global Note to any of the Debtors’
      other Schedules and Statements. Each of the Global Notes applies to all Debtors’ Schedules and Statements.


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Debtors have made commercially reasonable efforts to ensure the accuracy and completeness of
the Schedules and Statements, subsequent information or discovery may result in material
changes to the Schedules and Statements. As a result, inadvertent errors or omissions may exist.
Accordingly, the Debtors and their directors, managers, officers, agents, attorneys, and financial
advisors do not guarantee or warrant the accuracy or completeness of the data that is provided
herein, and shall not be liable for any loss or injury arising out of or caused in whole or in part by
the acts, errors, or omissions, whether negligent or otherwise, in procuring, compiling,
collecting, interpreting, reporting, communicating, or delivering the information contained herein
or the Schedules and Statements. In no event shall the Debtors or their directors, managers,
officers, agents, attorneys, and financial advisors be liable to any third party for any direct,
indirect, incidental, consequential, or special damages (including, but not limited to, damages
arising from the disallowance of a potential claim against the Debtors or damages to business
reputation, lost business, or lost profits), whether foreseeable or not and however caused, even if
the Debtors or their directors, managers, officers, agents, attorneys, and financial advisors are
advised of the possibility of such damages.

        The Schedules and Statements have been signed by Nicholas Haughey, the Debtors’
Chief Restructuring Officer and an authorized signatory for each of the Debtors. Mr. Haughey
was assisted by the review and verification all of the Schedules and Statements by certain other
members of the Debtors’ management team. In reviewing the Schedules and Statements, Mr.
Haughey and other members of the Debtors’ management team have relied upon the efforts,
statements, advice, and representations of personnel of the Debtors and the Debtors’ advisors and
other professionals. Given the scale of the Debtors’ business, Mr. Haughey has not (and,
practically, could not have) personally verified the accuracy of each statement and representation
in the Schedules and Statements, including, but not limited to, statements and representations
concerning amounts owed to creditors, amounts owed by specific Debtors, any classification of
such amounts, and creditor addresses.

        Any audit, any future analysis of the information contained in the Schedules and
Statements (or the data there underlying), or any subsequent receipt of any information may
result in material changes in information requiring amendment of the Schedules and Statements.
Accordingly, the Schedules and Statements remain subject to further review and verification by
the Debtors. The Debtors reserve the right to amend the Schedules and Statements from time to
time as may be necessary or appropriate; provided that the Debtors, their agents, and their
advisors expressly do not undertake any obligation to amend, modify, recategorize, revise,
supplement, or update any of the information provided herein or to notify any third party should
the information be amended, modified, recategorized, revised, supplemented, or updated, except
to the extent required by applicable law.

        The Schedules and Statements should not be relied upon by any persons for information
relating to current or future financial condition, events, or performance of any of the Debtors or
their affiliates, as the information (including results of operations) contained therein are not
necessarily indicative of results which may be expected from any other period or for the full
year, and may not necessarily reflect the combined results of operations, financial position, and
schedule of receipts and disbursements in the future. The Schedules and Statements present the
Debtors’ best estimates regarding the information presented therein, but there can be no
assurance that such information is complete, and the Schedules and Statements may be subject to

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material revision.

                          Global Notes and Overview of Methodology

1. Description of the Cases. The Debtors commenced these voluntary cases under chapter 11
   of the Bankruptcy Code on May 19, 2024 (the “Petition Date”). The Debtors are authorized
   to operate their businesses and manage their properties as debtors in possession pursuant to
   sections 1107(a) and 1108 of the Bankruptcy Code. On May 20, 2024, the Court entered an
   order authorizing the joint administration of the cases pursuant to Bankruptcy Rule 1015(b)
   [Docket No. 62]. On May 31, 2024, the United States Trustee for the Middle District of
   Florida (the “U.S. Trustee”) appointed an official committee of unsecured creditors pursuant
   to section 1102(a)(1) of the Bankruptcy Code (the “Committee”) [Docket No. 250].
   Notwithstanding the joint administration of the Debtors’ cases for procedural purposes, each
   Debtor has filed its own Schedules and Statements. The asset information provided in the
   Schedules and Statements represents the Debtors’ asset data as of April 28, 2024, the date of
   the end of the Debtors’ fiscal month immediately preceding the commencement of these
   chapter 11 cases, and the Debtors’ liability data is as of the close of business on the Petition
   Date, in each case except as otherwise noted.

2. Global Notes Control. Disclosure of information in one or more Schedules, one or more
   Statements, or one or more exhibits or attachments to the Schedules or Statements, even if
   incorrectly placed, shall be deemed to be disclosed in the correct Schedules, Statements,
   exhibits, or attachments. In the event that the Schedules and Statements differ from any of
   the Global Notes, the Global Notes shall control.

3. Reservation of Rights. Commercially reasonable efforts have been made to prepare and
   file complete and accurate Schedules and Statements; however, as noted above, inadvertent
   errors or omissions may exist. The Debtors reserve all rights to amend, modify,
   recategorize, revise, supplement, or update the Schedules and Statements as may be
   necessary or appropriate but do not undertake any obligation to do so, except to the extent
   required by applicable law. Nothing contained in the Schedules, Statements, or Global
   Notes shall constitute a waiver of rights with respect any issue in these chapter 11 cases,
   including, but not limited to, any rights under the Bankruptcy Code (including with respect
   to the automatic stay) and rights or claims the Debtors may hold against any third party or
   issues involving substantive consolidation, defenses, statutory or equitable subordination,
   and/or causes of action arising under the provisions of chapter 5 of the Bankruptcy Code
   and any other relevant non-bankruptcy laws to recover assets or avoid transfers. Any
   specific reservation of rights contained elsewhere in the Global Notes does not limit in any
   respect the general reservation of rights contained in this paragraph.

       a.      No Admission. Nothing contained in the Schedules and Statements is intended
               as, or should be construed as, an admission, concession, or stipulation of the
               validity of any claim against any Debtors, any assertion made therein or herein,
               or a waiver of any of the Debtors’ rights to dispute any claim or assert any cause
               of action or defense against any party.



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b.   Claims Description. Certain of the Debtors’ Schedules identify creditors and
     set forth the Debtors’ estimates of the claims of creditors as of the Petition Date.
     While the Debtors believe they were diligent in their efforts to include all such
     required claims and creditors, it is possible that certain claims and creditors may
     have been inadvertently excluded. Any failure to designate a claim listed on the
     Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does
     not constitute an admission, concession, or stipulation by the Debtors that such
     amount is not “disputed,” “contingent,” or “unliquidated.” The Debtors reserve
     the right to dispute and to assert setoff rights, counterclaims, and defenses to any
     claim reflected on their Schedules and Statements on any grounds, including, but
     not limited to, amount, liability, priority, status, and classification, and to
     otherwise subsequently designate any claim as “disputed,” “contingent,” or
     “unliquidated.” The listing of a claim does not constitute an admission,
     concession, or stipulation as to any liability by the Debtors, and the Debtors
     reserve the right to amend the Schedules and Statements accordingly.

c.   Recharacterization. The Debtors have made commercially reasonable efforts
     to correctly characterize, classify, categorize, and designate the claims, assets,
     executory contracts, unexpired leases, and other items reported in the Schedules
     and Statements. Nevertheless, due to the complexity of the Debtors’ business,
     the Debtors may not have accurately characterized, classified, categorized, or
     designated certain items and/or may have omitted certain items. Accordingly,
     the Debtors reserve all rights to recharacterize, reclassify, recategorize, or
     redesignate items reported in the Schedules and Statements at a later time as
     necessary or appropriate, including, without limitation, whether contracts or
     leases listed herein were deemed executory or unexpired as of the Petition Date
     and remain executory and unexpired on a postpetition basis.

d.   Classifications. The listing of a claim (i) on Schedule D as “secured,” (ii) on
     Schedule E/F as either “priority” or “unsecured priority,” or (iii) listing a contract
     or lease on Schedule G as “executory” or “unexpired” does not constitute an
     admission, concession, or stipulation by the Debtors of the legal rights of the
     claimant or contract counterparty, or a waiver of the Debtors’ rights to
     recharacterize or reclassify such claim or contract pursuant to a schedule
     amendment, claim objection, or otherwise. Moreover, although the Debtors may
     have scheduled claims of various creditors as secured claims for informational
     purposes, no current valuation of the Debtors’ assets in which such creditors may
     have a security interest has been undertaken. Except as provided in an order of
     the Court, including, without limitation, the Final Order (I) Authorizing the
     Debtors to Obtain Postpetition Financing, (II) Authorizing the Debtors to Use
     Cash Collateral on a Limited Basis, (III) Granting Liens and Providing
     Superpriority Administrative Expense Status, (IV) Granting Adequate
     Protection, (V) Modifying the Automatic Stay, and (VI) Granting Related Relief
     [Docket No. 393] (the “DIP Order”), the Debtors reserve all rights to dispute and
     challenge the secured nature or amount of any such creditor’s claims or the
     characterization of the structure of any transaction, or any document or
     instrument related to such creditor’s claim.

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e.       Estimates and Assumptions. As noted above, the Debtors have historically
         prepared financial statements on a consolidated basis, and it is on this basis that
         the Debtors continue to prepare and report financials in the ordinary course of
         their business. To prepare these Schedules and Statements and report
         information on a legal-entity‑by‑legal-entity basis, the Debtors were required to
         make certain reasonable estimates and assumptions with respect to the reported
         amounts of assets and liabilities, the amount of contingent assets and contingent
         liabilities, and the reported amounts of revenues and expenses as of the Petition
         Date. Actual results could differ from such estimates. The Debtors reserve all
         rights to amend the reported amounts of assets and liabilities to reflect changes
         in those estimates or assumptions.

f.       Causes of Action. Despite commercially reasonable efforts, the Debtors may
         not have identified and/or set forth all of their causes of action (filed or potential)
         against third parties as assets in their Schedules and Statements, including,
         without limitation, avoidance actions arising under chapter 5 of the Bankruptcy
         Code and actions under other relevant bankruptcy and non-bankruptcy laws to
         recover assets. The Debtors have not performed or prepared all potential
         analyses of potential avoidance actions arising under chapter 5 of the Bankruptcy
         Code or actions under other relevant bankruptcy and non-bankruptcy laws to
         recover assets. The Debtors reserve all rights with respect to any claim,
         controversy, demand, right, action, suit, obligation, liability, debt, account,
         defense, offset, power, privilege, license, lien, indemnity, guaranty, interest,
         damage, remedy, cause of action, proceeding, agreement, or franchise of any
         kind or character whatsoever, whether known or unknown, foreseen or
         unforeseen, existing or hereinafter arising, contingent or non-contingent,
         liquidated or unliquidated, secured or unsecured, assertable, directly or
         derivatively, matured or unmatured, suspected or unsuspected, whether arising
         before, on, or after the Petition Date, in contract, in tort, at law, in equity, or
         otherwise. Causes of action also include: (i) all rights of setoff, counterclaim, or
         recoupment and claims under contracts or for breaches of duties imposed by law
         or in equity; (ii) any claim based on, relating to, or in any manner arising from,
         in whole or in part, tort, breach of contract, breach of fiduciary duty, violation of
         local, state, federal, or foreign law, or breach of any duty imposed by law or in
         equity, including, without limitation, securities laws, negligence, and gross
         negligence; (iii) the right to object to or otherwise contest claims or interests;
         (iv) claims pursuant to sections 362 or any section of chapter 5 of the
         Bankruptcy Code; (v) such Claims and defenses as fraud, mistake, duress, and
         usury, and any other defenses set forth in section 558 of the Bankruptcy Code;
         and (vi) any avoidance actions arising under chapter 5 of the Bankruptcy Code
         or under similar local, state, federal, or foreign statutes and common law,
         including, without limitation, fraudulent transfer laws, and neither the Global
         Notes nor the Schedules and Statements shall be deemed a waiver of any such
         claims, causes of action, or avoidance actions, or in any way prejudice or impair
         the assertion of such claims or causes of action.



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g.   Intellectual Property Rights. Exclusion of certain intellectual property on the
     Schedules and Statements shall not be construed to be an admission, concession,
     or stipulation that such intellectual property rights have been abandoned, have
     been terminated, or otherwise have expired by their terms, or have been assigned
     or otherwise transferred pursuant to a sale, acquisition, or other transaction.
     Conversely, inclusion of certain intellectual property on the Schedules and
     Statements shall not be construed to be an admission, concession, or stipulation
     that such intellectual property rights have not been abandoned, have not been
     terminated, or otherwise have not expired by their terms, or have not been
     assigned or otherwise transferred pursuant to a sale, acquisition, or other
     transaction. The Debtors have made every effort to attribute intellectual
     property to the rightful Debtor owner; however, in some instances, intellectual
     property attributed to one Debtor’s ownership may, in fact, be owned by another
     Debtor. Accordingly, the Debtors reserve all rights with respect to the legal
     status of any and all intellectual property rights.

h.   Insiders. The Debtors have attempted to include all payments made on or
     within twelve months before the Petition Date to any individual (and their
     relatives) or entity who, in the Debtors’ good faith belief, may be deemed an
     “insider.” As to each Debtor, an individual or entity is designated as an
     “insider” for the purposes of the Schedules and Statements if such individual or
     entity, based on the totality of the circumstances, has at least a controlling interest
     in, or exercises sufficient authority over, the Debtor so as to dictate corporate
     policy and the disposition of corporate assets.             The Debtors have also
     considered the requirements of potential GAAP and potential Securities and
     Exchange Commission (the “SEC”) reporting standards and their public
     disclosures with respect to designating certain individuals and entities as
     “insiders” herein.

     The listing or omission of a party as an “insider” for the purposes of the
     Schedules and Statements is for informational purposes only and is not intended
     to be, nor should be construed as, an admission, concession, or stipulation that
     such parties are insiders for purposes of section 101(31) of the Bankruptcy Code.
     Information regarding the individuals or entities listed as insiders in the
     Schedules and Statements may not be used for: (i) the purposes of determining
     (a) control of the Debtors; (b) the extent to which any individual or entity
     exercises or exercised management responsibilities or functions; (c) corporate
     decision-making authority over the Debtors; or (d) whether such individual or
     entity (or the Debtors) could successfully argue that it is not or was not an
     insider under applicable law, including, without limitation, the Bankruptcy Code
     and federal securities laws, or with respect to any theories of liability or (ii) any
     other purpose. Furthermore, certain of the individuals or entities identified as
     insiders may not have been insiders for the entirety of the twelve-month period
     before the Petition Date; nevertheless, the Debtors have included such individuals
     or entities herein out of an abundance of caution. The Debtors reserve all rights
     with respect thereto.


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4. Methodology

     a.    Basis of Presentation. For financial reporting purposes, the Debtors generally
           prepare consolidated financial statements, which include financial information
           for the Debtors and certain non-Debtor affiliates. Combining the assets and
           liabilities set forth in the Debtors’ Schedules and Statements would result in
           amounts that would be substantially different from financial information that
           would be prepared on a consolidated basis under GAAP. Therefore, as noted
           above, these Schedules and Statements neither purport to represent financial
           statements prepared in accordance with GAAP nor are they intended to fully
           reconcile to the financial statements prepared by the Debtors. Unlike the
           consolidated financial statements, these Schedules and Statements, except where
           otherwise indicated, reflect the assets and liabilities of each separate Debtor, as
           reasonably determined or estimated by the Debtors. Information contained in
           the Schedules and Statements has been derived from the Debtors’ books and
           records and historical financial statements.

           The Debtors attempted to attribute the assets and liabilities, certain required
           financial information, and various cash disbursements to the proper Debtor
           entity. Nevertheless, due to limitations within Debtors’ accounting systems, it is
           possible that not all assets, liabilities, or amounts of cash disbursements have
           been recorded with the correct legal entity on the Schedules and Statements.
           Accordingly, the Debtors reserve all rights to supplement and/or amend the
           Schedules and Statements in this regard.

           Given, among other things, the uncertainty surrounding the collection,
           ownership, and valuation of certain assets and the amount and nature of certain
           liabilities, a Debtor may report more assets than liabilities. Such report shall not
           constitute an admission, concession, or stipulation that such Debtor was solvent
           on the Petition Date or at any time prior to or after the Petition Date. Likewise,
           a Debtor reporting more liabilities than assets shall not constitute an admission,
           concession, or stipulation that such Debtor was insolvent on the Petition Date or
           at any time prior to or after the Petition Date. For the avoidance of doubt,
           nothing contained in the Schedules and Statements is indicative of the Debtors’
           enterprise value. The Schedules and Statements contain unaudited information
           that is subject to further review and potential revisions.

     b.    Reporting Date. The asset information provided herein, except as otherwise
           noted, represents the Debtors’ asset data as of April 28, 2024, the date of the end
           of the Debtors’ fiscal month immediately preceding the commencement of these
           chapter 11 cases and the date of the Debtors’ month-end closure to their balance
           sheet, and the Debtors’ liability data is as of the close of business on the Petition
           Date, adjusted for authorized payments under the First Day Orders (as defined
           herein).

     c.    Confidentiality or Sensitive Information. Consistent with the Order Granting
           Debtors’ Emergency Motion for Entry of an Order (I) Authorizing the Debtors to

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     File (A) a Consolidated Creditor Matrix and (B) a Consolidated List of the Top
     Thirty Unsecured Creditors; and (II) Authorizing the Debtors to Suppress
     Certain Personally Identifiable Information for Individual Creditors, Employees,
     and Parties in Interest [Docket No. 201] (the “Creditor Matrix Order”), the
     Schedules and Statements intentionally redact certain information due to
     concerns for the privacy of an individual. In certain instances, the Schedules and
     Statements may intentionally omit or redact certain information due to concerns
     about the confidential or commercially sensitive nature of certain information.
     Any alterations or redactions in the Schedules and Statements are limited only to
     what the Debtors believe is necessary to protect the Debtors or the applicable
     third party, and the Debtors have provided interested parties with sufficient
     information to discern the nature of the listing. The Debtors may also be
     authorized or required to redact certain information from the public record
     pursuant to orders of the Court authorizing the Debtors to redact, seal, or
     otherwise protect such information from public disclosure.

d.   Consolidated Entity Accounts Payable and Disbursement Systems.
     Receivables and payables among the Debtors and among the Debtors and their
     non-Debtor affiliates are reported on Statement 4, Schedule A/B, and
     Schedule E/F, respectively, per the Debtors’ unaudited books and records. As
     described more fully in the Debtors’ Emergency Motion for Interim and Final
     Orders (A) Authorizing the Debtors to (I) Continue to Use Existing Cash
     Management System, (II) Maintain Bank Accounts and Continue Use of Existing
     Business Forms and Checks, (III) Honor Certain Related Prepetition and
     Postpetition Obligations, and (IV) Perform Intercompany Transactions,
     (B) Granting a Waiver of Certain Investment and Deposit Guidelines, and
     (C) Granting Related Relief [Docket No. 37] (the “Cash Management Motion”),
     the Debtors utilize an integrated, centralized cash management system in the
     ordinary course of business to collect, concentrate, and disburse funds generated
     from their operations (the “Cash Management System”). The Debtors maintain a
     consolidated accounts payable and disbursements system to pay operating and
     administrative expenses through various disbursement accounts. The Cash
     Management System is supported by over 700 bank accounts.

     The listing of any amounts with respect to receivables and payables is not, and
     should not be construed as, an admission, concession, or stipulation regarding
     the allowance, classification, validity, or priority of such account or
     characterization of such balances as debt, equity, or otherwise. For the
     avoidance of doubt, the Debtors reserve all rights, claims, and defenses in
     connection with any and all intercompany receivables and payables.

     Prior to the Petition Date, the Debtors and certain non-Debtor affiliates engaged
     in intercompany transactions (the “Intercompany Transactions”) in the ordinary
     course of business, which resulted in intercompany receivables and payables (the
     “Intercompany Claims”). The Debtors maintain records of the Intercompany
     Claims. Pursuant to the Final Order Granting Debtors’ Emergency Motion for
     Interim and Final Orders (A) Authorizing the Debtors to (I) Continue to Use

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      Existing Cash Management System, (II) Maintain Bank Accounts and Continue
      Use of Existing Business Forms and Checks, (III) Honor Certain Related
      Prepetition and Postpetition Obligations, and (IV) Perform Intercompany
      Transactions, (B) Granting a Waiver of Certain Investment and Deposit
      Guidelines, and (C) Granting Related Relief [Docket No. 394] (the “Cash
      Management Order”), the Court granted the Debtors authority to continue to
      engage in Intercompany Transactions in the ordinary course of business, subject
      to certain limitations set forth therein. Thus, intercompany balances as of the
      Petition Date, as set forth in Schedule A/B and Schedule E/F, may not accurately
      reflect current positions.

      In addition, in the ordinary course of business, certain of the Debtors act on
      behalf of other Debtors. More specifically, Debtor Red Lobster Management
      LLC (“Red Lobster Management”) makes payments on behalf of other Debtors,
      resulting in an intercompany charge and a liability to Red Lobster Management
      owed by the corresponding other Debtor. Due to historical accounting practices,
      the Debtors are unable to ascertain with precision certain intercompany balances
      among specific Debtors and among Debtors and non-Debtor affiliates.
      Commercially reasonable efforts have been made to indicate the ultimate
      beneficiary of a payment or obligation. Whether a particular payment or
      obligation was incurred by the entity actually making the payment or incurring
      the obligation is a complex question of applicable non-bankruptcy law, and
      nothing herein constitutes an admission, concession, or stipulation that any
      Debtor entity is an obligor with respect to any such payment. The Debtors
      reserve all rights to recharacterize or reclassify any payment or obligation as
      attributable to another entity and all rights with respect to the proper accounting
      and treatment of such payments and liabilities.

e.    Duplication. Certain of the Debtors’ assets, liabilities, and prepetition payments
      may properly be disclosed in response to multiple parts of the Statements and
      Schedules. To the extent these disclosures would be duplicative, the Debtors
      have determined to only list such assets, liabilities, and prepetition payments
      once.

f.    Net Book Value of Assets. In many instances, current market valuations are not
      maintained by or readily available to the Debtors. It would be prohibitively
      expensive, unduly burdensome, and an inefficient use of estate resources for the
      Debtors to obtain current market valuations for all assets. As such, unless
      otherwise indicated, net book values set forth in these Schedules and Statements
      are presented as of the Petition Date for all assets. When necessary, the Debtors
      have indicated that the value of certain assets is “Unknown” or “Undetermined.”
      Amounts ultimately realized may vary materially from net book value (or other
      value so ascribed). Accordingly, the Debtors reserve all rights to amend,
      supplement, and adjust the asset values set forth in the Schedules and
      Statements. Assets that have been fully depreciated or that were expensed for
      accounting purposes either do not appear in these Schedules and Statements or
      are listed with a zero-dollar value, as such assets have no net book value. The

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      omission of an asset from the Schedules and Statements does not constitute a
      representation regarding the ownership of such asset, and any such omission
      does not constitute a waiver of any rights the Debtors have with respect to such
      asset. Nothing in the Debtors’ Schedules and Statements shall be, or shall be
      deemed to be, an admission, concession, or stipulation that any Debtor was
      solvent or insolvent as of the Petition Date or any time prior to or after the
      Petition Date.

g.    Currency. All amounts shown in the Schedules and Statements are in U.S.
      Dollars, unless otherwise indicated. The Debtors converted foreign-currency
      amounts to U.S. dollars using exchange rates from the Federal Reserve as of the
      close of business on May 19, 2024.

h.    Payment of Prepetition Claims Pursuant to First Day Orders. Following the
      Petition Date, the Court entered various orders authorizing, but not directing, the
      Debtors to, among other things, pay certain prepetition: (i) service fees and
      charges assessed by the Debtors’ banks; (ii) insurance and surety obligations;
      (iii) employee wages, salaries, and related items (including, but not limited to,
      employee benefit programs and supplemental workforce obligations); (iv) taxes,
      license fees, and other assessments of governmental units; (v) customer program
      obligations; and (vi) certain vendor obligations (collectively, the “First Day
      Orders”).     As such, outstanding liabilities may have been reduced by
      Court-approved postpetition payments made on account of prepetition payables.
      Where and to the extent these liabilities have been satisfied, they are not listed in
      the Schedules and Statements, unless otherwise indicated. The Debtors reserve
      the right to update the Schedules and Statements to reflect payments made
      pursuant to an order of the Court (including the First Day Orders).

i.    Other Paid Claims. To the extent the Debtors have reached any postpetition
      settlement with a vendor or other creditor, the terms of such settlement will
      prevail, supersede amounts listed in the Schedules and Statements, and shall be
      enforceable by all parties, subject to any necessary Court approval. To the extent
      the Debtors pay any of the claims listed in the Schedules and Statements
      pursuant to any orders entered by the Court, the Debtors reserve all rights to
      amend and supplement the Schedules and Statements and take other action,
      including, without limitation, filing claims objections, as is necessary and
      appropriate to avoid overpayment or duplicate payment for such liabilities.

j.    Setoffs. The Debtors routinely incur setoffs in the ordinary course of business.
      Such setoffs and nettings may occur due to a variety of transactions or disputes,
      including, but not limited to, intercompany transactions, counterparty
      settlements, pricing discrepancies, rebates and other vendor payments, returns,
      warranties, refunds, and negotiations and/or other disputes between the Debtors
      and their customers or vendors. In accordance with Debtors’ agreements with
      their vendors and other contract counterparties, these amounts are set off on a
      reoccurring basis against future revenues (or as a reduction to certain costs, as the
      case may be) in a normal-course reconciliation process with these partners.

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      Certain of these ordinary-course setoffs are not independently accounted for, and,
      as such, may be excluded from the Schedules and Statements. Any setoff of a
      prepetition debt to be applied against the Debtors is subject to the automatic stay
      and must comply with section 553 of the Bankruptcy Code. The Debtors reserve
      all rights to challenge any setoff and/or recoupment rights that may be asserted
      against them, including, but not limited to, any and all rights preserved pursuant
      to section 558 of the Bankruptcy Code.

k.    Property and Equipment. Unless otherwise indicated, owned property and
      equipment are stated at net book value. Certain intangibles are listed in the asset
      schedules for the applicable Debtors. While the Debtors have endeavored to
      attribute ownership of such property and equipment to the appropriate Debtor,
      such treatment may not reflect actual legal ownership.

      The Debtors may lease furniture, fixtures, and equipment from certain
      third-party lessors. Any such leases are set forth in the Schedules and
      Statements. Nothing in the Statements or Schedules is or shall be construed as an
      admission, concession, determination, or stipulation as to the legal status of any
      lease (including whether any lease is a true lease or a financing arrangement),
      and the Debtors reserve all rights with respect to any of such issues, including,
      but not limited to, the recharacterization thereof.

l.    Liens. The inventories, property, and equipment listed in the Statements and
      Schedules are presented without consideration of any asserted mechanics’,
      materialmen’s, or similar liens that may attach (or have attached) to such
      inventories, property, and equipment, and the Debtors reserve all rights with
      respect to such liens (if any). Any liens under the Uniform Commercial Code, as
      adopted in any relevant jurisdiction, are listed on Schedule D as of the Petition
      Date.

m.    Excluded Assets and Liabilities. In their efforts to prepare the Schedules and
      Statements, the Debtors have excluded certain assets and liabilities otherwise
      included in their financial statements or books and records. Certain liabilities
      resulting from accruals, liabilities recognized in accordance with GAAP, and/or
      estimates of long-term liabilities either are not payable at this time or have not
      yet been reported. Therefore, they do not represent specific rights to payment or
      other claims as of the Petition Date and are not otherwise set forth in the
      Schedules. Additionally, certain deferred assets, charges, accounts, or reserves
      recorded for GAAP reporting purposes only, and certain assets with a net book
      value of zero, are not included in the Schedules. Other excluded categories of
      assets and liabilities include, but are not limited to, deferred tax assets and
      liabilities, deferred income, deferred charges, self-insurance reserves, favorable
      lease rights, and unfavorable lease liabilities. In addition, and as set forth above,
      the Debtors may have excluded amounts for which the Debtors have paid or
      have been granted authority to pay pursuant to the First Day Orders or other
      orders that may be entered by the Court. Other immaterial assets and liabilities
      may also have been excluded.

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n.    Undetermined Amounts. The description of an amount as “unknown,”
      “undetermined,” or any similar characterization is not intended to reflect upon
      the materiality of such amount.

o.    Totals. All totals that are included in the Schedules and Statements represent
      totals of all the known amounts included in the Schedules and Statements and
      exclude items identified as “unknown,” “undetermined,” or any similar
      characterization. If there are unknown or undetermined amounts that represent
      valid, viable, or valuable assets or liabilities, the actual totals may be materially
      different from the listed totals. The description of an amount as “unknown” or
      “undetermined” is not intended to reflect upon the materiality of such amount.
      To the extent a Debtor is a guarantor of debt held by another Debtor, the
      amounts reflected in these Schedules are inclusive of each Debtor’s guarantor
      obligations.

p.    Credits and Adjustments. The claims of individual creditors for, among other
      things, goods, products, services, or taxes are listed as the amounts entered on
      the Debtors’ books and records and may either (i) not reflect credits, allowances,
      or other adjustments due from such creditors to the Debtors or (ii) be net of
      accrued credits, allowances, rebates, trade debits, or other adjustments that are
      actually owed by a creditor to the Debtors on a postpetition basis on account of
      such credits, allowances, or other adjustments earned from prepetition payments
      and postpetition payments, if applicable. The Debtors reserve all rights with
      regard to such credits, allowances, and other adjustments, including, but not
      limited to, the right to assert claims objections and/or setoffs with respect to the
      same.

q.    Guarantees and Other Secondary Liability Claims. The Debtors exercised
      their commercially reasonable efforts to locate and identify guarantees and other
      secondary liability claims (the “Guarantees”) in their secured financings, debt
      instruments, leases, and other agreements. Nevertheless, a review of these
      agreements, specifically the Debtors’ unexpired leases and executory contracts,
      is ongoing. Where such Guarantees have been identified, they have been
      included in the relevant Schedules G and H for the affected Debtor or Debtors.
      The Debtors have reflected the obligations under the Guarantees for both the
      primary obligor and the guarantors with respect to their secured financings, debt
      instruments, leases, and other such agreements on Schedule H. Guarantees
      embedded in the Debtors’ executory contracts, unexpired leases, secured
      financings, debt instruments, leases, and other agreements inadvertently may
      have been omitted. The Debtors may identify additional Guarantees as they
      continue their review of their books and records and contractual agreements.
      The Debtors reserve their rights, but are not required, to amend the Schedules
      and Statements if additional Guarantees are identified.

r.    Leases. The Debtors have not included the future obligations of any capital or
      operating leases in the Schedules and Statements. To the extent that there was
      an amount outstanding on account of such lease as of the Petition Date, the

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                 creditor has been included on Schedule E/F of the Schedules. In the ordinary
                 course of business, certain of the Debtors may enter into agreements titled as
                 leases for property, other property interests, and/or equipment from third-party
                 lessors for use in the daily operation of their business. Any such prepetition
                 obligations that are known to the Debtors have been listed on Schedule F, the
                 underlying lease agreements are listed on Schedule G or, if the leases are in the
                 nature of real property interests under applicable state laws, on Schedule A/B.
                 Nothing in the Schedules and Statements is, or shall be construed to be, an
                 admission, concession, determination, or stipulation as to the legal status of any
                 lease (including whether any lease is a true lease, a financing arrangement, or a
                 real property interest), and the Debtors reserve all rights with respect to such
                 issues.

       s.        Executory Contracts. Although the Debtors made diligent efforts to attribute
                 an executory contract to its rightful Debtor, in certain instances, the Debtors may
                 have inadvertently failed to do so. Accordingly, the Debtors reserve all rights
                 with respect to the named parties of any and all executory contracts, including
                 the right to amend Schedule G.

       t.        Allocation of Liabilities. The Debtors, in consultation with their advisors, have
                 sought to allocate liabilities between the prepetition and postpetition periods
                 based on the information and research that was conducted in connection with the
                 preparation of the Schedules and Statements. As additional information
                 becomes available and further research is conducted, the allocation of liabilities
                 between prepetition and postpetition periods may change. The Debtors reserve
                 the right to amend and/or supplement the Schedules and Statements as they
                 deem appropriate in this regard.

       u.        Unliquidated Claim Amounts. Claim amounts that could not be readily
                 quantified by the Debtors are scheduled as “unliquidated.”

       v.        Umbrella or Master Agreements. Contracts and leases listed in the Schedules
                 and Statements may be umbrella, master, or national agreements that cover
                 relationships with some or all of the Debtors. Where relevant, such agreements
                 have been listed in the Schedules and Statements only for the Debtor entity that
                 signed the original umbrella or master agreement. Other Debtors, however, may
                 be liable together with such Debtor on account of such agreements and the
                 Debtors reserve all rights to amend the Schedules to reflect changes regarding
                 the liability of the Debtors with respect to such agreements, if appropriate. The
                 master service agreements or other ancillary documents have been listed in
                 Schedule G, but do not reflect any decision by the Debtor as to whether or not
                 such agreements are executory in nature.

            Notes Specific to Certain of the Debtors’ Schedules of Assets and Liabilities

        Schedules A/B, D, E/F, G, and H may contain explanatory or qualifying notes that pertain
to the information provided in the Schedules. Those Schedule-specific notes are incorporated

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herein by reference. Unless otherwise noted, the asset totals listed on the Schedules are derived
from amounts included in the Debtors’ books and records as of the Petition Date. To the extent
there are unknown or undetermined amounts, the actual total may be different from the total
listed.

1. Schedule A/B

       a.     Part 1. The cash amounts listed are as of the Petition Date for the corresponding
              Debtor and reflect the bank balance, not the net book value. The Debtors have
              excluded “Change Funds” from question 2, which represent small amounts of
              cash (approximately $1,000) maintained at each of the Debtors’ restaurants and
              used to provide change to customers.

       b.     Part 2. The Debtors maintain certain deposits in the ordinary course of their
              business operations. These deposits are included in the Schedules for the
              appropriate legal entity. Types of deposits include, among other things, security
              deposits and utility deposits. Certain prepaid or amortized assets are not listed in
              Part 2 in accordance with the Debtors’ accounting policies. The amounts listed in
              Part 2 do not necessarily reflect values that the Debtors will be able to collect or
              realize.

       c.     Part 3. The Debtors’ accounts receivable information includes receivables from
              the Debtors’ customers, vendors, or third parties, which are calculated net of any
              amounts that, as of the Petition Date, may be owed to such parties in the form of
              offsets or other price adjustments pursuant to the Debtors’ customer programs
              and day-to-day operations or may, in the Debtors’ opinion, be difficult to collect
              from such parties due to the passage of time or other circumstances. The
              accounts receivable balances in this section exclude intercompany receivables
              and credit card receivables, which the Debtors historically have treated (and treat
              for purposes of the Schedules and Statements) as cash equivalents.

       d.     Part 4. Part 4 identifies only subsidiaries owned directly by the Debtor entity.
              Subsidiaries owned indirectly by the Debtor entity are not listed. Ownership
              interests in subsidiaries, partnerships, and joint interests have been listed in
              Schedule A/B, Question 15 as undetermined amounts on account of the fact that
              the fair market value of such ownership is dependent on numerous variables and
              factors and may differ significantly from their net book value.

       e.     Part 7. Actual realizable values may vary significantly relative to net book
              values as of the Petition Date. From time to time, the Debtors liquidate certain
              assets, including furniture, fixtures, and equipment, in connection with the
              closure of certain restaurant locations. Certain of such liquidations are reported
              on Statement 13 of the applicable Debtor’s Statements. The Debtors have
              historically accounted for (and continue to account for in the ordinary course of
              business) furniture, fixtures, and certain leasehold improvements on a combined
              basis. Due to this historical accounting treatment and associated record-keeping
              practices, the Debtors are unable to separately disclose furniture, fixtures, and

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      certain leasehold improvements and have listed them as a combined entry in the
      Schedules.

f.    Part 8. Property leased by the Debtors is listed in Schedule G and is not listed
      in Part 8 of Schedule A/B, with the exception of any lease or security deposits for
      such property, which is listed on Schedule A/B. Actual realizable values of the
      assets identified may vary significantly relative to net book values as of the
      Petition Date.

g.    Part 9. Property leased by the Debtors is listed in both Part 9 of Schedule A/B
      and Schedule G. Furthermore, property values are scheduled in accordance with
      the Debtors’ books and records, which may not comport with the legal owner of
      record. Actual realizable values of the assets identified may vary significantly
      relative to net book values as of the Petition Date. The Debtors reserve all rights
      to recharacterize their interests in real property at a later date. Due to the large
      volume of leasehold improvements across various locations, it is not practicable
      nor feasible for the Debtors to list each individually.

h.    Part 10. Part 10 identifies the various trademarks, patents, environmental
      permits, and website domains owned and maintained by the Debtors. The
      Schedules may not list the value of such intangible assets as no recent appraisals
      have been performed. Various software licenses the Debtors use for its
      operations, which are easily obtainable and hold minimal value, are not included.

i.    Part 11. The Debtors maintain various insurance policies administered by
      multiple third-party insurance carriers and various surety bonds provided by
      multiple third-party sureties. The insurance policies provide coverage for,
      among other things, the Debtors’ property, general liability, automobile liability,
      transportation liability, cyber liability, umbrella coverage, casualty liability,
      fiduciary liability, pollution liability, and directors’ and officers’ liability
      (including tail coverage). The Debtors more fully describe such policies in the
      Debtors’ Emergency Motion for Authorization to (I) Continue to Administer
      Insurance Policies, Surety Bonds and Related Agreements; (II) Honor Certain
      Obligations in Respect Thereof; and (III) for Related Relief [Docket No. 39] and
      the Debtors’ Emergency Motion for Entry of an Order (I) Authorizing the
      Debtors to Enter into the New Insurance Program, (II) Authorizing Assumption
      of the Existing Insurance Program, and (III) Granting Related Relief [Docket
      No. 41] (collectively, the “Insurance Motions”). Any policies owned by
      suppliers to which Debtor entities may have been added as a beneficiary are not
      included.

      In addition, the Debtors have attempted to list known causes of action and other
      claims. Potential preference actions and/or fraudulent transfer actions were not
      listed because the Debtors have not completed an analysis of such potential
      claims. The Debtors’ failure to list any cause of action, claim, or right of any
      nature is not an admission, concession, or stipulation that such cause of action,


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            claim, or right does not exist, and should not be construed as a waiver of such
            cause of action, claim, or right.

2. Schedule D

      a.    The claims listed on Schedule D, as well as the guarantees of those claims listed
            on Schedule H, arose and were incurred on various dates. To the best of the
            Debtors’ knowledge, all claims listed on Schedule D arose, or were incurred
            before the Petition Date.

      b.    Except as otherwise agreed or stated pursuant to a stipulation, agreed order, or
            general order entered by the Court that is or becomes final, the Debtors and/or
            their estates reserve the right to dispute and challenge the validity, perfection, or
            immunity from avoidance of any lien purported to be granted or perfected in any
            specific asset to a creditor listed on Schedule D of any Debtor and, subject to the
            foregoing limitations, note as follows: (a) although the Debtors may have
            scheduled claims of various creditors as secured claims for informational
            purposes, no current valuation of the Debtors’ assets in which such creditors may
            have a lien has been undertaken, and (b) the descriptions provided on
            Schedule D and herein are intended to be a summary. Reference to the
            applicable loan agreements and related documents is necessary for a complete
            description of the collateral and the nature, extent, and priority of any liens.
            Detailed descriptions of the Debtors’ prepetition debt contained on Schedule D
            are contained in the Declaration of Jonathan Tibus in Support of Debtors’
            Chapter 11 Petitions and First Day Relief [Docket No. 6] (the “First Day
            Declaration”).

      c.    The DIP Order approved the satisfaction of certain prepetition secured claims
            and a “roll-up” of certain other prepetition secured claims, converting such
            claims into principal obligations under the Debtors’ postpetition financing
            facility. The claims set forth on Schedule D do not take into account the claims
            that have been satisfied or rolled-up in accordance with the DIP Order and
            instead reflect the full amount outstanding under the Debtors’ prepetition
            secured credit facilities as of the Petition Date.

      d.    The liens identified herein were identified based on lien searches conducted by
            the Debtors or their professionals in May 2024. However, the Debtors have not
            confirmed the validity of these liens or the underlying amounts owed in all cases.
            Therefore, certain of these liabilities are listed in undetermined amounts and
            marked as contingent, unliquidated, and disputed in order to preserve the rights
            of the Debtors, and the Debtors expressly retain their rights to deem any such
            obligations as reinstated and rendered unimpaired.

      e.    Except as specifically stated herein, real property lessors, equipment lessors,
            utility companies, and other parties which may hold security deposits or other
            security interests have not been listed on Schedule D.


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      f.    Schedule D does not include beneficiaries of letters of credit. Although the
            claims of such parties may be secured by a letter of credit, the Debtors’
            obligations under the letters of credit run to the issuers thereof, and not to the
            beneficiaries thereof.

      g.    The Debtors have not listed on Schedule D any parties whose claims may be
            secured through rights of setoff, deposits, or advance payments posted by, or on
            behalf of, any of the Debtors, or through judgment or statutory lien rights. The
            Debtors have not investigated which of the claims may include such rights, and
            their population is currently unknown.

3. Schedule E/F

      a.    Part 1. The claims listed on Part 1 arose and were incurred on various dates. A
            determination of the date upon which each claim arose or was incurred would be
            unduly burdensome and cost prohibitive. Accordingly, no such dates are
            included for each claim listed on Part 1. To the best of the Debtors’ knowledge, all
            claims listed on Part 1 arose or were incurred before the Petition Date.

            The Debtors have not listed any wage or wage-related obligations that the
            Debtors have paid pursuant to the First Day Orders on Part 1. The Debtors
            believe that all such claims for wages, salaries, expenses, benefits, and other
            compensation as described in the First Day Orders have been or will be satisfied
            in the ordinary course during these chapter 11 cases pursuant to the authority
            granted to the Debtors in the relevant First Day Orders. The Debtors reserve
            their right to dispute or challenge whether creditors listed on Part 1 are entitled
            to priority claims under the Bankruptcy Code.

            The Debtors also have not listed any tax-related obligations that the Debtors
            have paid pursuant to the First Day Orders on Part 1. The Debtors believe that
            all such claims for taxes as described in the First Day Orders have been or will
            be satisfied in the ordinary course during these chapter 11 cases pursuant to the
            authority granted to the Debtors in the relevant First Day Orders. The Debtors
            reserve their right to dispute or challenge whether creditors listed on Part 1 are
            entitled to priority claims under the Bankruptcy Code.

      b.    Part 2. The Debtors have exercised commercially reasonable efforts to list all
            liabilities on Part 2 of each applicable Debtor’s Schedule. As a result of the
            Debtors’ consolidated operations, however, Part 2 for all Debtors should be
            reviewed in these cases for a complete understanding of the unsecured claims
            against the Debtors. More specifically, because, as noted above, the Debtors
            have historically prepared financial statements on a consolidated basis, and it is
            on this basis that the Debtors continue to prepare and report financials in the
            ordinary course of their business, certain estimates and prorations were used to
            determine the amounts of prepetition unsecured claims for each Debtor. Where
            applicable, Part 2 reflects prepetition liabilities on a respective Debtor’s balance
            sheet. In other cases, the Debtors have made commercially reasonable efforts to

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     estimate prepetition liabilities attributable to a respective Debtor and adjusted
     information reflected in the Debtors’ consolidated financial systems accordingly.
     For the avoidance of doubt, demand letters received from potential litigants that
     do not list a specific Debtor are listed on the Schedules of Red Lobster
     Management.

     Certain creditors listed on Part 2 may owe amounts to the Debtors, and, as such,
     the Debtors may have valid setoff and recoupment rights with respect to such
     amounts. The amounts listed on Part 2 may not reflect any such right of setoff or
     recoupment, and the Debtors reserve all rights to assert the same and to dispute
     and challenge any setoff and/or recoupment rights that may be asserted against
     the Debtors by a creditor, including, but not limited to, any and all rights
     preserved pursuant to section 558 of the Bankruptcy Code. Additionally, certain
     trade payables associated with vendors who may have offsetting rebate balances
     are listed in the asset schedules for Red Lobster Management. This treatment
     may not reflect actual entity obligations. Additionally, certain creditors may
     assert mechanics’ or other similar liens against the Debtors for amounts listed on
     Part 2. The Debtors reserve all rights to dispute and challenge the validity,
     perfection, and immunity from avoidance of any lien purported to be perfected by
     a creditor listed on Part 2 of any Debtor. In addition, certain claims listed on
     Part 2 may potentially be entitled to administrative expense priority under
     section 503(b)(9) of the Bankruptcy Code.

     The Debtors have made commercially reasonable efforts to include all unsecured
     creditors on Part 2 including, but not limited to, vendors, software companies,
     landlords, utility companies, affiliates, consultants, and other service providers.
     Nonetheless, the possibility exists that there are instances where creditors have
     not been included on Part 2, including, but not limited to, instances where
     creditors have yet to provide proper invoices for prepetition goods or services.
     While the Debtors maintain general accruals to account for these liabilities in
     accordance with GAAP, these amounts are estimates and have not been included
     on Part 2.

     Unless otherwise noted, the claims listed on Part 2 are based on the Debtors’ books
     and records as of the Petition Date. The Debtors have excluded workers’
     compensation claims from the Schedules because the Debtors are fully insured
     for and continue to honor their workers’ compensation obligations in the
     ordinary course in accordance with (i) the Final Order Granting Debtors’
     Emergency Motion for Interim and Final Orders Authorizing Debtors to (I) Pay
     Prepetition Wages, Salaries, Employee Benefits, and Other Employee
     Obligations, (II) Maintain Employee Benefit Programs, and (III) for Related
     Relief [Docket No. 382] (the “Wages Order”) and (ii) the Order Granting
     Debtors’ Emergency Motion for Authorization to (I) Continue to Administer
     Insurance Policies, Surety Bonds and Related Agreements; (II) Honor Certain
     Obligations in Respect Thereof; and (III) for Related Relief [Docket. No. 151].



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     Part 2 does not include certain balances, such as deferred liabilities, accruals, or
     reserves. Such amounts are, however, reflected on the Debtors’ books and
     records as required in accordance with GAAP. Such accruals primarily
     represent estimates of liabilities and do not represent specific claims as of the
     Petition Date.

     Part 2 does not include reserves for liabilities that may have arisen under
     litigation or threatened litigation in which a Debtor is a defendant unless there is
     a final judgment or a settlement agreement.

     Part 2 includes certain intercompany claims. As noted above, in the ordinary
     course of business, Red Lobster Management makes payments on behalf of other
     Debtors, resulting in an intercompany charge and a liability to Red Lobster
     Management owed by the corresponding other Debtor. As a result of the
     Debtors’ centralized cash management system described in the Cash
     Management Motion, there are frequent and voluminous intercompany charges
     reflected in intercompany balances maintained by each of the Debtors. Because
     these intercompany balances do not affect the Debtors’ consolidated operations
     or financial reporting, they are rarely, if ever, reconciled or cleared. Due to
     historical accounting practices, the Debtors are unable to ascertain with precision
     certain intercompany balances among specific Debtors and among Debtors and
     non-Debtor affiliates. For purposes of Part 2, the Debtors have disclosed the
     intercompany balances between Red Lobster Management and each of the other
     Debtors (as well as their non-Debtor affiliates, where applicable), in each case as
     of April 28, 2024, the date of the end of the Debtors’ fiscal month immediately
     preceding the commencement of these chapter 11 cases.

     The claims of individual creditors may not reflect credits and/or allowances due
     from creditors to the applicable Debtor. The Debtors reserve all rights with
     respect to any such credits and/or allowances, including, but not limited to, the
     right to assert objections and/or setoffs or recoupments with respect to same.

     The Court has authorized the Debtors to pay, in their discretion, certain non-
     priority unsecured claims pursuant to the First Day Orders. To the extent
     practicable, each Debtor’s Schedule E/F is intended to reflect the balance as of
     the Petition Date, adjusted for postpetition payments made under some or all of
     the First Day Orders. Each Debtor’s Schedule E/F will reflect some of that
     Debtor’s payment of certain claims pursuant to the First Day Orders, and, to the
     extent an unsecured claim has been paid or may be paid, it is possible such claim
     is not included on Schedule E/F. Certain Debtors may pay additional claims
     listed on Schedule E/F during these chapter 11 cases pursuant to the First Day
     Orders and other orders of the Court and the Debtors reserve all rights to update
     Schedule E/F to reflect such payments or to modify the claims register to
     account for the satisfaction of such claims. Additionally, Schedule E/F does not
     include potential rejection damage claims, if any, of the counterparties to
     executory contracts and unexpired leases that may be rejected.


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              For the avoidance of doubt, the names, addresses, and emails of individual
              creditors have been redacted pursuant to the Creditor Matrix Order. Such
              customers and members have been sent and will be sent individualized notices as
              appropriate in these chapter 11 cases.

4. Schedule G. Although commercially reasonable efforts have been made to ensure the
   accuracy of Schedule G regarding executory contracts and unexpired leases (collectively,
   the “Agreements”) as of the filing of the Statements and Schedules, the Debtors’ collection
   and review process of the Agreements is ongoing and inadvertent errors, omissions, or over‑
   or under-inclusion may have occurred. The Debtors may have entered into various other
   types of Agreements in the ordinary course of their businesses, such as indemnity
   agreements, supplemental agreements, amendments/letter agreements, master service
   agreements, and confidentiality agreements which may not be set forth in Schedule G.
   Omission of a contract or agreement from Schedule G does not constitute an admission,
   concession, or stipulation that such omitted contract or agreement is not an executory
   contract or unexpired lease. The Debtors have made reasonable efforts to identify the
   Debtor entity for each contract, and, in instances where this could not be determined, the
   contract is listed on Red Lobster Management’s Schedules.

   Schedule G may be amended at any time to add any omitted Agreements. Likewise, the
   listing of an Agreement on Schedule G does not constitute an admission, concession, or
   stipulation that such Agreement is an executory contract or unexpired lease or that such
   Agreement was in effect on the Petition Date or is valid or enforceable.

   The Agreements listed on Schedule G may have expired or may have been modified,
   amended, or supplemented from time to time by various amendments, restatements,
   waivers, estoppel certificates, letters and other documents, instruments, and agreements
   which may not be listed on Schedule G. Certain leases listed on Schedule G may contain
   renewal options, guarantees of payment, options to purchase, rights of first refusal, rights to
   lease additional space, and other miscellaneous rights. Such rights, powers, duties, and
   obligations are not independently set forth on Schedule G.

5. Schedule H.

   The Debtors are party to various debt agreements that were executed by multiple Debtors.
   The guaranty obligations under prepetition secured credit agreements are noted on Schedule
   H for each individual Debtor.

   In the ordinary course of their businesses, the Debtors are involved in pending or threatened
   litigation and claims arising out of the conduct of their businesses. Some of these matters
   may involve multiple plaintiffs and defendants, some or all of whom may assert
   cross-claims and counterclaims against other parties. To the extent such claims are listed
   elsewhere in the Schedules of each applicable Debtor, they have not been set forth
   individually on Schedule H.




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   In the event that two or more Debtors are co-obligors with respect to a scheduled debt or
   guaranty, such debt or guaranty is listed in the Schedules and Statements of each such
   Debtor at the full amount of such potential claim.

   No claim set forth on the Schedules and Statements of any Debtor is intended to
   acknowledge claims of creditors that are otherwise satisfied or discharged by other Debtors
   or non-Debtors.

   To the extent the Global Notes include notes specific to Schedules D-G, such Global Notes
   also apply to the co-Debtors listed in Schedule H. The Debtors reserve all rights to amend
   the Schedules to the extent that additional guarantees are identified or such guarantees are
   discovered to have expired or be unenforceable.

          Notes Specific to Certain of the Debtors’ Statements of Financial Affairs

6. Statement 1 and Statement 2. In the ordinary course of business, the Debtors receive
   rebates and other payments from vendors in connection with the Debtors’ business
   relationship with such vendors. Consistent with GAAP, the Debtors have historically
   accounted for such payments not as revenue but as a reduction to the costs associated with
   such payments. Accordingly, the Debtors do not include such amounts as revenue on
   Statement 1 or Statement 2.

   In addition, the Debtors received certain benefits in connection with relief programs
   designed to combat the effects of the COVID-19 pandemic, including Payroll Protection
   Program (“PPP”) federal government loans in the United States and rent and wage subsidies
   from the Canadian government. Consistent with GAAP (and Internal Revenue Service
   guidance with respect to PPP loans), the Debtors do not treat such amounts as revenue or
   income. Accordingly, the Debtors do not include such amounts as revenue on Statement 1
   or Statement 2.

7. Statement 3. As described in the Cash Management Motion, the Debtors utilize their
   integrated, centralized cash management system in the ordinary course of business to
   collect, concentrate, and disburse funds generated by their operations.

   The payments disclosed in Statement 3 are based on payments made by the Debtors with
   payment dates from February 19, 2024, through May 19, 2024. Amounts still owed to
   creditors will appear on the Schedules for each Debtor, as applicable.

   The response to Statement 3 excludes regular salary payments and disbursements or
   transfers for this period, which are listed, to the extent required, on Statement 4. The
   response to Statement 3 excludes payments for services of any entities that provided
   consultation concerning debt counseling or restructuring services, relief under the
   Bankruptcy Code, or preparation of a petition in bankruptcy for this period, which are listed
   on Statement 11.

   As described in detail in the Wages Motion and the Cash Management Motion, the Debtors
   participate in an employee emergency assistance program maintained by non-Debtor Red
   Lobster Cares, Inc. (“RL Cares”), a Florida not-for-profit corporation. Pursuant to such

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   program, employees may elect to donate (through paycheck deductions) to RL Cares for
   grants to employees experiencing hardship meeting certain criteria. Prior to the Petition
   Date, in certain cases, employee donations for a given payroll period to RL Cares were
   netted against grants made by RL Cares during the same payroll period, after which Red
   Lobster Management made direct payments to the employees receiving grants and paid the
   balance of employee donations to RL Cares. This practice was terminated prior to the
   Petition Date; Red Lobster Management currently makes no direct grant payments, and all
   such payments are made by RL Cares. Nonetheless, certain direct grant payments made by
   Red Lobster Management prior to the Petition Date may be included in Statement 3.

8. Statement 4. As described in the Cash Management Motion, certain Debtor cash accounts
   are zero-balance accounts or receipt accounts. Balances in these accounts are swept on at
   least a daily basis to Debtor concentration accounts. These transfers are ordinary course and
   voluminous and, for those reasons, have not been included on Statement 4.

   Payments to Individuals. The listing or omission of a party as an “insider” for the
   purposes of Statement 4 or otherwise in the Schedules and Statements is for informational
   purposes only and is not, is not intended to be, and should not be construed as an admission,
   concession, or stipulation that such parties are insiders for purposes of section 101(31) of
   the Bankruptcy Code.

   Payments made to Alvarez & Marsal North America LLC (“Alvarez & Marsal”) are
   reflected in the Debtors’ responses to Statement 11. Payments made by Alvarez & Marsal
   to the Debtors’ Chief Executive Officer Jonathan Tibus and the Debtors’ Chief
   Restructuring Officer Nicholas Haughey are not listed in response to Statement 4. None of
   the Debtors have made or currently make payments directly to Mr. Tibus or Mr. Haughey.

   As described more fully in the Cash Management Motion and authorized in the Cash
   Management Order, the Debtors provide certain employees (including certain employees
   listed as “insiders” for purposes of Statement 4) with corporate credit cards or purchasing
   cards for business expenses. While these cards may be issued in the individual employees’
   names, the Debtors’ bank accounts are automatically debited to pay any outstanding
   balances. Expenses charged to such credit cards and any corresponding payments by the
   Debtors to the card issuers are not included on Statement 4.

   As described more fully in the Debtors’ Emergency Motion for Interim and Final Orders
   Authorizing Debtors to (I) Pay Prepetition Wages, Salaries, Employee Benefits, and Other
   Employee Obligations, (II) Maintain Employee Benefit Programs and (III) for Related
   Relief [Docket No. 16] (the “Wages Motion”), the Debtors historically offered a
   performance unit incentive benefit program to certain of their employees (including certain
   employees listed as “insiders” for purposes of Statement 4, although the relief sought in the
   Wages Motion and granted by the Wages Order does not include the payment of any
   amount under such benefit program to any insider). Awards under the performance unit
   policy are payable in cash based on the value of the award on the vest date, and such cash
   amounts are included on Statement 4.



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Payments to Certain Affiliates. In the ordinary course of business, Red Lobster
Management contracts with Kenneth O Lester Company, Inc. (d/b/a PFG Customized
Distribution, “PFG”) to provide custom distribution services. Under the arrangements with
PFG, (1) the Debtors direct PFG to purchase food products (including food products
produced exclusively for use in Red Lobster restaurants) from specific suppliers (the
“Suppliers”) determined by the Debtors (including the Debtors’ indirect owner Thai Union
Group and certain of its subsidiaries, such as Chicken of the Seas Frozen Foods
(collectively, “Thai Union”)); (2) PFG purchases products from these Debtor-determined
suppliers; and (3) PFG sells and delivers such products to the Debtors on an as-needed
basis.

The Debtors typically do not pay the Suppliers directly for products; rather, the Debtors pay
PFG for products when such products are delivered to the Debtors’ restaurants. For
purposes of Statement 4 and in the interest of full disclosure, the Debtors have endeavored
to include any amounts paid to PFG that benefited Thai Union. Because the Debtors do not
make payments directly to Thai Union under their arrangements with PFG, the dates for
payments for the benefit of Thai Union included in Statement 4 may reflect the date of
receipt for the food products purchased by the Debtors. In addition, any such amounts paid
to PFG within 90 days before the Petition Date are also included in the Debtors’ response to
Statement 3.

Remittance of Employee Charitable Contributions. As described in detail in the Wages
Motion and the Cash Management Motion, certain of the Debtors’ employees may elect to
donate (through paycheck deductions) to RL Cares for grants to employees experiencing
hardship meeting certain criteria. While such donations by employees do not represent
payments of any property of the Debtors’ estates, Red Lobster Management withholds the
appropriate deductions and remits the employee donations to RL Cares, and Statement 4
includes such remittances out of an abundance of caution and in the interest of full
disclosure.

Intercompany Claims. Due to historical accounting practices, the Debtors are unable to
ascertain with precision certain intercompany balances among specific Debtors and among
Debtors and non-Debtor affiliates. More specifically, in the ordinary course of business,
Red Lobster Management makes payments on behalf of other Debtors, resulting in an
intercompany charge and a liability to Red Lobster Management owed by the corresponding
other Debtor. As a result of the Debtors’ centralized cash management system described in
the Cash Management Motion, there are frequent and voluminous intercompany charges
reflected in intercompany balances maintained by each of the Debtors. Because these
intercompany balances do not affect the Debtors’ consolidated operations or financial
reporting, they are rarely, if ever, reconciled or cleared. For purposes of Statement 4, the
Debtors have disclosed the net increase or decrease in the intercompany balances between
Red Lobster Management and each of the other Debtors (as well as their non-Debtor
affiliates, where applicable), in each case within one year before the filing of these
chapter 11 cases. The Debtors have not disclosed certain notional cash movements or
“sweeps” pursuant to intercompany automated clearing house and zero-balance-account
credits and debits.


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9. Statement 7. Information provided on Statement 7 includes only those legal disputes and
   administrative proceedings that are formally recognized by an administrative, judicial, or
   other adjudicative forum. While the Debtors believe they were diligent in their efforts to
   include all such information on Statement 7, it is possible that certain suits and proceedings
   may have been inadvertently excluded in the Debtors’ response to Statement 7. The
   Debtors reserve all rights to amend or supplement their response to Statement 7.

10. Statement 9. For the avoidance of doubt, Statement 9 excludes de minimis charitable
    contributions. Statement 9 includes certain donations to RL Cares and to Make-a-Wish
    Foundation of America (“Make-a-Wish”). Such donations reflect remittances of (in the
    case of RL Cares) donations made by certain of the Debtors’ employees and deducted from
    such employees’ paychecks and (in the case of Make-a-Wish) donations made by certain of
    the Debtors’ customers and added to such customers’ dining bills. While such remittances
    do not represent payments of any property of the Debtors or their estates, Statement 9
    includes such remittances out of an abundance of caution and in the interest of full
    disclosure. The Debtors historically have made and, in the ordinary course of business,
    continue to make food donations that are facilitated by Food Donation Connection LLC, an
    organization that coordinates and manages food donation programs for restaurant and food
    service companies. Statement 9 lists the ultimate recipient of various such food donations
    that are coordinated through Food Donation Connection.

11. Statement 10. The Debtors have made reasonable efforts to identify the Debtor entity for
    each loss, and, in instances where this could not be determined, the loss is listed on Red
    Lobster Management’s Schedules. The Debtors do not track or account for losses from
    inventory shrinkage. Historically, the Debtors have conducted inventories approximately
    each month, and such inventories are reflected on the Debtors’ responses to Statement 27.

12. Statement 11. All payments for services of any entities that provided consultation
    concerning debt counseling or restructuring services, relief under the Bankruptcy Code, or
    preparation of a petition in bankruptcy within one year immediately preceding the Petition
    Date are listed on the applicable Debtor’s response to Statement 11. Due to the nature of
    certain of the Debtors’ professionals’ work, distinguishing payments related to the Debtors’
    bankruptcy proceedings from payments for services unrelated to the Debtors’ bankruptcy
    proceedings can be difficult. The Debtors have therefore included some payments related to
    non-bankruptcy-related services on Statement 11 out of an abundance of caution.
    Additional information regarding the Debtors’ retention of professional service firms is more
    fully described in individual retention applications and related orders.

   In addition, the Debtors have listed payments made to professionals retained by the Debtors
   but not payments made to advisors of their prepetition and postpetition secured lenders or
   other parties.

13. Statement 13. While in certain cases the Debtors may attempt to sell furniture, fixtures,
    equipment, and other assets when closing a restaurant location (and such sales, as
    applicable, are reflected on Statement 13), in other cases the Debtors may abandon
    furniture, fixtures, equipment, and other assets when leaving a leased property due to their


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   limited value. The Debtors do not track abandoned property and, accordingly, have not
   reported it in Statement 13.

14. Statement 20. The locations listed for off-premises storage in Statement 20 do not include
    cloud-based storage of electronic data.

15. Statement 26. The Debtors provide certain parties such as banks, auditors, potential
    investors, vendors, and financial advisors with financial statements that may not be part of a
    public filing. The Debtors do not maintain detailed records tracking such disclosures and
    do not list such parties in Statement 26.

16. Statement 30. Please refer to the “Methodology” section and other provisions of the Global
    Notes regarding all payments to insiders.




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 Fill in this information to identify the case:

 Debtor name           Red Lobster Management LLC

 United States Bankruptcy Court for the:               Middle District of Florida, Orlando Division


 Case number (If known):                24-02486
                                                                                                                                                                                          ¨ Check if this is an
                                                                                                                                                                                              amended filing




Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15


Part 1: Summary of Assets


 1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
           Copy line 88 from Schedule A/B ................................................................................................................................
                                                                                                                                                                                         $        3,340,704.95


     1b. Total personal property:
                                                                                                                                                                                         $     354,942,025.04*
           Copy line 91A from Schedule A/B ..............................................................................................................................

     1c. Total of all property:
                                                                                                                                                                                         $     358,282,729.99*
           Copy line 92 from Schedule A/B ................................................................................................................................




Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                         $     280,205,857.73*
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ..........................................


 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                         $                 0.00
           Copy the total claims from Part 1 from line 5a of Schedule E/F .................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                                                                        + $    118,777,666.52*
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .......................................................




 4. Total liabilities ...............................................................................................................................................................
                                                                                                                                                                                         $     398,983,524.25*
      Lines 2 + 3a + 3b




 *Plus Undetermined Amounts

   Official Form 206Sum                                           Summary of Assets and Liabilities for Non-Individuals                                                                           page 1
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   Fill in this information to identify the case:

    Debtor name Red Lobster Management LLC


    United States Bankruptcy Court for the: Middle District of Florida, Orlando Division
                                                                                                                                           ¨ Check if this is an
    Case number (If known) 24-02486                                                                                                            amended filing



 Official Form 206A/B
 Schedule A/B: Assets - Real and Personal Property                                                                                                         12/15

 Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in
 which the debtor holds rights and powers exercisable for the debtor 's own benefit. Also include assets and properties which have no book value, such as fully
 depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G:
 Executory Contracts and Unexpired Leases (Official Form 206G).

 Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s
 name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached,
 include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
 depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct
 the value of secured claims. See the instructions to understand the terms used in this form.

 Part 1:     Cash and cash equivalents

 1. Does the debtor have any cash or cash equivalents?

    ¨      No. Go to Part 2.
    þ      Yes. Fill in the information below.

                                                                                                                                     Current value of debtor's
     All cash or cash equivalents owned or controlled by the debtor
                                                                                                                                     interest

 2. Cash on hand                                                                                                                     $                      0.00

 3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                        Type of account         Last 4 digits of account number

    3.1 See Attached Rider                                                                                                           $            27,491,689.19

    3.2                                                                                                                              $


 4. Other cash equivalents (Identify all)

    4.1 None                                                                                                                         $                      0.00

    4.2                                                                                                                              $


 5. Total of Part 1
                                                                                                                                     $            27,491,689.19
     Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.


 Part 2:     Deposits and prepayments

 6. Does the debtor have any deposits or prepayments?

    ¨ No.Go to Part 3.
                                                                                                                                     Current value of debtor's
    þ Yes. Fill in the information below.                                                                                            interest
 7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1 See Attached Rider                                                                                                           $             3,958,566.04
    7.2                                                                                                                              $



Official Form 206A/B                                       Schedule A/B: Assets - Real and Personal Property                                       Page 1
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            Red Lobster Management LLC                                    Doc 435            Filed 06/21/24 Case
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                                                                                                                        (If known) 24-02486
            Name



 8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

     Description, including name of holder of prepayment

     8.1 See Attached Rider                                                                                                              $           8,103,461.25

     8.2                                                                                                                                 $

 9. Total of Part 2.
                                                                                                                                         $          12,062,027.29
     Add lines 7 through 8. Copy the total to line 81.


 Part 3: Accounts receivable

 10. Does the debtor have any accounts receivable?

     ¨       No. Go to Part 4.
     þ       Yes. Fill in the information below.
                                                                                                                                        Current value of debtor's
                                                                                                                                        interest
 11. Accounts receivable

         11a. 90 days old or less:                 723,980.63                           0.00                       =   ......            $             723,980.63
                                       face amount                        doubtful or uncollectible accounts

         11b. Over 90 days old:                       0.00                              0.00                       =   ......            $                    0.00
                                       face amount                        doubtful or uncollectible accounts

  12. Total of Part 3
                                                                                                                                         $             723,980.63
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.


 Part 4:       Investments

  13. Does the debtor own any investments?

     ¨       No. Go to Part 5.
     þ       Yes. Fill in the information below.                                                               Valuation method         Current value of debtor's
                                                                                                               used for current value   interest

  14. Mutual funds or publicly traded stocks not included in Part 1
         Name of fund or stock:
     14.1 None                                                                                                                           $                    0.00

     14.2                                                                                                                                $


 15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
     including any interest in an LLC, partnership, or joint venture
         Name of entity:                                                             % of ownership:
     15.1 See Attached Rider                                                                           %                                 $          Undetermined

     15.2                                                                                              %                                 $



 16. Government bonds, corporate bonds, and other negotiable and non-negotiable
     instruments not included in Part 1

         Describe:
     16.1 None                                                                                                                           $                    0.00

     16.2                                                                                                                                $



 17. Total of Part 4                                                                                                                     $          Undetermined
         Add lines 14 through 16. Copy the total to line 83.


*Plus Undetermined Amounts

Official Form 206A/B                                         Schedule A/B: Assets - Real and Personal Property                                       Page 2
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           Name



 Part 5:       Inventory, excluding agriculture assets

 18. Does the debtor own any inventory (excluding agriculture assets)?

     þ       No. Go to Part 6.
     ¨       Yes. Fill in the information below.
         General Description                              Date of the last          Net book value of   Valuation method        Current value of
                                                          physical inventory        debtor's interest   used for current        debtor's interest
                                                                                    (Where available)   value

     19. Raw materials
                                                                                $                                               $
                                                               MM / DD / YYYY
     20. Work in progress
                                                                                $                                               $
                                                               MM / DD / YYYY
     21. Finished goods, including goods held for resale
                                                                                $                                               $
                                                               MM / DD / YYYY
     22. Other inventory or supplies

                                                                                $                                               $
                                                               MM / DD / YYYY

  23. Total of Part 5.
                                                                                                                                $                    0.00
         Add lines 19 through 22. Copy the total to line 84.

  24. Is any of the property listed in Part 5 perishable?
     ¨       No
     ¨       Yes

  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed ?

     ¨       No
     ¨       Yes. Book value $                       Valuation method                           Current value $

  26. Has any of the property listed in Part 5 been appraised by a professional within the last year ?

     ¨       No
     ¨       Yes

 Part 6:       Farming and fishing-related assets (other than titled motor vehicles and land)

  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     þ       No. Go to Part 7.
     ¨       Yes. Fill in the information below.

         General Description                                                        Net book value of   Valuation method       Current value of debtor's
                                                                                    debtor's interest   used for current       interest
                                                                                    (Where available)   value

  28. Crops-either planted or harvested
                                                                                $                                               $

  29. Farm animals Examples: Livestock, poultry, farm-raised fish
                                                                                $                                               $

  30. Farm machinery and equipment (Other than titled motor vehicles)
                                                                                $                                               $

  31. Farm and fishing supplies, chemicals, and feed
                                                                                $                                               $

  32. Other farming and fishing-related property not already listed in Part 6
                                                                                $                                               $



Official Form 206A/B                                    Schedule A/B: Assets - Real and Personal Property                                   Page 3
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                                                                                                                  (If known) 24-02486
           Name


 33. Total of Part 6.
                                                                                                                               $                    0.00
         Add lines 28 through 32. Copy the total to line 85.

 34. Is the debtor a member of an agricultural cooperative?

    ¨        No
    ¨        Yes. Is any of the debtor’s property stored at the cooperative?

           ¨       No
           ¨       Yes

 35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

    ¨        No
    ¨        Yes. Book value $                       Valuation method                         Current value $

 36. Is a depreciation schedule available for any of the property listed in Part 6?

    ¨        No
    ¨        Yes

 37. Has any of the property listed in Part 6 been appraised by a professional within the last year ?

    ¨        No
    ¨        Yes

 Part 7:       Office furniture, fixtures, and equipment; and collectibles

 38 Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    ¨        No. Go to Part 8.
    þ        Yes. Fill in the information below.

         General Description                                                    Net book value of      Valuation method       Current value of debtor's
                                                                                debtor's interest      used for current       interest
                                                                                (Where available)      value

 39. Office furniture
    Office Furniture                                                            $           9,054.81   Net Book Value          $               9,054.81

 40. Office fixtures
    None                                                                        $                                              $                    0.00

 41. Office equipment, including all computer equipment and
     communication systems equipment and software
    See Attached Rider                                                          $      15,634,666.55                           $          15,634,666.55

 42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
     artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
     or baseball card collections; other collections, memorabilia, or collectibles
    42.1 None                                                                   $                                              $                    0.00
    42.2                                                                        $                                              $
    42.3                                                                        $                                              $

 43. Total of Part 7.
                                                                                                                               $          15,643,721.36
         Add lines 39 through 42. Copy the total to line 86.

 44. Is a depreciation schedule available for any of the property listed in Part 7?

    ¨        No
    þ        Yes

 45. Has any of the property listed in Part 7 been appraised by a professional within the last year ?

    þ        No
    ¨        Yes



Official Form 206A/B                                    Schedule A/B: Assets - Real and Personal Property                                  Page 4
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Debtor      Red Lobster Management LLC                                                                       Case number (If known) 24-02486
            Name



 Part 8:       Machinery, equipment, and vehicles

 46. Does the debtor own or lease any machinery, equipment, or vehicles?

     ¨       No. Go to Part 9.
     þ        Yes. Fill in the information below.
         General Description                                                       Net book value of   Valuation method             Current value of debtor's
         Include year, make, model, and identification numbers ( i.e., VIN,        debtor's interest   used for current             interest
         HIN, or N-number)                                                         (Where available)   value


 47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

     47.1 None                                                                 $                                                     $                    0.00
     47.2                                                                      $                                                     $
     47.3                                                                      $                                                     $
     47.4                                                                      $                                                     $


 48. Watercraft, trailers, motors, and related accessories Examples: Boats,
     trailers, motors, floating homes, personal watercraft, and fishing vessels

     48.1 None                                                                 $                                                     $                    0.00
     48.2                                                                      $                                                     $


  49. Aircraft and accessories
     49.1 None                                                                 $                                                     $                    0.00
     49.2                                                                      $                                                     $


  50. Other machinery, fixtures, and equipment (excluding farm
      machinery and equipment)

     See Attached Rider                                                        $          786,363.25                                 $            786,363.25



  51. Total of Part 8.
                                                                                                                                     $            786,363.25
         Add lines 47 through 50. Copy the total to line 87.


  52. Is a depreciation schedule available for any of the property listed in Part 8?
     ¨        No
     þ        Yes


  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

     þ        No
     ¨        Yes




Official Form 206A/B                                     Schedule A/B: Assets - Real and Personal Property                                       Page 5
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                                                                                                                      (If known) 24-02486
            Name



 Part 9: Real property

 54. Does the debtor own or lease any real property?

     ¨ No. Go to Part 10.
     þ Yes. Fill in the information below.
  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
     Description and location of property                         Nature and extent           Net book value of     Valuation method        Current value of
     Include street address or other description such as          of debtor’s interest        debtor's interest     used for current        debtor's interest
     Assessor Parcel Number (APN), and type of property           in property                 (Where available)     value
     (for example, acreage, factory, warehouse, apartment
     or office building), if available.


     55.1 See Attached Rider                                                              $        3,340,704.95                             $        3,340,704.95
     55.2                                                                                 $                                                 $
     55.3                                                                                 $                                                 $
     55.4                                                                                 $                                                 $
     55.5                                                                                 $                                                 $
     55.6                                                                                 $                                                 $

  56. Total of Part 9.
                                                                                                                                            $        3,340,704.95
         Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
  57. Is a depreciation schedule available for any of the property listed in Part 9?

     ¨ No
     þ Yes
  58. Has any of the property listed in Part 9 been appraised by a professional within the last year ?

     þ No
     ¨ Yes
Part 10: Intangibles and intellectual property

  59. Does the debtor have any interests in intangibles or intellectual property?
     ¨       No. Go to Part 11.
     þ       Yes. Fill in the information below.

         General Description                                                           Net book value of     Valuation method          Current value of debtor's
                                                                                       debtor's interest     used for current          interest
                                                                                       (Where available)     value

  60. Patents, copyrights, trademarks, and trade secrets
     See Attached Rider                                                            $          Undetermined                              $           Undetermined

  61. Internet domain names and websites
     None                                                                          $                                                    $                       0.00

  62. Licenses, franchises, and royalties
     None                                                                          $                                                    $                       0.00

  63. Customer lists, mailing lists, or other compilations
     Red Lobster Customer Rewards Program                                          $                              N/A                   $

  64. Other intangibles, or intellectual property
     None                                                                          $                                                    $                       0.00

  65. Goodwill
     Goodwill                                                                      $          Undetermined        N/A                   $           Undetermined

  66. Total of Part 10.
                                                                                                                                            $       Undetermined
         Add lines 60 through 65. Copy the total to line 89.

  *Plus Undetermined Amounts

Official Form 206A/B                                        Schedule A/B: Assets - Real and Personal Property                                       Page 6
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                                                                                                                     (If known) 24-02486
            Name


  67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     ¨ No
     þ Yes
  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10 ?
     þ No
     ¨ Yes
  69. Has any of the property listed in Part 10 been appraised by a professional within the last year ?
     þ No
     ¨ Yes
Part 11: All other assets

  70. Does the debtor own any other assets that have not yet been reported on this form?
         Include all interests in executory contracts and unexpired leases not previously reported on this form.

     ¨ No. Go to Part 12.
     þ Yes. Fill in the information below.                                                                                                Current value of
                                                                                                                                          debtor's interest
  71. Notes receivable
         Description (include name of obligor)
         None                                                                                                                     =   $                   0.00
                                                                          Total Face Amount    Doubtful or uncollectible Amount

  72. Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)
         None                                                                                                   Tax Year              $                   0.00
                                                                                                                Tax Year              $
                                                                                                                Tax Year              $

  73. Interests in insurance policies or annuities
         See Attached Rider                                                                                                           $          Undetermined

  74. Causes of action against third parties (whether or not a lawsuit
      has been filed)
         See Attached Rider                                                                                                           $          Undetermined

         Nature of Claim
         Amount Requested          $

  75. Other contingent and unliquidated claims or causes of action of
      every nature, including counterclaims of the debtor and rights to
      set off claims
         See Attached Rider                                                                                                           $          Undetermined

         Nature of Claim
         Amount Requested          $

  76. Trusts, equitable or future interests in property
         None                                                                                                                         $                   0.00

  77. Other property of any kind not already listed Examples: Season tickets,
      country club membership
         See Attached Rider                                                                                                           $        298,234,243.32
                                                                                                                                      $

  78. Total of Part 11.
                                                                                                                                      $       298,234,243.32*
         Add lines 71 through 77. Copy the total to line 90.

  79. Has any of the property listed in Part 11 been appraised by a professional within the last year ?
     þ No
     ¨ Yes
  *Plus Undetermined Amounts


Official Form 206A/B                                        Schedule A/B: Assets - Real and Personal Property                                    Page 7
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Debtor     Red Lobster Management LLC                                                                                          Case number (If known)   24-02486
           Name



 Part 12: Summary

 In Part 12 copy all of the totals from the earlier parts of the form.


                                                                                                            Current value of                      Current value
         Type of Property
                                                                                                            personal property                    of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                   $         27,491,689.19

  81. Deposits and prepayments. Copy line 9, Part 2.                                                       $         12,062,027.29

  82. Accounts receivable. Copy line 12, Part 3.                                                           $             723,980.63

  83. Investments. Copy line 17, Part 4.                                                                   $         Undetermined

  84. Inventory. Copy line 23, Part 5.                                                                     $                   0.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                            $                   0.00

  86. Office furniture, fixtures, and equipment; and collectibles.                                         $         15,643,721.36
         Copy line 43, Part 7.
  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                            $             786,363.25

  88. Real property. Copy line 56, Part 9. . ...............................................................................                     $3,340,704.95

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                        $         Undetermined

  90. All other assets. Copy line 78, Part 11.                                                             $      298,234,243.32*

  91. Total. Add lines 80 through 90 for each column..............................91a.                     $      354,942,025.04*     + 91b.     $3,340,704.95




  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92................................................................................................   $   358,282,729.99*



  *Plus Undetermined Amounts




Official Form 206A/B                                                Schedule A/B: Assets - Real and Personal Property                                                      Page 8
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                                                        Assets - Real and Personal Property

                                 Part 1, Question 3: Checking, savings, money market, or financial brokerage accounts



Name of institution (bank or brokerage firm)             Type of account                    Last 4 digits of account      Current value of debtor's
                                                                                            number                        interest

City National Bank of Florida                            Petty Cash Account                3548                                            $30,112.65


HSBC                                                     Petty Cash Account                5645                                             $2,882.19


Orlando Federal Credit Union                             Liquor Accounts                   8510                                            $47,458.25


US Bank                                                  Short Term Investment Account     0450                                                 $0.00


Wells Fargo                                              Adequate Assurance Account        6463                                                 $0.00


Wells Fargo                                              AP Disbursements Account – ZBA 5282                                                    $0.00


Wells Fargo                                              Brokerage Account                 6161                                            $12,619.23


Wells Fargo                                              Checks Receipts Account - ZBA     0920                                                 $0.00


Wells Fargo                                              Credit Card Collateral Account    9816                                                 $0.00


Wells Fargo                                              Delivery Account - ZBA            4562                                                 $0.00


Wells Fargo                                              LC Cash Collateral Account        0008                                        $16,021,091.00


Wells Fargo                                              Money Market Account              6434                                         $3,539,170.84


Wells Fargo                                              Payroll Account - ZBA             0722                                                 $0.00


Wells Fargo                                              Restaurant Master Depository      1036                                           $523,139.10
                                                         Account

Wells Fargo                                              Special Disbursement Account -    0912                                                 $0.00
                                                         ZBA

Wells Fargo                                              U.S. Disbursement Account         6978                                         $6,659,218.76


Wells Fargo                                              U.S. Master Concentration         1044                                           $655,997.17
                                                         Account


                                                                                             TOTAL                                     $27,491,689.19




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                                                         Assets - Real and Personal Property

                                      Part 2, Question 7: Deposits, including security deposits and utility deposits



Deposits, including security deposits and utility deposits                           Current value of debtor's
(Description, including name of holder of deposit)                                   interest

ADP Pay Cards                                                                                                                           $81,860.13



ADP Tip Deposit                                                                                                                       $1,805,766.31



ADP Tuition Reimbursement                                                                                                                $1,807.60



Utility Deposit                                                                                                                          $4,132.00



Zurich Loss Reserve                                                                                                                   $2,065,000.00



TOTAL                                                                                                                                 $3,958,566.04




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                                                          Assets - Real and Personal Property


                      Part 2, Question 8: Prepayments, including payments on executory contracts, leases, insurance, taxes, and rent


Prepayments, including prepayments on executory contracts, leases,                     Current value of debtor's
insurance, taxes, and rent (Description, including name of holder of prepayment)       interest

Prepaid - Directors & Officers Insurance                                                                                                 $1,023,548.01


Prepaid - Miscellaneous                                                                                                                  $1,952,716.13


Prepaid - Other Insurance                                                                                                                $1,125,639.57


Prepaid - POS Equip Maint                                                                                                                   $5,993.01


Prepaid - Property Insurance                                                                                                             $1,124,945.21


Prepaid - Rent                                                                                                                            $218,621.40


Prepaid - Software Licenses                                                                                                              $2,170,395.46


Prepaid - Software Maintenance                                                                                                            $478,602.46


Tax Prepayment - Florida Sales and Use Tax (RED LOBSTER MANAGEMENT)                                                                         $3,000.00


TOTAL                                                                                                                                    $8,103,461.25




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                                                                Assets - Real and Personal Property


Part 4, Question 15: Non-publicly traded stock interests in incorporated and unincorporated businesses, including any interest in an LLC, partnership, or joint venture.



    Non-publicly traded stock and interests in incorporated and                        % of         Valuation method             Current value of debtor's
    unincorporated businesses, including any interest in an LLC,                     Ownership      used for current value       interest
    partnership, or joint venture (Name of entity:)
    RL Kansas LLC                                                                        100        Market Value                                     Undetermined


    Red Lobster Sourcing LLC                                                             100        Market Value                                     Undetermined


    Red Lobster of Texas, Inc.                                                           100        Market Value                                     Undetermined


    RL Maryland, Inc.                                                                       96      Market Value                                     Undetermined


    RL Salisbury, LLC                                                                       20      Market Value                                     Undetermined


    RL Columbia LLC                                                                         90      Market Value                                     Undetermined


    Red Lobster Hospitality LLC                                                          100        Market Value                                     Undetermined


    Red Lobster of Bel Air, Inc.                                                            70      Market Value                                     Undetermined


    RLSV, Inc.                                                                           100        Market Value                                     Undetermined


    Red Lobster Canada, Inc.                                                             100        Market Value                                     Undetermined


    Red Lobster Restaurants LLC                                                          100        Market Value                                     Undetermined


    RL of Frederick, Inc.                                                                100        Market Value                                     Undetermined


    Red Lobster International Holdings LLC                                               100        Market Value                                     Undetermined



                                                                                                    TOTAL                                                     $0.00
                                                                                                                                             + Undetermined Amounts




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                                                       Assets - Real and Personal Property

              Part 7, Question 41: Office equipment, including all computer equipment and communication systems equipment and software



Office equipment, including all computer equipment and             Net book value of     Valuation method           Current value of debtor's
communication systems equipment and software                       debtor's interest     used for current value     interest
                                                                   (Where available)
Administrative Equipment                                                   $280,001.82 Net Book Value                                     $280,001.82


Software                                                                $13,663,780.23 Net Book Value                                $13,663,780.23


IT Projects                                                              $1,690,884.50 Net Book Value                                    $1,690,884.50


                                                                                        TOTAL                                        $15,634,666.55




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Debtor Name: Red Lobster Management LLC                                                                                Case Number: 24-02486

                                                         Assets - Real and Personal Property

                        Part 8, Question 50: Other machinery, fixtures, and equipment (excluding farm machinery and equipment)



Other machinery, fixtures, and equipment                            Net book value of     Valuation method            Current value of debtor's
(excluding farm machinery and equipment)                            debtor's interest     used for current value      interest
                                                                    (Where available)
Construction in Process - New Restaurants Furniture and Fixtures            $515,427.28 Net Book Value                                    $515,427.28


Restaurant Equipment                                                        $247,403.57 Net Book Value                                    $247,403.57


Restaurant Furniture                                                          $3,774.48 Net Book Value                                      $3,774.48


Restaurant Fixtures                                                          $19,757.92 Net Book Value                                     $19,757.92


                                                                                          TOTAL                                           $786,363.25




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Debtor Name: Red Lobster Management LLC                                                                                        Case Number: 24-02486

                                                                 Assets - Real and Personal Property

               Part 9, Question 55: Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest



Description and location of property                   Nature and extent        Net book value of      Valuation method         Current value of
Include street address or other description such as    of debtor’s interest     debtor's interest      used for current         debtor's interest
Assessor Parcel Number (APN), and type of property     in property              (Where available)      value
(for example, acreage, factory, warehouse, apartment
or office building), if available.

Leasehold Improvements                                 Leased Restaurants            $1,088,958.25 Net Book Value                                $1,088,958.25


Construction in Process - Existing restaurants         Leased Restaurants            $2,251,746.70 Net Book Value                                $2,251,746.70
combined furniture, fixtures and leasehold
improvements
                                                                                                       TOTAL                                     $3,340,704.95




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Debtor Name: Red Lobster Management LLC                                                                             Case Number: 24-02486

                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method         Current value of debtor's
                                                                    debtor's interest     used for current value   interest
                                                                    (Where available)
Trademark - Red Lobster                                                   Undetermined N/A                                           Undetermined
Country - Australia
Application Number - 458241
Application Date - 01/09/1987
Registration Number - 458241
Registration Date - 02/07/1990
Trademark - Cheddar Bay Biscuits                                          Undetermined N/A                                           Undetermined
Country - United States - (US)
Application Number - 76526845
Application Date - 07/02/2003
Registration Number - 2912222
Registration Date - 12/21/2004
Trademark - Lobsterfest (Stylized)                                        Undetermined N/A                                           Undetermined
Country - United States - (US)
Application Number - 73753498
Application Date - 09/22/1988
Registration Number - 1538644
Registration Date - 05/09/1989
Trademark - Red Lobster Quality Since 1968 & Design                       Undetermined N/A                                           Undetermined
Country - United States - (US)
Application Number - 73798924
Application Date - 05/10/1989
Registration Number - 1579587
Registration Date - 01/23/1990
Trademark - Red Lobster                                                   Undetermined N/A                                           Undetermined
Country - Lebanon
Application Number - 2730
Application Date - 04/16/2010
Registration Number - 127973
Registration Date - 04/16/2010
Trademark - For The Seafood Lover In You                                  Undetermined N/A                                           Undetermined
Country - United States - (US)
Application Number - 73344806
Application Date - 01/07/1982
Registration Number - 1235024
Registration Date - 04/12/1983
Trademark - Crabfest                                                      Undetermined N/A                                           Undetermined
Country - United States - (US)
Application Number - 86141553
Application Date - 12/12/2013
Registration Number - 4568220
Registration Date - 07/15/2014
Trademark - Lobster In Paradise                                           Undetermined N/A                                           Undetermined
Country - United States - (US)
Application Number - 78597930
Application Date - 03/30/2005
Registration Number - 3068279
Registration Date - 03/14/2006
Trademark - Red Lobster                                                   Undetermined N/A                                           Undetermined
Country - United States - (US)
Application Number - 73655453
Application Date - 04/15/1987
Registration Number - 1502609
Registration Date - 08/30/1988
Trademark - Bottomless Bucket Of Crab                                     Undetermined N/A                                           Undetermined
Country - United States - (US)
Application Number - 76438655
Application Date - 08/07/2002
Registration Number - 2794010
Registration Date - 12/16/2003




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                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method         Current value of debtor's
                                                                    debtor's interest     used for current value   interest
                                                                    (Where available)
Trademark - Brownie Overboard                                             Undetermined N/A                                           Undetermined
Country - United States - (US)
Application Number - 86/925697
Application Date - 03/02/2016
Registration Number - 5049780
Registration Date - 09/27/2016
Trademark - Tip-A-Cop                                                     Undetermined N/A                                           Undetermined
Country - United States - (US)
Application Number - 76375439
Application Date - 02/25/2002
Registration Number - 276685
Registration Date - 09/23/2003
Trademark - Red Lobster & Design                                          Undetermined N/A                                           Undetermined
Country - Lebanon
Application Number - 4355
Application Date - 05/27/2010
Registration Number - 128893
Registration Date - 06/02/2010
Trademark - Red Lobster Logo                                              Undetermined N/A                                           Undetermined
Country - United Arab Emirates - (AE)
Application Number - 141267
Application Date - 04/14/2010
Registration Number - 141267
Registration Date - 10/07/2012
Trademark - Cops & Lobsters                                               Undetermined N/A                                           Undetermined
Country - United States - (US)
Application Number - 76214690
Application Date - 02/26/2001
Registration Number - 2510260
Registration Date - 11/20/2001
Trademark - Red Lobster & Design (Right)                                  Undetermined N/A                                           Undetermined
Country - Sweden
Application Number - 1995-10131
Application Date - 09/07/1995
Registration Number - 310172
Registration Date - 03/15/1996
Trademark - Red Lobster                                                   Undetermined N/A                                           Undetermined
Country - Austria
Application Number - AM755/88
Application Date - 02/23/1988
Registration Number - 120651
Registration Date - 08/04/1988
Trademark - Red Lobster Logo                                              Undetermined N/A                                           Undetermined
Country - Lebanon
Application Number - 2729
Application Date - 04/16/2010
Registration Number - 127972
Registration Date - 04/16/2010
Trademark - Red Lobster                                                   Undetermined N/A                                           Undetermined
Country - United States - (US)
Application Number - 86281764
Application Date - 05/15/2014
Registration Number - 4788412
Registration Date - 08/11/2015
Trademark - Ultimate Feast                                                Undetermined N/A                                           Undetermined
Country - United States - (US)
Application Number - 78631177
Application Date - 05/17/2005
Registration Number - 3372867
Registration Date - 01/22/2008




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                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method         Current value of debtor's
                                                                    debtor's interest     used for current value   interest
                                                                    (Where available)
Trademark - Red Lobster Fresh Fish-Live Lobster & Design                  Undetermined N/A                                           Undetermined
Country - United States - (US)
Application Number - 86281766
Application Date - 05/15/2014
Registration Number - 4788414
Registration Date - 08/11/2015
Trademark - Design Of Lobster                                             Undetermined N/A                                           Undetermined
Country - United States - (US)
Application Number - 85182072
Application Date - 11/22/2010
Registration Number - 4196638
Registration Date - 08/28/2012
Trademark - Come See What's Fresh Today                                   Undetermined N/A                                           Undetermined
Country - United States - (US)
Application Number - 77164455
Application Date - 04/24/2007
Registration Number - 3427843
Registration Date - 05/13/2008
Trademark - Lobster Lover's Dream                                         Undetermined N/A                                           Undetermined
Country - United States - (US)
Application Number - 75598207
Application Date - 03/30/2005
Registration Number - 3068286
Registration Date - 03/14/2006
Trademark - Red Lobster Fresh Fish-Love Lobster & Lobster Logo            Undetermined N/A                                           Undetermined
(Color)
Country - United States - (US)
Application Number - 86281765
Application Date - 05/15/2014
Registration Number - 4788413
Registration Date - 08/11/2015
Trademark - Lobster Tails                                                 Undetermined N/A                                           Undetermined
Country - United States - (US)
Application Number - 73086551
Application Date - 05/10/1976
Registration Number - 1060751
Registration Date - 03/08/1977
Trademark - Endless Shrimp                                                Undetermined N/A                                           Undetermined
Country - United States - (US)
Application Number - 78816059
Application Date - 02/16/2006
Registration Number - 3187206
Registration Date - 12/19/2006
Trademark - Lobsterfest                                                   Undetermined N/A                                           Undetermined
Country - United States - (US)
Application Number - 76558577
Application Date - 11/12/2003
Registration Number - 2906002
Registration Date - 11/30/2004
Trademark - Fudge Overboard                                               Undetermined N/A                                           Undetermined
Country - United States - (US)
Application Number - 73480400
Application Date - 05/14/1984
Registration Number - 1333484
Registration Date - 04/30/1985
Trademark - Red Lobster                                                   Undetermined N/A                                           Undetermined
Country - Switzerland
Application Number - 363992
Application Date - 02/09/1988
Registration Number - 363992
Registration Date - 02/09/1988




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                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method         Current value of debtor's
                                                                    debtor's interest     used for current value   interest
                                                                    (Where available)
Trademark - Sea Food Differently                                          Undetermined N/A                                           Undetermined
Country - United States - (US)
Application Number - 85271223
Application Date - 03/18/2011
Registration Number - 4427327
Registration Date - 11/05/2013
Trademark - Shrimpwreck Mary                                              Undetermined N/A                                           Undetermined
Country - United States - (US)
Application Number - 73446806
Application Date - 10/05/1983
Registration Number - 1305217
Registration Date - 11/13/1984
Trademark - Red Lobster & Design Label                                    Undetermined N/A                                           Undetermined
Country - United States - (US)
Application Number - 73605677
Application Date - 06/23/1986
Registration Number - 1438742
Registration Date - 05/05/1987
Trademark - Red Lobster & Design (Outline)                                Undetermined N/A                                           Undetermined
Country - United States - (US)
Application Number - 74732044
Application Date - 09/18/1995
Registration Number - 2015236
Registration Date - 11/12/1996
Trademark - Red Lobster                                                   Undetermined N/A                                           Undetermined
Country - United States - (US)
Application Number - 73780197
Application Date - 02/13/1989
Registration Number - 1557991
Registration Date - 09/26/1989
Trademark - Red Lobster                                                   Undetermined N/A                                           Undetermined
Country - United Arab Emirates - (AE)
Application Number - 141266
Application Date - 04/14/2010
Registration Number - 141266
Registration Date - 10/07/2012
Trademark - Red Lobster                                                   Undetermined N/A                                           Undetermined
Country - Switzerland
Application Number - 3726
Application Date - 02/01/1993
Registration Number - 410079
Registration Date - 04/01/1993
Trademark - Go Overboard                                                  Undetermined N/A                                           Undetermined
Country - United States - (US)
Application Number - 76139961
Application Date - 10/04/2000
Registration Number - 2698356
Registration Date - 03/18/2003
                                                                                          TOTAL                                                $0.00
                                                                                                                             + Undetermined Amounts




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                       Case 6:24-bk-02486-GER                     Doc 435          Filed 06/21/24          Page 48 of 1148
Debtor Name: Red Lobster Management LLC                                                                              Case Number: 24-02486

                                                       Assets - Real and Personal Property

                                          Part 11, Question 73: Interests in insurance policies or annuities



Interests in insurance policies or annuities        Policy Type                          Policy Number              Current value of debtor's
(Description)                                                                                                       interest
ACE AMERICAN INSURANCE COMPANY                     PROPERTY                              CX D95041413 001                            Undetermined


ALLIED WORLD INSURANCE COMPANY                     FIRST EXCESS CYBER                    0311-5731                                   Undetermined


AMERICAN INTERNATIONAL REINSURANCE                 FIRST EXCESS EMPLOYMENT               16153196                                    Undetermined
COMPANY, LTD.                                      PRACTICES

ARCH INSURANCE COMPANY                             ARCH ESSENTIAL EXCESS                 ABX1000391-00                               Undetermined
                                                   POLICY

AXA XL                                             EXCESS DIRECTORS AND                  ELU 196981-24                               Undetermined
                                                   OFFICERS LIABILITY

AXA XL                                             EXCESS DIRECTORS AND                  ELU 196981-24                               Undetermined
                                                   OFFICERS LIABILITY - RUN OFF
                                                   POLICY
AXIS EXCESS INSURANCE                              SECOND EXCESS CYBER                   P-001-001294526-01                          Undetermined


AXIS INSURANCE COMPANY                             SECOND EXCESS DIRECTORS               P-001-000411104-03                          Undetermined
                                                   AND OFFICERS LIABILITY

COLUMBIA CASUALTY COMPANY                          CYBER                                 596488025                                   Undetermined


COLUMBIA CASUALTY COMPANY                          PROPERTY                              RMP 7035039490                              Undetermined


ENDURANCE ASSURANCE CORPORATION                    DIRECTORS AND OFFICERS                ADL30052880900                              Undetermined
                                                   DIFFERENCE IN CONDITIONS
                                                   LIABILITY
EVEREST INDEMNITY INSURANCE COMPANY                PROPERTY                              RP5P000227-231                              Undetermined


EVEREST NATIONAL INSURANCE COMPANY                 DIRECTORS AND OFFICERS                PC5EX00582-221                              Undetermined
                                                   LIABILITY

FEDERAL INSURANCE COMPANY                          EMPLOYED LAWYERS LIABILITY 8255-3603                                              Undetermined
                                                   & CRIME

FIREMAN'S FUND INSURANCE COMPANY                   LAYERED EXCESS LIABILITY              USL026022232                                Undetermined


FLORIDA BLUE                                       STOP LOSS INSURANCE                   BCFL1073                                    Undetermined


HARTFORD FIRE INSURANCE COMPANY                    BUSINESS TRAVEL ACCIDENT              10-GTA-101873                               Undetermined


LLOYD'S OF LONDON                                  TERRORISM AND SABOTAGE                B0509BOWTN2350802                           Undetermined
                                                   INSURANCE

LLOYD'S UNDERWRITER SYNDICATE 1 - KLN              PROPERTY                              B0509BOWPN2352678                           Undetermined
510

MARKEL BERMUDA LIMITED                             PRIMARY EMPLOYMENT                    MKLB25GPL0005043                            Undetermined
                                                   PRACTICES LIABILITY
                                                   INSURANCE
PALMS INSURANCE COMPANY, LIMITED                   PROPERTY                              23-PQP-0009                                 Undetermined


QBE                                                EXCESS DIRECTORS AND                  130007168                                   Undetermined
                                                   OFFICERS LIABILITY

QBE                                                EXCESS DIRECTORS AND                  130007168                                   Undetermined
                                                   OFFICERS LIABILITY – RUN OFF
                                                   POLICY


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                       Case 6:24-bk-02486-GER                     Doc 435          Filed 06/21/24          Page 49 of 1148
Debtor Name: Red Lobster Management LLC                                                                              Case Number: 24-02486

                                                       Assets - Real and Personal Property

                                          Part 11, Question 73: Interests in insurance policies or annuities



Interests in insurance policies or annuities        Policy Type                          Policy Number              Current value of debtor's
(Description)                                                                                                       interest
STARSTONE SPECIALTY INSURANCE                      PROPERTY                              U87784230CSP                                Undetermined
COMPANY

SWISS RE CORPORATE SOLUTIONS ELITE                 PROPERTY                              NAP 2005752-00                              Undetermined
INSURANCE CORPORATION

THE OHIO CASUALTY INSURANCE COMPANY                SECOND EXCESS LIABILITY               ECO(23) 59038503                            Undetermined


TRAVELERS PROPERTY CASUALTY COMPANY                THIRD EXCESS LIABILITY                EX-1W48163A-22-NF                           Undetermined
OF AMERICA

WESTCHESTER FIRE INSURANCE COMPANY                 MANAGEMENT LIABILITY                  G71828128 003                               Undetermined


ZURICH AMERICAN INSURANCE COMPANY                  COMMERCIAL AUTO                       BAP 0176235                                 Undetermined


ZURICH AMERICAN INSURANCE COMPANY                  COMMERCIAL GENERAL                    GLO 0378588-03                              Undetermined
                                                   LIABILITY

ZURICH AMERICAN INSURANCE COMPANY                  FOREIGN CASUALTY                      ZE 3320827-09                               Undetermined


ZURICH AMERICAN INSURANCE COMPANY                  GENERAL LIABILITY                     GLO 0176236                                 Undetermined


ZURICH AMERICAN INSURANCE COMPANY                  UMBRELLA LIABILITY                    AUC 281999-03**                             Undetermined


ZURICH AMERICAN INSURANCE COMPANY                  WORKER'S COMPENSATION                 WC 0176233                                  Undetermined


ZURICH AMERICAN INSURANCE COMPANY                  WORKER'S COMPENSATION                 WC 0176234                                  Undetermined
                                                   (RETRO)

ZURICH CANADA                                      COMMERCIAL AUTO                       AC 9801814                                  Undetermined


ZURICH CANADA                                      PROPERTY                              8843326                                     Undetermined


ZURICH NORTH AMERICA                               PROPERTY                              PPR 0176332-09                              Undetermined


                                                                                         TOTAL                                                  $0.00
                                                                                                                              + Undetermined Amounts




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Debtor Name: Red Lobster Management LLC                                                                                     Case Number: 24-02486

                                                          Assets - Real and Personal Property

                           Part 11, Question 74: Causes of action against third parties (whether or not a lawsuit has been filed)



Causes of action against third parties                     Nature of claim                          Amount requested       Current value of debtor's
(whether or not a lawsuit has been filed)                                                                                  interest

Party - Kenny, Paul                                        Any claims or causes of action                   Undetermined                     Undetermined
                                                           related to, arising from, or in
                                                           connection with Party’s role as an
                                                           officer, director, or in any other
                                                           capacity, of the Debtors and/or of
                                                           any of the Debtors’ affiliates
                                                           including, but not limited to, claims
                                                           and causes of action pertaining to
                                                           breach of fiduciary duties,
                                                           fraudulent transfers or corporate
                                                           waste.
Party - Thai Union Group Public Company Ltd and any        Any claims or causes of action                   Undetermined                     Undetermined
Subsidiaries or Other Affiliates and Other Parties         related to, arising from, or in
                                                           connection with Party’s direct or
                                                           indirect ownership of and/or
                                                           commercial relationship with the
                                                           Debtors and any of the Debtors’
                                                           affiliates and/or Party’s provision of
                                                           any officer, director or person in
                                                           another capacity for the Debtors or
                                                           any of the Debtors’ affiliates
                                                           including, but not limited to, claims
                                                           and causes of action pertaining to
                                                           breach of fiduciary duties,
                                                           fraudulent transfers or corporate
                                                           waste.
                                                                                                    TOTAL                                              $0.00
                                                                                                                                      + Undetermined Amounts




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Debtor Name: Red Lobster Management LLC                                                                                       Case Number: 24-02486

                                                            Assets - Real and Personal Property


Part 11, Question 75: Other contingent and unliquidated claims or causes of action of every nature, including counterclaims of the debtor and rights to set off
                                                                          claims

Other contingent and unliquidated claims or causes            Nature of claim                        Amount requested        Current value of debtor's
of action of every nature, including counterclaims                                                                           interest
of the debtor and rights to set off claims

Anti Trust Class Actions                                     Television Advertising Purchaser                Undetermined                       Undetermined
                                                             Antitrust Litigation - MDL
                                                             2:22-CV-02301; No, 2867 No. 18
                                                             C 6785 U.S.D N. District Ill,
                                                             Eastern Division
Pre-litigation dispute                                       Scott and Rebecca Cater; Litman                 Undetermined                       Undetermined
                                                             Construction; North Star Painting -
                                                             Property damage caused by burst
                                                             pipe
Pre-litigation dispute                                       NWCC Center Plaza LLC c/o                       Undetermined                       Undetermined
                                                             Puget Sound Retail, LLC - Breach
                                                             of Lease Terms
Commercial Tort Claims                                       Interior Molded Doors Antitrust                 Undetermined                       Undetermined
                                                             Litigation - Case No.
                                                             3:18-cv-00718
Anti Trust Class Actions                                     EMV/Chip Fraud Liability Shift                  Undetermined                       Undetermined
                                                             Antitrust Litigation, B & R
                                                             Supermarket, Inc, et al. v. Visa
                                                             Inc., et al. - 17-cv-02738 (U.S.
                                                             District Court. N. Y., E.D.)
Anti Trust Class Actions                                     Broiler Chicken Antitrust Litigation            Undetermined                       Undetermined
                                                             - Civil No. 1:15-cv-08637

Pre-litigation dispute                                       Apply on the Go, LLC - Breach of                Undetermined                       Undetermined
                                                             Contract

Anti Trust Class Actions                                     Domestic Airline Travel Antitrust               Undetermined                       Undetermined
                                                             Litigation - MDL No. 2656,
                                                             No.1:15-mc-01404 U.S.D., District
                                                             of Columbia
Commercial Tort Claims                                       Cathode Ray Tube (CRT) Antitrust                Undetermined                       Undetermined
                                                             Litigation - Case No.
                                                             3:07-cv-05944 MDL No. 1917
Anti Trust Class Actions                                     Pork Antitrust Litigation - Civil No.           Undetermined                       Undetermined
                                                             18-cv-01776

Commercial Tort Claims                                       WA state LCD Indirect class                     Undetermined                       Undetermined
                                                             action claim - State of Washington
                                                             v. LG Electronics, Inc., et al.,
                                                             70298-0 (Wash. Ct. App. 2015)
Pre-litigation dispute                                       Krista Software, Inc. - Mutual                  Undetermined                       Undetermined
                                                             breach of contract dispute

Anti Trust Class Actions                                     Beef Antitrust Litigation - Civil No.           Undetermined                       Undetermined
                                                             20-cv-001319 / 19-cv-02720

Anti Trust Class Actions                                     Payment Card Interchange Fee                    Undetermined                       Undetermined
                                                             and Merchant Discount Antitrust
                                                             Litigation - MDL No. 1720 (MKB)
                                                             (JO), Civil No. 05-5075 (MKB)
                                                             (JO) (E.D.N.Y.)
Anti Trust Class Actions                                     Blue Cross Blue Shield Subscriber               Undetermined                       Undetermined
                                                             Settlement - MDL No. 2406

                                                                                                     TOTAL                                                $0.00
                                                                                                                                        + Undetermined Amounts




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Debtor Name: Red Lobster Management LLC                                                                            Case Number: 24-02486

                                                        Assets - Real and Personal Property


                                          Part 11, Question 77: Other property of any kind not already listed



Other property of any kind not already listed                                      Current value of debtor's
Examples: Season tickets, country club membership                                  interest
Intercompany Receivable to the benefit of Red Lobster Management LLC from RL                                                      $2,745,518.47
Kansas LLC
Intercompany Receivable to the benefit of Red Lobster Management LLC from RL                                                       $876,509.77
Maryland, Inc.
Intercompany Receivable to the benefit of Red Lobster Management LLC from                                                          $683,353.92
Red Lobster Intermediate Holdings LLC
Intercompany Receivable to the benefit of Red Lobster Management LLC from RL                                                       $202,370.82
of Jonesboro, Inc.
Intercompany Receivable to the benefit of Red Lobster Management LLC from                                                        $96,456,506.10
Red Lobster Restaurants LLC
Intercompany Receivable to the benefit of Red Lobster Management LLC from RL                                                      $1,149,659.55
Columbia LLC
Intercompany Receivable to the benefit of Red Lobster Management LLC from RL                                                       $435,177.36
of Frederick, Inc.
Intercompany Receivable to the benefit of Red Lobster Management LLC from                                                        $24,854,784.93
Red Lobster Sourcing LLC
Intercompany Receivable to the benefit of Red Lobster Management LLC from                                                         $5,823,485.40
Red Lobster International Holdings LLC
Intercompany Receivable to the benefit of Red Lobster Management LLC from                                                          $401,541.55
Red Lobster of Texas, Inc.
Intercompany Receivable to the benefit of Red Lobster Management LLC from RL                                                         $41,938.51
Billings, Inc.
Intercompany Receivable to the benefit of Red Lobster Management LLC from                                                        $13,192,404.72
Red Lobster Canada, Inc.
Intercompany Receivable to the benefit of Red Lobster Management LLC from                                                          $556,778.22
Red Lobster of Bel Air, Inc.
Intercompany Receivable to the benefit of Red Lobster Management LLC from                                                       $150,814,214.00
Red Lobster Hospitality LLC

TOTAL                                                                                                                           $298,234,243.32




                                                                     Page 1 of 1
                    Caseto6:24-bk-02486-GER
 Fill in this information  identify the case:                                         Doc 435            Filed 06/21/24              Page 53 of 1148

 Debtor name        Red Lobster Management LLC

 United States Bankruptcy Court for the:           Middle District of Florida, Orlando Division                                                            ¨ Check if this is an
                                                                                                                                                                 amended filing
 Case number (If known):          24-02486


 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                      12/15
 Be as complete and accurate as possible.
 1. Do any creditors have claims secured by debtor's property?
      ¨ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
      þ Yes. Fill in all of the information below.
 Part 1: List Creditors Who Have Secured Claims
                                                                                                                                       Column A                  Column B
  2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one                                 Amount of Claim           Value of collateral
     secured claim, list the creditor separately for each claim.                                                                       Do not deduct the value   that supports this
                                                                                                                                       of collateral.            claim
2.1     Creditor's name                                               Describe debtor’s property that is subject to a lien
        FORTRESS CREDIT CORP.                                        Substantially All Assets Of The Debtor
                                                                                                                                       $       264,722,258.55    $          Undetermined

        Creditor's mailing address
        ATTENTION: CONSTANTINE DAKOLIAS
        1345 AVENUE OF THE AMERICAS
        46TH FLOOR                                                    Describe the lien
        NEW YORK, NY 10105                                           Prepetition Term Loan Credit Agreement dated January 22, 2021


        Creditor's email address, if known                            Is the creditor an insider or related party?
        DEAN@FORTRESS.COM                                             þ No
                                                                      ¨ Yes
        Date debt was incurred             Undetermined
                                                                      Is anyone else liable on this claim?
        Last 4 digits of account                                      ¨ No
        number                             N/A
                                                                      þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        Do multiple creditors have an interest in the
        same property?                                                As of the petition filing date, the claim is:
                                                                      Check all that apply.
        ¨ No
        þ Yes. Specify each creditor, including this                  þ Contingent
            creditor, and its relative priority.                      þ Unliquidated
                                                                      ¨ Disputed
2.2     Creditor's name                                               Describe debtor’s property that is subject to a lien
        GREATAMERICA FINANCIAL SVCS                                   Specific Equipment
                                                                                                                                       $        Undetermined     $          Undetermined
        Creditor's mailing address
        PO BOX 660831
        DALLAS, TX 75266-0831
                                                                      Describe the lien
                                                                      Lien claim for specific equipment file #2018 7641869

        Creditor's email address, if known                            Is the creditor an insider or related party?
                                                                      þ No
                                                                      ¨ Yes
        Date debt was incurred             11/05/2018
                                                                      Is anyone else liable on this claim?
        Last 4 digits of account                                      þ No
        number                             1869
                                                                      ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        Do multiple creditors have an interest in the
        same property?                                                As of the petition filing date, the claim is:
                                                                      Check all that apply.
        þ No
        ¨ Yes. Have you already specified the relative                þ Contingent
            priority?                                                 þ Unliquidated
            ¨ No. Specify each creditor, including this               ¨ Disputed
                      creditor, and its relative priority.



            ¨ Yes. The relative priority of creditors is
                       specified on lines

  3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                                                  $ 280,205,857.73

                                                                                                                                                                     + Undetermined Amounts



       Official Form 206D                                    Schedule D: Creditors Who Have Claims Secured by Property                                                   Page 1 of 7
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Debtor     Red Lobster Management LLC                                                                     Case number (If known): 24-02486
           Name


                                                                                                                                Column A                Column B
   Part 1:         Additional Page                                                                                              Amount of Claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                        of collateral.          claim
   from the previous page.

2.3      Creditor's name                                     Describe debtor’s property that is subject to a lien
         GREATAMERICA FINANCIAL SVCS                         Specific Equipment

                                                                                                                                 $           Undetermined $        Undetermined
         Creditor's mailing address
         PO BOX 660831
         DALLAS, TX 75266-0831
                                                             Describe the lien
                                                            Lien claim for specific equipment file #20224057311


         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           05/13/2022
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number                           7311
                                                              þ No
                                                              ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         þ No                                                 Check all that apply.
         ¨ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             ¨ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.4      Creditor's name                                     Describe debtor’s property that is subject to a lien
         WELLS FARGO BANK, NATIONAL ASSOCIATION              Substantially All Assets Of The Debtor

                                                                                                                                 $           15,483,599.18 $       Undetermined
         Creditor's mailing address
         ATTENTION BRYAN WEI
         1800 CENTURY PARK EAST
         SUITE 1100                                          Describe the lien
         LOS ANGELES, CA 90067
                                                            ABL Facility Agreement


         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           Undetermined
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number                           N/A
                                                              ¨ No
                                                              þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         ¨ No                                                 Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             þ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     Page 2 of 7
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Debtor     Red Lobster Management LLC                                                                     Case number (If known): 24-02486
           Name


                                                                                                                                   Column A                Column B
   Part 1:         Additional Page                                                                                                 Amount of Claim         Value of collateral
                                                                                                                                   Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                           of collateral.          claim
   from the previous page.

2.5      Creditor's name                                     Describe debtor’s property that is subject to a lien
         WELLS FARGO BANK, NATIONAL ASSOCIATION              Substantially All Assets Of The Debtor

                                                                                                                                   $         Undetermined $         Undetermined
         Creditor's mailing address
         ATTENTION BRYAN WEI
         1800 CENTURY PARK EAST
         SUITE 1100                                          Describe the lien
         LOS ANGELES, CA 90067
                                                            Letter Of Credit To The Benefit Of Constellation Newenergy, Inc In
                                                            The Amount Of $325,000.00

         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           Undetermined
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number                           N/A
                                                              ¨ No
                                                              þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         ¨ No                                                 Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             þ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.6      Creditor's name                                     Describe debtor’s property that is subject to a lien
         WELLS FARGO BANK, NATIONAL ASSOCIATION              Substantially All Assets Of The Debtor

                                                                                                                                   $         Undetermined $         Undetermined
         Creditor's mailing address
         ATTENTION BRYAN WEI
         1800 CENTURY PARK EAST
         SUITE 1100                                          Describe the lien
         LOS ANGELES, CA 90067
                                                            Letter Of Credit To The Benefit Of Engie Resources Llc In The Amount
                                                            Of $273,080.00

         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           Undetermined
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number                           N/A
                                                              ¨ No
                                                              þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         ¨ No                                                 Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             þ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     Page 3 of 7
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Debtor     Red Lobster Management LLC                                                                     Case number (If known): 24-02486
           Name


                                                                                                                                     Column A                Column B
   Part 1:         Additional Page                                                                                                   Amount of Claim         Value of collateral
                                                                                                                                     Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                             of collateral.          claim
   from the previous page.

2.7      Creditor's name                                     Describe debtor’s property that is subject to a lien
         WELLS FARGO BANK, NATIONAL ASSOCIATION              Substantially All Assets Of The Debtor

                                                                                                                                     $         Undetermined $         Undetermined
         Creditor's mailing address
         ATTENTION BRYAN WEI
         1800 CENTURY PARK EAST
         SUITE 1100                                          Describe the lien
         LOS ANGELES, CA 90067
                                                            Letter Of Credit To The Benefit Of Liberty Mutual Insurance Co. In The
                                                            Amount Of $5,730,736.00

         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           Undetermined
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number                           N/A
                                                              ¨ No
                                                              þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         ¨ No                                                 Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             þ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.8      Creditor's name                                     Describe debtor’s property that is subject to a lien
         WELLS FARGO BANK, NATIONAL ASSOCIATION              Substantially All Assets Of The Debtor

                                                                                                                                     $         Undetermined $         Undetermined
         Creditor's mailing address
         ATTENTION BRYAN WEI
         1800 CENTURY PARK EAST
         SUITE 1100                                          Describe the lien
         LOS ANGELES, CA 90067
                                                            Letter Of Credit To The Benefit Of Ss Small Mouth Parkersburg Llc In
                                                            The Amount Of $222,583.00

         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           Undetermined
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number                           N/A
                                                              ¨ No
                                                              þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         ¨ No                                                 Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             þ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       Page 4 of 7
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Debtor     Red Lobster Management LLC                                                                     Case number (If known): 24-02486
           Name


                                                                                                                                    Column A                Column B
   Part 1:         Additional Page                                                                                                  Amount of Claim         Value of collateral
                                                                                                                                    Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                            of collateral.          claim
   from the previous page.

2.9      Creditor's name                                     Describe debtor’s property that is subject to a lien
         WELLS FARGO BANK, NATIONAL ASSOCIATION              Substantially All Assets Of The Debtor

                                                                                                                                    $         Undetermined $         Undetermined
         Creditor's mailing address
         ATTENTION BRYAN WEI
         1800 CENTURY PARK EAST
         SUITE 1100                                          Describe the lien
         LOS ANGELES, CA 90067
                                                            Letter Of Credit To The Benefit Of Txu Retail Energy In The Amount Of
                                                            $175,000.00

         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           Undetermined
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number                           N/A
                                                              ¨ No
                                                              þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         ¨ No                                                 Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             þ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.10     Creditor's name                                     Describe debtor’s property that is subject to a lien
         WELLS FARGO BANK, NATIONAL ASSOCIATION              Substantially All Assets Of The Debtor

                                                                                                                                    $         Undetermined $         Undetermined
         Creditor's mailing address
         ATTENTION BRYAN WEI
         1800 CENTURY PARK EAST
         SUITE 1100                                          Describe the lien
         LOS ANGELES, CA 90067
                                                            Letter Of Credit To The Benefit Of Western Surety Company In The
                                                            Amount Of $150,000.00

         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           Undetermined
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number                           N/A
                                                              ¨ No
                                                              þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         ¨ No                                                 Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             þ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      Page 5 of 7
                              Case 6:24-bk-02486-GER                         Doc 435            Filed 06/21/24              Page 58 of 1148
Debtor     Red Lobster Management LLC                                                                     Case number (If known): 24-02486
           Name


                                                                                                                                  Column A                Column B
   Part 1:         Additional Page                                                                                                Amount of Claim         Value of collateral
                                                                                                                                  Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                          of collateral.          claim
   from the previous page.

2.11     Creditor's name                                     Describe debtor’s property that is subject to a lien
         WELLS FARGO BANK, NATIONAL ASSOCIATION              Substantially All Assets Of The Debtor

                                                                                                                                  $          Undetermined $        Undetermined
         Creditor's mailing address
         ATTENTION BRYAN WEI
         1800 CENTURY PARK EAST
         SUITE 1100                                          Describe the lien
         LOS ANGELES, CA 90067
                                                            Letter Of Credit To The Benefit Of Zurich American Insurance Co. In
                                                            The Amount Of $1,500,000.00

         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           Undetermined
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number                           N/A
                                                              ¨ No
                                                              þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         ¨ No                                                 Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             þ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.12     Creditor's name                                     Describe debtor’s property that is subject to a lien
         WELLS FARGO BANK, NATIONAL ASSOCIATION              Substantially All Assets Of The Debtor

                                                                                                                                  $          Undetermined $        Undetermined
         Creditor's mailing address
         ATTENTION BRYAN WEI
         1800 CENTURY PARK EAST
         SUITE 1100                                          Describe the lien
         LOS ANGELES, CA 90067
                                                            Letter Of Credit To The Benefit Of Zurich American Insurance Co. In
                                                            The Amount Of $20,900,000.00

         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           Undetermined
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number                           N/A
                                                              ¨ No
                                                              þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         ¨ No                                                 Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             þ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    Page 6 of 7
                         Case 6:24-bk-02486-GER                           Doc 435            Filed 06/21/24              Page 59 of 1148
 Debtor    Red Lobster Management LLC                                                                   Case number (If known):     24-02486
           Name



Part 2:        List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                         On which line in Part 1         Last 4 digits of
   Name and address                                                                                                      did you enter the               account number
                                                                                                                         related creditor?               for this entity


                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




    Official Form 206D                  Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                        Page 7 of 7
                           Case 6:24-bk-02486-GER                            Doc 435         Filed 06/21/24           Page 60 of 1148
   Fill in this information to identify the case:

    Debtor       Red Lobster Management LLC


    United States Bankruptcy Court for the:   Middle District of Florida, Orlando Division
                                                                                                                                            ¨ Check if this is an
    Case number      24-02486                                                                                                                      amended filing
    (If known)




 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                           12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
 claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets -
 Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the
 entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this
 form.


 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
    þ No. Go to Part 2.
    ¨ Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more
    than 3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                           Total claim        Priority amount
2.1 Priority creditor’s name and mailing address                      As of the petition filing date, the claim is:    $                      $
                                                                      Check all that apply.
                                                                      ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
                                                                      Basis for the claim:
    Date or dates debt was incurred

    Last 4 digits of account
    number                                                            Is the claim subject to offset?
    SpecifyCode subsection of PRIORITY unsecured                      ¨ No
    claim: 11 U.S.C. § 507(a) ()                                      ¨ Yes
2.2 Priority creditor’s name and mailing address                      As of the petition filing date, the claim is:    $                      $
                                                                      Check all that apply.
                                                                      ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
                                                                      Basis for the claim:
    Date or dates debt was incurred

    Last 4 digits of account
    number                                                            Is the claim subject to offset?
    SpecifyCode subsection of PRIORITY unsecured                      ¨ No
    claim: 11 U.S.C. § 507(a) ()                                      ¨ Yes
2.3 Priority creditor’s name and mailing address                      As of the petition filing date, the claim is:    $                      $
                                                                      Check all that apply.
                                                                      ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
                                                                      Basis for the claim:
    Date or dates debt was incurred

    Last 4 digits of account
    number                                                            Is the claim subject to offset?
    SpecifyCode subsection of PRIORITY unsecured                      ¨ No
    claim: 11 U.S.C. § 507(a) ()                                      ¨ Yes


  Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 1 of 382
  Debtor                 Case 6:24-bk-02486-GER
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 Part 2:     List All Creditors with NONPRIORITY Unsecured Claims
 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                        Amount of claim
3.1   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      2411495 ONTARIO INC                                               Check all that apply.                            $                          1,130.00
      50 EDGEHILL AVE                                                   ¨ Contingent
      STOUFFVILLE, ON L4A 1S6
                                                                        þ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: Unclaimed Property

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                Undetermined
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.2   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      2411495 ONTARIO INC                                               Check all that apply.                            $                           169.50
      SHABRI SECURITY SERVICES                                          ¨ Contingent
      UNIT 206 1585 MARKHAM RD
      TORONTO, ON M1B 2W1                                               þ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: Unclaimed Property

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                Undetermined
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.3   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      2FUTURE LLC                                                       Check all that apply.                            $                           475.00
      DBA THE GREENSH                                                   ¨ Contingent
      2000 PALM BEACH LAKES BLVD
      WEST PALM BEACH, FL 33409                                         þ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: Unclaimed Property

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                Undetermined
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.4   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      3B2 SOLUTIONS LL                                                  Check all that apply.                            $                           765.00
      35 B CONCOURSE WAY                                                ¨ Contingent
      DBA 1-800GOT JUNK
      GREER, SC 29650-4704                                              þ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: Unclaimed Property

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                Undetermined
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.5   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      3B2 SOLUTIONS LLC                                                 Check all that apply.                            $                        329,850.52
      35 B CONCOURSE WAY                                                ¨ Contingent
      GREER, SC 296504704
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: Trade Payable

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                Undetermined
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.6   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      3B2 SOLUTIONS LLC                                                 Check all that apply.                            $                          3,671.09
      35 B CONCOURSE WAY                                                ¨ Contingent
      GREER, SC 29650-4704
                                                                        þ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: Unclaimed Property

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                Undetermined
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes




  Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 2 of 382
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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.7   Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    553.73
      A ACORN LOCK & SAFE INC
      803 SHOTGUN RD                                                ¨ Contingent
      SUNRISE, FL 33326                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



      Date or dates debt was incurred      Undetermined             Is the claim subject to offset?
                                                                    þ No
      Last 4 digits of account number                               ¨ Yes

3.8   Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
      A CLEAN CUT LAWN & LANDSCAPE
      C/O A CLEAN CUT LAWN & LANSCAPE ATTN: KEVIN BEENE 1112 N.     þ Contingent
      155TH AVE.                                                    þ Unliquidated
      OMAHA, NE 68154                                               þ Disputed
                                                                    Basis for the claim: Litigation - Vendor Dispute



      Date or dates debt was incurred      Undetermined             Is the claim subject to offset?
                                                                    þ No
      Last 4 digits of account number                               ¨ Yes

3.9   Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    370.88
      A-1 ARTISTIC CLEANING SERVICE INC
      11 N ORCHARD STREET                                           ¨ Contingent
      BROOKVILLE, OH 45309                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



      Date or dates debt was incurred      Undetermined             Is the claim subject to offset?
                                                                    þ No
      Last 4 digits of account number                               ¨ Yes

3.10 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    594.92
      AC BEVERAGE OF SOUTH FL INC
      106 E MCNAB RD STE 106                                        ¨ Contingent
      DBA GREGS MAINT COMMERCIAL CLE                                þ Unliquidated
      POMPANO BEACH, FL 33060-9240                                  ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



      Date or dates debt was incurred      Undetermined             Is the claim subject to offset?
                                                                    þ No
      Last 4 digits of account number                               ¨ Yes

3.11 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  3,428.00
      AC DC ELECTRIC INC
      PO BOX 51745                                                  ¨ Contingent
      DBA SOUTHERN GLAZERS OF NY UPS                                þ Unliquidated
      PHOENIX, AZ 85076                                             ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



      Date or dates debt was incurred      Undetermined             Is the claim subject to offset?
                                                                    þ No
      Last 4 digits of account number                               ¨ Yes


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                                                                                                                    Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.12 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 14,895.22
    ACI WORLDWIDE CORP
    13594 COLLECTIONS CENTER DRIVE                                  ¨ Contingent
    CHICAGO, IL 60693-0001                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.13 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,668.37
    ACTION COMMERCIAL SERVICE INC
    6 SIMMONS LN STE 2                                              ¨ Contingent
    ALBANY, NY 12204-2700                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.14 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    114.94
    ADCO CLEANING SERVICE INC
    5760 GROVE DRIVE                                                ¨ Contingent
    DBA FISH WINDOW CLEANING                                        þ Unliquidated
    KNOXVILLE, TN 37918                                             ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.15 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    299.60
    ADEWUYI MAJARO
    DBA OGOMITAN DEEP CLEANING SRV                                  ¨ Contingent
    1995 BAY DR UNIT 3                                              þ Unliquidated
    MIAMI BEACH, FL 33141                                           ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.16 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    ADP INC
    PO BOX 830272                                                   þ Contingent
    PHILADELPHIA, PA 19182-0382                                     þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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                                                                                                                    Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.17 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,787.92
    ADVANCED ELECTRIC SERVICE INC
    121 CEDAR PINE LANE                                             ¨ Contingent
    DBA GREGS MAINT COMMERCIAL CLE                                  þ Unliquidated
    MADISON, MS 39110-8868                                          ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.18 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,614.63
    ADVANCED PLUMBING SYSTEMS
    1416 CALEDONIA ST                                               ¨ Contingent
    LA CROSSE, WI 54603-2411                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.19 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    375.50
    ADVENTIST HEALTH SYSTEM/SUNBELT INC
    901 NORTH LAKE DESTINY RD SUIT                                  ¨ Contingent
    MAITLAND, FL 32751-4891                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.20 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         1.13
    AGUILAR, MAGALY
    ADDRESS ON FILE                                                 ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.21 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                        98.85
    AIRE MASTER OF AMERICA
    MISSOURI DIVISION                                               ¨ Contingent
    PO BOX 2310                                                     þ Unliquidated
    NIXA, MO 65714                                                  ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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                                                                                                                    Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.22 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    466.27
    AJS RESTAURANT SERVICE BY A TECH
    2901 CHAPMAN AVE                                                ¨ Contingent
    DBA PACIFIC LANDSCAPE MANAGEME                                  þ Unliquidated
    SPRINGDALE, AR 72762-6005                                       ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.23 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    798.84
    AKEHURST LANDSCAPE SERVICE INC
    712 PHILADELPHIA ROAD                                           ¨ Contingent
    JOPPA, MD 210853123                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.24 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 11,431.29
    ALABAMA STATE TREASURY
    UNCLAIMED PROPERTY DIVISION                                     ¨ Contingent
    RSA UNION BLDG                                                  ¨ Unliquidated
    100 N UNION ST STE 636                                          ¨ Disputed
    MONTGOMERY, AL 36104
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.25 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                        36.50
    ALCIUS, LOCTAMA
    ADDRESS ON FILE                                                 ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.26 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                        11.50
    ALCIUS, LOCTAMA
    ADDRESS ON FILE                                                 ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.27 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                                 $                    300.00
    ALCOHOLIC BEVERAGE COMMISSION
    226 CAPITOL BLVD SUITE 300                                      ¨ Contingent
    NASHVILLE, TN 37243-0755                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.28 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                                 $                        38.74
    ALDERSON, AMANDA
    ADDRESS ON FILE                                                 ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.29 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                                 $             Undetermined
    ALEJANDRO RIOS
    ADDRESS ON FILE                                                 þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - General Liability



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.30 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                                 $                    182.50
    ALL DRAIN LLC
    PO BOX 535                                                      ¨ Contingent
    DAYTON, OH 45404-0535                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.31 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                                 $                    842.69
    ALL SERVICE KITCHEN EQUIPMENT CORP
    PO BOX 310                                                      ¨ Contingent
    NEW HYDE PARK, NY 11040                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.32 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    684.02
    ALLIED BEVERAGE GROUP
    PO BOX 7000                                                     ¨ Contingent
    ELIZABETH, NJ 07207-7000                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.33 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,750.62
    ALSCO CANADA CORP
    14630-123RD AVENUE                                              ¨ Contingent
    EDMONTON, ON T5L 2Y4                                            ¨ Unliquidated
    CANADA                                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.34 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 28,307.04
    ALSCO INC
    DBA ALSCO CORPORATE ACCOUNTS                                    ¨ Contingent
    3101 CHARLOTTE AVE                                              ¨ Unliquidated
    NASHVILLE, TN 37209-4053                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.35 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,561.25
    ALTAMIRANO, AGUSTIN
    DBA ADJ LANDSCAPING SERVICE                                     ¨ Contingent
    2791 SW 26TH ST                                                 þ Unliquidated
    MIAMI, FL 33133-2113                                            ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.36 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                        9.84
    ALVAREZ, JUSTIN
    ADDRESS ON FILE                                                 ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.37 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    ALVEAR, ENRIQUE
    ADDRESS ON FILE                                                 þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - ADA Dispute



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.38 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,333.44
    AMAZON.COM
    C/O AMAZON WEB SERVICES INC                                     ¨ Contingent
    PO BOX 84023                                                    ¨ Unliquidated
    SEATTLE, WA 98124-8423                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.39 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    750.00
    AMERICAN ARBITRATION ASSOCIATION INC
    120 BROADWAY FL 21                                              ¨ Contingent
    NEW YORK, NY 10271-2700                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.40 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                        64.24
    AMERICAN INTERSTATE MAINTENANCE INC
    PO BOX 350331                                                   ¨ Contingent
    DBA GREGS MAINT COMMERCIAL                                      þ Unliquidated
    CLEANING, NY 11235                                              ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.41 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    321.20
    AMERICAN INTERSTATE MAINTENANCE INC
    PO BOX 350331                                                   ¨ Contingent
    DBA GREGS MAINT COMMERCIAL CLE                                  þ Unliquidated
    BROOKLYN, NY 11235                                              ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.42 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     64.24
    AMERICAN INTERSTATE MAINTENANCE INC
    DBA GREGS MAINT COMMERCIAL                                      ¨ Contingent
    CLEANING                                                        þ Unliquidated
    BROOKLYN, NY 11235                                              ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.43 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    173.40
    AMERICAN PROFESSIONAL LOCKSMITH SERVICES
    DBA DRISCOLLS LOCK & KEY                                        ¨ Contingent
    67 WEST CENTRAL AVENUE                                          þ Unliquidated
    PEARL RIVER, NY 10965                                           ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.44 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    295.00
    AMERICAN PUMPING
    2522 E STATE ROAD 218                                           ¨ Contingent
    CAMDEN, IN 46917-9568                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.45 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    181.90
    AMERICAN RESIDENTIAL SERVICES LLC
    DBA AKSARBEN PLUMBING SEWER                                     ¨ Contingent
    & DRN 7070 SOUTH 108TH ST                                       þ Unliquidated
    OMAHA, NE 68128-5748                                            ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.46 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         0.81
    AMSTER, CARMEN
    ADDRESS ON FILE                                                 ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.47 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                 135,483.87
    ANALYTIC PARTNERS LP
    1441 BRICKELL AVE STE 1220                                      ¨ Contingent
    MIAMI, FL 33131-3429                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.48 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $              Undetermined
    ANGEL MORALES
    ADDRESS ON FILE                                                 þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Personal Injury



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.49 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                    138.65
    ANHEUSER-BUSCH INBEV WORLDWIDE INC
    1700 BEECHWOOD AVENUE DBA                                       ¨ Contingent
    ANHEUSER-BUSCH SALES OF OKLAHO                                  þ Unliquidated
    OKLAHOMA CITY, OK 73149                                         ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.50 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $              Undetermined
    ANT BRANS CORPORATION D/B/A/ KRISTA SOFTWARE
                                                                    þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Vendor Dispute



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.51 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                         0.11
    ANTIS, KIMBERLY
    ADDRESS ON FILE                                                 ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.52 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,606.44
    ANYBILL FINANCIAL SERVICES INC
    C/O ACCOUNTS RECEIVABLE                                         ¨ Contingent
    PO BOX 34781                                                    ¨ Unliquidated
    BETHESDA, MD 20827                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.53 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,692.90
    ANYBILL FINANCIAL SERVICES INC
    PO BOX 34781                                                    ¨ Contingent
    DBA GREGS MAINT COMMERCIAL CLE                                  þ Unliquidated
    C/O ACCOUNTS RECEIVABLE                                         ¨ Disputed
    BETHESDA, MD 20827
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.54 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 56,460.00
    APEX SYSTEMS INC
    3750 COLLECTIONS CENTER DRIVE                                   ¨ Contingent
    CHICAGO, IL 60693                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.55 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 29,186.44
    APPCAST INC
    PO BOX 392472                                                   ¨ Contingent
    PITTSBURGH, PA 15251-9472                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.56 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 15,266.27
    APPOGEE LLC
    418 EVANS ST STE 201                                            ¨ Contingent
    GREENVILLE, NC 27858-1834                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.57 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    197.26
    AQUAHOLICS INC
    123 HIGHWOOD RD                                                 ¨ Contingent
    DENVILLE, NJ 07834-3019                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.58 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    389.19
    AQUAHOLICS INC
    DBA AQUAHOLICS AQUARIUM SERVIC                                  ¨ Contingent
    123 HIGHWOOD RD                                                 þ Unliquidated
    DENVILLE, NJ 07834-3019                                         ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.59 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
    ARC DOCUMENT SOLUTIONS LLC
    PO BOX 953466                                                   þ Contingent
    SAINT LOUIS, MO 63195-3466                                      þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.60 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         7.12
    ARCINIEGA, MARJORIE
    ADDRESS ON FILE                                                 ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.61 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,762.91
    ARIZONA DEPARTMENT OF REVENUE
    UNCLAIMED PROPERTY UNIT                                         ¨ Contingent
    PO BOX 29026                                                    ¨ Unliquidated
    PHOENIX, AZ 29096                                               ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.62 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     50.00
    ARKANSAS ALCOHOLIC BEV CONTROL
    100 MAIN ST                                                     ¨ Contingent
    LITTLE ROCK, AR 72201                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.63 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     50.00
    ARKANSAS ALCOHOLIC BEV CONTROL
    ORLANDO, FL 32809                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.64 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,019.92
    ARKANSAS STATE AUDITOR
    UNCLAIMED PROPERTY DIVISION                                     ¨ Contingent
    1401 W CAPITOL AVE, STE 325                                     ¨ Unliquidated
    LITTLE ROCK, AR 72201                                           ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.65 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         0.69
    ARMSTRONG, JO
    ADDRESS ON FILE                                                 ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.66 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    170.00
    AROUND THE CLOCK PLUMBING LLC
    PO BOX 2074                                                     ¨ Contingent
    HUNTSVILLE, AL 35804                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.67 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         8.05
    ARUNASALAM, MANOKAR
    ADDRESS ON FILE                                                 ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.68 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  11,761.13
    ATB FURNISHED HOUSING SF INC
    1480 SW 3RD ST STE C6                                           ¨ Contingent
    POMPANO BEACH, FL 33069-3225                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.69 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,721.69
    AUGUSTA COUNTY EMERGENCY SERVICES
    PO BOX 590                                                      ¨ Contingent
    DBA SERVICEMASTER RESTORE BY R                                  þ Unliquidated
    VERONA, VA 24482-0590                                           ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.70 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    292.55
    AUTOMATED DATA PROCESSING TECHNICIANS INC
    DBA ADAPT INC                                                   ¨ Contingent
    5610 ROWLAND ROAD SUITE 160                                     ¨ Unliquidated
    MINNETONKA, MN 55343-8984                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.71 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    207.60
    B & B BEVERAGE COMPANY
    DBA GEORGIA BEVERAGE DISTRIBUT                                  ¨ Contingent
    6401 WEST HAMILTON PARK DR                                      þ Unliquidated
    DR COLUMBUS, GA 31909                                           ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.72 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    260.00
    BABCOCK INC
    4716 N ELLEN CT                                                 ¨ Contingent
    DBA OFFICE OF LICENSING & PERM                                  þ Unliquidated
    PEORIA HTS, IL 61616                                            ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.73 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      16.65
    BAILEY, VERONICA
    ADDRESS ON FILE                                                 ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.74 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 512,167.39
    BAKER & HOSTETLER LLP
    PO BOX 70189                                                    ¨ Contingent
    CLEVELAND, OH 44190-0189                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.75 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         2.82
    BAKER, BRYSON
    ADDRESS ON FILE                                                 ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.76 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      77.00
    BAKER, KEOTA
    ADDRESS ON FILE                                                 ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.77 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     25.70
    BALAL NIAKI, SADEGH
    ADDRESS ON FILE                                                 ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.78 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     59.33
    BALSBAUGH, CARIE
    ADDRESS ON FILE                                                 ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.79 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    366.50
    BAY AREA SIGNS AND ELETRICAL LLC
    2218 OBOE TRL                                                   ¨ Contingent
    LEAGUE CITY, TX 77573-2708                                      þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.80 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     21.50
    BB PLUMBING LLC
    215 INTERSTATE BLVD                                             ¨ Contingent
    SARASOTA, FL 34240                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.81 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    101.80
    BECKS FLORIST INC
    105 E WASHINGTON ST                                             ¨ Contingent
    EAST PEORIA, IL 61611-2527                                      þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.82 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                     23.40
    BELL, DEJEUNE
    ADDRESS ON FILE                                                 ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.83 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                   1,013.00
    BENT CARYL & KROLL LLP
    6300 WILSHIRE BLVD SUITE 1415                                   ¨ Contingent
    LOS ANGELES, CA 90048                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.84 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $              Undetermined
    BERNARD KERSHNER
    ADDRESS ON FILE                                                 þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Personal Injury



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.85 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                     90.00
    BEST BRANDS INCORPORATED
    PO BOX 290155                                                   ¨ Contingent
    NASHVILLE, TN 37229                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.86 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                    726.84
    BIG BEND GASKET INC
    1400 VILLAGE SQUARE BLVD SUIT                                   ¨ Contingent
    TALLAHASSEE, FL 32312                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.87 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    171.18
    BIG SIGN LLC
    PO BOX 884                                                      ¨ Contingent
    DBA 1-800GOT JUNK                                               þ Unliquidated
    SHEFFIELD, AL 35660-0884                                        ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.88 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    450.00
    BIX SERVICES LLC
    PO BOX 611                                                      ¨ Contingent
    BIXBY, OK 74008-0611                                            þ Unliquidated
    BIXBY, OK 74008-0611                                            ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.89 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,593.30
    BLACK SUTHERLAND LLP
    130 ADELAIDE STREET WEST SUITE 3425                             ¨ Contingent
    PO BOX 34                                                       ¨ Unliquidated
    TORONTO, M5H 3P5                                                ¨ Disputed
    CANADA
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.90 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    768.40
    BLACK SUTHERLAND LLP
    130 ADELAIDE STREET WEST                                        ¨ Contingent
    SUITE 3425 PO BOX 34                                            þ Unliquidated
    TORONTO, ON M5H 3P5                                             ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.91 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    192.00
    BLIND EXPRESS INC
    1100-1102 ABBEY COURT                                           ¨ Contingent
    ALPHARETTA, GA 30004                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.92 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    360.40
    BLUEFORD, FRED
    ADDRESS ON FILE                                                 ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.93 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     57.51
    BOLDEN, MEGAN
    ADDRESS ON FILE                                                 ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.94 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         1.74
    BOLSER, JAMES
    ADDRESS ON FILE                                                 ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.95 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     30.00
    BOROUGH OF POTTSTOWN
    100 EAST HIGH STREET                                            ¨ Contingent
    POTTSTOWN, PA 19464                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.96 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         1.75
    BOSSIER SIGN CO INC
    1401 E TEXAS STREET                                             ¨ Contingent
    BOSSIER CITY, LA 71111-4198                                     þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.97 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    369.53
     BOTTLING GROUP LLC
     DBA PEPSI BEVERAGES COMPANY                                    ¨ Contingent
     PO BOX 75948                                                   ¨ Unliquidated
     CHICAGO, IL 60675-5948                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.98 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         7.09
     BOYLAN, BREEA
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.99 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         0.04
     BOZZO, TONI
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.100 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     25.00
     BRABAND, BRETT
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.101 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,000.00
     BRETT BEHRENS
     DBA NATURAL SETTINGS                                           ¨ Contingent
     PO BOX 441009                                                  þ Unliquidated
     INDIANAPOLIS, IN 46244-1009                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.102 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                 $                    295.00
     BRIAN S HARRIS
     DBA A REEF CONNECTION                                          ¨ Contingent
     20734 4TH AVENUE                                               þ Unliquidated
     DES MONIES, WA 98198                                           ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.103 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                 $                    767.76
     BRINKS INC
     PO BOX 101031                                                  ¨ Contingent
     ATLANTA, GA 30392-1031                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.104 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                 $                    312.41
     BRITTANY NICHOLE GRANT
     4814 EAGLES LNDG                                               ¨ Contingent
     DBA MIRACLE MAID OF WICHITA FA                                 þ Unliquidated
     WICHITA FALLS, TX 76310-2849                                   ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.105 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                 $              Undetermined
     BRITTANY WALKER
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - General Liability



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.106 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                 $                         1.83
     BROWN, DEENA
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.107 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     27.32
     BROWN, DUSTIN.
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.108 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    145.36
     BROWN, PHILIP
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.109 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         3.67
     BRYSON, HANNAH
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.110 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    162.00
     BUCK, GREGG A
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.111 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     30.00
     BUECHEL, LEAH
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.112 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    260.00
     BULLSEYE CODE LLC
     1186 BLACK WALNUT CT                                           ¨ Contingent
     WINTER SPRINGS, FL 32708                                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.113 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 55,798.43
     BUNTIN ADVERTISING INC
     DBA BUNTIN GROUP                                               ¨ Contingent
     1001 HAWKINS ST                                                ¨ Unliquidated
     NASHVILLE, TN 37203                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.114 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   8,333.33
     BURKHARDT DEVELOPMENT GROUP INC
     6721 BONETA ROAD                                               ¨ Contingent
     MEDINA, OH 44256                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.115 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    512.91
     BUSINESS EXPRESS COURIER SERVICES INC
     504 N HUDSON ST                                                ¨ Contingent
     ORLANDO, FL 32835-1163                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.116 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    617.05
     BUSSES LOCK SERVICE LLC
     2003 WAKE FOREST RD                                            ¨ Contingent
     RALEIGH, NC 27608                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.117 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    655.47
     BUSSES LOCK SERVICE LLC
     2003 WAKE FOREST RD                                            ¨ Contingent
     RALEIGH, NC 27608-2733                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.118 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    733.35
     BUTLER, CHASITY
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.119 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,100.00
     BUYER ADVERTISING INC
     175 HIGHLAND AVE STE 407                                       ¨ Contingent
     NEEDHAM, MA 02494-3048                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.120 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         6.80
     BYERS, DONNA
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.121 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    135.00
     C & A PLUMBING LLC
     PO BOX 603                                                     ¨ Contingent
     DBA GREGS MAINT COMMERCIAL CLE                                 þ Unliquidated
     BROWNSVILLE, KY 42210-0603                                     ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.122 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 21,959.95
     C & S PRESS INC
     405 27TH STREET                                                ¨ Contingent
     ORLANDO, FL 32806-4452                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.123 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    227.81
     C H ROBINSON COMPANY
     DEPARTMENT OF LABOR&INDUSRTRY                                  ¨ Contingent
     651 BOAS STREET ROOM 1600                                      þ Unliquidated
     HARRISBURGE, PA 17121                                          ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.124 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    377.31
     C&C CLEAN TEAM ENTERPRISES LLC
     1776 TENNESSEE AVE                                             ¨ Contingent
     DBA WIDMERS CARPET CLEANERS                                    þ Unliquidated
     CINCINNATI, OH 45229-1202                                      ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.125 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    500.00
     CALGARY HEALTH REGION
     PO BOX 1980 STN M                                              ¨ Contingent
     CALGARY, AB T2P 4Z7                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.126 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     20.00
     CALGARY POLICE
     ALARM BYLAW UNIT 609                                           ¨ Contingent
     5111 47 STREET NE                                              þ Unliquidated
     CALGARY, AB T3J 3R2                                            ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.127 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                 $                 10,595.95
     CALIFORNIA STATE CONTROLLER'S OFFICE
     UNCLAIMED PROPERTY DIVISION                                    ¨ Contingent
     300 CAPITOL MALL, STE 1850                                     ¨ Unliquidated
     SACRAMENTO, CA 95814                                           ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.128 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                 $                    140.00
     CAMACHO, ISAIAH D
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.129 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                 $                   1,915.16
     CAMANCHACA INC
     7200 NW 19TH STREET SUITE 410                                  ¨ Contingent
     MIAMI, FL 33126                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.130 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                 $                     28.25
     CANADIAN LINEN
     BOX 51055 RPO TYNDALL                                          ¨ Contingent
     WINNIPEG, MB R2X 3C6                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.131 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                 $              Undetermined
     CANDACE CLARKE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - General Liability



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.132 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         11.69
     CARLSON, DONNA
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.133 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    120.00
     CASH, MARC
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.134 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,156.44
     CASTRO CONTRACTING SERVICES LLC
     2 CONDON AVE UPPR                                              ¨ Contingent
     DBA ONE CALL SERVICES LLC                                      þ Unliquidated
     BUFFALO, NY 14207-1512                                         ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.135 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    515.00
     CEILING PRO OF MIDWEST IN
     1641 EAST 236TH STREET                                         ¨ Contingent
     ARCADIA, IN 46030                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.136 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 14,512.50
     CELERITY IS INC
     6 LIBERTY SQ PMB 496                                           ¨ Contingent
     BOSTON, MA 02109-5800                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.137 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    512.50
     CENTRAL FLORIDA COPY CTR
     DBA XEROGRAPHIC DIGITAL PRINTING                               ¨ Contingent
     1948 33RD STREET                                               ¨ Unliquidated
     ORLANDO, FL 32839                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.138 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     111.00
     CENTRAL HEATING AND PLUMBING CO INC
     925 MORAVIA STREET                                             ¨ Contingent
     NEW CASTLE, PA 16101-3916                                      þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.139 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     79.97
     CERAMI LAWNS LLC
     1790 LAKEWOOD ROAD                                             ¨ Contingent
     TOMS, NJ 08755                                                 þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.140 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    513.45
     CERTIFIED CARPET
     UPHOLSTREY CLEANERS                                            ¨ Contingent
     2538 HENDERSON HIGHWAY                                         þ Unliquidated
     WINNIPEG, MB R2E 0C3                                           ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.141 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     95.00
     CERTIFIED RECYCLING LLC
     14305 EWING AVE                                                ¨ Contingent
     BURNSVILLE, MN 55306-5299                                      þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.142 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                     44.40
     CHACON-BLAHUT, KARLE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.143 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                         2.20
     CHANG, TIEN TSAI
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.144 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                     69.79
     CHANG, TIEN TSAI
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.145 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $              Undetermined
     CHRISINE SALAMATIN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Personal Injury



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.146 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                    813.45
     CIACCIO ROOFING CORPORATION
     4420 IZARD STREET                                              ¨ Contingent
     OMAHA, NE 68131-1018                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.147 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,417.73
     CINTAS CANADA LIMITED
     255 HARRY WALKER PKWY SOUTH                                    ¨ Contingent
     NEW MARKET, VA L3Y 8Z5                                         ¨ Unliquidated
     CANADA                                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.148 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 350,186.53
     CINTAS CORPORATION NO 2
     DBA CINTAS LOCATION #346                                       ¨ Contingent
     PO BOX 630910                                                  ¨ Unliquidated
     CINCINNATI, OH 452630910                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.149 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         5.00
     CITY OF AUSTIN
     PO BOX 1088                                                    ¨ Contingent
     AUSTIN, TX 78767-1088                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.150 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    700.00
     CITY OF BRIDGETON
     11955 NATURAL BRIDGE ROAD                                      ¨ Contingent
     BRIDGETON, MO 63044-2068                                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.151 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   5,534.00
     CITY OF BRISTOL
     300 LEE STREET                                                 ¨ Contingent
     DBA GREGS MAINT COMMERCIAL CLE                                 þ Unliquidated
     BRISTOL, VA 24201                                              ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.152 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     25.00
     CITY OF CORAL SPRINGS FLORIDA
     2801 CORAL SPRINGS DR                                          ¨ Contingent
     CORAL SPRINGS, FL 33065                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.153 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    200.00
     CITY OF EAST POINT
     2757 E POINT ST                                                ¨ Contingent
     EAST, GA 30344-3207                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.154 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    106.00
     CITY OF ELIZABETHTOWN
     C/O CITY ABC ADMINISTRATOR                                     ¨ Contingent
     PO BOX 550                                                     þ Unliquidated
     ELIZABETH TOWN, KY 42702-0550                                  ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.155 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,003.14
     CITY OF HARRISON
     409 S MAIN ST                                                  ¨ Contingent
     DBA PEPSI-COLA BOTTLING COMPAN                                 þ Unliquidated
     COMMISSIONER OF THE REVENUE                                    ¨ Disputed
     HARRISONBURG, VA 22801-3610
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.156 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     20.00
     CITY OF JACKSONVILLE
     231 E FORSYTH STREET STE 141                                   ¨ Contingent
     JACKSONVILLE, FL 32202                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.157 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    763.00
     CITY OF KEARNEY
     PO BOX 1180                                                    ¨ Contingent
     KEARNEY, NE 68848                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.158 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    100.00
     CITY OF LIVONIA
     33000 CIVIC CENTER DRIVE                                       ¨ Contingent
     LIVONIA, MI 48154                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.159 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     CITY OF MEDFORD
     PO BOX 2327                                                    þ Contingent
     PORTLAND, OR 97208-2327                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.160 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     35.00
     CITY OF MERIDIAN
     33 E BROADWAY AVENUE                                           ¨ Contingent
     SUITE 102                                                      þ Unliquidated
     MERIDIAN, MS 83642                                             ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.161 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    144.70
     CITY OF NAPLES
     275 13TH ST NORTH                                              ¨ Contingent
     NAPLES, FL 34120                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.162 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     10.00
     CITY OF NAPLES
     355 RIVERSIDE CIRCLE                                           ¨ Contingent
     NAPLES, FL 34102                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.163 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   5,000.00
     CITY OF NEWNAN
     PO BOX 1193                                                    ¨ Contingent
     NEWNAN, GA 30264                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.164 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,900.00
     CITY OF NORTH CHARLESTON
     PO BOX 190016                                                  ¨ Contingent
     ATTN: E WARREN NEWTON FINANCE                                  þ Unliquidated
     NORTH CHARLESTON, SC 29419                                     ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.165 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    640.00
     CITY OF NORTH LAS VEGAS
     2250 LAS VEGAS BLVD N STE 710                                  ¨ Contingent
     NORTH LAS VEGAS, NV 89030-5875                                 þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.166 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    750.00
     CITY OF OAKDALE MN
     1584 HADLEY AVENUE NORTH                                       ¨ Contingent
     DBA GREGS MAINT COMMERCIAL CLE                                 þ Unliquidated
     OAKDALE, MN 55128                                              ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.167 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     50.00
     CITY OF OLATHE
     FALSE ALARM REDUCTION UNIT                                     ¨ Contingent
     PO BOX 768                                                     þ Unliquidated
     OLATHE, KS 66051                                               ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.168 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    315.00
     CITY OF PALMDALE
     ATTN ACCOUNTS RECEIVABLE                                       ¨ Contingent
     38300 SIERRA HWY STE D                                         þ Unliquidated
     PALMDALE, CA 93550-4611                                        ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.169 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    425.00
     CITY OF PEORIA
     8401 W MONROE ST ROOM 130                                      ¨ Contingent
     PEORIA, AZ 85345                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.170 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     50.00
     CITY OF PHILADELPHIA
     PO BOX 1942                                                    ¨ Contingent
     PHILADELPHIA, PA 19105                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.171 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     84.53
     CITY OF SALINAS
     65 WEST ALISAL STREET                                          ¨ Contingent
     SALINAS, CA 93901                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.172 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     80.00
     CITY OF SALISBURY
     PO BOX 4118                                                    ¨ Contingent
     SALISBURY, MD 21803-4118                                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.173 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    276.25
     CITY OF SAN JOSE
     200 EAST SANTA CLARA STREET                                    ¨ Contingent
     SAN JOSE, CA 95113-1903                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.174 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    300.00
     CITY OF SAVANNAH
     WATER RECLAMATION                                              ¨ Contingent
     1400 E PRESIDENT STREET                                        þ Unliquidated
     SAVANNAH, GA 31404                                             ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.175 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    750.00
     CITY OF ST CLOUD
     400 2ND ST SO                                                  ¨ Contingent
     ST CLOUD, MN 56301                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.176 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     50.00
     CITY OF VANCOUVER WASHINGTON
     PO BOX 1995                                                    ¨ Contingent
     VANCOUVER, WA 98668-1995                                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.177 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    128.32
     CLEARWATER SPRINKLER INC
     1425 16TH AVENUE                                               ¨ Contingent
     LEWISTON, ID 83501                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.178 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    342.90
     COAST CLEANING SERVICES LLC
     DBA COAST SERVICES                                             ¨ Contingent
     1100 SIXTH AVE                                                 þ Unliquidated
     NEPTUNE, NJ 07753-5150                                         ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.179 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,131.20
     COLAMCO INC
     224 W CENTRAL PKWY 1006                                        ¨ Contingent
     ALTAMONTE SPRINGS, FL 32714-2545                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.180 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    154.00
     COLORADO BUREAU OF INVEST
     DO NOT MAIL                                                    ¨ Contingent
     ORLANDO, FL 32809                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.181 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     75.00
     COLORADO BUREAU OF INVEST
     DO NOT MAIL -ORLANDO, FL 3280                                  ¨ Contingent
     ORLANDO, FL 32809                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.182 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,455.07
     COLORADO STATE TREASURY
     UNCLAIMED PROPERTY DIVISION                                    ¨ Contingent
     200 E COLFAX AVE, STE 141                                      ¨ Unliquidated
     DENVER, CO 80203-1722                                          ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.183 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   5,000.00
     COLUMBUS CONSOLIDATED GVMT
     PO BOX 1397                                                    ¨ Contingent
     OCCUPATIONAL TAX SECTION                                       þ Unliquidated
     COLUMBUS, GA 31902-1397                                        ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.184 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    533.83
     COMCAST HOLDINGS CORPORATION
     DBA COMCAST CABLE COMMUNICATIO                                 ¨ Contingent
     PHILADELPHIA, PA 19176-0284                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.185 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 34,058.48
     COMM WORKS INVESTMENT HOLDING COMPANY LLC
     DBA COMM WORKS LLC                                             ¨ Contingent
     PO BOX 734592                                                  ¨ Unliquidated
     CHICAGO, IL 60673-4592                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.186 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    270.00
     COMMERCIAL APPL PARTS & SVC INC
     DBA COMMERCIAL APPLIANCE SVC                                   ¨ Contingent
     8416 LAUREL FAIR CIRCLE STE 11                                 þ Unliquidated
     TAMPA, FL 33610                                                ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.187 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     82.00
     COMMONWEALTH OF PENNSYLVANIA
     BUREAU OF FOODS & CHEMISTRY 23                                 ¨ Contingent
     HARRISBURG, PA 17110-9408                                      þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.188 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 14,389.60
     COMPSYCH CORPORATION
     455 N CITYFRONT PLAZA DRIVE                                    ¨ Contingent
     CHICAGO, IL 606115322                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.189 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,277.62
     COMPTROLLER OF MARYLAND
     UNCLAIMED PROPERTY                                             ¨ Contingent
     301 W PRESTON ST, RM 310                                       ¨ Unliquidated
     BALTIMORE, MD 21201                                            ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.190 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         3.87
     COOK, KIRA ANN
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.191 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    128.00
     CORPORATE CREATIONS INTERNATIONAL INC
     801 US HIGHWAY 1                                               ¨ Contingent
     NORTH PALM BEACH, FL 33408-3811                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.192 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    388.25
     CORPORATE PRIDE LLC
     1809 E BROADWAY ST STE 170                                     ¨ Contingent
     OVIEDO, FL 32765-8597                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.193 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  11,242.54
     CORPORATE RELOCATION LLC
     DBA CORPORATE RELOCATION INTERNATIONAL                         ¨ Contingent
     1432 WAINWRIGHT WAY STE 100                                    ¨ Unliquidated
     CARROLLTON, TX 75007-4946                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.194 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         0.24
     COURCHESNE, CASSANDRA
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.195 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     56.25
     COWARD, ANDREW NEIL
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.196 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    622.00
     COWBOYS LANDSCAPING LLC
     805 W 2000 N                                                   ¨ Contingent
     LOUIES PROPERTY MAINTENANCE                                    þ Unliquidated
     PROVO, UT 8604-1222                                            ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.197 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    553.00
     COWBOYS LANDSCAPING LLC
     805 W 2000 N                                                   ¨ Contingent
     PROVO, UT 84604-1222                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.198 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    383.40
     COZZINI BROTHERS INC
     8430 W BRYN MAWR AVE STE 800                                   ¨ Contingent
     CHICAGO, IL 60631-3497                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.199 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    384.31
     COZZINI BROTHERS INC
     350 HOWARD AVENUE                                              ¨ Contingent
     DES PLAINES, IL 60018                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.200 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    264.00
     CRAWFORD, JENNIFER
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.201 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    727.00
     CREATIVE RESTAURANT SOLUTIONS INC
     401 E GORDON DRIVE                                             ¨ Contingent
     EXTON, PA 19341                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.202 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $              Undetermined
     CREDERA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Vendor Dispute



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.203 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 300,440.00
     CREDERA ENTERPRISES COMPANY LLC
     15303 DALLAS PKWY STE 300                                      ¨ Contingent
     ADDISON, TX 75001-6775                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.204 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $              Undetermined
     CREDERA ENTERPRISES COMPANY, LLC
     15303 DALLAS PKWY STE 300                                      þ Contingent
     ADDISON, TX 75001                                              þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Vendor Dispute



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.205 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    386.37
     CRYSTAL LAWN INC
     1717 3RD AVE                                                   ¨ Contingent
     MANKATO, MN 56001-2911                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.206 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    262.50
     CRYSTAL LAWN INC
     1717 3RD AVE ,                                                 ¨ Contingent
     DBA GREENCARE                                                  þ Unliquidated
     MANKATO, MN 56001-2911                                         ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.207 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    105.63
     CUAYCONG, KEENAH
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.208 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    253.12
     CULLIGAN WATER TREATMENT
     244 LYNDEN ROAD                                                ¨ Contingent
     BRANTFORD, ON N3R 8A3                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.209 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    277.50
     CUMMINS, ANDREW
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.210 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     74.52
     CUNNINGHAM, CURTIS
     DBA CENTRAL WINDOW CLEANERS                                    ¨ Contingent
     PO BOX 347154                                                  þ Unliquidated
     CLEVELAND, OH 44134                                            ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.211 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    100.00
     CURTIS RESTAURANT EQUIPMENT
     PO BOX 7307                                                    ¨ Contingent
     EUGENE, OR 97401                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.212 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                 36,863.66
     CUSTOM FOODS OF AMERICA INCORPORATED
     3600 PLEASANT RIDGE ROAD                                       ¨ Contingent
     KNOXVILLE, TN 37921                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.213 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                    385.88
     D & E PUMP SALES & SERVICE INC
     3833 SOUTH HOPKINS AVENUE                                      ¨ Contingent
     TITUSVILLE, FL 32780                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.214 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                     92.23
     DAIGLE, DANNY
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.215 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $              Undetermined
     DAMARYS GUZMAN-PIZZARO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Personal Injury



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.216 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $              Undetermined
     DARDEN CORPORATION
     DBA DARDEN                                                     þ Contingent
     PO BOX 695012                                                  þ Unliquidated
     ORLANDO, FL 32869                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.217 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             $                Undetermined
     DARDEN RESTAURANTS, INC.
     1000 DARDEN CENTER DR                                          þ Contingent
     ORLANDO, FL 32837                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Potential lease guarantee subrogation (various leases)



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.218 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             $                           96.74
     DATAWORKS INC
     DBA RED BOOK SOLUTIONS                                         ¨ Contingent
     33270 COLLECTION CENTER DRIVE                                  þ Unliquidated
     CHICAGO, IL 60693-0332                                         ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.219 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             $                       275.15
     DATAWORKS INC
     33270 COLLECTION CENTER DRIVE                                  ¨ Contingent
     DBA FULLER WELDING CO                                          þ Unliquidated
     CHICAGO, IL 60693-0332                                         ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.220 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             $                       166.60
     DAVID M MCNABB
     DBA D SIGNS & WONDERS LLC                                      ¨ Contingent
     362080 OLD HIGHWAY 62                                          þ Unliquidated
     PADEN, OK 74860                                                ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.221 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             $                       311.03
     DAVID M WEISS
     228 SAINT JAMES STREET DBA                                     ¨ Contingent
     DAVES CARPET CARE & JANITORIAL                                 þ Unliquidated
     MARION, OH 43302-5135                                          ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.222 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    750.00
     DAVID MESSIMER
     DBA AQUARIUM XPRESS                                            ¨ Contingent
     519 E SIMPSON ST                                               þ Unliquidated
     MECHANICSBURG, PA 17055-6578                                   ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.223 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    200.00
     DAVIDSON, JAMES
     3302 NODDING PINES ST                                          ¨ Contingent
     DBA 1-800GOT JUNK                                              þ Unliquidated
     SPRING, TX 77380-1240                                          ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.224 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     13.00
     DAVIS, ERICK
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.225 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     27.90
     DE ROOS, TRICIA
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.226 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     40.22
     DEBASITIS, THERESA
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.227 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         1.62
     DEBOBEN, KURT
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.228 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    828.00
     DEESE, CAROL
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.229 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 21,916.28
     DELAWARE DEPARTMENT OF FINANCE
     OFFICE OF UNCLAIMED PROPERTY                                   ¨ Contingent
     PO BOX 8931                                                    ¨ Unliquidated
     WILMINGTON, DE 19899-8931                                      ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.230 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     20.00
     DEPARTMENT OF STATE
     DIVISION OF CORPORATIONS                                       ¨ Contingent
     ATTN APOSTILLE SECTION                                         þ Unliquidated
     TALLAHASSEE, FL 32314-6800                                     ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.231 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     93.00
     DEPT OF REVENUE - JEFFERSON CTY
     PO BOX 830710                                                  ¨ Contingent
     BIRMINGHAM, AL 35283-0710                                      þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.232 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    115.50
     DEPT OF REVENUE - JEFFERSON CTY
     C/O TRAVIS A HULSEY                                            ¨ Contingent
     PO BOX 830710                                                  þ Unliquidated
     BIRMINGHAM, AL 35283-0710                                      ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.233 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    281.35
     DES MOINES WINDOW & BLDG MT INC
     PO BOX 31070                                                   ¨ Contingent
     DES MOINES, IA 50310-9407                                      þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.234 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    106.45
     DES MOINES WINDOW & BLDG MT INC
     PO BOX 31070                                                   ¨ Contingent
     DES MOINES,, IA 50310-9407                                     þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.235 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    165.44
     DESERT NOVA CORPORATION
     726 S SUNSET AVENUE ROSWELL                                    ¨ Contingent
     ROSWELL, NM 88203                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.236 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,262.35
     DEX IMAGING
     DBA GREATAMERICA FINANCIAL SERVICES CORPORATION                ¨ Contingent
     PO BOX 660831                                                  ¨ Unliquidated
     DALLAS, TX 75266-0831                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.237 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $             Undetermined
     DEZZI RAE MARSHALL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Class Action



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.238 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $             Undetermined
     DEZZIE RAY MARSHALL (CLASS ACTION)
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Advertising Dispute



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.239 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                  3,310.00
     DIGITAL ACCESSIBILITY CNTR LTD
     SUITE 18 LLAN COED HOUSE                                       ¨ Contingent
     DARCY BUSINESS PARK                                            þ Unliquidated
     LLANDARCY, SA10 6FG                                            ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.240 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                569,955.81
     DINOVA INC
     6455 EAST JOHNS CROSSING                                       ¨ Contingent
     SUITE 220                                                      ¨ Unliquidated
     JOHNS CREEK, GA 30097-1559                                     ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.241 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                  1,342.14
     DINOVA INC
     6455 E JOHNS CROSSING STE 220                                  ¨ Contingent
     JOHNS CREEK, GA 30097-1559                                     þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.242 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                 $              Undetermined
     DINOVA, INC.
     6455 E JOHNS CROSSING #220                                     þ Contingent
     JOHNS CREEK, GA 30097                                          þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Collection Action



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.243 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                 $                 24,860.00
     DIRECTIONS RESEARCH INC
     M/L 520                                                        ¨ Contingent
     PO BOX 145400                                                  ¨ Unliquidated
     CINCINNATI, OH 452505400                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.244 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                 $              Undetermined
     DIRECTOR OF REVENUE
     PO BOX 778                                                     þ Contingent
     JEFFERSON CITY, MO 65102                                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.245 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                 $                    500.00
     DIRECTOR OF REVENUE
     PO BOX 778                                                     ¨ Contingent
     JEFFERSON CITY, MO 65102                                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.246 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                 $                 76,749.48
     DIRECTV
     PO BOX 5006                                                    ¨ Contingent
     CAROL STREAM, IL 60197-5006                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.247 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     20.00
     DIRK POTHIER, JESSE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.248 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,588.78
     DISCOUNT PLUMBING SERVICES INC
     13046 COUNTY ROAD 8                                            ¨ Contingent
     FORT LUPTON, CO 80621-8345                                     þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.249 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    380.81
     DOBBIES FLORIST LTD
     5144 VICTORIA AVE                                              ¨ Contingent
     NIAGARA FALLS, ON L2E 4E3                                      þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.250 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     63.55
     DOBSONS BEVERAGE SERVICES
     89697 GILMOUR LINE                                             ¨ Contingent
     WINGHAM, ON N0G 2W0                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.251 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         5.27
     DOHINA, ALFREDO JR
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.252 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      850.00
     DOOLEYS STEAM WAY CARPET CARE INC
     1120 5TH ST                                                    ¨ Contingent
     MERIDIAN, MS 39301-5308                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.253 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 1,057,204.51
     DOORDASH INC
     PO BOX 735240                                                  ¨ Contingent
     DALLAS, TX 75373-5240                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.254 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      170.91
     DOWDEN, RONALD
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.255 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      313.36
     DOWDEN, RONALD
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.256 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      313.05
     DRAINS ETC
     PO BOX 2386                                                    ¨ Contingent
     VALRICO, FL 33595                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.257 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    163.91
     DRAUGHT LOGISTICS
     BOX 544 STATION MAIN                                           ¨ Contingent
     MILTON, ON L9T 4Z1                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.258 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    240.97
     DUAL ELECTRIC & REFRIGERATION
     3280 ODESSA DR                                                 ¨ Contingent
     TECUMSEH, ON N8N 2M1                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.259 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    143.52
     DUBS, CONNIE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.260 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,205.00
     DUN AND BRADSTREET INC
     PO BOX 931197                                                  ¨ Contingent
     ATLANTA, GA 31193-1197                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.261 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         0.20
     DUPUIS, MICHAEL
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.262 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                $              Undetermined
     E LA CARTE, INC.
     C/O SUSAN SHINOFF 985 INDUSTRIAL ROAD SUITE 205                þ Contingent
     SAN CARLOS, CA 94071                                           þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Contract Dispute



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.263 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                $                   4,976.69
     E V JACOBSON TRUCKING & ESCAV
     1191 LANSING AVENUE                                            ¨ Contingent
     SUDBURY, ON P3A 4C4                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.264 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                $              Undetermined
     E. O. MAGDALIA COLON
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Personal Injury



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.265 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                $                    558.23
     E2F INC
     3655 NOBEL DR STE 520                                          ¨ Contingent
     SAN DIEGO, CA 92122-1051                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.266 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                $                     80.25
     EAST COAST OVEN REPAIR LLC
     PO BOX 157                                                     ¨ Contingent
     SUITE 3600                                                     þ Unliquidated
     MIDDLEBURG, FL 32050-0157                                      ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.267 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     34.50
     E-COLLECT
     804 FAYETTE STREET                                             ¨ Contingent
     CONSHOHOCKEN, PA 19428                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.268 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    263.76
     EDS ELECTRIC INC
     5203 S RANGELINE RD                                            ¨ Contingent
     JOPLIN, MO 64804                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.269 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     41.72
     EDSON, PATRICIA
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.270 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     80.00
     EDWIN BUFARD COOL III
     DBA B COOL WINDOW CARE                                         ¨ Contingent
     1500 N COALTER ST APT D4                                       þ Unliquidated
     STAUNTON, VA 24401-2546                                        ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.271 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    226.00
     EFAX CORPORATE
     C/O J2 CLOUD SERVICES INC                                      ¨ Contingent
     PO BOX 51873                                                   ¨ Unliquidated
     LOS ANGELES, CA 90051-6173                                     ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.272 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                 30,979.64
     ELASTICSEARCH INC
     PO BOX 894466                                                  ¨ Contingent
     LOS ANGELES, CA 90189-4466                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.273 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $              Undetermined
     ELEASIA BLACKMAN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Personal Injury



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.274 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                     14.17
     ELLIS, MARYJANE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.275 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                     42.92
     ELLIS, SHARON
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.276 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $              Undetermined
     ENRIQUE ALVEAR
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Regulatory



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.277 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                     94.39
     ENVIRO MASTER INTERNATIONAL FRANCHISE LL
     PO BOX 12350                                                   ¨ Contingent
     CHARLOTTE, NC 28220-2350                                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.278 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $              Undetermined
     ENVIRO-MASTER SERVICES, LLC
     C/O ANNE CAIOLA                                                þ Contingent
     CAIOLA & ROSE 125 CLAIREMONT AVE SUITE 240                     þ Unliquidated
     DECATUR, GA 30030                                              þ Disputed
                                                                    Basis for the claim: Litigation - Vendor Dispute



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.279 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                    455.00
     ERGONOMIC SERVICES CORPORATION
     PO BOX 161                                                     ¨ Contingent
     REX, GA 30273                                                  þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.280 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $              Undetermined
     ERICH WHITEFORD
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Personal Injury



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.281 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $              Undetermined
     ERIKA COODY
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Personal Injury



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.282 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $              Undetermined
     ERNST & YOUNG LLP
     ERNST & YOUNG US LLP WELLS FARGO BANK NA                       þ Contingent
     PO BOX 933514                                                  þ Unliquidated
     ATLANTA, GA 311933514                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.283 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                    753.71
     ESEQUIEL SOLORIO
     914 14TH ST                                                    ¨ Contingent
     DBA OCCUPATIONAL INJURY LAW                                    þ Unliquidated
     MODESTO, CA 95354-1011                                         ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.284 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $              Undetermined
     ESPERANZA CARR
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Personal Injury



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.285 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                    470.00
     EXPERT REPAIR LLC
     4700 N HIATUS RD SUITE 154                                     ¨ Contingent
     DBA NORTHGATE PARK I                                           þ Unliquidated
     SUNRISE, FL 33351-7904                                         ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.286 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                    900.00
     EXPRESS PLUMBING INC
     PO BOX 1993                                                    ¨ Contingent
     DBA NEALE W TOWNSEND                                           þ Unliquidated
     LAKE CITY, FL 32056-1993                                       ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.287 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     95.40
     EXTREME CLEANING LLC
     303 OKALOOSA RD NE                                             ¨ Contingent
     FORT WALTON BEACH, FL 32548                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.288 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    615.00
     FACILITIES MAINTENANCE LLC
     681 S BLUFORD AVENUE                                           ¨ Contingent
     OCOEE, FL 34761                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.289 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    338.49
     FARRENS, BRIAN G
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.290 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,372.50
     FASKEN MARTINEAU DUMOULIN LLP
     333 BAY STREET SUITE 2400                                      ¨ Contingent
     TORONTO, M5H 2T6                                               ¨ Unliquidated
     CANADA                                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.291 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    780.00
     FASKEN MARTINEAU DUMOULIN LLP
     333 BAY STREET SUITE 2400                                      ¨ Contingent
     TORONTO, ON M5H 2T6                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.292 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    152.99
     FAZIO, FRANCO
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.293 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    699.85
     FBMWW OPCO LLC
     DBA MWW GROUP LLC                                              ¨ Contingent
     1 MEADOWLANDS PLAZA                                            ¨ Unliquidated
     EAST RUTHERFORD, NJ 07073                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.294 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 77,933.40
     FEDERAL EXPRESS CORPORATION
     PO BOX 660481                                                  ¨ Contingent
     DALLAS, TX 752660481                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.295 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     FELIPE FLORES COETO
     DBA MAYRAS LAWN CARE                                           þ Contingent
     107 10TH AVE                                                   þ Unliquidated
     CHATSWORTH, GA 30705-2731                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.296 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         4.27
     FELIX, KIMBERLY
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.297 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     12.92
     FELIX, KIMBERLY
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.298 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     32.32
     FERRELL, LAQUEND0
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.299 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     93.36
     FERRELL, LAQUENDA
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.300 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    350.00
     FIDENCIO GUERRERO CASTRO
     17104 GLENEAGLE DR S                                           ¨ Contingent
     DBA FIDEYCO                                                    þ Unliquidated
     CONROE, TX 77385-4616                                          ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.301 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 86,813.76
     FIFTH THIRD BANK
     PO BOX 636045                                                  ¨ Contingent
     CINCINNATI, OH 452636045                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.302 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    151.66
     FIRE DEPT-CITY OF NEW YORK
     PO BOX 840 CHURCH ST STATION                                   ¨ Contingent
     NEW YORK, NY 10008-0840                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.303 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 32,362.65
     FIRST DATA CORPORATION
     DBA FDS HOLDINGS INC                                           ¨ Contingent
     PO BOX 2025                                                    ¨ Unliquidated
     ENGLEWOOD, CO 80150-2025                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.304 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,320.00
     FIR-SURE TROPICAL FOLIAGE COMPANY INC
     PO BOX 441                                                     ¨ Contingent
     COBDEN, IL 62920                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.305 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    125.00
     FISHBACK, JOSEPH
     DBA FISHBACK PLUMBING LLC PO B                                 ¨ Contingent
     COOKEVILLE, TN 38503-1234                                      þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.306 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    378.50
     FLORENCE, MATT
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.307 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    378.50
     FLORENCE, MATT
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.308 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    919.18
     FLORES CASTRO, JEYDALIS
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.309 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     90.00
     FLORIDA FISH & WILDLIFE CONSERVATION COM
     PO BOX 6150                                                    ¨ Contingent
     DBA LOUIES PROPERTY MAINTENANC                                 þ Unliquidated
     TALLAHASSEE, FL 32314                                          ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.310 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,536.16
     FLORIDA STATE TREASURY
     UNCLAIMED PROPERTY DIVISION                                    ¨ Contingent
     200 E GAINES ST                                                ¨ Unliquidated
     TALLAHASSEE, FL 32399-0358                                     ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.311 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         1.93
     FOGLE, BRITNEY
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.312 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             $              Undetermined
     FOUR CORNERS OPERATING PARTNERSHIP LP
     DBA FCPT HOLDINGS LLC                                          ¨ Contingent
     PO BOX 936705                                                  þ Unliquidated
     ATLANTA, GA 31193-6705                                         ¨ Disputed
                                                                    Basis for the claim: Potential Accrual for Rent



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.313 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             $                    198.87
     FOURTH ENTERPRISES LLC
     DBA HOTSCHEDULES RED BOOK SOLUTIONS                            ¨ Contingent
     RED BOOK CONNECT LLC                                           ¨ Unliquidated
     PO BOX 18364                                                   ¨ Disputed
     PALATINE, IL 60055-8364
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.314 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             $                    180.53
     FRANK A SMITH BEVERAGES INC
     180 SHOEMAKER ROAD                                             ¨ Contingent
     DBA PACIFIC LANDSCAPE MANAGEME                                 þ Unliquidated
     POTTSTOWN, PA 19464                                            ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.315 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             $                    911.74
     FRANK A SMITH BEVERAGES INC
     180 SHOEMAKER ROAD                                             ¨ Contingent
     DBA KINETICO WATER SYSTEMS OF                                  þ Unliquidated
     POTTSTOWN, PA 19464                                            ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.316 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             $                    923.63
     FRANK A SMITH BEVERAGES INC
     180 SHOEMAKER ROAD                                             ¨ Contingent
     DBA SERVICEMASTER RESTORE BY R                                 þ Unliquidated
     POTTSTOWN, PA 19464                                            ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.317 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     70.00
     FRIENDS WITH FLOWERS LTD
     699 WILKINS STREET UNIT 17                                     ¨ Contingent
     LONDON, ON N6C 5C8                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.318 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     47.54
     FRIENDS WITH FLOWERS, LTD
     699 WILKINS STREET UNIT 17                                     ¨ Contingent
     LONDON                                                         þ Unliquidated
     ON N6C 5C8                                                     ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.319 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     27.37
     FRONTIER SUPPLY CHAIN SOLUTIONS INC
     310-555 HERVO STREET                                           ¨ Contingent
     WINNIPEG, MB R3T 3L6                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.320 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    158.20
     FUSION PRO SERVICES
     137-1140 BURNHAMTHORPE ROAD                                    ¨ Contingent
     UNIT 176                                                       þ Unliquidated
     MISSISSAUGA, ON L5C 0A3                                        ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.321 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    443.82
     GABRIEL CAMPOS
     DBA PLUMBING EXPERTS                                           ¨ Contingent
     9961 MCCOMBS ST                                                þ Unliquidated
     EL PASO, TX 79924-5009                                         ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.322 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                $              Undetermined
     GALLEY SOLUTIONS, INC.
     C/O SNELL & WILMER ATTN: BROOKE BARNES 12230 EL CAMINO REAL,   þ Contingent
     STE. 300                                                       þ Unliquidated
     SAN DIEGO, CA 92130                                            þ Disputed
                                                                    Basis for the claim: Litigation - Contract Dispute



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.323 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                $                 101,796.00
     GARTNER INC
     PO BOX 911319                                                  ¨ Contingent
     DALLAS, TX 753911319                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.324 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                $                         6.72
     GASHI, NAIM
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.325 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                $                         0.20
     GAULT, MICHAEL
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.326 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                $                         0.09
     GELIN, IBENSON
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.327 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    300.00
     GEM PRODUCTIONS
     106 DELLA ST                                                   ¨ Contingent
     DBA THE TAP GUY                                                þ Unliquidated
     BRANSON GUEST CARD                                             ¨ Disputed
     BRANSON, MO 65616-2204
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.328 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,017.09
     GENERAL, BETTY
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.329 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         3.74
     GEORGE, MYERS
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.330 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,957.65
     GEORGIA DEPARTMENT OF REVENUE
     UNCLAIMED PROPERTY PROGRAM                                     ¨ Contingent
     4125 WELCOME ALL RD STE 701                                    ¨ Unliquidated
     ATLANTA, GA 30349-1824                                         ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.331 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     34.85
     GILARRANZ, SHANTHALL
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.332 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         11.05
     GILES LOCK & SECURITY SYSTEMS INC
     1211 HARTNELL AVENUE                                           ¨ Contingent
     REDDING, CA 96002                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.333 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                          4.11
     GLUBE, DAVID MICHAEL
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.334 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     77.50
     GNC CONSULTING INC
     21195 S LAGRANGE RD                                            ¨ Contingent
     FRANKFORT, IL 60423-2044                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.335 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    150.00
     GOLDEN ARROWHEAD
     404 PROSPECT ST                                                ¨ Contingent
     BYERS, TX 76357                                                þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.336 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,819.00
     GOLDEN-TECH INTERNATIONAL INC
     11120 NE 2ND ST STE 200                                        ¨ Contingent
     BELLEVUE, WA 98004-8337                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.337 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     14.13
     GOUDREAU, JASON
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.338 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,235.00
     GRANMAR PRODUCTS INC
     PO BOX 228014                                                  ¨ Contingent
     MIAMI, FL 33222-8014                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.339 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    157.83
     GREAT BAY DISTRIBUTING INC
     2750 EAGLE AVE N                                               ¨ Contingent
     ST. PETERSBURG, FL 33716                                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.340 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,942.96
     GREAT LAKES ELECTRICAL CONTRACTING INC
     440 ARCO DR                                                    ¨ Contingent
     TOLEDO, OH 43607-2909                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.341 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    508.50
     GREATER KINGSTON CHAMBER OF COMMERCE
     204-299 CONCESSION STREET                                      ¨ Contingent
     KINGSTON, ON K7K 2B9                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.342 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                       8,146.07
     GREEN CABBAGE MARKETING LLC
     DBA GREEN CABBAGE LLC                                          ¨ Contingent
     125 EMERYVILLE DR STE 330                                      ¨ Unliquidated
     CRANBERRY TOWNSHIP, PA 16066-5020                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.343 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                       2,500.00
     GREENBERG, MICHAEL A
     9309 WILD BEES LN                                              ¨ Contingent
     DBA PETERSON PLUMBING                                          þ Unliquidated
     COLUMBIA, MD 21045-1827                                        ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.344 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  Undetermined
     GREENWAY PROPERTY, LLC
     5230 E SHANGRI-LA                                              þ Contingent
     SCOTTSDALE, AZ 85254                                           þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Landlord Breach of Contract



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.345 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                       1,000.00
     GRIFFIN, LESLIE
     229 HIGHWAY 49 LOT Y                                           ¨ Contingent
     DBA PEPSI-COLA BOTTLING COMPAN                                 þ Unliquidated
     MACON, GA 31211-7841                                           ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.346 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  Undetermined
     GROVES, WILLIAM
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - ADA Dispute



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.347 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    907.72
     GROW PRO LLC
     5513 WEST 11000 N STE 232                                      ¨ Contingent
     HIGHLAND, UT 84003-8012                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.348 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   9,920.25
     GUIDEPOINT SECURITY LLC
     PO BOX 844716                                                  ¨ Contingent
     BOSTON, MA 02284-4716                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.349 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    615.73
     GULFCOAST ELECTRIC & LIGHTING
     4301 39TH ST S                                                 ¨ Contingent
     SAINT PETERSBURG, FL 33711                                     þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.350 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   9,862.80
     GW INTERNATIONAL INC
     1426 HARVEST AVE SE                                            ¨ Contingent
     OLYMPIA, WA 98501-8620                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.351 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     HAB-BPT
     325 A NORTH POTTSTOWN PIKE                                     þ Contingent
     EXTON, PA 193412290                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.352 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         9.56
     HALL, KAITLIN
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.353 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    300.00
     HANLEY, EARNEST
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.354 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    353.56
     HANSON, JACOB
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.355 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    700.00
     HAQ CORPORATION
     3068 CHAPEL HILL ROAD                                          ¨ Contingent
     DBA CHAPMAN PLUMBING                                           þ Unliquidated
     C/O RIAZ HAQ                                                   ¨ Disputed
     DOUGLASVILLE, GA 30135
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.356 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    154.00
     HARDER, RICHARD
     DBA RICHARDS PLUMBING & DRAIN                                  ¨ Contingent
     PO BOX 973                                                     þ Unliquidated
     SUMNER, WA 98390-0180                                          ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.357 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     HARTFORD FINANCIAL SERVICES GROUP
     ONE HARTFORD PLAZA                                             þ Contingent
     HARTFORD, CT 06155                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #20BSBIZ8521



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      8521                      ¨ Yes

3.358 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                       14.26
     HATCHER, TROY
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.359 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      769.67
     HAWK LANDSCAPING INC
     1626 SAINT FRANCIS LANE                                        ¨ Contingent
     ALTOONA, PA 16602                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.360 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      192.15
     HAYDO LLC
     2228 E ENTERPRISE PARKWAY                                      ¨ Contingent
     DBA GREGS MAINT COMMERCIAL CLE                                 þ Unliquidated
     TWINSBURG, OH 44087-2393                                       ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.361 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         6.73
     HAYES, JENNIFER
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.362 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    893.00
     HEART OF FLORIDA UNITED WAY*
     1940 TRAYLOR BLVD                                              ¨ Contingent
     ORLANDO, FL 328044714                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.363 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 454,139.50
     HELLOWORLD INC
     A MERKLE INC COMPANY                                           ¨ Contingent
     3000 TOWN CENTER STE 2100                                      ¨ Unliquidated
     SOUTHFIELD, MI 48075-1313                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.364 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    100.00
     HENDERSON, JOHN
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.365 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    300.00
     HENDRICKS COUNTY
     GOVT CENTER                                                    ¨ Contingent
     DBA SERVICEMASTER RESTORE BY R                                 þ Unliquidated
     DANVILLE, IN 46122                                             ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.366 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    271.64
     HENLEYS KEY SERVICE INC
     117 E BOULDER                                                  ¨ Contingent
     COLORADO SPRINGS, CO 80903                                     þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.367 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $              Undetermined
     HENNY PENNY CORPORATION
     1219 U.S. 35 WEST P.O. BOX 60                                  þ Contingent
     EATON, OH 45320                                                þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Vendor Dispute



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.368 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                     29.25
     HENWOOD, MIKE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.369 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                   1,400.74
     HERITAGE FOOD SRVC GRP OF CAN
     145-8528 GLENLYON PKWY                                         ¨ Contingent
     BURNABY, BC V5J 0B6                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.370 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                     47.00
     HERITAGE WINE CELLARS LLC
     6600 W HOWARD ST                                               ¨ Contingent
     NILES,, IL 60714                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.371 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    188.99
     HERNANDEZ, EYUREN
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.372 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     25.84
     HIBBS, AMANDA
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.373 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    387.02
     HICKORY GROVE COMMUNITY LLC
     2158 NORTHGATE PARK LN STE 199                                 ¨ Contingent
     DBA GREGS MAINT COMMERCIAL CLE                                 þ Unliquidated
     CHATTANOOGA, TN 37415-6911                                     ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.374 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    137.00
     HIGH LIFE SALES COMPANY
     CENTRALSTATES BEVERAGE COMPANY                                 ¨ Contingent
     PO BOX 484873                                                  þ Unliquidated
     KANSAS CITY, MO 64148                                          ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.375 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    251.50
     HILL PLUMBING & ELECTRIC CO INC
     438 NORTH MAIN STREET                                          ¨ Contingent
     SUMTER, SC 29150                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.376 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         0.01
     HODGMAN, HEATHER
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.377 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         0.65
     HOLDER, ALMA
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.378 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         1.22
     HOLLIS, KEITH
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.379 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 67,720.31
     HP INC
     PO BOX 101149                                                  ¨ Contingent
     ATLANTA, GA 30392-1149                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.380 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         1.18
     HRIDI, NUSRAT
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.381 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    143.20
     HUNTERDON BEVERAGE COMPANY LLC
     PO BOX 1050                                                    ¨ Contingent
     DBA ALPHAGRAPHICS 379                                          þ Unliquidated
     WHITEHOUSE STATION, NJ 8889                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.382 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    192.00
     HYGIENE MASTERS INC
     13869 BERENGER LN                                              ¨ Contingent
     DBA ENVIRO MASTER SERVICES OF                                  þ Unliquidated
     CARMEL, IN 46032-9415                                          ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.383 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    769.58
     HYGINIX LLC
     3830 VALLEY CTR DR #705                                        ¨ Contingent
     SAN DIEGO,, CA 92130-3307                                      þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.384 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         1.49
     IBARRA DE CUYA, VILMA
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.385 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     10.00
     IBARRA DE CUYA, VILMA
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.386 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     72.28
     IDAHO STATE TREASURER
     UNCLAIMED PROPERTY DIVISION                                    ¨ Contingent
     304 N 8TH ST STE 208                                           ¨ Unliquidated
     BOISE, ID 83702                                                ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.387 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     75.00
     ILLINOIS SECRETARY OF STATE
     DEPARTMENT OF BUSINESS SVCS                                    ¨ Contingent
     LIMITED LIABILITY DIVISION                                     ¨ Unliquidated
     501 S SECOND ST RM 351                                         ¨ Disputed
     SPRINGFIELD, IL 62756
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.388 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     40.85
     IMBLER HOLDING CORP
     FISH WINDOW CLEANING OF TALLAH                                 ¨ Contingent
     PO BOX 13595                                                   þ Unliquidated
     TALLAHASSEE, FL 32308                                          ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.389 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 18,972.73
     INCONTACT INC
     DBA NICE NICE INCONTACT THE NICE GROUP                         ¨ Contingent
     LOCKBOX 0268                                                   ¨ Unliquidated
     PO BOX 7247                                                    ¨ Disputed
     PHILADELPHIA, PA 19170-0268
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.390 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,235.00
     INDIANA ALCOHOL
     302 W WASHINGTON ROOM E114                                     ¨ Contingent
     DBA KINETICO WATER SYSTEMS OF                                  þ Unliquidated
     INDIANAPOLIS, IN 46204                                         ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.391 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,200.00
     INDIANA ALCOHOL AND TOBACCO COMMISSION
     302 W WASHINGTON ROOM E114                                     ¨ Contingent
     DBA NORTHGATE PARK I                                           þ Unliquidated
     INDIANAPOLIS, IN 46204                                         ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.392 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     55.00
     INDUSTRIAL GROUNDS MAINTENANCE
     102 NEVERSINK ST                                               ¨ Contingent
     READING, PA 19602                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.393 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     29.95
     INFORMA MEDIA INC
     PO BOX 2100                                                    ¨ Contingent
     SKOKIE, IL 60076-7800                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.394 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    175.00
     INFOSEA CO
     DBA CHANG INTERNATIONAL INC                                    ¨ Contingent
     3010 77TH AVE SE STE 204                                       ¨ Unliquidated
     MERCER ISLAND, WA 98040-2842                                   ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.395 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 13,483.85
     INFOSYS BPM LIMITED
     BOA LOCKBOX SERVICES                                           ¨ Contingent
     13539 COLLECTIONS CENTER DRIVE                                 ¨ Unliquidated
     CHICAGO, IL 60693                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.396 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    262.50
     INHOUSE CREATIVE GROUP LLC
     16202 APALACHEE CIR                                            ¨ Contingent
     CLERMONT, FL 34711-6205                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.397 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    591.60
     INNISS, NATASH
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.398 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    166.20
     INS BROKERS INC
     DBA VIATEK SOLUTIONS                                           ¨ Contingent
     11399 47TH ST N                                                ¨ Unliquidated
     CLEARWATER, FL 33762-4963                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.399 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    475.00
     INSIDE OUT CLEANING SERVICES LLC
     12122 BUCK HALL LN                                             ¨ Contingent
     DBA KINETICO WATER SYSTEMS OF                                  þ Unliquidated
     FREDERICKSBURG, VA 22407-6686                                  ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.400 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    250.00
     INTEGRITY WATER SOLUTIONS LLC
     DBA KINETICO OF DAYTON 3870 IN                                 ¨ Contingent
     DAYTON, OH 45440                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.401 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,430.96
     INTERFACE SECURITY SYSTEMS LLC
     8339 SOLUTIONS CENTER                                          ¨ Contingent
     CHICAGO, IL 606778003                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.402 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                 $                     5,000.00
     INTERNATIONAL CIO LEADERSHIP ASSOCIATION LLC
     DBA INSPIRE LEADERSHIP NETWORK                                 ¨ Contingent
     1 CONCOURSE PKWY STE 100                                       ¨ Unliquidated
     ATLANTA, GA 30328-5384                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.403 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                 $                      750.00
     IOWA PEACE OFFICERS ASSOCIATION
     PO BOX 1355                                                    ¨ Contingent
     ANKENY, IA 50021-0978                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.404 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                 $              Undetermined
     IPSOS
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - ADA Dispute



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.405 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                 $                 1,047,719.00
     IPSOS INSIGHT LLC
     PO BOX 36076                                                   ¨ Contingent
     NEWARK, NJ 07188-6076                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.406 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                 $              Undetermined
     IPSOS-INSIGHT, LLC
     C/O STEVEN KAYMAN                                              þ Contingent
     ROTTENBERG LIPMAN RICH, P.C. THE HELMSLEY BUILDING 230 PARK    þ Unliquidated
     AVENUE, 18TH FLOOR                                             þ Disputed
     NEW YORK, NY 10169
                                                                    Basis for the claim: Litigation - Collection Action



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.407 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    139.44
     IRAHETA, MARLENE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.408 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   8,383.32
     IRON MOUNTAIN INFORMATION MGMT INC
     PO BOX 27128                                                   ¨ Contingent
     NEW YORK, NY 100877128                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.409 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 101,642.18
     ITW FOOD EQUIPMENT GROUP LLC
     DBA BERKEL COMPANY                                             ¨ Contingent
     4406 TECHNOLOGY DRIVE                                          ¨ Unliquidated
     SOUTH BEND, IN 46628                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.410 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  10,008.16
     J BRANDT RECOGNITION LTD
     2816 WEST LANCASTER AVENUE                                     ¨ Contingent
     FORT WORTH, TX 76107                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.411 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,264.19
     JACKS LAWN CARE INC
     333 RT 9W                                                      ¨ Contingent
     CONYERS, NY 10920                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.412 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    105.00
     JACKSON COUNTY
     ENVIRONMENTAL HEALTH DEPT 3490                                 ¨ Contingent
     OLD US 40 HWY                                                  þ Unliquidated
     GRAIN VALLEY, MO 64029                                         ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.413 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    750.00
     JAMES F WITMYER
     DEPT OF BUILDING INSPECTIONS                                   ¨ Contingent
     MANHASSETT, NY 11030                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.414 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,783.78
     JAMES J SULLIVAN
     DBA SULLIVISION INC                                            ¨ Contingent
     694 S KELLER PARK DR                                           ¨ Unliquidated
     APPLETON, WI 54914-8545                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.415 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    540.00
     JARROD D STANGER
     3460 N GREEN MEADOWS DR                                        ¨ Contingent
     DBA CRAFT BEER GUILD OF NY FIN                                 þ Unliquidated
     SOLSBERRY, IN 47459-8261                                       ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.416 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    436.03
     JDJP LLC
     2555 N HILL FIELD RD                                           ¨ Contingent
     DBA CLEAN TAP LLC                                              þ Unliquidated
     LAYTON, UT 84041-4755                                          ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.417 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    215.00
     JEREL SCOTT FULLER
     6723 KNOLL STREET                                              ¨ Contingent
     DBA FULLER WELDING CO                                          þ Unliquidated
     GOLDEN VALLEY, MN 55427                                        ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.418 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     67.50
     JLS BUILDING SERVICES LLC
     930 E WATER ST                                                 ¨ Contingent
     CHILLICOTHE, OH 45601-2793                                     þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.419 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    708.27
     JMC SERVICES INC
     PO BOX 770279                                                  ¨ Contingent
     WINTER GARDEN, FL 34777                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.420 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     70.00
     JOHN PALMER ELECTRIC INC
     5 S PROSPECT AVENUE                                            ¨ Contingent
     AVON PARK, FL 33825                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.421 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    848.00
     JOHN R DOUGHERTY & FAM ENT
     DBA ROTO-ROOTER                                                ¨ Contingent
     PO BOX 7580                                                    þ Unliquidated
     7580 JACKSONVILLE, NC 28540                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.422 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $              Undetermined
     JOHN RAMALHO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Personal Injury



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.423 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                    495.00
     JOHN T WALKUP
     DBA WALKUP ELEC                                                ¨ Contingent
     3233 SOUTH CASHUA                                              þ Unliquidated
     FLORENCE, SC 29501                                             ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.424 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                    150.00
     JOHNSON, CHRISTOPHER L
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.425 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                    481.64
     JOHNSON, MAKAYLA
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.426 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                 28,500.00
     JONES LANG LASALLE AMERICAS INC
     PO BOX 95028                                                   ¨ Contingent
     CHICAGO, IL 60690-7217                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.427 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $              Undetermined
     JONES LANG LASALLE AMERICAS, INC.
     C/O UNITED AGENT GROUP INC. 801 US HIGHWAY 1                   þ Contingent
     NORTH PALM BEACH, FL 33408                                     þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Vendor Dispute



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.428 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                     76.39
     JONES, MONA
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.429 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                     55.00
     JOSEPH C WATKINS
     PO BOX 5737                                                    ¨ Contingent
     DBA ADAM COATES                                                þ Unliquidated
     ENDICOTT, NY 13763                                             ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.430 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    485.00
     JOSEPH M KRESCANKO
     DBA VINYL REPAIRS & UPHOLSTERY                                 ¨ Contingent
     26693 RIVER BREEZE DRIVE                                       þ Unliquidated
     MILLSBORO, DE 19966                                            ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.431 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    179.40
     JOSEPH MULLARKEY DISTRIBUTING
     2200 RIDGE DRIVE                                               ¨ Contingent
     DBA SCOTTS EQUIPMENT REPAIR                                    þ Unliquidated
     GLENVIEW, IL 60025                                             ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.432 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    150.00
     JUAREZ, ROGELIO A
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.433 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     52.09
     JUDY WITT
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.434 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    300.00
     JUST4USDC
     1415 CONGRESS PL SE                                            ¨ Contingent
     WASHINGTON, DC 20020-2905                                      þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.435 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    200.00
     JUSTIN ECHOLS
     DBA ECHOLS LANDSCAPING                                         ¨ Contingent
     653 WALKER ST                                                  þ Unliquidated
     BILOXI, MS 39530                                               ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.436 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 25,000.00
     KAIZEN CONSULTING INC
     DBA DATANAUTIX INC                                             ¨ Contingent
     7335 WINDING LAKE CIRCLE                                       ¨ Unliquidated
     OVIEDO, FL 32765-5665                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.437 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                         4.70
     KANAGARTNAM, KUGATHASAN
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.438 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                         3.78
     KANIS, KATHY
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.439 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                    433.09
     KANSAS STATE TREASURER
     UNCLAIMED PROPERTY DIVISION                                    ¨ Contingent
     900 SW JACKSON, STE 201                                        ¨ Unliquidated
     TOPEKA, KS 66612                                               ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.440 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $              Undetermined
     KENNETH SCHEBEN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Personal Injury



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.441 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                   1,351.62
     KENTUCKY STATE TREASURER
     UNCLAIMED PROPERTY DIVISION                                    ¨ Contingent
     1050 US HIGHWAY 127 SOUTH, STE 100                             ¨ Unliquidated
     FRANKFORT, KY 40601                                            ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.442 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             $                         1.00
     KEPLER GROUP LLC
     6 E 32ND ST 9TH FLOOR                                          ¨ Contingent
     NEW, NY 10016-5415                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.443 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             $              Undetermined
     KEYSTONE FIESTA PLAZA LLC
     3776 N 1ST AVE STE 200                                         ¨ Contingent
     TUCSON, AZ 85719-1610                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Potential Accrual for Rent



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.444 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             $              Undetermined
     KEYSTONE MUNICIPAL COLLECTIONS
     1532 LINCOLN WAY                                               þ Contingent
     WHITE OAK, PA 15131                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.445 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             $                         0.88
     KHAN, VASEEM
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.446 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             $                    398.00
     KINETICO INCORPORATED
     9765 BASIL WESTERN ROAD                                        ¨ Contingent
     CANAL WINCHESTER, OH 43110                                     þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.447 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     23.86
     KIRKHAM, ANNE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.448 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         2.13
     KNEREM, MELINDA
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.449 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    965.51
     KORE WIRELESS INC. SUM
     29396 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Utility Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.450 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    375.00
     KOSITCH ENTERPRISES INC
     5700 BOSCELL COMMON                                            ¨ Contingent
     FREMONT, CA 94538-5111                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.451 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    944.02
     KRS KITCHEN REPAIR SERVICES INC
     DBA KITCHEN REPAIR SERVICE                                     ¨ Contingent
     27058 SW 140TH PSGE                                            þ Unliquidated
     NARANJA, FL 33032                                              ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.452 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,802.19
     KUNZ, GEOFFREY M
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.453 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     14.72
     LAKING, CHRISTINE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.454 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    100.00
     LANGE, FLAME
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.455 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    222.10
     LANTERN ELECTRIC
     4393 RIDEAU RIVER RD                                           ¨ Contingent
     KEMPTVILLE, ON K0G 1J0                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.456 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     39.08
     LASHUK LLC
     DBA STANLEY STEEMER OF MADISON                                 ¨ Contingent
     MADISON, WI 53718-6790                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.457 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      135.92
     LAURENS COUNTY BOARD OF EDUCATION
     467 FIRETOWER RD                                               ¨ Contingent
     DUBLIN, GA 31021-2682                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.458 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      813.75
     LAWN BOYS LTD
     2 MITCHELL BAY                                                 ¨ Contingent
     ST ANDREWS, MB R1A 3A3                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.459 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      385.00
     LENS CARPET CARE & CONSULTANTS
     3436 FRANETTE ROAD                                             ¨ Contingent
     DBA GREGS MAINT COMMERCIAL CLE                                 þ Unliquidated
     LANSING, MO 48906                                              ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.460 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         4.34
     LEWIS, KARA
     175 BEERS RD                                                   ¨ Contingent
     DBA PEPSI-COLA BOTTLING COMPAN                                 þ Unliquidated
     DUBOIS, PA 15801-7203                                          ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.461 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Oil and Gas Lease Bond #070019420



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9420                      ¨ Yes


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3.462 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019593



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9593                      ¨ Yes

3.463 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019665



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9665                      ¨ Yes

3.464 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019569



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9569                      ¨ Yes

3.465 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019620



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9620                      ¨ Yes

3.466 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019449



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9449                      ¨ Yes


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3.467 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019661



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9661                      ¨ Yes

3.468 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Liquor - Malt Beverage Bond #015043280



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      3280                      ¨ Yes

3.469 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070018974



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      8974                      ¨ Yes

3.470 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070018973



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      8973                      ¨ Yes

3.471 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019666



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9666                      ¨ Yes


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3.472 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070018983



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      8983                      ¨ Yes

3.473 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019450



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9450                      ¨ Yes

3.474 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019662



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9662                      ¨ Yes

3.475 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019009



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9009                      ¨ Yes

3.476 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019543



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9543                      ¨ Yes


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3.477 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Liquor - Malt Beverage Bond #015044764



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      4764                      ¨ Yes

3.478 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019668



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9668                      ¨ Yes

3.479 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019653



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9653                      ¨ Yes

3.480 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019624



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9624                      ¨ Yes

3.481 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019551



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9551                      ¨ Yes


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3.482 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070011465
                                                                    (BDTO-130050-014)


     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      1465                      ¨ Yes

3.483 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019667



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9667                      ¨ Yes

3.484 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019618



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9618                      ¨ Yes

3.485 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Other License-Permit Bond #070019422



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9422                      ¨ Yes

3.486 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019619



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9619                      ¨ Yes


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3.487 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019544



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9544                      ¨ Yes

3.488 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Sales Tax Bond #070019011



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9011                      ¨ Yes

3.489 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019419



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9419                      ¨ Yes

3.490 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070018988



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      8988                      ¨ Yes

3.491 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #016244176



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      4176                      ¨ Yes


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3.492 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Liquor - Malt Beverage Bond #015044751



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      4751                      ¨ Yes

3.493 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019007



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9007                      ¨ Yes

3.494 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019451



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9451                      ¨ Yes

3.495 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019004



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9004                      ¨ Yes

3.496 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019563



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9563                      ¨ Yes


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3.497 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019643



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9643                      ¨ Yes

3.498 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019557



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9557                      ¨ Yes

3.499 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019642



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9642                      ¨ Yes

3.500 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019568



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9568                      ¨ Yes

3.501 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Liquor - Malt Beverage Bond #015044753



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      4753                      ¨ Yes


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3.502 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019616



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9616                      ¨ Yes

3.503 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019656



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9656                      ¨ Yes

3.504 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019586



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9586                      ¨ Yes

3.505 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019555



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9555                      ¨ Yes

3.506 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019458



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9458                      ¨ Yes


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3.507 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019658



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9658                      ¨ Yes

3.508 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Liquor - Malt Beverage Bond #015044754



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      4754                      ¨ Yes

3.509 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019572



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9572                      ¨ Yes

3.510 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070018992



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      8992                      ¨ Yes

3.511 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Liquor - Malt Beverage Bond #015033910



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      3910                      ¨ Yes


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3.512 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019629



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9629                      ¨ Yes

3.513 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019461



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9461                      ¨ Yes

3.514 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Other License-Permit Bond #070019426



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9426                      ¨ Yes

3.515 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Liquor - Malt Beverage Bond #015044752



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      4752                      ¨ Yes

3.516 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019560



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9560                      ¨ Yes


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3.517 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019466



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9466                      ¨ Yes

3.518 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Liquor - Malt Beverage Bond #015044761



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      4761                      ¨ Yes

3.519 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Sales Tax Bond #015043256



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      3256                      ¨ Yes

3.520 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019008



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9008                      ¨ Yes

3.521 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Liquor - Malt Beverage Bond #015044757



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      4757                      ¨ Yes


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3.522 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019582



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9582                      ¨ Yes

3.523 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070018968



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      8968                      ¨ Yes

3.524 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019636



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9636                      ¨ Yes

3.525 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019603



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9603                      ¨ Yes

3.526 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Liquor - Malt Beverage Bond #015044738



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      4738                      ¨ Yes


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3.527 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019006



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9006                      ¨ Yes

3.528 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019596



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9596                      ¨ Yes

3.529 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019654



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9654                      ¨ Yes

3.530 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019455



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9455                      ¨ Yes

3.531 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - United States Customs Bond #140624009



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      4009                      ¨ Yes


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3.532 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Liquor - Malt Beverage Bond #015044739



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      4739                      ¨ Yes

3.533 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Liquor - Malt Beverage Bond #015044768



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      4768                      ¨ Yes

3.534 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070018967



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      8967                      ¨ Yes

3.535 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Liquor - Malt Beverage Bond #015044766



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      4766                      ¨ Yes

3.536 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Liquor - Malt Beverage Bond #015044765



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      4765                      ¨ Yes


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3.537 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070018975



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      8975                      ¨ Yes

3.538 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019623



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9623                      ¨ Yes

3.539 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019577



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9577                      ¨ Yes

3.540 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070018998



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      8998                      ¨ Yes

3.541 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019626



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9626                      ¨ Yes


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3.542 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019463



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9463                      ¨ Yes

3.543 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070018984



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      8984                      ¨ Yes

3.544 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019635



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9635                      ¨ Yes

3.545 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Other License-Permit Bond #070019429



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9429                      ¨ Yes

3.546 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070018995



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      8995                      ¨ Yes


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3.547 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Sales Tax Bond #070019010



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9010                      ¨ Yes

3.548 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Liquor - Malt Beverage Bond #015044737



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      4737                      ¨ Yes

3.549 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Liquor - Malt Beverage Bond #015044756



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      4756                      ¨ Yes

3.550 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070018989



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      8989                      ¨ Yes

3.551 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070206719



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      6719                      ¨ Yes


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3.552 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070018981



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      8981                      ¨ Yes

3.553 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019443



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9443                      ¨ Yes

3.554 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019547



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9547                      ¨ Yes

3.555 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019625



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9625                      ¨ Yes

3.556 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019651



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9651                      ¨ Yes


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3.557 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019614



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9614                      ¨ Yes

3.558 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019548



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9548                      ¨ Yes

3.559 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070206718



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      6718                      ¨ Yes

3.560 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019575



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9575                      ¨ Yes

3.561 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070018986



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      8986                      ¨ Yes


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3.562 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019590



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9590                      ¨ Yes

3.563 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Liquor - Malt Beverage Bond #070219388



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9388                      ¨ Yes

3.564 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019442



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9442                      ¨ Yes

3.565 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019669



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9669                      ¨ Yes

3.566 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019592



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9592                      ¨ Yes


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3.567 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070011464
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     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      1464                      ¨ Yes

3.568 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019647



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9647                      ¨ Yes

3.569 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019438



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9438                      ¨ Yes

3.570 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019587



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9587                      ¨ Yes

3.571 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019657



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9657                      ¨ Yes


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3.572 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Liquor - Malt Beverage Bond #015044736



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      4736                      ¨ Yes

3.573 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070215100



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      5100                      ¨ Yes

3.574 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019436



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9436                      ¨ Yes

3.575 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070018972



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      8972                      ¨ Yes

3.576 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019675



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9675                      ¨ Yes


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3.577 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019574



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9574                      ¨ Yes

3.578 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070018996



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      8996                      ¨ Yes

3.579 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019431



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9431                      ¨ Yes

3.580 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019566



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9566                      ¨ Yes

3.581 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070018985



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      8985                      ¨ Yes


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3.582 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Sales Tax Bond #070019016



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9016                      ¨ Yes

3.583 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019594



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9594                      ¨ Yes

3.584 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070018999



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      8999                      ¨ Yes

3.585 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019542



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9542                      ¨ Yes

3.586 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Liquor - Malt Beverage Bond #015044734



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      4734                      ¨ Yes


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3.587 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Liquor - Malt Beverage Bond #44S015324



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      5324                      ¨ Yes

3.588 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Other License-Permit Bond #070019424



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9424                      ¨ Yes

3.589 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070018991



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      8991                      ¨ Yes

3.590 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019441



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9441                      ¨ Yes

3.591 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Sales Tax Bond #070019014



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9014                      ¨ Yes


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3.592 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019000



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9000                      ¨ Yes

3.593 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Liquor - Malt Beverage Bond #015044740



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      4740                      ¨ Yes

3.594 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019546



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9546                      ¨ Yes

3.595 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Liquor - Malt Beverage Bond #015044746



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      4746                      ¨ Yes

3.596 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Liquor - Malt Beverage Bond #070206717



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      6717                      ¨ Yes


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3.597 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Liquor - Malt Beverage Bond #070215094



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      5094                      ¨ Yes

3.598 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Sales Tax Bond #070019013



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9013                      ¨ Yes

3.599 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019617



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9617                      ¨ Yes

3.600 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Liquor - Malt Beverage Bond #024051547



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      1547                      ¨ Yes

3.601 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Liquor - Malt Beverage Bond #015044767



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      4767                      ¨ Yes


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3.602 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019545



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9545                      ¨ Yes

3.603 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019444



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9444                      ¨ Yes

3.604 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019452



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9452                      ¨ Yes

3.605 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019641



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9641                      ¨ Yes

3.606 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019576



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9576                      ¨ Yes


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3.607 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019588



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9588                      ¨ Yes

3.608 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Liquor - Malt Beverage Bond #015044755



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      4755                      ¨ Yes

3.609 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Sales Tax Bond #070019015



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9015                      ¨ Yes

3.610 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Liquor - Malt Beverage Bond #015044735



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      4735                      ¨ Yes

3.611 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019433



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9433                      ¨ Yes


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3.612 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Liquor - Malt Beverage Bond #015044758



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      4758                      ¨ Yes

3.613 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019631



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9631                      ¨ Yes

3.614 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019591



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9591                      ¨ Yes

3.615 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070018994



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      8994                      ¨ Yes

3.616 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019440



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9440                      ¨ Yes


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3.617 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Sales Tax Bond #070019012



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9012                      ¨ Yes

3.618 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019460



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9460                      ¨ Yes

3.619 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070211064



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      1064                      ¨ Yes

3.620 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019583



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9583                      ¨ Yes

3.621 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Sales Tax Bond #070019418



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9418                      ¨ Yes


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3.622 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019584



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9584                      ¨ Yes

3.623 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019454



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9454                      ¨ Yes

3.624 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070018987



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      8987                      ¨ Yes

3.625 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Sales Tax Bond #070019417



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9417                      ¨ Yes

3.626 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019615



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9615                      ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.627 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - United States Customs Bond #140624007



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      4007                      ¨ Yes

3.628 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019005



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9005                      ¨ Yes

3.629 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019633



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9633                      ¨ Yes

3.630 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019663



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9663                      ¨ Yes

3.631 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019650



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9650                      ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.632 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019001



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9001                      ¨ Yes

3.633 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019652



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9652                      ¨ Yes

3.634 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019570



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9570                      ¨ Yes

3.635 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019579



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9579                      ¨ Yes

3.636 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $               Undetermined
     LIBERTY MUTUAL GROUP
     175 BERKELEY ST                                                þ Contingent
     BOSTON, MA 02116                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Utility Payment Bond #070019003



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      9003                      ¨ Yes


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3.637 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  6,565.69
     LIBERTY MUTUAL INSURANCE CO
     PO BOX 1449                                                    ¨ Contingent
     NEW YORK, NY 10116-1449                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.638 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,007.55
     LIFEWORKS US LTD
     LBX# 1663 PO BOX 95000                                         ¨ Contingent
     PHILADELPHIA, PA 19195-0001                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.639 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  8,792.55
     LIMITLESS TECHNOLOGY LLC
     1540 INTERNATIONAL PKWY STE 2000                               ¨ Contingent
     LAKE MARY, FL 32746-5096                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.640 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    100.00
     LINDA ALBOLINO
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.641 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 24,089.00
     LINDER AND ASSOCIATES INC
     DBA LINDER GLOBAL EVENTS                                       ¨ Contingent
     2150 WISCONSIN AVE NW                                          ¨ Unliquidated
     WASHINGTON, DC 20007-2203                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.642 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    100.00
     LINDSAY, RUTHIE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.643 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     39.55
     LIQUOR XPRESS
     2618 ST JOSEPH BLVD SUITE 200                                  ¨ Contingent
     ORLEANS, ON K1C 1G3                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.644 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     37.29
     LIQUOR XPRESS
     532 MONTREAL ROAD                                              ¨ Contingent
     SUITE 231 OTTAWA                                               þ Unliquidated
     ORLEANS, ON K1K 4R4                                            ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.645 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     37.29
     LIQUOR XPRESS
     532 MONTREAL ROAD SUITE 231                                    ¨ Contingent
     OTTAWA, ON K1K 4R4                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.646 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    119.78
     LIQUOR XPRESS
     2618 ST JOSEPH BLVD                                            ¨ Contingent
     ORLEANS, ON K1C 1G3                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.647 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    399.38
     LMG SYSTEMS INNOVATION LLC
     2350 INVESTORS ROW                                             ¨ Contingent
     ORLANDO, FL 32837-8331                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.648 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    217.16
     LOCKSMITHS INC
     635 MARTIN LUTHER KING JR DR                                   ¨ Contingent
     MERIDIAN, MS 39301-5664                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.649 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    428.00
     LODOVICO WINDOW CLEANING INC
     PO BOX 341                                                     ¨ Contingent
     MURRYSVILLE, PA 15668-0341                                     þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.650 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,633.93
     LOGAN CLARK III
     DBA FIRST LIGHT SEAFOOD INC                                    ¨ Contingent
     290 SHORE RD                                                   ¨ Unliquidated
     BOURNE, MA 02532-4104                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.651 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         3.45
     LOPEZ, JOSE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.652 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     61.15
     LOUISIANA DEPARTMENT OF THE TREASURY
     UNCLAIMED PROPERTY DIVISION                                    ¨ Contingent
     LOUISIANA STATE CAPITOL BLDG                                   ¨ Unliquidated
     900 N THIRD ST, 3RD FL                                         ¨ Disputed
     BATON ROUGE, LA 70802
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.653 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    487.00
     LPS OF AMERICA INC
     DBA LANIER PARKING SOLUTIONS                                   ¨ Contingent
     460 BOONE AVENUE                                               ¨ Unliquidated
     ORLANDO, FL 32801                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.654 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    907.50
     LT ELECTRIC
     3200 MARQUIS DR                                                ¨ Contingent
     FORT WASHINGTON, MD 20744-2073                                 þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.655 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     57.35
     LUCEY, ERIC
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.656 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         1.18
     LY, THANH THUY
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.657 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                    158.51
     LYLES, JAMES
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.658 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                    376.08
     LYLES, JAMES
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.659 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                     27.90
     LYNN, MICHELLE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.660 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                    325.44
     M C TECHNICAL SERVICES LTD
     6068 NETHERHART RD #20                                         ¨ Contingent
     MISSISSAUGA, ON L5T 1N3                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.661 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $             Undetermined
     M. P. (MINOR)
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Personal Injury



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.662 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             $                     60.50
     MABEE, WENDY
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.663 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             $             Undetermined
     MACYS INC
     DBA MACYS RETAIL HOLDINGS LLC                                  ¨ Contingent
     145 PROGRESS PL                                                þ Unliquidated
     SPRINGDALE, OH 45246-1717                                      ¨ Disputed
                                                                    Basis for the claim: Potential Accrual for Rent



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.664 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             $                    253.75
     MAGISTERIAL DISTRICT COURT 19 2 01
     118 PLEASANT ACRES RD                                          ¨ Contingent
     YORK, PA 17402                                                 þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.665 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             $                     14.01
     MAI, TIEN
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.666 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             $                  2,887.65
     MAINSAIL HOUSING PARTNERS LLC
     DBA MAINSAIL CORPORATE HOUSING                                 ¨ Contingent
     4602 EISENHOWER BLVD                                           ¨ Unliquidated
     TAMPA, FL 33634-6359                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.667 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                     46.98
     MALTMAN, DONNA
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.668 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                         0.64
     MANGA, CINDY
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.669 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $             Undetermined
     MANIER, SHARON
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Privacy Dispute



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.670 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                         0.96
     MAPPILAPARAMBIL, JOVY
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.671 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                    150.00
     MARCUS ANDREW CHAPMAN
     479 WILLISTON HWY                                              ¨ Contingent
     DBA CHAPMAN PLUMBING                                           þ Unliquidated
     BEECH ISLAND, SC 29842                                         ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.672 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    450.00
     MARIA C SANCHEZ
     44450 MELKESIAN BLVD                                           ¨ Contingent
     DBA SANCHEZ CLEANING SERVICES                                  þ Unliquidated
     COACHELLA, CA 92203-3481                                       ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.673 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    195.00
     MARK DAVID HERRING
     DBA PATCH OF HEAVEN LAWN AND H                                 ¨ Contingent
     18498 OLD PORT GIBSON ROAD                                     þ Unliquidated
     RAYMOND, MS 39154                                              ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.674 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     46.00
     MARK J DANIELS
     1150 N MORELAND RD                                             ¨ Contingent
     DBA CLEAN TAP LLC                                              þ Unliquidated
     MORO, IL 62067-1522                                            ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.675 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    102.85
     MARK PETTORINI
     PO BOX 9065                                                    ¨ Contingent
     DBA WACO WINDOW CLEANING                                       þ Unliquidated
     WACO, TX 76714-9065                                            ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.676 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    140.00
     MARKS OFF ENTERPRISES INC
     DBA MARKS OFF WINDOW KLEANING                                  ¨ Contingent
     6725 EAST POLELINE                                             þ Unliquidated
     POST FALLS, ID 83854                                           ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.677 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MARSH CANADA LIMITED
     PO BOX 9741                                                    þ Contingent
     POSTAL STATION A                                               þ Unliquidated
     TORONTO, ON M5W 1R6                                            ¨ Disputed
     CANADA
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.678 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,210.00
     MARTIN, BRANDON
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.679 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    113.92
     MARTIN, JENNIFER
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.680 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    190.00
     MASH ACQUISITION LLC
     DBA GLACIER DESIGN SYSTEMS                                     ¨ Contingent
     240 GREAT CIRCLE RD STE 344                                    ¨ Unliquidated
     NASHVILLE, TN 37228-1721                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.681 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    829.41
     MASONE, DAVID
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.682 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     94.79
     MATOSAS, JACQUELINE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.683 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         5.84
     MATTERN, MARK
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.684 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     28.00
     MATTHEWS, RONALD
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.685 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    201.34
     MATTHYS INC
     4606 CARMEL CIRCLE                                             ¨ Contingent
     PASADENA, TX 77505-5517                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.686 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         1.06
     MCBRIDE RUSS, JANIE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.687 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    636.17
     MCCANN, ELIZABETH
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.688 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    585.00
     MCNEER ELECTRICAL CONTRACTING INC
     1505 HAMILTON ROAD                                             ¨ Contingent
     BOSSIER CITY, LA 71111-3811                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.689 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    325.00
     MCPEAK PLUMBING LLC
     PO BOX 1742                                                    ¨ Contingent
     BOWLING GREEN, KY 42102-1742                                   þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.690 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     34.35
     MD SHAFIQUL ALAM
     2228-30 DENTON AVE                                             ¨ Contingent
     SCARBOROUGH, ON M1L 4P2                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.691 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         3.45
     MEDKOURI, OUNSA
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.692 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                     23.35
     MELARA, BETSY
     2515 COTTAGE AVE APT E                                         ¨ Contingent
     DBA SOUTHERN GLAZERS OF NY UPS                                 þ Unliquidated
     NORTH BERGEN, NJ 07047-2145                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.693 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $             Undetermined
     MELISSA RANDAZZO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Personal Injury



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.694 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                    496.74
     MELS MECHANICAL
     1831 WELLS BRANCH PKWY APT 626                                 ¨ Contingent
     AUSTIN, TX 78728-6936                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.695 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $             Undetermined
     MELVIN SCOTT
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Personal Injury



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.696 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                               $                  2,205.00
     MERCHANT ADVISORY GROUP
     4248 PARK GLEN ROAD                                            ¨ Contingent
     MINNEAPOLIS, MN 55416                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.697 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  11,388.45
     MERCHANT LINK LLC
     C/O MERCHANT LINK LOCKBOX                                      ¨ Contingent
     26125 NETWORK PL                                               ¨ Unliquidated
     CHICAGO, IL 60673-1261                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.698 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 391,365.00
     MERKLE INC
     29432 NETWORK PL                                               ¨ Contingent
     CHICAGO, IL 60673-1294                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.699 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     MERKLE INC.
     7001 COLUMBIA GATEWAY DRIVE                                    þ Contingent
     COLUMBIA, MD 21046                                             þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Vendor Dispute



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.700 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                         5.00
     MESEHA, MARY
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.701 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                   2,100.00
     METRO FINANCE
     DO NOT MAIL                                                    ¨ Contingent
     ORLANDO, FL 32809                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.702 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    190.00
     METRO SWEEPING SERVICES INC
     PO BOX 22468                                                   ¨ Contingent
     ST LOUIS, MO 63126                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.703 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     25.00
     MIAMI DADE POLICE DEPARTMENT
     FALSE ALARM ENFORCEMENT                                        ¨ Contingent
     UNIT 9105 NW 25TH ST RM 1119                                   þ Unliquidated
     DORAL, FL 33172-1500                                           ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.704 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     60.00
     MIAMI DADE POLICE DEPARTMENT
     FALSE ALARM ENFORCEMENT UNIT                                   ¨ Contingent
     9105 NW 25TH ST RM 1119                                        þ Unliquidated
     DORAL, FL 33172                                                ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.705 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     25.00
     MIAMI DADE POLICE DEPARTMENT
     9105 NW 25TH ST RM 1119                                        ¨ Contingent
     DORAL, FL 33172-1500                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.706 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    117.00
     MIAMI-DADE COUNTY TAX COLLECTOR
     FINANCE DEPARTMENT 140 WEST                                    ¨ Contingent
     FLAGLER ST 14TH FLOOR                                          þ Unliquidated
     MIAMI, FL 33130                                                ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.707 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     98.00
     MICHAEL A & BARRY A PRISAZNIK PARTNERS
     330 WEST BROOKDALE STREET                                      ¨ Contingent
     DBA FULLER WELDING CO                                          þ Unliquidated
     ALLENTOWN, PA 18103-5007                                       ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.708 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     85.00
     MICHAEL HUGHES
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.709 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    222.00
     MICHAEL J HEINZ
     DBA FISH GEEKS                                                 ¨ Contingent
     5845 HILLSIDE LANE                                             þ Unliquidated
     MECHANICSBURG, PA 17050-2065                                   ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.710 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,585.58
     MICHIGAN DEPARTMENT OF LABOR & ECONOMIC
     373 VICTOR ST                                                  ¨ Contingent
     HIGHLAND, MI 48203-3117                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.711 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 14,140.49
     MICHIGAN DEPARTMENT OF TREASURY
     UNCLAIMED PROPERTY DIVISION                                    ¨ Contingent
     7285 PARSONS DR                                                ¨ Unliquidated
     DIMONDALE, MI 48821                                            ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.712 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    952.24
     MINNESOTA DEPARTMENT OF COMMERCE
     UNCLAIMED PROPERTY DIVISION                                    ¨ Contingent
     MAIN OFFICE, GOLDEN RULE BLDG                                  ¨ Unliquidated
     85 7TH PLACE E, STE 280                                        ¨ Disputed
     ST. PAUL, MN 55101
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.713 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     77.76
     MINSTER, JEREMY
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.714 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MISSOURI DEPT OF PUBLIC SAFETY
     DIVISION OF FIRE SAFETY                                        þ Contingent
     PO BOX 1421                                                    þ Unliquidated
     JEFFERSON CITY, MO 65102                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.715 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     40.00
     MISSOURI DEPT OF PUBLIC SAFETY
     DIVISION OF FIRE SAFETY PO BOX                                 ¨ Contingent
     JEFFERSON CITY, MO 65102                                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.716 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  8,462.42
     MISSOURI STATE TREASURER
     UNCLAIMED PROPERTY DIVISION                                    ¨ Contingent
     PO BOX 210                                                     ¨ Unliquidated
     JEFFERSON CITY, MO 65102                                       ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.717 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     17.95
     MITCHELL, ROSIE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.718 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    510.00
     MOLECULAR EPIDEMIOLOGY INC
     DBA IEH LABORATORIES AND CONSULTING GROUP                      ¨ Contingent
     15300 BOTHELL WAY NE                                           ¨ Unliquidated
     LAKE FOREST PARK, WA 98155-7634                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.719 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     63.64
     MONCHE, JANESSA M
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.720 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    500.00
     MONONGALIA COUNTY HEALTH DEPT
     453 VAN VOORHIS ROAD                                           ¨ Contingent
     MORGANTOWN,, WV 26505                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.721 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    400.00
     MONROE COUNTY
     CHAMBER OF COMMERCE                                            ¨ Contingent
     PO BOX 626                                                     þ Unliquidated
     MONROE, MI 48161                                               ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.722 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     25.00
     MONROE, ANGELA
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.723 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    625.00
     MONTANA DEPARTMENT OF REVENUE
     UNCLAIMED PROPERTY                                             ¨ Contingent
     PO BOX 5805                                                    ¨ Unliquidated
     HELENA, MT 59604-5805                                          ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.724 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,116.63
     MONTGOMERY CTY MD-DLC
     201 EDISON PARK DRIVE                                          ¨ Contingent
     CONTROL-LIQUOR ACCT SECTION                                    þ Unliquidated
     GAITHERSBURG, MD 20878                                         ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.725 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 90,874.64
     MOOD MEDIA NORTH AMERICA HOLDINGS CORP
     DBA MOOD MEDIA                                                 ¨ Contingent
     PO BOX 602777                                                  ¨ Unliquidated
     CHARLOTTE, NC 28260-2777                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.726 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    300.00
     MOORE, MARCIA
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.727 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                 $                    200.00
     MOORE, VICENTE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.728 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                 $                    275.05
     MOUNTAIN STATE BEVERAGE
     300 GREENBRIER ROAD                                            ¨ Contingent
     DBA PENN BEER SALES & SERVICE                                  þ Unliquidated
     SUMMERSVILLE, WV 26651                                         ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.729 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                 $                    210.00
     MOUNTAIN TOP LAWN CARE INC
     1300 E OAK ST                                                  ¨ Contingent
     POCATELLO, ID 83201-3261                                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.730 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                 $                 99,000.00
     MOVABLE INC
     DBA MOVABLE INK                                                ¨ Contingent
     PO BOX 200338                                                  ¨ Unliquidated
     PITTSBURGH, PA 15251-0338                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.731 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                                 $             Undetermined
     MOVABLE INK
     5 BRYANT PARK 9TH FLOOR                                        þ Contingent
     NEW YORK CITY, NY 10018                                        þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Collection Action



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.732 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    198.00
     MULLIN PLUMBING WEST DIVISION INC
     2936 N SHIELDS BLVD                                            ¨ Contingent
     MOORE, OK 73160-1003                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.733 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    319.80
     MUNICIPAL BACKFLOW LLC
     DBA MUNICIPAL BACKFLOW 121                                     ¨ Contingent
     TERRACE ISLAND, IL 60042-9466                                  þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.734 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     80.00
     MYKOLYSHYN, ANGELA
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.735 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    791.43
     N.D. UNCLAIMED PROPERTY DIVISION
     1707 NORTH 9TH STREET                                          ¨ Contingent
     BISMARCK, ND 58501-1853                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.736 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    393.43
     NACKARD BOTTLING COMPANY
     4980 E RAILHEAD AVE                                            ¨ Contingent
     DBA GREGS MAINT COMMERCIAL CLE                                 þ Unliquidated
     FLAGSTAFF, AZ 86004-2420                                       ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.737 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  89,653.80
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Severance



     Date or dates debt was incurred      08/07/2023                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.738 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 230,769.20
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Severance



     Date or dates debt was incurred      03/31/2024                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.739 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  67,200.00
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Severance



     Date or dates debt was incurred      08/21/2023                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.740 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  28,439.65
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.741 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 659,718.58
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes


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3.742 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 376,192.35
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.743 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 188,286.04
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.744 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  99,313.97
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.745 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 117,058.89
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.746 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  43,333.33
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes


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3.747 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  26,254.55
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.748 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,961.77
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.749 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   9,664.55
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.750 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 149,221.55
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.751 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,450.77
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes


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3.752 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  32,939.46
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.753 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  28,014.86
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.754 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  90,119.46
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.755 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 140,294.84
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.756 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   6,262.52
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.757 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 655,555.43
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.758 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  24,275.27
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.759 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 193,821.68
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.760 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  61,255.92
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.761 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 260,107.04
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.762 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 164,523.79
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.763 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 171,838.57
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.764 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  63,306.00
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.765 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 413,659.44
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.766 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  46,197.07
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.767 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   9,862.47
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.768 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 181,030.94
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.769 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  50,179.11
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.770 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  73,665.37
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.771 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   9,310.80
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.772 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  11,386.51
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.773 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 128,739.46
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.774 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   9,687.63
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.775 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 332,508.59
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.776 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  41,657.73
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.777 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  47,342.38
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.778 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  39,190.11
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.779 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  80,820.59
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.780 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 181,274.51
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.781 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   9,690.62
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes


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3.782 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 384,967.43
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.783 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   8,102.32
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.784 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   9,547.43
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.785 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,473.02
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.786 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  74,210.92
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes


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3.787 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 156,045.74
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.788 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  26,253.96
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.789 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  27,447.64
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.790 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 129,690.48
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.791 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  94,384.27
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes


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3.792 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  18,307.11
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.793 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  36,471.35
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.794 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 290,864.73
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.795 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  32,866.40
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.796 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  66,631.56
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes


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3.797 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 305,372.39
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.798 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,509.67
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.799 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 281,785.22
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.800 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  49,676.59
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.801 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  22,004.66
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.802 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  63,900.75
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.803 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  99,284.02
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.804 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 133,846.35
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.805 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 182,380.52
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.806 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 190,397.46
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.807 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 418,894.23
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.808 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  55,606.09
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.809 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 138,748.47
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.810 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 104,872.26
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.811 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  41,234.59
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.812 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 419,911.84
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.813 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 319,194.36
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.814 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  74,782.87
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.815 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  18,597.88
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.816 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  23,334.06
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.817 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 118,732.48
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.818 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  11,082.27
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.819 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  15,618.74
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.820 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    663.70
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.821 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 201,021.24
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.822 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  19,727.29
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.823 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   9,425.82
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.824 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 105,743.09
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.825 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 164,995.21
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.826 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  28,311.86
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes


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3.827 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   9,696.47
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.828 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  11,093.55
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.829 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 135,040.38
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.830 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  53,527.61
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.831 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 279,401.27
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.832 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  64,743.36
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.833 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 124,049.21
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.834 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 106,860.41
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.835 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  53,499.20
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.836 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 166,825.46
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes


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3.837 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  84,962.39
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.838 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  58,943.39
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.839 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 190,639.38
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.840 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   6,126.18
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.841 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  35,254.11
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes


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3.842 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 286,776.16
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.843 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  32,308.97
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.844 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   5,491.46
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.845 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 122,286.42
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.846 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  10,648.89
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.847 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 147,535.75
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Deferred Compensation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes

3.848 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     NAME ON FILE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.849 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,519.00
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.850 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      39.87
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.851 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     NAME ON FILE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.852 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    306.00
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.853 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 81,112.34
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.854 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     98.76
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.855 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    264.89
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.856 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    196.70
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.857 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         0.92
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.858 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    190.61
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.859 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     15.90
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.860 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         9.78
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.861 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    440.63
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.862 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     59.97
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.863 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     34.37
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.864 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    288.17
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.865 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         1.24
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.866 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    487.34
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.867 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         5.09
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.868 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     53.61
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.869 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,198.24
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.870 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    129.39
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.871 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     30.85
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.872 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         8.61
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.873 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    188.67
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.874 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         0.90
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.875 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         0.02
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.876 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    897.76
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.877 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     56.03
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.878 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     20.65
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.879 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     29.89
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.880 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     12.90
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.881 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         1.18
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.882 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    143.52
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.883 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    104.65
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.884 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    602.06
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.885 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         6.21
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.886 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     99.11
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.887 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    115.28
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.888 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     68.52
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.889 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    133.74
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.890 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    188.36
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.891 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         0.02
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.892 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     25.94
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.893 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    843.71
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.894 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    318.97
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.895 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    332.77
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.896 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         1.16
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.897 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    237.92
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.898 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     43.79
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.899 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         0.12
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.900 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     16.01
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.901 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         5.76
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.902 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     75.90
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.903 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         0.70
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.904 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     76.02
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.905 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     40.34
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.906 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     13.39
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.907 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    518.44
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.908 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    204.11
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.909 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         8.84
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.910 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    242.25
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.911 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         2.43
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.912 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     22.58
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.913 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    175.62
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.914 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     29.25
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.915 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    101.16
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.916 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         8.11
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.917 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    106.98
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.918 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     43.12
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.919 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    119.82
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.920 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         0.11
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.921 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    536.89
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.922 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    610.61
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.923 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    265.16
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.924 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    348.47
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.925 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     49.88
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.926 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    446.19
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.927 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    754.82
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.928 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     14.53
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.929 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    222.85
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.930 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         0.22
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.931 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    159.96
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.932 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     30.48
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.933 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     24.39
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.934 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         2.70
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.935 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     66.56
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.936 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     66.60
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.937 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    354.57
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.938 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    418.85
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.939 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     65.08
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.940 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    157.93
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.941 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     52.75
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.942 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         6.02
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.943 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     13.63
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.944 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     64.89
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.945 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     92.84
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.946 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    214.63
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.947 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     10.68
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.948 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     86.04
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.949 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     22.92
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.950 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     12.21
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.951 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     47.19
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.952 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    458.58
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.953 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         4.92
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.954 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     16.42
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.955 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     48.00
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.956 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     37.43
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.957 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         0.77
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.958 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    105.82
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.959 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    317.86
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.960 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         0.25
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.961 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    103.93
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.962 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    124.73
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.963 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         6.99
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.964 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     98.79
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.965 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         4.85
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.966 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     16.62
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.967 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     59.07
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.968 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    258.04
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.969 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    186.09
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.970 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     44.29
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.971 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     99.77
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.972 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         7.62
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.973 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    227.48
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.974 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     11.90
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.975 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    353.71
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.976 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     48.12
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.977 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    114.30
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.978 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     41.55
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.979 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         0.01
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.980 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    192.72
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.981 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     17.73
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.982 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     24.79
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.983 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     10.29
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.984 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    445.44
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.985 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     66.59
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.986 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    205.50
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.987 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    109.63
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.988 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     35.90
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.989 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     99.61
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.990 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     69.79
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.991 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    279.81
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.992 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         0.61
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.993 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    787.27
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.994 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     11.73
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.995 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    178.38
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.996 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     42.37
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.997 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    181.41
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.998 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    264.34
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.999 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    122.43
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                     55.68
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     48.09
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     26.62
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    368.04
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                     42.07
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                     15.47
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    447.01
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    406.06
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                     39.19
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                         2.20
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                         9.82
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    427.75
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     10.04
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    135.88
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                         2.67
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                     17.07
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                     11.72
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                         0.93
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                         0.93
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                     10.37
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                     78.03
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    583.20
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                         0.96
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                         9.14
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                         4.83
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                     52.91
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                     36.13
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                         9.66
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    263.74
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                     82.33
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                     13.95
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     23.68
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     22.17
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                     22.01
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                         1.59
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                         2.12
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                         9.02
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                         3.27
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                     38.79
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    109.50
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                     18.94
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    107.07
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                         1.00
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                     61.18
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                         2.00
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                         2.80
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                         7.62
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                     70.28
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                         0.51
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                         6.23
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    105.59
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     15.38
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     64.91
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                     42.08
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                     21.91
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                     97.45
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                         0.95
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                     20.96
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    233.62
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                     63.55
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    182.86
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    354.33
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                         6.64
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    457.58
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                         6.69
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                     12.61
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                     59.05
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    108.27
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                     20.27
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                         1.06
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    133.13
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     83.51
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     16.60
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    146.81
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                         4.14
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    116.24
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                     72.64
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    231.47
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    219.90
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    280.19
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    521.08
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     55.98
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    113.85
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    211.47
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                     10.61
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                         0.98
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                     35.97
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                         0.07
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    309.10
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                     22.52
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    111.39
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    197.98
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     36.25
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    504.82
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                         0.02
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                         1.60
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    116.01
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    212.20
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    143.27
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                     42.08
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                     13.08
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     15.70
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    178.13
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,332.15
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                     30.49
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    491.00
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    373.70
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    231.34
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    623.92
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                     11.23
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                         1.09
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     84.80
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    231.82
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                         7.70
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    249.00
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    138.54
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                     34.22
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                     15.96
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                         3.62
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    136.37
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    290.42
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    450.37
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                         6.03
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    401.33
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                     49.44
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                     14.34
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                     61.63
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                         3.72
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                         1.36
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                     50.76
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    168.91
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                         9.11
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                         3.91
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                         0.34
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                     39.77
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    184.80
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                     95.37
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    142.87
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                         8.75
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    258.78
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    150.65
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    195.51
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                         2.11
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                     17.26
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                     56.31
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    457.61
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    212.26
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                     69.19
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                         0.01
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    394.73
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                     42.72
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                         4.19
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     45.79
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                     84.66
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                     13.58
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                         0.34
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                     59.28
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    237.40
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    355.00
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                         0.50
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                         0.57
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     15.74
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     15.39
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    486.06
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                     47.26
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                     48.11
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    244.89
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                     57.26
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                         8.73
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    114.12
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                     42.30
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     26.49
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                         4.12
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                         0.63
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    350.34
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    138.42
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                     81.86
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    525.59
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    462.54
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    118.72
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                     42.01
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     93.39
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     27.22
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    841.40
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                     12.26
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                     14.88
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    103.27
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    244.01
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                         0.03
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                     15.25
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                         5.18
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    738.69
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     13.47
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    725.77
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                         5.32
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    132.36
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    245.87
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    111.08
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    137.68
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    110.08
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    499.91
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                         6.39
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    263.54
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    270.43
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                     15.91
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    259.38
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    324.69
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    150.81
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    176.59
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                     66.34
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                     11.78
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     11.50
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     45.74
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                     59.66
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                         4.03
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                         7.24
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    114.29
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    577.60
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                         3.95
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                     99.14
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                         8.20
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                         0.33
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     38.59
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                         4.77
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                         0.02
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                     35.14
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    182.54
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    440.98
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    687.14
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    187.06
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                         4.79
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     64.11
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    123.80
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                     42.69
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                         0.36
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    443.12
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                     13.31
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                     35.04
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                         0.97
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                         9.36
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                     48.84
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                         2.91
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    951.56
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    892.66
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                     47.57
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,045.06
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                         6.04
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                         0.02
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    127.14
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    140.26
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                     37.63
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     98.86
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     75.78
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                         6.98
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                     27.61
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                         5.38
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                     23.91
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    460.98
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    179.44
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    181.55
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    518.58
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                         1.36
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                         2.79
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    251.90
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                     44.29
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                     45.77
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                     75.15
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                     13.45
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                     47.72
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                         2.66
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                     25.63
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     44.29
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                         6.55
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                         7.02
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    114.58
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                     24.46
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                     19.44
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                         5.14
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                     45.48
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                         0.79
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                         4.25
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                         0.50
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     12.50
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    309.66
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                     66.11
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    252.19
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                         0.01
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                     65.66
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                         4.26
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                         5.55
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                         7.65
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    699.82
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                         6.94
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                         9.46
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                     37.46
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    279.67
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                     27.41
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                     13.58
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    562.04
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                         0.56
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                     51.72
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     10.55
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     16.60
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    291.01
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    257.35
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                         2.03
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                         6.00
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    107.42
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                     61.36
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    684.71
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                     59.04
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     35.90
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     42.99
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    150.92
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    137.01
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                     45.25
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    285.56
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                     26.85
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                     67.26
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    150.99
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.132
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                         2.30
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.132
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     42.64
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.132
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    101.86
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.132
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    225.06
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.132
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                         8.70
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.132
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    284.28
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.132
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                     31.96
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.132
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    428.84
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.132
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    311.40
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.132
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                         0.01
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.133
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                     24.99
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.133
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    166.10
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.133
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     24.66
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.133
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                     49.55
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.133
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                     10.11
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.133
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    262.93
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.133
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                     62.24
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.133
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                         4.25
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.133
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                         0.01
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.133
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    106.99
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.134
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                         2.88
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.134
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     27.93
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.134
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     10.02
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.134
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                         9.35
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.134
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                         8.68
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.134
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                     79.12
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.134
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                         1.05
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.134
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    365.45
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.134
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                     91.20
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.134
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                         2.76
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.135
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                     24.07
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.135
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     33.50
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.135
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    565.90
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.135
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                     55.09
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.135
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                         0.01
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.135
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    485.90
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.135
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                     27.56
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.135
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                     15.60
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.135
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                     89.38
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.135
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                     14.81
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.136
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,723.65
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.136
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    372.02
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.136
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     39.86
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.136
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                         0.53
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.136
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    146.53
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.136
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                         9.32
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.136
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                     16.20
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.136
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                     20.20
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.136
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                         0.10
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.136
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                         0.01
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.137
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    161.83
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.137
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     22.29
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.137
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                         6.20
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.137
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                         1.19
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.137
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                     56.44
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.137
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                         5.56
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.137
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                     49.86
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.137
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    262.95
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.137
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                         1.63
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.137
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                     85.90
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.138
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                     70.23
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.138
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     32.23
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.138
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                         1.55
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.138
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                         3.80
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.138
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    354.03
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.138
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                     17.00
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.138
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                     88.52
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.138
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                     42.28
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.138
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                     62.78
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.138
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                         7.35
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.139
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    222.49
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.139
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     16.53
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.139
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                         7.40
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.139
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                         5.11
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.139
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                         6.66
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.139
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    699.45
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.139
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                         2.89
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.139
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                         6.94
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.139
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                         0.01
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.139
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                     69.14
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.140
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                     42.37
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.140
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                         5.07
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.140
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                         5.47
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.140
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                     25.13
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.140
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                     13.66
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.140
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                     93.15
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.140
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                     66.68
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.140
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    187.14
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.140
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                         1.48
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.140
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    340.57
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.141
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                         6.15
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.141
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                         1.58
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.141
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     23.95
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.141
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                         2.35
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.141
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                         6.54
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.141
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                     11.54
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.141
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                         0.63
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.141
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                         0.38
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.141
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                     83.85
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.141
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    164.89
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.142
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                     23.28
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.142
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    323.45
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.142
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     79.19
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.142
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    618.81
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.142
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                         4.80
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.142
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                     19.00
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.142
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                         7.16
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.142
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    220.81
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.142
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    395.19
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.142
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    113.37
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.143
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                         5.90
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.143
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                         8.74
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.143
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     20.77
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.143
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    254.68
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.143
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                     41.73
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.143
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                         2.60
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.143
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                         5.43
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.143
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    116.91
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.143
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                         1.14
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.143
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    318.21
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.144
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    181.17
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.144
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     17.53
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.144
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                         0.45
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.144
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    387.76
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.144
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    105.51
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.144
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,019.86
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.144
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    169.26
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.144
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    100.59
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.144
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    171.25
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.144
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                     91.62
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.145
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    174.14
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.145
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    136.22
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.145
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     83.29
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.145
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    207.42
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.145
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                         0.24
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.145
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                         0.39
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.145
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    123.24
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.145
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                         0.75
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.145
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                     68.62
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.145
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                     53.54
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.146
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                     45.16
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.146
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     68.22
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.146
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    204.67
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.146
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                         5.58
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.146
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                     45.98
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.146
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                         0.76
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.146
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                     43.82
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.146
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    448.82
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.146
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                         5.01
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.146
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    273.40
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.147
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    176.35
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.147
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     35.56
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.147
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                         0.62
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.147
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                         1.43
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.147
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                     17.62
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.147
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                     97.33
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.147
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                     61.13
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.147
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                     44.57
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.147
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                     90.03
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.147
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                         0.90
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.148
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                     46.41
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.148
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     69.47
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.148
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    118.19
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.148
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                         3.85
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.148
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                         3.79
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.148
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    414.85
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.148
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                         9.20
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.148
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    260.47
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.148
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                         0.34
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.148
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    134.26
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.149
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                         0.34
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.149
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     13.24
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.149
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                         0.65
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.149
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                         1.37
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.149
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    255.48
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.149
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                         1.55
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.149
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                         7.07
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.149
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                     92.47
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.149
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                     22.29
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.149
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                     26.47
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.150
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    742.40
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.150
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                         0.06
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.150
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                         1.33
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.150
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                         1.34
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.150
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                     24.39
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.150
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                     15.86
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.150
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                         1.80
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.150
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    141.67
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.150
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                         9.82
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.150
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                         0.69
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.151
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                     46.48
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.151
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                         7.21
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.151
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    402.10
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.151
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                     22.90
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.151
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                         2.05
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.151
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                     75.08
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.151
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                         5.01
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.151
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                         0.62
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.151
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                     49.65
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.151
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                     10.61
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.152
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    158.06
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.152
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     22.82
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.152
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    295.20
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.152
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                         1.36
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.152
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                         9.14
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.152
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    424.29
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.152
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    412.06
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.152
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                     78.19
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.152
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                         4.09
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.152
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                     98.75
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.153
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                     17.10
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.153
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    223.90
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.153
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     16.60
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.153
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                     20.83
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.153
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                     23.25
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.153
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                     28.07
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.153
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    104.88
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.153
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                         6.68
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.153
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                         0.64
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.153
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    203.34
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.154
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    510.94
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.154
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     30.56
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.154
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     24.23
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.154
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                     19.91
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.154
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    197.37
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.154
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    308.40
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.154
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                         8.02
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.154
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                     10.85
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.154
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                     21.02
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.154
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                         1.35
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.155
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                     14.02
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.155
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                         5.41
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.155
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     19.34
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.155
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    559.61
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.155
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                     10.61
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.155
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    286.80
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.155
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                     48.82
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.155
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                     14.55
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.155
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    410.88
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.155
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    168.31
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.156
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                         4.19
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.156
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    731.13
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.156
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    150.01
                                                                    Check all that apply.
      NAME ON FILE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.156
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    150.00
                                                                    Check all that apply.
      NANDOS SERVICES
      907 W ADDITION STREET                                         ¨ Contingent
      MARTINSBURG, WV 25401-2201                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.156
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    200.00
                                                                    Check all that apply.
      NASSAU CO POLICE HEADQUARTERS
      ALARM PERMITS                                                 ¨ Contingent
      1490 FRANKLIN AVE                                             þ Unliquidated
      MINEOLA, NY 11501                                             ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.156
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 13,146.20
                                                                    Check all that apply.
      NATIONAL RESTAURANT ASSOCIATION
      PO BOX 824032                                                 ¨ Contingent
      PHILADELPHIA, PA 19182-4032                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.156
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,095.61
                                                                    Check all that apply.
      NEBRASKA STATE TREASURER
      UNCLAIMED PROPERTY DIVISION                                   ¨ Contingent
      809 P ST                                                      ¨ Unliquidated
      LINCOLN, NE 68508-1390                                        ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.156
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                 14,028.48
                                                                    Check all that apply.
      NEHEMIAH VENTURES CORPORATION
      DBA ALCO PRODUCTS                                             ¨ Contingent
      2480 SOUTHGATE BOULEVARD                                      ¨ Unliquidated
      MURFREESBORO, TN 37128-5551                                   ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.156
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  3,822.20
                                                                    Check all that apply.
      NEI GLOBAL RELOCATION
      PO BOX 241886                                                 ¨ Contingent
      OMAHA, NE 681245886                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.156
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    132.00
                                                                    Check all that apply.
      NELSON EQUIPMENT INC
      1739 KELLY ROAD                                               ¨ Contingent
      RICHMOND, VA 23230                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.157
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    194.92
                                                                    Check all that apply.
      NEVADA STATE TREASURER
      UNCLAIMED PROPERTY DIVISION                                   ¨ Contingent
      GRANT SAWYER BUILDING                                         ¨ Unliquidated
      LAS VEGAS, NV 89101                                           ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.157
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    172.28
                                                                    Check all that apply.
      NEVRON ELECTRICAL CONTRACTORS LLC
      1114 OVERLOOK DRIVE                                           ¨ Contingent
      TOMS RIVER, NJ 08753                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.157
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  3,437.15
                                                                    Check all that apply.
      NEW CHEF FASHION INC
      3223 EAST 46TH STREET                                         ¨ Contingent
      VERNON, CA 90058-2407                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.157
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,347.02
                                                                    Check all that apply.
      NEW MEXICO TAXATION & REVENUE DEPT.
      UNCLAIMED PROPERTY DIVISION                                   ¨ Contingent
      1200 S ST FRANCIS DR                                          ¨ Unliquidated
      SANTA FE, NM 87504                                            ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.157
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    100.00
                                                                    Check all that apply.
      NICHOLAS L KNIGHTS
      671 SW 9TH CT                                                 ¨ Contingent
      DBA ONE CALL SERVICES LLC                                     þ Unliquidated
      POMPANO BEACH, FL 33060                                       ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.157
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    703.90
                                                                    Check all that apply.
      NORTH CAROLINA STATE TREASURER
      UNCLAIMED PROPERTY DIVISION                                   ¨ Contingent
      PO BOX 20431                                                  ¨ Unliquidated
      RALEIGH, NC 27619-0431                                        ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.157
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                     47.25
                                                                    Check all that apply.
      NORTHERN DRAFT BAR SERVICES INC
      5583 CEDARCREEK DR                                            ¨ Contingent
      CHILLIWACK, BC V2R 5K5                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.157
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                     47.25
                                                                    Check all that apply.
      NORTHERN DRAFT BAR SERVICES INC
      PMB 199 UNIT A WOROBETZ PLACE                                 ¨ Contingent
      SASKATOON, ON S7L 6R4                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.157
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,186.50
                                                                    Check all that apply.
      NORTHERN LAWN SPRINKLERS
      43 CHERRYWOOD                                                 ¨ Contingent
      SUDBURY, ON P3B 4A2                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.157
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                     92.77
                                                                    Check all that apply.
      NORTHRUP, BREANNA
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.158
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    320.74
                                                                    Check all that apply.
      NORTHWEST NM VENTURES LLC
      DBA SERVICEMASTER RESTORE BY R                                ¨ Contingent
      PO BOX 6241                                                   þ Unliquidated
      FARMINGTON, NM 87499-6241                                     ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.158
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    962.22
                                                                    Check all that apply.
      NORTHWEST NM VENTURES LLC
      PO BOX 6241                                                   ¨ Contingent
      DBA SERVICEMASTER RESTORE BY R                                þ Unliquidated
      FARMINGTON, NM 87499-6241                                     ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.158
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                 264,617.95
                                                                    Check all that apply.
      NUCO2 INC
      PO BOX 9011                                                   ¨ Contingent
      STUART, FL 34995                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.158
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    375.00
                                                                    Check all that apply.
      NWT HOME SERVICES LLC
      12320 BARKER CYPRESS RD STE 60                                ¨ Contingent
      DBA GENERAL SIGN COMPANY                                      þ Unliquidated
      CYPRESS, TX 77429-8329                                        ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.158
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    324.75
                                                                    Check all that apply.
      OCEAN FOAM
      1256 LOCUST RD                                                ¨ Contingent
      DBA ROTO-ROOTER SEWER-DRAIN SV                                þ Unliquidated
      POTTSBORO, TX 75076-6163                                      ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.158
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      OCH SERVICES LLC
      17640 SPARKLING RIVER RD                                      þ Contingent
      BOCA RATON, FL 33496-5639                                     þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.158
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  15,107.44
                                                                    Check all that apply.
      ODP BUSINESS SOLUTIONS LLC
      DBA OFFICE DEPOT BUSINESS SOLUTIONS LLC                       ¨ Contingent
      PO BOX 633211                                                 ¨ Unliquidated
      CINCINNATI, OH 45263-3211                                     ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.158
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                         4.65
                                                                    Check all that apply.
      OFFICE OF COMMISSIONER OF INSURANCE
      DBA OFFICE OF INSURANCE AND SAFETY FIRE                       ¨ Contingent
      PO BOX 935467                                                 ¨ Unliquidated
      ATLANTA, GA 311935467                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.158
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                     25.00
                                                                    Check all that apply.
      OFFICE OF THE COUNTY CLERK
      PO BOX 551601                                                 ¨ Contingent
      LAS VEGAS, NV 891551601                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.158
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                 10,113.92
                                                                    Check all that apply.
      OFFICE OF THE ILLINOIS STATE TREASURER
      UNCLAIMED PROPERTY DIVISION                                   ¨ Contingent
      MARINE BANK BUILDING                                          ¨ Unliquidated
      1 EAST OLD STATE C APITOL PLAZA                               ¨ Disputed
      SPRINGFIELD, IL 62701
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.159
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  8,237.36
                                                                    Check all that apply.
      OFFICE OF THE INDIANA ATTORNEY GENERAL
      UNCLAIMED PROPERTY DIVISION                                   ¨ Contingent
      PO BOX 2504                                                   ¨ Unliquidated
      GREENWOOD, IN 46142                                           ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.159
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    857.81
                                                                    Check all that apply.
      OFFICE OF THE MS. STATE TREASURER
      UNCLAIMED PROPERTY DIVISION                                   ¨ Contingent
      PO BOX 138                                                    ¨ Unliquidated
      JACKSON, MS 39205-0138                                        ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.159
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                    $                 11,979.31
                                                                    Check all that apply.
      OFFICE OF THE N.Y. STATE COMPTROLLER
      OFFICE OF UNCLAIMED FUNDS                                     ¨ Contingent
      110 STATE ST                                                  ¨ Unliquidated
      ALBANY, NY 12236                                              ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.159
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                    $                    495.80
                                                                    Check all that apply.
      OFFICE OF THE STATE TREASURER (CT.)
      UNCLAIMED PROPERTY DIVISION                                   ¨ Contingent
      PO BOX 5065                                                   ¨ Unliquidated
      HARTFORD, CT 06102                                            ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.159
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                    $                 14,110.95
                                                                    Check all that apply.
      OHIO DEPARTMENT OF COMMERCE
      DIVISION OF UNCLAIMED FUNDS                                   ¨ Contingent
      77 SOUTH HIGH ST, 23RD FL                                     ¨ Unliquidated
      COLUMBUS, OH 43215-6133                                       ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.159
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                    $                  2,369.92
                                                                    Check all that apply.
      OKLAHOMA STATE TREASURER
      UNCLAIMED PROPERTY DIVISION                                   ¨ Contingent
      9520 N MAY AVE, LOWER LEVEL                                   ¨ Unliquidated
      OKLAHOMA CITY, OK 73120                                       ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.159
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                    $             Undetermined
                                                                    Check all that apply.
      OMNICOM PRECISION MARKETING GROUP THE PARENT COMPANY OF
      CREDERA ENTERPRISES COMPANY LLC                               þ Contingent
      C/O ADAM KAGAN GENERAL COUNSEL 220 EAST 42ND ST.              þ Unliquidated
      NEW YORK, NY 10017                                            þ Disputed
                                                                    Basis for the claim: Litigation - Vendor Dispute



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.159
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                   4,454.34
                                                                    Check all that apply.
      OPENTABLE INC
      29109 NETWORK PL                                              ¨ Contingent
      CHICAGO, IL 60673-1291                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.159
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 303,113.54
                                                                    Check all that apply.
      ORACLE AMERICA INC
      500 ORACLE PARKWAY                                            ¨ Contingent
      REDWOOD SHORES, CA 94065                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.159
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      ORACLE APPLICATIONS USERS GROUP
      C/O MEETING EXPECTATIONS                                      þ Contingent
      ONE GLENLAKE PARKWAY NE                                       þ Unliquidated
      SUITE 1200                                                    ¨ Disputed
      ATLANTA, GA 30328-7267
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.160
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    220.00
                                                                    Check all that apply.
      OREGON BACKFLOW TESTING LLC
      PO BOX 230113                                                 ¨ Contingent
      DBA SERVICEMASTER RESTORE BY R                                þ Unliquidated
      TIGARD, OR 97281-0113                                         ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.160
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    646.72
                                                                    Check all that apply.
      OREGON DEPARTMENT OF STATE LANDS
      UNCLAIMED PROPERTY DIVISION                                   ¨ Contingent
      900 COURT ST NE                                               ¨ Unliquidated
      SALEM, OR 97301-1279                                          ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.160
      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
  2                                                                                                                      $                 13,200.00
                                                                      Check all that apply.
      ORLANDO MAGIC LTD
      DBA ORLANDO EVENTS CENTER ENTERPRISE LLC                        ¨ Contingent
      400 W CHURCH ST STE 250                                         ¨ Unliquidated
      ORLANDO, FL 32801-2515                                          ¨ Disputed
                                                                      Basis for the claim: Trade Payable



     Date or dates debt was incurred       Undetermined               Is the claim subject to offset?
                                                                      þ No
     Last 4 digits of account number                                  ¨ Yes
3.160
      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
  3                                                                                                                      $                     22.15
                                                                      Check all that apply.
      OSBORNE, KEVIN
      1960 SE ANECI ST                                                ¨ Contingent
      DBA CLEAR FLOW PLUMBING AND HE                                  þ Unliquidated
      PORT ST LUCIE, FL 34983-4558                                    ¨ Disputed
                                                                      Basis for the claim: Unclaimed Property



     Date or dates debt was incurred       Undetermined               Is the claim subject to offset?
                                                                      þ No
     Last 4 digits of account number                                  ¨ Yes
3.160
      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
  4                                                                                                                      $                    211.00
                                                                      Check all that apply.
      OSLER HOSKINS & HARCOURT LLP
      1 FIRST CANADIAN PLACE                                          ¨ Contingent
      PO BOX 50                                                       ¨ Unliquidated
      TORONTO, M5X 1B8                                                ¨ Disputed
      CANADA
                                                                      Basis for the claim: Trade Payable



     Date or dates debt was incurred       Undetermined               Is the claim subject to offset?
                                                                      þ No
     Last 4 digits of account number                                  ¨ Yes
3.160
      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
  5                                                                                                                      $             Undetermined
                                                                      Check all that apply.
      OSLER, HOSKIN & HARCOURT LLP
      C/O OSLER, HOSKIN & HARCOURT LLP 1 FIRST CANADIAN PLACE P. O.   þ Contingent
      BOX 50                                                          þ Unliquidated
      TORONTO, ON M5X 1B8                                             þ Disputed
      CANADA
                                                                      Basis for the claim: Litigation - Vendor Dispute



     Date or dates debt was incurred       Undetermined               Is the claim subject to offset?
                                                                      þ No
     Last 4 digits of account number                                  ¨ Yes
3.160
      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
  6                                                                                                                      $                    626.00
                                                                      Check all that apply.
      OSVALDO REPAIR
      139 HARVARD DR                                                  ¨ Contingent
      DALTON, GA 30720-4097                                           þ Unliquidated
                                                                      ¨ Disputed
                                                                      Basis for the claim: Unclaimed Property



     Date or dates debt was incurred       Undetermined               Is the claim subject to offset?
                                                                      þ No
     Last 4 digits of account number                                  ¨ Yes


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3.160
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                   $                     75.00
                                                                    Check all that apply.
      OUTLAND, SHANAN
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.160
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                   $                    268.40
                                                                    Check all that apply.
      PACIFIC GUARDIAN LIFE
      PO BOX 1300                                                   ¨ Contingent
      HONOLULU, HI 96807-1300                                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.160
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                   $                    318.00
                                                                    Check all that apply.
      PACLAND HOLDING
      PO BOX 3767                                                   ¨ Contingent
      DBA PACIFIC LANDSCAPE MANAGEME                                þ Unliquidated
      SEATTLE, WA 98124-3767                                        ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.161
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                   $                    620.00
                                                                    Check all that apply.
      PANO, VIRGILIO
      DBA LAURAS STEAM CARPET                                       ¨ Contingent
      11617 209TH ST                                                þ Unliquidated
      LAKEWOOD, CA 90715-1318                                       ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.161
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                   $             Undetermined
                                                                    Check all that apply.
      PARK EAST LLC
      220 WESTBURY AVENUE                                           ¨ Contingent
      PO BOX 348                                                    þ Unliquidated
      CARLE PLACE, NY 115140348                                     ¨ Disputed
                                                                    Basis for the claim: Potential Accrual for Rent



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.161
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                         6.20
                                                                    Check all that apply.
      PARKINSON, SHARI
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.161
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    330.78
                                                                    Check all that apply.
      PAYLESS PLUMBING AND ROOTER SPECIALIST I
      2550 E BELLE TERRACE                                          ¨ Contingent
      BAKERSFIELD, CA 93307-6967                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.161
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                         0.75
                                                                    Check all that apply.
      PEGRAM, SERENITY
      21406 CHESTERFIELD AVE                                        ¨ Contingent
      DBA SCOTTS EQUIPMENT REPAIR                                   þ Unliquidated
      SOUTH CHESTERFIELD, VA 23803-2408                             ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.161
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                     32.12
                                                                    Check all that apply.
      PENN BEER DISTRIBUTORS INC
      2801 TOWNSHIP LINE RD                                         ¨ Contingent
      DBA GREGS MAINT COMMERCIAL                                    þ Unliquidated
      HATFIELD, PA 19440-1755                                       ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.161
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  5,067.88
                                                                    Check all that apply.
      PENNSYLVANIA STATE TREASURY
      UNCLAIMED PROPERTY DIVISION                                   ¨ Contingent
      4TH FL, RIVERFRONT OFFICE CTR                                 ¨ Unliquidated
      1101 SOUTH FRONT ST                                           ¨ Disputed
      HARRISBURG, PA 17104-2516
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.161
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                  $                  1,064.50
                                                                    Check all that apply.
      PENSKE TRUCK LEASING CO LP
      ATTN: LIZ MASCIOTTI                                           ¨ Contingent
      PO BOX 391                                                    ¨ Unliquidated
      READING, PA 196030391                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.161
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                  $             Undetermined
                                                                    Check all that apply.
      PEPSI CO. INC
      PO BOX 10                                                     þ Contingent
      WINSTON SALEM, NC 27102                                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Contingent Contract Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes
3.161
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                  $                    100.00
                                                                    Check all that apply.
      PEREZ GUERRERO, MARIA
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.162
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                  $                         5.07
                                                                    Check all that apply.
      PETERS, MELISSA
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.162
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                  $                    127.11
                                                                    Check all that apply.
      PETERSON, MICHELLE A
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.162
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    425.00
                                                                    Check all that apply.
      PETRO PLUMBING INC
      160 VENETIAN WAY STE 102                                      ¨ Contingent
      MERRITT ISLAND, FL 32953-4036                                 þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.162
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    100.00
                                                                    Check all that apply.
      PHETSADA, SENG
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.162
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                     17.00
                                                                    Check all that apply.
      PHOENIX POLICE DEPARTMENT
      620 W WASHINGTON ST                                           ¨ Contingent
      PHOENIX, AZ 85003-2187                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.162
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    321.77
                                                                    Check all that apply.
      PHOENIX SERVICES SOLUTIONS
      4510 RHODES DRIVE UNIT 700                                    ¨ Contingent
      WINDSOR, ON N8W 5K5                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.162
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    200.00
                                                                    Check all that apply.
      PICARD, ANDRE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.162
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      PIEDMONT CNL TOWERS ORLAND LLC
      PO BOX 743938                                                 þ Contingent
      ATLANTA, GA 30374-3938                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.162
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    322.33
                                                                    Check all that apply.
      PINDERS SECURITY PRODUCTS
      25 NIHAN DR                                                   ¨ Contingent
      ST CATHARINES, ON L2N 1L2                                     þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.162
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    161.05
                                                                    Check all that apply.
      PINE BLUFF INCOME PROPERTIES LLC
      2504 ELMWOOD NORTH CIRCLE                                     ¨ Contingent
      DBA ENVIRO MASTER SERVICES OF                                 þ Unliquidated
      C/O THE PINES MALL OFFICE                                     ¨ Disputed
      WICHITA FALLS, TX 76308-3916
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.163
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    161.05
                                                                    Check all that apply.
      PINE BLUFF INCOME PROPERTIES LLC
      C/O THE PINES MALL OFFICE-                                    ¨ Contingent
      2504 ELMWOOD NORTH CIRCLE                                     þ Unliquidated
      WICHITA FALLS, TX 76308-3916                                  ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.163
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     19.32
                                                                    Check all that apply.
      PINKERTON, KAITLYN
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.163
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    612.00
                                                                    Check all that apply.
      PIPE WRENCH INC
      42559 N 6TH STREET EAST                                       ¨ Contingent
      LANCASTER, CA 93535                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.163
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                     93.63
                                                                    Check all that apply.
      PLANT PROS OF OMAHA INC
      6501 PARKER ST                                                ¨ Contingent
      OMAHA, NE 68104                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.163
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                     93.63
                                                                    Check all that apply.
      PLANT PROS OF OMAHA INC
      6501 PARKER ST NE 681044755                                   ¨ Contingent
      OMAHA, NE 68104-4755                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.163
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    150.00
                                                                    Check all that apply.
      PLS CARPENTRY
      105 N SPARKMAN AVE                                            ¨ Contingent
      ORANGE CITY, FL 32763-5009                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.163
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  3,253.37
                                                                    Check all that apply.
      POLK POWER SOLUTIONS INC
      PO BOX 1595                                                   ¨ Contingent
      DBA ALPHAGRAPHICS 379                                         þ Unliquidated
      AUBURNDALE, FL 33823-1595                                     ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.163
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                   3,770.35
                                                                    Check all that apply.
      POLLYWOG TRANSPORT INC
      1908 28TH AVE E                                               ¨ Contingent
      PALMETTO, FL 34221-9290                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.163
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                      33.96
                                                                    Check all that apply.
      POOLE, DERICK
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.163
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    883.00
                                                                    Check all that apply.
      PREMIER HEATING & AIR
      1225 WHITE SPRINGS RD                                         ¨ Contingent
      GLENWOOD, GA 30428-2216                                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.164
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                   2,509.18
                                                                    Check all that apply.
      PREMIER PRODUCE CENTRAL FLORIDA INC
      PREMIER PRODUCE CENTRAL FLORIDA INC                           ¨ Contingent
      PO BOX 7829                                                   ¨ Unliquidated
      CAROL STREAM, IL 601977829                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.164
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                 239,421.21
                                                                    Check all that apply.
      PRESIDIO NETWORKED SOLUTIONS LLC
      PO BOX 822169                                                 ¨ Contingent
      PHILADELPHIA, PA 191822169                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.164
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                      $                 344,091.24
                                                                    Check all that apply.
      PRESTO AUTOMATION INC
      DBA E LA CARTE LLC                                            ¨ Contingent
      985 INDUSTRIAL RD STE 205                                     ¨ Unliquidated
      SAN CARLOS, CA 94070-4157                                     ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.164
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                      $             Undetermined
                                                                    Check all that apply.
      PRESTO AUTOMATION INC.
      C/O PRESTO AUTOMATION INC. ATTN: SUSAN SHINOFF 985            þ Contingent
      INDUSTRIAL RD., STE. 205                                      þ Unliquidated
      SAN CARLOS, CA 94070                                          þ Disputed
                                                                    Basis for the claim: Litigation - Vendor Dispute



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.164
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                      $             Undetermined
                                                                    Check all that apply.
      PRESTO AUTOMATION, INC.
      C/O SUSAN SHINOFF 985 INDUSTRIAL ROAD SUITE 205               þ Contingent
      SAN CARLOS, CA 94070                                          þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Contract Dispute



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.164
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                      $                    347.83
                                                                    Check all that apply.
      PRIME SERVICE CANADA
      65 CEDAR POINT DRIVE SUITE 233                                ¨ Contingent
      BARRIE, ON L4N 9R3                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.164
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                      $                   2,751.40
                                                                    Check all that apply.
      PRO AIR MECHANICAL INC
      285 N US HIGHWAY 17-92                                        ¨ Contingent
      LONGWOOD, FL 32750-4424                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.164
      Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
  7                                                                                                                         $             Undetermined
                                                                       Check all that apply.
      PROCTOR & GAMBLE DISTRIBUTING LLC
      ONE PROCTOR & GAMBLE PLAZA                                       þ Contingent
      CINCINNATI, OH 45202                                             þ Unliquidated
                                                                       ¨ Disputed
                                                                       Basis for the claim: Contingent Contract Claim



     Date or dates debt was incurred        Undetermined               Is the claim subject to offset?
                                                                       þ No
     Last 4 digits of account number        N/A                        ¨ Yes
3.164
      Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
  8                                                                                                                         $             Undetermined
                                                                       Check all that apply.
      PROFESSIONAL HYGIENE INC. D/B/A ENVIRO-MASTER
      C/O JAY UMANSKY THE LAW OFFICES OF JAY B. UMANSKY, P. C. 12460   þ Contingent
      OLIVE BLVD, SUITE 118                                            þ Unliquidated
      SAINT LOUIS, MO 63141                                            þ Disputed
                                                                       Basis for the claim: Litigation - Contract Dispute



     Date or dates debt was incurred        Undetermined               Is the claim subject to offset?
                                                                       þ No
     Last 4 digits of account number                                   ¨ Yes
3.164
      Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
  9                                                                                                                         $                    574.14
                                                                       Check all that apply.
      PRONESTOR APS
      NORGAARDSVEJ 7 2 SAL                                             ¨ Contingent
      2800 KGS                                                         þ Unliquidated
      LYNGBY,                                                          ¨ Disputed
                                                                       Basis for the claim: Unclaimed Property



     Date or dates debt was incurred        Undetermined               Is the claim subject to offset?
                                                                       þ No
     Last 4 digits of account number                                   ¨ Yes
3.165
      Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
  0                                                                                                                         $             Undetermined
                                                                       Check all that apply.
      PUBLIX SUPER MARKETS INC
      CUSTOMER CHARGE                                                  þ Contingent
      PO BOX 32009                                                     þ Unliquidated
      LAKELAND, FL 338022009                                           ¨ Disputed
                                                                       Basis for the claim: Trade Payable



     Date or dates debt was incurred        Undetermined               Is the claim subject to offset?
                                                                       þ No
     Last 4 digits of account number                                   ¨ Yes
3.165
      Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
  1                                                                                                                         $                    513.02
                                                                       Check all that apply.
      PVG PLUMBING
      3675 GAINSBOROUGH AVE                                            ¨ Contingent
      NIAGARA FALLS, ON L2J 2V1                                        þ Unliquidated
                                                                       ¨ Disputed
                                                                       Basis for the claim: Unclaimed Property



     Date or dates debt was incurred        Undetermined               Is the claim subject to offset?
                                                                       þ No
     Last 4 digits of account number                                   ¨ Yes


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3.165
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    350.00
                                                                    Check all that apply.
      PYRAMID ROOFING COMPANY INC
      4001 E 138TH ST                                               ¨ Contingent
      GRANDVIEW, MO 64030-2837                                      þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.165
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                 12,852.74
                                                                    Check all that apply.
      QSR AUTOMATIONS INC
      2700 BUDDEKE DR                                               ¨ Contingent
      LOUISVILLE, KY 40206-1051                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.165
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      QUEST SOFTWARE INC.
      PO BOX 731381                                                 þ Contingent
      DALLAS, TX 75373-1381                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.165
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                     35.22
                                                                    Check all that apply.
      QUIGAO, JOEL
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.165
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                         2.00
                                                                    Check all that apply.
      R & S MCCOY CORP
      DBA CULLIGAN OF FLORIDA INC                                   ¨ Contingent
      1920 SW 37TH AVE                                              þ Unliquidated
      OCALA, FL 34474                                               ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.165
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                     $                     35.00
                                                                    Check all that apply.
      RAFFA, DAN C
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.165
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                     $                  1,067.74
                                                                    Check all that apply.
      RAISE RIGHT LLC
      DBA SHOPWITHSCRIP                                             ¨ Contingent
      ATTN ACCOUNTING                                               ¨ Unliquidated
      2111 44TH ST SE                                               ¨ Disputed
      GRAND RAPIDS, MI 49508-5011
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.165
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                     $                         1.00
                                                                    Check all that apply.
      RAMENTO, FERDINA
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.166
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                     $                         5.97
                                                                    Check all that apply.
      RAMENTO, FERDINAND
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.166
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                     $             Undetermined
                                                                    Check all that apply.
      RAMIREZ, JOLY
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Privacy Dispute



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.166
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     80.00
                                                                    Check all that apply.
      RANDALL K SCOTT
      122 CHILDERS CIRCLE                                           ¨ Contingent
      DBA SCOTTS EQUIPMENT REPAIR                                   þ Unliquidated
      PIEDMONT, SC 29673                                            ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.166
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                         2.17
                                                                    Check all that apply.
      RASIAH, THIYAGALINGAM
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.166
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                     40.00
                                                                    Check all that apply.
      RAUCH, ALICIA
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.166
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    504.07
                                                                    Check all that apply.
      REAL CARPET SERVICES LLC
      191 WOOLERY LN                                                ¨ Contingent
      DBA PACIFIC LANDSCAPE MANAGEME                                þ Unliquidated
      DAYTON, OH 45415-1732                                         ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.166
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                         8.05
                                                                    Check all that apply.
      REBRYNA, KELSEY MEGAN
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.166
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                   $                     5,762.85
                                                                    Check all that apply.
      RED DAWN SEI BUYER INC
      DBA SERVICE EXPRESS LLC                                       ¨ Contingent
      DEPT 6306                                                     ¨ Unliquidated
      PO BOX 30516                                                  ¨ Disputed
      LANSING, MI 48909-8016
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.166
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                   $                Undetermined
                                                                    Check all that apply.
      RED LOBSTER INTERNATIONAL HOLDINGS LLC
      450 S ORANGE AVENUE                                           þ Contingent
      SUITE 800                                                     þ Unliquidated
      ORLANDO, FL 32801                                             ¨ Disputed
                                                                    Basis for the claim: Potential lease guarantee subrogation (various leases)



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes
3.166
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                   $                       400.00
                                                                    Check all that apply.
      RED LOBSTER MASTER HOLDINGS LP
      450 S ORANGE AVENUE                                           ¨ Contingent
      SUITE 800                                                     þ Unliquidated
      ORLANDO, FL 32801                                             ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.167
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                   $                       447.00
                                                                    Check all that apply.
      RENAISSANCE HOLDINGS LLC
      4012 BISHOP LANE                                              ¨ Contingent
      DBA GLENNS COMMERCIAL SERVICE                                 þ Unliquidated
      LOUISVILLE, KY 40218-4539                                     ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.167
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                   $                           81.00
                                                                    Check all that apply.
      RENNER-GROGAN, SONJA
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.167
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  3,530.00
                                                                    Check all that apply.
      RENTOKIL NORTH AMERICA INC
      DBA JC EHRLICH                                                ¨ Contingent
      PO BOX 740608                                                 ¨ Unliquidated
      CINCINNATI, OH 45274-0608                                     ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.167
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    117.83
                                                                    Check all that apply.
      REPUBLIC NATIONAL DISTRIBUTING COMPANY LLC
      5401 EUBANK RD                                                ¨ Contingent
      SANDSTON, VA 23150                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.167
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                 12,250.00
                                                                    Check all that apply.
      RETAIL CYBER INTELLIGENCE SHARING CENTER INC
      C/O R-CISC MEMBERSHIP SERVICES                                ¨ Contingent
      PO BOX 743565                                                 ¨ Unliquidated
      ATLANTA, GA 30374-3565                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.167
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  2,229.56
                                                                    Check all that apply.
      RETARUS INC
      300 LIGHTING WAY STE 315                                      ¨ Contingent
      SECAUCUS, NJ 07094-3646                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.167
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    332.07
                                                                    Check all that apply.
      RGL CAROLINA LLC
      DBA 1-800-GOT-JUNK                                            ¨ Contingent
      4209 STUART ANDREW BLVD UNIT I                                þ Unliquidated
      CHARLOTTE, NC 28217                                           ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.167
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    970.87
                                                                    Check all that apply.
      RHODES & SALMON PC
      1801 LOMAS BLVD NW                                            ¨ Contingent
      ALBUQUERQUE, NM 87104-1205                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.167
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    658.16
                                                                    Check all that apply.
      RICARDO ESTRADA
      10867 OAKDALE DR                                              ¨ Contingent
      DBA ONE CALL SERVICES LLC                                     þ Unliquidated
      TYLER, TX 75707-5441                                          ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.167
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    125.00
                                                                    Check all that apply.
      RICHMOND AQUARIUM LLC
      3645 SPEEKS DRIVE                                             ¨ Contingent
      MIDLOTHIAN, VA 23112                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.168
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    470.00
                                                                    Check all that apply.
      RICHMOND COUNTY HEALTH DEPT
      1916 NORTH LEG ROAD BUILDING                                  ¨ Contingent
      AUGUSTA, GA 30909                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.168
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                 48,840.48
                                                                    Check all that apply.
      RING CENTRAL INC
      DEPT CH 19585                                                 ¨ Contingent
      PALATINE, IL 60055-0001                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.168
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                     $                         2.44
                                                                    Check all that apply.
      RIOUX, JEAN
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.168
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                     $                 355,580.41
                                                                    Check all that apply.
      RL SALISBURY, LLC
      450 S ORANGE AVENUE                                           ¨ Contingent
      SUITE 800                                                     ¨ Unliquidated
      ORLANDO, FL 32801                                             ¨ Disputed
                                                                    Basis for the claim: Intercompany Payable to the benefit of RL Salisbury, LLC



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes
3.168
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                     $             82,852,382.34
                                                                    Check all that apply.
      RLSV, INC.
      450 S ORANGE AVENUE                                           ¨ Contingent
      SUITE 800                                                     ¨ Unliquidated
      ORLANDO, FL 32801                                             ¨ Disputed
                                                                    Basis for the claim: Intercompany Payable to the benefit of RLSV, Inc.



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes
3.168
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                     $                         8.62
                                                                    Check all that apply.
      ROBBINS, ASHLEY
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.168
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                     $             Undetermined
                                                                    Check all that apply.
      ROBERT WALKER
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Personal Injury



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.168
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    727.07
                                                                    Check all that apply.
      ROBERTS, KRISTEN
      785 HOOKS ST                                                  ¨ Contingent
      DBA PACIFIC LANDSCAPE MANAGEME                                þ Unliquidated
      CLERMONT, FL 34711-3501                                       ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.168
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                     52.69
                                                                    Check all that apply.
      ROBERTSON, CONNOR
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.168
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    179.17
                                                                    Check all that apply.
      ROBINSON AIR
      10 SW H AVE                                                   ¨ Contingent
      LAWTON, OK 73501                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.169
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    976.55
                                                                    Check all that apply.
      ROCHA, ANAITA ALMEIDA
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.169
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    555.00
                                                                    Check all that apply.
      ROCKCRETE CONCRETE INC
      PO BOX 474                                                    ¨ Contingent
      HAGUE, SK S0K 1X0                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.169
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    920.00
                                                                    Check all that apply.
      RODGER MARTIN
      733 HIGHWAY 17                                                ¨ Contingent
      DBA KUIT RITE LAWN SERVICE                                    þ Unliquidated
      MONTEVALLO, AL 35115-9196                                     ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.169
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                     32.85
                                                                    Check all that apply.
      RODRIGUEZ, CECYMAR
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.169
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                         4.50
                                                                    Check all that apply.
      RODRIGUEZ, LINDA
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.169
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    159.00
                                                                    Check all that apply.
      ROHRBACH BREWING COMPANY
      97 RAILROAD STREET                                            ¨ Contingent
      DBA CLEAN TAP LLC                                             þ Unliquidated
      ROCHESTER, NY 14609                                           ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.169
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                     36.59
                                                                    Check all that apply.
      ROMERO, ROBERT
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.169
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                         0.27
                                                                    Check all that apply.
      ROWE, RYAN
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.169
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    523.60
                                                                    Check all that apply.
      ROYAL, SHEVIN
      1057 INKBERRY CT                                              ¨ Contingent
      DBA PETERSON PLUMBING                                         þ Unliquidated
      ORLANDO, FL 32811-7934                                        ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.169
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    392.00
                                                                    Check all that apply.
      RRV OT INC
      1310 55TH ST N                                                ¨ Contingent
      DBA 1-800GOT JUNK                                             þ Unliquidated
      FARGO, ND 58102-4623                                          ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.170
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                 13,420.00
                                                                    Check all that apply.
      RUBICON GLOBAL LLC
      ATTN ACCOUNTS RECEIVABLE                                      ¨ Contingent
      ATTN RUBICON                                                  ¨ Unliquidated
      PO BOX 936684                                                 ¨ Disputed
      ATLANTA, GA 31193-6684
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.170
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             13,231,837.38
                                                                    Check all that apply.
      RUBIN POSTAER AND ASSOCIATES
      DBA RPA                                                       ¨ Contingent
      PO BOX 2779                                                   ¨ Unliquidated
      LOS ANGELES, CA 90051-0779                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.170
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                 57,853.25
                                                                    Check all that apply.
      RYAN LLC
      13155 NOEL ROAD                                               ¨ Contingent
      SUITE 100                                                     ¨ Unliquidated
      DALLAS, TX 75240-5050                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.170
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,557.94
                                                                    Check all that apply.
      S & H SEWER & DRAIN LLC
      55 WILDWAY                                                    ¨ Contingent
      BRONXVILLE, NY 10708-5917                                     þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.170
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                     45.27
                                                                    Check all that apply.
      SAAMAAN, MARSAIL
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.170
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,150.00
                                                                    Check all that apply.
      SAAVEDRA, JASON
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.170
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                     78.45
                                                                    Check all that apply.
      SADOVSKI, AMIR
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.170
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                     $             Undetermined
                                                                    Check all that apply.
      SALGUERO, ANGELICA
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Privacy Dispute



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.170
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                     $                    100.00
                                                                    Check all that apply.
      SAMUELS, PRINCELEY
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.170
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                     $             Undetermined
                                                                    Check all that apply.
      SANDRA GILL
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Personal Injury



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.171
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                     $                     12.35
                                                                    Check all that apply.
      SAPONKA, VICKY
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.171
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                     $                     99.33
                                                                    Check all that apply.
      SCHLOSSER, MARGARET
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.171
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    967.74
                                                                    Check all that apply.
      SCHOOX INC
      C/O VCFO                                                      ¨ Contingent
      6836 AUSTIN CENTER BLVD                                       ¨ Unliquidated
      BLDG 1 SUITE 280                                              ¨ Disputed
      AUSTIN, TX 78731
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.171
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                         0.01
                                                                    Check all that apply.
      SCHULTZ, NATHANIEL
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.171
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  9,212.08
                                                                    Check all that apply.
      SCOTT SCRIVEN LLP
      DBA SCOTT SCRIVEN & WAHOFF LLP                                ¨ Contingent
      250 EAST BROAD STREET                                         ¨ Unliquidated
      SUITE 900                                                     ¨ Disputed
      COLUMBUS, OH 43215
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.171
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 42,653.67
                                                                    Check all that apply.
      SEASTONE INTERNATIONAL LLC
      20062 BEAUMONT CIR                                            ¨ Contingent
      HUNTINGTON BEACH, CA 92646-4912                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.171
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                     20.00
                                                                    Check all that apply.
      SEDLAR VENTURES
      47506 JEFFERSON AVE                                           ¨ Contingent
      CHESTERFIELD, MI 48047-2238                                   þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.171
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    200.00
                                                                    Check all that apply.
      SEIB, HENRY ALLEN
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.171
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                     50.00
                                                                    Check all that apply.
      SELGJEKAJ, ARJETA
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.171
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                     12.36
                                                                    Check all that apply.
      SENIOR, SASHA
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.172
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  2,826.00
                                                                    Check all that apply.
      SEYFARTH SHAW LLP
      3807 COLLECTIONS CENTER DRIVE                                 ¨ Contingent
      CHICAGO, IL 60693-0001                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.172
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                 16,231.00
                                                                    Check all that apply.
      SHB ANALYTICS LLC
      150 HILLTOP AVE                                               ¨ Contingent
      BARRINGTON, IL 60010-3402                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.172
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     90.00
                                                                    Check all that apply.
      SHELLHAMMER, JULIA A
      DBA WORKHORSE SECURITY 3640 S                                 ¨ Contingent
      LIMA, OH 45806                                                þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.172
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                     26.56
                                                                    Check all that apply.
      SHERMAN, KELLY
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.172
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    178.50
                                                                    Check all that apply.
      SHIMBERG, DAVID LAWRENCE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.172
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    447.90
                                                                    Check all that apply.
      SHINEFLEW, CHARLES E
      DBA CHUCKS NEIGHBORHOOD                                       ¨ Contingent
      PO BOX 8333                                                   þ Unliquidated
      SPOKANE, WA 99203-0333                                        ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.172
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    275.00
                                                                    Check all that apply.
      SHIPLEY, LUTHER H
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.172
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                       $                 46,620.00
                                                                    Check all that apply.
      SHL US LLC
      PO BOX 358152                                                 ¨ Contingent
      PITTSBURGH, PA 15251-5152                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.172
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                       $                     66.00
                                                                    Check all that apply.
      SHORE POINT DISTRIBUTING CO INC
      BOX 275                                                       ¨ Contingent
      ADELPHIA, NJ 07710                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.172
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                       $             Undetermined
                                                                    Check all that apply.
      SHYANNE RIOS
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - General Liability



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.173
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                       $                    932.25
                                                                    Check all that apply.
      SILVERBEL LANDSCAPING SNOW PLOWING LTD
      9A GARDEN AVE                                                 ¨ Contingent
      BRAMPTON, ON L6X 1M4                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.173
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                       $                         3.28
                                                                    Check all that apply.
      SINGH, NANDITA
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.173
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  4,860.70
                                                                    Check all that apply.
      SLM WASTE & RECYCLING SERVICES INC
      PO BOX 782678                                                 ¨ Contingent
      PHILADELPHIA, PA 19178-2678                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.173
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  5,000.00
                                                                    Check all that apply.
      SLM WASTE & RECYCLING SERVICES INC
      5000 COMMERCE DRIVE                                           ¨ Contingent
      GREEN LANE, PA 18054                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.173
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  3,370.62
                                                                    Check all that apply.
      SMARTBEAR SOFTWARE INC
      C/O DEPT 3247                                                 ¨ Contingent
      PO BOX 123247                                                 ¨ Unliquidated
      DALLAS, TX 75312-3247                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.173
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,385.00
                                                                    Check all that apply.
      SMITH & SON LAWNCARE INC
      PO BOX 6151                                                   ¨ Contingent
      SPRINGHILL, FL 34611                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.173
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    767.72
                                                                    Check all that apply.
      SMITH BE, FRANK A
      180 SHOEMAKER ROAD                                            ¨ Contingent
      DBA GREGS MAINT COMMERCIAL CLE                                þ Unliquidated
      POTTSTOWN, PA 19464                                           ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.173
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                     $                  7,125.18
                                                                    Check all that apply.
      SML RELOCATION LLC
      DBA SML RELOCATION SML                                        ¨ Contingent
      750 N SAINT PAUL ST STE 250                                   ¨ Unliquidated
      DALLAS, TX 75201-3206                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.173
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                     $             Undetermined
                                                                    Check all that apply.
      SMOKEY SPARKS
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Personal Injury



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.173
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                     $                 37,499.33
                                                                    Check all that apply.
      SNAGAJOB.COM INC
      32978 COLLECTIONS CENTER DRIVE                                ¨ Contingent
      CHICAGO, IL 606930329                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.174
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                     $                    621.60
                                                                    Check all that apply.
      SO-CAL ELECTRIC
      PO BOX 10688                                                  ¨ Contingent
      DBA WACO WINDOW CLEANING                                      þ Unliquidated
      PALM DESERT, CA 92255                                         ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.174
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                     $                  1,334.05
                                                                    Check all that apply.
      SO-CAL ELECTRIC
      PO BOX 10688                                                  ¨ Contingent
      PALM DESERT, CA 92255                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.174
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                 15,500.00
                                                                    Check all that apply.
      SOCRATIC TECHNOLOGIES INC
      18 SHORELINE DR                                               ¨ Contingent
      STRATFORD, CT 06615-7704                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.174
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    753.71
                                                                    Check all that apply.
      SOLORIO, ESEQUIEL
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.174
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                         6.66
                                                                    Check all that apply.
      SONIER, LYNNE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.174
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  3,050.00
                                                                    Check all that apply.
      SOUTH CAROLINA DEPARTMENT OF REVENUE
      PO BOX 125                                                    ¨ Contingent
      COLUMBIA, SC 29202                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.174
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    819.45
                                                                    Check all that apply.
      SOUTH CAROLINA STATE TREASURY
      UNCLAIMED PROPERTY PROGRAM                                    ¨ Contingent
      1200 SENATE ST, ROOM 214                                      ¨ Unliquidated
      COLUMBIA, SC 29201                                            ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.174
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    107.63
                                                                    Check all that apply.
      SOUTH DAKOTA STATE TREASURY
      UNCLAIMED PROPERTY DIVISION                                   ¨ Contingent
      SD STATE TREASURER                                            ¨ Unliquidated
      500 E CAPITOL AVE, STE 212                                    ¨ Disputed
      PIERRE, SD 57501-5070
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.174
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    223.90
                                                                    Check all that apply.
      SOUTHERN GLAZERS WINE AND SPIRITS LLC
      DBA SOUTHERN GLAZERS OF OH                                    ¨ Contingent
      7800 COCHRAN ROAD                                             þ Unliquidated
      GLENWILLOW, OH 44139                                          ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.174
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    589.77
                                                                    Check all that apply.
      SOUTHERN GLAZERS WINE AND SPIRITS LLC
      PO BOX 3141                                                   ¨ Contingent
      DBA GREGS MAINT COMMERCIAL CLE                                þ Unliquidated
      HICKSVILLE, NY 11802                                          ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.175
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    201.27
                                                                    Check all that apply.
      SOUTHERN GLAZERS WINE AND SPIRITS LLC
      DBA SOUTHERN GLAZERS OF                                       ¨ Contingent
      OH COLUMBUS 4800 POTH ROAD                                    þ Unliquidated
      COLUMBUS, OH 43213-1332                                       ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.175
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    305.00
                                                                    Check all that apply.
      SOUTHWEST MECHANICAL HVAC AND REFRIGERAT
      21532 STATE HIGHWAY 86                                        ¨ Contingent
      CASSVILLE, MO 65625-4114                                      þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.175
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                     $             Undetermined
                                                                    Check all that apply.
      SOUTHWEST REGIONAL TAX BUREAU
      ONE CENTENNIAL WAY                                            þ Contingent
      SCOTTDALE, PA 15683                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.175
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                     $                     38.60
                                                                    Check all that apply.
      SPECS LIQUOR
      1111 JACKSBORO HWY                                            ¨ Contingent
      FORT WORTH, TX 76107                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.175
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                     $             Undetermined
                                                                    Check all that apply.
      SPRENGER, JASON
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Privacy Dispute



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.175
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                     $                    259.65
                                                                    Check all that apply.
      SPRINGETTSBURY TOWNSHIP
      1501 MT ZION RD                                               ¨ Contingent
      YORK, PA 17402                                                þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.175
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                     $                    100.00
                                                                    Check all that apply.
      STALEY INCORPORATED
      2547 RIBAULT SCENIC DR                                        ¨ Contingent
      JACKSONVILLE, FL 32208-2564                                   þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.175
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    175.00
                                                                    Check all that apply.
      STALEY INCORPORATED
      1390 LAKESHORE DR                                             ¨ Contingent
      KLAMATH FALLS, OR 97601-9104                                  þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.175
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 168,452.53
                                                                    Check all that apply.
      STAPLES INC
      DBA DEX IMAGING LLC                                           ¨ Contingent
      PO BOX 17299                                                  ¨ Unliquidated
      CLEARWATER, FL 33762-0299                                     ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.175
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                      50.00
                                                                    Check all that apply.
      STAPLES, ANN
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.176
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      STARCOM MEDIAVEST GROUP INC
      DBA STARCOM WORLDWIDE                                         þ Contingent
      12076 COLLECTIONS CENTER DRIVE                                þ Unliquidated
      CHICAGO, IL 60693                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.176
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      STARCOM WORLDWIDE CANADA
      A DIVISION OF LEO BURNETT COMPANY LTD                         þ Contingent
      PO BOX 11758 STATION                                          þ Unliquidated
      CENTRE-VILLE MONTREAL, H3C 6V6                                ¨ Disputed
      CANADA
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.176
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     50.00
                                                                    Check all that apply.
      STATE OF NEW HAMPSHIRE TREASURY
      UNCLAIMED PROPERTY DIVISION                                   ¨ Contingent
      25 CAPITOL ST, ROOM 121                                       ¨ Unliquidated
      CONCORD, NH 03301                                             ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.176
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    974.00
                                                                    Check all that apply.
      STATE OF NEW JERSEY
      BUREAU OF FIRE SAFETY                                         ¨ Contingent
      TRENTON, NJ 08625-0809                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.176
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  3,201.72
                                                                    Check all that apply.
      STATE OF NEW JERSEY
      UNCLAIMED PROPERTY ADMINISTRATION                             ¨ Contingent
      PO BOX 214                                                    ¨ Unliquidated
      TRENTON, NJ 08635-0214                                        ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.176
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    220.00
                                                                    Check all that apply.
      STATE OF NEW JERSEY
      DEPT OF LABOR & WORKFORCE DEV                                 ¨ Contingent
      PO BOX 389                                                    þ Unliquidated
      TRENTON, NJ 08625-0389                                        ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.176
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,975.78
                                                                    Check all that apply.
      STATE OF TENNESSEE
      UNCLAIMED PROPERTY DIVISION                                   ¨ Contingent
      PO BOX 190693                                                 ¨ Unliquidated
      NASHVILLE, TN 32719-0693                                      ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.176
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,254.58
                                                                    Check all that apply.
      STATE TREASURER OF IOWA
      UNCLAIMED PROPERTY COMPLIANCE                                 ¨ Contingent
      GREATER IOWA TREASURE HUNT                                    ¨ Unliquidated
      LUCAS STATE OFFICE BLDG, 321 E 12TH ST, 1ST FL                ¨ Disputed
      DES MOINES, IA 50319
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.176
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                     10.70
                                                                    Check all that apply.
      STEPHENSON, DEBBIE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.176
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                     60.00
                                                                    Check all that apply.
      STEVENS ENTERPRISES INC
      DBA POP A LOCK                                                ¨ Contingent
      PO BOX 18102                                                  ¨ Unliquidated
      SHREVEPORT, LA 711380102                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.177
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                 17,776.94
                                                                    Check all that apply.
      STRATEGIC SOLUTIONS INC
      122 W 22ND ST                                                 ¨ Contingent
      OAK BROOK, IL 60523-1562                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.177
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     54.58
                                                                    Check all that apply.
      STRINGER, MANUEL
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.177
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    948.01
                                                                    Check all that apply.
      STUART TREE SERVICE INC
      PO BOX 72                                                     ¨ Contingent
      PERU, IL 61354-0072                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.177
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                     45.00
                                                                    Check all that apply.
      STUEVER & SONS INC
      330 W FAY AVENUE UNIT B                                       ¨ Contingent
      ADDISON, IL 60101-5008                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.177
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                         9.32
                                                                    Check all that apply.
      SUBRAMANIAM, PANCHALINGAM
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.177
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    300.00
                                                                    Check all that apply.
      SUFFOLK COUNTY POLICE DEPT
      30 YAPHANK AVENUE                                             ¨ Contingent
      YAPHANK, NY 11980-9641                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.177
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    952.16
                                                                    Check all that apply.
      SUHA TECHNICAL SERVICES
      72 AIDAN DRIVE                                                ¨ Contingent
      WOODBRIDGE, ON L4H 0C4                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.177
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                     92.28
                                                                    Check all that apply.
      SUPERIOR COURT OF JUSTICE
      DBA SHERIFF OF COUNTY OF BRANT                                ¨ Contingent
      70 WELLINGTON ST                                              þ Unliquidated
      BRANTFORD, ON N3T 2L9                                         ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.177
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                     20.00
                                                                    Check all that apply.
      SUPERIOR KNIFE LLC
      6235 W HOWARD ST                                              ¨ Contingent
      NILES, IL 60714-3403                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.177
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    120.00
                                                                    Check all that apply.
      SUTPHIN, CHERYL
      10 WILLIAMS ST                                                ¨ Contingent
      DBA 1-800GOT JUNK                                             þ Unliquidated
      COLLINSVILLE, VA 24078-2289                                   ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.178
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                     63.97
                                                                    Check all that apply.
      SWEENEY, JOSEPH M
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.178
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     80.00
                                                                    Check all that apply.
      SYNERGY AQUATICS INC
      13610 SE FEDERAL HWY                                          ¨ Contingent
      HOBE SOUND, FL 33455                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.178
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                     $                 210,769.35
                                                                    Check all that apply.
      SYNQ3 RESTAURANT SOLUTIONS LLC
      5061 N 30TH ST STE 103                                        ¨ Contingent
      COLORADO SPRINGS, CO 80919-3248                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.178
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                     $                    122.55
                                                                    Check all that apply.
      TABBERT, BRENT MICHAEL
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.178
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                     $             Undetermined
                                                                    Check all that apply.
      TALENTREEF INC
      PO BOX 8027                                                   þ Contingent
      CAROL STREAM, IL 60197-8027                                   þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.178
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                     $             Undetermined
                                                                    Check all that apply.
      TAMELIA DOWELL
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Personal Injury



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.178
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                     $                    256.20
                                                                    Check all that apply.
      TEMPLIN, THOMAS E
      DBA K AND T LANDSCAPING LLC                                   ¨ Contingent
      1218 BARKER BLVD APT C                                        þ Unliquidated
      KENT, OH 44240-8620                                           ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.178
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                 13,795.10
                                                                    Check all that apply.
      TEXAS COMPTROLLER OF PUBLIC ACCOUNTS
      UNCLAIMED PROPERTY CLAIMS SECTION                             ¨ Contingent
      LBJ BLDG                                                      ¨ Unliquidated
      111 E 17TH ST                                                 ¨ Disputed
      AUSTIN, TX 78711
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.178
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    950.00
                                                                    Check all that apply.
      TEXAS STOREFRONT & GLASS
      8242 ALICE CIR                                                ¨ Contingent
      QUINLAN, TX 75474-7828                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.178
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      THAI UNION GROUP PUBLIC COMPANY LIMITED
      ATTENTION: LUDOVIC GARNIER                                    þ Contingent
      72/1 MOO 7, SETHAKIT 1 ROAD, TARSRAI SUB-DISTRICT, MUEANG     þ Unliquidated
      SAMUT SAKHON                                                  þ Disputed
      SAMUT SAKHON, 74000
      THAILAND                                                      Basis for the claim: Term Loan Subrogation Claim



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number       N/A                      ¨ Yes
3.179
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      THAI UNION GROUP PUBLIC COMPANY LIMITED
      ATTENTION: LUDOVIC GARNIER                                    þ Contingent
      72/1 MOO 7, SETHAKIT 1 ROAD, TARSRAI SUB-DISTRICT, MUEANG     þ Unliquidated
      SAMUT SAKHON                                                  þ Disputed
      SAMUT SAKHON, 74000
      THAILAND                                                      Basis for the claim: Commercial Dispute



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number       N/A                      ¨ Yes
3.179
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      THAI UNION GROUP PUBLIC COMPANY LIMITED
      ATTENTION: LUDOVIC GARNIER                                    þ Contingent
      72/1 MOO 7, SETHAKIT 1 ROAD, TARSRAI SUB-DISTRICT, MUEANG     þ Unliquidated
      SAMUT SAKHON                                                  þ Disputed
      SAMUT SAKHON, 74000
      THAILAND                                                      Basis for the claim: Management Fee



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number       N/A                      ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.179
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      THAI UNION NORTH AMERICA, INC.
      2150 E. GRAND AVENUE                                          þ Contingent
      EL SEGUNDO, CA 90245                                          þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Term Loan Subrogation Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      N/A                       ¨ Yes
3.179
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    343.58
                                                                    Check all that apply.
      THE CITY OF PLANTATION
      400 NW 73 AVENUE                                              ¨ Contingent
      PLANTATION, FL 33317                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.179
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    374.50
                                                                    Check all that apply.
      THE FISH GUYS LLC
      1254 GRASS FERN LN                                            ¨ Contingent
      SANFORD, FL 32771-9337                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.179
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    800.00
                                                                    Check all that apply.
      THE LIQUOR AND GAMING AUTHORITY OF
      MANITOBA (LGA)                                                ¨ Contingent
      WINNIPEG, MB R3C 2X1                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.179
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                 28,100.00
                                                                    Check all that apply.
      THE NPD GROUP LP
      24619 NETWORK PLACE                                           ¨ Contingent
      CHICAGO, IL 606731246                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.179
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    150.00
                                                                    Check all that apply.
      THE PLANT GUY
      7337 DOUGLAS ST                                               ¨ Contingent
      OMAHA, NE 68114-4625                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.179
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    137.71
                                                                    Check all that apply.
      THE PRINTING HOUSE LTD
      1403 BATHURST STREET                                          ¨ Contingent
      TORONTO, ON M5R 3H8                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.179
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    728.94
                                                                    Check all that apply.
      THE ROOTER KING INC
      457 S 5TH ST                                                  ¨ Contingent
      DBA PETERSON PLUMBING                                         þ Unliquidated
      GRAND JUNCTION, CO 81501-7702                                 ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.180
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  5,520.00
                                                                    Check all that apply.
      THE SUDDATH COMPANIES
      SUDDATH RELOCATION SYSTEM OF ORLANDO INC                      ¨ Contingent
      815 S MAIN ST STE 444                                         ¨ Unliquidated
      JACKSONVILLE, FL 32207-9050                                   ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.180
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                 38,761.14
                                                                    Check all that apply.
      THELAB LLC
      637 W 27TH ST FL 8                                            ¨ Contingent
      NEW YORK, NY 10001-1019                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.180
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     58.40
                                                                    Check all that apply.
      THEODORE, JEAN
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.180
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    148.21
                                                                    Check all that apply.
      THEVARAJAH, PRAS
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.180
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    179.00
                                                                    Check all that apply.
      THIBODEAN, BRADLEY
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.180
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    150.91
                                                                    Check all that apply.
      THIYAGARAJAH, NILANI
      3831 N FREMONT ST APT 314                                     ¨ Contingent
      DBA CLEAR FLOW PLUMBING AND HE                                þ Unliquidated
      CHICAGO, IL 66013-3063                                        ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.180
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    378.44
                                                                    Check all that apply.
      THOMPSON, MICHAEL J
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.180
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                         7.75
                                                                    Check all that apply.
      THRASHER, EVAN
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.180
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                     36.00
                                                                    Check all that apply.
      THREE CHIHUAHUAS LLC
      19179 BLANCO RD STE 105-238                                   ¨ Contingent
      SAN, TX 78258-4042                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.180
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    224.00
                                                                    Check all that apply.
      THREE CHIHUAHUAS LLC
      19179 BLANCO RD STE 105-238                                   ¨ Contingent
      SAN ANTONIO, TX 78258-4042                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.181
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    113.72
                                                                    Check all that apply.
      THUNDER ELECTRIC INC
      704 RIVER RD YAKIMA                                           ¨ Contingent
      YAKIMA, WA 98902-1324                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.181
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     32.84
                                                                    Check all that apply.
      THURAISAMY, MAHENDRARAJ
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.181
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,723.03
                                                                    Check all that apply.
      TODD DEVINE
      DBA ANDYS PLUMBING                                            ¨ Contingent
      208 NW EUCLID AVE                                             þ Unliquidated
      LAWTON, OK 73507                                              ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.181
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,690.00
                                                                    Check all that apply.
      TOP LANDSCAPING LTD
      16223 62 STREET                                               ¨ Contingent
      EDMONTON, AB T5Y 3C9                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.181
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                 26,880.00
                                                                    Check all that apply.
      TOPTAL LLC
      TASO DU VAL                                                   ¨ Contingent
      2810 N CHURCH ST # 36879                                      ¨ Unliquidated
      WILMINGTON, DE 19802-4447                                     ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.181
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    195.00
                                                                    Check all that apply.
      TORCH SERVICE COMPANY LLC
      PO BOX 2218                                                   ¨ Contingent
      OWASSO, OK 74055-9618                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.181
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                 30,643.00
                                                                    Check all that apply.
      TOTAL QUALITY LOGISTICS LLC
      PO BOX 634558                                                 ¨ Contingent
      CINCINNATI, OH 452634558                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.181
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  2,233.01
                                                                    Check all that apply.
      TOUCHPOINT INC
      PO BOX 935792                                                 ¨ Contingent
      ATLANTA, GA 31193-5792                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.181
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    300.00
                                                                    Check all that apply.
      TOWN OF BABYLON
      200 E SUNRISE HWY                                             ¨ Contingent
      LINDENHURST, NY 11757                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.181
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    372.12
                                                                    Check all that apply.
      TOWN OF BROOKHAVEN
      3233 ROUTE 112                                                ¨ Contingent
      MEDFORD, NY 11763                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.182
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      TOWN OF NORTH HEMPSTEAD
      DEPT OF BUILDING INSPECTIONS                                  ¨ Contingent
      220 PLANDOM RD                                                þ Unliquidated
      MANHASSETT, NY 11030                                          ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.182
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     25.00
                                                                    Check all that apply.
      TOWN OF WETHERSFIELD
      POLICE DEPARTMENT                                             ¨ Contingent
      250 SILAS DEANE HIGHWAY                                       þ Unliquidated
      WETHERSFIELD, CT 06109-1702                                   ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.182
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                     $                    100.00
                                                                    Check all that apply.
      TOWNSHIP OF OCEAN
      399 MONMOUTH ROAD                                             ¨ Contingent
      OAKHURST, NJ 07755-1589                                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.182
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                     $                     35.00
                                                                    Check all that apply.
      TOWNSHIP OF WHITEHALL
      PO BOX 810                                                    ¨ Contingent
      WHITEHALL, PA 18052-0310                                      þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.182
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                     $             Undetermined
                                                                    Check all that apply.
      TRACY WALKER
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Personal Injury



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.182
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                     $             Undetermined
                                                                    Check all that apply.
      TRAVELERS
      ONE TOWER SQUARE                                              þ Contingent
      HARTFORD, CT 06183                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Liquor - Malt Beverage Bond #107758901



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      8901                      ¨ Yes
3.182
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                     $                     80.00
                                                                    Check all that apply.
      TRI-STATE LOCK & SAFE INC
      419 WEST 3RD STREET                                           ¨ Contingent
      TIFTON, GA 31794                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.182
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                     48.00
                                                                    Check all that apply.
      TRITZ BEVERAGE SYSTEMS INC
      888 E BELVIDERE ROAD #220                                     ¨ Contingent
      GRAYSLAKE, IL 60030                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.182
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    101.70
                                                                    Check all that apply.
      TRU VUE WINDOW CLEANING INC
      390 EDGELEY BOULEVARD UNIT 30                                 ¨ Contingent
      CONCORD, ON L4K 3Z6                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.182
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                         3.36
                                                                    Check all that apply.
      TRUONG, SHEILA
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.183
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                 15,877.50
                                                                    Check all that apply.
      TUKAIZ LLC
      PO BOX 14470                                                  ¨ Contingent
      SAINT LOUIS, MO 63178-4470                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.183
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,297.67
                                                                    Check all that apply.
      TULSA FRUIT CO
      DBA GOFRESH                                                   ¨ Contingent
      1691 N 161ST E AVENUE                                         ¨ Unliquidated
      TULSA, OK 74116-4824                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.183
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     95.00
                                                                    Check all that apply.
      U S WATER BOYS INC
      PO BOX 462 260 W NORTH STREET                                 ¨ Contingent
      MANHATTAN, IL 60442-0462                                      þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.183
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    220.00
                                                                    Check all that apply.
      U S WATER BOYS INC
      PO BOX 462                                                    ¨ Contingent
      DBA GREGS MAINT COMMERCIAL CLE                                þ Unliquidated
      MANHATTAN, IL 60442-0462                                      ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.183
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    181.14
                                                                    Check all that apply.
      UB DISTRIBUTORS LLC
      12 SOUTH PUTT CORNERS ROAD                                    ¨ Contingent
      DBA FULLER WELDING CO                                         þ Unliquidated
      NEW PALTZ, NY 12561                                           ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.183
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                     66.38
                                                                    Check all that apply.
      UB DISTRIBUTORS LLC -DBA CRAFT BEER GUIL
      12 SOUTH PUTT CORNERS ROAD                                    ¨ Contingent
      NEW PALTZ, NY 12561                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.183
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                     53.24
                                                                    Check all that apply.
      ULRICH, SUSAN
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.183
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    325.00
                                                                    Check all that apply.
      ULSTER COUNTY HEALTH DEPARTMENT
      PO BOX 1800                                                   ¨ Contingent
      DBA NORTHGATE PARK I                                          þ Unliquidated
      KINGSTON,, NY 12401-0800                                      ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.183
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    209.11
                                                                    Check all that apply.
      UMPHRESS, ERIC
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.183
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    289.00
                                                                    Check all that apply.
      UNDER WATER ESCA
      NO ADDRESS PROVIDED                                           ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.184
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  5,566.36
                                                                    Check all that apply.
      UNIFORM SALES INC
      1499 SW 30TH AVE UNIT 26                                      ¨ Contingent
      BOYNTON BEACH, FL 33426-9040                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.184
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    270.00
                                                                    Check all that apply.
      UNIFORM SALES INC
      1317 1/2 CENTRAL TERRACE                                      ¨ Contingent
      LAKE WORTH, FL 33460                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.184
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                 172,137.15
                                                                    Check all that apply.
      UNITED PARCEL SERVICE INC
      PO BOX 650116                                                 ¨ Contingent
      DALLAS, TX 75265-0116                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.184
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    450.00
                                                                    Check all that apply.
      UNITED STATES POSTAL SERVICE
      PO BOX FEE #695011                                            ¨ Contingent
      DBA GREGS MAINT COMMERCIAL CLE                                þ Unliquidated
      POSTMASTER                                                    ¨ Disputed
      ORLANDO, FL 32869
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.184
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    295.00
                                                                    Check all that apply.
      UPROHR LLC
      DBA MSS CLEANING                                              ¨ Contingent
      1135 W CUSTER PL                                              þ Unliquidated
      DENVER, CO 80223-2316                                         ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.184
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  31,060.51
                                                                    Check all that apply.
      URBAN AIRSHIP INC
      DBA AIRSHIP                                                   ¨ Contingent
      1225 W BURNSIDE ST STE 401                                    ¨ Unliquidated
      PORTLAND, OR 97209-4122                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.184
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  32,916.03
                                                                    Check all that apply.
      US BANK/FIRSTAR
      TREASURY MANAGEMENT SERVICES                                  ¨ Contingent
      CM/9581                                                       ¨ Unliquidated
      ST PAUL, MN 551709581                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.184
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,662.42
                                                                    Check all that apply.
      UTAH STATE TREASURY
      UNCLAIMED PROPERTY DIVISION                                   ¨ Contingent
      PO BOX 140530                                                 ¨ Unliquidated
      SALT LAKE CITY, UT 84114-0530                                 ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.184
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  3,867.84
                                                                    Check all that apply.
      VACO ORLANDO LLC
      PO BOX 667                                                    ¨ Contingent
      BRENTWOOD, TN 37024-0667                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.184
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                     12.77
                                                                    Check all that apply.
      VANARKEL, CINDY
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.185
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                 12,326.56
                                                                    Check all that apply.
      VERITIV OPERATING COMPANY
      PO BOX 409884                                                 ¨ Contingent
      ATLANTA, GA 303849884                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.185
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,753.52
                                                                    Check all that apply.
      VERIZON
      PO BOX 15043                                                  ¨ Contingent
      ALBANY, NY 12212-5043                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Utility Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.185
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      VERIZON
      PO BOX 660108                                                 þ Contingent
      DALLAS, TX 752660108                                          þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Service Dispute



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.185
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                     50.00
                                                                    Check all that apply.
      VILLAGE OF ASHWAUBENON
      2155 HOLMGREN WAY                                             ¨ Contingent
      ASHWAUBENON, WI 54304                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.185
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                     50.00
                                                                    Check all that apply.
      VILLAGE OF ASHWAUBENON
      2155 HOLMGREN WAY                                             ¨ Contingent
      ASHWAUBENON, WI 54304-4605                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.185
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                     23.54
                                                                    Check all that apply.
      VINAYAGAMOORTHY, RANJITHKUMAR
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.185
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  3,392.73
                                                                    Check all that apply.
      VIRGINIA DEPARTMENT OF THE TREASURY
      UNCLAIMED PROPERTY DIVISION                                   ¨ Contingent
      101 NORTH 14TH ST                                             ¨ Unliquidated
      RICHMOND, VA 23219                                            ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.185
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                     $             Undetermined
                                                                    Check all that apply.
      W VENTURES I LLC D/B/A FISH WINDOW CLEANING
                                                                    þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Vendor Dispute



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.185
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                     $                  1,815.00
                                                                    Check all that apply.
      WASHINGTON PRIME PROPERTY LP
      180 E BROAD ST                                                ¨ Contingent
      DBA GEORGESVILLE SQUARE                                       þ Unliquidated
      COLUMBUS, OH 43215-3707                                       ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.185
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                     $                    924.35
                                                                    Check all that apply.
      WASHINGTON STATE DEPT OF REVENUE
      UNCLAIMED PROPERTY SECTION                                    ¨ Contingent
      PO BOX 47477                                                  ¨ Unliquidated
      OLYMPIA, WA 98504-7477                                        ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.186
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                     $             Undetermined
                                                                    Check all that apply.
      WASHINGTON, ERICA
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Privacy Dispute



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.186
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                     $                  1,581.21
                                                                    Check all that apply.
      WASHINGTON, JOSEPH
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.186
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    891.20
                                                                    Check all that apply.
      WATER CONNECTION
      11170 BONITA BEACH RD SE                                      ¨ Contingent
      DBA GREGS MAINT COMMERCIAL CLE                                þ Unliquidated
      BONITA SPRINGS, FL 34135-5703                                 ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.186
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                     18.38
                                                                    Check all that apply.
      WEBB, LORI
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.186
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    845.00
                                                                    Check all that apply.
      WEGUARD INC
      27201 TOURNEY RD STE 201                                      ¨ Contingent
      SANTA, CA 91355-1804                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.186
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                     40.53
                                                                    Check all that apply.
      WEI, VANI ALIAS VENNIE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.186
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,244.12
                                                                    Check all that apply.
      WEISS, DAVID M
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.186
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                     74.65
                                                                    Check all that apply.
      WELLMAN, JAMESON
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.186
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 80,010.90
                                                                    Check all that apply.
      WELLS FARGO BANK NA
      ACCOUNT ANALYSIS                                              ¨ Contingent
      NW 7091 PO BOX 1450                                           ¨ Unliquidated
      MINNEAPOLIS, MN 55485                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.186
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    540.38
                                                                    Check all that apply.
      WEST PUBLISHING CORPORATION
      DBA SERENGETI                                                 ¨ Contingent
      PO BOX 6292                                                   ¨ Unliquidated
      CAROL STREAM, IL 601976292                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.187
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,420.77
                                                                    Check all that apply.
      WEST VIRGINIA STATE TREASURER'S OFFICE
      UNCLAIMED PROPERTY DIVISION                                   ¨ Contingent
      WV TREASURY BUILDING 2                                        ¨ Unliquidated
      322 70TH ST SE                                                ¨ Disputed
      CHARLESTON, WV 25304
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.187
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                 24,033.27
                                                                    Check all that apply.
      WEX BANK
      PO BOX 6293                                                   ¨ Contingent
      CAROL STREAM, IL 601976293                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.187
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                     $                    169.90
                                                                    Check all that apply.
      WHALEY FOODSERVICE REPAIRS INC
      PO BOX 615                                                    ¨ Contingent
      LEXINGTON, SC 29071                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.187
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                     $                         6.77
                                                                    Check all that apply.
      WHITAKER, SHAYNE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.187
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                     $                         0.87
                                                                    Check all that apply.
      WHITMORE, LISA
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.187
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                     $                    388.00
                                                                    Check all that apply.
      WICKER SMITH OHARA MCCOY & FORD PA
      2800 PONCE DE LEON BLVD                                       ¨ Contingent
      SUITE 800                                                     þ Unliquidated
      CORAL GABLES, FL 33134                                        ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.187
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                     $             Undetermined
                                                                    Check all that apply.
      WILLIAM DENNINGHAM
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation - Personal Injury



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.187
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    146.58
                                                                    Check all that apply.
      WILSON, DAVID
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.187
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    269.80
                                                                    Check all that apply.
      WILSON, TIMOTHY M
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.187
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  6,148.15
                                                                    Check all that apply.
      WINCHESTER CITY TREASURER
      15 NORTH CAMERON STREET                                       ¨ Contingent
      DBA GENERAL SIGN COMPANY                                      þ Unliquidated
      WINCHESTER, VA 22604                                          ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.188
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                         1.00
                                                                    Check all that apply.
      WINFIELD, NALESHIA
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.188
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  2,144.74
                                                                    Check all that apply.
      WISCONSIN OFFICE OF THE STATE TREASURER
      PO BOX 8982                                                   ¨ Contingent
      MADISON, WI 53708-8982                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.188
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  8,105.00
                                                                    Check all that apply.
      WOMENS FOODSERVICE FORUM
      5310 HARVEST HILL RD STE 299                                  ¨ Contingent
      DALLAS, TX 75230-5804                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.188
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    200.00
                                                                    Check all that apply.
      WOOLDRIDGE, JOSEPH
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.188
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                         3.65
                                                                    Check all that apply.
      WOZNY, STEPHANIE
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.188
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    401.72
                                                                    Check all that apply.
      WUNDER ELECTRIC
      152 LAKE AVENUE                                               ¨ Contingent
      COLONIA, NJ ,07067                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.188
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    605.66
                                                                    Check all that apply.
      WYOMING STATE TREASURER
      UNCLAIMED PROPERTY DIVISION                                   ¨ Contingent
      HERSCHLER BUILDING EAST                                       ¨ Unliquidated
      122 W 25TH ST, STE E300                                       ¨ Disputed
      CHEYENNE, WY 82002
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.188
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    745.12
                                                                    Check all that apply.
      YARD BIRDS INC
      22225 ADAMS ST                                                ¨ Contingent
      PORTER, TX 77365-5910                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.188
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 26,362.52
                                                                    Check all that apply.
      YASH TECHNOLOGIES INC
      841 AVENUE OF THE CITIES                                      ¨ Contingent
      EAST MOLINE, IL 61244-4134                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.188
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    508.50
                                                                    Check all that apply.
      YES I DO COMPANY
      135 EIGHTH ST                                                 ¨ Contingent
      TORONTO, ON M8V 3C8                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.189
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    181.97
                                                                    Check all that apply.
      YOUNGDAHL, DANA N
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.189
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                         3.95
                                                                    Check all that apply.
      ZAVALA, FRIDA
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Unclaimed Property



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.189
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      ZELMS ERLICH LLP
      DBA ZELMS ERLICH LENKOV & MACK                                þ Contingent
      PO BOX 25877                                                  þ Unliquidated
      SCOTTSDALE, AZ 85255-0114                                     ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.189
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                 61,291.23
                                                                    Check all that apply.
      ZIPRECRUITER INC
      PO BOX 102827                                                 ¨ Contingent
      PASADENA, CA 91189-0132                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.189
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      ZOOM VIDEO COMMUNICATIONS INC
      PO BOX 398843                                                 þ Contingent
      SAN FRANCISCO, CA 94139-8843                                  þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.189
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $
                                                                    Check all that apply.
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim:



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes
3.189
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $
                                                                    Check all that apply.
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim:



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes


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              Name



Part 3:       List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


                                                                                                                                                           Last 4 digits of
         Name and mailing address                                                                            On which line in Part 1 or Part 2 is the
                                                                                                                                                           account number, if
                                                                                                             related creditor (if any) listed?
                                                                                                                                                           any

 4.1                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.2                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.3                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.4                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.5                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.6                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.7                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.8                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.9                                                                                                         Line

                                                                                                             ¨ Not listed. Explain




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     Part 4:    Total Amounts of the Priority and Nonpriority Unsecured Claims


5.      Add the amounts of priority and nonpriority unsecured claims.




                                                                                                          Total of claim amounts



5a.     Total claims from Part 1                                                             5a.         $                            0.00




5b.     Total claims from Part 2                                                             5b.    +    $                118,777,666.52
                                                                                                                      + Undetermined Amounts




5c.     Total of Parts 1 and 2                                                               5c.         $                118,777,666.52
        Lines 5a + 5b = 5c.                                                                                           + Undetermined Amounts




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  Fill in this information to identify the case:

  Debtor name      Red Lobster Management LLC

  United States Bankruptcy Court for the:   Middle District of Florida, Orlando Division
                                                                                                                                        ¨ Check if this is an
  Case number (If known):      24-02486                                                                                                     amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
     ¨ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
     þ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
         Form 206A/B).
 2. List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease
                                                SERVICES AGREEMENT
         State what the contract or                                                         11 TH HOUR BUSINESS CENTERS LLC DBA 11 TH HOUR
 2.1     lease is for and the nature                                                        BUSINESS SOLUTIONS
         of the debtor’s interest                                                           6300 HAZELTINE NATIONAL DR.
                                                                                            SUITE 100
         State the term remaining                                                           ORLANDO, FL 32822

         List the contract number of
         any government contract

                                                SERVICES AGREEMENT
         State what the contract or                                                         1-800-GOT-JUNK
 2.2     lease is for and the nature                                                        325 2A 15 WOROBETZ PLACE
         of the debtor’s interest                                                           SASKATOON, SK S7L 6R4
                                                                                            CANADA
         State the term remaining
         List the contract number of
         any government contract

                                                SERVICES AGREEMENT
         State what the contract or                                                         22SQUARED INC
 2.3     lease is for and the nature                                                        1170 PEACHTREE ST NE
         of the debtor’s interest                                                           14TH FLOOR
                                                                                            ATLANTA, GA 30309
         State the term remaining
         List the contract number of
         any government contract

                                                LICENSE AGREEMENT
         State what the contract or                                                         2537 S WABASH CHI LLC
 2.4     lease is for and the nature                                                        777 S FIGUEROA ST FLOOR 41
         of the debtor’s interest                                                           LOS ANGELES, CA 90017-5800

         State the term remaining
         List the contract number of
         any government contract

                                                MASTER SERVICE AGREEMENT
         State what the contract or                                                         3B2 SOLUTIONS LLC
 2.5     lease is for and the nature                                                        35 B CONCOURSE WAY
         of the debtor’s interest                                                           GREER, SC 296504704

         State the term remaining
         List the contract number of
         any government contract




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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
           State what the contract or                                         3CINTERACTIVE CORP
 2.6       lease is for and the nature                                        750 PARK OF COMMERCE BOULEVARD
           of the debtor’s interest                                           SUITE 400
                                                                              BOCA RATON, FL 33487
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
           State what the contract or                                         3CSTUDIOS INC
 2.7       lease is for and the nature                                        PO BOX 951434
           of the debtor’s interest                                           LAKE MARY, FL 32795

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
           State what the contract or                                         3F CONSULTING LLC
 2.8       lease is for and the nature                                        618 ABERDEEN RD
           of the debtor’s interest                                           CARY, IL 60013

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
           State what the contract or                                         4 CORNER RESOURCES LLC
 2.9       lease is for and the nature                                        135 E COLONIAL DRIVE
           of the debtor’s interest                                           SUITE 200
                                                                              ORLANDO, FL 32801
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
           State what the contract or                                         5NINE SOFTWARE INC.
 2.10      lease is for and the nature                                        1555 PALM BEACH LAKES BLVD
           of the debtor’s interest                                           SUITE 750
                                                                              WEST PALM BEACH, FL 33401
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
           State what the contract or                                         A ARNOLD MOVING COMPANY D.B.A A ARNOLD WORLD CLASS
 2.11      lease is for and the nature                                        RELOCATION
           of the debtor’s interest                                           5200 INTERCHANGE WAY
                                                                              LOUSIVILLE, KY 2190
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
           State what the contract or                                         A B CLOSING CORPORATION
 2.12      lease is for and the nature                                        DBA KAVALIRO
           of the debtor’s interest                                           12612 CHALLENGER PKWY STE 400
                                                                              ORLANDO, FL 32826-2759
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
           State what the contract or                                         A CLOSER LOOK LLC
 2.13      lease is for and the nature                                        PO BOX 936612
           of the debtor’s interest                                           ATLANTA, GA 31193-6612

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
           State what the contract or                                         A&E TELEVISION NETWORKS (AKA LIFETIME)
 2.14      lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
           State what the contract or                                         A&G REALTY PARTNERS LLC
 2.15      lease is for and the nature                                        445 BROADHOLLOW RD STE 410
           of the debtor’s interest                                           MELVILLE, NY 11747-3601

           State the term remaining
           List the contract number of
           any government contract

                                           FACILITIES SERVICE AGREEMENT
           State what the contract or      DATED 08/22/2007                   AA JOHNNY
 2.16      lease is for and the nature                                        9709-60TH AVE.
           of the debtor’s interest                                           EDMONTON, AB T6E 0C4
                                                                              CANADA
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
           State what the contract or                                         AAJ COMPUTER SERVICES INC
 2.17      lease is for and the nature                                        DBA AAJ TECHNOLOGIES
           of the debtor’s interest                                           500 W CYPRESS CREEK RD
                                                                              STE 570
           State the term remaining                                           FORT LAUDERDALE, FL 33309-6157

           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
           State what the contract or                                         AARON GORDON
 2.18      lease is for and the nature                                        ADDRESS ON FILE
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
           State what the contract or                                         ABBY USA SOFTWARE HOUSE INC.
 2.19      lease is for and the nature                                        890 HILLVIEW COURT
           of the debtor’s interest                                           SUITE 300
                                                                              MILPITAS, CA 95035
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
           State what the contract or                                         ABC GROUP USA LLC
 2.20      lease is for and the nature                                        2655 LE JEUNE RD
           of the debtor’s interest                                           SUITE 905
                                                                              CORAL GABLES, FL 33134
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
           State what the contract or                                         ABEN INC
 2.21      lease is for and the nature                                        12 WATER MARK WAY
           of the debtor’s interest                                           THE WOODLANDS, TX 77381-6618

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
           State what the contract or                                         ABISHEK SUNDARRAJ
 2.22      lease is for and the nature                                        ADDRESS ON FILE
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICE AGREEMENT
           State what the contract or                                         ABSOLUTE SOFTWARE CORPORATION
 2.23      lease is for and the nature                                        SUITE 1400, FOUR BENTALL CENTRE
           of the debtor’s interest                                           1055 DUNSMUIR STREET
                                                                              VANCOUVER, BC V7X 1K8
           State the term remaining                                           CANADA

           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
           State what the contract or                                         ACCERTIFY INC.
 2.24      lease is for and the nature                                        2 PIERCE PLACE
           of the debtor’s interest                                           SUITE 900
                                                                              ITASCA, IL 60143
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
           State what the contract or                                         ACCURATE BACKGROUND LLC
 2.25      lease is for and the nature                                        7515 IRVINE CENTER DRIVE
           of the debtor’s interest                                           IRVINE, CA 92618-2930

           State the term remaining
           List the contract number of
           any government contract

                                           END USER AGREEMENT DATED
           State what the contract or      9/30/2016                          ACCURATE BACKGROUND, LLC
 2.26      lease is for and the nature                                        7515 IRVINE CENTER DRIVE
           of the debtor’s interest                                           IRVINE, CA 92618

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           INSURANCE POLICY (PROPERTY)
           State what the contract or      POLICY NUMBER CX D95041413 001 ACE AMERICAN INSURANCE COMPANY
 2.27      lease is for and the nature                                    MARSH MCLENNAN
           of the debtor’s interest                                       1717 ARCH STREET
                                                                          SUITE 1100
           State the term remaining                                       PHILADELPHIA, PA 19103

           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
           State what the contract or                                         ACE INSIGHTS LLC
 2.28      lease is for and the nature                                        3262 BEAZER DRIVE
           of the debtor’s interest                                           OCOEE, FL 34761

           State the term remaining
           List the contract number of
           any government contract

                                           ADDENDUM NO. 01 TO APPLICATION
           State what the contract or      SERVICES MASTER AGREEMENT      ACI WORLDWIDE CORP
 2.29      lease is for and the nature     NO.D-349 DATED 04/14/2015      6060 COVENTRY DRIVE
           of the debtor’s interest                                       ELKHORN, NE 68022

           State the term remaining
           List the contract number of
           any government contract

                                           ADDENDUM NO. 9 TO APPLICATION
           State what the contract or      SERVICES MASTER AGREEMENT          ACI WORLDWIDE CORP
 2.30      lease is for and the nature     NO. D-349 DATED 05/01/2017         6060 COVENTRY DRIVE
           of the debtor’s interest                                           ELKHORN, NE 68022

           State the term remaining
           List the contract number of
           any government contract

                                           APPLICATION SERVICES MASTER
           State what the contract or      AGREEMENT NO. D-349 DATED          ACI WORLDWIDE CORP
 2.31      lease is for and the nature     03/31/2015                         6060 COVENTRY DRIVE
           of the debtor’s interest                                           ELKHORN, NE 68022

           State the term remaining
           List the contract number of
           any government contract

                                           ADDENDUM NO. 5 TO MASTER
           State what the contract or      SERVICE AGREEMENT DATED            ACI WORLDWIDE CORP
 2.32      lease is for and the nature     10/11/2016                         6060 COVENTRY DRIVE
           of the debtor’s interest                                           ELKHORN, NE 68022

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT 3 TO MASTER
           State what the contract or      AGREEMENT NO. D-349 DATED          ACI WORLDWIDE CORP
 2.33      lease is for and the nature     12/03/2020                         6060 COVENTRY DRIVE
           of the debtor’s interest                                           ELKHORN, NE 68022

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           ADDENDUM 7 TO APPLICATION
           State what the contract or      SERVICES MASTER AGREEMENT NO ACI WORLDWIDE CORP
 2.34      lease is for and the nature     D-349 DATED 03/10/2017       6060 COVENTRY DRIVE
           of the debtor’s interest                                     ELKHORN, NE 68022

           State the term remaining
           List the contract number of
           any government contract

                                           SCHEDULE 2 TO APPLICATION
           State what the contract or      SERVICES MASTER AGREEMENT          ACI WORLDWIDE CORP
 2.35      lease is for and the nature     NO. D349 DATED 03/31/2021          6060 COVENTRY DRIVE
           of the debtor’s interest                                           ELKHORN, NE 68022

           State the term remaining
           List the contract number of
           any government contract

                                           ADDENDUM NO. 6 TO APPLICATION
           State what the contract or      SERVICES MASTER AGREEMENT          ACI WORLDWIDE CORP
 2.36      lease is for and the nature     NO. D-349 DATED 02/02/2017         6060 COVENTRY DRIVE
           of the debtor’s interest                                           ELKHORN, NE 68022

           State the term remaining
           List the contract number of
           any government contract

                                           ADDENDUM 14 TO THE APPLICATION
           State what the contract or      SERVICES MASTER AGREEMENT      ACI WORLDWIDE CORP
 2.37      lease is for and the nature     NO. D-349 DATED 09/11/2023     6060 COVENTRY DRIVE
           of the debtor’s interest                                       ELKHORN, NE 68022

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT 03 TO SCHEDULE 1 TO
           State what the contract or      THE APPLICATION SERVICES      ACI WORLDWIDE CORP
 2.38      lease is for and the nature     MASTER AGREEMENT              6060 COVENTRY DRIVE
           of the debtor’s interest                                      ELKHORN, NE 68022

           State the term remaining
           List the contract number of
           any government contract

                                           SCHEDULE 3 TO APPLICATION
           State what the contract or      SERVICES MASTER AGREEMENT          ACI WORLDWIDE CORP
 2.39      lease is for and the nature     NO. D-349 DATED 03/31/2021         6060 COVENTRY DRIVE
           of the debtor’s interest                                           ELKHORN, NE 68022

           State the term remaining
           List the contract number of
           any government contract

                                           ADDENDUM NO. 01 DATED
           State what the contract or      04/14/2015                         ACI WORLDWIDE CORP
 2.40      lease is for and the nature                                        6060 COVENTRY DRIVE
           of the debtor’s interest                                           ELKHORN, NE 68022

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           ADDENDUM 12 DATED 12/13/2019
           State what the contract or                                         ACI WORLDWIDE CORP
 2.41      lease is for and the nature                                        6060 COVENTRY DRIVE
           of the debtor’s interest                                           ELKHORN, NE 68022

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT 4 TO MASTER
           State what the contract or      AGREEMENT NO. D-349 DATED          ACI WORLDWIDE CORP
 2.42      lease is for and the nature     03/31/2021                         6060 COVENTRY DRIVE
           of the debtor’s interest                                           ELKHORN, NE 68022

           State the term remaining
           List the contract number of
           any government contract

                                           ADDENDUM 13 TO APPLICATION
           State what the contract or      SERVICES MASTER AGREEMENT          ACI WORLDWIDE CORP
 2.43      lease is for and the nature     NO. D-299 DATED 05/21/2023         6060 COVENTRY DRIVE
           of the debtor’s interest                                           ELKHORN, NE 68022

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT 02 TO SCHEDULE 1 TO
           State what the contract or      THE APPLICATION SERVICES      ACI WORLDWIDE CORP
 2.44      lease is for and the nature     MASTER AGREEMENT              6060 COVENTRY DRIVE
           of the debtor’s interest                                      ELKHORN, NE 68022

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT 01 TO THE ACI
           State what the contract or      APPLICATION SERVICES MASTER        ACI WORLDWIDE CORP
 2.45      lease is for and the nature     AGREEMENT NO. D-349 DATED          6060 COVENTRY DRIVE
           of the debtor’s interest        07/29/2015                         ELKHORN, NE 68022

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT 1 TO MASTER
           State what the contract or      AGREEMENT NO. D-340 DATED          ACI WORLDWIDE CORP
 2.46      lease is for and the nature     07/30/2021                         6060 COVENTRY DRIVE
           of the debtor’s interest                                           ELKHORN, NE 68022

           State the term remaining
           List the contract number of
           any government contract

                                           ADDENDUM 13 DATED 12/28/2022
           State what the contract or                                         ACI WORLDWIDE CORP
 2.47      lease is for and the nature                                        6060 COVENTRY DRIVE
           of the debtor’s interest                                           ELKHORN, NE 68022

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           ADDENDUM 10 DATED 03/01/2018
           State what the contract or                                         ACI WORLDWIDE CORP
 2.48      lease is for and the nature                                        6060 COVENTRY DRIVE
           of the debtor’s interest                                           ELKHORN, NE 68022

           State the term remaining
           List the contract number of
           any government contract

                                           ADDENDUM NO. 04 TO AGREEMENT
           State what the contract or      NO. D-349 DATED 06/30/2016   ACI WORLDWIDE CORP
 2.49      lease is for and the nature                                  6060 COVENTRY DRIVE
           of the debtor’s interest                                     ELKHORN, NE 68022

           State the term remaining
           List the contract number of
           any government contract

                                           ADDENDUM 11 TO THE APPLICATION
           State what the contract or      SERVICES MASTER AGREEMENT      ACI WORLDWIDE CORP
 2.50      lease is for and the nature     NO. D-349 DATED 07/23/2019     6060 COVENTRY DRIVE
           of the debtor’s interest                                       ELKHORN, NE 68022

           State the term remaining
           List the contract number of
           any government contract

                                           ADDENDUM NO. 02 TO SERVICE
           State what the contract or      MASTERS AGREEMENT DATED            ACI WORLDWIDE CORP
 2.51      lease is for and the nature     07/29/2015                         6060 COVENTRY DRIVE
           of the debtor’s interest                                           ELKHORN, NE 68022

           State the term remaining
           List the contract number of
           any government contract

                                           SCHEDULE 1 TO APPLICATION
           State what the contract or      SERVICES MASTER AGREEMENT          ACI WORLDWIDE CORP
 2.52      lease is for and the nature     NO. D-34S DATED 03/31/2015         6060 COVENTRY DRIVE
           of the debtor’s interest                                           ELKHORN, NE 68022

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT 2 TO MASTER
           State what the contract or      AGREEMENT NO. D-349 DATED          ACI WORLDWIDE CORP
 2.53      lease is for and the nature     05/05/2020                         6060 COVENTRY DRIVE
           of the debtor’s interest                                           ELKHORN, NE 68022

           State the term remaining
           List the contract number of
           any government contract

                                           ADDENDUM 8 TO THE APPLICATION
           State what the contract or      SERVICE MASTER AGREEMENT NO. ACI WORLDWIDE CORP
 2.54      lease is for and the nature     D-349                         6060 COVENTRY DRIVE
           of the debtor’s interest                                      ELKHORN, NE 68022

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
           State what the contract or                                         ACTIVE IDENTITY MANAGEMENT INC
 2.55      lease is for and the nature                                        DBA ACTIVEIDM
           of the debtor’s interest                                           11954 NARCOOSSEE RD STE 403
                                                                              ORLANDO, FL 32832-6998
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
           State what the contract or                                         ADO PROFESSIONAL SOLUTIONS INC.
 2.56      lease is for and the nature                                        10151 DEERWOOD PARK BLVD
           of the debtor’s interest                                           BUILDING 200
                                                                              SUITE 400
           State the term remaining                                           JACKSONVILLE, FL 32256

           List the contract number of
           any government contract

                                           SALES ORDER DATED 12/16/2021
           State what the contract or                                         ADOBE INC.
 2.57      lease is for and the nature                                        345 PARK AVENUE
           of the debtor’s interest                                           SAN JOSE, CA 95110

           State the term remaining
           List the contract number of
           any government contract

                                           SALES ORDER DATED 08/28/2020
           State what the contract or                                         ADOBE INC.
 2.58      lease is for and the nature                                        345 PARK AVENUE
           of the debtor’s interest                                           SAN JOSE, CA 95110

           State the term remaining
           List the contract number of
           any government contract

                                           SALES ORDER DATED 06/09/2022
           State what the contract or                                         ADOBE INC.
 2.59      lease is for and the nature                                        345 PARK AVENUE
           of the debtor’s interest                                           SAN JOSE, CA 95110

           State the term remaining
           List the contract number of
           any government contract

                                           SALES ORDER DATED 08/26/2022
           State what the contract or                                         ADOBE INC.
 2.60      lease is for and the nature                                        345 PARK AVENUE
           of the debtor’s interest                                           SAN JOSE, CA 95110

           State the term remaining
           List the contract number of
           any government contract

                                           SALES ORDER DATED 06/19/2023
           State what the contract or                                         ADOBE INC.
 2.61      lease is for and the nature                                        345 PARK AVENUE
           of the debtor’s interest                                           SAN JOSE, CA 95110

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SALES ORDER DATED 11/14/2022
           State what the contract or                                         ADOBE INC.
 2.62      lease is for and the nature                                        345 PARK AVENUE
           of the debtor’s interest                                           SAN JOSE, CA 95110

           State the term remaining
           List the contract number of
           any government contract

                                           SALES ORDER DATED 03/01/2023
           State what the contract or                                         ADOBE INC.
 2.63      lease is for and the nature                                        345 PARK AVENUE
           of the debtor’s interest                                           SAN JOSE, CA 95110

           State the term remaining
           List the contract number of
           any government contract

                                           SALES ORDER DATED 11/21/2023
           State what the contract or                                         ADOBE INC.
 2.64      lease is for and the nature                                        345 PARK AVENUE
           of the debtor’s interest                                           SAN JOSE, CA 95110

           State the term remaining
           List the contract number of
           any government contract

                                           SALES ORDER DATED 09/02/2021
           State what the contract or                                         ADOBE INC.
 2.65      lease is for and the nature                                        345 PARK AVENUE
           of the debtor’s interest                                           SAN JOSE, CA 95110

           State the term remaining
           List the contract number of
           any government contract

                                           SALES ORDER DATED 12/21/2022
           State what the contract or                                         ADOBE INC.
 2.66      lease is for and the nature                                        345 PARK AVENUE
           of the debtor’s interest                                           SAN JOSE, CA 95110

           State the term remaining
           List the contract number of
           any government contract

                                           SALES ORDER DATED 07/21/2021
           State what the contract or                                         ADOBE INC.
 2.67      lease is for and the nature                                        345 PARK AVENUE
           of the debtor’s interest                                           SAN JOSE, CA 95110

           State the term remaining
           List the contract number of
           any government contract

                                           ADOBE SALES ORDER DATED
           State what the contract or      11/24/2020                         ADOBE INC.
 2.68      lease is for and the nature                                        345 PARK AVENUE
           of the debtor’s interest                                           SAN JOSE, CA 95110

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           FOURTH AMENDMENT TO GLOBAL
           State what the contract or      MASTER SERVICES AGREEMENT          ADP , INC.
 2.69      lease is for and the nature     DATED 03/22/2023                   ONE ADP BOULEVARD
           of the debtor’s interest                                           ROSELAND, NJ 07058

           State the term remaining
           List the contract number of
           any government contract

                                           THIRD AMENDMENT TO GLOBAL
           State what the contract or      MASTER SERVICES AGREEMENT          ADP , INC.
 2.70      lease is for and the nature     DATED 10/13/2021                   ONE ADP BOULEVARD
           of the debtor’s interest                                           ROSELAND, NJ 07058

           State the term remaining
           List the contract number of
           any government contract

                                           GLOBAL MASTER SERVICE
           State what the contract or      AGREEMENT DATED 03/24/2015         ADP LLC
 2.71      lease is for and the nature                                        ONE ADP BOULEVARD
           of the debtor’s interest                                           ROSELAND, NJ 07058

           State the term remaining
           List the contract number of
           any government contract

                                           SECOND AMENDMENT
           State what the contract or                                         ADP, LLC
 2.72      lease is for and the nature                                        ONE ADP BOULEVARD
           of the debtor’s interest                                           ROSELAND, NJ 07058

           State the term remaining
           List the contract number of
           any government contract

                                           FIRST AMENDMENT TO GLOBAL
           State what the contract or      MASTER SERVICES AGREEMENT          ADP, LLC
 2.73      lease is for and the nature     DATED 07/01/2015                   400 W. COVINA BLVD.
           of the debtor’s interest                                           MS 208
                                                                              SAN DIMAS, CA 91773
           State the term remaining
           List the contract number of
           any government contract

                                           SECOND AMENDMENT TO GLOBAL
           State what the contract or      MASTER SERVICES AGREEMENT          ADP, LLC
 2.74      lease is for and the nature     DATED 08/22/2019                   ONE ADP BOULEVARD
           of the debtor’s interest                                           ROSELAND, NJ 07058

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
           State what the contract or                                         ADT-TYCO
 2.75      lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
           State what the contract or                                         ADVERTEX COMMUNICATIONS DBA MACY'S MARKETING
 2.76      lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
           State what the contract or                                         AFAQ H SHAIK
 2.77      lease is for and the nature                                        DBA SMIN TECH SOLUTIONS INC
           of the debtor’s interest                                           3753 GRANDEWOOD BOULEVARD
                                                                              APARTMENT 418
           State the term remaining                                           ORLANDO, FL 32837

           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
           State what the contract or                                         AFCO CREDIT CORPORATION
 2.78      lease is for and the nature                                        4501 COLLEGE BLVD STE 320
           of the debtor’s interest                                           LEAWOOD, KS 66211-2328

           State the term remaining
           List the contract number of
           any government contract

                                           Basis AD&D Group Insurance Contract
           State what the contract or      Dated 7/28/2014                     AIG Insurance Company of Canada
 2.79      lease is for and the nature                                         145 Wellington Street West
           of the debtor’s interest                                            Toronto, ON M5J 1H8
                                                                               CANADA
           State the term remaining
           List the contract number of
           any government contract

                                           ORDER FORM NUMBER: Q-19484
           State what the contract or      DATED 01/20/2022                   AIRSHIP GROUP, INC.
 2.80      lease is for and the nature                                        1225 W BURNSIDE ST #401
           of the debtor’s interest                                           PORTLAND, OR 97209

           State the term remaining
           List the contract number of
           any government contract

                                           SALES ORDER DATED 10/06/2020
           State what the contract or                                         AIRSHIP GROUP, INC.
 2.81      lease is for and the nature                                        1225 W BURNSIDE ST #401
           of the debtor’s interest                                           PORTLAND, OR 97209

           State the term remaining
           List the contract number of
           any government contract

                                           ORDER FORM NUMBER: Q-20505
           State what the contract or      DATED 04/29/2022                   AIRSHIP GROUP, INC.
 2.82      lease is for and the nature                                        1225 W BURNSIDE ST #401
           of the debtor’s interest                                           PORTLAND, OR 97209

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           ORDER FORM NUMBER: Q-15851
           State what the contract or      DATED 05/20/2021                   AIRSHIP GROUP, INC.
 2.83      lease is for and the nature                                        1225 W BURNSIDE ST #401
           of the debtor’s interest                                           PORTLAND, OR 97209

           State the term remaining
           List the contract number of
           any government contract

                                           ORDER FORM NUMBER: Q-23325
           State what the contract or      DATED 09/15/2022                   AIRSHIP GROUP, INC.
 2.84      lease is for and the nature                                        1225 W BURNSIDE ST #401
           of the debtor’s interest                                           PORTLAND, OR 97209

           State the term remaining
           List the contract number of
           any government contract

                                           ORDER FORM NUMBER: Q-22343
           State what the contract or      DATED 09/19/2022                   AIRSHIP GROUP, INC.
 2.85      lease is for and the nature                                        1225 W BURNSIDE ST #401
           of the debtor’s interest                                           PORTLAND, OR 97209

           State the term remaining
           List the contract number of
           any government contract

                                           ORDER FORM NUMBER: Q-14498
           State what the contract or      DATED 05/26/2021                   AIRSHIP GROUP, INC.
 2.86      lease is for and the nature                                        1225 W BURNSIDE ST #401
           of the debtor’s interest                                           PORTLAND, OR 97209

           State the term remaining
           List the contract number of
           any government contract

                                           ORDER FORM NUMBER: Q-22345
           State what the contract or      DATED 09/14/2022                   AIRSHIP GROUP, INC.
 2.87      lease is for and the nature                                        1225 W BURNSIDE ST #401
           of the debtor’s interest                                           PORTLAND, OR 97209

           State the term remaining
           List the contract number of
           any government contract

                                           ORDER FORM NUMBER: Q-28324
           State what the contract or      DATED 07/26/2023                   AIRSHIP GROUP, INC.
 2.88      lease is for and the nature                                        1225 W BURNSIDE ST #401
           of the debtor’s interest                                           PORTLAND, OR 97209

           State the term remaining
           List the contract number of
           any government contract

                                           ORDER FORM NUMBER: Q-17878
           State what the contract or      DATED 10/01/2021                   AIRSHIP GROUP, INC.
 2.89      lease is for and the nature                                        1225 W BURNSIDE ST #401
           of the debtor’s interest                                           PORTLAND, OR 97209

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           ORDER FORM NUMBER: Q-27659
           State what the contract or      DATED 06/12/2023                   AIRSHIP GROUP, INC.
 2.90      lease is for and the nature                                        1225 W BURNSIDE ST #401
           of the debtor’s interest                                           PORTLAND, OR 97209

           State the term remaining
           List the contract number of
           any government contract

                                           ORDER FORM NUMBER: Q-25223
           State what the contract or      DATED 01/18/2023                   AIRSHIP GROUP, INC.
 2.91      lease is for and the nature                                        1225 W BURNSIDE ST #401
           of the debtor’s interest                                           PORTLAND, OR 97209

           State the term remaining
           List the contract number of
           any government contract

                                           ORDER FORM NUMBER: Q-18820
           State what the contract or      DATED 11/30/2021                   AIRSHIP GROUP, INC.
 2.92      lease is for and the nature                                        1225 W BURNSIDE ST #401
           of the debtor’s interest                                           PORTLAND, OR 97209

           State the term remaining
           List the contract number of
           any government contract

                                           ORDER FORM NUMBER: Q-18304
           State what the contract or      DATED 12/09/2021                   AIRSHIP GROUP, INC.
 2.93      lease is for and the nature                                        1225 W BURNSIDE ST #401
           of the debtor’s interest                                           PORTLAND, OR 97209

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
           State what the contract or                                         ALASKA SEAFOOD MARKETING INSTITUTE
 2.94      lease is for and the nature                                        150 NICKERSON STREET
           of the debtor’s interest                                           SUITE 310
                                                                              SEATTLE, WA 98109
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
           State what the contract or                                         ALEXZANDER GROUP
 2.95      lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICES AGREEMENT
           State what the contract or      DATED 2/23/2021                    ALIGHT SOLUTIONS LLC
 2.96      lease is for and the nature                                        4 OVERLOOK POINT
           of the debtor’s interest                                           LINCOLNSHIRE, IL 60069

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
           State what the contract or                                         ALIXPARTNERS HOLDINGS LLP
 2.97      lease is for and the nature                                        DBA ALIXPARTNERS LLP
           of the debtor’s interest                                           PO BOX 7410063
                                                                              CHICAGO, IL 60674-5063
           State the term remaining
           List the contract number of
           any government contract

                                           INSURANCE POLICY (FIRST EXCESS
           State what the contract or      CYBER) POLICY NUMBER 0311-5731 ALLIED WORLD INSURANCE COMPANY
 2.98      lease is for and the nature                                    100 PINE STREET
           of the debtor’s interest                                       SUITE 1700
                                                                          SAN FRANCISCO, CA 94111
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
           State what the contract or                                         ALOFT ORLANDO DOWNTOWN
 2.99      lease is for and the nature                                        500 SOUTH ORANGE AVENUE
           of the debtor’s interest                                           ORLANDO, FL 32801

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              ALSCO INC
2.100 lease is for and the nature                                             DBA ALSCO CORPORATE ACCOUNTS
      of the debtor’s interest                                                3101 CHARLOTTE AVE
                                                                              NASHVILLE, TN 37209-4053
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              ALTERITY GROUP LLC
2.101 lease is for and the nature                                             340 MADISON AVENUE
      of the debtor’s interest                                                NEW YORK, NY 10173

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              AMARANTA MARTINEZ
2.102 lease is for and the nature                                             DBA SUPERAMA
      of the debtor’s interest                                                162 NE 25TH ST APT 814
                                                                              MIAMI, FL 33137-5077
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              AMAZON.COM
2.103 lease is for and the nature                                             C/O AMAZON WEB SERVICES INC
      of the debtor’s interest                                                PO BOX 84023
                                                                              SEATTLE, WA 98124-8423
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           INSURANCE POLICY (FIRST EXCESS
      State what the contract or           EMPLOYMENT PRACTICES) POLICY AMERICAN INTERNATIONAL REINSURANCE COMPANY, LTD.
2.104 lease is for and the nature          NUMBER 16153196                27 RICHMOND ROAD
      of the debtor’s interest                                            PEMBROKE, HM 08
                                                                          BERMUDA
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              AMERICAN SOCIETY FOR TRAININD AND DEVELOPMENT INC.
2.105 lease is for and the nature                                             1640 KING STREET
      of the debtor’s interest                                                ALEXANDERIA, VA 22314

           State the term remaining
           List the contract number of
           any government contract

                                           COMPACTOR AGREEMENT FOR
      State what the contract or           RESTAURANT #0191 DATED             AMERICAN WASTE CONTROL INC.
2.106 lease is for and the nature          09/30/2004                         PO BOX 21054
      of the debtor’s interest                                                TULSA, OK 74121-1054

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              AMERIPRISE TRUST COMPANY
2.107 lease is for and the nature                                             990 AMERIPRISE FINANCIAL CENTER
      of the debtor’s interest                                                MINNEAPOLIS, MN 55474

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              ANALYTIC PARTNERS LP
2.108 lease is for and the nature                                             1441 BRICKELL AVE STE 1220
      of the debtor’s interest                                                MIAMI, FL 33131-3429

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICES AGREEMENT
      State what the contract or           DATED 02/06/2023                   ANALYTIC PARTNERS, LP
2.109 lease is for and the nature                                             1441 BRICKELL AVE
      of the debtor’s interest                                                SUITE 1220
                                                                              MIAMI, FL 33131
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              ANALYTICS ACCELERATORS LLC
2.110 lease is for and the nature                                             9238 BEAR CLAY WAY
      of the debtor’s interest                                                MADISON, WI 53717

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              ANALYTICS QUOTIENT SERVICES INDIA PVT LTD
2.111 lease is for and the nature                                             23&24 AMR TECH PARK
      of the debtor’s interest                                                BOMMANAHALLI
                                                                              BANGALORE, 560068
           State the term remaining                                           INDIA

           List the contract number of
           any government contract

                                           IT CONTRACTS
      State what the contract or                                              ANT BRAINS CORPORATION
2.112 lease is for and the nature                                             DBA KRISTA SOFTWARE INC
      of the debtor’s interest                                                2633 MCKINNEY AVE STE 130-364
                                                                              DALLAS, TX 75204-2581
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              ANTELOPE VALLEY SHOP LLC
2.113 lease is for and the nature                                             PO BOX 103167
      of the debtor’s interest                                                PASADENA, CA 91189-0155

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
      State what the contract or           08/22/2014                         ANYBILL
2.114 lease is for and the nature                                             1801 PENNSYLVANIA NW, SUITE 700
      of the debtor’s interest                                                WASHINGTON DC, 20009

           State the term remaining
           List the contract number of
           any government contract

                                           STATEMENT OF WORK 15 DATED
      State what the contract or           09/05/2023                         APEX SYSTEMS LLC
2.115 lease is for and the nature                                             4400 COX ROAD
      of the debtor’s interest                                                SUITE 200
                                                                              GLEN ALLEN, VA 23060
           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT TO IT SERVICES
      State what the contract or           AGREEMENT- ATTACHMENT A-5          APEX SYSTEMS LLC
2.116 lease is for and the nature          STATEMENT OF WORK DATED            3750 COLLECTIONS CENTER DRIVE
      of the debtor’s interest             07/19/2021                         CHICAGO, IL 60693

           State the term remaining
           List the contract number of
           any government contract

                                           EXHIBIT A TO THE AGREEMENT
      State what the contract or           DATED 02/02/2023                   APEX SYSTEMS LLC
2.117 lease is for and the nature                                             4400 COX ROAD
      of the debtor’s interest                                                SUITE 200
                                                                              GLEN ALLEN, VA 23060
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT AND
      State what the contract or           STATEMENT OF WORK DATED            APEX SYSTEMS LLC
2.118 lease is for and the nature          05/13/2016                         4400 COX ROAD
      of the debtor’s interest                                                SUITE 200
                                                                              GLEN ALLEN, VA 23060
           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT TO IT SERVICES
      State what the contract or           AGREEMENT- ATTACHMENT A 11         APEX SYSTEMS LLC
2.119 lease is for and the nature          STATEMENT OF WORK DATED            3750 COLLECTIONS CENTER DRIVE
      of the debtor’s interest             02/13/2023                         CHICAGO, IL 60693

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT 1 TO THE SERVICE
      State what the contract or           AGREEMENT. DATED 08/07/2023        APEX SYSTEMS LLC
2.120 lease is for and the nature                                             4400 COX ROAD
      of the debtor’s interest                                                SUITE 200
                                                                              GLEN ALLEN, VA 23060
           State the term remaining
           List the contract number of
           any government contract

                                           EXHIBIT A TO THE AGREEMENT
      State what the contract or           DATED 08/29/2016                   APEX SYSTEMS LLC
2.121 lease is for and the nature                                             4400 COX ROAD
      of the debtor’s interest                                                SUITE 200
                                                                              GLEN ALLEN, VA 23060
           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT TO IT SERVICES
      State what the contract or           AGREEMENT ATTACHMENT A 16          APEX SYSTEMS LLC
2.122 lease is for and the nature          STATEMENT OF WORK DATED            3750 COLLECTIONS CENTER DRIVE
      of the debtor’s interest             09/11/2023                         CHICAGO, IL 60693

           State the term remaining
           List the contract number of
           any government contract

                                           EXHIBIT A TO THE AGREEMENT
      State what the contract or           DATED 02/16/2023                   APEX SYSTEMS LLC
2.123 lease is for and the nature                                             4400 COX ROAD
      of the debtor’s interest                                                SUITE 200
                                                                              GLEN ALLEN, VA 23060
           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT TO IT SERVICES
      State what the contract or           AGREEMENT ATTACHMENT A 18          APEX SYSTEMS LLC
2.124 lease is for and the nature          STATEMENT OF WORK DATED            3750 COLLECTIONS CENTER DRIVE
      of the debtor’s interest             09/11/2023                         CHICAGO, IL 60693

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           ATTACHMENT TO IT SERVICES
      State what the contract or           AGREEMENT - ATTACHMENT A-3         APEX SYSTEMS LLC
2.125 lease is for and the nature          STATEMENT OF WORK DATED            3750 COLLECTIONS CENTER DRIVE
      of the debtor’s interest             03/18/2019                         CHICAGO, IL 60693

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT 2 TO THE SERVICE
      State what the contract or           AGREEMENT DATED 09/05/2023         APEX SYSTEMS LLC
2.126 lease is for and the nature                                             4400 COX ROAD
      of the debtor’s interest                                                SUITE 200
                                                                              GLEN ALLEN, VA 23060
           State the term remaining
           List the contract number of
           any government contract

                                           IT SERVICES AGREEMENT DATED
      State what the contract or           09/18/2023                         APEX SYSTEMS, LLC
2.127 lease is for and the nature                                             3750 COLLECTIONS CENTER DRIVE
      of the debtor’s interest                                                CHICAGO, IL 60693

           State the term remaining
           List the contract number of
           any government contract

                                           IT SERVICES AGREEMENT DATED
      State what the contract or           09/27/2023                         APEX SYSTEMS, LLC
2.128 lease is for and the nature                                             3750 COLLECTIONS CENTER DRIVE
      of the debtor’s interest                                                CHICAGO, IL 60693

           State the term remaining
           List the contract number of
           any government contract

                                           IT SERVICES AGREEMENT DATED
      State what the contract or           09/25/2023                         APEX SYSTEMS, LLC
2.129 lease is for and the nature                                             3750 COLLECTIONS CENTER DRIVE
      of the debtor’s interest                                                CHICAGO, IL 60693

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT TO IT SERVICES
      State what the contract or           AGREEMENT ATTACHMENT A-17          APEX SYSTEMS, LLC
2.130 lease is for and the nature          STATEMENT OF WORK. DATED           3750 COLLECTIONS CENTER DRIVE
      of the debtor’s interest             09/11/2023                         CHICAGO, IL 60693

           State the term remaining
           List the contract number of
           any government contract

                                           IT SERVICES AGREEMENT DATED
      State what the contract or           07/25/2022                         APEX SYSTEMS, LLC
2.131 lease is for and the nature                                             3750 COLLECTIONS CENTER DRIVE
      of the debtor’s interest                                                CHICAGO, IL 60693

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           IT SERVICES AGREEMENT DATED
      State what the contract or           08/28/2023                         APEX SYSTEMS, LLC
2.132 lease is for and the nature                                             3750 COLLECTIONS CENTER DRIVE
      of the debtor’s interest                                                CHICAGO, IL 60693

           State the term remaining
           List the contract number of
           any government contract

                                           IT SERVICES AGREEMENT DATED
      State what the contract or           04/03/2023                         APEX SYSTEMS, LLC
2.133 lease is for and the nature                                             3750 COLLECTIONS CENTER DRIVE
      of the debtor’s interest                                                CHICAGO, IL 60693

           State the term remaining
           List the contract number of
           any government contract

                                           IT SERVICES AGREEMENT DATED
      State what the contract or           02/01/2023                         APEX SYSTEMS, LLC
2.134 lease is for and the nature                                             3750 COLLECTIONS CENTER DRIVE
      of the debtor’s interest                                                CHICAGO, IL 60693

           State the term remaining
           List the contract number of
           any government contract

                                           IT SERVICES AGREEMENT DATED
      State what the contract or           02/22/2022                         APEX SYSTEMS, LLC
2.135 lease is for and the nature                                             3750 COLLECTIONS CENTER DRIVE
      of the debtor’s interest                                                CHICAGO, IL 60693

           State the term remaining
           List the contract number of
           any government contract

                                           IT SERVICES AGREEMENT DATED
      State what the contract or           08/21/2023                         APEX SYSTEMS, LLC
2.136 lease is for and the nature                                             3750 COLLECTIONS CENTER DRIVE
      of the debtor’s interest                                                CHICAGO, IL 60693

           State the term remaining
           List the contract number of
           any government contract

                                           IT SERVICES AGREEMENT DATED
      State what the contract or           10/10/2022                         APEX SYSTEMS, LLC
2.137 lease is for and the nature                                             3750 COLLECTIONS CENTER DRIVE
      of the debtor’s interest                                                CHICAGO, IL 60693

           State the term remaining
           List the contract number of
           any government contract

                                           EXHIBIT A TO THE AGREEMENT
      State what the contract or           DATED 06/07/2017                   APEX SYSTEMS, LLC
2.138 lease is for and the nature                                             4400 COX ROAD
      of the debtor’s interest                                                SUITE 200
                                                                              GLEN ALLEN, VA 23060
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           IT SERVICES AGREEMENT DATED
      State what the contract or           11/11/2020                         APEX SYSTEMS, LLC
2.139 lease is for and the nature                                             3750 COLLECTIONS CENTER DRIVE
      of the debtor’s interest                                                CHICAGO, IL 60693

           State the term remaining
           List the contract number of
           any government contract

                                           IT SERVICES AGREEMENT DATED
      State what the contract or           10/17/2022                         APEX SYSTEMS, LLC
2.140 lease is for and the nature                                             3750 COLLECTIONS CENTER DRIVE
      of the debtor’s interest                                                CHICAGO, IL 60693

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              APIAN STRATEGIES LLC
2.141 lease is for and the nature                                             2875 S ORANGE AVENUE
      of the debtor’s interest                                                SUITE 500#105
                                                                              ORLANDO, FL 32806
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              APIS BUSINESS INTELLIGENCE LLC
2.142 lease is for and the nature                                             DBA MARKETING VITALS
      of the debtor’s interest                                                5055 W PARK BLVD STE 601
                                                                              PLANO, TX 75093-2010
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              APP SOC INC.
2.143 lease is for and the nature                                             6229 DOVETAIL CT
      of the debtor’s interest                                                SAN JOSE, CA 95135

           State the term remaining
           List the contract number of
           any government contract

                                           INSERTION ORDER DATED 6/1/2018
      State what the contract or                                              APPCAST, INC.
2.144 lease is for and the nature                                             10 WATER STREET
      of the debtor’s interest                                                SUITE 150
                                                                              LEBANON HILL, NH 03766
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              APPLE STUDIOS LLC
2.145 lease is for and the nature                                             8600 HYDEN PLACE
      of the debtor’s interest                                                CULVER CITY, CA 90232

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           IT CONTRACTS
      State what the contract or                                              APPLIED PREDICTIVE TECHNOLOGIES (APT)
2.146 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              APPOGEE LLC
2.147 lease is for and the nature                                             418 EVANS ST STE 201
      of the debtor’s interest                                                GREENVILLE, NC 27858-1834

           State the term remaining
           List the contract number of
           any government contract

                                           IT SERVICES AGREEMENT DATED
      State what the contract or           05/13/2020                         APPOGEE LLC
2.148 lease is for and the nature                                             418 EVANS ST. SUITE 201
      of the debtor’s interest                                                GREENVILLE, NC 27858

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              APPS ASSOCIATES LLC
2.149 lease is for and the nature                                             289 GREAT RD STE 308
      of the debtor’s interest                                                ACTON, MA 01720-4768

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              ARAMARK UNIFORM AND CAREER APPAREL GROUP INC
2.150 lease is for and the nature                                             ATTN: FINANCIAL COLLECTIONS MANAGER
      of the debtor’s interest                                                1340 RUSSELL CAVE ROAD
                                                                              LEXINGTON, KY 40505
           State the term remaining
           List the contract number of
           any government contract

                                           INSURANCE POLICY (ARCH
      State what the contract or           ESSENTIAL EXCESS POLICY)           ARCH INSURANCE COMPANY
2.151 lease is for and the nature          POLICY NUMBER ABX1000391-00        250 FILMORE STREET
      of the debtor’s interest                                                SUITE 450
                                                                              DENVER, CO 80206
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              ARCHWAY MARKETING SERVICES INC
2.152 lease is for and the nature                                             DEPARTMENT 4599
      of the debtor’s interest                                                CAROL STREAM, IL 601224599

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
      State what the contract or                                              ARLENE HARD
2.153 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           QUOTE RENEWAL DATED 1/7/2024
      State what the contract or                                              ARTICULATE
2.154 lease is for and the nature                                             244 5TH AVENUE
      of the debtor’s interest                                                SUITE 2960
                                                                              NEW YORK, NY 10001
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER ORDER FORM AGREEMENT
      State what the contract or           DATED 12/30/2016            ASSET MANAGEMENT TECHNOLOGIES (AKA MRI)
2.155 lease is for and the nature                                      17039 KENTON DRIVE
      of the debtor’s interest                                         SUITE 200
                                                                       CORNELIUS, NC 28031
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              ASSET MANAGEMENT TECHNOLOGIES INC
2.156 lease is for and the nature                                             17039 KENTON DRIVE SUITE 200
      of the debtor’s interest                                                CORNELIUS, NC 28031

           State the term remaining
           List the contract number of
           any government contract

                                           CUSTOMER ORDER DATED
      State what the contract or           07/12/2021                         ASTUTE INC.
2.157 lease is for and the nature                                             4400 EASTON COMMONS
      of the debtor’s interest                                                SUITE 250
                                                                              COLUMBUS, OH 43219
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER AGREEMENT DATED
      State what the contract or           07/07/2014                         ASTUTE, INC
2.158 lease is for and the nature                                             2400 CORPORATE EXCHANGE DR.
      of the debtor’s interest                                                SUITE 150
                                                                              COLUMBUS, OH 43231
           State the term remaining
           List the contract number of
           any government contract

                                           CUSTOMER ORDER DATED
      State what the contract or           02/09/2021                         ASTUTE, INC
2.159 lease is for and the nature                                             4400 EASTON COMMONS
      of the debtor’s interest                                                SUITE 250
                                                                              COLUMBUS, OH 43219
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           CUSTOMER ORDER DATED
      State what the contract or           05/03/2021                         ASTUTE, INC.
2.160 lease is for and the nature                                             4400 EASTON COMMONS
      of the debtor’s interest                                                SUITE 250
                                                                              COLUMBUS, OH 43219
           State the term remaining
           List the contract number of
           any government contract

                                           CUSTOMER ORDER DATED
      State what the contract or           08/03/2020                         ASTUTE, INC.
2.161 lease is for and the nature                                             4400 EASTON COMMONS
      of the debtor’s interest                                                SUITE 250
                                                                              COLUMBUS, OH 43219
           State the term remaining
           List the contract number of
           any government contract

                                           CUSTOMER ORDER DATED
      State what the contract or           05/11/2021                         ASTUTE, INC.
2.162 lease is for and the nature                                             4400 EASTON COMMONS
      of the debtor’s interest                                                SUITE 250
                                                                              COLUMBUS, OH 43219
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              ATHOS GROUP LLC
2.163 lease is for and the nature                                             600 E. LAS COLINAS BOULEVARD
      of the debtor’s interest                                                SUITE 550
                                                                              IRVING, TX 75039
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              ATLANTIC LOGISTICS INC.
2.164 lease is for and the nature                                             12058 SAN JOSE BLVD
      of the debtor’s interest                                                SUITE 1001
                                                                              JACKSONVILLE, FL 32223
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              ATLAS VAN LINES INC
2.165 lease is for and the nature                                             PO BOX 952340
      of the debtor’s interest                                                ST LOUIS, MO 631952340

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              AUDIO VISUAL INNOVATIONS INC
2.166 lease is for and the nature                                             PO BOX 844612
      of the debtor’s interest                                                BOSTON, MA 02284-4612

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              AUGEO CLO INC.
2.167 lease is for and the nature                                             2561 TERRITORIAL ROAD
      of the debtor’s interest                                                ST. PAUL, MN 55114

           State the term remaining
           List the contract number of
           any government contract

                                           IDENTITY MANAGEMENT PLATFORM
      State what the contract or           SUBSCRIPTION AGREEMENT DATED AUTH0, INC.
2.168 lease is for and the nature          06/25/2019                   10800 NE 8TH STREET
      of the debtor’s interest                                          SUITE 600
                                                                        BELLEVUE, WA 98004
           State the term remaining
           List the contract number of
           any government contract

                                           SALES ORDER DATED 10/13/2020
      State what the contract or                                              AUTH0, INC.
2.169 lease is for and the nature                                             10800 NE 8TH STREET
      of the debtor’s interest                                                STE. 600
                                                                              BELLEVUE, WA 98004
           State the term remaining
           List the contract number of
           any government contract

                                           SALES ORDER DATED 06/25/2019
      State what the contract or                                              AUTH0, INC.
2.170 lease is for and the nature                                             10800 NE 8TH STREET
      of the debtor’s interest                                                STE. 600
                                                                              BELLEVUE, WA 98004
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              AUTOMATED DATA PROCESSING TECHNICIANS INC
2.171 lease is for and the nature                                             DBA ADAPT INC
      of the debtor’s interest                                                5610 ROWLAND ROAD SUITE 160
                                                                              MINNETONKA, MN 55343-8984
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              AUTOMOX INC.
2.172 lease is for and the nature                                             4845 PEARL EAST CIR
      of the debtor’s interest                                                STE 118
                                                                              PMB 80340
           State the term remaining                                           BOULDER, CO 80301

           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              AVANADE INC.
2.173 lease is for and the nature                                             1191 SECOND AVENUE
      of the debtor’s interest                                                SUITE 1001
                                                                              SEATTLE, WA 98101
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           INSURANCE POLICY (EXCESS
      State what the contract or           DIRECTORS AND OFFICERS             AXA XL - PROFESSIONAL INSURANCE
2.174 lease is for and the nature          LIABILITY) POLICY NUMBER ELU       100 CONSTITUTION PLAZA
      of the debtor’s interest             196981-24                          17TH FLOOR
                                                                              HARTFORD, CT 06103
           State the term remaining
           List the contract number of
           any government contract

                                           INSURANCE POLICY (EXCESS
      State what the contract or           DIRECTORS AND OFFICERS             AXA XL - PROFESSIONAL INSURANCE
2.175 lease is for and the nature          LIABILITY - RUN OFF POLICY)        100 CONSTITUTION PLAZA
      of the debtor’s interest             POLICY NUMBER ELU 196981-24        17TH FLOOR
                                                                              HARTFORD, CT 06103
           State the term remaining
           List the contract number of
           any government contract

                                           INSURANCE POLICY (SECOND
      State what the contract or           EXCESS CYBER) POLICY NUMBER        AXIS EXCESS INSURANCE
2.176 lease is for and the nature          P-001-001294526-01                 10000 AVALON BLVD
      of the debtor’s interest                                                SUITE 00
                                                                              ALPHARETTA, GA 30009
           State the term remaining
           List the contract number of
           any government contract

                                           INSURANCE POLICY (SECOND
      State what the contract or           EXCESS DIRECTORS AND               AXIS INSURANCE COMPANY
2.177 lease is for and the nature          OFFICERS LIABILITY) POLICY         111 SOUTH WACKER DRIVE
      of the debtor’s interest             NUMBER P-001-000411104-03          SUITE 3500
                                                                              CHICAGO, IL 60606
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              AXONIOUS, INC.
2.178 lease is for and the nature                                             330 MADISON AVE
      of the debtor’s interest                                                39 TH FLOOR
                                                                              NEW YORK, NY 10017-5006
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              B LINGO COMMUNICATIONS SDN BHD
2.179 lease is for and the nature                                             UNIT NO. 2A-6-2
      of the debtor’s interest                                                6TH FLOOR
                                                                              PLAZA SENTRAL
           State the term remaining                                           JALAN STESEN SENTRAL 5
                                                                              KUALA LAMPUR, 50470
           List the contract number of                                        MALAYSIA
           any government contract

                                           LICENSE AGREEMENT
      State what the contract or                                              BADIA SPICES INC.
2.180 lease is for and the nature                                             1400 NW 93RD AVENUE
      of the debtor’s interest                                                MIAMI, FL 33172

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           LICENSEE AGREEMENT DATED
      State what the contract or           7/28/2014                          BADIA SPICES, INC.
2.181 lease is for and the nature                                             1400 NW 93RD AVENUE
      of the debtor’s interest                                                MIAMI, FL 33172

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              BAIN & COMPANY, INC.
2.182 lease is for and the nature                                             131 DARTMOUTH STREET
      of the debtor’s interest                                                BOSTON, MA 02116

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              BALANCED PANTRY, LLC
2.183 lease is for and the nature                                             607 N. MCDONALD AVE.
      of the debtor’s interest                                                DELAND, FL 32724

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 4 EMV
      State what the contract or           ADDENDUM - USER ACCEPTANCE   BANC OF AMERICA MERCHANT SERVICES, LLC
2.184 lease is for and the nature          AND REGRESSION TESTING DATED 5565 GLENRIDGE CONNECTOR N.E.
      of the debtor’s interest             02/27/2017                   ATLANTA, GA 30342

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 10 OF THE
      State what the contract or           MASTER SERVICES AGREEMENT          BANC OF AMERICA MERCHANT SERVICES, LLC
2.185 lease is for and the nature          DATED 11/05/2018                   5565 GLENRIDGE CONNECTOR N.E.
      of the debtor’s interest                                                ATLANTA, GA 30342

           State the term remaining
           List the contract number of
           any government contract

                                           THE PREMIUM GIFT CARD
      State what the contract or           PROCESSING AGREEMENT DATED         BANC OF AMERICA MERCHANT SERVICES, LLC
2.186 lease is for and the nature          10/15/2018                         5565 GLENRIDGE CONNECTOR N.E.
      of the debtor’s interest                                                ATLANTA, GA 30342

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 8 OF THE MASTER
      State what the contract or           SERVICES AGREEMENT DATED      BANC OF AMERICA MERCHANT SERVICES, LLC
2.187 lease is for and the nature          04/25/2018                    5565 GLENRIDGE CONNECTOR N.E.
      of the debtor’s interest                                           ATLANTA, GA 30342

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           AMENDMENT NO. 12 EMV
      State what the contract or           ADDENDUM - USER ACCEPTANCE   BANC OF AMERICA MERCHANT SERVICES, LLC
2.188 lease is for and the nature          AND REGRESSION TESTING DATED 5565 GLENRIDGE CONNECTOR N.E.
      of the debtor’s interest             05/17/2019                   ATLANTA, GA 30342

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 1 OF THE MASTER
      State what the contract or           SERVICES AGREEMENT DATED      BANC OF AMERICA MERCHANT SERVICES, LLC
2.189 lease is for and the nature          04/07/2015                    5565 GLENRIDGE CONNECTOR N.E.
      of the debtor’s interest                                           ATLANTA, GA 30342

           State the term remaining
           List the contract number of
           any government contract

                                           STATEMENT OF WORK NO. 1 USER
      State what the contract or           ACCEPTANCE AND REGRESSION          BANC OF AMERICA MERCHANT SERVICES, LLC
2.190 lease is for and the nature          TESTING DATED 02/17/2022           5565 GLENRIDGE CONNECTOR N.E.
      of the debtor’s interest                                                ATLANTA, GA 30342

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 3 EMV
      State what the contract or           ADDENDUM - USER ACCEPTANCE   BANC OF AMERICA MERCHANT SERVICES, LLC
2.191 lease is for and the nature          AND REGRESSION TESTING DATED 5565 GLENRIDGE CONNECTOR N.E.
      of the debtor’s interest             05/25/2016                   ATLANTA, GA 30342

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 6 TO THE MASTER
      State what the contract or           SERVICES AGREEMENT DATED      BANC OF AMERICA MERCHANT SERVICES, LLC
2.192 lease is for and the nature          07/06/2017                    5565 GLENRIDGE CONNECTOR N.E.
      of the debtor’s interest                                           ATLANTA, GA 30342

           State the term remaining
           List the contract number of
           any government contract

                                           THE MASTER SERVICES
      State what the contract or           AGREEMENT                          BANC OF AMERICA MERCHANT SERVICES, LLC
2.193 lease is for and the nature                                             5565 GLENRIDGE CONNECTOR N.E.
      of the debtor’s interest                                                ATLANTA, GA 30342

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICES AGREEMENT
      State what the contract or           DATED 08/22/2014                   BANC OF AMERICA MERCHANT SERVICES, LLC
2.194 lease is for and the nature                                             5565 GLENRIDGE CONNECTOR N.E.
      of the debtor’s interest                                                ATLANTA, GA 30342

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           AMENDMENT NO. 5 OF THE MASTER
      State what the contract or           SERVICES AGREEMENT DATED      BANC OF AMERICA MERCHANT SERVICES, LLC
2.195 lease is for and the nature          03/09/2017                    5565 GLENRIDGE CONNECTOR N.E.
      of the debtor’s interest                                           ATLANTA, GA 30342

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 7 OF THE MASTER
      State what the contract or           SERVICES AGREEMENT DATED      BANC OF AMERICA MERCHANT SERVICES, LLC
2.196 lease is for and the nature          11/29/2017                    5565 GLENRIDGE CONNECTOR N.E.
      of the debtor’s interest                                           ATLANTA, GA 30342

           State the term remaining
           List the contract number of
           any government contract

                                           PREMIUM GIFT CARD PROCESSING
      State what the contract or           AGREEMENT DATED 07/28/2014   BANC OF AMERICA MERCHANT SERVICES, LLC
2.197 lease is for and the nature                                       5565 GLENRIDGE CONNECTOR N.E.
      of the debtor’s interest                                          ATLANTA, GA 30342

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 7 OF THE MASTER
      State what the contract or           SERVICES AGREEMENT DATED      BANK OF AMERICA
2.198 lease is for and the nature          11/29/2017                    9200 SHELBYVILLE ROAD
      of the debtor’s interest                                           SUITE 200
                                                                         KY6-225-0202
           State the term remaining                                      LOUISVILLE, KY 40222

           List the contract number of
           any government contract

                                           AMENDMENT NO. 4 EMV
      State what the contract or           ADDENDUM - USER ACCEPTANCE   BANK OF AMERICA
2.199 lease is for and the nature          AND REGRESSION TESTING DATED 9200 SHELBYVILLE ROAD
      of the debtor’s interest             02/27/2017                   SUITE 200
                                                                        KY6-225-0202
           State the term remaining                                     LOUISVILLE, KY 40222

           List the contract number of
           any government contract

                                           AMENDMENT NO. 5 OF THE MASTER
      State what the contract or           SERVICES AGREEMENT DATED      BANK OF AMERICA
2.200 lease is for and the nature          03/09/2017                    9200 SHELBYVILLE ROAD
      of the debtor’s interest                                           SUITE 200
                                                                         KY6-225-0202
           State the term remaining                                      LOUISVILLE, KY 40222

           List the contract number of
           any government contract

                                           AMENDMENT NO. 2 DATA FILE
      State what the contract or           MANAGER ADDENDUM TO MASTER         BANK OF AMERICA
2.201 lease is for and the nature          SERVICES AGREEMENT DATED           9200 SHELBYVILLE ROAD
      of the debtor’s interest             06/30/2015                         SUITE 200
                                                                              KY6-225-0202
           State the term remaining                                           LOUISVILLE, KY 40222

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           AMENDMENT NO. 2 DATA FILE
      State what the contract or           MANAGER ADDENDUM TO MASTER         BANK OF AMERICA MERCHANT SERVICES, LLC.
2.202 lease is for and the nature          SERVICES AGREEMENT DATED           150 N. COLLEGE STREET
      of the debtor’s interest             06/30/2015                         CHARLOTTE, NC 28255

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 3 EMV
      State what the contract or           ADDENDUM - USER ACCEPTANCE   BANK OF AMERICA, N.A.
2.203 lease is for and the nature          AND REGRESSION TESTING DATED 9200 SHELBYVILLE ROAD
      of the debtor’s interest             05/25/2016                   SUITE 200
                                                                        KY6-225-0202
           State the term remaining                                     LOUISVILLE, KY 40222

           List the contract number of
           any government contract

                                           MASTER SERVICES AGREEMENT
      State what the contract or           DATED 08/22/2014                   BANK OF AMERICA, N.A.
2.204 lease is for and the nature                                             1231 DURRETT LANE
      of the debtor’s interest                                                LOUISVILLE, KY 40213

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 12 EMV
      State what the contract or           ADDENDUM - USER ACCEPTANCE   BANK OF AMERICA, N.A.
2.205 lease is for and the nature          AND REGRESSION TESTING DATED 9200 SHELBYVILLE ROAD
      of the debtor’s interest             05/17/2019                   SUITE 200
                                                                        KY6-225-0202
           State the term remaining                                     LOUISVILLE, KY 40222

           List the contract number of
           any government contract

                                           AMENDMENT NO. 11 OF THE
      State what the contract or           MASTER SERVICES AGREEMENT          BANK OF AMERICA, N.A.,
2.206 lease is for and the nature          DATED 10/05/2023                   9200 SHELBYVILLE ROAD
      of the debtor’s interest                                                SUITE 200
                                                                              KY6-225-0202
           State the term remaining                                           LOUISVILLE, KY 40222

           List the contract number of
           any government contract

                                           AMENDMENT NO. 8 OF THE MASTER
      State what the contract or           SERVICES AGREEMENT DATED      BANK OF AMERICA, NA
2.207 lease is for and the nature          04/25/2018                    9200 SHELBYVILLE ROAD
      of the debtor’s interest                                           SUITE 200
                                                                         KY6-225-0202
           State the term remaining                                      LOUISVILLE, KY 40222

           List the contract number of
           any government contract

                                           AMENDMENT NO. 10 OF THE
      State what the contract or           MASTER SERVICES AGREEMENT          BANK OF AMERICA, NA
2.208 lease is for and the nature          DATED 11/05/2018                   9200 SHELBYVILLE ROAD
      of the debtor’s interest                                                SUITE 200
                                                                              KY6-225-0202
           State the term remaining                                           LOUISVILLE, KY 40222

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           STATEMENT OF WORK NO. 1 USER
      State what the contract or           ACCEPTANCE AND REGRESSION          BANK OF AMERICA, NA
2.209 lease is for and the nature          TESTING DATED 02/17/2022           9200 SHELBYVILLE ROAD
      of the debtor’s interest                                                SUITE 200
                                                                              KY6-225-0202
           State the term remaining                                           LOUISVILLE, KY 40222

           List the contract number of
           any government contract

                                           AMENDMENT NO. 6 TO THE MASTER
      State what the contract or           SERVICES AGREEMENT DATED      BANK OF AMERICA, NA
2.210 lease is for and the nature          07/06/2017                    9200 SHELBYVILLE ROAD
      of the debtor’s interest                                           SUITE 200
                                                                         KY6-225-0202
           State the term remaining                                      LOUISVILLE, KY 40222

           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              BARCLAYS BANK PLC
2.211 lease is for and the nature                                             5 THE NORTH COLONNADE
      of the debtor’s interest                                                LONDON, E14 4BB
                                                                              UNITED KINGDOM
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              BARKER NESTOR INC
2.212 lease is for and the nature                                             600 W CERMAK RD STE 3C
      of the debtor’s interest                                                CHICAGO, IL 60616-4880

           State the term remaining
           List the contract number of
           any government contract

                                           ADVERTISING AGENCY SERVICES
      State what the contract or           AGREEMENT DATED 07/01/2022         BARKLEY, INC.
2.213 lease is for and the nature                                             1740 MAIN STREET
      of the debtor’s interest                                                KANSAS CITY, MO 64108

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              BCD M&I LLC
2.214 lease is for and the nature                                             500 W. MADISON STREET
      of the debtor’s interest                                                SUITE 1200
                                                                              CHICAGO, IL 60661
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              BCD TRAVEL USA LLC
2.215 lease is for and the nature                                             630 DUNDEE ROAD
      of the debtor’s interest                                                SUITE 425
                                                                              NORTHBROOK, IL 60062
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              BEACON HILL STAFFING GROUP, LLC
2.216 lease is for and the nature                                             152 BOWDOIN STREET
      of the debtor’s interest                                                BOSTON, MA 02108

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              BEAUTIFUL DAY PRODUCTIONS LLC
2.217 lease is for and the nature                                             100 UNIVERAL CITY PLAZA
      of the debtor’s interest                                                BUILDING 1440-12
                                                                              UNIVERSAL CITY, CA 91608
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              BELL CANADA
2.218 lease is for and the nature                                             CUSTOMER PAYMENT CENTRE
      of the debtor’s interest                                                PO BOX 9000 STATION DON MILLS
                                                                              NORTH YORK, ON M3C 2X7
           State the term remaining                                           CANADA

           List the contract number of
           any government contract

                                           PROFESSIONAL SERVICE
      State what the contract or           AGREEMENT - PROGRAM SUMMARY BENEFITED, LLC
2.219 lease is for and the nature          DATED 09/08/2022            121 SOUTH 13TH STREET
      of the debtor’s interest                                         SUITE 100
                                                                       LINCOLN, NE 68508
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              BENJAMIN M JOHNSON LLC
2.220 lease is for and the nature                                             28686 MOUNTAIN VIEW RD
      of the debtor’s interest                                                CONIFER, CO 80433-7240

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              BENTON STOUT
2.221 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              BERA
2.222 lease is for and the nature                                             135 E 57TH STREET
      of the debtor’s interest                                                NEW YORK, NY 10022

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           IT SERVICES AGREEMENT DATED
      State what the contract or           06/29/2016                         BEYONDTRUST SOFTWARE INC
2.223 lease is for and the nature                                             5090 NORTH 40TH STREET
      of the debtor’s interest                                                SUITE 400
                                                                              PHOENIX, AZ 85018
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              BFT ENTERTAINMENT
2.224 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              BILLIE NARDOZZI
2.225 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           ORDER FORM DATED 06/01/2023
      State what the contract or                                              BLACK BOX INTELLIGENCE
2.226 lease is for and the nature                                             14785 PRESTON ROAD
      of the debtor’s interest                                                SUITE 290
                                                                              DALLAS, TX 75254
           State the term remaining
           List the contract number of
           any government contract

                                           IT SERVICES AGREEMENT DATED
      State what the contract or           02/19/2020                         BLACK HILLS INFORMATION SECURITY LLC
2.227 lease is for and the nature                                             115 WEST HUDSON ST.
      of the debtor’s interest                                                SPEARFISH, SD 57783

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              BLACKBOARD INC. (AKA BBONE)
2.228 lease is for and the nature                                             650 MASSACHUSETTS AVE
      of the debtor’s interest                                                N.W.
                                                                              6 TH FLOOR
           State the term remaining                                           WASHINGTON, DC 20001

           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              BLACKHAWK NETWORK INC
2.229 lease is for and the nature                                             C/O WACHOVIA BANK
      of the debtor’s interest                                                PO BOX 932859
                                                                              ATLANTA, GA 31193-2859
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           US CARD PARITICIPATION
      State what the contract or           AGREEMENT DATED 10/10/2017         BLACKHAWK US
2.230 lease is for and the nature                                             6220 STONERIDGE MALL ROAD
      of the debtor’s interest                                                PLEASANTON, CA 94588-3229

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              BLINDSTER INC
2.231 lease is for and the nature                                             3071 NORTH ORANGE BLOSSOM TRAIL
      of the debtor’s interest                                                SUITE W
                                                                              ORLANDO, FL 32804
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              BLOOMBERG INDUSTRY GROUP INC.
2.232 lease is for and the nature                                             1801 S. BELL STREET
      of the debtor’s interest                                                ARLINGTON, VA 22202

           State the term remaining
           List the contract number of
           any government contract

                                           ADMINISTRATIVE SERVICES
      State what the contract or           AGREEMENT DATED 01/01/2018         BLUE CROSS AND BLUE SHIELD OF FLORIDA INC
2.233 lease is for and the nature                                             4800 DEERWOOD CAMPUS PARKWAY
      of the debtor’s interest                                                JACKSONVILLE, FL 32246

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              BLUE WAVE RESOURCE PARTNERS LLC
2.234 lease is for and the nature                                             250 N. ORANGE AVE
      of the debtor’s interest                                                SUITE 900
                                                                              ORLANDO, FL 32801
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              BOILER & PROPERTY CONSULTING LLC
2.235 lease is for and the nature                                             5018 BRISTOL INDUSTRIAL WAY STE 203
      of the debtor’s interest                                                BUFORD, GA 30518-1776

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              BOLD ORANGE COMPANY LLC
2.236 lease is for and the nature                                             100 WASHINGTON AVE. SOUTH
      of the debtor’s interest                                                SUITE 750
                                                                              MINNEAPOLIS, MN 55401
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
      State what the contract or                                              BOYS & GIRLS CLUB OF FARMINGTON
2.237 lease is for and the nature                                             1925 POSITIVE WAY
      of the debtor’s interest                                                FARMINGTON, NM 87401

           State the term remaining
           List the contract number of
           any government contract

                                           IT CONTRACTS
      State what the contract or                                              BRAND SYSTEMS INC.
2.238 lease is for and the nature                                             637 W. 27 TH STREET # 8
      of the debtor’s interest                                                NEW YORK, NY 10001

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              BRANDI MILLOY INC.
2.239 lease is for and the nature                                             20 JAY STREET
      of the debtor’s interest                                                BROOKLYN, NY 11201

           State the term remaining
           List the contract number of
           any government contract

                                           COMPACTOR AGREEMENT FOR
      State what the contract or           RESTAURANT #0452 DATED             BRASK ENTERPRISES, INC.
2.240 lease is for and the nature          05/01/2009                         P.O. BOX 800335
      of the debtor’s interest                                                HOUSTON, TX 77280-0335

           State the term remaining
           List the contract number of
           any government contract

                                           IT SERVICES AGREEMENT DATED
      State what the contract or           01/25/2021                         BRAVE SOFT TECH INC
2.241 lease is for and the nature                                             301 E. LIBERTY ST
      of the debtor’s interest                                                SUITE 650
                                                                              ANN ARBOR, MI 48104
           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-1: STATEMENT OF
      State what the contract or           WORK DATED 01/25/2021              BRAVE SOFT TECH INC
2.242 lease is for and the nature                                             301 E LIBERTY ST
      of the debtor’s interest                                                SUITE 650
                                                                              ANN ARBOR, MI 48104
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              BRIGHT ROAD PRODUCTIONS, INC
2.243 lease is for and the nature                                             6060 CENTER DRIVE
      of the debtor’s interest                                                SUITE 400
                                                                              LOS ANGELES, CA 90045
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
      State what the contract or                                              BRIGHTHOUSE NETWORKS LLC
2.244 lease is for and the nature                                             65 S KELLER ROAD
      of the debtor’s interest                                                ORLANDO, FL 32810

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT TO SERVICES
      State what the contract or           AGREEMENT DATED 08/01/2012         BRINK’S, INCORPORATED
2.245 lease is for and the nature                                             555 DIVIDEND DRIVE
      of the debtor’s interest                                                COPPELL, TX 75019

           State the term remaining
           List the contract number of
           any government contract

                                           ACQUISITION AGREEMENT DATED
      State what the contract or           08/08/2014                         BRINKS CANADA LIMITED
2.246 lease is for and the nature                                             1 ROBERT SPECK PKWY
      of the debtor’s interest                                                SUITE1000
                                                                              MISSISSAUGA, ON L4Z 3M3
           State the term remaining                                           CANADA

           List the contract number of
           any government contract

                                           RIDER 2 DATED 09/12/2016
      State what the contract or                                              BRINK'S CANADA LIMITED / BRINKS CANADA LIMITEE
2.247 lease is for and the nature                                             ONE ROBERT SPECK PARKWAY
      of the debtor’s interest                                                SUITE 1000
                                                                              MISSISSAUGA, ON L4Z 3M3
           State the term remaining                                           CANADA

           List the contract number of
           any government contract

                                           SERVICE AGREEMENT DATED
      State what the contract or           08/01/2009                         BRINK'S U.S.
2.248 lease is for and the nature                                             555 DIVIDEND DRIVE
      of the debtor’s interest                                                COPPELL, TX 75217

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
      State what the contract or           11/13/2014                         BRINK'S U.S.
2.249 lease is for and the nature                                             555 DIVIDEND DRIVE
      of the debtor’s interest                                                COPPELL, TX 75019

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
      State what the contract or           11/13/2014 PLUS AMENDMENTS         BRINK'S US A DIVISION OF BRINKS INCORPORATED
2.250 lease is for and the nature                                             555 DIVIDEND DR
      of the debtor’s interest                                                COPPELL, TX 75019

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              BRONIEC ASSOCIATES, INC.
2.251 lease is for and the nature                                             4855 PEACHTREE INDUSTRIAL BLVD.
      of the debtor’s interest                                                SUITE 215
                                                                              BERKELEY LAKE, GA 30092
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              BUDGET TRUCK RENTAL LLC
2.252 lease is for and the nature                                             6 SYLVAN WAY
      of the debtor’s interest                                                PARSIPPANY, NJ 07054

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              BULLESEY RECRUITING LLC
2.253 lease is for and the nature                                             197 STATE ROUTE 18 SOUTH
      of the debtor’s interest                                                SUITE 3000
                                                                              EAST BRUNSWICK, NJ 08816
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              BULLETIN INTELIGENCE LLC
2.254 lease is for and the nature                                             11190 SUNRISE VALLEY DRIVE
      of the debtor’s interest                                                SUITE 20
                                                                              RESTON, VA 20191
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
      State what the contract or           10/4/2018                          BULLSEYE RECRUITING LLC
2.255 lease is for and the nature                                             197 STATE ROUTE 18 SOUTH
      of the debtor’s interest                                                SUITE 3000
                                                                              EAST BRUNSWICK, NJ 08816
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              BUSINESS EXPRESS COURIER SERVICES INC
2.256 lease is for and the nature                                             504 N HUDSON ST
      of the debtor’s interest                                                ORLANDO, FL 32835-1163

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              BUSINESS FOR SOCIAL RESPONSIBLITY
2.257 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              BUYATAB ONLINE INC.
2.258 lease is for and the nature                                             B1-788 BEATTY STREET
      of the debtor’s interest                                                VANCOUVER, BC V6B2M1
                                                                              CANADA
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              BUYER ADVERTISING INC
2.259 lease is for and the nature                                             175 HIGHLAND AVE STE 407
      of the debtor’s interest                                                NEEDHAM, MA 02494-3048

           State the term remaining
           List the contract number of
           any government contract

                                           IT SERVICES AGREEMENT
      State what the contract or           OCTOBER 9, 2017                    BUYER ADVERTISING, INC.
2.260 lease is for and the nature                                             189 WELLS AVE.
      of the debtor’s interest                                                ATTN: CHARLES BUYER
                                                                              NEWTON, MA 02459
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
      State what the contract or           02/27/2017                         C&S PRESS, INC
2.261 lease is for and the nature                                             405 27TH STREET
      of the debtor’s interest                                                ORLANDO, FL 32806

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              CAMERON HENDERSON
2.262 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              CARD CONNECT
2.263 lease is for and the nature                                             1000 CINTINENTAL DRIVE
      of the debtor’s interest                                                SUITE 3000
                                                                              KING OF PRUSSIA, PA 19406
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              CARDFREE
2.264 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
      State what the contract or                                              CARDLYTICS INC.
2.265 lease is for and the nature                                             675 PONCE DE LEON AVE
      of the debtor’s interest                                                ATLANTA, GA 30308

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              CAREER ARC GROUP LLC
2.266 lease is for and the nature                                             2600 WEST OLIVE AVENUE
      of the debtor’s interest                                                SUITE 710
                                                                              BURBANK, CA 91505
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              CARIBBEAN SUSTAINABLE FISHIRIES USA INC.
2.267 lease is for and the nature                                             36 BROAD STREET
      of the debtor’s interest                                                CHARLESTON, SC 29401

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              CARRIE M. BARNER
2.268 lease is for and the nature                                             DBA BARNER MARKETING CONSULTING INC
      of the debtor’s interest                                                107 LAKEN LANE
                                                                              ORLANDO, FL 32804
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              CASHSTAR INC.
2.269 lease is for and the nature                                             25 PEARL STREET
      of the debtor’s interest                                                PORTLAND, ME 4101

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              CASTLES TECHNOLOGY
2.270 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              CATAPULT SYSTEMS
2.271 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              CBRE INC
2.272 lease is for and the nature                                             PO BOX 848844
      of the debtor’s interest                                                LOS ANGELES, CA 90084-8844

           State the term remaining
           List the contract number of
           any government contract

                                           SUPPLY AGREEMENT
      State what the contract or                                              CBS TELEVISION STUDIOS
2.273 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
      State what the contract or           07/16/2021                         CCH A WOLTERS KLUWER BUSINESS
2.274 lease is for and the nature                                             2700 LAKE COOK ROAD
      of the debtor’s interest                                                RIVERWOODS, IL 60015

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              CENTRAL FLORIDA COPY CTR
2.275 lease is for and the nature                                             DBA XEROGRAPHIC DIGITAL PRINTING
      of the debtor’s interest                                                1948 33RD STREET
                                                                              ORLANDO, FL 32839
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              CENTRAL FLORIDA PRESS
2.276 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              CENTRIC
2.277 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
      State what the contract or           01/21/2015                         CENTRIC ACTUARIAL SOLUTIONS, LLC
2.278 lease is for and the nature                                             6800 COLLEGE BLVD. STE 245
      of the debtor’s interest                                                OVERLAND PARK, KS 66211

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              CENTURYLINK DBA LUMEN TECHNOLOGIES
2.279 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              CERNA SOLUTIONS
2.280 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           LICENSE AGREEMENT
      State what the contract or                                              CHAD BYERLY PHOTOGRAPHY
2.281 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              CHAIN BRANDS INC
2.282 lease is for and the nature                                             129 S LA JOLLA AVE
      of the debtor’s interest                                                LOS ANGELES, CA 90048-3529

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              CHANCEY'S TOWING
2.283 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              CHARGEPOINT INC
2.284 lease is for and the nature                                             DEPT LA 24104
      of the debtor’s interest                                                PASADENA, CA 91185-4104

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              CHASE PAYMENTECH
2.285 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
      State what the contract or                                              CHECK THE GATE PRODUCTIONS
2.286 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              CHEESECAKE FACTORY INC
2.287 lease is for and the nature                                             26901 MALIBU HILLS ROAD
      of the debtor’s interest                                                CALABASAS, CA 91301

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              CHEQUED.COM
2.288 lease is for and the nature                                             513 BROADWAY
      of the debtor’s interest                                                SARATOGA SPRINGS
                                                                              NEW YORK, NY 12866
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              CHEQUED.COM (NKA AND SEE OUTMATCH)
2.289 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
      State what the contract or           01/09/2018                         CIC PLUS, INC.
2.290 lease is for and the nature                                             7321 RIDGEWAY AVE.
      of the debtor’s interest                                                SKOKIE, IL 60076

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              CINGULAR AT&T
2.291 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              CINTAS CORPORATION NO 2
2.292 lease is for and the nature                                             DBA CINTAS LOCATION #346
      of the debtor’s interest                                                PO BOX 630910
                                                                              CINCINNATI, OH 452630910
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              CISION (FKA PR NEWSWIRE)
2.293 lease is for and the nature                                             300 S RIVERSIDE PLAZA
      of the debtor’s interest                                                CHICAGO, IL 60606

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              CITRUS SPRINGS GROUP LLP
2.294 lease is for and the nature                                             1600 PARK
      of the debtor’s interest                                                370 PLACE
                                                                              SUITE 9
           State the term remaining                                           HAZELWOOD, MO 63042

           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              CLARITY CONSULTING INC
2.295 lease is for and the nature                                             20 N WACKER DRIVE
      of the debtor’s interest                                                SUITE 1450
                                                                              CHICAGO, IL 60606
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              CLASS ACTION CAPITAL RECOVERY LLC
2.296 lease is for and the nature                                             49 MARBLE AVENUE
      of the debtor’s interest                                                PLEASANT VILLE, NY 10570

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
      State what the contract or           04/04/2019                         CLIFTONLARSON ALLEN
2.297 lease is for and the nature                                             220 SOUTH SIXTH STREET
      of the debtor’s interest                                                SUITE 300
                                                                              MINNEAPOLIS, MN 55402-1436
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              CLIFTONLARSONALLEN LLP
2.298 lease is for and the nature                                             PO BOX 740863
      of the debtor’s interest                                                ATLANTA, GA 303740863

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              CM SYSTEMS LLC
2.299 lease is for and the nature                                             PO BOX 492182
      of the debtor’s interest                                                LAWRENCEVILLE, GA 30049-0037

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              CMS PAYMENTS INTELLIGENCE INC
2.300 lease is for and the nature                                             111 WEST JACKSON
      of the debtor’s interest                                                SUITE 1700
                                                                              CHICAGO, IL 60604
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              CNL PLAZA LTD
2.301 lease is for and the nature                                             PO BOX 743938
      of the debtor’s interest                                                ATLANTA, GA 303743938

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              COBBS ALLEN CAPITAL LLC
2.302 lease is for and the nature                                             DBA CAC SPECIALTY
      of the debtor’s interest                                                115 OFFICE PARK DR STE 200
                                                                              MOUNTAIN BRK, AL 35223-2423
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              COGENSIA, LLC
2.303 lease is for and the nature                                             100 W. HILLCREST BLVD.
      of the debtor’s interest                                                SUITE 406
                                                                              SCHAUMBURG, IL 60195
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              COLLABERA, INC.
2.304 lease is for and the nature                                             110 ALLEN ROAD
      of the debtor’s interest                                                BASKING RIDGE, NJ 7920

           State the term remaining
           List the contract number of
           any government contract

                                           INSURANCE POLICY (PROPERTY)
      State what the contract or           POLICY NUMBER RMP 7035039490       COLUMBIA CASUALTY COMPANY
2.305 lease is for and the nature                                             MARSH USA LLC
      of the debtor’s interest                                                3560 LENOX RD NE STE 2400
                                                                              QSQ
           State the term remaining                                           ATLANTA, GA 30326-4266

           List the contract number of
           any government contract

                                           INSURANCE POLICY (CYBER)
      State what the contract or           POLICY NUMBER 596488025            COLUMBIA CASUALTY COMPANY
2.306 lease is for and the nature                                             MARSH USA LLC
      of the debtor’s interest                                                3560 LENOX RD NE STE 2400
                                                                              QSQ
           State the term remaining                                           ATLANTA, GA 30326-4266

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           EXIT INTERVIEW SERVICES
      State what the contract or           AGREEMENTS                         COMBINED RESOURCE SOLUTIONS, INC./CREATIVE
2.307 lease is for and the nature                                             RESTAURANT SOLUTIONS, INC. (CRS)
      of the debtor’s interest                                                401 E GORDON DRIVE
                                                                              EXTON, PA 19341
           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 5 DATED
      State what the contract or           02/22/2022                         COMCAST CABLE COMMUNICATIONS MANAGEMENT, LLC
2.308 lease is for and the nature                                             ONE COMCAST CENTER
      of the debtor’s interest                                                1701 JFK BLVD
                                                                              PHILADELPHIA, PA 19103
           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 6 DATED
      State what the contract or           05/17/2022                         COMCAST CABLE COMMUNICATIONS MANAGEMENT, LLC
2.309 lease is for and the nature                                             ONE COMCAST CENTER
      of the debtor’s interest                                                1701 JFK BLVD
                                                                              PHILADELPHIA, PA 19103
           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 3 DATED
      State what the contract or           06/30/2021                         COMCAST CABLE COMMUNICATIONS MANAGEMENT, LLC
2.310 lease is for and the nature                                             ONE COMCAST CENTER
      of the debtor’s interest                                                1701 JFK BLVD
                                                                              PHILADELPHIA, PA 19103
           State the term remaining
           List the contract number of
           any government contract

                                           FIRST AMENDMENT DATED
      State what the contract or           09/15/2021                         COMCAST CABLE COMMUNICATIONS MANAGEMENT, LLC
2.311 lease is for and the nature                                             ONE COMCAST CENTER
      of the debtor’s interest                                                1701 JFK BLVD
                                                                              PHILADELPHIA, PA 19103
           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 4 DATED
      State what the contract or           12/13/2021                         COMCAST CABLE COMMUNICATIONS MANAGEMENT, LLC
2.312 lease is for and the nature                                             ONE COMCAST CENTER
      of the debtor’s interest                                                1701 JFK BLVD
                                                                              PHILADELPHIA, PA 19103
           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 2 DATED
      State what the contract or           02/25/2021                         COMCAST CABLE COMMUNICATIONS MANAGEMENT, LLC
2.313 lease is for and the nature                                             ONE COMCAST CENTER
      of the debtor’s interest                                                1701 JFK BLVD
                                                                              PHILADELPHIA, PA 19103
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MANAGED SERVICES DATED
      State what the contract or           04/11/2019                         COMCAST CABLE COMMUNICATIONS MANAGEMENT, LLC
2.314 lease is for and the nature                                             ONE COMCAST CENTER
      of the debtor’s interest                                                1701 JFK BLVD
                                                                              PHILADELPHIA, PA 19103
           State the term remaining
           List the contract number of
           any government contract

                                           MANAGED SERVICES DATED
      State what the contract or           10/12/2020                         COMCAST CABLE COMMUNICATIONS MANAGEMENT, LLC
2.315 lease is for and the nature                                             ONE COMCAST CENTER
      of the debtor’s interest                                                1701 JFK BLVD
                                                                              PHILADELPHIA, PA 19103
           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 1 DATED
      State what the contract or           01/29/2021                         COMCAST CABLE COMMUNICATIONS MANAGEMENT, LLC
2.316 lease is for and the nature                                             ONE COMCAST CENTER
      of the debtor’s interest                                                1701 JFK BLVD
                                                                              PHILADELPHIA, PA 19103
           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 7 DATED
      State what the contract or           06/14/2022                         COMCAST CABLE COMMUNICATIONS MANAGEMENT, LLC
2.317 lease is for and the nature                                             ONE COMCAST CENTER
      of the debtor’s interest                                                1701 JFK BLVD
                                                                              PHILADELPHIA, PA 19103
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICES AGREEMENT
      State what the contract or           DATED 03/29/2019                   COMCAST ENTERPRISE MANAGED SERVICES
2.318 lease is for and the nature                                             ONE COMCAST CENTER
      of the debtor’s interest                                                1701 JFK BLVD
                                                                              PHILADELPHIA, PA 19103
           State the term remaining
           List the contract number of
           any government contract

                                           SALES ORDER FORM DATED
      State what the contract or           08/10/2023                         COMCAST ENTERPRISE SERVICES
2.319 lease is for and the nature                                             ONE COMCAST CENTER
      of the debtor’s interest                                                1701 JFK BLVD
                                                                              PHILADELPHIA, PA 19103
           State the term remaining
           List the contract number of
           any government contract

                                           SALES ORDER FORM DATED
      State what the contract or           06/15/2022                         COMCAST ENTERPRISE SERVICES
2.320 lease is for and the nature                                             ONE COMCAST CENTER
      of the debtor’s interest                                                1701 JFK BLVD
                                                                              PHILADELPHIA, PA 19103
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SALES ORDER FORM DATED
      State what the contract or           04/18/2022                         COMCAST ENTERPRISE SERVICES
2.321 lease is for and the nature                                             ONE COMCAST CENTER
      of the debtor’s interest                                                1701 JFK BLVD
                                                                              PHILADELPHIA, PA 19103
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              COMM WORKS INVESTMENT HOLDING COMPANY LLC
2.322 lease is for and the nature                                             DBA COMM WORKS LLC
      of the debtor’s interest                                                PO BOX 734592
                                                                              CHICAGO, IL 60673-4592
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              COMMER BEVERAGE CONSULTING
2.323 lease is for and the nature                                             2920 MERLIN DR.
      of the debtor’s interest                                                LEWISVILLE, TX 75056

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              COMPETITRACK, INC.
2.324 lease is for and the nature                                             36-36 33 STREET
      of the debtor’s interest                                                LONG ISLAND CITY, NY 11106

           State the term remaining
           List the contract number of
           any government contract

                                           BUSINESS ASSOCIATE AGREEMENT
      State what the contract or           DATED 03/05/2015             COMPSYCH CORPORATION
2.325 lease is for and the nature                                       455 N. CITYFRONT PLAZA DRIVE
      of the debtor’s interest                                          CHICAGO, IL 60611

           State the term remaining
           List the contract number of
           any government contract

                                           ADMINISTRATIVE SERVICES
      State what the contract or           AGREEMENT DATED 01/01/2015         COMPSYCH CORPORATION
2.326 lease is for and the nature                                             455 N. CITYFRONT PLAZA DRIVE
      of the debtor’s interest                                                13TH FLOOR
                                                                              CHICAGO, IL 60611
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              COMPUCOM
2.327 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
      State what the contract or                                              COMPUSENSE INC
2.328 lease is for and the nature                                             PO BOX 1116
      of the debtor’s interest                                                GUELPH, ON N1H 6N3
                                                                              CANADA
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              COMPUTER AID, INC (CAI)
2.329 lease is for and the nature                                             1390 RIDGEVIEW DRIVE
      of the debtor’s interest                                                ALLENTOWN, PA 18104

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              COMPUWARE HOLDING CORP
2.330 lease is for and the nature                                             DBA DYNATRACE LLC
      of the debtor’s interest                                                PO BOX 74008118
                                                                              CHICAGO, IL 60674-8118
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              COMVOX SYSTEMS LLC
2.331 lease is for and the nature                                             5570 403 FLORIDA MINING BLVD SOUTH
      of the debtor’s interest                                                JACKSONVILLE, FL 322573256

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              CONCEPTA TECHNOLOGIES LLC
2.332 lease is for and the nature                                             121 S ORANGE AVE STE 1410
      of the debtor’s interest                                                ORLANDO, FL 32801-3240

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              CONNECTRIA CORPORATION
2.333 lease is for and the nature                                             10845 OLIVE BLVD SUITE 300
      of the debtor’s interest                                                CREVE COEUR, MO 63141

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              CONNOR CODDINGTON
2.334 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
      State what the contract or                                              CONQUEST TECHNOLOGY SERVICES
2.335 lease is for and the nature                                             4675 PONCE DE LEON BOULEVARD
      of the debtor’s interest                                                SUITE 302
                                                                              CORAL GABLES, FL 33146
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              CONSOLIDATED CATFISH PRODUCER LLC
2.336 lease is for and the nature                                             299 SOUTH ST
      of the debtor’s interest                                                ISOLA, MS 38754

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              CONSTANT CONTACT
2.337 lease is for and the nature                                             1601 TRAPELO ROAD,
      of the debtor’s interest                                                WALTHAM, MA 2451

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              CONSTELLATION (ENERGY)
2.338 lease is for and the nature                                             PO BOX 4911
      of the debtor’s interest                                                HOUSTON, TX 77210-4911

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER APPLICATION FOR GROUP
      State what the contract or           ACCIDENTAL INJURY DATED      CONTINENTAL AMERICAN INSURANCE COMPANY
2.339 lease is for and the nature          01/01/2019                   P.O. BOX 427
      of the debtor’s interest                                          COLUMBIA, SC 29202

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER APPLICATION FOR GROUP
      State what the contract or           CRITICAL ILLNESS INSURANCE   CONTINENTAL AMERICAN INSURANCE COMPANY
2.340 lease is for and the nature          DATED 01/01/2019             PO BOX 427
      of the debtor’s interest                                          COLUMBIA, SC 29202

           State the term remaining
           List the contract number of
           any government contract

                                           GROUP MASTER APPLICATION
      State what the contract or           DATED 07/28/2014                   CONTINENTAL AMERICAN INSURANCE COMPANY
2.341 lease is for and the nature                                             2801 DEVINE STREET
      of the debtor’s interest                                                COLUMBIA, SC 29205

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           LICENSE AGREEMENT
      State what the contract or                                              CONTINENTAL MILLS INC
2.342 lease is for and the nature                                             18100 ANDOVER PARK WEST
      of the debtor’s interest                                                TUKWILA, WA 98188

           State the term remaining
           List the contract number of
           any government contract

                                           SECOND AMENDMENT TO THE
      State what the contract or           LICENSE AGREEMENT DATED            CONTINENTAL MILLS, INC.
2.343 lease is for and the nature          12/16/2013                         18100 ANDOVER PARK WEST
      of the debtor’s interest                                                TUKWILA, WA 98188

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER INTELLECTUAL PROPERTY
      State what the contract or           LICENSE AGREEMENT DATED      CONTINENTAL MILLS, INC.
2.344 lease is for and the nature          08/05/2021                   18100 ANDOVER PARK WEST
      of the debtor’s interest                                          TUKWILA, WA 8188

           State the term remaining
           List the contract number of
           any government contract

                                           LICENSE AGREEMENT DATED
      State what the contract or           09/13/2012                         CONTINENTAL MILLS, INC.
2.345 lease is for and the nature                                             18100 ANDOVER PARK WEST
      of the debtor’s interest                                                TUKWILA, WA 98188

           State the term remaining
           List the contract number of
           any government contract

                                           FIRST AMENDMENT TO THE
      State what the contract or           LICENSE AGREEMENT DATED            CONTINENTAL MILLS, INC.
2.346 lease is for and the nature          02/27/2013                         18100 ANDOVER PARK WEST
      of the debtor’s interest                                                TUKWILA, WA 98188

           State the term remaining
           List the contract number of
           any government contract

                                           LICENSE AGREEMENT DATED
      State what the contract or           09/13/2012                         CONTINENTAL MILLS, INC.
2.347 lease is for and the nature                                             8100 ANDOVER PARK WEST
      of the debtor’s interest                                                TUKWILA, WA 98188

           State the term remaining
           List the contract number of
           any government contract

                                           END USER TERMS OF SERVICE
      State what the contract or           DATED 05/14/2019                   CONTRAST SECURITY, INC.
2.348 lease is for and the nature                                             ATTENTION: LEGAL
      of the debtor’s interest                                                240 3RD STREET
                                                                              LOS ALTOS, CA 94022
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
      State what the contract or                                              CONVERSANT LLC
2.349 lease is for and the nature                                             101 N. WACKER DR.
      of the debtor’s interest                                                STE. 2300
                                                                              CHICAGO, IL 60606
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              COOKDASH (DBA SUPERORDER)
2.350 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              COOPERATIVE PURCHASING GROUP LLC
2.351 lease is for and the nature                                             675 SEMINOLE AVE NE STE T04
      of the debtor’s interest                                                ATLANTA, GA 30307-3409

           State the term remaining
           List the contract number of
           any government contract

                                           STATEMENT OF WORK DATED
      State what the contract or           08/11/2023                         CORNERSTONE ONDEMAND, INC.
2.352 lease is for and the nature                                             1601 CLOVERFIELD BLVD
      of the debtor’s interest                                                SUITE 600 SOUTH
                                                                              SANTA MONICA, CA 90404
           State the term remaining
           List the contract number of
           any government contract

                                           ORDER FORM DATED 09/26/2023
      State what the contract or                                              CORNERSTONE ONDEMAND, INC.
2.353 lease is for and the nature                                             1601 CLOVERFIELD BLVD
      of the debtor’s interest                                                SUITE 600 SOUTH
                                                                              SANTA MONICA, CA 90404
           State the term remaining
           List the contract number of
           any government contract

                                           ORDER FORM DATED 08/08/2023
      State what the contract or                                              CORNERSTONE ONDEMAND, INC.
2.354 lease is for and the nature                                             1601 CLOVERFIELD BLVD
      of the debtor’s interest                                                SUITE 600 SOUTH
                                                                              SANTA MONICA, CA 90404
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER AGREEMENT DATED
      State what the contract or           05/23/2023                         CORNERSTONE ONDEMAND, INC.
2.355 lease is for and the nature                                             1601 CLOVERFIELD BLVD
      of the debtor’s interest                                                SUITE 600 SOUTH
                                                                              SANTA MONICA, CA 90404
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           STATEMENT OF WORK NO. 3 DATED
      State what the contract or           09/22/2023                    CORNERSTONE ONDEMAND, INC.
2.356 lease is for and the nature                                        1601 CLOVERFIELD BLVD
      of the debtor’s interest                                           SUITE 600 SOUTH
                                                                         SANTA MONICA, CA 90404
           State the term remaining
           List the contract number of
           any government contract

                                           REGISTERED AGENT SERVICES
      State what the contract or           AGREEMENT DATED 09/15/2014         CORPORATE CREATIONS INTERNATIONAL INC.
2.357 lease is for and the nature                                             11380 PROSPERITY FARMS ROAD #22IE
      of the debtor’s interest                                                PALM BEACH GARDENS, FL 33410

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              COVINGLOR & BUFLING LLP
2.358 lease is for and the nature                                             ONE CITYCENTCR
      of the debtor’s interest                                                850 TENTH STREET NW
                                                                              WASHINGTON, DC 20001-4956
           State the term remaining
           List the contract number of
           any government contract

                                           TELECOMMUNICATIONS
      State what the contract or           AGREEMENT                          COX COMMUNICATIONS LAS VEGAS
2.359 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              CREATIVE CIRCLE, LLC
2.360 lease is for and the nature                                             5900 WILSHIRE BLVD.
      of the debtor’s interest                                                11TH FLOOR
                                                                              LOS ANGELES, CA 90036
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              CREATIVE FINANCIAL STAFFING LLC
2.361 lease is for and the nature                                             PO BOX 95111
      of the debtor’s interest                                                CHICAGO, IL 606945111

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              CREATIVE RESTAURANT SOLUTIONS INC
2.362 lease is for and the nature                                             401 E GORDON DRIVE
      of the debtor’s interest                                                EXTON, PA 19341

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              CREDERA ENTERPRISES COMPANY LLC
2.363 lease is for and the nature                                             15303 DALLAS PKWY STE 300
      of the debtor’s interest                                                ADDISON, TX 75001-6775

           State the term remaining
           List the contract number of
           any government contract

                                           IT CONTRACTS
      State what the contract or                                              CROWDLY, INC.
2.364 lease is for and the nature                                             355 CONGRESS STREET
      of the debtor’s interest                                                FLOOR#2
                                                                              BOSTON, MA 2210
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              CROWDTAP, INC.
2.365 lease is for and the nature                                             625 BROADWAY
      of the debtor’s interest                                                5TH FLOOR
                                                                              NEW YORK, NY 10012
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              CRYSTAL KENDALL DBA KENDALL COMMUNICATIONS
2.366 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           LICENSE AGREEMENT
      State what the contract or                                              CT CORPORATION SYSTEM
2.367 lease is for and the nature                                             55 CHALLENGER ROAD
      of the debtor’s interest                                                SUITE 202
                                                                              RIDGEFIELD PARK,, NJ 7660
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              CU SOLUTIONS GROUP INC
2.368 lease is for and the nature                                             DBA HR PERFORMANCE SOLUTIONS
      of the debtor’s interest                                                PO BOX 8054
                                                                              PLYMOUTH, MI 48170-8054
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              CULINAIRE STAFFING LLC.
2.369 lease is for and the nature                                             24509 WALNUT STREET
      of the debtor’s interest                                                STE 204
                                                                              SANTA CLARITA, CA
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              CULINARY CONCEPTS GROUP, LLC
2.370 lease is for and the nature                                             1381 HARBOR DRIVE
      of the debtor’s interest                                                SARASOTA, FL 34239

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              CUMULUS BROADCASTING
2.371 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              CURION LLC
2.372 lease is for and the nature                                             DBA CURION
      of the debtor’s interest                                                PO BOX 51105
                                                                              NEWARK, NJ 07101-5205
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              CURLEY & PYNN PUBLIC RELATIONS MANAGEMENT INC.
2.373 lease is for and the nature                                             258 SOUTHHALL LANE
      of the debtor’s interest                                                SUITE 130
                                                                              MAITLAND, FL 32751
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              CVENT, INC.
2.374 lease is for and the nature                                             1765 GREENSBORO STATION PLACE
      of the debtor’s interest                                                7TH FLOOR
                                                                              TYSONS CORNER, VA 22102
           State the term remaining
           List the contract number of
           any government contract

                                           LICENSE AGREEMENT
      State what the contract or                                              CYLANCE INC.
2.375 lease is for and the nature                                             VON KARMAN
      of the debtor’s interest                                                SUITE 700
                                                                              IRVINE, CA 92612
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              DARDEN CORPORATION
2.376 lease is for and the nature                                             DBA DARDEN
      of the debtor’s interest                                                PO BOX 695012
                                                                              ORLANDO, FL 32869
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           LICENSE AGREEMENT
      State what the contract or                                              DARDEN CORPORATION
2.377 lease is for and the nature                                             1000 DARDEN CENTER
      of the debtor’s interest                                                ORLANDO, FL 32837

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              DARIO PIGNATELLI PHOTOGRAPHY
2.378 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
      State what the contract or           01/16/2015                         DATABANK IMX, LLC
2.379 lease is for and the nature                                             620 FREEDOM BUSINESS CENTER
      of the debtor’s interest                                                #120
                                                                              KING OF PRUSSIA, PA 19406
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              DATACETTE COMPANY
2.380 lease is for and the nature                                             424 EAST CENTRAL BOULEVARD
      of the debtor’s interest                                                NO 275
                                                                              ORLANDO, FL 32801
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              DATASSENTIAL INC
2.381 lease is for and the nature                                             PO BOX 844501
      of the debtor’s interest                                                BOSTON, MA 02284-4501

           State the term remaining
           List the contract number of
           any government contract

                                           SUBSCRIPTION AGREEMENT DATED
      State what the contract or           10/17/2021 PLUS AMENDMENTS   DATASSENTIAL, INC.
2.382 lease is for and the nature                                       18 S. MICHIGAN
      of the debtor’s interest                                          9TH FLOOR
                                                                        CHICAGO, IL 60603
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              DATATRANS
2.383 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
      State what the contract or                                              DAVACO INC
2.384 lease is for and the nature                                             6688 N CENTRAL EXPY STE 1400
      of the debtor’s interest                                                DALLAS, TX 75206-3925

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              DAVID DOBBS ENTERPRISES INC
2.385 lease is for and the nature                                             DBA MENU DESIGNS
      of the debtor’s interest                                                4600 US 1 NORTH
                                                                              ST AUGUSTINE, FL 32095-5701
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              DAVID HIGGINS
2.386 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
      State what the contract or           04/01/2024                         DAWSON CONSULTING LLC
2.387 lease is for and the nature                                             808 BRIGHTWATER CIRCLE
      of the debtor’s interest                                                MAITLAND, FL 32751

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              DAYM GOOD ENTERTAINMENT INC.
2.388 lease is for and the nature                                             44 OVERHILL AVE.
      of the debtor’s interest                                                NEW BRITAIN, CT 6053

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
      State what the contract or           12/07/2015                         DB ADVISOR LLC
2.389 lease is for and the nature                                             1106 WHITE MOSS LN
      of the debtor’s interest                                                CELEBRATION, FL 34747

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              DB PERFORMANCE INC
2.390 lease is for and the nature                                             6220 VIREO COURT
      of the debtor’s interest                                                LAKE WORTH, FL 334639338

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
      State what the contract or                                              DC COLLECTIVE
2.391 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              DCM STAFFING LLC
2.392 lease is for and the nature                                             DBA DEBELLIS, CATHERINE & MORREALE CORPORATE
      of the debtor’s interest                                                STAFFING
                                                                              400 ESSJAY RD STE 220
           State the term remaining                                           WILLIAMSVILLE, NY 14221-8228

           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              DDN PICTURES, INC.
2.393 lease is for and the nature                                             3621 S GRAMERCY P1
      of the debtor’s interest                                                LOS ANGELES, CA 90018

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              DEBORAH HARBIN
2.394 lease is for and the nature                                             DBA DEBI HARBIN PHOTOGRAPHY
      of the debtor’s interest                                                1103 ROBIE AVENUE
                                                                              MT DORA, FL 32757
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              DEEPWATCH, INC.
2.395 lease is for and the nature                                             8116 ARLINGTON BLVD.
      of the debtor’s interest                                                SUITE 252
                                                                              FALLS CHURCH, VA 22042
           State the term remaining
           List the contract number of
           any government contract

                                           ENGAGEMENT LETTER DATED
      State what the contract or           04/10/2023                         DELOITTE & TOUCHE LLP
2.396 lease is for and the nature                                             1700 MARKET STREET
      of the debtor’s interest                                                SUITE 2700
                                                                              PHILADELPHIA, PA 19103
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              DELOITTE & TOUCHE LLP
2.397 lease is for and the nature                                             30 ROCKEFELLER PLAZA
      of the debtor’s interest                                                NY, NY 10112

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
      State what the contract or                                              DEMISTO INC.
2.398 lease is for and the nature                                             10061 BUBB ROAD
      of the debtor’s interest                                                STE 300
                                                                              CUPERTINO, CA 95014
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              DEPENDABLE AUTO SHIPPERS, INC.
2.399 lease is for and the nature                                             3020 HIGHWAY
      of the debtor’s interest                                                80 EAST
                                                                              MESQUITE, TX 75149
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              DESTINATION NASHVILLE
2.400 lease is for and the nature                                             835 WREN ROAD
      of the debtor’s interest                                                GOODLETTSVILLE, TN 37072

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              DETERMINISTICS INC.
2.401 lease is for and the nature                                             9 LAKE BELLEVUE DRIVE
      of the debtor’s interest                                                SUITE 116
                                                                              BELLEVUE, WA 98005
           State the term remaining
           List the contract number of
           any government contract

                                           STATEMENT OF WORK A-L DATED
      State what the contract or           01/29/2021                         DEX IMAGING, INC.
2.402 lease is for and the nature                                             5109 W LEMON ST
      of the debtor’s interest                                                TAMPA, FL 33609

           State the term remaining
           List the contract number of
           any government contract

                                           IT SERVICES AGREEMENT DATED
      State what the contract or           01/29/2021                         DEX IMAGING, INC.
2.403 lease is for and the nature                                             5109 W LEMON ST
      of the debtor’s interest                                                TAMPA, FL 33609

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              DIETRICH LLC
2.404 lease is for and the nature                                             PO BOX 2587
      of the debtor’s interest                                                SANDUSKY, OH 44870

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              DINOVA INC
2.405 lease is for and the nature                                             6455 EAST JOHNS CROSSING
      of the debtor’s interest                                                SUITE 220
                                                                              JOHNS CREEK, GA 30097-1559
           State the term remaining
           List the contract number of
           any government contract

                                           CORPORATE DINING RESTAURANT
      State what the contract or           AGREEMENT                          DINOVA US
2.406 lease is for and the nature                                             ATTN: NANCY LAWSON,VICE PRESIDENT, OPERATIONS
      of the debtor’s interest                                                6455 EAST JOHNS CROSSING
                                                                              SUIT 220
           State the term remaining                                           JOHNS CREEK, GA 30097

           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              DIRECT SOURCE SEAFOOD
2.407 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              DIRECTIONS RESEARCH INC
2.408 lease is for and the nature                                             M/L 520
      of the debtor’s interest                                                PO BOX 145400
                                                                              CINCINNATI, OH 452505400
           State the term remaining
           List the contract number of
           any government contract

                                           PROFESSIONAL SERVICES
      State what the contract or           AGREEMENT DATED 07/09/2014         DIRECTIONS RESEARCH INC.
2.409 lease is for and the nature                                             401 EAST COURT STREET
      of the debtor’s interest                                                SUITE 200
                                                                              CINCINNATI, OH 45202-1379
           State the term remaining
           List the contract number of
           any government contract

                                           COMMERCIAL VIEWING
      State what the contract or           AGREEMENT DATED 06/30/2013         DIRECTV, LLC
2.410 lease is for and the nature                                             PO BOX 5006
      of the debtor’s interest                                                CAROL STREAM, IL 60197-5006

           State the term remaining
           List the contract number of
           any government contract

                                           COMMERCIAL VIEWING
      State what the contract or           AGREEMENT DATED 04/02/2012         DIRECTV, LLC
2.411 lease is for and the nature                                             PO BOX 5006
      of the debtor’s interest                                                CAROL STREAM, IL 60197-5006

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              DISCOVER PRODUCTS INC.
2.412 lease is for and the nature                                             2500 LAKE COOK RD.
      of the debtor’s interest                                                RIVERWOODS, IL 60015

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              DISCOVERY COMMUNICATIONS, LLC
2.413 lease is for and the nature                                             ONE DISCOVERY PLACE
      of the debtor’s interest                                                SILVER SPRING, MD 20910

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              DIVERSEY, INC.
2.414 lease is for and the nature                                             1300 ALTURA ROAD
      of the debtor’s interest                                                SUITE 125
                                                                              FORT MILL, SC 29708
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              DIVERSIFIED COMMUNICATIONS
2.415 lease is for and the nature                                             P.O BOX 7437
      of the debtor’s interest                                                PORTLAND, ME 04112-7437

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              DMX LLC
2.416 lease is for and the nature                                             DBA MOOD MEDIA
      of the debtor’s interest                                                PO BOX 602777
                                                                              CHARLOTTE, NC 282602777
           State the term remaining
           List the contract number of
           any government contract

                                           ORDER FORM DATED 12/17/2020
      State what the contract or                                              DOCUSIGN, INC.
2.417 lease is for and the nature                                             221 MAIN STREET
      of the debtor’s interest                                                SUITE 1000
                                                                              SAN FRANCISCO, CA 94105
           State the term remaining
           List the contract number of
           any government contract

                                           ORDER FORM DATED 11/15/2011
      State what the contract or                                              DOCUSIGN, INC.
2.418 lease is for and the nature                                             1301 2ND AVENUE
      of the debtor’s interest                                                SUITE 2000
                                                                              SEATTLE, WA 98101
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           ORDER FORM DATED 12/27/2022
      State what the contract or                                              DOCUSIGN, INC.
2.419 lease is for and the nature                                             221 MAIN STREET
      of the debtor’s interest                                                SUITE 1000
                                                                              SAN FRANCISCO, CA 94105
           State the term remaining
           List the contract number of
           any government contract

                                           ORDER FORM DATED 12/02/2021
      State what the contract or                                              DOCUSIGN, INC.
2.420 lease is for and the nature                                             221 MAIN STREET
      of the debtor’s interest                                                SUITE 1550
                                                                              SAN FRANCISCO, CA 94105
           State the term remaining
           List the contract number of
           any government contract

                                           ORDER FORM DATED 12/17/2014
      State what the contract or                                              DOCUSIGN, INC.
2.421 lease is for and the nature                                             1301 2ND AVENUE
      of the debtor’s interest                                                SUITE 2000
                                                                              SEATTLE, WA 98101
           State the term remaining
           List the contract number of
           any government contract

                                           ORDER FORM DATED 12/27/2023
      State what the contract or                                              DOCUSIGN, INC.
2.422 lease is for and the nature                                             221 MAIN STREET
      of the debtor’s interest                                                SUITE 1550
                                                                              SAN FRANCISCO, CA 94105
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              DOIT INTERNATIONAL LTD.
2.423 lease is for and the nature                                             2445 AUGUSTINE DR
      of the debtor’s interest                                                SANTA CLARA, CA 95054

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              DONNELLY COMMUNICATIONS
2.424 lease is for and the nature                                             1776 PEACHTREE ST NE
      of the debtor’s interest                                                SUITE 700 N
                                                                              ATLANTA, GA 30309
           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 6 TO DOORDASH
      State what the contract or           AGREEMENT DATED 10/20/2023         DOOR DASH INC.
2.425 lease is for and the nature                                             303 2ND STREET, SOUTH TOWER
      of the debtor’s interest                                                SUITE 800
                                                                              SAN FRANCISCO, CA 94107
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           AMENDMENT NO. 8 TO THE
      State what the contract or           DELIVERY & PROMOTION               DOOR DASH INC.
2.426 lease is for and the nature          AGREEMENT DATED 03/26/2024         303 2ND STREET, SOUTH TOWER
      of the debtor’s interest                                                SUITE 800
                                                                              SAN FRANCISCO, CA 94107
           State the term remaining
           List the contract number of
           any government contract

                                           DELIVERY AND PROMOTION
      State what the contract or           AGREEMENT                          DOORDASH, INC.
2.427 lease is for and the nature                                             303 2ND STREET, SOUTH TOWER
      of the debtor’s interest                                                SUITE 800
                                                                              SAN FRANCISCO, CA 94107
           State the term remaining
           List the contract number of
           any government contract

                                           ELECTRONIC RECORD OF
      State what the contract or           CONTRACTS DATED 10/21/2021         DOORDASH, INC.
2.428 lease is for and the nature                                             303 2ND STREET, SOUTH TOWER
      of the debtor’s interest                                                SUITE 800
                                                                              SAN FRANCISCO, CA 94107
           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 7- ALCOHOL
      State what the contract or           ADDENDUM DATED 11/07/2023          DOORDASH, INC.
2.429 lease is for and the nature                                             303 2ND STREET, SOUTH TOWER
      of the debtor’s interest                                                SUITE 800
                                                                              SAN FRANCISCO, CA 94107
           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 2 TO DELIVERY
      State what the contract or           AND PROMOTION AGREEMENT            DOORDASH, INC.
2.430 lease is for and the nature          DATED 12/17/2020                   303 2ND STREET
      of the debtor’s interest                                                SOUTH TOWER
                                                                              SUITE 800
           State the term remaining                                           SAN FRANCISCO, CA 94107

           List the contract number of
           any government contract

                                           AMENDMENT NO. 5 TO DELIVERY
      State what the contract or           AND PROMOTION AGREEMENT            DOORDASH, INC.
2.431 lease is for and the nature          DATED 09/28/2023                   303 2ND STREET
      of the debtor’s interest                                                SOUTH TOWER
                                                                              SUITE 800
           State the term remaining                                           SAN FRANCISCO, CA 94107

           List the contract number of
           any government contract

                                           AMENDMENT NO. 4 TO DELIVERY
      State what the contract or           AND PROMOTION AGREEMENT            DOORDASH, INC.
2.432 lease is for and the nature          DATED 09/01/2023                   303 2ND STREET, SOUTH TOWER
      of the debtor’s interest                                                SUITE 800
                                                                              SAN FRANCISCO, CA 94107
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           DELIVERY & PROMOTION
      State what the contract or           AGREEMENT DATED 01/11/2018         DOORDASH,INC
2.433 lease is for and the nature                                             901 MARKET STREET
      of the debtor’s interest                                                SUITE 600
                                                                              ORLANDO
           State the term remaining                                           FL, CA 94103

           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              DOUBLE TEASE LLC
2.434 lease is for and the nature                                             17655 DEER ISLE CIRCLE
      of the debtor’s interest                                                WINTER GARDEN, FL 34787

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              DOWNTOWN DISCOUNT PRODUCE INC.
2.435 lease is for and the nature                                             7856 ELLIS ROAD
      of the debtor’s interest                                                MELBOURNE, FL 32904

           State the term remaining
           List the contract number of
           any government contract

                                           FOUNTAIN AGREEMENT DATED
      State what the contract or           06/30/2014                         DR PEPPER/SEVEN UP, INC.
2.436 lease is for and the nature                                             5301 LEGACY DRIVE
      of the debtor’s interest                                                PLANO, TX 75024

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT TO FOUNTAIN
      State what the contract or           SUPPORT AGREEMENT DATED            DR. PEPPER SEVEN UP INC
2.437 lease is for and the nature          01/23/2024                         5301 LEGACY DRIVE
      of the debtor’s interest                                                PLANO, TX 75024

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              DRESS THE DRINK, LLC
2.438 lease is for and the nature                                             6275 S PEARL
      of the debtor’s interest                                                ST #300-400
                                                                              LAS VEGAS, NV 89120
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              DRIVEN ACQUISITION INC
2.439 lease is for and the nature                                             DRIVEN TECHNOLOGIES
      of the debtor’s interest                                                3120 MEDLOCK BRIDGE RD STE B
                                                                              PEACHTREE CORNERS, GA 30071-1469
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
      State what the contract or                                              DRMG MEDIA LTD
2.440 lease is for and the nature                                             240 WYECROFT ROAD
      of the debtor’s interest                                                OAKVILLE, ON L6K 2G7
                                                                              CANADA
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              DUFF & PHELPS HOLDINGS CORPORATION
2.441 lease is for and the nature                                             DBA KROLL LLC
      of the debtor’s interest                                                12595 COLLECTION CENTER DRIVE
                                                                              CHICAGO, IL 60693
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              DUNBAR ARMORED INC
2.442 lease is for and the nature                                             PO BOX 64115
      of the debtor’s interest                                                BALTIMORE, MD 212644115

           State the term remaining
           List the contract number of
           any government contract

                                           IT SERVICES AGREEMENT DATED
      State what the contract or           10/30/2020                         DYNATA LLC
2.443 lease is for and the nature                                             6 RESEARCH DRIVE
      of the debtor’s interest                                                SHELTON, CT 06484

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              DYNATA, LLC
2.444 lease is for and the nature                                             6 SEARCH DRIVE
      of the debtor’s interest                                                SHELTON, CT 6484

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              EAN SERVICES LLC
2.445 lease is for and the nature                                             600 CORPORATE PARK DRIVE
      of the debtor’s interest                                                ST. LOUIS, MO 63105

           State the term remaining
           List the contract number of
           any government contract

                                           GLOBAL CORPORATE SERVICES
      State what the contract or           DATED 01/01/2015                   EAN SERVICES, LLC
2.446 lease is for and the nature                                             600 CORPORATE PARK DRIVE
      of the debtor’s interest                                                ST. LOUIS, MO 63105

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              EBIQUITY INC.
2.447 lease is for and the nature                                             110 WILLIAM ST.
      of the debtor’s interest                                                SUITE 2401
                                                                              NEW YORK, NY 10038
           State the term remaining
           List the contract number of
           any government contract

                                           TOTAL ENERGY & SUSTAINABILITY
      State what the contract or           SERVICE AGREEMENT                  ECOVA INC.
2.448 lease is for and the nature                                             1313 N. ATLANTIC STREET
      of the debtor’s interest                                                SUITE 5000
                                                                              SPOKANE, WA 99201
           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 1 TO TOTAL
      State what the contract or           ENERGY & SUSTAINABILITY            ECOVA, INC.
2.449 lease is for and the nature          SERVICE AGREEMENT DATED            1313 N. ATLANTIC STREET
      of the debtor’s interest             07/01/2019                         SUITE 5000
                                                                              SPOKANE, WA 99201
           State the term remaining
           List the contract number of
           any government contract

                                           TOTAL ENERGY & SUSTAINABILITY
      State what the contract or           SERVICE AGREEMENT DATED            ECOVA, INC.
2.450 lease is for and the nature          07/28/2019                         1313 N. ATLANTIC STREET
      of the debtor’s interest                                                SUITE 5000
                                                                              SPOKANE, WA 99201
           State the term remaining
           List the contract number of
           any government contract

                                           TOTAL ENERGY & SUSTAINABILITY
      State what the contract or           SERVICE AGREEMENT DATED            ECOVA, INC.
2.451 lease is for and the nature          07/28/2014                         1313 N. ATLANTIC STREET
      of the debtor’s interest                                                SUITE 5000
                                                                              SPOKANE, WA 99201
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              EDGEWATER TECHNOLOGY-ZERO2TEN INC
2.452 lease is for and the nature                                             DBA FULLSCOPE
      of the debtor’s interest                                                PO BOX 845183
                                                                              BOSTON, MA 022845183
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              EDGEWOOD PARTNERS INSURANCE CENTER
2.453 lease is for and the nature                                             PO BOX 734005
      of the debtor’s interest                                                CHICAGO, IL 60673-4005

           State the term remaining
           List the contract number of
           any government contract



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                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
      State what the contract or                                              EGODITOR GMBH
2.454 lease is for and the nature                                             AM LENKWERK 13
      of the debtor’s interest                                                BIELEFELD, 33609
                                                                              GERMANY
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              EGS ENGGIST & GRANDJEAN SOFTWARE SA
2.455 lease is for and the nature                                             ROUTE DE PIERRE-A-BOT 92 2000
      of the debtor’s interest                                                NEUCHATEL,
                                                                              SWITZERLAND
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER CUSTOMER AGREEMENT
      State what the contract or           DATED 08/30/2019                   ELASTICSEARCH INC.
2.456 lease is for and the nature                                             800 W. EL CAMINO REAL
      of the debtor’s interest                                                SUITE 350
                                                                              MOUNTAIN VIEW, CA 94040
           State the term remaining
           List the contract number of
           any government contract

                                           ORDER FORM DATED 05/27/2021
      State what the contract or                                              ELASTICSEARCH, INC
2.457 lease is for and the nature                                             800 W EL CAMINO REAL
      of the debtor’s interest                                                SUITE 350
                                                                              MOUNTAIN VIEW, CA 94040
           State the term remaining
           List the contract number of
           any government contract

                                           ORDER FORM DATED 09/26/2023
      State what the contract or                                              ELASTICSEARCH, INC
2.458 lease is for and the nature                                             88 KEARNY ST.
      of the debtor’s interest                                                FLOOR 19
                                                                              SAN FRANCISCO, CA 94108
           State the term remaining
           List the contract number of
           any government contract

                                           ORDER FORM DATED 01/17/2023
      State what the contract or                                              ELASTICSEARCH, INC
2.459 lease is for and the nature                                             800 W EL CAMINO REAL
      of the debtor’s interest                                                SUITE 350
                                                                              MOUNTAIN VIEW, CA 94040
           State the term remaining
           List the contract number of
           any government contract

                                           SUBSCRIPTION ADDENDUM DATED
      State what the contract or           08/30/2019                         ELATICSEARCH INC.
2.460 lease is for and the nature                                             800 W EL CAMINO REAL
      of the debtor’s interest                                                SUITE 350
                                                                              MOUNTAIN VIEW, CA 94040
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              ELEARNINGFORCE CORP. LLC
2.461 lease is for and the nature                                             16192 COASTAL HIGHWAY
      of the debtor’s interest                                                LEWES, DE 19958

           State the term remaining
           List the contract number of
           any government contract

                                           MONITORING AGREEMENT DATED
      State what the contract or           09/19/2022                         ELECTRO WATCHMAN, INC.
2.462 lease is for and the nature                                             ONE WEST WATER STREET
      of the debtor’s interest                                                SUITE 110
                                                                              ST. PAUL, MN 55107
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              EMAD MARWAN
2.463 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              EMBARCADERO TECHNOLOGIES, INC.
2.464 lease is for and the nature                                             10801 NORTH MOPAC EXPRESSWAY
      of the debtor’s interest                                                BUILDING1
                                                                              SUITE 100
           State the term remaining                                           AUSTIN, TX 78759

           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              EMKAY
2.465 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           FIXED PRICED ENGAGEMENT
      State what the contract or           DATED 07/27/2023                   EMPLIFI INC.
2.466 lease is for and the nature                                             4200 REGENT STREET
      of the debtor’s interest                                                SUITE 200
                                                                              COLUMBUS, OH 43219
           State the term remaining
           List the contract number of
           any government contract

                                           SALES ORDER DATED 07/26/2023
      State what the contract or                                              EMPLIFI INC.
2.467 lease is for and the nature                                             4200 REGENT STREET
      of the debtor’s interest                                                SUITE 200
                                                                              COLUMBUS, OH 43219
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              EMPLOYMENTGROUP INC
2.468 lease is for and the nature                                             DBA EG WORKFORCE SOLUTIONS
      of the debtor’s interest                                                4651 W DICKMAN RD
                                                                              BATTLE CREEK, MI 49037-7343
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICES AGREEMENT
      State what the contract or           DATED OCTOBER 18, 2021             EMPLOYMENTGROUP INC.
2.469 lease is for and the nature                                             4651 W. DICKMAN ROAD
      of the debtor’s interest                                                BATTLE CREEK, MI 49037

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              EMPOW CYBER SECURITY INC.
2.470 lease is for and the nature                                             129 NEWBURY STREET
      of the debtor’s interest                                                2ND FLOOR
                                                                              BOSTON, MA 2116
           State the term remaining
           List the contract number of
           any government contract

                                           INSURANCE POLICY (DIRECTORS
      State what the contract or           AND OFFICERS DIFFERENCE IN         ENDURANCE ASSURANCE CORPORATION
2.471 lease is for and the nature          CONDITIONS LIABILITY) POLICY       US COMMERCIAL MANAGEMENT LIABILITY
      of the debtor’s interest             NUMBER ADL30052880900              1221 AVENUE OF THE AMERICAS
                                                                              NEW YORK, NY 10020
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
      State what the contract or           07/28/2014                         ENGIE
2.472 lease is for and the nature                                             1313 N. ATLANTIC STREET
      of the debtor’s interest                                                SUITE 5000
                                                                              SPOKANE, WA 99201
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              ENLIVEN, LLC
2.473 lease is for and the nature                                             4322 HARDING PIKE
      of the debtor’s interest                                                SUITE 417
                                                                              NASHVILLE, TN 37205
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER EQUITY LEASE
      State what the contract or           AGREEMENT DATED 08/18/2015         ENTERPRISE FLEET MANAGEMENT, INC
2.474 lease is for and the nature                                             5442 HOFFNER ROAD
      of the debtor’s interest
                                                                              ATTN: DEREK JAMES, CONTROLLER
           State the term remaining                                           ORLANDO, FL 32812

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           STATEMENT OF POLICY AND
      State what the contract or           PROCEDURES DATED 07/16/2015        ENTERPRISE FLEET MANAGEMENT, INC.
2.475 lease is for and the nature                                             5442 HOFFNER ROAD
      of the debtor’s interest
                                                                              ATTN: DEREK JAMES, CONTROLLER
           State the term remaining                                           ORLANDO, FL 32812

           List the contract number of
           any government contract

                                           MASTER EQUITY LEASE
      State what the contract or           AGREEMENT DATED 08/18/2015         ENTERPRISE FM TRUST
2.476 lease is for and the nature                                             5442 HOFFNER ROAD
      of the debtor’s interest
                                                                              ATTN: DEREK JAMES, CONTROLLER
           State the term remaining                                           ORLANDO, FL 32812

           List the contract number of
           any government contract

                                           MASTER EQUITY LEASE
      State what the contract or           AGREEMENT DATED 08/14/2015         ENTERPRISE FM TRUST,
2.477 lease is for and the nature                                             5442 HOFFNER AVENUE
      of the debtor’s interest                                                ORLANDO, FL 32765

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              ENVIRO MASTER SERVICES LLC
2.478 lease is for and the nature                                             PO BOX 12350
      of the debtor’s interest                                                CHARLOTTE, NC 28220

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              ENVIRONMENTAL HEALTH TESTING LLC
2.479 lease is for and the nature                                             DBA NATIONAL REGISTRY OF FOOD SAFETY PROFESSIONALS
      of the debtor’s interest                                                PO BOX 628244
                                                                              ORLANDO, FL 328628244
           State the term remaining
           List the contract number of
           any government contract

                                           COMPACTOR AGREEMENT FOR
      State what the contract or           RESTAURANT #0186 DATED             EPAX SYSTEMS, INC.
2.480 lease is for and the nature          02/23/2006                         7767 LEMONA AVENUE
      of the debtor’s interest                                                VAN NUYS, CA 91405

           State the term remaining
           List the contract number of
           any government contract

                                           IT SERVICES AGREEMENT DATED
      State what the contract or           05/24/2023                         EPLUS TECHNOLOGY
2.481 lease is for and the nature                                             13595 DULLES TECHNOLOGY DRIVE
      of the debtor’s interest                                                HERNDON, VA 20171

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           LETTER AGREEMENT DATED
      State what the contract or           12/22/2023                         EPLUS TECHNOLOGY, INC.
2.482 lease is for and the nature                                             13595 DULLES TECHNOLOGY DRIVE
      of the debtor’s interest                                                HERNDON, VA 20171

           State the term remaining
           List the contract number of
           any government contract

                                           LETTER AGREEMENT DATED
      State what the contract or           05/24/2023                         EPLUS TECHNOLOGY, INC.
2.483 lease is for and the nature                                             13595 DULLES TECHNOLOGY DRIVE
      of the debtor’s interest                                                HERNDON, VA 20171

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              EPSILON DATA AKA RYAN
2.484 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              EPSON AMERICA, INC.
2.485 lease is for and the nature                                             3840 KILROY AIRPORT WAY
      of the debtor’s interest                                                ONG BEACH, CA 90806

           State the term remaining
           List the contract number of
           any government contract

                                           UNIVERSAL SERVICE AGREEMENT
      State what the contract or           DATED APRIL 1, 2024 AND ALL        EQUIFAX WORKFORCE SOLUTIONS LLC
2.486 lease is for and the nature          AMENDMENTS                         11432 LACKLAND ROAD
      of the debtor’s interest                                                SAINT LOUIS, MO 63146

           State the term remaining
           List the contract number of
           any government contract

                                           UNIVERSAL SERVICE AGREEMENT
      State what the contract or           DATED JULY 1, 2014 AND ALL         EQUIFAX WORKFORCE SOLUTIONS LLC
2.487 lease is for and the nature          AMENDMENTS                         11432 LACKLAND ROAD
      of the debtor’s interest                                                SAINT LOUIS, MO 63146

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICE AGREEMENT DATED
      State what the contract or           04/01/2024                         EQUIFAX WORKFORCE SOLUTIONS LLC
2.488 lease is for and the nature                                             11432 LACKLAND ROAD
      of the debtor’s interest                                                ST LOUIS, MO 63146

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SALES ORDER DATED 11/28/2018
      State what the contract or                                              EQUINIX LLC
2.489 lease is for and the nature                                             ONE LAGOON DRIVE
      of the debtor’s interest                                                4TH FLOOR
                                                                              REDWOOD CITY, CA 94065
           State the term remaining
           List the contract number of
           any government contract

                                           SALES ORDER DATED 12/10/2014
      State what the contract or                                              EQUINIX LLC
2.490 lease is for and the nature                                             ONE LAGOON DRIVE
      of the debtor’s interest                                                4TH FLOOR
                                                                              REDWOOD CITY, CA 94065
           State the term remaining
           List the contract number of
           any government contract

                                           SALES ORDER DATED 10/14/2016
      State what the contract or                                              EQUINIX LLC
2.491 lease is for and the nature                                             ONE LAGOON DRIVE
      of the debtor’s interest                                                4TH FLOOR
                                                                              REDWOOD CITY, CA 94065
           State the term remaining
           List the contract number of
           any government contract

                                           GLOBAL TERMS AND CONDITIONS
      State what the contract or           DATED 12/10/2014                   EQUINIX LLC
2.492 lease is for and the nature                                             ONE LAGOON DRIVE
      of the debtor’s interest                                                4TH FLOOR
                                                                              REDWOOD CITY, CA 94065
           State the term remaining
           List the contract number of
           any government contract

                                           SALES ORDER DATED 01/01/2019
      State what the contract or                                              EQUINIX LLC
2.493 lease is for and the nature                                             ONE LAGOON DRIVE
      of the debtor’s interest                                                4TH FLOOR
                                                                              REDWOOD CITY, CA 94065
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
      State what the contract or           11/06/2014                         ERNST & YOUNG
2.494 lease is for and the nature                                             201 SOUTH BISCAYNE BOULEVARD
      of the debtor’s interest                                                SUITE 3000
                                                                              MIAMI, FL 33131
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              ERNST & YOUNG LLP
2.495 lease is for and the nature                                             ERNST & YOUNG US LLP WELLS FARGO BANK NA
      of the debtor’s interest                                                PO BOX 933514
                                                                              ATLANTA, GA 311933514
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           IT CONTRACTS
      State what the contract or                                              ETQ MANAGEMENT CONSULTANTS INC
2.496 lease is for and the nature                                             DBA ETQ INC
      of the debtor’s interest                                                399 CONKLIN STREET SUITE 208
                                                                              FARMINGDALE, NY 11735
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              EVANIOS LLC
2.497 lease is for and the nature                                             1 SOUTH ORANGE AVENUE
      of the debtor’s interest                                                SUITE 405
                                                                              ORLANDO, FL 32801
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              EVENTURES UNLIMITED INC
2.498 lease is for and the nature                                             2813 S HIAWASSEE ROAD
      of the debtor’s interest                                                SUITE 101
                                                                              ORLANDO, FL 32835
           State the term remaining
           List the contract number of
           any government contract

                                           INSURANCE POLICY (PROPERTY)
      State what the contract or           POLICY NUMBER RP5P000227-231       EVEREST INDEMNITY INSURANCE COMPANY
2.499 lease is for and the nature                                             28 STATE STREET
      of the debtor’s interest                                                36TH FLOOR
                                                                              BOSTON, MA 02109
           State the term remaining
           List the contract number of
           any government contract

                                           INSURANCE POLICY (DIRECTORS
      State what the contract or           AND OFFICERS LIABILITY) POLICY     EVEREST NATIONAL INSURANCE COMPANY
2.500 lease is for and the nature          NUMBER PC5EX00582-221              461 FIFTH AVENUE
      of the debtor’s interest                                                4TH FLOOR
                                                                              NEW YORK, NY 10017-6234
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              EVERGREEN SYSTEMS INC
2.501 lease is for and the nature                                             DBA POP-A-LOCK OF NORTHERN NJ
      of the debtor’s interest                                                227 UNION AVE
                                                                              BLOOMINGDALE, NJ 07403
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              EXCENTUS (AKA SHELL)
2.502 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              EXPRESS SCRIPTS (ESI)
2.503 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
      State what the contract or           07/24/2019                         EZCATER, INC.
2.504 lease is for and the nature                                             101 ARCH ST.
      of the debtor’s interest                                                SUITE 1510
                                                                              BOSTON, MA 02110
           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 1 TO ATTACHMENT
      State what the contract or           A-1 STATEMENT OF WORK DATED   EZCATER, INC.
2.505 lease is for and the nature          02/14/2020                    101 ARCH ST.
      of the debtor’s interest                                           SUITE 1510
                                                                         BOSTON, MA 02110
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              FACEBOOK
2.506 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              FACTIVA
2.507 lease is for and the nature                                             4300 ROUTE
      of the debtor’s interest                                                1 NORTH
                                                                              MONMOUTH JUNCTION, NJ 08852
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              FASOLD GLOBAL CONSULTING LLC
2.508 lease is for and the nature                                             205 N. PARK AVENUE
      of the debtor’s interest                                                SUITE 110
                                                                              APOPKA, FL 32703
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              FASTLY, INC.
2.509 lease is for and the nature                                             475 BRANNAN ST.
      of the debtor’s interest                                                STE 300
                                                                              SAN FRANCISCO, CA 94107
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              FEDERAL EXPRESS CORPORATION
2.510 lease is for and the nature                                             PO BOX 660481
      of the debtor’s interest                                                DALLAS, TX 752660481

           State the term remaining
           List the contract number of
           any government contract

                                           INSURANCE POLICY (EMPLOYED
      State what the contract or           LAWYERS LIABILITY & CRIME)         FEDERAL INSURANCE COMPANY
2.511 lease is for and the nature          POLICY NUMBER 8255-3603            MARSH USA INC QUALIFIED SOLUTIONS GROUP
      of the debtor’s interest                                                1166 AVENUE OF THE AMERICAS
                                                                              NEW YORK, NY 10036-2708
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              FERRARA JERUM INTERNATIONAL
2.512 lease is for and the nature                                             339 EAST AVENUE
      of the debtor’s interest                                                SUITE 4320
                                                                              ROCHESTER, NY 14604
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              FIELDPRINT - FINGERPRINTING
2.513 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              FIFTH THIRD BANK
2.514 lease is for and the nature                                             PO BOX 636045
      of the debtor’s interest                                                CINCINNATI, OH 452636045

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              FINANCIAL ENGINES ADVISORS
2.515 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              FINKEL, MARTWICK & COLSON
2.516 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
      State what the contract or                                              FIRECRACKER FILMS LIMITED
2.517 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           INSURANCE POLICY (LAYERED
      State what the contract or           EXCESS LIABILITY) POLICY NUMBER FIREMAN'S FUND INSURANCE COMPANY
2.518 lease is for and the nature          USL026022232                    MARSH USA INC
      of the debtor’s interest                                             3560 LENOX RD NE STE 2400
                                                                           ALLIANCE CENTER TWO
           State the term remaining                                        ATLANTA, GA 303264266

           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              FIRST ADVANTAGE - LEXIS NEXIS
2.519 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           STATEMENT OF WORK NO. 1 USER
      State what the contract or           ACCEPTANCE AND REGRESSION          FIRST DATA MERCHANT SERVICES LLC
2.520 lease is for and the nature          TESTING DATED 02/17/2022           4000 NW 120TH AVENUE
      of the debtor’s interest                                                MS/CON - MER-B
                                                                              CORAL SPRINGS, FL 33065
           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 11 OF THE
      State what the contract or           MASTER SERVICES AGREEMENT          FIRST DATA MERCHANT SERVICES LLC
2.521 lease is for and the nature          DATED 10/05/2023                   4000 NW 120TH AVENUE
      of the debtor’s interest                                                MS/CON - MER-B
                                                                              CORAL SPRINGS, FL 33065
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              FIRST INSURANCE FUNDING OF CANADA INC
2.522 lease is for and the nature                                             20 TORONTO STREET 7TH FLOOR
      of the debtor’s interest                                                TORONTO, ON M5C 2B8
                                                                              CANADA
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICES AGREEMENT
      State what the contract or           DATED 08/22/2014                   FISERV US (CREDIT CARDS)
2.523 lease is for and the nature                                             ATTN: GENERAL COUNSELS OFFICE
      of the debtor’s interest                                                4000 NW 120TH AVENUE
                                                                              MS/CON-MER-B
           State the term remaining                                           CORAL SPRINGS, FL 33065

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              FISHBOWL INC
2.524 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              FITFORCOMMERCE
2.525 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              FITNESS INTERACTIVE
2.526 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              FLEETMODE
2.527 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           HEALTH POLICY DATED 01/01/2018
      State what the contract or                                              FLORIDA BLUE
2.528 lease is for and the nature                                             4800 DEERWOOD CAMPUS PARKWAY
      of the debtor’s interest                                                JACKSONVILLE, FL 32246

           State the term remaining
           List the contract number of
           any government contract

                                           INSURANCE POLICY (STOP LOSS
      State what the contract or           INSURANCE) POLICY NUMBER           FLORIDA BLUE
2.529 lease is for and the nature          BCFL1073                           4800 DEERWOOD CAMPUS PARKWAY
      of the debtor’s interest                                                JACKSONVILLE, FL 32246
                                                                              UNITED KINGDOM
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICE AGREEMENT DATED
      State what the contract or           08/04/2023                         FOOD DONATION CONNECTION
2.530 lease is for and the nature                                             12740 KINGSTON PIKE
      of the debtor’s interest                                                SUITE 201
                                                                              KNOXVILLE, TN 37934
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              FOOD DONATION CONNECTION LLC
2.531 lease is for and the nature                                             PO BOX 22787
      of the debtor’s interest                                                KNOXVILLE, TN 379330787

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              FOODIE TRIBE
2.532 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              FOODLOGIQ
2.533 lease is for and the nature                                             2655 MARIDIAN PARKWAY
      of the debtor’s interest                                                DURHAM, NC 27713

           State the term remaining
           List the contract number of
           any government contract

                                           ORDER FORM DATED 02/11/2023
      State what the contract or                                              FOODLOGIQ
2.534 lease is for and the nature                                             2655 MARIDIAN PARKWAY
      of the debtor’s interest                                                DURHAM, NC 27713

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              FOODORA
2.535 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              FOODSTYLING.COM INC
2.536 lease is for and the nature                                             1888 CHECKERBERRY CT
      of the debtor’s interest                                                OVIEDO, FL 32766

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              FORTRA LLC
2.537 lease is for and the nature                                             PO BOX 735324
      of the debtor’s interest                                                CHICAGO, IL 60673-5324

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              FOUNDRY.AI
2.538 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              FOURTH ENTERPRISES LLC
2.539 lease is for and the nature                                             DBA HOTSCHEDULES RED BOOK SOLUTIONS
      of the debtor’s interest                                                RED BOOK CONNECT LLC
                                                                              PO BOX 18364
           State the term remaining                                           PALATINE, IL 60055-8364

           List the contract number of
           any government contract

                                           SERVICES ORDER FORM
      State what the contract or                                              FOURTH ENTERPRISES, LLC
2.540 lease is for and the nature                                             6504 BRIDGE POINT PARKWAY
      of the debtor’s interest                                                SUITE 300
                                                                              AUSTIN, TX 78730
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              FREEDOMPAY
2.541 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              FREEMAN EXPOSITIONS
2.542 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              FREMANTLEMEDIA (DEADLIEST CATCH)
2.543 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              FRONT RANGE PATROL
2.544 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              FRWD
2.545 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              FSV PAYMENT SYSTEMS INC.
2.546 lease is for and the nature                                             6410 SOUTH POINT PARKWAY
      of the debtor’s interest                                                SUITE 200
                                                                              JACKSONVILLE, FL 32216
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              FTI CONSULTING
2.547 lease is for and the nature                                             SUITE 1515
      of the debtor’s interest                                                1500 WALNUT STREET
                                                                              PHILADELPHIA,, PA 19102
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              FULFILLMENT PARTNERS INC
2.548 lease is for and the nature                                             DBA MILLENNIUM MARKETING GROUP
      of the debtor’s interest                                                1978 STANHOME WAY
                                                                              ORLANDO, FL 32804-5114
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              FUNDSTREAM INC
2.549 lease is for and the nature                                             1441 CARRIE-DERICK
      of the debtor’s interest                                                MONTREAL, QC H3C 4S9
                                                                              CANADA
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              FUTURES COMPANY WORLDWIDE
2.550 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              GALE PARTNERS
2.551 lease is for and the nature                                             ONE WORLD TRADE CENTER
      of the debtor’s interest                                                67TH FLOOR
                                                                              NEW YORK, NY 10007
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SUBSCRIPTION
      State what the contract or           AGREEMENT DATED 09/13/2021         GALLEY SOLUTIONS, INC.
2.552 lease is for and the nature                                             PO BOX 1051
      of the debtor’s interest                                                VENICE, CA 90294

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              GARDA CANADA SECURITY CORP
2.553 lease is for and the nature                                             1390 BARRE STREET
      of the debtor’s interest                                                MONTREAL, QC H3C 1N4
                                                                              CANADA
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              GARTNER INC
2.554 lease is for and the nature                                             PO BOX 911319
      of the debtor’s interest                                                DALLAS, TX 753911319

           State the term remaining
           List the contract number of
           any government contract

                                           GARTNER SERVICE ORDER DATED
      State what the contract or           8/31/2022                          GARTNER INC.
2.555 lease is for and the nature                                             56 TOP GALLANT ROAD
      of the debtor’s interest                                                STAMFORD, CT 06902-7700

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              GAVRISH COLLECTIBLES LLC
2.556 lease is for and the nature                                             3580 DEERWOOD TRL
      of the debtor’s interest                                                MELBOURNE, FL 32934-8419

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              GAYLORD PALMS RESORT & CONVENTION CENTER
2.557 lease is for and the nature                                             6000 W OSCEOLA PARKWAY
      of the debtor’s interest                                                KISSIMMEE, FL 34746

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              GBT US (DBA AMERICAN EXPRESS GLOBAL BUSINESS TRAVEL)
2.558 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT DATED
      State what the contract or           11/20/2017                         GBT US LLC D/B/A AMERICAN EXPRESS GLOBAL BUSINESS
2.559 lease is for and the nature                                             TRAVEL
      of the debtor’s interest                                                200 VESEY STREET
                                                                              NEW YORK, NY 10285-3106
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              GEORGE AKRAM
2.560 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              GEOTAG INC.
2.561 lease is for and the nature                                             2591 DALLAS PARKWAY
      of the debtor’s interest                                                SUITE 505
                                                                              FRISCO, TX 75034-8564
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              GERALD L LEDUC
2.562 lease is for and the nature                                             21648 KING HENRY AVENUE
      of the debtor’s interest                                                LEESBURG, FL 347487900

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              GLADDING S. MARKUNAS LLC
2.563 lease is for and the nature                                             1457 E. MERCER STREET
      of the debtor’s interest                                                SEATTLE, WA 98112

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              GLOBAL CASH CARD, INC.
2.564 lease is for and the nature                                             7 CORPORATE PARK
      of the debtor’s interest                                                SUITE 130
                                                                              IRVINE, CA 92606
           State the term remaining
           List the contract number of
           any government contract

                                           AUTHORIZED USE AGREEMENT
      State what the contract or           DATED 09/21/1998                   GLOBAL CORE SOFTWARE, A TRADENAME OF GRANITE
2.565 lease is for and the nature                                             COMPLETE SOLUTIONS, LLC
      of the debtor’s interest                                                225 SOUTHHAMPTON ST
                                                                              BOSTON, MA 02119
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
      State what the contract or                                              GLOBAL GHOST GEAR INITIATIVE
2.566 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              GLOBAL SUSTAINABLE SEAFOOD INITIATIVE
2.567 lease is for and the nature                                             CHURCHILLWEG 325
      of the debtor’s interest                                                6708HA
                                                                              WAGENINGEN
           State the term remaining                                           GELDERLAND,
                                                                              NETHERLANDS
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              GLOBAL TRUSTED ADVISORS (SEAFOOD INSPECTOR)
2.568 lease is for and the nature                                             RUA DR. COSTA LEITE 507
      of the debtor’s interest                                                CENTRO
                                                                              BOTUCATU
           State the term remaining                                           SP, 18600-010
                                                                              BRAZIL
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              GLOBIX SOLUTIONS LLC
2.569 lease is for and the nature                                             9167 PANZANI PL
      of the debtor’s interest                                                WINDERMERE, FL 34786-8137

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              GLOBOFORCE LIMITED DBA WORKHUMAN
2.570 lease is for and the nature                                             19 BECKETT WAY
      of the debtor’s interest                                                PARK WEST BUSINESS PARK
                                                                              DUBLIN 12,
           State the term remaining                                           IRELAND

           List the contract number of
           any government contract

                                           IT SERVICES AGREEMENT DATED
      State what the contract or           10/07/2022                         GNC CONSULTING, INC.
2.571 lease is for and the nature                                             21195 SOUTH LA GRANGE ROAD
      of the debtor’s interest                                                FRANKFORT, IL 60423

           State the term remaining
           List the contract number of
           any government contract

                                           FORM OF ATTACHMENT TO IT
      State what the contract or           SERVICES AGREEMENT DATED           GNC CONSULTING, INC.
2.572 lease is for and the nature          04/05/2023                         21195 S. LAGRANGE ROAD
      of the debtor’s interest                                                FRANKFORT, IL 60423

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              GOCHE CONSULTING LLC
2.573 lease is for and the nature                                             10909 W. 123RD TERRACE
      of the debtor’s interest                                                OVERLAND PARK, KS 66213

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              GOLDEN BARREL PRODUCTS (M SIMON ZOOK CO)
2.574 lease is for and the nature                                             4960 HORSESHOE PIKE
      of the debtor’s interest                                                HONEY BROOK, PA 19344

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              GOLDNER ASSOCIATES INC
2.575 lease is for and the nature                                             231 VENTURE CIRCLE
      of the debtor’s interest                                                NASHVILLE, TN 37228

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              GOODWIN & ASSOCIATES HOSPITALITY SERVICES LLC
2.576 lease is for and the nature                                             DBA GOODWIN RECRUITING
      of the debtor’s interest                                                46 CENTER ST
                                                                              EXETER, NH 03833
           State the term remaining
           List the contract number of
           any government contract

                                           FEE AGREEMENTSTANDARDS
      State what the contract or           DATED 10/28/2021                   GOODWIN HOSPITALITY
2.577 lease is for and the nature                                             DBA GOODWIN RECRUITING
      of the debtor’s interest                                                46 CENTER ST
                                                                              EXETER, NH 03833
           State the term remaining
           List the contract number of
           any government contract

                                           FEE AGREEMENT DATED 12/16/2014
      State what the contract or           AND ALL AMENDMENTS             GOODWIN HOSPITALITY
2.578 lease is for and the nature                                         DBA GOODWIN RECRUITING
      of the debtor’s interest                                            46 CENTER ST
                                                                          EXETER, NH 03833
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              GOOGLE
2.579 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              GOVDOCS INC
2.580 lease is for and the nature                                             VB BOX 167
      of the debtor’s interest                                                PO BOX 9202
                                                                              MINNEAPOLIS, MN 55480-9202
           State the term remaining
           List the contract number of
           any government contract

                                           PROGRAM SUBSCRIPTION LICENSE
      State what the contract or           FROM 12/1/2023 - 11/30/2024  GOVDOCS INC.
2.581 lease is for and the nature                                       355 RANDOLPH AVE SUITE 200
      of the debtor’s interest                                          ST PAUL, MN 55102

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              GRAEBEL VAN LINES, INC.
2.582 lease is for and the nature                                             16346 AIRPORT CIRCLE
      of the debtor’s interest                                                AURORA, CO 80011

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              GRAND OLE OPRY LLC
2.583 lease is for and the nature                                             2804 OPRYLAND DR
      of the debtor’s interest                                                NASHVILLE, TN 37214

           State the term remaining
           List the contract number of
           any government contract

                                           COMPACTOR AGREEMENT FOR
      State what the contract or           RESTAURANT #0329 DATED             GREATAMERICA FINANCIAL SERVICES CORPORATION
2.584 lease is for and the nature          10/29/2018                         PO BOX 609
      of the debtor’s interest                                                CEDAR RAPIDS, IA 52406

           State the term remaining
           List the contract number of
           any government contract

                                           COMPACTOR AGREEMENT FOR
      State what the contract or           RESTAURANT #0424 DATED             GREATAMERICA FINANCIAL SERVICES CORPORATION
2.585 lease is for and the nature          10/29/2018                         625 FIRST STREET SE
      of the debtor’s interest                                                CEDAR RAPIDS, IA 52401

           State the term remaining
           List the contract number of
           any government contract

                                           COMPACTOR AGREEMENT FOR
      State what the contract or           RESTAURANT #0424 DATED             GREATAMERICA FINANCIAL SERVICES CORPORATION
2.586 lease is for and the nature          10/29/2018                         PO BOX 609
      of the debtor’s interest                                                CEDAR RAPIDS, IA 52406

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           COMPACTOR AGREEMENT FOR
      State what the contract or           RESTAURANT #0329 DATED             GREATAMERICA FINANCIAL SERVICES CORPORATION
2.587 lease is for and the nature          10/29/2018                         625 FIRST STREET SE
      of the debtor’s interest                                                CEDAR RAPIDS, IA 52401

           State the term remaining
           List the contract number of
           any government contract

                                           COMPACTOR AGREEMENT FOR
      State what the contract or           RESTAURANT #0557 DATED             GREATAMERICA FINANCIAL SERVICES CORPORATION
2.588 lease is for and the nature          10/29/2018                         625 FIRST STREET SE
      of the debtor’s interest                                                CEDAR RAPIDS, IA 52401

           State the term remaining
           List the contract number of
           any government contract

                                           COMPACTOR AGREEMENT FOR
      State what the contract or           RESTAURANT #0265 DATED             GREATAMERICA FINANCIAL SERVICES CORPORATION
2.589 lease is for and the nature          10/29/2018                         625 FIRST STREET SE
      of the debtor’s interest                                                CEDAR RAPIDS, IA 52401

           State the term remaining
           List the contract number of
           any government contract

                                           COMPACTOR AGREEMENT FOR
      State what the contract or           RESTAURANT #0265 DATED             GREATAMERICA FINANCIAL SERVICES CORPORATION
2.590 lease is for and the nature          10/29/2018                         PO BOX 609
      of the debtor’s interest                                                CEDAR RAPIDS, IA 52406

           State the term remaining
           List the contract number of
           any government contract

                                           COMPACTOR AGREEMENT FOR
      State what the contract or           RESTAURANT #0605 DATED             GREATAMERICA FINANCIAL SERVICES CORPORATION
2.591 lease is for and the nature          10/29/2018                         625 FIRST STREET SE
      of the debtor’s interest                                                CEDAR RAPIDS, IA 52401

           State the term remaining
           List the contract number of
           any government contract

                                           COMPACTOR AGREEMENT FOR
      State what the contract or           RESTAURANT #6217                   GREATAMERICA FINANCIAL SERVICES CORPORATION
2.592 lease is for and the nature                                             625 FIRST STREET SE
      of the debtor’s interest                                                CEDAR RAPIDS, IA 52401

           State the term remaining
           List the contract number of
           any government contract

                                           SUBSCRIPTION AGREEMENT DATED
      State what the contract or           04/24/2023                   GREEN CABBAGE MARKETING, LLC
2.593 lease is for and the nature                                       125 EMERYVILLE ROAD
      of the debtor’s interest                                          SUITE 330
                                                                        CRANBERRY TOWNSHIP, PA 16066
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              GRUBFATHER INC
2.594 lease is for and the nature                                             10 BAER COURT
      of the debtor’s interest                                                HAUPPAUGE, NY 11788

           State the term remaining
           List the contract number of
           any government contract

                                           IT SERVICES AGREEMENT DATED
      State what the contract or           09/25/2017                         GRUBHUB HOLDINGS INC
2.595 lease is for and the nature                                             111 W. WASHINGTON ST.
      of the debtor’s interest                                                STE. 2100
                                                                              CHICAGO, IL 60602
           State the term remaining
           List the contract number of
           any government contract

                                           IT SERVICES AGREEMENT DATED
      State what the contract or           09/25/2017                         GRUBHUB HOLDINGS INC.
2.596 lease is for and the nature                                             111 W. WASHINGTON ST.,
      of the debtor’s interest                                                STE. 2100,
                                                                              CHICAGO, IL 60602
           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 2 TO ATTACHMENT
      State what the contract or           A-1 DATED 09/20/2021          GRUBHUB HOLDINGS INC.
2.597 lease is for and the nature                                        111 W. WASHINGTON ST.
      of the debtor’s interest                                           STE. 2100
                                                                         CHICAGO, IL 60602
           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 1 TO ATTACHMENT
      State what the contract or           A-L STATEMENT OF WORK DATED   GRUBHUB HOLDINGS INC.
2.598 lease is for and the nature          09/11/2018                    111 W. WASHINGTON ST.
      of the debtor’s interest                                           STE. 2100
                                                                         CHICAGO, IL 60602
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              GUGGENHEIM SECURITIES LLC
2.599 lease is for and the nature                                             330 MADISON AVE
      of the debtor’s interest                                                NEW YORK, NY 10017-5001

           State the term remaining
           List the contract number of
           any government contract

                                           SALES PROPOSAL DATED
      State what the contract or           12/13/2022                         GUIDEPOINT SECURITY LLC
2.600 lease is for and the nature                                             2201 COOPERATIVE WAY
      of the debtor’s interest                                                SUITE 225
                                                                              HERNDON, VA 20171
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           RED LOBSTER SERVICES
      State what the contract or           AGREEMENT DATED 11/17/2014         GUIDEPOINT SECURITY LLC
2.601 lease is for and the nature                                             11951 FREEDOM DR.
      of the debtor’s interest                                                13TH FLOOR
                                                                              SUITE 1331
           State the term remaining                                           RESTON, VA 20190

           List the contract number of
           any government contract

                                           THREAT & ATTACK SIMULATION
      State what the contract or           SERVICES PROFESSIONAL              GUIDEPOINT SECURITY LLC
2.602 lease is for and the nature          SERVICES DATED 11/11/2020          11951 FREEDOM DR.
      of the debtor’s interest                                                13TH FLOOR
                                                                              SUITE 1331
           State the term remaining                                           RESTON, VA 20190

           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
      State what the contract or           11/17/2014                         GUIDEPOINT SECURITY LLC
2.603 lease is for and the nature                                             11951 FREEDOM DR.
      of the debtor’s interest                                                13TH FLOOR
                                                                              SUITE 1331
           State the term remaining                                           RESTON, VA 20190

           List the contract number of
           any government contract

                                           ATTACHMENT TO IT SERVICES
      State what the contract or           AGREEMENT DATED 07/14/2016         GUIDEPOINT SECURITY LLC
2.604 lease is for and the nature                                             11951 FREEDOM DR.
      of the debtor’s interest                                                13TH FLOOR
                                                                              SUITE 1331
           State the term remaining                                           RESTON, VA 20190

           List the contract number of
           any government contract

                                           ATTACHMENT TO IT SERVICES
      State what the contract or           AGREEMENT DATED 07/14/2015         GUIDEPOINT SECURITY LLC
2.605 lease is for and the nature                                             11951 FREEDOM DR.
      of the debtor’s interest                                                13TH FLOOR
                                                                              SUITE 1331
           State the term remaining                                           RESTON, VA 20190

           List the contract number of
           any government contract

                                           ATTACHMENT A-5: TO IT SERVICES
      State what the contract or           AGREEMENT DATED 09/30/2020         GUIDEPOINT SECURITY LLC
2.606 lease is for and the nature                                             11951 FREEDOM DR.
      of the debtor’s interest                                                13TH FLOOR
                                                                              SUITE 1331
           State the term remaining                                           RESTON, VA 20190

           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              HACKERONE INC
2.607 lease is for and the nature                                             224TH STREET
      of the debtor’s interest                                                5TH FLOOR
                                                                              SAN FRANCISCO, CA 94103
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
      State what the contract or                                              HALLMARK BUSINESS CONNECTIONS INC
2.608 lease is for and the nature                                             121 SOUTH EIGHTH STREET
      of the debtor’s interest                                                MINNEAPOLIS, MN 55402

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              HANNA23 LLC
2.609 lease is for and the nature                                             DBA KATIE KNIGHT
      of the debtor’s interest                                                3920 W BARCELONA ST
                                                                              TAMPA, FL 33629-6803
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              HARRIS INSIGHTS & ANALYTICS LLC
2.610 lease is for and the nature                                             300 N LASALLE DRIVE
      of the debtor’s interest                                                SUITE 5575
                                                                              CHICAGO, IL 60654
           State the term remaining
           List the contract number of
           any government contract

                                           INSURANCE POLICY (BUSINESS
      State what the contract or           TRAVEL ACCIDENT) POLICY            HARTFORD FIRE INSURANCE COMPANY
2.611 lease is for and the nature          NUMBER 10-GTA-101873               ONE HARTFORD PLAZA
      of the debtor’s interest                                                HARTFORD, CT 06155

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              HARTFORD LIFE
2.612 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              HARTO INC
2.613 lease is for and the nature                                             450 N. ROXBURY DR
      of the debtor’s interest                                                8TH FLOOR
                                                                              BEVERLY HILLS, CA 90210
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              HAVI GLOBAL SOLUTIONS LLC
2.614 lease is for and the nature                                             3075 HIGHLAND PARKWAY
      of the debtor’s interest                                                SUITE 200
                                                                              DOWNERS GROVE, IL 60565
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
      State what the contract or                                              HEALTHTRUST PURCHASING GROUP LP
2.615 lease is for and the nature                                             1100 DR MARTIN L. KING JR. BLVD
      of the debtor’s interest                                                SUITE 1100
                                                                              NASHVILLE, TN 37203
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              HEART OF FLORIDA UNITED WAY*
2.616 lease is for and the nature                                             1940 TRAYLOR BLVD
      of the debtor’s interest                                                ORLANDO, FL 328044714

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              HEI ST. LOUIS LLC (DBA THE WESTIN ST. LOUIS)
2.617 lease is for and the nature                                             811 SPRUCE ST
      of the debtor’s interest                                                SAINT LOUIS, MO 63102

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              HERC RENTALS
2.618 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              HERO CONTENT
2.619 lease is for and the nature                                             601 W. 26TH ST. SUITE 1770
      of the debtor’s interest                                                NEW YORK, NY 10001

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              HEWITT ASSOCIATES (AONHEWITT)
2.620 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 3 TO PRINT
      State what the contract or           SERVICES AND SUPPORT               HEWLETT-PACKARD COMPANY
2.621 lease is for and the nature          SCHEDULE DATED 09/17/2020          2580 S. DECKER LAKE BLVD.
      of the debtor’s interest                                                STE. 200
                                                                              SALT LAKE CITY, UT 84119
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           PRINT SERVICES AND SUPPORT
      State what the contract or           SCHEDULE DATED 04/30/2015          HEWLETT-PACKARD COMPANY
2.622 lease is for and the nature                                             2580 S. DECKER LAKE BLVD.
      of the debtor’s interest                                                STE. 200
                                                                              SALT LAKE CITY, UT 84119
           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 2 DATED
      State what the contract or           06/08/2020                         HEWLETT-PACKARD COMPANY
2.623 lease is for and the nature                                             2580 S. DECKER LAKE BLVD.
      of the debtor’s interest                                                STE. 200
                                                                              SALT LAKE CITY, UT 84119
           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 1 TO PRINT
      State what the contract or           SERVICES AND SUPPORT               HEWLETT-PACKARD COMPANY
2.624 lease is for and the nature          SCHEDULE DATED 04/03/2020          2580 S. DECKER LAKE BLVD.
      of the debtor’s interest                                                STE. 200
                                                                              SALT LAKE CITY, UT 84119
           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 4 TO PRINT
      State what the contract or           SERVICES AND SUPPORT               HEWLETT-PACKARD COMPANY
2.625 lease is for and the nature          SCHEDULE DATED 03/02/2021          2580 S. DECKER LAKE BLVD.
      of the debtor’s interest                                                STE. 200
                                                                              SALT LAKE CITY, UT 84119
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              HIPAAX LLC
2.626 lease is for and the nature                                             DBA TASKWATCH
      of the debtor’s interest                                                5155 FINANCIAL WAY STE 5
                                                                              MASON, OH 45040-0055
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              HIZZONER
2.627 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              HJW EXECUTIVE SEARCH LLC
2.628 lease is for and the nature                                             4 RESEARCH DR STE 402
      of the debtor’s interest                                                SHELTON, CT 06484-6242

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              HODGES-MACE LLC
2.629 lease is for and the nature                                             5775-E GLENRIDGE DRIVE NE
      of the debtor’s interest                                                SUITE 500
                                                                              ATLANTA, GA 30328
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              HOTEL APPRAISALS LLC
2.630 lease is for and the nature                                             DBA HVS EXECUTIVE SEARCH
      of the debtor’s interest                                                13727 SW 152ND ST PMB 1040
                                                                              MIAMI, FL 33177-1106
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              HOWROYD WRIGHT EMPLOYMENT AGENCY INC (DBA APPLE
2.631 lease is for and the nature                                             ONE)
      of the debtor’s interest                                                327 W BROADWAY
                                                                              GLENDALE, CA 91204
           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT TO IT SERVICES
      State what the contract or           AGREEMENT DATED 08/22/2017         HP INC.
2.632 lease is for and the nature                                             1501 PAGE MILL ROAD
      of the debtor’s interest                                                PALO ALTO, CA 94304

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT TO IT SERVICES
      State what the contract or           AGREEMENT DATED 11/06/2015         HP INC.
2.633 lease is for and the nature                                             1501 PAGE MILL ROAD
      of the debtor’s interest                                                PALO ALTO, CA 94304

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT TO IT SERVICES
      State what the contract or           AGREEMENT DATED 11/17/2017         HP INC.
2.634 lease is for and the nature                                             2601SE J STREET
      of the debtor’s interest                                                BENTONVILLE, AR 72712

           State the term remaining
           List the contract number of
           any government contract

                                           COUNTRY PARTICIPATION
      State what the contract or           AGREEMENT DATED 12/22/2015         HP INC.
2.635 lease is for and the nature                                             1501 PAGE MILL ROAD
      of the debtor’s interest                                                PALO ALTO, CA 94304

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT DATED
      State what the contract or           11/06/2015                         HP INC.
2.636 lease is for and the nature                                             1501 PAGE MILL ROAD
      of the debtor’s interest                                                PALO ALTO, CA 94304

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT TO IT SERVICES
      State what the contract or           AGREEMENT DATED 03/29/2017         HP INC.
2.637 lease is for and the nature                                             1501 PAGE MILL ROAD
      of the debtor’s interest                                                PALO ALTO, CA 94304

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              HRMALL INC (AFFILIATE OF IQ BACKOFFICE)
2.638 lease is for and the nature                                             2ND LEVEL STREET MARKET
      of the debtor’s interest                                                FORT BONIFACIO GLOBAL CITY
                                                                              TAGUIG,
           State the term remaining                                           PHILIPPINES

           List the contract number of
           any government contract

                                           EMPLOYER ENROLLMENT
      State what the contract or           AGREEMENT DATED 01/17/2018         HSA BANK
2.639 lease is for and the nature                                             605 N 8TH ST 420
      of the debtor’s interest                                                SHEBOYGAN, WI 53081

           State the term remaining
           List the contract number of
           any government contract

                                           HEALTH PLAN
      State what the contract or           BUSINESS ASSOCIATE ADDENDUM        HSA BANK
2.640 lease is for and the nature          DATED 12/20/2017                   605 N.8TH ST.
      of the debtor’s interest                                                SHEBOYGAN, WI 53081

           State the term remaining
           List the contract number of
           any government contract

                                           EMPLOYER ENROLLMENT
      State what the contract or           AGREEMENT DATED 12/20/2017         HSA BANK®
2.641 lease is for and the nature                                             605 N 8TH ST 420
      of the debtor’s interest                                                SHEBOYGAN, WI 53081

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              HSP EPI ACQUISITION (DBA ENTERTAINMENT)
2.642 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              HUGHES NETWORK SYSTEMS LLC
2.643 lease is for and the nature                                             11717 EXPLORATION LANE
      of the debtor’s interest                                                GERMANTOWN, MD 20876

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              HUMDINNER INC
2.644 lease is for and the nature                                             1579 ANSTRUTHER LAKE ROAD
      of the debtor’s interest                                                UNIT #23
                                                                              APSLEY, ON K0L1A0
           State the term remaining                                           CANADA

           List the contract number of
           any government contract

                                           EXECUTIVE SEARCH AGREEMENT
      State what the contract or           DATED 10/3/2023                    HVS EXECUTIVE SEARCH
2.645 lease is for and the nature                                             21 SEAVIEW AVENUE
      of the debtor’s interest                                                SUITE 105N
                                                                              NEW ROCHELLE, NY 10801
           State the term remaining
           List the contract number of
           any government contract

                                           AGREEMENT DATED 01/01/2015
      State what the contract or                                              HYATT LEGAL PLANS, INC.
2.646 lease is for and the nature                                             1111 SUPERIOR AVE
      of the debtor’s interest                                                CLEVELAND, OH 44114-2507

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              HYATT REGENCY TAMAYA RESORT & SPA
2.647 lease is for and the nature                                             1300 TUYUNA TRAIL
      of the debtor’s interest                                                SANTA ANA PBL, NM 87004

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              HYDE PARK GROUP LLC
2.648 lease is for and the nature                                             954 W WASHINGTON BLVD.
      of the debtor’s interest                                                SUITE 335
                                                                              CHICAGO, IL 60607
           State the term remaining
           List the contract number of
           any government contract

                                           LICENSE AGREEMENT
      State what the contract or                                              IANYWHERE SOLUTIONS INC
2.649 lease is for and the nature                                             3999 WEST CHESTER PIKE
      of the debtor’s interest                                                NEWTOWN SQUARE, PA 19073

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           TRANSACTION FINANCE
      State what the contract or           AGREEMENT DATED 02/13/2019         IBM CREDIT LLC
2.650 lease is for and the nature                                             7100 HIGHLANDS PARKWAY
      of the debtor’s interest                                                SMYRNA, GA 30082

           State the term remaining
           List the contract number of
           any government contract

                                           NEW BUSINESS ORDER FORM
      State what the contract or           DATED 05/30/2023                   ICIMS, INC
2.651 lease is for and the nature                                             101 CRAWFORDS CORNER ROAD
      of the debtor’s interest                                                SUITE 3-100
                                                                              HOLMDEL, NJ 07733
           State the term remaining
           List the contract number of
           any government contract

                                           STATEMENT OF WORK DATED
      State what the contract or           05/30/2023                         ICIMS, INC
2.652 lease is for and the nature                                             CRAWFORDS CORNER ROAD
      of the debtor’s interest                                                SUITE 3-100
                                                                              HOLMDEL, NJ 07733
           State the term remaining
           List the contract number of
           any government contract

                                           SUBSCRIPTION AGREEMENT DATED
      State what the contract or           05/30/2023                   ICIMS, INC.
2.653 lease is for and the nature                                       101 CRAWFORDS CORNER ROAD
      of the debtor’s interest                                          SUITE 3-100
                                                                        HOLMDEL, NJ 07733
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              ICON INTERNATIONAL INC
2.654 lease is for and the nature                                             ONE EAST WEAVER STREET
      of the debtor’s interest                                                GREENWICH, CT 06831

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
      State what the contract or           08/01/2017                         ICONTROL
2.655 lease is for and the nature                                             6903 ROCKELEDGE DRIVE
      of the debtor’s interest                                                SUITE 1250
                                                                              BETHESDA, MD 20817
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              ICONTROL SYSTEMS USA LLC
2.656 lease is for and the nature                                             9710 TRAVILLE GATEWAY DR 306
      of the debtor’s interest                                                ROCKVILLE, MD 20850-7408

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
      State what the contract or                                                 ICS LOGISTICS
2.657 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           LETTER OF UNDERSTANDING
      State what the contract or           DATED 06/29/2005                      ICS LOGISTICS, INC
2.658 lease is for and the nature                                                2625 W. 5th Street
      of the debtor’s interest                                                   Jacksonville, FL 32254

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT ONE DATED 07/01/2005
      State what the contract or                                                 ICS LOGISTICS, INC., NOW SEAONUS COLD STORAGE -
2.659 lease is for and the nature                                                JACKSONVILLE LLC
      of the debtor’s interest                                                   2625 W. 5th Street
                                                                                 Jacksonville, FL 32254
           State the term remaining
           List the contract number of
           any government contract

                                           Group Plan Agreement Dated 1/1/2017
      State what the contract or                                                 ID WatchDog Inc.
2.660 lease is for and the nature                                                PO Box 297
      of the debtor’s interest                                                   Denver, CO 80201-0297

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                                 IDOCUMENTS LLC DBA ICERTAINTY LLC
2.661 lease is for and the nature                                                12276 WILKINS AVE.
      of the debtor’s interest                                                   SUITE 115-1B
                                                                                 ROCKVILLE, MD 20852
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICES AGREEMENT
      State what the contract or           DATED 07/17/2014                      IMPACTWEATHER, INC.
2.662 lease is for and the nature                                                P.O. BOX 751869
      of the debtor’s interest                                                   HOUSTON, TX 77275-1869

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                                 IMPRACTICAL PRODUCTIONS LLC
2.663 lease is for and the nature                                                PSBM
      of the debtor’s interest                                                   235 PARK AVE SOUTH
                                                                                 9TH FLOOR
           State the term remaining                                              NEWYORK, NY 10003

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           CARD PARTICIPATION AGREEMENT
      State what the contract or           DATED 07/09/2019                   INCOMM CARD PARTICIPATION
2.664 lease is for and the nature                                             250 WILLIAMS ST, 5TH FLOOR, SUITE 5-2002
      of the debtor’s interest                                                ATLANTA, GA 30303

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              INCONTACT INC
2.665 lease is for and the nature                                             DBA NICE NICE INCONTACT THE NICE GROUP
      of the debtor’s interest                                                LOCKBOX 0268
                                                                              PO BOX 7247
           State the term remaining                                           PHILADELPHIA, PA 19170-0268

           List the contract number of
           any government contract

                                           SUBSCRIPTION SERVICE
      State what the contract or           AGREEMENT DATED 3/31/2024          INDEED, INC.
2.666 lease is for and the nature                                             MAIL CODE 5160
      of the debtor’s interest                                                P.O.BOX 660367
                                                                              DALLAS, TX 75266-0367
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SUBSCRIPTION
      State what the contract or           AGREEMENT DATED 06/01/2022         INFINITE TALENT, INC
2.667 lease is for and the nature                                             2600 TOWER OAKS BLVD.
      of the debtor’s interest                                                SUITE 700
                                                                              ROCKVILLE, MD 20852
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              INFLIGHT CORPORATION
2.668 lease is for and the nature                                             DBA INFLIGHT CORPORATION A SUBSIDIARY OF SKUID INC
      of the debtor’s interest                                                605 CHESTNUT ST STE 800
                                                                              CHATTANOOGA, TN 37450-5507
           State the term remaining
           List the contract number of
           any government contract

                                           LICENSE TO USE INFORMATICA
      State what the contract or           SOFTWARE DATED 10/31/2014          INFORMATICA CORPORATION
2.669 lease is for and the nature                                             2100 SEAPORT BOULEVARD
      of the debtor’s interest                                                REDWOOD CITY, CA 94063

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
      State what the contract or           05/12/2015                         INFOSYS
2.670 lease is for and the nature                                             ELECTRONICS CITY, HOSUR ROAD
      of the debtor’s interest                                                BANGALORE, 560 100
                                                                              INDIA
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              INFOSYS BPM LIMITED
2.671 lease is for and the nature                                             BOA LOCKBOX SERVICES
      of the debtor’s interest                                                13539 COLLECTIONS CENTER DRIVE
                                                                              CHICAGO, IL 60693
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICE AGREEMENT DATED
      State what the contract or           03/18/2016                         INGENICO INC
2.672 lease is for and the nature                                             3025 WINDWARD PLAZA
      of the debtor’s interest                                                SUITE 600
                                                                              ALPHARETTA, GA 30005
           State the term remaining
           List the contract number of
           any government contract

                                           ACKNOWLEDGEMENT OF BILL AND
      State what the contract or           HOLD TRANSACTION DATED             INGENICO INC
2.673 lease is for and the nature          05/23/2023                         3025 WINDWARD PLAZA
      of the debtor’s interest                                                SUITE 600
                                                                              ALPHARETTA, GA 30005
           State the term remaining
           List the contract number of
           any government contract

                                           AXIUM HARDWARE AND SOFTWARE
      State what the contract or           SCHEDULE DATED 09/20/2023   INGENICO INC
2.674 lease is for and the nature                                      3025 WINDWARD PLAZA
      of the debtor’s interest                                         SUITE 600
                                                                       ALPHARETTA, GA 30005
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER AGREEMENT DATED
      State what the contract or           09/20/2023                         INGENICO INC
2.675 lease is for and the nature                                             3025 WINDWARD PLAZA
      of the debtor’s interest                                                SUITE 600
                                                                              ALPHARETTA, GA 30005
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER AGREEMENT DATED
      State what the contract or           09/20/2023                         INGENICO INC
2.676 lease is for and the nature                                             3025 WINDWARD PLAZA
      of the debtor’s interest                                                SUITE 600
                                                                              ALPHARETTA, GA 30005
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICE SCHEDULE DATED
      State what the contract or           09/20/2023                         INGENICO INC
2.677 lease is for and the nature                                             3025 WINDWARD PLAZA
      of the debtor’s interest                                                SUITE 600
                                                                              ALPHARETTA, GA 30005
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           RESOLUTION OF OUTSTANDING
      State what the contract or           ISSUES DATED 03/26/2018            INGENICO INC
2.678 lease is for and the nature                                             3025 WINDWARD PLAZA
      of the debtor’s interest                                                STE 600
                                                                              ALPHARETTA, GA 30005
           State the term remaining
           List the contract number of
           any government contract

                                           POS TERMINAL PURCHASE
      State what the contract or           AGREEMENT DATED 03/18/2016         INGENICO INC
2.679 lease is for and the nature                                             3025 WINDWARD PLAZA
      of the debtor’s interest                                                SUITE 600
                                                                              ALPHARETTA, GA 30005
           State the term remaining
           List the contract number of
           any government contract

                                           HARDWARE AND SOFTWARE
      State what the contract or           SCHEDULE DATED 09/20/2023          INGENICO INC
2.680 lease is for and the nature                                             3025 WINDWARD PLAZA
      of the debtor’s interest                                                SUITE 600
                                                                              ALPHARETTA, GA 30005
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              INHARVEST
2.681 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              INS BROKERS INC
2.682 lease is for and the nature                                             DBA VIATEK SOLUTIONS
      of the debtor’s interest                                                11399 47TH ST N
                                                                              CLEARWATER, FL 33762-4963
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              INSIGHT DIRECT USA INC
2.683 lease is for and the nature                                             2701 E. INSIGHT WAY
      of the debtor’s interest                                                CHANDLER, AZ 85286

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT TO IT SERVICES
      State what the contract or           AGREEMENT DATED 10/20/2015         INSIGHT GLOBAL LLC
2.684 lease is for and the nature                                             4170 ASHFORD DUNWOODY RD
      of the debtor’s interest                                                SUITE 250
                                                                              ATLANTA, GA 30319
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           ATTACHMENT A-5: STATEMENT OF
      State what the contract or           WORK DATED 09/12/2019              INSIGHT GLOBAL LLC
2.685 lease is for and the nature                                             300 SOUTH ORANGE AVE
      of the debtor’s interest                                                STE 1500
                                                                              ORLANDO, FL 32801
           State the term remaining
           List the contract number of
           any government contract

                                           IT SERVICES AGREEMENT DATED
      State what the contract or           12/18/2015                         INSIGHT GLOBAL LLC
2.686 lease is for and the nature                                             4170 ASHFORD DUNWOODY RD
      of the debtor’s interest                                                SUITE 250
                                                                              ATLANTA, GA 30319
           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT TO IT SERVICES
      State what the contract or           AGREEMENT DATED 08/26/2015         INSIGHT GLOBAL LLC
2.687 lease is for and the nature                                             4170 ASHFORD DUNWOODY RD
      of the debtor’s interest                                                SUITE 250
                                                                              ATLANTA, GA 30319
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
      State what the contract or           03/01/2023                         INSIGHT GLOBAL LLC
2.688 lease is for and the nature                                             4170 ASHFORD DUNWOODY RD
      of the debtor’s interest                                                SUITE 250
                                                                              ATLANTA, GA 30319
           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT TO IT SERVICES
      State what the contract or           AGREEMENT DATED 07/01/2015         INSIGHT GLOBAL LLC
2.689 lease is for and the nature                                             4170 ASHFORD DUNWOODY RD
      of the debtor’s interest                                                SUITE 250
                                                                              ATLANTA, GA 30319
           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-7: STATEMENT OF
      State what the contract or           WORK DATED 08/14/2023              INSIGHT GLOBAL LLC
2.690 lease is for and the nature                                             333 S GARLAND AVE
      of the debtor’s interest                                                SUITE 1200
                                                                              ORLANDO, FL 32801
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
      State what the contract or           07/01/2015                         INSIGHT GLOBAL LLC
2.691 lease is for and the nature                                             4170 ASHFORD DUNWOODY RD
      of the debtor’s interest                                                SUITE 250
                                                                              ATLANTA, GA 30319
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           IT SERVICES AGREEMENT DATED
      State what the contract or           07/01/2015                         INSIGHT GLOBAL LLC
2.692 lease is for and the nature                                             4170 ASHFORD DUNWOODY RD
      of the debtor’s interest                                                SUITE 250
                                                                              ATLANTA, GA 30319
           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-8: STATEMENT OF
      State what the contract or           WORK DATED 08/14/2023              INSIGHT GLOBAL LLC
2.693 lease is for and the nature                                             333 S GARLAND AVE
      of the debtor’s interest                                                SUITE 1200
                                                                              ORLANDO, FL 32801
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              INSOURCE INC
2.694 lease is for and the nature                                             565 EAST SWEDESFORD ROAD
      of the debtor’s interest                                                SUITE 220
                                                                              WAYNE, PA 19087
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              INTEGRIGY CORPORATION
2.695 lease is for and the nature                                             14 WESTLAKE DR
      of the debtor’s interest                                                NASHVILLE, TN 37205-5010

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              INTELEPEER CLOUD COMMUNICATIONS LLC
2.696 lease is for and the nature                                             177 BOVET ROAD
      of the debtor’s interest                                                SUITE 400
                                                                              SAN MATEO, CA 94402
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              INTERACTIVE COMMUNICATIONS INTERNATIONAL INC
2.697 lease is for and the nature                                             DBA INCOMM
      of the debtor’s interest                                                PO BOX 935359
                                                                              ATLANTA, GA 311935359
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICE AGREEMENT 2014 DATED
      State what the contract or           07/28/2014                         INTERFACE SECURITY SYSTEMS
2.698 lease is for and the nature                                             3773 CORPORATE CENTER DRIVE
      of the debtor’s interest                                                EARTH CITY, MO 63045

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           STATEMENT OF WORK 14-3IBI4C3
      State what the contract or           DATED 07/21/2014                   INTERNATIONAL BUSINESS MACHINES CORPORATION
2.699 lease is for and the nature                                             PO BOX 643600
      of the debtor’s interest                                                PITTSBURGH, PA 15264

           State the term remaining
           List the contract number of
           any government contract

                                           CLIENT RELATIONSHIP AGREEMENT
      State what the contract or           DATED 09/14/2017              INTERNATIONAL BUSINESS MACHINES CORPORATION
2.700 lease is for and the nature                                        1177 S BELT LINE RD
      of the debtor’s interest                                           COPPELL, TX 76019-4642

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              INTRALINKS INC
2.701 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              IPFS CORPORATION OF CALIFORNIA
2.702 lease is for and the nature                                             3 HUTTON CENTRE DR STE 630
      of the debtor’s interest                                                SANTA ANA, CA 92707-8747

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              IPSOS INSIGHT LLC
2.703 lease is for and the nature                                             PO BOX 36076
      of the debtor’s interest                                                NEWARK, NJ 07188-6076

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              IPSWITCH INC
2.704 lease is for and the nature                                             15 WAYSIDE ROAD
      of the debtor’s interest                                                4TH FLOOR
                                                                              BURLINGTON, MA 01803
           State the term remaining
           List the contract number of
           any government contract

                                           RENEWAL SCHEDULE A: PROGRAM
      State what the contract or           PRICING SCHEDULE DATED      IRON MOUNTAIN INFORMATION MANAGEMENT, LLC
2.705 lease is for and the nature          07/28/2014                  1 FEDERAL STREET
      of the debtor’s interest                                         BOSTON, MA 02110

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           RENEWAL SCHEDULE A: PROGRAM
      State what the contract or           PRICING SCHEDULE DATED      IRON MOUNTAIN INFORMATION MANAGEMENT, LLC
2.706 lease is for and the nature          07/28/2014                  1 FEDERAL STREET
      of the debtor’s interest                                         BOSTON, MA 02110

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICES AGREEMENT
      State what the contract or           DATED 07/28/2014                   IRON MOUNTAIN INFORMATION MANAGEMENT, LLC
2.707 lease is for and the nature                                             1 FEDERAL STREET
      of the debtor’s interest                                                BOSTON, MA 02110

           State the term remaining
           List the contract number of
           any government contract

                                           STATEMENT OF WORK NO. 1 DATED
      State what the contract or           12/01/2021                    IRON MOUNTAIN INFORMATION MANAGEMENT, LLC
2.708 lease is for and the nature                                        1 FEDERAL STREET
      of the debtor’s interest                                           BOSTON, MA 02110

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT TO MASTER SERVICES
      State what the contract or           AGREEMENT DATED 07/28/2014   IRON MOUNTAIN INFORMATION MANAGEMENT, LLC
2.709 lease is for and the nature                                       1 FEDERAL STREET
      of the debtor’s interest                                          BOSTON, MA 02110

           State the term remaining
           List the contract number of
           any government contract

                                           RENEWAL SCHEDULE A: PROGRAM
      State what the contract or           PRICING SCHEDULE DATED      IRON MOUNTAIN INFORMATION MANAGEMENT, LLC
2.710 lease is for and the nature          07/28/2014                  1 FEDERAL STREET
      of the debtor’s interest                                         BOSTON, MA 02110

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT TO THE MASTER
      State what the contract or           SERVICES AGREEMENT DATED           IRON MOUNTAIN INFORMATION MANAGEMENT, LLC
2.711 lease is for and the nature          09/20/2018                         1 FEDERAL STREET
      of the debtor’s interest                                                BOSTON, MA 02110

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT TO THE MASTER
      State what the contract or           SERVICES AGREEMENT DATED           IRON MOUNTAIN INFORMATION MANAGEMENT, LLC
2.712 lease is for and the nature          09/13/2019                         1 FEDERAL STREET
      of the debtor’s interest                                                BOSTON, MA 02110

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           AMENDMENT NO.3 TO THE MASTER
      State what the contract or           SERVICES AGREEMENT DATED     IRON MOUNTAIN INFORMATION MANAGEMENT, LLC
2.713 lease is for and the nature          12/01/2021                   1 FEDERAL STREET
      of the debtor’s interest                                          BOSTON, MA 02110

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT TO MASTER SERVICES
      State what the contract or           AGREEMENT DATED 07/28/2014   IRON MOUNTAIN CANADA OPERATIONS
2.714 lease is for and the nature                                       DBA IRON MOUNTAIN CANADA
      of the debtor’s interest                                          PO BOX 3527 STATION A
                                                                        TORONTO, ON M5W 3G4
           State the term remaining                                     CANADA

           List the contract number of
           any government contract

                                           AMENDMENT NO.3 TO THE MASTER
      State what the contract or           SERVICES AGREEMENT DATED     IRON MOUNTAIN SECURE SHREDDING CANADA, INC.
2.715 lease is for and the nature          12/01/2021                   1 FEDERAL STREET
      of the debtor’s interest                                          BOSTON, MA 02210

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
      State what the contract or           08/06/2014 PLUS AMENDMENTS         ISPOS MMA, INC.
2.716 lease is for and the nature                                             1271 AVENUE OF THE AMERICAS
      of the debtor’s interest                                                15TH FLOOR
                                                                              NEW YORK, NY 10020
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
      State what the contract or           08/06/2014 PLUS AMENDMENTS         ISPOS-INSIGHT, LLC
2.717 lease is for and the nature                                             1271 AVENUE OF THE AMERICAS
      of the debtor’s interest                                                15TH FLOOR
                                                                              NEW YORK, NY 10020
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              ISPOT TV INC
2.718 lease is for and the nature                                             DBA ACE METRIX
      of the debtor’s interest                                                15831 NE 8TH ST STE 100
                                                                              BELLEVUE, WA 98008-3916
           State the term remaining
           List the contract number of
           any government contract

                                           AGREEMENT DATED 07/28/2014
      State what the contract or                                              ITW FOOD EQUIPMENT GROUP
2.719 lease is for and the nature                                             701 S. RIDGE AVE.
      of the debtor’s interest                                                TROY, OH 45374

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
      State what the contract or                                              ITW FOOD EQUIPMENT GROUP LLC
2.720 lease is for and the nature                                             DBA BERKEL COMPANY
      of the debtor’s interest                                                4406 TECHNOLOGY DRIVE
                                                                              SOUTH BEND, IN 46628
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              IUS JURIS LLC
2.721 lease is for and the nature                                             5353 CONROY ROAD
      of the debtor’s interest                                                SUITE 200
                                                                              ORLANDO, FL 32811
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              J.R. SIMPLOT COMPANY
2.722 lease is for and the nature                                             1099 W. FRONT STREET
      of the debtor’s interest                                                BOISE, ID 83702

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              JAMES G SCELFO MD PA
2.723 lease is for and the nature                                             DBA PERSONALIZED PRIMARY CARE
      of the debtor’s interest                                                602 FRONT STREET
                                                                              CELEBRATION, FL 34747
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              JAMES GIBSON (DBA GIBSON CREATIVE SERVICES)
2.724 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           END USER LICENSE AND SERVICES
      State what the contract or           AGREEMENT DATED 04/27/2018    JAMF SOFTWARE, LLC
2.725 lease is for and the nature                                        100 WASHINGTON AVENUE SOUTH
      of the debtor’s interest                                           SUITE 1100
                                                                         MINNEAPOLIS, MN 55401
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              JFS AND ASSOCIATES INC
2.726 lease is for and the nature                                             1615 EDGEWATER DR STE 190
      of the debtor’s interest                                                ORLANDO, FL 32804-5851

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
      State what the contract or                                              JIMMY DEFLIPPO PHOTOGRAPHY
2.727 lease is for and the nature                                             4665 GATLIN OAKS LANE
      of the debtor’s interest                                                ORLANDO, FL 32806

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              JODI L SEES
2.728 lease is for and the nature                                             DBA JODI SEES STRATEGY AND INSIGHTS LLC
      of the debtor’s interest                                                13705 LAKES WAY
                                                                              ORLANDO, FL 32828-8118
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
      State what the contract or           12/02/2020                         JOEL AACH, DBA JOEL AACH CONSULTING
2.729 lease is for and the nature                                             5777 CRAINDALE DRIVE
      of the debtor’s interest                                                ORLANDO, FL 32819

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              JOHN DUCEY
2.730 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              JOLT AUTOMATION LLC
2.731 lease is for and the nature                                             DBA JOLT ADVANTAGE GROUP
      of the debtor’s interest                                                8875 HIDDEN RIVER PKWY STE 300
                                                                              TAMPA, FL 33637-2087
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              JONES LANG LASALLE BROKERAGE INC
2.732 lease is for and the nature                                             XEROX C/O BMO HARRIS
      of the debtor’s interest                                                141 W JACKSON BLVD STE 1000
                                                                              CHICAGO, IL 60604-2992
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              JP MORGAN CHASE BANK NA
2.733 lease is for and the nature                                             3415 VISION DR
      of the debtor’s interest                                                COLUMBUS, OH 43219-6009

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
      State what the contract or                                              KANGAROO REWARDS
2.734 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              KANSET SERVICES INC
2.735 lease is for and the nature                                             300 SUPERTEST ROAD
      of the debtor’s interest                                                UNIT #1
                                                                              TORANTO, ON M3J 2M2
           State the term remaining                                           CANADA

           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              KBACE TECHNOLOGIES INC
2.736 lease is for and the nature                                             6 TRAFALGAR SQUARE
      of the debtor’s interest                                                NASHUA, NH 03063

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              KEA CLOUD INC
2.737 lease is for and the nature                                             3790 EL CAMINO REAL
      of the debtor’s interest                                                UNIT #506
                                                                              PALO ALTO, CA 94306
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              KENNY SMITH ENTERTAINMENT GROUP LLC
2.738 lease is for and the nature                                             7 RENAISSANCE SQUARE
      of the debtor’s interest                                                2ND FLOOR
                                                                              WHITE PLAINS, NY 10601
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              KEPLER GROUP LLC
2.739 lease is for and the nature                                             6 E 32ND ST 9TH FLOOR
      of the debtor’s interest                                                NEW YORK, NY 10016-5415

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              KERRY INC
2.740 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              KEYSIGHT TECHNOLOGIES INC
2.741 lease is for and the nature                                             1900 GARDEN OF THE GODS RD
      of the debtor’s interest                                                COLORADO SPRINGS, CO 80907-3423

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-3: STATEMENT OF
      State what the contract or           WORK DATED 05/24/2021              KFORCE INC.
2.742 lease is for and the nature                                             PO BOX 2777997
      of the debtor’s interest                                                ATLANTA, GA 30384

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-7 STATEMENT OF
      State what the contract or           WORK DATED 07/25/2022              KFORCE INC.
2.743 lease is for and the nature                                             PO BOX 2777997
      of the debtor’s interest                                                ATLANTA, GA 30384

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-2 DATED 05/22/2019
      State what the contract or                                              KFORCE INC.
2.744 lease is for and the nature                                             1001E PALM AVE
      of the debtor’s interest                                                TAMPA, FL 33605

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-5 STATEMENT OF
      State what the contract or           WORK DATED 05/19/2022              KFORCE INC.
2.745 lease is for and the nature                                             PO BOX 2777997
      of the debtor’s interest                                                ATLANTA, GA 30384

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-4: STATEMENT OF
      State what the contract or           WORK DATED 04/01/2022              KFORCE INC.
2.746 lease is for and the nature                                             PO BOX 2777997
      of the debtor’s interest                                                ATLANTA, GA 30384

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-6 STATEMENT OF
      State what the contract or           WORK DATED 06/01/2022              KFORCE INC.
2.747 lease is for and the nature                                             PO BOX 2777997
      of the debtor’s interest                                                ATLANTA, GA 30384

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT DATED
      State what the contract or           05/16/2018                         KFORCE INC.
2.748 lease is for and the nature                                             1001E PALM AVE
      of the debtor’s interest                                                TAMPA, FL 33605

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              KIMLEY-HORN AND ASSOCIATES INC
2.749 lease is for and the nature                                             PO BOX 932520
      of the debtor’s interest                                                ATLANTA, GA 311932520

           State the term remaining
           List the contract number of
           any government contract

                                           FACILITIES SERVICE AGREEMENT
      State what the contract or           FOR RESTAURANT #0420 DATED         KLINES SERVICE
2.750 lease is for and the nature          12/30/2008                         5 HOLLAND ST.
      of the debtor’s interest                                                SALUNGA, PA 17538

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              KNOWLEDGELAKE INC
2.751 lease is for and the nature                                             PO BOX 7901
      of the debtor’s interest                                                ANN ARBOR, MI 48107-7901

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              KOLTER SOLUTIONS
2.752 lease is for and the nature                                             2500 MAITLAND CENTER PKWY
      of the debtor’s interest                                                SUITE 3000
                                                                              MAITLAND, FL 32751
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              KONICA MINOLTA BUSINESS SOLUTIONS USA INC
2.753 lease is for and the nature                                             DBA KONICA MINOLTA PREMIER FINANCE
      of the debtor’s interest                                                PO BOX 911608
                                                                              DENVER, CO 802911608
           State the term remaining
           List the contract number of
           any government contract

                                           ORDER FORM DATED 04/21/2023
      State what the contract or                                              KORE WIRELESS INC
2.754 lease is for and the nature                                             3 RAVINIA DRIVE NE
      of the debtor’s interest                                                SUITE 500
                                                                              ATLANTA, GA 30346
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER TERMS AND CONDITIONS
      State what the contract or           AGREEMENT DATED 04/05/2023         KORE WIRELESS INC
2.755 lease is for and the nature                                             3 RAVINIA DRIVE NE
      of the debtor’s interest                                                SUITE 500
                                                                              ATLANTA, GA 30346
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER TERMS AND CONDITIONS
      State what the contract or           AGREEMENT DATED 04/20/2023         KORE WIRELESS INC.
2.756 lease is for and the nature                                             3 RAVINIA DRIVE NE
      of the debtor’s interest                                                SUITE 500
                                                                              ATLANTA, GA 30346
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              KPMG LLP
2.757 lease is for and the nature                                             DEPT 0608
      of the debtor’s interest                                                PO BOX 120608
                                                                              DALLAS, TX 753120608
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER PROFESSIONAL SERVICES
      State what the contract or           AGREEMENT DATED 07/30/2014   KPMG LLP
2.758 lease is for and the nature                                       150 FAYETTEVILLE STREET
      of the debtor’s interest                                          SUITE 1200
                                                                        RALEIGH, NC 27601
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              LANGUAGE LOGIC
2.759 lease is for and the nature                                             1128 MAIN STREET
      of the debtor’s interest                                                CINCINNATI, OH 45202

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              LARSEN & TOUBRO INFOTECH LIMITED
2.760 lease is for and the nature                                             L&T TECHNOLOGY CENTRE
      of the debtor’s interest                                                SAKI VIHAR ROAD
                                                                              POWAI
           State the term remaining                                           MUMBAI
                                                                              MAHARASHTRA, 400072
           List the contract number of                                        INDIA
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              LEASE QUERY LLC
2.761 lease is for and the nature                                             3 RAVINIA DRIVE NE
      of the debtor’s interest                                                SUITE P7
                                                                              ATLANTA, GA 30346
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              LEONE MARKETING LLC
2.762 lease is for and the nature                                             2784 HAZEL GROVE LANE
      of the debtor’s interest                                                OVIEDO, FL 32766

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              LEVEL 3 COMMUNICATIONS LLC
2.763 lease is for and the nature                                             1025 ELDORADO BLVD
      of the debtor’s interest                                                41C-202
                                                                              BROOMFIELD, CO 80021
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              LEXMARK INTERNATIONAL INC
2.764 lease is for and the nature                                             740 WEST NEW CIRCLE ROAD
      of the debtor’s interest                                                LEXINGTON, KY 40550

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              LIERA PAGAN
2.765 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           STATEMENT OF WORK (SOW) #2
      State what the contract or           DATED 06/13/2022                   LIFEWORKS (US) LTD
2.766 lease is for and the nature                                             SUITE 1050-115 PERIMETER CENTER PLACE
      of the debtor’s interest                                                ATLANTA, GA 30346

           State the term remaining
           List the contract number of
           any government contract

                                           IT SERVICES AGREEMENT DATED
      State what the contract or           08/01/2022                         LIFEWORKS (US) LTD
2.767 lease is for and the nature                                             SUITE 1050-115 PERIMETER CENTER PLACE
      of the debtor’s interest                                                ATLANTA, GA 30346

           State the term remaining
           List the contract number of
           any government contract

                                           STATEMENT OF WORK (SOW) #1
      State what the contract or           DATED 06/13/2022                   LIFEWORKS (US) LTD.
2.768 lease is for and the nature                                             SUITE 1050-115 PERIMETER CENTER PLACE
      of the debtor’s interest                                                ATLANTA, GA 30346

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              LIMITLESS TECHNOLOGY LLC
2.769 lease is for and the nature                                             1540 INTERNATIONAL PKWY STE 2000
      of the debtor’s interest                                                LAKE MARY, FL 32746-5096

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              LINEAGE LOGISTICS LLC
2.770 lease is for and the nature                                             1 PARK PLAZA
      of the debtor’s interest                                                SUITE 550
                                                                              IRVINE, CA 92614
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICE AGREEMENT DATED MAY
      State what the contract or           10, 2023                           LINKEDIN
2.771 lease is for and the nature                                             1000 WEST MAUDE AVENUE
      of the debtor’s interest                                                SUNNYVALE, CA 94085

           State the term remaining
           List the contract number of
           any government contract

                                           SUBSCRIPTION AGREEMENT DATED
      State what the contract or           MAY 1, 2016                  LINKEDIN
2.772 lease is for and the nature                                       1000 WEST MAUDE AVENUE
      of the debtor’s interest                                          SUNNYVALE, CA 94085

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT MAY 21,
      State what the contract or           2019                               LINKEDIN
2.773 lease is for and the nature                                             1000 WEST MAUDE AVENUE
      of the debtor’s interest                                                SUNNYVALE, CA 94085

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICE AGREEMENT DATED
      State what the contract or           4/27/2021                          LINKEDIN
2.774 lease is for and the nature                                             1000 WEST MAUDE AVENUE
      of the debtor’s interest                                                SUNNYVALE, CA 94085

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICE AGREEMENT DATED MAY
      State what the contract or           31, 2021                           LINKEDIN
2.775 lease is for and the nature                                             1000 WEST MAUDE AVENUE
      of the debtor’s interest                                                SUNNYVALE, CA 94085

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICE AGREEMENT MAY 15, 2019
      State what the contract or                                              LINKEDIN
2.776 lease is for and the nature                                             1000 WEST MAUDE AVENUE
      of the debtor’s interest                                                SUNNYVALE, CA 94085

           State the term remaining
           List the contract number of
           any government contract

                                           LICENSE AGREEMENT
      State what the contract or                                              LINKEDIN CORPORATION
2.777 lease is for and the nature                                             62228 COLLECTIONS CENTER DRIVE
      of the debtor’s interest                                                CHICAGO, IL 606930622

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              LITMUS SOFTWARE INC
2.778 lease is for and the nature                                             675 MASSACHUSETTS AVE
      of the debtor’s interest                                                SUITE 11
                                                                              CAMBRIDGE, MA 02139
           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 1 TO STATEMENT
      State what the contract or           OF WORK A-1 DATED 02/01/2023       LITTLETON CONCIERGE MEDICINE, PLLC
2.779 lease is for and the nature                                             820 LAKE MARY BLVD. #107
      of the debtor’s interest                                                SANFORD, FL 32773

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
      State what the contract or           01/27/2017                         LITTLETON CONCIERGE MEDICINE, PLLC
2.780 lease is for and the nature                                             820 LAKE MARY BLVD. #107
      of the debtor’s interest                                                SANFORD, FL 32773

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              LL&D INC
2.781 lease is for and the nature                                             DBA RESPOND NEW MEXICO
      of the debtor’s interest                                                PO BOX 35963
                                                                              ALBUQUERQUE, NM 871765963
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
      State what the contract or           03/01/2020                         LL&D INC DBA RESPOND NEW MEXICO
2.782 lease is for and the nature                                             3809 HAWKINS ST NE
      of the debtor’s interest                                                ALBUQUERQUE, NM 87109

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired lease

                                           INSURANCE POLICY (TERRORISM
      State what the contract or           AND SABOTAGE INSURANCE)             LLOYD'S OF LONDON
2.783 lease is for and the nature          POLICY NUMBER                       MARSH LIMITED WILLOW HOUSE
      of the debtor’s interest             B0509BOWTN2350802                   PEACHMAN WAY
                                                                               BROADLAND BUSINESS PARK
           State the term remaining                                            NORWICH, NR7 0WF
                                                                               UNITED KINGDOM
           List the contract number of
           any government contract

                                           INSURANCE POLICY (PROPERTY)
      State what the contract or           POLICY NUMBER                       LLOYD'S UNDERWRITER SYNDICATE 1 - KLN 510
2.784 lease is for and the nature          B0509BOWPN2352678                   MARSH LIMITED
      of the debtor’s interest                                                 1 TOWER PLACE WEST
                                                                               TOWER PLACE
           State the term remaining                                            LONDON, EC3R 5BU
                                                                               UNITED KINGDOM
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                               LOCKTON COMPANIES
2.785 lease is for and the nature                                              DBA LOCKTON INSURANCE BROKERS LLC
      of the debtor’s interest                                                 DEPT LA 23878
                                                                               PASADENA, CA 911853878
           State the term remaining
           List the contract number of
           any government contract

                                           Advisory Services Agreement Dated
      State what the contract or           9/20/2014                           Lockton Investment Advisers, LLC
2.786 lease is for and the nature                                              75 E Santa Clara Street, Suite 1450
      of the debtor’s interest                                                 San Jose, CA 95113

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                               LOEWS SAPPHIRE FALLS RESORT
2.787 lease is for and the nature                                              6800 LAKEWOOD PLAZA DRIVE
      of the debtor’s interest                                                 ORLANDO, FL 32819

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                               LOGMEIN, INC
2.788 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           GENERAL TERMS AND CONDITIONS
      State what the contract or           FOR SERVICES DATED 07/28/2014 LOOMIS ARMORED U.S., LLC
2.789 lease is for and the nature                                        2500 CITY WEST BOULEVARD
      of the debtor’s interest                                           SUITE 900
                                                                         HOUSTON, TX 77024
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           AMENDMENT NO. 1 DATED
      State what the contract or           06/23/2021                         LOOMIS ARMORED U.S., LLC
2.790 lease is for and the nature                                             2500 CITY WEST BOULEVARD
      of the debtor’s interest                                                SUITE 900
                                                                              HOUSTON, TX 77024
           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO 1 DATED
      State what the contract or           05/01/2016                         LOOMIS ARMORED U.S., LLC
2.791 lease is for and the nature                                             2500 CITY WEST BOULEVARD
      of the debtor’s interest                                                SUITE 900
                                                                              HOUSTON, TX 77024
           State the term remaining
           List the contract number of
           any government contract

                                           AGREEMENT DATED 12/05/2019
      State what the contract or                                              LOOMIS ARMORED U.S., LLC
2.792 lease is for and the nature                                             2500 CITY WEST BLVD.
      of the debtor’s interest                                                STE. 2300
                                                                              HOUSTON, TX 77042
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
      State what the contract or           12/05/2019                         LOOMIS ARMORED US, LLC
2.793 lease is for and the nature                                             2500 CITY WEST BLVD. STE 2300
      of the debtor’s interest                                                HOUSTON, TX 77042

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              LOVE IT PRODUCTIONS
2.794 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              LOXIA TECHNOLOGIES
2.795 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              LOYALTY & CO
2.796 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
      State what the contract or                                              LUKES SEAFOOD
2.797 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              M SQUARED ONSTAGE INC
2.798 lease is for and the nature                                             DBA M2 ONSTAGE
      of the debtor’s interest                                                1780 CORPORATE DR STE 440
                                                                              NORCROSS, GA 30093-2958
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              MACDADE CONSTRUCTION INC
2.799 lease is for and the nature                                             1200 S SANFORD AVENUE
      of the debtor’s interest                                                SANFORD, FL 32771

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              MACHADO MANAGEMENT CONSULTING
2.800 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              MAD MOBILE
2.801 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              MAINSAIL HOUSING PARTNERS LLC
2.802 lease is for and the nature                                             DBA MAINSAIL CORPORATE HOUSING
      of the debtor’s interest                                                4602 EISENHOWER BLVD
                                                                              TAMPA, FL 33634-6359
           State the term remaining
           List the contract number of
           any government contract

                                           LICENSE AGREEMENT
      State what the contract or                                              MAKE-A-WISH FOUNDATION OF AMERICA
2.803 lease is for and the nature                                             1702 E HIGHLAND AVE STE 400
      of the debtor’s interest                                                PHOENIX, AZ 85016-4630

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
      State what the contract or                                              MANAGED CARE ADVISORY GROUP
2.804 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              MANHATTAN TELECOMMUNICATIONS
2.805 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              MANY HATS
2.806 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              MARIO ROQUE
2.807 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              MARITZ MOTIVATION
2.808 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              MARK KENNETH ESCANO ALANO
2.809 lease is for and the nature                                             DBA KENNETH ALANO LLC
      of the debtor’s interest                                                5715 RIDGEWAY DR
                                                                              ORLANDO, FL 32819-7739
           State the term remaining
           List the contract number of
           any government contract

                                           INSURANCE POLICY (PRIMARY
      State what the contract or           EMPLOYMENT PRACTICES LIABILITY MARKEL BERMUDA LIMITED
2.810 lease is for and the nature          INSURANCE) POLICY NUMBER       MARKEL HOUSE
      of the debtor’s interest             MKLB25GPL0005043               2 FRONT STREET
                                                                          HAMILTON, HM KX
           State the term remaining                                       BERMUDA

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              MARKETLAB INC
2.811 lease is for and the nature                                             8208 BOXMERE CT
      of the debtor’s interest                                                BRENTWOOD, TN 37027-7154

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              MARNE BROPHY
2.812 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           AGREEMENT DATED 10/01/2022
      State what the contract or                                              MARSH USA INC
2.813 lease is for and the nature                                             1560 SAWGRASS CORPORATE PARKWAY
      of the debtor’s interest                                                SUNRISE, FL 33323

           State the term remaining
           List the contract number of
           any government contract

                                           FIRST AMENDMENT TO AGREEMENT
      State what the contract or           DATED 10/01/2022             MARSH USA INC
2.814 lease is for and the nature                                       1560 SAWGRASS CORPORATE PARKWAY
      of the debtor’s interest                                          SUNRISE, FL 33323

           State the term remaining
           List the contract number of
           any government contract

                                           SECOND AMENDMENT TO
      State what the contract or           AGREEMENT DATED 10/01/2022         MARSH USA INC.
2.815 lease is for and the nature                                             1560 SAWGRASS CORPORATE PARKWAY
      of the debtor’s interest                                                SUNRISE, FL 33323

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT TO AGREEMENT - 001
      State what the contract or           DATED 08/01/2023                   MARSH USA LLC
2.816 lease is for and the nature                                             1166 AVENUE OF THE AMERICAS
      of the debtor’s interest                                                NEW YORK, NY 10036-2774

           State the term remaining
           List the contract number of
           any government contract

                                           STATEMENT OF WORK DATED
      State what the contract or           04/21/2023                         MARSH USA LLC
2.817 lease is for and the nature                                             1166 AVENUE OF THE AMERICAS
      of the debtor’s interest                                                NEW YORK, NY 10036-2774

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
      State what the contract or                                              MASTERCARD
2.818 lease is for and the nature                                             7868 LOWER PERSE CIRCLE
      of the debtor’s interest                                                ORLANDO, FL 32827

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              MCCI LLC
2.819 lease is for and the nature                                             PO BOX 790379
      of the debtor’s interest                                                SAINT LOUIS, MO 63179-0379

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
      State what the contract or           01/25/2017                         MDVIP, INC
2.820 lease is for and the nature                                             4950 COMMUNICATION AVENUE
      of the debtor’s interest                                                SUITE 100
                                                                              BOCA RATON, FL 33431
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              MEARS TRANSPORTATION GROUP
2.821 lease is for and the nature                                             324 W GORE ST
      of the debtor’s interest                                                ORLANDO, FL 32806

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              MEDCOR INC
2.822 lease is for and the nature                                             PO BOX #75570
      of the debtor’s interest                                                CLEVELAND, OH 441014755

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              MEILE INVESTMENT LLC
2.823 lease is for and the nature                                             DBA DOUBLETREE BY HILTON
      of the debtor’s interest                                                MONROVIA-PASADENA
                                                                              924 WEST HUNTINGTON DRIVE
           State the term remaining                                           MONROVIA, CA 91016

           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              MELTON FRANCHISE SYSTEMS INC
2.824 lease is for and the nature                                             438 HOBRON LANE
      of the debtor’s interest                                                PH4
                                                                              HONOLULU, HI 96815
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICE AGREEMENT DATED
      State what the contract or           AUGUST 21, 2023                    MENTIMETER AB (PUBL)
2.825 lease is for and the nature                                             TULEGATAN 11
      of the debtor’s interest                                                SE-113 86 STOCKHOLM,
                                                                              SWEDEN
           State the term remaining
           List the contract number of
           any government contract

                                           PROJECT INITIATION FORM DATED
      State what the contract or           01/18/2014                         MERCER (CANADA) LIMITED
2.826 lease is for and the nature                                             PO BOX 57483 STATION A
      of the debtor’s interest                                                TORONTO, ON M5W 5M5
                                                                              CANADA
           State the term remaining
           List the contract number of
           any government contract

                                           ENGAGEMENT LETTER AGREEMENT
      State what the contract or           DATED 04/29/2014            MERCER INVESTMENT CONSULTING, INC.
2.827 lease is for and the nature                                      3560 LENOX ROAD
      of the debtor’s interest                                         SUITE 2400
                                                                       ATLANTA, GA 30326
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              MERCHANT LINK LLC
2.828 lease is for and the nature                                             C/O MERCHANT LINK LOCKBOX
      of the debtor’s interest                                                26125 NETWORK PL
                                                                              CHICAGO, IL 60673-1261
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              MERCHANTLINK (ACQUIRED BY SHIFT 4)
2.829 lease is for and the nature                                             8401 COLESVILLE ROAD
      of the debtor’s interest                                                SUITE 750
                                                                              SILVER SPRING, MD 20910
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              MERCURY TECHNOLOGIES INC
2.830 lease is for and the nature                                             7636 HERITAGE CROSSING WAY
      of the debtor’s interest                                                REUNION, FL 34747

           State the term remaining
           List the contract number of
           any government contract

                                           IT SERVICES AGREEMENT DATED
      State what the contract or           07/31/2018                         MERKLE INC
2.831 lease is for and the nature                                             7001 COLUMBIA GATEWAY DRIVE
      of the debtor’s interest                                                COLUMBIA, MD 21046

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired lease

                                           RENEWAL AGREEMENT DATED
      State what the contract or           07/14/2023                          METLIFE LEGAL PLANS
2.832 lease is for and the nature                                              1111 SUPERIOR AVENUE
      of the debtor’s interest                                                 CLEVELAND, OH 44114-2507

           State the term remaining
           List the contract number of
           any government contract

                                           RENEWAL AGREEMENT DATED
      State what the contract or           07/25/2023                          METLIFE LEGAL PLANS, INC.
2.833 lease is for and the nature                                              1111 SUPERIOR AVENUE
      of the debtor’s interest                                                 CLEVELAND, OH 44144-2507

           State the term remaining
           List the contract number of
           any government contract

                                           Group Insurance Program Agreement
      State what the contract or           Dated 1/1/2015                      METROPOLITAN PROPERTY AND CASUALTY INSURANCE
2.834 lease is for and the nature                                              COMPANY
      of the debtor’s interest                                                 700 Quaker Lane
                                                                               Warwick, RI 02886
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                               METROPOLITAN PROPERTY AND CASUALTY INSURANCE
2.835 lease is for and the nature                                              COMPANY
      of the debtor’s interest                                                 700 QUAKER LANE
                                                                               WARWICK, RI 02886
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                               MICHAEL TRIMBOLI
2.836 lease is for and the nature                                              DBA MIKE TRIMBOLI LTD
      of the debtor’s interest                                                 8172 BARHAM PL
                                                                               COLORADO SPRINGS, CO 80908-5032
           State the term remaining
           List the contract number of
           any government contract

                                           CONSULTING SERVICES WORK
      State what the contract or           ORDER DATED 04/20/2015              MICROSOFT CORPORATION
2.837 lease is for and the nature                                              DEPT. 551, VOLUME LICENSING
      of the debtor’s interest                                                 6100 NEIL ROAD
                                                                               SUITE 210
           State the term remaining                                            RENO, NV 89511-1137

           List the contract number of
           any government contract

                                           AMENDMENT TO CONTRACT
      State what the contract or           DOCUMENTS DATED 11/01/2017          MICROSOFT CORPORATION
2.838 lease is for and the nature                                              DEPT. 551, VOLUME LICENSING
      of the debtor’s interest                                                 6100 NEIL ROAD
                                                                               SUITE 210
           State the term remaining                                            RENO, NV 89511-1137

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES WORK ORDER DATED
      State what the contract or           11/10/2014                         MICROSOFT CORPORATION
2.839 lease is for and the nature                                             DEPT. 551, VOLUME LICENSING
      of the debtor’s interest                                                6100 NEIL ROAD
                                                                              SUITE 210
           State the term remaining                                           RENO, NV 89511-1137

           List the contract number of
           any government contract

                                           CONSULTING SERVICES WORK
      State what the contract or           ORDER AMENDMENT# 1 DATED           MICROSOFT CORPORATION
2.840 lease is for and the nature          06/02/2015                         DEPT. 551, VOLUME LICENSING
      of the debtor’s interest                                                6100 NEIL ROAD
                                                                              SUITE 210
           State the term remaining                                           RENO, NV 89511-1137

           List the contract number of
           any government contract

                                           CONSULTING SERVICES WORK
      State what the contract or           ORDER DATED 06/18/2015             MICROSOFT CORPORATION
2.841 lease is for and the nature                                             DEPT. 551, VOLUME LICENSING
      of the debtor’s interest                                                6100 NEIL ROAD
                                                                              SUITE 210
           State the term remaining                                           RENO, NV 89511-1137

           List the contract number of
           any government contract

                                           CONSULTING SERVICES WORK
      State what the contract or           ORDER DATED 10/03/2014             MICROSOFT CORPORATION
2.842 lease is for and the nature                                             DEPT. 551, VOLUME LICENSING
      of the debtor’s interest                                                6100 NEIL ROAD
                                                                              SUITE 210
           State the term remaining                                           RENO, NV 89511-1137

           List the contract number of
           any government contract

                                           CONSULTING SERVICES WORK
      State what the contract or           ORDER DATED 11/03/2014             MICROSOFT CORPORATION
2.843 lease is for and the nature                                             DEPT. 551, VOLUME LICENSING
      of the debtor’s interest                                                6100 NEIL ROAD
                                                                              SUITE 210
           State the term remaining                                           RENO, NV 89511-1137

           List the contract number of
           any government contract

                                           PRODUCT GIVEAWAY AGREEMENT
      State what the contract or           DATED 05/24/2023                   MICROSOFT CORPORATION
2.844 lease is for and the nature                                             DEPT. 551, VOLUME LICENSING
      of the debtor’s interest                                                6100 NEIL ROAD
                                                                              SUITE 210
           State the term remaining                                           RENO, NV 89511-1137

           List the contract number of
           any government contract

                                           PRODUCT GIVEAWAY AGREEMENT
      State what the contract or           DATED 07/12/2023                   MICROSOFT CORPORATION
2.845 lease is for and the nature                                             DEPT. 551, VOLUME LICENSING
      of the debtor’s interest                                                6100 NEIL ROAD
                                                                              SUITE 210
           State the term remaining                                           RENO, NV 89511-1137

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           ENTERPRISE ENROLMENT DATED
      State what the contract or           11/01/2017                         MICROSOFT CORPORATION
2.846 lease is for and the nature                                             DEPT. 551, VOLUME LICENSING
      of the debtor’s interest                                                6100 NEIL ROAD
                                                                              SUITE 210
           State the term remaining                                           RENO, NV 89511-1137

           List the contract number of
           any government contract

                                           CONSULTING SERVICES WORK
      State what the contract or           ORDER DATED 06/09/2015             MICROSOFT CORPORATION
2.847 lease is for and the nature                                             DEPT. 551, VOLUME LICENSING
      of the debtor’s interest                                                6100 NEIL ROAD
                                                                              SUITE 210
           State the term remaining                                           RENO, NV 89511-1137

           List the contract number of
           any government contract

                                           SERVER AND CLOUD ENROLLMENT
      State what the contract or           DATED 11/13/2017            MICROSOFT CORPORATION
2.848 lease is for and the nature                                      DEPT. 551, VOLUME LICENSING
      of the debtor’s interest                                         6100 NEIL ROAD
                                                                       SUITE 210
           State the term remaining                                    RENO, NV 89511-1137

           List the contract number of
           any government contract

                                           SERVER AND CLOUD ENROLLMENT
      State what the contract or           AMENDMENT DATED 11/24/2014  MICROSOFT CORPORATION
2.849 lease is for and the nature                                      DEPT, 551, VOLUME LICENSING
      of the debtor’s interest                                         6100 NEIL ROAD,
                                                                       SUITE 210
           State the term remaining                                    RENO, NV 89511-1137

           List the contract number of
           any government contract

                                           MASTER SOFTWARE LICENSE
      State what the contract or           AGREEMENT DATED 01/15/2013         MICROSTRATEGY SERVICES CORPORATION
2.850 lease is for and the nature                                             1850 TOWERS CRESCENT PLAZA
      of the debtor’s interest                                                TYSONS CORNER, VA 22182

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SOFTWARE LICENSE AND
      State what the contract or           SERVICES AGREEMENT                 MICROSTRATEGY SERVICES CORPORATION
2.851 lease is for and the nature                                             1850 TOWERS CRESCENT PLAZA
      of the debtor’s interest                                                TYSONS CORNER, VA 22182

           State the term remaining
           List the contract number of
           any government contract

                                           PRICE QUOTATION AND PURCHASE
      State what the contract or           AGREEMENT DATED 12/03/2014   MICROSTRATEGY SERVICES CORPORATION
2.852 lease is for and the nature                                       1850 TOWERS CRESCENT PLAZA
      of the debtor’s interest                                          TYSONS CORNER, VA 22182

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SOFTWARE LICENSE AND
      State what the contract or           SERVICES AGREEMENT DATED           MICROSTRATEGY SERVICES CORPORATION
2.853 lease is for and the nature          12/05/2014                         1850 TOWERS CRESCENT PLAZA
      of the debtor’s interest                                                TYSONS CORNER, VA 22182

           State the term remaining
           List the contract number of
           any government contract

                                           CONSULTING AGREEMENT
      State what the contract or                                              MIDTOWN CONSULTING GROUP INC
2.854 lease is for and the nature                                             75 5TH STREET NW
      of the debtor’s interest                                                SUITE 342
                                                                              ATLANTA, GA 30308
           State the term remaining
           List the contract number of
           any government contract

                                           SETTLEMENT AGREEMENT DATED
      State what the contract or           2/20/2018                          MILWAUKEE WORLD FESTIVAL, INC.
2.855 lease is for and the nature                                             639 E. SUMMERFEST PLACE
      of the debtor’s interest                                                MILWAUKEE, WI 53202

           State the term remaining
           List the contract number of
           any government contract

                                           SPONSORSHIP AGREEMENT DATED
      State what the contract or           2/1/2018                    MILWAUKEE WORLD FESTIVAL, INC.
2.856 lease is for and the nature                                      639 E. SUMMERFEST PLACE
      of the debtor’s interest                                         MILWAUKEE, WI 53202

           State the term remaining
           List the contract number of
           any government contract

                                           GENERAL TERMS AND CONDITIONS
      State what the contract or           DATED 03/30/2018             MIMECAST NORTH AMERICA
2.857 lease is for and the nature                                       191 SPRING STREET
      of the debtor’s interest                                          LEXINGTON, MA 02421

           State the term remaining
           List the contract number of
           any government contract

                                           STATEMENT OF WORK NO. 1 DATED
      State what the contract or           03/30/2018                    MIMECAST NORTH AMERICA, INC.
2.858 lease is for and the nature                                        191 SPRING STREET
      of the debtor’s interest                                           LEXINGTON, MA 02421

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICE ORDER DATED 03/30/2018
      State what the contract or                                              MIMECAST NORTH AMERICA, INC.
2.859 lease is for and the nature                                             191 SPRING STREET
      of the debtor’s interest                                                LEXINGTON, MA 02421

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
      State what the contract or                                              MJ CORPORATE SALES INC.
2.860 lease is for and the nature                                             109 W PACK DRIVE
      of the debtor’s interest                                                SUITE A
                                                                              MT. LAUREL, NJ 08052
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              MOBI WIRELESS MANAGEMENT LLC
2.861 lease is for and the nature                                             6100 WEST 96TH STREET
      of the debtor’s interest                                                SUITE 150
                                                                              INDIANAPOLIS, IN 46278
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              MOBILE DEMAND LC
2.862 lease is for and the nature                                             1501 BOYSON SQUARE DRIVE
      of the debtor’s interest                                                SUITE 101
                                                                              HIAWATHA, IA 52233
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              MOBIVITY
2.863 lease is for and the nature                                             55 N. ARIZONA PLACE
      of the debtor’s interest                                                SUITE 310
                                                                              CHANDLER, AZ 85225
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              MOMENTFEED INC
2.864 lease is for and the nature                                             1540 2ND STREET SUITE 302
      of the debtor’s interest                                                SANTA MONICA, CA 90401-3513

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICES AGREEMENT
      State what the contract or           DATED 06/01/2022                   MOMENTFEED UB, INC.
2.865 lease is for and the nature                                             19 CLIFFORD STREET
      of the debtor’s interest                                                DETROIT, MI 48226

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              MONTEREY BAY AQUARIUM FOUNDATION
2.866 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
      State what the contract or                                              MOREDIRECT INC.
2.867 lease is for and the nature                                             1001 YAMATO ROAD
      of the debtor’s interest                                                BOCA RATON, FL 33431

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              MOSS ADAMS LLP
2.868 lease is for and the nature                                             999 THIRD AVE.
      of the debtor’s interest                                                SUITE 2800
                                                                              SEATTLE, WA 98104
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              MOVABLE INC
2.869 lease is for and the nature                                             DBA MOVABLE INK
      of the debtor’s interest                                                PO BOX 200338
                                                                              PITTSBURGH, PA 15251-0338
           State the term remaining
           List the contract number of
           any government contract

                                           STANDARD TERMS AGREEMENT
      State what the contract or           DATED 05/14/2018                   MOVABLE, INC.
2.870 lease is for and the nature                                             5 BRYANT PARK
      of the debtor’s interest                                                1065 SIXTH AVENUE
                                                                              9TH FLOOR
           State the term remaining                                           NEW YORK, NY 10018

           List the contract number of
           any government contract

                                           MASTER SUBSCRIPTION
      State what the contract or           AGREEMENT DATED 11/29/2016         MULESOFT INC.
2.871 lease is for and the nature                                             77 GEARY STREET
      of the debtor’s interest                                                SUITE 400
                                                                              SAN FRANCISCO, CA 94108
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SUBSCRIPTION
      State what the contract or           AGREEMENT DATED 12/19/2016         MULESOFT INC.
2.872 lease is for and the nature                                             77 GEARY STREET
      of the debtor’s interest                                                SUITE 400
                                                                              SAN FRANCISCO, CA 94108
           State the term remaining
           List the contract number of
           any government contract

                                           PROFESSIONAL AND TRAINING
      State what the contract or           SERVICES DATED 11/29/2016          MULESOFT INC.
2.873 lease is for and the nature                                             77 GEARY STREET
      of the debtor’s interest                                                SUITE 400
                                                                              SAN FRANCISCO, CA 94108
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SUBSCRIPTION
      State what the contract or           AGREEMENT DATED 11/16/2016         MULESOFT, INC.
2.874 lease is for and the nature                                             77 GEARY STREET
      of the debtor’s interest                                                SUITE 400
                                                                              SAN FRANCISCO, CA 94108
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              MVD COMMUNICATIONS LLC
2.875 lease is for and the nature                                             DBA MVDCONNECT LLC
      of the debtor’s interest                                                5188 COX SMITH ROAD
                                                                              MASON, OH 45040
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              MVP SYSTEMS SOFTWARE INC
2.876 lease is for and the nature                                             29 MILL STREET
      of the debtor’s interest                                                UNIONVILLE, CT 06085

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO.2 TO SERVICES
      State what the contract or           AGREEMENT DATED 06/01/2016         MWW GROUP LLC
2.877 lease is for and the nature                                             ONE MEADOWLANDS PLAZA
      of the debtor’s interest                                                EAST RUTHERFORD, NJ 07073

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 14 TO SERVICES
      State what the contract or           AGREEMENT DATED 09/26/2023         MWW GROUP LLC
2.878 lease is for and the nature                                             ONE MEADOWLANDS PLAZA
      of the debtor’s interest                                                EAST RUTHERFORD, NJ 07073

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 7 TO SERVICES
      State what the contract or           AGREEMENT DATED 01/01/2021         MWW GROUP LLC
2.879 lease is for and the nature                                             ONE MEADOWLANDS PLAZA
      of the debtor’s interest                                                EAST RUTHERFORD, NJ 07073

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 11 TO SERVICES
      State what the contract or           AGREEMENT DATED 10/01/2021         MWW GROUP LLC
2.880 lease is for and the nature                                             ONE MEADOWLANDS PLAZA
      of the debtor’s interest                                                EAST RUTHERFORD, NJ 07073

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           AMENDMENT NO. 5 TO SERVICES
      State what the contract or           AGREEMENT DATED 06/01/2019         MWW GROUP LLC
2.881 lease is for and the nature                                             ONE MEADOWLANDS PLAZA
      of the debtor’s interest                                                EAST RUTHERFORD, NJ 07073

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO.1 TO SERVICES
      State what the contract or           AGREEMENT DATED 06/01/2015         MWW GROUP LLC
2.882 lease is for and the nature                                             ONE MEADOWLANDS PLAZA
      of the debtor’s interest                                                EAST RUTHERFORD, NJ 07073

           State the term remaining
           List the contract number of
           any government contract

                                           AGENCY SERVICES AGREEMENT
      State what the contract or           DATED 07/17/2014                   MWW GROUP LLC
2.883 lease is for and the nature                                             ONE MEADOWLANDS PLAZA
      of the debtor’s interest                                                EAST RUTHERFORD, NJ 07073

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 4 TO SERVICES
      State what the contract or           AGREEMENT DATED 06/01/2018         MWW GROUP LLC
2.884 lease is for and the nature                                             ONE MEADOWLANDS PLAZA
      of the debtor’s interest                                                EAST RUTHERFORD, NJ 07073

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 10 TO SERVICES
      State what the contract or           AGREEMENT DATED 07/08/2021         MWW GROUP LLC
2.885 lease is for and the nature                                             ONE MEADOWLANDS PLAZA
      of the debtor’s interest                                                EAST RUTHERFORD, NJ 07073

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
      State what the contract or           06/01/2021                         MWW GROUP LLC
2.886 lease is for and the nature                                             ONE MEADOWLANDS PLAZA
      of the debtor’s interest                                                EAST RUTHERFORD, NJ 07073

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 12 TO SERVICES
      State what the contract or           AGREEMENT DATED 06/01/2022         MWW GROUP LLC
2.887 lease is for and the nature                                             ONE MEADOWLANDS PLAZA
      of the debtor’s interest                                                EAST RUTHERFORD, NJ 07073

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           AMENDMENT NO 6 TO SERVICES
      State what the contract or           AGREEMENT DATED 04/01/2020         MWW GROUP LLC
2.888 lease is for and the nature                                             ONE MEADOWLANDS PLAZA
      of the debtor’s interest                                                EAST RUTHERFORD, NJ 07073

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 9 TO SERVICES
      State what the contract or           AGREEMENT DATED 04/01/2021         MWW GROUP LLC
2.889 lease is for and the nature                                             ONE MEADOWLANDS PLAZA
      of the debtor’s interest                                                EAST RUTHERFORD, NJ 07073

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 13 TO SERVICES
      State what the contract or           AGREEMENT DATED 06/01/2023         MWW GROUP LLC
2.890 lease is for and the nature                                             ONE MEADOWLANDS PLAZA
      of the debtor’s interest                                                EAST RUTHERFORD, NJ 07073

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              NAME ON FILE
2.891 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              NAME ON FILE
2.892 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              NAME ON FILE
2.893 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              NAME ON FILE
2.894 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              NAME ON FILE
2.895 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              NAME ON FILE
2.896 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              NAME ON FILE
2.897 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              NAME ON FILE
2.898 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              NAME ON FILE
2.899 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           CONSULTING AGREEMENT
      State what the contract or                                              NAME ON FILE
2.900 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           EMPLOYEMENT AGREEMENT DATED
      State what the contract or           8/2/2021                    NAME ON FILE
2.901 lease is for and the nature                                      ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              NAME ON FILE
2.902 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SUPPLY AGREEMENT
      State what the contract or                                              NAME ON FILE
2.903 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              NAME ON FILE
2.904 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              NAS RECRUITMENT SERVICES LLC
2.905 lease is for and the nature                                             9700 ROCKSIDE ROAD
      of the debtor’s interest                                                SUITE 170
                                                                              CLEVELAND, OH 44125
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICES AGREEMENT
      State what the contract or           DATED 4/18/2019 PLUS SOWS          NAS RECRUITMENT SERVICES, LLC
2.906 lease is for and the nature                                             9700 ROCKSIDE ROAD
      of the debtor’s interest                                                SUITE 170
                                                                              CLEVELAND, OH 44125
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              NATIONAL CASH REGISTER (NCR)
2.907 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              NATIONAL GIFT CARD CORP
2.908 lease is for and the nature                                             300 MILLENNIUM DRIVE
      of the debtor’s interest                                                CRYSTAL LAKE, IL 60012

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
      State what the contract or                                              NATIONAL RESTAURANT ASSOC (GENERAL)
2.909 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              NATIONAL RESTAURANT ASSOCIATION SOLUTIONS LLC
2.910 lease is for and the nature                                             233 S. WACKER DRIVE
      of the debtor’s interest                                                SUITE 3600
                                                                              CHICAGO, IL 60606
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              NATIONAL SERVICE SOURCE INC
2.911 lease is for and the nature                                             DBA USSI GLOBAL
      of the debtor’s interest                                                9145 ELLIS ROAD
                                                                              WEST MELBOURNE, FL 32904-1019
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              NATIONAL SERVICE SOURCE INC
2.912 lease is for and the nature                                             DBA USSI GLOBAL
      of the debtor’s interest                                                9145 ELLIS ROAD
                                                                              WEST MELBOURNE, FL 32904-1019
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              NATIXIS SECURITIES AMERICAS LLC
2.913 lease is for and the nature                                             1251 AVENUE OF THE AMERICAS
      of the debtor’s interest                                                5TH FLOOR
                                                                              NEW YORK, NY 10020
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              NATURALLY SLIM
2.914 lease is for and the nature                                             12712 PARK CENTRAL DRIVE
      of the debtor’s interest                                                SUITE 100
                                                                              DALLAS, TX 75251
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              NAVIGATOR EXECUTIVE ADVISORS INC
2.915 lease is for and the nature                                             7065 WESTPOINTE BLVD.
      of the debtor’s interest                                                SUITE 3401
                                                                              ORLANDO, FL 32835
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              NAVISITE LLC
2.916 lease is for and the nature                                             400 MINUTEMAN ROAD
      of the debtor’s interest                                                ANDOVER, MA 01810

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              NEBBIA TECHNOLOGY LLC
2.917 lease is for and the nature                                             130 S ORANGE AVE SUITE 204
      of the debtor’s interest                                                ORLANDO, FL 32801

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              NEI GLOBAL RELOCATION
2.918 lease is for and the nature                                             PO BOX 241886
      of the debtor’s interest                                                OMAHA, NE 681245886

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              NERD MOUNTAIN LLC
2.919 lease is for and the nature                                             411 W ALAMEDA AVE
      of the debtor’s interest                                                SUITE 505
                                                                              BURBANK, CA 91505
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              NERDERY
2.920 lease is for and the nature                                             9555 JAMES AVE S.
      of the debtor’s interest                                                SUITE 245
                                                                              BLOOMINGTON, MN 55431
           State the term remaining
           List the contract number of
           any government contract

                                           END USER LICENSE AGREEMENT
      State what the contract or           DATED 10/17/2018                   NETSKOPE, INC.
2.921 lease is for and the nature                                             270 3RD STREET
      of the debtor’s interest                                                LOS ALTOS, CA 94022

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              NEUSTAR INFORMATION SERVICE INC.
2.922 lease is for and the nature                                             21575 RIDGETOP CIRCLE
      of the debtor’s interest                                                STERLING, VA 20166

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                           Employer Agreement for List Billing
      State what the contract or           Dated 1/1/2024                        NEW BENEFITS LTD
2.923 lease is for and the nature                                                14240 PROTON ROAD
      of the debtor’s interest                                                   DALLAS, TX 75244

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                                 NEW DAY RECRUITING LLC
2.924 lease is for and the nature                                                12 HUMMINGBIRD DR
      of the debtor’s interest                                                   MANALAPAN, NJ 07726-4189

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                                 NEWS AMERICA MARKETING FSI LLC
2.925 lease is for and the nature                                                3455 PEACHIREE ROAD
      of the debtor’s interest                                                   SUITE 950
                                                                                 ATLANTA, GA 30326
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                                 NEXTBITE BRANDS LLC
2.926 lease is for and the nature                                                1610 LITTLE RAVEN
      of the debtor’s interest                                                   STREET #100
                                                                                 DENVER, CO 80202
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                                 NFL PRODUCTIONS LLC
2.927 lease is for and the nature                                                ONE SABOL WAY
      of the debtor’s interest                                                   MOUNT LAUREL, NJ 8054

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                                 NHR NEWCO HOLDINGS LLC
2.928 lease is for and the nature                                                DBA CURVATURE LLC
      of the debtor’s interest                                                   6500 HOLLISTER AVENUE
                                                                                 SUITE 210
           State the term remaining                                              SANTA BARBARA, CA 93117

           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                                 NIELSEN CONSUMER LLC
2.929 lease is for and the nature                                                200 WEST JACKSON BOULEVARD
      of the debtor’s interest                                                   CHICAGO, IL 60606

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           GENERAL TERMS AND CONDITIONS
      State what the contract or           FOR INSPECTION SERVICES DATED NITIN VIKRAMRAO WAGH
2.930 lease is for and the nature          06/01/2023                    A1104 TRINITY LAKESHORE GREENS PALAVA 2
      of the debtor’s interest                                           DOMBIVILI EAST
                                                                         Maharashtra, 421201
           State the term remaining                                      INDIA

           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              NORTH HIGHLAND
2.931 lease is for and the nature                                             3333 PIEDMONT RD NE
      of the debtor’s interest                                                ATLANTA, GA 30305

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              NORTHSTAR LEGAL INC
2.932 lease is for and the nature                                             PO BOX 16253
      of the debtor’s interest                                                GREENVILLE, SC 29606-7253

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICE AGREEMENT FOR
      State what the contract or           RESTAURANT #0172 DATED             NUCO2 LLC
2.933 lease is for and the nature          08/30/2017                         2800 SE MARKET PLACE
      of the debtor’s interest                                                STUART, FL 34997

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO.1 TO THE MASTER
      State what the contract or           PURCHASE AGREEMENT DATED     NUCO2 LLC
2.934 lease is for and the nature          05/02/2017                   2800 SE MARKET PLACE
      of the debtor’s interest                                          STUART, FL 34997

           State the term remaining
           List the contract number of
           any government contract

                                           BILL OF SALE DATED 05/26/2017
      State what the contract or                                              NUCO2 LLC
2.935 lease is for and the nature                                             2800 SE MARKET PLACE
      of the debtor’s interest                                                STUART, FL 34997

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER PURCHASE AGREEMENT
      State what the contract or           DATED 10/01/2014                   NUCO2 LLC.
2.936 lease is for and the nature                                             2800 SE MARKET PLACE
      of the debtor’s interest                                                STUART, FL 34997

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT DATED
      State what the contract or           08/28/2020                         NUTRICLINICAL SOLUTIONS LLC
2.937 lease is for and the nature                                             12401 NW
      of the debtor’s interest                                                147TH LANE
                                                                              ALACHUA, FL 32615
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICE AGREEMENT DATED
      State what the contract or           06/11/2020                         NUWAVE COMMUNICATIONS
2.938 lease is for and the nature                                             8275 S. EASTERN AVE.
      of the debtor’s interest                                                SUITE 200
                                                                              LAS VEGAS, NV 89123
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
      State what the contract or           06/10/2020                         NUWAVE COMMUNICATIONS, INC.
2.939 lease is for and the nature                                             8275 S. EASTERN AVE.
      of the debtor’s interest                                                SUITE 200
                                                                              LAS VEGAS, NV 89123
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              OCH SERVICES LLC
2.940 lease is for and the nature                                             17640 SPARKLING RIVER RD
      of the debtor’s interest                                                BOCA RATON, FL 33496-5639

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
      State what the contract or           08/03/2022 PLUS AMENDMENTS         OCH SERVICES LLC
2.941 lease is for and the nature                                             17640 SPARKLING RIVER ROAD
      of the debtor’s interest                                                BOCA RATON, FL 33496

           State the term remaining
           List the contract number of
           any government contract

                                           SUPPLY AGREEMENT
      State what the contract or                                              ODP BUSINESS SOLUTIONS LLC
2.942 lease is for and the nature                                             DBA OFFICE DEPOT BUSINESS SOLUTIONS LLC
      of the debtor’s interest                                                PO BOX 633211
                                                                              CINCINNATI, OH 45263-3211
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              OFDC COMMUNICATIONS
2.943 lease is for and the nature                                             12025 MEADOWVILLE CT
      of the debtor’s interest                                                HERNDON, VA 20170-2608

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              OLIVE AND GOOSE LLC
2.944 lease is for and the nature                                             3451 NW 64TH ST
      of the debtor’s interest                                                SEATTLE, WA 98107

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              OMNI DALLAS HOTEL
2.945 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              ONDEMAND RESOURCES
2.946 lease is for and the nature                                             2089 GRACE MANOR COURT
      of the debtor’s interest                                                MCLEAN, VA 22101

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-2 TO SERVICES
      State what the contract or           AGREEMENT DATED 09/01/2015         ONDEMAND RESOURCES LLC
2.947 lease is for and the nature                                             6621 SE HARBOR CIRCLE
      of the debtor’s interest                                                STUART, FL 34996

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              ONEDINE LLC
2.948 lease is for and the nature                                             DBA ONEDINE
      of the debtor’s interest                                                5055 W PARK BLVD STE 601
                                                                              PLANO, TX 75093-2010
           State the term remaining
           List the contract number of
           any government contract

                                           ASSIGNMENT AND ASSUMPTION
      State what the contract or           AGREEMENT DATED 01/25/2024         ONETRUST LLC
2.949 lease is for and the nature                                             1200 ABERNATHY RD NE
      of the debtor’s interest                                                SUITE 300
                                                                              ATLANTA, GA 30328
           State the term remaining
           List the contract number of
           any government contract

                                           RENEWAL ORDER FORM DATED
      State what the contract or           03/01/2021                         ONETRUST LLC
2.950 lease is for and the nature                                             1200 ABERNATHY RD NE
      of the debtor’s interest                                                SUITE 300
                                                                              ATLANTA, GA 30328
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           RENEWAL ORDER FORM DATED
      State what the contract or           12/06/2022                         ONETRUST LLC
2.951 lease is for and the nature                                             1200 ABERNATHY RD NE
      of the debtor’s interest                                                BLDG 600
                                                                              ATLANTA, GA 30328
           State the term remaining
           List the contract number of
           any government contract

                                           TERMS AND CONDITIONS - CLOUD
      State what the contract or           DEPLOYMENT DATED 06/26/2019        ONETRUST, LLC
2.952 lease is for and the nature                                             1200 ABERNATHY ROAD
      of the debtor’s interest                                                ATLANTA, GA 30328

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              ONSITERIS LLC
2.953 lease is for and the nature                                             2010 AVALON PARKWAY
      of the debtor’s interest                                                SUITE 400
                                                                              MCDONOUGH, GA 30253
           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT 2 TO COMMITMENT
      State what the contract or           AGREEMENT DATED 01/01/2024         OPTUMRX, INC.
2.954 lease is for and the nature                                             600 MCCONNOR PARKWAY
      of the debtor’s interest                                                SCHAUMBURG, IL 60173

           State the term remaining
           List the contract number of
           any government contract

                                           TRANSPARENCY REPORTING
      State what the contract or           SERVICES ADDENDUM                  OPTUMRX, INC.
2.955 lease is for and the nature          HEALTHTRUST/CORETRUST              600 MCCONNOR PARKWAY
      of the debtor’s interest             COALITION CLIENTS DATED            SCHAUMBURG, IL 60173
                                           09/01/2024
           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT 1 TO COMMITMENT
      State what the contract or           AGREEMENT DATED 01/01/2022         OPTUMRX, INC.
2.956 lease is for and the nature                                             600 MCCONNOR PARKWAY
      of the debtor’s interest                                                SCHAUMBURG, IL 60173

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER AGREEMENT DATED
      State what the contract or           05/01/2015                         ORACLE AMERICA, INC.
2.957 lease is for and the nature                                             500 ORACLE PARKWAY
      of the debtor’s interest                                                REDWOOD SHORES, CA 94065

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           ORDERING DOCUMENT DATED
      State what the contract or           06/01/2015                         ORACLE AMERICA, INC.
2.958 lease is for and the nature                                             500 ORACLE PARKWAY
      of the debtor’s interest                                                REDWOOD SHORES, CA 94065

           State the term remaining
           List the contract number of
           any government contract

                                           ORDERING DOCUMENT DATED
      State what the contract or           05/20/2015                         ORACLE AMERICA, INC.
2.959 lease is for and the nature                                             500 ORACLE PARKWAY
      of the debtor’s interest                                                REDWOOD SHORES,, CA 94065

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER AGREEMENT AMENDMENT
      State what the contract or           TWO DATED 05/12/2020       ORACLE AMERICA, INC.
2.960 lease is for and the nature                                     500 ORACLE PARKWAY
      of the debtor’s interest                                        REDWOOD SHORES,, CA 94065

           State the term remaining
           List the contract number of
           any government contract

                                           LICENSE AND SERVICES
      State what the contract or           AGREEMENT DATED 05/31/2012         ORACLE AMERICA, INC.
2.961 lease is for and the nature                                             500 ORACLE PARKWAY
      of the debtor’s interest                                                REDWOOD CITY, CA

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER AGREEMENT DATED
      State what the contract or           08/30/2013                         ORACLE AMERICA, INC.
2.962 lease is for and the nature                                             500 ORACLE PARKWAY
      of the debtor’s interest                                                REDWOOD SHORES, CA 94065

           State the term remaining
           List the contract number of
           any government contract

                                           ORDERING DOCUMENT DATED
      State what the contract or           02/14/2015                         ORACLE AMERICA, INC.
2.963 lease is for and the nature                                             SCO GRADE PERKWAY
      of the debtor’s interest                                                REDWOOD SHORES, CA 94065

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER AGREEMENT DATED
      State what the contract or           02/17/2015                         ORACLE AMERICA, INC.
2.964 lease is for and the nature                                             500 ORACLE PARKWAY
      of the debtor’s interest                                                REDWOOD SHORES, CA 94065

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           ORDERING DOCUMENT DATED
      State what the contract or           12/02/2019                         ORACLE AMERICA, INC.
2.965 lease is for and the nature                                             500 ORACLE PARKWAY
      of the debtor’s interest                                                REDWOOD SHORES, CA 94065

           State the term remaining
           List the contract number of
           any government contract

                                           ORDERING DOCUMENT DATED
      State what the contract or           07/13/2018                         ORACLE AMERICA, INC.
2.966 lease is for and the nature                                             500 ORACLE PARKWAY
      of the debtor’s interest                                                REDWOOD SHORES, CA 94065

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER AGREEMENT DATED
      State what the contract or           02/14/2015                         ORACLE AMERICA, INC.
2.967 lease is for and the nature                                             500 ORACLE PARKWAY
      of the debtor’s interest                                                REDWOOD SHORES, CA 94065

           State the term remaining
           List the contract number of
           any government contract

                                           ORDERING DOCUMENT DATED
      State what the contract or           04/01/2020                         ORACLE AMERICA, INC.
2.968 lease is for and the nature                                             500 ORACLE PARKWAY
      of the debtor’s interest                                                REDWOOD SHORES, CA 94065

           State the term remaining
           List the contract number of
           any government contract

                                           CONFIDENTIAL SETTLEMENT
      State what the contract or           AGREEMENT AND RELEASE DATED        ORACLE AMERICA, INC.
2.969 lease is for and the nature          03/15/2016                         500 ORACLE PARKWAY
      of the debtor’s interest                                                REDWOOD CITY, CA 94065

           State the term remaining
           List the contract number of
           any government contract

                                           PAYMENT SCHEDULE DATED
      State what the contract or           05/21/2020                         ORACLE CREDIT CORPORATION
2.970 lease is for and the nature                                             500 ORACLE PARKWAY
      of the debtor’s interest                                                REDWOOD SHORES,, CA 94065

           State the term remaining
           List the contract number of
           any government contract

                                           PAYMENT PLAN AGREEMENT DATED
      State what the contract or           04/01/2020                   ORACLE CREDIT CORPORATION
2.971 lease is for and the nature                                       500 ORACLE PARKWAY
      of the debtor’s interest                                          REDWOOD SHORES,, CA 94065

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
      State what the contract or                                              ORANGE COUNTY PARKS & RECREATION
2.972 lease is for and the nature                                             290 HOLDEN AVE
      of the debtor’s interest                                                ORLANDO, FL 32839

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              ORION TECHNOLOGY SERVICES LLC
2.973 lease is for and the nature                                             512 MEANS ST NW STE 400
      of the debtor’s interest                                                ATLANTA, GA 30318-5788

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              ORION TRADING
2.974 lease is for and the nature
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           LICENSE AGREEMENT
      State what the contract or                                              ORLANDO MAGIC LTD
2.975 lease is for and the nature                                             DBA ORLANDO EVENTS CENTER ENTERPRISE LLC
      of the debtor’s interest                                                400 W CHURCH ST STE 250
                                                                              ORLANDO, FL 32801-2515
           State the term remaining
           List the contract number of
           any government contract

                                           RENEWAL ORDER FORM DATED
      State what the contract or           07/07/2023                         OT TECHNOLOGY INC.
2.976 lease is for and the nature                                             1200 ABERNATHY RD NE
      of the debtor’s interest                                                BLDG 600
                                                                              ATLANTA, GA 30328
           State the term remaining
           List the contract number of
           any government contract

                                           ASSIGNMENT AND ASSUMPTION
      State what the contract or           AGREEMENT DATED 01/25/2024         OT TECHNOLOGY INC.
2.977 lease is for and the nature                                             1200 ABERNATHY RD NE
      of the debtor’s interest                                                BLDG 600
                                                                              ATLANTA, GA 30328
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              OUTWARD INTELLIGENCE LLC
2.978 lease is for and the nature                                             442 5TH AVE #1633
      of the debtor’s interest                                                NEW YORK, NY 10018

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              OXXFORD RELOCATION CENTER INC
2.979 lease is for and the nature                                             4780 ASHFORD DUNWOODY RD STE 540-20
      of the debtor’s interest                                                ATLANTA, GA 30338-5564

           State the term remaining
           List the contract number of
           any government contract

                                           COMPACTOR AGREEMENT FOR
      State what the contract or           RESTAURANT #0241 DATED             PAK-RITE RENTALS, INC.
2.980 lease is for and the nature          11/05/2014                         12W. MAIN STREET
      of the debtor’s interest                                                NEW PALESTINE, IN 46163

           State the term remaining
           List the contract number of
           any government contract

                                           COMPACTOR AGREEMENT FOR
      State what the contract or           RESTAURANT #0566 DATED             PAK-RITE RENTALS, INC.
2.981 lease is for and the nature          11/03/2015                         44 W. MAIN STREET
      of the debtor’s interest                                                NEW PALESTINE, IN 46163

           State the term remaining
           List the contract number of
           any government contract

                                           INSURANCE POLICY (PROPERTY)
      State what the contract or           POLICY NUMBER 23-PQP-0009          PALMS INSURANCE COMPANY, LIMITED
2.982 lease is for and the nature                                             AMWINS INSURANCE BROKERAGE LLC
      of the debtor’s interest                                                105 FIELDCREST AVENUE
                                                                              SUITE 200
           State the term remaining                                           EDISON, NJ 08837

           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              PANAYA INC
2.983 lease is for and the nature                                             CONTINENTAL PLAZA 411 HACKENSACK AV
      of the debtor’s interest                                                8TH FLOOR
                                                                              HACKENSACK, NJ 07601
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              PANDERA SYSTEMS PLLC
2.984 lease is for and the nature                                             PO BOX 742873
      of the debtor’s interest                                                ATLANTA, GA 30374

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              PARABLESOFT
2.985 lease is for and the nature                                             6609 W. DORMANY RD
      of the debtor’s interest                                                PLANT CITY, FL 33565

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              PARADIGM TAX GROUP HOLDING COMPANY
2.986 lease is for and the nature                                             DBA PARADIGM DKD GROUP LLC
      of the debtor’s interest                                                PO BOX 734265
                                                                              DALLAS, TX 75373-4265
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              PARQUET PUBLIC AFFAIRS
2.987 lease is for and the nature                                             189 SOUTH ORAMGE AVENUE
      of the debtor’s interest                                                SUITE 850
                                                                              ORLANDO, FL 32801
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              PARR RECOVERY INC
2.988 lease is for and the nature                                             165 EVELYN ROAD
      of the debtor’s interest                                                NEWTON, MA 2468

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              PARSIFAL CORP
2.989 lease is for and the nature                                             1067 S HOVER STREET
      of the debtor’s interest                                                SUITE E-141
                                                                              LONGMONT, CO 80501
           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 1 TO SOFTWARE
      State what the contract or           LICENSE AGREEMENT DATED     PARTECH, INC.
2.990 lease is for and the nature          08/18/2014                  PAR TECHNOLOGY PARK
      of the debtor’s interest                                         8383 SENECA TURNPIKE
                                                                       NEW HARTFORD, NY 13413
           State the term remaining
           List the contract number of
           any government contract

                                           SOFTWARE LICENSE AGREEMENT
      State what the contract or           DATED 07/25/2014                   PARTECH, INC.
2.991 lease is for and the nature                                             PAR TECHNOLOGY PARK
      of the debtor’s interest                                                8383 SENECA TURNPIKE
                                                                              NEW HARTFORD, NY 13413
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              PARTNERS FILM INC.
2.992 lease is for and the nature                                             51 MILL ST.
      of the debtor’s interest                                                SUITE 300
                                                                              TORONTO, ON M5A3C4
           State the term remaining                                           CANADA

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
      State what the contract or                                              PARTNERS IN LEADERSHIP LLC
2.993 lease is for and the nature                                             DBA CULTURE PARTNERS
      of the debtor’s interest                                                PO BOX 776246
                                                                              CHICAGO, IL 60677-6246
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
      State what the contract or                                              PATHSOLUTIONS INC
2.994 lease is for and the nature                                             1030 E EL CAMINO REAL 173
      of the debtor’s interest                                                SUNNYVALE, CA 94087-3759

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              PATRICE & ASSOCIATES FRANCHISING INC.
2.995 lease is for and the nature                                             4 RESEARCH DRIVE
      of the debtor’s interest                                                SUITE 402
                                                                              SHELTON, CT 6484
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              PATRICK HARRIGAN
2.996 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              PATRICK HENRY CREATIVE PROMOTIONS INC
2.997 lease is for and the nature                                             1177 WEST LOOP S STE 800
      of the debtor’s interest                                                HOUSTON, TX 77027-9073

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              PATRICK S SCHRADER
2.998 lease is for and the nature                                             DBA WINGSPAN CONSULTING
      of the debtor’s interest                                                3281 BRACKENRIDGE TRAIL
                                                                              KENNESAW, GA 30152
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
      State what the contract or                                              PATRICK VERCNOCKE
2.999 lease is for and the nature                                             48888 POINT LAKEVIEW STREET
      of the debtor’s interest                                                CHESTERFIELD, MI 48047

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             PAYFACTORS GROUP LLC
2.1000 lease is for and the nature                                            2 ADAMS PLACE
       of the debtor’s interest                                               2ND FLOOR
                                                                              QUINCY, MA 2169
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             PAYLOGIX LLC
2.1001 lease is for and the nature                                            1025 OLD COUNTRY ROAD
       of the debtor’s interest                                               SUITE 310
                                                                              WESTBURY, NY 11590
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             PAYNUITY INE LLC
2.1002 lease is for and the nature                                            390 N. ORANGE
       of the debtor’s interest                                               SUITE 2400
                                                                              ORLANDO, FL 32801
           State the term remaining
           List the contract number of
           any government contract

                                           MERCHANT AGREEMENT DATED
       State what the contract or          10/24/2016                         PAYPAL
2.1003 lease is for and the nature                                            2211 NORTH FIRST STREET
       of the debtor’s interest                                               SAN JOSE, CA 95131

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             PAYPAL INC
2.1004 lease is for and the nature                                            2211NORTH FIRST STREET
       of the debtor’s interest                                               SAN JOSE, CA 95131

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             PENNSYLVANIA TOURISM SIGNING TRUST
2.1005 lease is for and the nature                                            2300 VARTAN WAY
       of the debtor’s interest                                               SUITE 240
                                                                              HARRISBURG, PA 17110
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             PENSKE TRUCK LEASING CO LP
2.1006 lease is for and the nature                                            ATTN: LIZ MASCIOTTI
       of the debtor’s interest                                               PO BOX 391
                                                                              READING, PA 196030391
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             PETER PAPPAS
2.1007 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           LICENSE AGREEMENT
       State what the contract or                                             PGI
2.1008 lease is for and the nature                                            3280 PEACHTREE ROAD NE
       of the debtor’s interest                                               SUITE 1000
                                                                              ATLANTA, GA 30305
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             PHAIDON INTERNATIONAL (U.S.) INC
2.1009 lease is for and the nature                                            711 3RD AVENUE
       of the debtor’s interest                                               3RD FLOOR
                                                                              NEW YORK, NY 10017
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             PHANTOM CYBER CORPORATION
2.1010 lease is for and the nature                                            2479 EAST BAYSHORE ROAD
       of the debtor’s interest                                               PALO ALTO, CA 94303

           State the term remaining
           List the contract number of
           any government contract

                                           OFFICE LEASE
       State what the contract or                                             PIEDMONT CNL TOWERS ORLAND LLC
2.1011 lease is for and the nature                                            PO BOX 743938
       of the debtor’s interest                                               ATLANTA, GA 30374-3938

           State the term remaining
           List the contract number of
           any government contract

                                           LICENSE AGREEMENT
       State what the contract or                                             PIEDMONT CNL TOWERS ORLAND LLC
2.1012 lease is for and the nature                                            PO BOX 743938
       of the debtor’s interest                                               ATLANTA, GA 30374-3938

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             PILE AND COMPANY INC
2.1013 lease is for and the nature                                            179 LINCOLN STREET
       of the debtor’s interest                                               SUITE 400
                                                                              BOSTON, MA 02111
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
       State what the contract or                                             PLAY WITH A PURPOSE
2.1014 lease is for and the nature                                            9420 DELEGATES DRIVE
       of the debtor’s interest                                               SUITE 450
                                                                              ORLANDO, FL 32837
           State the term remaining
           List the contract number of
           any government contract

                                           SALES ORDER DATED 09/14/2023
       State what the contract or                                             PLURALSIGHT
2.1015 lease is for and the nature                                            DEPT CH 19719
       of the debtor’s interest                                               PALATINE, IL 600559719

           State the term remaining
           List the contract number of
           any government contract

                                           SALES ORDER DATED 08/07/2023
       State what the contract or                                             PLURALSIGHT
2.1016 lease is for and the nature                                            DEPT CH 19719
       of the debtor’s interest                                               PALATINE, IL 600559719

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             POLARIS OWNERS ASSOCIATION INC
2.1017 lease is for and the nature                                            2 MIRANOVA PL STE 900
       of the debtor’s interest                                               COLUMBUS, OH 43215-7054

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 1 TO MASTER
       State what the contract or          FRAMEWORK AGREEMENT DATED          PORTIER, LLC
2.1018 lease is for and the nature         02/01/2022                         160 GREENTREE DRIVE
       of the debtor’s interest                                               SUITE 101
                                                                              DOVER, DE 19904
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER FRAMEWORK LETTER
       State what the contract or          AGREEMENT DATED 10/03/2018         PORTIER, LLC
2.1019 lease is for and the nature                                            160 GREENTREE DRIVE
       of the debtor’s interest                                               SUITE 101
                                                                              DOVER, DE 19904
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             POSTMATES INC
2.1020 lease is for and the nature                                            201 3RD ST #200
       of the debtor’s interest                                               SAN FRANSISCO, CA 94103

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT DATED
       State what the contract or          04/04/2017 PLUS AMENDMENTS         PR NEWSWIRE ASSOCIATION LLC
2.1021 lease is for and the nature                                            300 S RIVERSIDE PLAZA
       of the debtor’s interest                                               CHICAGO, IL 60606

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             PREFERRED FREEZER SERVICES OF NORFOLK LLC
2.1022 lease is for and the nature                                            2700 TRADE STREET
       of the debtor’s interest                                               CHESAPEAKE, VA 23323

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             PRESIDIO NETWORKED SOLUTIONS LLC
2.1023 lease is for and the nature                                            PO BOX 822169
       of the debtor’s interest                                               PHILADELPHIA, PA 191822169

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             PRESTON MACK INC
2.1024 lease is for and the nature                                            14198 CHICORA CROSSING BLVD
       of the debtor’s interest                                               ORLANDO, FL 32828

           State the term remaining
           List the contract number of
           any government contract

                                           SOFTWARE SERVICE
       State what the contract or          SUBSCRIPTION AGREEMENT DATED PREVALENT, INC.
2.1025 lease is for and the nature         06/24/2021                   11811 N. TATUM BLVD.
       of the debtor’s interest                                         SUITE 2400
                                                                        PHOENIX, AZ 85028
           State the term remaining
           List the contract number of
           any government contract

                                           STATEMENT OF WORK NO. 1 DATED
       State what the contract or          06/24/2021                    PREVALENT, INC.
2.1026 lease is for and the nature                                       11811 N. TATUM BLVD.
       of the debtor’s interest                                          SUITE 2400
                                                                         PHOENIX, AZ 85028
           State the term remaining
           List the contract number of
           any government contract

                                           SALES PROPOSAL 36627-3 DATED
       State what the contract or          06/25/2021                         PREVALENT, INC.
2.1027 lease is for and the nature                                            2201 COOPERATIVE WAY
       of the debtor’s interest                                               SUITE 225
                                                                              HERNDON, VA 20171
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                              PRICEWATERHOUSE COOPERS LLP
2.1028 lease is for and the nature                                             PO BOX 932011
       of the debtor’s interest                                                ATLANTA, GA 311932011

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICES AGREEMENT
       State what the contract or          DATED 07/28/2014                    PRICEWATERHOUSECOOPERS LLP
2.1029 lease is for and the nature                                             300 MADISON AVENUE
       of the debtor’s interest                                                NEW YORK, NY 10017

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                              PRINCETON PUBLIC SPEAKING
2.1030 lease is for and the nature                                             20 NASSAU STREET
       of the debtor’s interest                                                SUITE 408
                                                                               PRINCETON, NJ 08542
           State the term remaining
           List the contract number of
           any government contract

                                           Adoption Agreement Dated 1/1/2024
       State what the contract or          With Amendments                     PRINCIPAL LIFE INSURANCE COMPANY
2.1031 lease is for and the nature                                             711 HIGH STREET
       of the debtor’s interest                                                DES MOINES, IA 50392

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                              PRIZELOGIC LLC
2.1032 lease is for and the nature                                             25200 TELEGRAPH ROAD
       of the debtor’s interest                                                SUITE 405
                                                                               SOUTHFIELD, MI 48033
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                              PRODUCT EVALUATIONS INC
2.1033 lease is for and the nature                                             708 ENTREPRISE DRIVE
       of the debtor’s interest                                                OAK BROOK, IL 60523

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                              PROFITALITY LLC
2.1034 lease is for and the nature                                             6725 SW
       of the debtor’s interest                                                110 ST
                                                                               MIAMI, FL 33176
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             PROTIVITI INC
2.1035 lease is for and the nature                                            301 E PINE STREET
       of the debtor’s interest                                               SUITE 225
                                                                              ORLANDO, FL 32801
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             PROTOBRAND SCIENCES INC
2.1036 lease is for and the nature                                            560 HARRISON AVENUE
       of the debtor’s interest                                               SUITE 404
                                                                              BOSTON, MA 2118
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             PUBLICIS CANADA INC
2.1037 lease is for and the nature                                            PO BOX 11758
       of the debtor’s interest                                               STATION CENTRE VILLE
                                                                              MONTREAL, QC H3C 6V6
           State the term remaining                                           CANADA

           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             PUBLICIS KAPLAN THALER NY (PKT)
2.1038 lease is for and the nature                                            950 SIXTH AVENUE
       of the debtor’s interest                                               NEW YORK, NY 10001

           State the term remaining
           List the contract number of
           any government contract

                                           END USER AGREEMENT DATED
       State what the contract or          10/12/2023                         PURE STORAGE, INC.
2.1039 lease is for and the nature                                            2555 AUGUSTINE DRIVE
       of the debtor’s interest                                               SANTA CLARA, CA 95054

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             PYTHIAN SERVICES USA INC.
2.1040 lease is for and the nature                                            106 W 32ND STREET
       of the debtor’s interest                                               SUITE 168
                                                                              NEW YORK, NY 10001
           State the term remaining
           List the contract number of
           any government contract

                                           INSURANCE POLICY (EXCESS
       State what the contract or          DIRECTORS AND OFFICERS             QBE
2.1041 lease is for and the nature         LIABILITY) POLICY NUMBER           PO BOX 5438
       of the debtor’s interest            130007168                          NEW YORK, NY 10087--5438

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           INSURANCE POLICY (EXCESS
       State what the contract or          DIRECTORS AND OFFICERS             QBE
2.1042 lease is for and the nature         LIABILITY – RUN OFF POLICY)        PO BOX 5438
       of the debtor’s interest            POLICY NUMBER 130007168            NEW YORK, NY 10087--5438

           State the term remaining
           List the contract number of
           any government contract

                                           AUTOMATIONS PURCHASE
       State what the contract or          AGREEMENT DATED 07/15/2015         QSR AUTOMATIONS, INC.
2.1043 lease is for and the nature                                            2301 STANLEY GAULT PARKWAY
       of the debtor’s interest                                               LOUISVILLE, KY 40223

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDED AND RESTATED
       State what the contract or          PDRCHASE/LICENSE AGREEMENT         QSR AUTOMATIONS, INC.
2.1044 lease is for and the nature         FOR SOFTWARE AND SERVICES          2301 STANLEY GAULT PKWY
       of the debtor’s interest            DATED 07/01/2009                   LOUISVILLE, KY 40223

           State the term remaining
           List the contract number of
           any government contract

                                           UNDERSTANDING AND AGREEMENT
       State what the contract or          DATED 04/03/2020            QSR AUTOMATIONS, INC.
2.1045 lease is for and the nature                                     2301 STANLEY GAULT PARKWAY
       of the debtor’s interest                                        LOUISVILLE, KY 40223

           State the term remaining
           List the contract number of
           any government contract

                                           ASSIGNMENT AND ASSUMPTION
       State what the contract or          AGREEMENT                          QSR AUTOMATIONS, INC.
2.1046 lease is for and the nature                                            2301 STANLEY GAULT PARKWAY
       of the debtor’s interest                                               LOUISVILLE, KY 40223

           State the term remaining
           List the contract number of
           any government contract

                                           AUTOMATIONS PURCHASE
       State what the contract or          AGREEMENT DATED 07/22/2015         QSR AUTOMATIONS, INC.
2.1047 lease is for and the nature                                            2301 STANLEY GAULT PARKWAY
       of the debtor’s interest                                               LOUISVILLE, KY 40223

           State the term remaining
           List the contract number of
           any government contract

                                           ASSIGNMENT AND ASSUMPTION
       State what the contract or          AGREEMENT DATED 09/24/2015         QSR AUTOMATIONS, INC.
2.1048 lease is for and the nature                                            2301 STANLEY GAULT PARKWAY
       of the debtor’s interest                                               LOUISVILLE, KY 40223

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           AMENDED AND RESTATED
       State what the contract or          PURCHASE/LICENSE AGREEMENT         QSR AUTOMATIONS, INC.
2.1049 lease is for and the nature         FOR SOFTWARE AND SERVICES          2301 STANLEY GAULT PKWY
       of the debtor’s interest            DATED 07/01/2009                   LOUISVILLE, KY 40223

           State the term remaining
           List the contract number of
           any government contract

                                           PURCHASE ORDER RESERVATION
       State what the contract or          QUOTE DATED 08/24/2023             QSR AUTOMATIONS, INC.
2.1050 lease is for and the nature                                            2700 BUDDEKE DR.
       of the debtor’s interest                                               LOUISVILLE, KY 40206

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 1 TO
       State what the contract or          AUTOMATIONS PURCHASE               QSR AUTOMATIONS, INC.
2.1051 lease is for and the nature         AGREEMENT DATED 11/01/2016         2301 STANLEY GAULT PARKWAY
       of the debtor’s interest                                               LOUISVILLE, KY 40223

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             QUANTIFIND INC
2.1052 lease is for and the nature                                            8 HOMEWOOD PLACE
       of the debtor’s interest                                               MENLO PARK, CA 94025

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             QUISITIVE LLC
2.1053 lease is for and the nature                                            1431 GREENWAY DRIVE
       of the debtor’s interest                                               SUITE 1000
                                                                              IRVING, TX 75038
           State the term remaining
           List the contract number of
           any government contract

                                           FACILITIES SERVICE AGREEMENT
       State what the contract or          FOR RESTAURANT #0116 DATED         QWEST MECHANICAL
2.1054 lease is for and the nature         07/01/2020                         13500 PEARL RD
       of the debtor’s interest                                               SUITE 139-355
                                                                              STRONGSVILLE, OH 44136
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER PURCHASE AGREEMENT
       State what the contract or          DATED 08/05/2014                   R. R. DONNELLEY & SONS COMPANY
2.1055 lease is for and the nature                                            111 SOUTH WACKER DRIVE
       of the debtor’s interest                                               CHICAGO, IL 60606

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             RACKSPACE US INC
2.1056 lease is for and the nature                                            1 FANATICAL PL
       of the debtor’s interest                                               WINDCREST, TX 78218-2179

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             RAINMAKER THINKING INC
2.1057 lease is for and the nature                                            PO BOX 6082
       of the debtor’s interest                                               WALLINGFORD, CT 06492-0089

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             RANDALL R RICHMOND LLC
2.1058 lease is for and the nature                                            7601 LAKE ANGELINA DRIVE
       of the debtor’s interest                                               MOUNT DORA, FL 32757

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             RANDSTAD TECHNOLOGIES LP
2.1059 lease is for and the nature                                            150 PREDENTIAL WAY
       of the debtor’s interest                                               4TH FLOOR
                                                                              WOBURN, MA 1801
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             READY NETWORKS
2.1060 lease is for and the nature                                            11231 US HIGHWAY 1 #356
       of the debtor’s interest                                               NORTH PALM BEACH, FL 33408

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             REAF MARKETING INC.
2.1061 lease is for and the nature                                            124 BARES CREEK CT.
       of the debtor’s interest                                               CINCINNATI, OH 45140

           State the term remaining
           List the contract number of
           any government contract

                                           Lease for Restaurant # 990
       State what the contract or                                             REALTY INCOME CORPORATION
2.1062 lease is for and the nature                                            DBA SPIRIT MASTER FUNDING IX LLC
       of the debtor’s interest                                               11995 EL CAMINO REAL
                                                                              SAN DIEGO, CA 92130
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
       State what the contract or                                             RED CANARY INC
2.1063 lease is for and the nature                                            1601 19TH ST.
       of the debtor’s interest                                               SUITE 900
                                                                              DENVER, CO 80202
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             RED DAWN SEI BUYER INC
2.1064 lease is for and the nature                                            DBA SERVICE EXPRESS LLC
       of the debtor’s interest                                               DEPT 6306
                                                                              PO BOX 30516
           State the term remaining                                           LANSING, MI 48909-8016

           List the contract number of
           any government contract

                                           ADMINISTRATIVE SUPPORT
       State what the contract or          SERVICES AGREEMENT DATED           RED LOBSTER KANSAS LLC
2.1065 lease is for and the nature         07/28/2014                         450 S ORANGE AVENUE
       of the debtor’s interest                                               SUITE 800
                                                                              ORLANDO, FL 32801
           State the term remaining
           List the contract number of
           any government contract

                                           SYSTEM DEVELOPMENT SERVICES
       State what the contract or          AGREEMENT DATED 12/31/2018  RED LOBSTER ASIA SDN BHD
2.1066 lease is for and the nature                                     LEVEL 16
       of the debtor’s interest                                        MENARA TOKIO MARINE LIFE 189
                                                                       JALAN TUN RAZAK
           State the term remaining                                    KUALA LUMPUR, 50400
                                                                       MALAYSIA
           List the contract number of
           any government contract

                                           FINANCIAL SERVICES AGREEMENT
       State what the contract or          DATED 07/28/2014                   RED LOBSTER ASIA, SDN. BHD.
2.1067 lease is for and the nature                                            LEVEL 16
       of the debtor’s interest                                               MENARA TOKIO MARINE LIFE 189
                                                                              JALAN TUN RAZAK
           State the term remaining                                           KUALA LUMPUR, 50400
                                                                              MALAYSIA
           List the contract number of
           any government contract

                                           SYSTEM DEVELOPMENT SERVICES
       State what the contract or          AGREEMENT DATED 07/28/2014  RED LOBSTER ASIA, SDN. BHD.
2.1068 lease is for and the nature                                     LEVEL 16, MENARA TOKIO MARINE LIFE
       of the debtor’s interest                                        189
                                                                       JALAN TUN RAZAK
           State the term remaining                                    KUALA LUMPUR, 50400
                                                                       MALAYSIA
           List the contract number of
           any government contract

                                           ADMINISTRATIVE SUPPORT
       State what the contract or          SERVICES AGREEMENT DATED           RED LOBSTER CANADA, INC.
2.1069 lease is for and the nature         07/28/2014                         450 S ORANGE AVENUE
       of the debtor’s interest                                               SUITE 800
                                                                              ORLANDO, FL 32801
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           ADMINISTRATIVE SUPPORT
       State what the contract or          SERVICES AGREEMENT DATED           RED LOBSTER HOSPITALITY LLC
2.1070 lease is for and the nature         07/28/2014                         450 S ORANGE AVENUE
       of the debtor’s interest                                               SUITE 800
                                                                              ORLANDO, FL 32801
           State the term remaining
           List the contract number of
           any government contract

                                           FINANCIAL SERVICES AGREEMENT
       State what the contract or          DATED 12/31/2018                   RED LOBSTER INTERNATIONAL HOLDINGS LLC
2.1071 lease is for and the nature                                            450 S ORANGE AVENUE
       of the debtor’s interest                                               SUITE 800
                                                                              ORLANDO, FL 32801
           State the term remaining
           List the contract number of
           any government contract

                                           SYSTEM DEVELOPMENT SERVICES
       State what the contract or          AGREEMENT DATED 12/31/2018  RED LOBSTER INTERNATIONAL HOLDINGS LLC
2.1072 lease is for and the nature                                     450 S ORANGE AVENUE
       of the debtor’s interest                                        SUITE 800
                                                                       ORLANDO, FL 32801
           State the term remaining
           List the contract number of
           any government contract

                                           ADMINISTRATIVE SUPPORT
       State what the contract or          SERVICES AGREEMENT DATED           RED LOBSTER INTERNATIONAL HOLDINGS LLC
2.1073 lease is for and the nature         12/31/2018                         450 S ORANGE AVENUE
       of the debtor’s interest                                               SUITE 800
                                                                              ORLANDO, FL 32801
           State the term remaining
           List the contract number of
           any government contract

                                           ADMINISTRATIVE SUPPORT
       State what the contract or          SERVICES AGREEMENT DATED           RED LOBSTER RESTAURANTS LLC
2.1074 lease is for and the nature         07/28/2014                         450 S ORANGE AVENUE
       of the debtor’s interest                                               SUITE 800
                                                                              ORLANDO, FL 32801
           State the term remaining
           List the contract number of
           any government contract

                                           COMPACTOR AGREEMENT FOR
       State what the contract or          RESTAURANT #0443 DATED             REDDY RENTALS INC.
2.1075 lease is for and the nature         10/18/2023                         34194 AURORA RD.
       of the debtor’s interest                                               SUITE #226
                                                                              SOLON, OH 44139
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             REED PAINTING LLC
2.1076 lease is for and the nature                                            DBA GASKET GUY OF RENO
       of the debtor’s interest                                               1001 S MEADOWS PKWY APT 1833
                                                                              RENO, NV 89521-5989
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
       State what the contract or                                             REFINITIV US LLC
2.1077 lease is for and the nature                                            PO BOX 415983
       of the debtor’s interest                                               BOSTON, MA 02241-5983

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             REGUS
2.1078 lease is for and the nature                                            28/F, HUAIHAI PLAZA
       of the debtor’s interest                                               NO. 1045 MIDDLE HUIHAI ROAD
                                                                              XUHUI DISTRICT
           State the term remaining                                           SHANGHAI, 200032
                                                                              CHINA
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             RELATIVE INSIGHT INC
2.1079 lease is for and the nature                                            155 WATER STREET
       of the debtor’s interest                                               SUITE 404
                                                                              BROOKLYN, NY 11201
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             RENTOKIL NORTH AMERICA INC
2.1080 lease is for and the nature                                            DBA JC EHRLICH
       of the debtor’s interest                                               PO BOX 740608
                                                                              CINCINNATI, OH 45274-0608
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICES AGREEMENT
       State what the contract or          DATED 04/07/2023                   RENTOKIL NORTH AMERICA, INC. D/B/A STERITECH BRAND
2.1081 lease is for and the nature                                            STANDARDS (“STERITECH”)
       of the debtor’s interest                                               1125 BERKSHIRE BOULEVARD
                                                                              SUITE 150
           State the term remaining                                           WYOMISSING, PA 19610

           List the contract number of
           any government contract

                                           STATEMENT OF WORK NO. 1 DATED
       State what the contract or          04/07/2023                    RENTOKIL NORTH AMERICA, INC. D/B/A STERITECH BRAND
2.1082 lease is for and the nature                                       STANDARDS (STERITECH)
       of the debtor’s interest                                          1125 BERKSHIRE BOULEVARD
                                                                         SUITE 150
           State the term remaining                                      WYOMISSING, PA 19610

           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             REPUTATION INSTITUTE INC
2.1083 lease is for and the nature                                            399 BOYLSTON ST.
       of the debtor’s interest                                               SUITE 700
                                                                              BOSTON, MA 2116
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
       State what the contract or                                             RESEARCH NOW GROUP INC
2.1084 lease is for and the nature                                            5800 TENNYSON PARKWAY
       of the debtor’s interest                                               SUITE 600
                                                                              PLANO, TX 75024
           State the term remaining
           List the contract number of
           any government contract

                                           IT SERVICES AGREEMENT DATED
       State what the contract or          10/30/2020                         RESEARCH NOW GROUP LLC
2.1085 lease is for and the nature                                            6 RESEARCH DRIVE
       of the debtor’s interest                                               SHELTON, CT 06484

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             RESIDENCE INN BY MARRIOTT
2.1086 lease is for and the nature                                            DBA RITZ CARLTON
       of the debtor’s interest                                               C/O MARRIOTT BUSINESS SVCS
                                                                              PO BOX 402642
           State the term remaining                                           ATLANTA, GA 303842642

           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             RESTAURANTS OPERATORS INC
2.1087 lease is for and the nature                                            PO BOX 366308
       of the debtor’s interest                                               SAN JUAN, PR 00936-6308

           State the term remaining
           List the contract number of
           any government contract

                                           CONSULTING AGREEMENT
       State what the contract or                                             RETAIL CONSULTING SERVICES INC
2.1088 lease is for and the nature                                            DBA RCS REAL ESTATE ADVISORS
       of the debtor’s interest                                               470 SEVENTH AVENUE
                                                                              NEW YORK, NY 10018-7600
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             RETAIL DEVELOPMENT CONSULTING
2.1089 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             RETAIL FINANCE INTERNATIONAL (AKA SYNCHRONY)
2.1090 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             RETAIL TECHNOLOGY GROUP INCORPORATED
2.1091 lease is for and the nature                                            1663 FENTON BUSINESS PARK COURT
       of the debtor’s interest                                               FENTON, MO 630262990

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             RETARUS INC
2.1092 lease is for and the nature                                            300 LIGHTING WAY STE 315
       of the debtor’s interest                                               SECAUCUS, NJ 07094-3646

           State the term remaining
           List the contract number of
           any government contract

                                           INITIAL ORDER FORM DATED
       State what the contract or          07/28/2017                         RINGCENTRAL INC.
2.1093 lease is for and the nature                                            20 OAVIS DRIVE
       of the debtor’s interest                                               BELMONT, CA 94002

           State the term remaining
           List the contract number of
           any government contract

                                           CHANGE ORDER FORM- MVP
       State what the contract or          SERVICES                           RINGCENTRAL, INC.
2.1094 lease is for and the nature                                            20 DAVIS DRIVE
       of the debtor’s interest                                               BELMONT, CA 94002

           State the term remaining
           List the contract number of
           any government contract

                                           OFFICE PLAN PURCHASE
       State what the contract or          AGREEMENT DATED 07/31/2018         RINGCENTRAL, INC.
2.1095 lease is for and the nature                                            20 DAVIS DRIVE
       of the debtor’s interest                                               BELMONT, CA 94002

           State the term remaining
           List the contract number of
           any government contract

                                           OFFICE PLAN PURCHASE ORDER
       State what the contract or          FORM DATED 07/28/2017              RINGCENTRAL, INC.
2.1096 lease is for and the nature                                            20 DAVIS DRIVE
       of the debtor’s interest                                               BELMONT, CA 94002

           State the term remaining
           List the contract number of
           any government contract

                                           CHANGE ORDER FORM- MVP
       State what the contract or          SERVICES DATED 12/21/2021          RINGCENTRAL, INC.
2.1097 lease is for and the nature                                            20 DAVIS DRIVE
       of the debtor’s interest                                               BELMONT, CA 94002

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           CHANGE ORDER FORM- MVP
       State what the contract or          SERVICES DATED 12/21/2021          RINGCENTRAL, INC.
2.1098 lease is for and the nature                                            20 DAVIS DRIVE
       of the debtor’s interest                                               BELMONT, CA 94002

           State the term remaining
           List the contract number of
           any government contract

                                           STATEMENT OF WORK NO. 3 FOR
       State what the contract or          IMPLEMENTATION SERVICES DATED RINGCENTRAL, INC.
2.1099 lease is for and the nature         11/17/2017                    20 DAVIS DRIVE
       of the debtor’s interest                                          BELMONT, CA 94002

           State the term remaining
           List the contract number of
           any government contract

                                           STATEMENT OF WORK NO. 2 FOR
       State what the contract or          IMPLEMENTATION SERVICES DATED RINGCENTRAL, INC.
2.1100 lease is for and the nature         10/30/2017                    20 DAVIS DRIVE
       of the debtor’s interest                                          BELMONT, CA 94002

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             RISHA GRANT
2.1101 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           CONSULTING AGREEMENT
       State what the contract or                                             RIVERSIDE RISK ADVISORS
2.1102 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           ADMINISTRATIVE SUPPORT
       State what the contract or          AGREEMENT DATED 07/28/2014         RLSV, INC.
2.1103 lease is for and the nature                                            450 S ORANGE AVENUE
       of the debtor’s interest                                               SUITE 800
                                                                              ORLANDO, FL 32801
           State the term remaining
           List the contract number of
           any government contract

                                           EMPLOYEE MANAGEMENT AND
       State what the contract or          SERVICES AGREEMENT DATED           RLSV, INC.
2.1104 lease is for and the nature         07/28/2014                         450 S ORANGE AVENUE
       of the debtor’s interest                                               SUITE 800
                                                                              ORLANDO, FL 32801
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             ROBERT T CARRELL
2.1105 lease is for and the nature                                            DBA CARRELL LLC
       of the debtor’s interest                                               548 CAPE COD LANE #205
                                                                              ALTAMONTE SPRINGS, FL 32714
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
       State what the contract or          07/28/2014                         ROCHESTER ARMORED CAR COMPANY, INC.
2.1106 lease is for and the nature                                            3937 LEAVENWORTH STREET
       of the debtor’s interest                                               OMAHA, NE 68105

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             ROCKET SOCIAL IMPACT
2.1107 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             ROGERS COMMUNICATIONS
2.1108 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             RONALD MICHEL
2.1109 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             RTECH SOLUTIONS
2.1110 lease is for and the nature                                            200 JENNINGS AVE
       of the debtor’s interest                                               KNOXVILLE, TN 37917-7127

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             RTOOR INC
2.1111 lease is for and the nature                                            11106 BRANDON GATE
       of the debtor’s interest                                               HOUSTON, TX 77095-6603

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             RUBICON GLOBAL LLC
2.1112 lease is for and the nature                                            ATTN ACCOUNTS RECEIVABLE
       of the debtor’s interest                                               ATTN RUBICON
                                                                              PO BOX 936684
           State the term remaining                                           ATLANTA, GA 31193-6684

           List the contract number of
           any government contract

                                           MEDIA PLANNING AND BUYING
       State what the contract or          AGENCY SERVICES AGREEMENT          RUBIN POSTAER AND ASSOCIATES
2.1113 lease is for and the nature         DATED 04/01/2022                   2525 COLORADO AVE.
       of the debtor’s interest                                               SANTA MONICA, CA 90404

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             RUNZHEIMER
2.1114 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
       State what the contract or          04/01/2022                         RUSSELL EVANS
2.1115 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             RYAN LLC
2.1116 lease is for and the nature                                            13155 NOEL ROAD
       of the debtor’s interest                                               SUITE 100
                                                                              DALLAS, TX 75240-5050
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             RYNE TECHNOLOGIES LLC
2.1117 lease is for and the nature                                            668 BRIDGE CREEK BLVD
       of the debtor’s interest                                               OCOEE, FL 34761

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             SADA SYSTEMS INC
2.1118 lease is for and the nature                                            5250 LANKERSHIM BOULEVARD
       of the debtor’s interest                                               #620
                                                                              NORTH HOLLYWOOD, CA 91601
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           BUSINESS LICENSE AGREEMENT
       State what the contract or          DATED 09/23/2024                   SADA SYSTEMS, INC.
2.1119 lease is for and the nature                                            5250 LANKERSHIM BLVD
       of the debtor’s interest                                               SUITE 620
                                                                              NORTH HOLLYWOOD, CA 91601
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
       State what the contract or          07/29/2019                         SAFE AND SOUND ARMED COURIER SERVICE INC.
2.1120 lease is for and the nature                                            42 WAYAAWI AVENUE
       of the debtor’s interest                                               BAYVILLE, NY 11709

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SAFE AND SOUND ARMED COURIER SERVICES INC
2.1121 lease is for and the nature                                            PO BOX 1463
       of the debtor’s interest                                               BAYVILLE, NY 11709-0463

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             SAK THEATRE CO
2.1122 lease is for and the nature                                            ATTN: GINA DIROMA
       of the debtor’s interest                                               29 S ORANGE AVENUE
                                                                              ORLANDO, FL 32801
           State the term remaining
           List the contract number of
           any government contract

                                           ORDER FORM DATED 07/31/2023
       State what the contract or                                             SALESFORCE, INC.
2.1123 lease is for and the nature                                            SALESFORCE TOWER
       of the debtor’s interest                                               415 MISSION STREET
                                                                              3RD FLOOR
           State the term remaining                                           SAN FRANCISCO, CA 94105

           List the contract number of
           any government contract

                                           PROFESSIONAL SERVICES
       State what the contract or          ADDENDUM TO THE MASTER       SALESFORCE, INC.
2.1124 lease is for and the nature         SUBSCRIPTION AGREEMENT DATED SALESFORCE TOWER
       of the debtor’s interest            09/14/2023                   415 MISSION STREET
                                                                        3RD FLOOR
           State the term remaining                                     SAN FRANCISCO, CA 94105

           List the contract number of
           any government contract

                                           EXPERT SERVICE STATEMENT OF
       State what the contract or          WORK DATED 09/14/2023              SALESFORCE, INC.
2.1125 lease is for and the nature                                            SALESFORCE TOWER
       of the debtor’s interest                                               415 MISSION STREET
                                                                              3RD FLOOR
           State the term remaining                                           SAN FRANCISCO, CA 94105

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           ORDER FORM DATED 09/28/2021
       State what the contract or                                             SALESFORCE.COM, INC.
2.1126 lease is for and the nature                                            SALESFORCE TOWER
       of the debtor’s interest                                               415 MISSION STREET
                                                                              3RD FLOOR
           State the term remaining                                           SAN FRANCISCO, CA 94105

           List the contract number of
           any government contract

                                           MASTER SUBSCRIPTION
       State what the contract or          AGREEMENT DATED 09/22/2021         SALESFORCE.COM, INC.
2.1127 lease is for and the nature                                            SALESFORCE TOWER
       of the debtor’s interest                                               415 MISSION STREET
                                                                              3RD FLOOR
           State the term remaining                                           SAN FRANCISCO, CA 94105

           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
       State what the contract or          08/01/2014                         SANDERS CONSULTING GROUP INC.
2.1128 lease is for and the nature                                            1800 COUNTRY CLUB RD.
       of the debtor’s interest                                               CARBONDALE, IL 62903

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SANDY ALEXANDER INC
2.1129 lease is for and the nature                                            DBA DINETEC
       of the debtor’s interest                                               PO BOX 824263
                                                                              PHILADELPHIA, PA 19182-4263
           State the term remaining
           List the contract number of
           any government contract

                                           FACILITIES SERVICE AGREEMENT
       State what the contract or          FOR RESTAURANT #6228 DATED         SANIS ULTRACLEAN
2.1130 lease is for and the nature         09/30/2005                         6800 CINTAS BOULEVARD
       of the debtor’s interest                                               MASON, OH 45050

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SAS INSTITUTE INC
2.1131 lease is for and the nature                                            PO BOX 406922
       of the debtor’s interest                                               ATLANTA, GA 303846922

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SATISFI LABS
2.1132 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
       State what the contract or                                             SAVE ON MECHANICAL SERVICES LTD
2.1133 lease is for and the nature                                            10664-214 STREET
       of the debtor’s interest                                               EDMONTON, ON T5S 2A5
                                                                              CANADA
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             SAWTOOTH SOFTWARE
2.1134 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SCENTAIR
2.1135 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             SCHOLARSHIP AM TUITION REIM
2.1136 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SECOND AMENDED AND RESTATED
       State what the contract or          SERVICES AGREEMENT DATED    SCHOOX, INC.
2.1137 lease is for and the nature         10/01/2020                  3112 WINDSOR RD.
       of the debtor’s interest                                        #A108
                                                                       AUSTIN, TX 787O3
           State the term remaining
           List the contract number of
           any government contract

                                           AMENDED AND RESTATED
       State what the contract or          SERVICES AGREEMENT DATED           SCHOOX, INC.
2.1138 lease is for and the nature         10/01/2018                         3112 WINDSOR RD.
       of the debtor’s interest                                               #A108
                                                                              AUSTIN, TX 78703
           State the term remaining
           List the contract number of
           any government contract

                                           FIRST AMENDMENT TO AMENDED
       State what the contract or          AND RESTATED SERVICES              SCHOOX, INC.
2.1139 lease is for and the nature         AGREEMENT DATED 10/01/2019         6836 AUSTIN CENTER BLVD.
       of the debtor’s interest                                               AUSTIN, TX 78731

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           FIRST AMENDMENT TO SERVICES
       State what the contract or          AGREEMENT DATED 10/02/2017         SCHOOX, INC.
2.1140 lease is for and the nature                                            6836 AUSTIN CENTER BLVD.
       of the debtor’s interest                                               AUSTIN, TX 78731

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
       State what the contract or          11/02/2016                         SCHOOX, INC.
2.1141 lease is for and the nature                                            98 SAN JACINTO BLVD
       of the debtor’s interest                                               SUITE 421
                                                                              AUSTIN, TX 78701
           State the term remaining
           List the contract number of
           any government contract

                                           SECOND AMENDMENT TO
       State what the contract or          SERVICES AGREEMENT DATED           SCHOOX, INC.
2.1142 lease is for and the nature         03/19/2018                         6836 AUSTIN CENTER BLVD.
       of the debtor’s interest                                               AUSTIN, TX 78731

           State the term remaining
           List the contract number of
           any government contract

                                           ORDER FORM DATED 10/23/2023
       State what the contract or                                             SCHOOX, LLC
2.1143 lease is for and the nature                                            6836 AUSTIN CENTER BLVD.
       of the debtor’s interest                                               AUSTIN, TX 78731

           State the term remaining
           List the contract number of
           any government contract

                                           ORDER FORM DATED 11/28/2023
       State what the contract or                                             SCHOOX, LLC
2.1144 lease is for and the nature                                            6836 AUSTIN CENTER BLVD.
       of the debtor’s interest                                               AUSTIN, TX 78731

           State the term remaining
           List the contract number of
           any government contract

                                           LICENSE AGREEMENT
       State what the contract or                                             SCLOGIC
2.1145 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             SCOTT BARNETT & ASSOCIATES
2.1146 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SCOUT EXCHANGE LLC
2.1147 lease is for and the nature                                            ATTN SCOTT FINANCE
       of the debtor’s interest                                               105 CENTRAL ST STE 1100
                                                                              STONEHAM, MA 02180-1285
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             SCRIPPS NETWORKS
2.1148 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           FACILITIES SERVICE AGREEMENT
       State what the contract or          FOR RESTAURANT #0116 DATED         SEAHORSE AQUASCAPE
2.1149 lease is for and the nature         03/01/2005                         1851 BLACKHOOF CREEK ROAD
       of the debtor’s interest                                               WAOAKONETS, OH 45895

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SEAN GANNON
2.1150 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SEAONUS COLD STORAGE
2.1151 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             SEATTLE SHRIMP AND SEAFOOD COMPANY INC
2.1152 lease is for and the nature                                            14205 SE 36TH ST STE 214
       of the debtor’s interest                                               BELLEVUE, WA 98006-1574

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-5 STATEMENT OF
       State what the contract or          WORK DATED 07/13/2022              SECURITYMETRICS, INC.
2.1153 lease is for and the nature                                            1275 WEST 1600 NORTH
       of the debtor’s interest                                               OREM, UT

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           ATTACHMENT A-6 STATEMENT OF
       State what the contract or          WORK DATED 06/08/2021              SECURITYMETRICS, INC.
2.1154 lease is for and the nature                                            1275 WEST 1600 NORTH
       of the debtor’s interest                                               OREM, UT

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
       State what the contract or          10/06/2015                         SECURITYMETRICS, INC.
2.1155 lease is for and the nature                                            1275 WEST 1600 NORTH
       of the debtor’s interest                                               OREM, UT 84057

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-9 STATEMENT OF
       State what the contract or          WORK DATED 05/18/2023              SECURITYMETRICS, INC.
2.1156 lease is for and the nature                                            1275 WEST 1600 NORTH
       of the debtor’s interest                                               OREM, UT

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT TO IT SERVICES
       State what the contract or          AGREEMENT DATED 03/21/2018         SECURITYMETRICS, INC.
2.1157 lease is for and the nature                                            1275 WEST 1600 NORTH
       of the debtor’s interest                                               OREM, UT

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT TO IT SERVICES
       State what the contract or          AGREEMENT DATED 04/03/2019         SECURITYMETRICS, INC.
2.1158 lease is for and the nature                                            1275 WEST 1600 NORTH
       of the debtor’s interest                                               OREM, UT

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-4 STATEMENT OF
       State what the contract or          WORK DATED 08/11/2020              SECURITYMETRICS, INC.
2.1159 lease is for and the nature                                            1275 WEST 1600 NORTH
       of the debtor’s interest                                               OREM, UT

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-5 STATEMENT OF
       State what the contract or          WORK DATED 09/21/2020              SECURITYMETRICS, INC.
2.1160 lease is for and the nature                                            1275 WEST 1600 NORTH
       of the debtor’s interest                                               OREM, UT

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           ATTACHMENT A-7 STATEMENT OF
       State what the contract or          WORK DATED 06/08/2021              SECURITYMETRICS, INC.
2.1161 lease is for and the nature                                            1275 WEST 1600 NORTH
       of the debtor’s interest                                               OREM, UT

           State the term remaining
           List the contract number of
           any government contract

                                           PCI DSS ONSITE ASSESSMENT
       State what the contract or          STATEMENT OF WORK A-10 DATED       SECURITYMETRICS, INC.
2.1162 lease is for and the nature         05/18/2023                         1275 WEST 1600 NORTH
       of the debtor’s interest                                               OREM, UT

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             SECURITYSCORECARD
2.1163 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SELF OPPORTUNITY INC
2.1164 lease is for and the nature                                            PO BOX 292788
       of the debtor’s interest                                               LEWISVILLE, TX 75029

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
       State what the contract or          10/04/2018                         SELF OPPORTUNITY, INC.
2.1165 lease is for and the nature                                            808 OFFICE PARK CIRCLE
       of the debtor’s interest                                               LEWISVILLE, TX 75057

           State the term remaining
           List the contract number of
           any government contract

                                           FEE AGREEMENT UNKNOWN DATE
       State what the contract or                                             SELF OPPORTUNITY, INC.
2.1166 lease is for and the nature                                            808 OFFICE PARK CIR
       of the debtor’s interest                                               LEWISVILLE, TX 75057

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SENSE 360 INC
2.1167 lease is for and the nature                                            3710 S. ROBERTSON BLVD.
       of the debtor’s interest                                               SUITE 214
                                                                              CULVER CITY, CA 90232
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SENSORY SPECTRUM INC
2.1168 lease is for and the nature                                            554 CENTRAL AVE
       of the debtor’s interest                                               NEW PROVIDENCE, NJ 07974-1555

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
       State what the contract or          01/06/2023                         SENSORY SPECTRUM, INC
2.1169 lease is for and the nature                                            554 CENTRAL AVENUE
       of the debtor’s interest                                               NEW PROVIDENCE, NJ 07974

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SENTRY HOUSEHOLD SHIPPING INC
2.1170 lease is for and the nature                                            815 SOUTH MAIN STREET
       of the debtor’s interest                                               JACKSONVILLE, FL 32207

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SENYON STAFFING SERVICES INC
2.1171 lease is for and the nature                                            1208 BYRON NELSON PARKWAY
       of the debtor’s interest                                               SOUTHLAKE, TX 76092

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SERVICE MANAGEMENT GROUP INC
2.1172 lease is for and the nature                                            1737 MCGEE
       of the debtor’s interest                                               KANSAS CITY, MO 64108

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER ORDERING AGREEMENT
       State what the contract or          DATED 06/29/2015                   SERVICENOW, INC.
2.1173 lease is for and the nature                                            3260 JAY STREET
       of the debtor’s interest                                               SANTA CLARA, CA 95054

           State the term remaining
           List the contract number of
           any government contract

                                           ORDER FORM DATED 02/14/2017
       State what the contract or                                             SERVICENOW, INC.
2.1174 lease is for and the nature                                            2225 LAWSON LANE
       of the debtor’s interest                                               SANTA CLARA, CA 95054

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SUPPLY AGREEMENT
       State what the contract or                                             SGS NORTH AMERICA INC.
2.1175 lease is for and the nature                                            291 FAIRFIELD AVE.
       of the debtor’s interest                                               FAIRFIELD, NJ 07004

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SGS SOCIETE GENERALE DE SURVEILLANCE
2.1176 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             SHAWS LOCK SERVICE INC
2.1177 lease is for and the nature                                            DBA SHAWS COMPLETE SECURITY
       of the debtor’s interest                                               74 S WASHINGTON AVE
                                                                              BERGENFIELD, NJ 07621-2326
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SHB ANALYTICS LLC
2.1178 lease is for and the nature                                            150 HILLTOP AVE
       of the debtor’s interest                                               BARRINGTON, IL 60010-3402

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             SHERRIE TAN
2.1179 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             SHI INTERNATIONAL CORP.
2.1180 lease is for and the nature                                            290 DAVIDSON AVE.
       of the debtor’s interest                                               SOMERSET, NJ 8873

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
       State what the contract or                                             SHL US LLC
2.1181 lease is for and the nature                                            111 WASHINGTON AVENUE S
       of the debtor’s interest                                               SUITE 500
                                                                              MINNEAPOLIC, MN 55401
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
       State what the contract or                                             SHL US LLC
2.1182 lease is for and the nature                                            PO BOX 358152
       of the debtor’s interest                                               PITTSBURGH, PA 15251-5152

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             SIEENA DBA DEFINITY FIRST
2.1183 lease is for and the nature                                            600 B ST
       of the debtor’s interest                                               STE 300
                                                                              SAN DIEGO, CA 92101-4505
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             SIEGFRIED GROUP LLP
2.1184 lease is for and the nature                                            1201 N. MARKET STREET
       of the debtor’s interest                                               SUITE 700
                                                                              WILMINGTON, DE 19801
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SIERRA CEDAR LLC
2.1185 lease is for and the nature                                            DBA SIERRA CEDAR
       of the debtor’s interest                                               PO BOX 402521
                                                                              ATLANTA, GA 303842521
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             SIFT SCIENCE INC
2.1186 lease is for and the nature                                            525 MARKET STREET 6TH FLOOR
       of the debtor’s interest                                               SAN FRANCISCO, CA 94105-2714

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SIGN UP4 LLC
2.1187 lease is for and the nature                                            TWO SECURITIES CENTRE, 3500 PIEDMONT ROAD NE
       of the debtor’s interest                                               SUITE 625
                                                                              ATLANTA, GA 30305
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SIGNATURE COMMERCIAL SOLUTIONS, LLC D/B/A SIGNATURE
2.1188 lease is for and the nature                                            CONSULTANTS
       of the debtor’s interest                                               901 NORTH LAKE DESTINY DRIVE
                                                                              SUITE 185
           State the term remaining                                           MAITLAND, FL 32751

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SILLIKER INC
2.1189 lease is for and the nature                                            3155 PAYSPHERE CIRCLE
       of the debtor’s interest                                               CHICAGO, IL 60674

           State the term remaining
           List the contract number of
           any government contract

                                           ORDER FORM DATED 02/27/2022
       State what the contract or                                             SIMPLELEGAL, INC.
2.1190 lease is for and the nature                                            1360 POST OAK BLVD.
       of the debtor’s interest                                               SUITE 2200
                                                                              HOUSTON, TX 77056
           State the term remaining
           List the contract number of
           any government contract

                                           ORDER FORM AMENDMENT DATED
       State what the contract or          07/21/2023                         SIMPLELEGAL, INC.
2.1191 lease is for and the nature                                            1360 POST OAK BLVD.
       of the debtor’s interest                                               SUITE 2200
                                                                              HOUSTON, TX 77056
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICES AGREEMENT
       State what the contract or          DATED 02/25/2022                   SIMPLELEGAL, INC.
2.1192 lease is for and the nature                                            1360 POST OAK BLVD.
       of the debtor’s interest                                               SUITE 2200
                                                                              HOUSTON, TX 77056
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             SINGLEPLATFORM (SUCCESSOR TO CONSTANT CONTACT THEN
2.1193 lease is for and the nature                                            ACQUIRED BY TRIP ADVISOR)
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SINGULAR LABS INC
2.1194 lease is for and the nature                                            C/O ESCALON SERVICES
       of the debtor’s interest                                               2345 YALE STREET 1ST FLOOR
                                                                              PALO ALTO, CA 94306-1449
           State the term remaining
           List the contract number of
           any government contract

                                           LICENSE AGREEMENT
       State what the contract or                                             SKILLSOFT
2.1195 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             S-L SNACKS NATIONAL, LLC
2.1196 lease is for and the nature                                            13515 BALLANTYNE CORPORATE PLACE
       of the debtor’s interest                                               CHARLOTTE, NC 28277

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDED AND RESTATED SERVICE
       State what the contract or          AGREEMENT DATED 07/01/2019   SLADE GORTON & CO., INC
2.1197 lease is for and the nature                                      225 SOUTHAMPTON STREET
       of the debtor’s interest                                         BOSTON, MA 02118

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDED AND RESTATED SERVICE
       State what the contract or          AGREEMEN T DATED 07/01/2019  SLADE GORTON & CO., INC
2.1198 lease is for and the nature                                      225 SOUTHAMPTON STREET
       of the debtor’s interest                                         BOSTON, MA 02118

           State the term remaining
           List the contract number of
           any government contract

                                           SECOND AMENDED AND RESTATED
       State what the contract or          SERVICE AGREEMENT DATED     SLADE GORTON & CO., INC.
2.1199 lease is for and the nature         10/01/2022                  255 BEAR HILL RD.
       of the debtor’s interest                                        SUITE 401
                                                                       WALTHAM, MA 02451
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICE AGREEMENT DATED
       State what the contract or          12/31/1998                         SLADE GORTON & CO., INC
2.1200 lease is for and the nature                                            225 SOUTHHAMPTON STREET
       of the debtor’s interest                                               BOSTON, MA 02118-2724

           State the term remaining
           List the contract number of
           any government contract

                                           THIRD AMENDED AND RESTATED
       State what the contract or          SERVICE AGREEMENT DATED            SLADE GORTON & CO., INC
2.1201 lease is for and the nature         07/01/2023                         255 BEAR HILL RD
       of the debtor’s interest                                               SUITE 401
                                                                              WALTHAM, MA 02451
           State the term remaining
           List the contract number of
           any government contract

                                           THIRD AMENDED AND RESTATED
       State what the contract or          SERVICE AGREEMENT DATED            SLADE GORTON & CO., INC.
2.1202 lease is for and the nature         07/01/2023                         255 BEAR HILL RD
       of the debtor’s interest                                               SUITE 401
                                                                              WALTHAM, MA 02451
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           AUTHORIZED USE AGREEMENT
       State what the contract or          DATED 09/21/1998                   SLADE GORTON & COMPANY, INC.
2.1203 lease is for and the nature                                            255 BEAR HILL RD
       of the debtor’s interest                                               SUITE 401
                                                                              WALTHAM, MA 02451
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SLM WASTE & RECYCLING SERVICES INC
2.1204 lease is for and the nature                                            PO BOX 782678
       of the debtor’s interest                                               PHILADELPHIA, PA 19178-2678

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SNAGAJOB.COM INC
2.1205 lease is for and the nature                                            32978 COLLECTIONS CENTER DRIVE
       of the debtor’s interest                                               CHICAGO, IL 606930329

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
       State what the contract or          6/16/2020                          SNAGAJOB.COM,INC.
2.1206 lease is for and the nature                                            4851 LAKE BROOK DR
       of the debtor’s interest                                               GLEN ALLEN, VA 23060

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             SNOWFLAKE INC.
2.1207 lease is for and the nature                                            450 CONCAR DRIVE
       of the debtor’s interest                                               SAN MATEO, CA 94402

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SOC PRIME INC.
2.1208 lease is for and the nature                                            1201 ORANGE ST.
       of the debtor’s interest                                               SUITE 600
                                                                              WILMINGTON, DE 19899
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SOCIALYTE LLC
2.1209 lease is for and the nature                                            90 STATE STREET
       of the debtor’s interest                                               SUITE 700
                                                                              OFFICE 40
           State the term remaining                                           ALBANY, NY 12207

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SOCRATIC TECHNOLOGIES INC
2.1210 lease is for and the nature                                            18 SHORELINE DR
       of the debtor’s interest                                               STRATFORD, CT 06615-7704

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
       State what the contract or          01/12/2022                         SOCRATIC TECHNOLOGIES, INC.
2.1211 lease is for and the nature                                            245 N. MAIN STREET
       of the debtor’s interest                                               SEBASTOPOL, CA 95472

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SOFTCHOICE CORPORATION
2.1212 lease is for and the nature                                            314 W. SUPERIOR
       of the debtor’s interest                                               SUITE 400
                                                                              CHICAGO, IL 60654
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SOFTGEN TECHNOLOGIES LLC
2.1213 lease is for and the nature                                            11520 DELWICK DRIVE
       of the debtor’s interest                                               WINDERMERE, FL 34786

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT TO CONTRACT
       State what the contract or          DOCUMENTS DATED 11/01/2017         SOFTWAREONE, INC.
2.1214 lease is for and the nature                                            20875 CROSSROADS CIRCLE
       of the debtor’s interest                                               SUITE 1
                                                                              WAUKESHA, WI 53186-4093
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SOMOROFF STUDIOS, INC.
2.1215 lease is for and the nature                                            888 NEWARK AVENUE
       of the debtor’s interest                                               SUITE 1200
                                                                              JERSEY CITY, NJ 07306
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             SOUNDHOUND, INC.
2.1216 lease is for and the nature                                            5400 BETSY ROSS DRIVE
       of the debtor’s interest                                               SANTA CLARA, CA 95054

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
       State what the contract or                                             SOUTHWEST AIRLINES CO.
2.1217 lease is for and the nature                                            2702 LOVE FIELD DRIVE
       of the debtor’s interest                                               DALLAS, TX 75235

           State the term remaining
           List the contract number of
           any government contract

                                           SUBSCRIBER'S AGREEMENT DATED
       State what the contract or          02/01/2024                   SOUTHWEST AIRLINES CO.,
2.1218 lease is for and the nature                                      2702 LOVE FIELD DRIVE
       of the debtor’s interest                                         DALLAS, TX 75235-1611

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             SPLASH BUSINESS INTELLIGENCE INC.
2.1219 lease is for and the nature                                            3067 PEACHTREE INDUSTRIAL BLVD
       of the debtor’s interest                                               DULUTH, GA 30097

           State the term remaining
           List the contract number of
           any government contract

                                           LICENSE ORDER FORM (LOF) NO. 3
       State what the contract or          DATED 04/30/2019                   SPRINKLR INC.
2.1220 lease is for and the nature                                            29 W. 35TH STREET
       of the debtor’s interest                                               7TH FLOOR
                                                                              NEW YORK, NY 10001
           State the term remaining
           List the contract number of
           any government contract

                                           LICENSE ORDER FORM NO. 4
       State what the contract or          DATED 06/01/2020                   SPRINKLR INC.
2.1221 lease is for and the nature                                            29 W. 35TH STREET
       of the debtor’s interest                                               7TH FLOOR
                                                                              NEW YORK, NY 10001
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICES AGREEMENT
       State what the contract or          DATED 03/17/2017                   SPRINKLR, INC.
2.1222 lease is for and the nature                                            29 W. 35TH STREET
       of the debtor’s interest                                               7TH FLOOR
                                                                              NEW YORK, NY 10001
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICES AGREEMENT
       State what the contract or          DATED 03/24/2017                   SPRINKLR, INC.
2.1223 lease is for and the nature                                            29 W. 35TH STREET
       of the debtor’s interest                                               7TH FLOOR
                                                                              NEW YORK, NY 10001
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           ORDER FORM DATED 06/01/2022
       State what the contract or                                             SPRINKLR, INC.
2.1224 lease is for and the nature                                            29 W. 35TH STREET
       of the debtor’s interest                                               7TH FLOOR
                                                                              NEW YORK, NY 10001
           State the term remaining
           List the contract number of
           any government contract

                                           STATEMENT OF WORK (SOW) NO. 3
       State what the contract or          DATED 04/19/2019              SPRINKLR, INC.
2.1225 lease is for and the nature                                       29 W. 35TH STREET
       of the debtor’s interest                                          NEW YORK, NY 10001

           State the term remaining
           List the contract number of
           any government contract

                                           STATEMENT OF WORK (SOW) NO. 4
       State what the contract or          DATED 04/30/2019              SPRINKLR, INC.
2.1226 lease is for and the nature                                       29 W. 35TH STREET
       of the debtor’s interest                                          7TH FLOOR
                                                                         NEW YORK, NY 10001
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or          DATED 03/24/2017                   SPRINKLR, INC.
2.1227 lease is for and the nature                                            29 W, 35TH STREET
       of the debtor’s interest                                               NEW YORK, NY 10001

           State the term remaining
           List the contract number of
           any government contract

                                           STATEMENT OF WORK (SOW)
       State what the contract or          DATED 05/24/2018                   SPRINKLR. INC.
2.1228 lease is for and the nature                                            29 W. 35TH STREET
       of the debtor’s interest                                               NEW YORK, NY 10001

           State the term remaining
           List the contract number of
           any government contract

                                           LICENSE ORDER FORM (LOF)
       State what the contract or          DATED 05/24/2018                   SPRINKLR. INC.
2.1229 lease is for and the nature                                            29 W. 35TH STREET
       of the debtor’s interest                                               7TH FLOOR
                                                                              NEW YORK, NY 10001
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SPRINT SOLUTIONS, INC.
2.1230 lease is for and the nature                                            6391 SPRINT PARKWAY
       of the debtor’s interest                                               OVERLAND PARK, KS 66251-2525

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SRINIVAS AMUDA
2.1231 lease is for and the nature                                            DBA SIRI TECHNOLOGIES LLC
       of the debtor’s interest                                               4424 INDIAN DEER ROAD
                                                                              WINDERMERE, FL 34786
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             STACY KORMYLO
2.1232 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             STARCOM MEDIAVEST GROUP (DBA SPARK) (AGENCY)
2.1233 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           INSURANCE POLICY (PROPERTY)
       State what the contract or          POLICY NUMBER U87784230CSP         STARSTONE SPECIALTY INSURANCE COMPANY
2.1234 lease is for and the nature                                            AMWINS INSURANCE BROKERAGE LLC
       of the debtor’s interest                                               105 FIELDCREST AVENUE
                                                                              SUITE 200
           State the term remaining                                           EDISON, NJ 08837

           List the contract number of
           any government contract

                                           LICENSE AGREEMENT
       State what the contract or                                             STATEN ISLAND SOCIAL CLUB (SISC) INC.
2.1235 lease is for and the nature                                            1050 HOLCOMB BRIDGE RD.
       of the debtor’s interest                                               ROSWELL, GA 30076

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             STATISTA INC
2.1236 lease is for and the nature                                            55 BROAD ST 30TH FLOOR
       of the debtor’s interest                                               NEW YORK, NY 10004-2590

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             STEFAN JOHNSON
2.1237 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             STELLAR DIGITAL MARKETING, LLC
2.1238 lease is for and the nature                                            4841 BELINDER COURT
       of the debtor’s interest                                               WESTWOOD, KS

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             STEPHANIE KRYSTAL NICOLA
2.1239 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             STERLING VENTURES
2.1240 lease is for and the nature                                            114 W. MAIN STREET
       of the debtor’s interest                                               STE. C
                                                                              NORMAN, OK 73069
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             STETON TECHNOLOGY GROUP INC
2.1241 lease is for and the nature                                            DEPT CH 19888
       of the debtor’s interest                                               PALATINE, IL 600559888

           State the term remaining
           List the contract number of
           any government contract

                                           THIRD AMENDMENT DATED
       State what the contract or          07/23/2019                         STORMGEO, INC
2.1242 lease is for and the nature                                            DEPT 3728
       of the debtor’s interest                                               PO BOX 123728
                                                                              DALLAS, TX 75312-3728
           State the term remaining
           List the contract number of
           any government contract

                                           FOURTH AMENDMENT DATED
       State what the contract or          07/23/2021                         STORMGEO, INC
2.1243 lease is for and the nature                                            DEPT 3728
       of the debtor’s interest                                               PO BOX 123728
                                                                              DALLAS, TX 75312-3728
           State the term remaining
           List the contract number of
           any government contract

                                           SECOND AMENDMENT DATED
       State what the contract or          06/07/2017                         STORMGEO, INC,
2.1244 lease is for and the nature                                            DEPT 3728
       of the debtor’s interest                                               PO BOX 123728
                                                                              DALLAS, TX 75312-3728
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           FOURTH AMENDMENT TO MASTER
       State what the contract or          SERVICES AGREEMENT NUMBER          STORMGEO, INC.
2.1245 lease is for and the nature         20140624-24534 DATED 07/23/2021    DEPT 3728
       of the debtor’s interest                                               PO BOX 123728
                                                                              DALLAS, TX 75312-3728
           State the term remaining
           List the contract number of
           any government contract

                                           SECOND AMENDMENT DATED
       State what the contract or          06/07/2017                         STORMGEO, INC.
2.1246 lease is for and the nature                                            DEPT 3728
       of the debtor’s interest                                               PO BOX 123728
                                                                              DALLAS, TX 75312-3728
           State the term remaining
           List the contract number of
           any government contract

                                           FIFTH AMENDMENT DATED
       State what the contract or          06/07/2023                         STORMGEO, INC.
2.1247 lease is for and the nature                                            DEPT 3728
       of the debtor’s interest                                               PO BOX 123728
                                                                              DALLAS, TX 75312-3728
           State the term remaining
           List the contract number of
           any government contract

                                           FIRST AMENDMENT DATED
       State what the contract or          06/17/2015                         STORMGEO, INC. (FORMERLY IMPACTWEATHER, INC)
2.1248 lease is for and the nature                                            DEPT 3728
       of the debtor’s interest                                               PO BOX 123728
                                                                              DALLAS, TX 75312-3728
           State the term remaining
           List the contract number of
           any government contract

                                           FIRST AMENDMENT DATED
       State what the contract or          06/17/2015                         STORMGEO, INC. [FORMERLY IMPACTWEATHER, INC.]
2.1249 lease is for and the nature                                            DEPT 3728
       of the debtor’s interest                                               PO BOX 123728
                                                                              DALLAS, TX 75312-3728
           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-3: STATEMENT OF
       State what the contract or          WORK DATED 01/31/2018              STRATEGIC SOLUTIONS, INC.
2.1250 lease is for and the nature                                            122 W 22ND STREET
       of the debtor’s interest                                               OAK BROOK, IL 60523

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICES AGREEMENT
       State what the contract or          DATED 08/15/2023                   STRATEGIC SOLUTIONS, INC
2.1251 lease is for and the nature                                            122 W. 22ND STREET
       of the debtor’s interest                                               OAK BROOK, IL 60523

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MANAGED I.T. SERVICES
       State what the contract or          STATEMENT OF WORK NO. 1 DATED STRATEGIC SOLUTIONS, INC.
2.1252 lease is for and the nature         08/21/2023                    122 W22ND ST
       of the debtor’s interest                                          OAK BROOK, IL 60523

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-2: STATEMENT OF
       State what the contract or          WORK DATED 01/18/2018              STRATEGIC SOLUTIONS, INC.
2.1253 lease is for and the nature                                            122 W 22ND STREET
       of the debtor’s interest                                               OAK BROOK, IL 60523

           State the term remaining
           List the contract number of
           any government contract

                                           IT SERVICES AGREEMENT DATED
       State what the contract or          04/12/2016                         STRATEGIC SOLUTIONS, INC.
2.1254 lease is for and the nature                                            231 S FRONTAGE RD
       of the debtor’s interest                                               SUITE 1
                                                                              BURR RIDGE, IL 60527-6164
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             STRIDE HEALTH INC.
2.1255 lease is for and the nature                                            501 2ND STREET
       of the debtor’s interest                                               SAN FRANCISCO, CA 94107

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             STUDIO PECK
2.1256 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             SUMMERDALE PRODUCTIONS (FABLIFE)
2.1257 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             SUNFIRE COMMUNICATIONS INC.
2.1258 lease is for and the nature                                            7751 KINGSPOINTE PARKWAY
       of the debtor’s interest                                               SUITE 105
                                                                              ORLANDO, FL 32819
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SUPPLY AGREEMENT
       State what the contract or                                             SUPPLY CHAIN SERVICES, LLC
2.1259 lease is for and the nature                                            5200 BLUE LAGOON DR
       of the debtor’s interest                                               SUITE 300
                                                                              MIAMI, FL 33126
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SUSTAINABILITY INC.
2.1260 lease is for and the nature                                            155 WATER STREET
       of the debtor’s interest                                               BROOKLYN, NY 11201

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SUZANNE CONSIGLIO
2.1261 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           INSURANCE POLICY (PROPERTY)
       State what the contract or          POLICY NUMBER NAP 2005752-00       SWISS RE CORPORATE SOLUTIONS ELITE INSURANCE
2.1262 lease is for and the nature                                            CORPORATION
       of the debtor’s interest                                               1200 MAIN STREET
                                                                              SUITE 800
           State the term remaining                                           KANSAS CITY, MO 64105

           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SWOON GROUP
2.1263 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             SYMPHONY CORPORATE HOUSE SDN BHD
2.1264 lease is for and the nature                                            LEVEL 8, SYMPHONY HOUSE, BLOCK D13
       of the debtor’s interest                                               PUSAT DAGANGAN DANA 1
                                                                              JALAN PJU 1A/46
           State the term remaining                                           PETALING JAYA
                                                                              SELANGOR, 47301
           List the contract number of                                        MALAYSIA
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             SYNERGY INTERACTIVE
2.1265 lease is for and the nature                                            121 S ORANGE AVE.
       of the debtor’s interest                                               SUITE 850
                                                                              ORLANDO, FL 32801
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SYNQ3 RESTAURANT SOLUTIONS LLC
2.1266 lease is for and the nature                                            5061 N 30TH ST STE 103
       of the debtor’s interest                                               COLORADO SPRINGS, CO 80919-3248

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             SYSTEM ONE HOLDINGS LLC
2.1267 lease is for and the nature                                            PO BOX 644722
       of the debtor’s interest                                               PITTSBURGH, PA 15264-4722

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             TABLETOP MEDIA, LLC
2.1268 lease is for and the nature                                            12404 PARK CENTRAL
       of the debtor’s interest                                               SUITE 350
                                                                              DALLAS, TX 75251
           State the term remaining
           List the contract number of
           any government contract

                                           STATEMENT OF WORK #001 DATED
       State what the contract or          03/14/2018                         TALENTREEF, INC.
2.1269 lease is for and the nature                                            210 UNIVERSITY BLVD.
       of the debtor’s interest                                               SUITE 300
                                                                              DENVER, CO 80206
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SUBSCRIPTION SERVICES
       State what the contract or          AGREEMENT DATED 12/21/2017   TALENTREEF, INC.
2.1270 lease is for and the nature                                      210 UNIVERSITY BLVD.
       of the debtor’s interest                                         SUITE 300
                                                                        DENVER, CO 80206
           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT TO THE UNIVERSAL
       State what the contract or          SERVICE AGREEMENT DATED            TALK CORPORATION
2.1271 lease is for and the nature         05/11/2019                         11432 LACKLAND ROAD
       of the debtor’s interest                                               ST. LOUIS, MO 63146

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICES AGREEMENT
       State what the contract or          DATED 03/26/1997 PLUS              TALON-BUNTIN AMERICA
2.1272 lease is for and the nature         AMENDMENTS                         230 WILLOW ST.
       of the debtor’s interest                                               NASHVILLE, TN 37210

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           UNIVERSAL SERVICE AGREEMENT
       State what the contract or          DATED 07/01/2014                   TALX CORPORATION
2.1273 lease is for and the nature                                            11432 LACKLAND ROAD
       of the debtor’s interest                                               ST. LOUIS, MO 63146

           State the term remaining
           List the contract number of
           any government contract

                                           SCHEDULE A - COMPLIANCE
       State what the contract or          CENTER SERVICE DATED 01/01/2016 TALX CORPORATION
2.1274 lease is for and the nature                                         11432 LACKLAND ROAD
       of the debtor’s interest                                            ST. LOUIS, MO 63146

           State the term remaining
           List the contract number of
           any government contract

                                           SCHEDULE A - COMPLIANCE
       State what the contract or          CENTER SERVICE DATED 06/01/2014 TALX CORPORATION
2.1275 lease is for and the nature                                         11432 LACKLAND ROAD
       of the debtor’s interest                                            ST. LOUIS, MO 63146

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             TAMARI CONSULTING GROUP, LLC
2.1276 lease is for and the nature                                            2637 STANMORE CT.
       of the debtor’s interest                                               ORLANDO, FL 32817

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             TANIUM INC.
2.1277 lease is for and the nature                                            2200 POWELL STREET
       of the debtor’s interest                                               SUITE 500
                                                                              EMERYVILLE, CA 94608
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             TAYLOR CORPORATION
2.1278 lease is for and the nature                                            DBA TRAVEL TAGS INC
       of the debtor’s interest                                               CARD FULFILLMENT SERVICES
                                                                              PO BOX 1450
           State the term remaining                                           MINNEAPOLIS, MN 55485-1450

           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             TCI ACQUISITION CORPORATION
2.1279 lease is for and the nature                                            DBA TAX COMPLIANCE INC
       of the debtor’s interest                                               13500 EVENING CREEK DR N STE 500
                                                                              SAN DIEGO, CA 92128-8125
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           ATTACHMENT A-3: STATEMENT OF
       State what the contract or          WORK DATED 05/31/2020              TDN2K, INC. DBA BLACK BOX INTELLIGENCE
2.1280 lease is for and the nature                                            14785 PRESTON ROAD
       of the debtor’s interest                                               SUITE 290
                                                                              DALLAS, TX 75254
           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-4: STATEMENT OF
       State what the contract or          WORK DATED 11/01/2020              TDN2K, INC. DBA BLACK BOX INTELLIGENCE
2.1281 lease is for and the nature                                            14785 PRESTON ROAD
       of the debtor’s interest                                               SUITE 290
                                                                              DALLAS, TX 75254
           State the term remaining
           List the contract number of
           any government contract

                                           PEOPLE REPORT MEMBERSHIP
       State what the contract or          SERVICE AGREEMENT DATED            TDN2K, LLC
2.1282 lease is for and the nature         07/25/2014                         14785 PRESTON ROAD
       of the debtor’s interest                                               SUITE 290
                                                                              DALLAS, TX 75254
           State the term remaining
           List the contract number of
           any government contract

                                           MEMBERSHIP SERVICE
       State what the contract or          AGREEMENT DATED 09/19/2014         TDN2K, LLC
2.1283 lease is for and the nature                                            14785 PRESTON ROAD
       of the debtor’s interest                                               SUITE 290
                                                                              DALLAS, TX 75254
           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-12: STATEMENT OF
       State what the contract or          WORK DATED 05/01/2022              TDN2K, LLC DBA BLACK BOX INTELLIGENCE
2.1284 lease is for and the nature                                            14785 PRESTON ROAD
       of the debtor’s interest                                               SUITE 290
                                                                              DALLAS, TX 75254
           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-11: STATEMENT OF
       State what the contract or          WORK DATED 05/01/2022              TDN2K, LLC DBA BLACK BOX INTELLIGENCE
2.1285 lease is for and the nature                                            14785 PRESTON ROAD
       of the debtor’s interest                                               SUITE 290
                                                                              DALLAS, TX 75254
           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-13: STATEMENT OF
       State what the contract or          WORK DATED 01/01/2023              TDN2K, LLC DBA BLACK BOX INTELLIGENCE
2.1286 lease is for and the nature                                            14785 PRESTON ROAD
       of the debtor’s interest                                               SUITE 290
                                                                              DALLAS, TX 75254
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           FIRST AMENDMENT TO SERVICES
       State what the contract or          AGREEMENT DATED 05/25/2021         TDN2K, LLC DBA BLACK BOX INTELLIGENCE
2.1287 lease is for and the nature                                            14785 PRESTON ROAD
       of the debtor’s interest                                               SUITE 290
                                                                              DALLAS, TX 75254
           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-17: STATEMENT OF
       State what the contract or          WORK DATED 01/01/2024              TDN2K, LLC DBA BLACK BOX INTELLIGENCE
2.1288 lease is for and the nature                                            14785 PRESTON ROAD
       of the debtor’s interest                                               SUITE 290
                                                                              DALLAS, TX 75254
           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-16: STATEMENT OF
       State what the contract or          WORK DATED 08/01/2023              TDN2K, LLC DBA BLACK BOX INTELLIGENCE
2.1289 lease is for and the nature                                            14785 PRESTON ROAD
       of the debtor’s interest                                               SUITE 290
                                                                              DALLAS, TX 75254
           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-7: STATEMENT OF
       State what the contract or          WORK DATED 09/22/2021              TDN2K, LLC DBA BLACK BOX INTELLIGENCE
2.1290 lease is for and the nature                                            14785 PRESTON ROAD
       of the debtor’s interest                                               SUITE 290
                                                                              DALLAS, TX 75254
           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-10: STATEMENT OF
       State what the contract or          WORK DATED 02/01/2022              TDN2K, LLC DBA BLACK BOX INTELLIGENCE
2.1291 lease is for and the nature                                            14785 PRESTON ROAD
       of the debtor’s interest                                               SUITE 290
                                                                              DALLAS, TX 75254
           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-5: STATEMENT OF
       State what the contract or          WORK DATED 04/30/2021              TDN2K, LLC DBA BLACK BOX INTELLIGENCE
2.1292 lease is for and the nature                                            14785 PRESTON ROAD
       of the debtor’s interest                                               SUITE 290
                                                                              DALLAS, TX 75254
           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-15: STATEMENT OF
       State what the contract or          WORK DATED 06/01/2023              TDN2K, LLC DBA BLACK BOX INTELLIGENCE
2.1293 lease is for and the nature                                            14785 PRESTON ROAD
       of the debtor’s interest                                               SUITE 290
                                                                              DALLAS, TX 75254
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           ATTACHMENT A-9: STATEMENT OF
       State what the contract or          WORK DATED 10/26/2021              TDN2K, LLC DBA BLACK BOX INTELLIGENCE
2.1294 lease is for and the nature                                            14785 PRESTON ROAD
       of the debtor’s interest                                               SUITE 290
                                                                              DALLAS, TX 75254
           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-8: STATEMENT OF
       State what the contract or          WORK DATED 09/30/2021              TDN2K, LLC DBA BLACK BOX INTELLIGENCE
2.1295 lease is for and the nature                                            14785 PRESTON ROAD
       of the debtor’s interest                                               SUITE 290
                                                                              DALLAS, TX 75254
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             TEAMCENTRIC TECHNOLOGIES LLC
2.1296 lease is for and the nature                                            41 S OLD ORCHARD
       of the debtor’s interest                                               SUITE B
                                                                              ST LOUIS, MO 631193202
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             TECHNOMIC INC
2.1297 lease is for and the nature                                            DBA TECHNOMIC INFORMATION SVCS
       of the debtor’s interest                                               300 SOUTH RIVERSIDE PLAZA
                                                                              SUITE 1200
           State the term remaining                                           CHICAGO, IL 60606

           List the contract number of
           any government contract

                                           ATTACHMENT A-10 STAFF
       State what the contract or          AUGMENTATION: STATEMENT OF         TEKSYSTEMS INC
2.1298 lease is for and the nature         WORK DATED 10/20/2015              P.O. BOX 198568
       of the debtor’s interest                                               ATLANTA, GA 30384

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-5 STAFF
       State what the contract or          AUGMENTATION: STATEMENT OF         TEKSYSTEMS, INC
2.1299 lease is for and the nature         WORK DATED 05/15/2015              PO BOX 198568
       of the debtor’s interest                                               ATLANTA, GA 30384

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-15: STATEMENT OF
       State what the contract or          WORK DATED 10/20/2021              TEKSYSTEMS, INC
2.1300 lease is for and the nature                                            7437 RACE RD
       of the debtor’s interest                                               HANOVER, MD 21076

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           ATTACHMENT A-13 : STATEMENT OF
       State what the contract or          WORK DATED 03/22/2017          TEKSYSTEMS, INC
2.1301 lease is for and the nature                                        P.O. BOX 198568
       of the debtor’s interest                                           ATLANTA, GA 30384-8568

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-12 : STATEMENT OF
       State what the contract or          WORK DATED 09/18/2016          TEKSYSTEMS, INC
2.1302 lease is for and the nature                                        P.O. BOX 198568
       of the debtor’s interest                                           ATLANTA, GA 30384-8568

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-16: STATEMENT OF
       State what the contract or          WORK DATED 10/20/2021              TEKSYSTEMS, INC
2.1303 lease is for and the nature                                            7437 RACE RD.
       of the debtor’s interest                                               HANOVER, MD 21076

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-LL STAFF
       State what the contract or          AUGMENTATION: STATEMENT OF         TEKSYSTEMS, INC
2.1304 lease is for and the nature         WORK DATED 11/23/2015              P.O. BOX 198568
       of the debtor’s interest                                               ATLANTA, GA 30384

           State the term remaining
           List the contract number of
           any government contract

                                           STATEMENT OF WORK DATED
       State what the contract or          02/02/2018                         TEKSYSTEMS, INC
2.1305 lease is for and the nature                                            P.O. BOX 198568
       of the debtor’s interest                                               ATLANTA, GA 30384-8568

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-17: STATEMENT OF
       State what the contract or          WORK DATED 10/28/2021              TEKSYSTEMS, INC.
2.1306 lease is for and the nature                                            7437 RACE RD.
       of the debtor’s interest                                               HANOVER, MD 21076

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-7 STAFF
       State what the contract or          AUGMENTATION: STATEMENT OF         TEKSYSTEMS, INC.
2.1307 lease is for and the nature         WORK DATED 09/02/2015              P.O. BOX 198568
       of the debtor’s interest                                               ATLANTA, GA 30384

           State the term remaining
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           ATTACHMENT A-9 STAFF
       State what the contract or          AUGMENTATION: STATEMENT OF         TEKSYSTEMS, INC.
2.1308 lease is for and the nature         WORK DATED 09/02/2015              P.O. BOX 198568
       of the debtor’s interest                                               ATLANTA, GA 30384

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-8 STAFF
       State what the contract or          AUGMENTATION: STATEMENT OF         TEKSYSTEMS, INC.
2.1309 lease is for and the nature         WORK DATED 08/20/2015              P.O. BOX 198568
       of the debtor’s interest                                               ATLANTA, GA 30384

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             TENFOLD LLC
2.1310 lease is for and the nature                                            797 N WALL ST STE 200
       of the debtor’s interest                                               COLUMBUS, OH 43215-2963

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             TERVIS TUMBLER COMPANY
2.1311 lease is for and the nature                                            201 TRIPLE DIAMOND BLVD.
       of the debtor’s interest                                               NORTH VENICE, FL 34275

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             TESTPLANT INC
2.1312 lease is for and the nature                                            DEPT LA 24345
       of the debtor’s interest                                               PASADENA, CA 91185-4345

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             TETRAD COMPUTER APPLICATIONS INC.
2.1313 lease is for and the nature                                            1788 W, 5TH AVE.
       of the debtor’s interest                                               SUITE 318
                                                                              VANCOUVER, BC V6J 1P2
           State the term remaining                                           CANADA

           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
       State what the contract or          03/26/2015                         TEWS COMPANY
2.1314 lease is for and the nature                                            1000 LEGION PLACE
       of the debtor’s interest                                               SUITE #730
                                                                              ORLANDO, FL 32801
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           STATEMENT OF WORK A-5 – SR.
       State what the contract or          SOFTWARE ENGINEER BI DATED         TEWS CONSULTING, INC., DBA TEWS COMPANY
2.1315 lease is for and the nature         09/06/2023                         1000 LEGION PLACE
       of the debtor’s interest                                               SUITE #730
                                                                              ORLANDO, FL 32801
           State the term remaining
           List the contract number of
           any government contract

                                           STATEMENT OF WORK A-3 –
       State what the contract or          CONTRACT TO HIRE SR. SYSTEMS TEWS CONSULTING, INC., DBA TEWS COMPANY
2.1316 lease is for and the nature         ENGINEER, ETL DATA MANAGEMENT 1000 LEGION PLACE
       of the debtor’s interest            DATED 12/02/2022              SUITE #730
                                                                         ORLANDO, FL 32801
           State the term remaining
           List the contract number of
           any government contract

                                           STATEMENT OF WORK A-4 –
       State what the contract or          CONTRACT FOR SHAREPOINT            TEWS CONSULTING, INC., DBA TEWS COMPANY
2.1317 lease is for and the nature         DEVELOPER DATED 06/06/2023         1000 LEGION PLACE
       of the debtor’s interest                                               SUITE #730
                                                                              ORLANDO, FL 32801
           State the term remaining
           List the contract number of
           any government contract

                                           SUPPLY AGREEMENT
       State what the contract or                                             THAI UNION GROUP PCL
2.1318 lease is for and the nature                                            72/1 MOO 7 SETHAKIT 1 ROAD
       of the debtor’s interest                                               TARSRAI SUBDISTRICT
                                                                              SAMUT SAKHON DISTRICT
           State the term remaining                                           SAMUT SAKHON PROVINCE, 74000
                                                                              THAILAND
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
       State what the contract or          10/4/2018                          THE ALEXZANDER GROUP
2.1319 lease is for and the nature                                            3946 OLD DUNN ROAD
       of the debtor’s interest                                               APOPKA, FL 32712

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             THE COLEMAX GROUP LLC
2.1320 lease is for and the nature                                            PO BOX 103
       of the debtor’s interest                                               GLEN ROCK, NJ 07452-0103

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             THE COMEDIAN COMPANY
2.1321 lease is for and the nature                                            P.O. BOX 6427
       of the debtor’s interest                                               SAGINAW, MI 48608

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             THE COMTEK GROUP LLC
2.1322 lease is for and the nature                                            1595 N. CENTRAL EXPRESSWAY
       of the debtor’s interest                                               RICHARDSON, TX 75080

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             THE CULINARY EDGE INC
2.1323 lease is for and the nature                                            75 OAK GROVE ST
       of the debtor’s interest                                               SAN FRANCISCO, CA 94107-1018

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             THE DIGITAL ACCESSIBILITY CENTRE LTD
2.1324 lease is for and the nature                                            SUITE 18 LLAN COED HOUSE
       of the debtor’s interest                                               DARCY BUSINESS PARK
                                                                              LLANDARCY, SA10 6FG
           State the term remaining                                           UNITED KINGDOM

           List the contract number of
           any government contract

                                           SERVICE AND MANAGEMENT
       State what the contract or          AGREEMENT                          THE ECOLOGY GROUP/INC.
2.1325 lease is for and the nature                                            2939 KENNY ROAD
       of the debtor’s interest                                               SUITE 255
                                                                              COLUMBUS, OH 43221
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             THE HERRING IMPACT GROUP LLC
2.1326 lease is for and the nature                                            DBA IMPACT GROUP LLC
       of the debtor’s interest                                               12977 NORTH OUTER 40 DRIVE
                                                                              SUITE 300
           State the term remaining                                           ST LOUIS, MO 63141-8656

           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             THE JAY GROUP INC.
2.1327 lease is for and the nature                                            444 N. WELLS ST
       of the debtor’s interest                                               SUITE 304
                                                                              CHICAGO, IL 60654
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             THE LINCOLN NATIONAL LIFE INSURANCE COMPANY
2.1328 lease is for and the nature                                            8801 INDIAN HILLS DRIVE
       of the debtor’s interest                                               OMAHA, NE 68114

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             THE LOBSTER GUYS SW LLC
2.1329 lease is for and the nature                                            6336 ENCHANTED CREEK PL
       of the debtor’s interest                                               LAS VEGAS, NV 89122-3643

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             THE NPD GROUP LP
2.1330 lease is for and the nature                                            24619 NETWORK PLACE
       of the debtor’s interest                                               CHICAGO, IL 606731246

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
       State what the contract or          07/16/2014 PLUS AMENDMENTS         THE NPD GROUP, INC.
2.1331 lease is for and the nature                                            900 WEST SHORE ROAD
       of the debtor’s interest                                               PORT WASHINGTON, NY 11050

           State the term remaining
           List the contract number of
           any government contract

                                           INSURANCE POLICY (SECOND
       State what the contract or          EXCESS LIABILITY) POLICY NUMBER THE OHIO CASUALTY INSURANCE COMPANY
2.1332 lease is for and the nature         ECO(23) 59038503                175 BERKELEY STREET
       of the debtor’s interest                                            BOSTON, MA 02116

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             THE SUDDATH COMPANIES
2.1333 lease is for and the nature                                            SUDDATH RELOCATION SYSTEM OF ORLANDO INC
       of the debtor’s interest                                               815 S MAIN ST STE 444
                                                                              JACKSONVILLE, FL 32207-9050
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             THE TRAVELERS INDEMNITY COMPANY
2.1334 lease is for and the nature                                            ONE TOWER SQUARE
       of the debtor’s interest                                               HARTFORD, CT 06183

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-7: STATEMENT OF
       State what the contract or          WORK DATED 08/01/2022              THELAB, LLC
2.1335 lease is for and the nature                                            175 PEARL STREET
       of the debtor’s interest                                               BROOKLYN, NY 11201

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           ATTACHMENT A-5: STATEMENT OF
       State what the contract or          WORK DATED 12/01/2021              THELAB, LLC
2.1336 lease is for and the nature                                            175 PEARL STREET
       of the debtor’s interest                                               BROOKLYN, NY 11201

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 1 TO ATTACHMENT
       State what the contract or          A-3 DATED 04/01/2020          THELAB, LLC
2.1337 lease is for and the nature                                       175 PEARL STREET
       of the debtor’s interest                                          BROOKLYN, NY 11201

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-4: STATEMENT OF
       State what the contract or          WORK DATED 11/01/2020              THELAB, LLC
2.1338 lease is for and the nature                                            175 PEARL STREET
       of the debtor’s interest                                               BROOKLYN, NY 11201

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-10: STATEMENT OF
       State what the contract or          WORK DATED 08/01/2023              THELAB, LLC
2.1339 lease is for and the nature                                            175 PEARL STREET
       of the debtor’s interest                                               BROOKLYN, NY 11201

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-6 STATEMENT OF
       State what the contract or          WORK DATED 07/15/2022              THELAB, LLC
2.1340 lease is for and the nature                                            175 PEARL STREET
       of the debtor’s interest                                               BROOKLYN, NY 11201

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-2: STATEMENT OF
       State what the contract or          WORK DATED 06/22/2018              THELAB, LLC
2.1341 lease is for and the nature                                            175 PEARL STREET
       of the debtor’s interest                                               BROOKLYN, NY 11201

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
       State what the contract or          09/01/2017                         THELAB, LLC
2.1342 lease is for and the nature                                            637 WEST 27TH STREET
       of the debtor’s interest                                               8TH FLOOR
                                                                              NEW YORK, NY 10001
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           ATTACHMENT A-8: STATEMENT OF
       State what the contract or          WORK DATED 08/01/2022              THELAB, LLC
2.1343 lease is for and the nature                                            175 PEARL STREET
       of the debtor’s interest                                               BROOKLYN, NY 11201

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-9: STATEMENT OF
       State what the contract or          WORK DATED 08/01/2023              THELAB, LLC
2.1344 lease is for and the nature                                            175 PEARL STREET
       of the debtor’s interest                                               BROOKLYN, NY 11201

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             THREE TREES STUDIOS LLC
2.1345 lease is for and the nature                                            215 WALNUT STREET
       of the debtor’s interest                                               PERRYSBURG, OH 43551

           State the term remaining
           List the contract number of
           any government contract

                                           ORDER FORM TO MASTER
       State what the contract or          SOFTWARE SUBSCRIPTION AND          TIDAL SOFTWARE, LLC
2.1346 lease is for and the nature         SERVICES AGREEMENT DATED           3201 DALLAS PARKWAY
       of the debtor’s interest            12/15/2023                         SUITE 810
                                                                              FRISCO, TX
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             TIK TOK INC.
2.1347 lease is for and the nature                                            5800 BRISTAL PARKWAY
       of the debtor’s interest                                               SUITE 100
                                                                              CULVER CITY, CA 90230
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             TINES SECURITY SERVICES LIMITED
2.1348 lease is for and the nature                                            1 BLACKBERRY LANE
       of the debtor’s interest                                               RATHMINES
                                                                              DUBLIN, D06FV02
           State the term remaining                                           IRELAND

           List the contract number of
           any government contract

                                           TELECOMMUNICATIONS
       State what the contract or          AGREEMENT                          T-MOBILE
2.1349 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           STANDARD TERMS OF SERVICE
       State what the contract or          AGREEMENT DATED 09/23/2019         TOKENEX, INC.
2.1350 lease is for and the nature                                            3825 NW 166TH ST.
       of the debtor’s interest                                               SUITE C1
                                                                              EDMOND, OK 73012
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             TOLUNA USA INC.
2.1351 lease is for and the nature                                            SUITE 2000
       of the debtor’s interest                                               21 RIVER ROAD
                                                                              WILTON, CT 06897
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
       State what the contract or          04/27/2023                         TOPTAL, LLC
2.1352 lease is for and the nature                                            2810 N. CHURCH
       of the debtor’s interest                                               ST. #36879
                                                                              WILMINGTON, DE 19802-4447
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             TOTAL ARMORED CAR
2.1353 lease is for and the nature                                            2950 ROSA PARKS BLVD
       of the debtor’s interest                                               DETROIT, MI 48216

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
       State what the contract or          07/28/2014                         TOTAL ARMORED CAR SERVICES, INC.
2.1354 lease is for and the nature                                            2950 ROSA PARKS BOULEVARD
       of the debtor’s interest                                               DETROIT, MI 48216

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             TOTAL PRINT USA
2.1355 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             TOTUS GIFT CARD MANAGEMENT LLC
2.1356 lease is for and the nature                                            7150 E CAMELBACK RD
       of the debtor’s interest                                               SUITE 444
                                                                              SCOTTSDALE, AZ 85251
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT DATED
       State what the contract or          05/05/2016                         TOUCHPOINT INC
2.1357 lease is for and the nature                                            10199 SOUTHSIDE BLVD.
       of the debtor’s interest                                               SUITE 203
                                                                              JACKSONVILLE, FL 32256
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             TOUCHSTONE MERCHANDISE GROUP
2.1358 lease is for and the nature                                            ATTN: ACCOUNTS RECEIVABLE
       of the debtor’s interest                                               110 MERCANTILE DR STE 2
                                                                              FAIRFIELD, OH 45014-3699
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
       State what the contract or          02/14/2012                         TRANSACTION WIRELESS, INC.
2.1359 lease is for and the nature                                            10180 TELESIS COURT
       of the debtor’s interest                                               SUITE 240
                                                                              SAN DIEGO, CA 92121
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             TRANSLATIONS.COM INC.
2.1360 lease is for and the nature                                            THREE PARK AVENUE
       of the debtor’s interest                                               NEW YORK, NY 10016

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             TRASH FREE SEAS ALLIANCE
2.1361 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           INSURANCE POLICY (THIRD EXCESS
       State what the contract or          LIABILITY) POLICY NUMBER       TRAVELERS PROPERTY CASUALTY COMPANY OF AMERICA
2.1362 lease is for and the nature         EX-1W48163A-22-NF              MARSH USA INC QUALIFIED SOLUTIONS GROUP
       of the debtor’s interest                                           1166 AVENUE OF THE AMERICAS
                                                                          NEW YORK, NY 10036-2708
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             TRENTON COLD STORAGE
2.1363 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             TRIAL PAY INC.
2.1364 lease is for and the nature                                            800 CALIFORNIA STREET
       of the debtor’s interest                                               3RD FLOOR
                                                                              MOUNTAIN VIEW, CA 94041
           State the term remaining
           List the contract number of
           any government contract

                                           SUPPLY AGREEMENT
       State what the contract or                                             TRIDENT SEAFOODS CORP
2.1365 lease is for and the nature                                            PO BOX 952517
       of the debtor’s interest                                               SAINT LOUIS, MO 63195-2517

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             TRINTECH INC
2.1366 lease is for and the nature                                            PO BOX 734950
       of the debtor’s interest                                               DALLAS, TX 75373-4950

           State the term remaining
           List the contract number of
           any government contract

                                           LICENSE AGREEMENT
       State what the contract or                                             TRINTECH INC
2.1367 lease is for and the nature                                            PO BOX 734950
       of the debtor’s interest                                               DALLAS, TX 75373-4950

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             TRIP ADVISOR (SUCCESSOR TO CONSTANT CONTACT &
2.1368 lease is for and the nature                                            SINGLEPLATFORM)
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           LICENSE AGREEMENT
       State what the contract or                                             TRI-UNION FROZEN PRODUCTS, INC., DBA CHICKEN OF THE
2.1369 lease is for and the nature                                            SEA FROZEN FOODS
       of the debtor’s interest                                               2150 E. GRAND AVE.
                                                                              EL SEGUNDO, CA 90245
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             TROVA, LLC
2.1370 lease is for and the nature                                            157 E.NEW ENGLAND AVE
       of the debtor’s interest                                               SUITE 301
                                                                              WINTER PARK, FL 32789
           State the term remaining
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
       State what the contract or                                             TURNER TRADE GROUP INC.
2.1371 lease is for and the nature                                            1050 TECHWOOD DRIVE NW
       of the debtor’s interest                                               BUILDING 1000A
                                                                              2ND FLOOR
           State the term remaining                                           ATLANTA, GA 30318

           List the contract number of
           any government contract

                                           AMENDMENT TO MASTER
       State what the contract or          AGREEMENT DATED 10/01/2017         TYCO INTEGRATED SECURITY LLC
2.1372 lease is for and the nature                                            10500 UNIVERSITY CENTER DR.
       of the debtor’s interest                                               TAMPA, FL 33612

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER AGREEMENT FOR
       State what the contract or          PROTECTIVE SIGNALING SERVICE       TYCO INTEGRATED SECURITY LLC
2.1373 lease is for and the nature         DATED 09/12/2014                   4700 EXCHANGE COURT
       of the debtor’s interest                                               SUITE 300
                                                                              BOCA RATON, FL 33431
           State the term remaining
           List the contract number of
           any government contract

                                           API ADDITIONAL LICENSING
       State what the contract or          AGREEMENT DATED 03/13/2019         UBER TECHNOLOGIES, INC.
2.1374 lease is for and the nature                                            1455 MARKET STREET.
       of the debtor’s interest                                               SUITE 400
                                                                              SAN FRANCISCO, CA 94103
           State the term remaining
           List the contract number of
           any government contract

                                           PURCHASE AGREEMENT DATED
       State what the contract or          02/04/2020                         UI PATH SOFTWARE
2.1375 lease is for and the nature                                            8875 HIDDEN RIVER PARKWAY, SUITE 300
       of the debtor’s interest                                               TAMPA, FL 33637

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             UIPATH INC
2.1376 lease is for and the nature                                            1 VANDERBILT AVE FL 60
       of the debtor’s interest                                               NEW YORK, NY 10017-3807

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             UNISOURCE WORLDWIDE INC.
2.1377 lease is for and the nature                                            6600 GOVERNORS LAKE PARKWAY
       of the debtor’s interest                                               NORCROSS, GA 30071

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             UNITED PARCEL SERVICE INC
2.1378 lease is for and the nature                                            PO BOX 650116
       of the debtor’s interest                                               DALLAS, TX 75265-0116

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 2 DATED
       State what the contract or          07/13/2017                         UNITED PARCEL SERVICE, INC
2.1379 lease is for and the nature                                            8501 ATLANTIC AVE
       of the debtor’s interest                                               ORLANDO, FL 32824

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 1 DATED
       State what the contract or          07/02/2016                         UNITED PARCEL SERVICE, INC.
2.1380 lease is for and the nature                                            8501 ATLANTIC AVE
       of the debtor’s interest                                               ORLANDO, FL 32824

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 8 DATED
       State what the contract or          10/10/2021                         UNITED PARCEL SERVICE, INC.
2.1381 lease is for and the nature                                            8501 ATLANTIC AVE
       of the debtor’s interest                                               ORLANDO, FL 32824

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 7 PROGRAM
       State what the contract or          AGREEMENT DATED 09/22/2020         UNITED PARCEL SERVICE, INC.
2.1382 lease is for and the nature                                            8501 ATLANTIC AVE
       of the debtor’s interest                                               ORLANDO, FL 32824

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 6 PROGRAM
       State what the contract or          AGREEMENT DATED 08/27/2020         UNITED PARCEL SERVICE, INC.
2.1383 lease is for and the nature                                            8901 ATLANTIC AVE
       of the debtor’s interest                                               ORLANDO, FL 32824

           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 5 DATED
       State what the contract or          09/20/2019                         UNITED PARCEL SERVICE, INC.
2.1384 lease is for and the nature                                            8901 ATLANTIC AVE
       of the debtor’s interest                                               ORLANDO, FL 32824

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
       State what the contract or                                             UNITED STATES TREASURY
2.1385 lease is for and the nature                                            INTERNAL REVENUE SERVICE
       of the debtor’s interest                                               PO BOX 192
                                                                              COVINGTON, KY 410120192
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             UNITED VAN LINES LLC
2.1386 lease is for and the nature                                            ONE UNITED DRIVE
       of the debtor’s interest                                               FENTON, MO 63026

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             UNITEDLEX CORPORATION
2.1387 lease is for and the nature                                            DBA UNITEDLEX
       of the debtor’s interest                                               DEPT CH 16539
                                                                              PALATINE, IL 60055-6539
           State the term remaining
           List the contract number of
           any government contract

                                           FACILITIES SERVICE AGREEMENT
       State what the contract or          FOR RESTAURANT #6298 DATED         UNIVERSAL KITCHEN SERVICES L.L.C.
2.1388 lease is for and the nature         12/03/2021                         31 PINEDALE AVENUE
       of the debtor’s interest                                               FARMINGVILLE, NY 11738

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             UNIVERSAL TELEVISION
2.1389 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             UNIVERSAL TELEVISION LLC
2.1390 lease is for and the nature                                            30 ROCKEFELLER PLAZA
       of the debtor’s interest                                               SUITE 6W
                                                                              NEW YORK, NY 10112
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             UNIVERSAL’S CABANA BAY BEACH RESORT
2.1391 lease is for and the nature                                            6550 ADVENTURE WAY
       of the debtor’s interest                                               ORLANDO, FL 32819

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             UNIVERSITY OF CENTRAL FLORIDA (UCF)
2.1392 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             UNIVERSITY OF MAINE
2.1393 lease is for and the nature                                            FOUNDATION
       of the debtor’s interest                                               TWO ALUMNI PLACE
                                                                              ORONO, ME 04469-5792
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             UPSIDE SERVICES, INC. D.B.A. UPSIDE
2.1394 lease is for and the nature                                            1701 RHODE ISLAND AVENUE NW
       of the debtor’s interest                                               7TH FLOOR
                                                                              WASHINGTON, DC 20036
           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 2 TO ORDER
       State what the contract or          FORM NO. Q-08129 DATED             URBAN AIRSHIP INC. D/B/A AIRSHIP
2.1395 lease is for and the nature         04/01/2020                         1225 WEST BUMSIDE ST
       of the debtor’s interest                                               SUITE 401
                                                                              PORTLAND, OR 97209
           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT NO. 1 TO THE ORDER
       State what the contract or          FORM DATED 01/08/2020              URBAN AIRSHIP INC., DBA AIRSHIP
2.1396 lease is for and the nature                                            1225 WEST BUMSIDE ST
       of the debtor’s interest                                               SUITE 401
                                                                              PORTLAND, OR 97209
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SUBSCRIPTION
       State what the contract or          AGREEMENT DATED 10/31/2019         URBAN AIRSHIP, INC. DBA AIRSHIP
2.1397 lease is for and the nature                                            1225 WEST BUMSIDE ST
       of the debtor’s interest                                               SUITE 401
                                                                              PORTLAND, OR 97209
           State the term remaining
           List the contract number of
           any government contract

                                           SALES ORDER DATED 10/31/2019
       State what the contract or                                             URBAN AIRSHIP, INC. DBA AIRSHIP
2.1398 lease is for and the nature                                            1225 WEST BUMSIDE ST
       of the debtor’s interest                                               SUITE 401
                                                                              PORTLAND, OR 97209
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             US BANK/FIRSTAR
2.1399 lease is for and the nature                                            TREASURY MANAGEMENT SERVICES
       of the debtor’s interest                                               CM/9581
                                                                              ST PAUL, MN 551709581
           State the term remaining
           List the contract number of
           any government contract

                                           STATEMENT OF WORK NO. 1 DATED
       State what the contract or          09/29/2023                    US CLOUD LC
2.1400 lease is for and the nature                                       12855 FLUSHING MEADOWS DR.
       of the debtor’s interest                                          ST. LOUIS, MO 63131

           State the term remaining
           List the contract number of
           any government contract

                                           IT SERVICES AGREEMENT DATED
       State what the contract or          09/29/2023                         US CLOUD LC
2.1401 lease is for and the nature                                            12855 FLUSHING MEADOWS DRIVE
       of the debtor’s interest                                               ST. LOUIS, MO 63131

           State the term remaining
           List the contract number of
           any government contract

                                           CONSULTING AGREEMENT
       State what the contract or                                             USER FRIENDLY CONSULTING, INC.
2.1402 lease is for and the nature                                            67200 51ST ST.
       of the debtor’s interest                                               LAWRENCE, MI 49064

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             UTILISAVE
2.1403 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             VALASSIS
2.1404 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             VAL-PAK DIRECT MARKETING SYSTEMS INC
2.1405 lease is for and the nature                                            C/O WELLS FARGO
       of the debtor’s interest                                               3585 ATLANTA AVENUE
                                                                              ATTN: BOX 945889
           State the term remaining                                           HAPEVILLE, GA 30354

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             VELOCITY TECHNOLOGY SOLUTIONS INC
2.1406 lease is for and the nature                                            3567 MOMENTUM PLACE
       of the debtor’s interest                                               CHICAGO, IL 60689-5335

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             VEREDUS CORPORATION
2.1407 lease is for and the nature                                            PO BOX 117036
       of the debtor’s interest                                               ATLANTA, GA 30368-7036

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             VERIFONE INC
2.1408 lease is for and the nature                                            300 SOUTH PARK PLACE BOULEVARD
       of the debtor’s interest                                               SUITE 100
                                                                              CLEARWATER, FL 33759
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             VERITAS DIGITAL
2.1409 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             VERITIV (PREVIOUSLY UNISOURCE WORLDWIDE)
2.1410 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           TELECOMMUNICATIONS
       State what the contract or          AGREEMENT                          VERIZON (LATER DBA CELLCO)
2.1411 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SOFTWARE LICENSE AGREEMENT
       State what the contract or          DATED 08/12/2016                   VERTEX, INC.
2.1412 lease is for and the nature                                            1041 OLD CASSATT ROAD
       of the debtor’s interest                                               BERWYN, PA 19312

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           STATEMENT OF WORK NUMBER 2
       State what the contract or          DATED 07/29/2020                   VERTEX, INC.
2.1413 lease is for and the nature                                            2301 RENAISSANCE BLVD
       of the debtor’s interest                                               KING OF PRUSSIA, PA 19406

           State the term remaining
           List the contract number of
           any government contract

                                           IT SERVICES AGREEMENT DATED
       State what the contract or          08/10/2016                         VERTEX, INC.
2.1414 lease is for and the nature                                            10410 OLD CASSATT ROAD
       of the debtor’s interest                                               BERWYN, PA 19312

           State the term remaining
           List the contract number of
           any government contract

                                           SUPPORT ESCALATION
       State what the contract or          AGREEMENT DATED 10/10/2023         VIACODE CONSULTING LLC
2.1415 lease is for and the nature                                            35 E MAIN ST #352
       of the debtor’s interest                                               AVON, CT 06001

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             VIKING CLOUD
2.1416 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             VISA USA
2.1417 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             VISIBLE
2.1418 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             WAD PRODUCTIONS
2.1419 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           ORDER FORM DATED 01/01/2018
       State what the contract or                                             WAGEWORKS, INC.
2.1420 lease is for and the nature                                            DBA CONEXIS A DIVISION OF WAGEWORKS INC
       of the debtor’s interest                                               PO BOX 8363
                                                                              PASADENA, CA 91109-8363
           State the term remaining
           List the contract number of
           any government contract

                                           BUSINESS ASSOCIATE AGREEMENT
       State what the contract or          DATED 01/01/2018             WAGEWORKS, INC.
2.1421 lease is for and the nature                                      DBA CONEXIS A DIVISION OF WAGEWORKS INC
       of the debtor’s interest                                         PO BOX 8363
                                                                        PASADENA, CA 91109-8363
           State the term remaining
           List the contract number of
           any government contract

                                           ORDER FORM DATED 01/01/2019
       State what the contract or                                             WAGEWORKS, INC.
2.1422 lease is for and the nature                                            DBA CONEXIS A DIVISION OF WAGEWORKS INC
       of the debtor’s interest                                               PO BOX 8363
                                                                              PASADENA, CA 91109-8363
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             WALTERS MEDIA AND DESIGN
2.1423 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           IT CONTRACTS
       State what the contract or                                             WAVE CONSULTING CORPORATION
2.1424 lease is for and the nature                                            DBA WAVE CORPORATION
       of the debtor’s interest                                               225 E CANTON AVE
                                                                              WINTER PARK, FL 32789-3844
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             WEE BEASTIE
2.1425 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           AGREEMENT TO AMEND CERTAIN
       State what the contract or          QUALIFIED FINANCIAL CONTRACTS WELLS FARGO & COMPANY
2.1426 lease is for and the nature         DATED 11/22/2019              608 SECOND AVE S
       of the debtor’s interest                                          9TH FLOOR
                                                                         MINNEAPOLIS, MN 55402
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           AGREEMENT TO AMEND CERTAIN
       State what the contract or          QUALIFIED FINANCIAL CONTRACTS WELLS FARGO BANK, N.A.
2.1427 lease is for and the nature         DATED 11/22/2019              45 FREMONT STREET
       of the debtor’s interest                                          30TH FLOOR
                                                                         MAC AOI94-300
           State the term remaining                                      SAN FRANCISCO, CA 94105

           List the contract number of
           any government contract

                                           RELOCATION MORTGAGE
       State what the contract or          PROGRAM AGREEMENT DATED            WELLS FARGO BANK, N.A.
2.1428 lease is for and the nature         05/15/2015                         ONE HOME CAMPUS
       of the debtor’s interest                                               DES MOINES, IA 50328-0001

           State the term remaining
           List the contract number of
           any government contract

                                           INSTITUTIONAL CLIENT
       State what the contract or          AGREEMENT                          WELLS FARGO BANK, N.A.
2.1429 lease is for and the nature                                            608 SECOND AVE S
       of the debtor’s interest                                               9TH FLOOR
                                                                              MINNEAPOLIS, MN 55402
           State the term remaining
           List the contract number of
           any government contract

                                           INSTITUTIONAL CLIENT AGREEMENT
       State what the contract or          DATED 08/28/2019               WELLS FARGO BANK, N.A.
2.1430 lease is for and the nature                                        90 SOUTH 7TH STREET
       of the debtor’s interest                                           5TH FLOOR
                                                                          MAC N9305-05F
           State the term remaining                                       MINNEAPOLIS, MN 55402

           List the contract number of
           any government contract

                                           ADMINISTRATIVE SERVICES
       State what the contract or          AGREEMENT DATED 07/28/2024         WELLS FARGO BANK, N.A.
2.1431 lease is for and the nature                                            608 SECOND AVE S
       of the debtor’s interest                                               9TH FLOOR
                                                                              MINNEAPOLIS, MN 55402
           State the term remaining
           List the contract number of
           any government contract

                                           AMENDMENT TO COMMERCIAL
       State what the contract or          CARD AGREEMENT DATED               WELLS FARGO BANK, NATIONAL ASSOCIATION
2.1432 lease is for and the nature         12/17/2020                         608 SECOND AVE S
       of the debtor’s interest                                               9TH FLOOR
                                                                              MINNEAPOLIS, MN 55402
           State the term remaining
           List the contract number of
           any government contract

                                           COMMERCIAL CARD AGREEMENT
       State what the contract or          DATED 08/14/2017                   WELLS FARGO BANK, NATIONAL ASSOCIATION
2.1433 lease is for and the nature                                            608 SECOND AVE S
       of the debtor’s interest                                               9TH FLOOR
                                                                              MINNEAPOLIS, MN 55402
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           AGREEMENT TO AMEND CERTAIN
       State what the contract or          QUALIFIED FINANCIAL CONTRACTS WELLS FARGO SECURITIES, LLC
2.1434 lease is for and the nature         DATED 11/22/2019              MAC N9305-05F
       of the debtor’s interest                                          90 SOUTH 7TH STREET
                                                                         5TH FLOOR
           State the term remaining                                      MINNEAPOLIS, MN 55402

           List the contract number of
           any government contract

                                           INSTITUTIONAL CLIENT AGREEMENT
       State what the contract or          DATED 08/28/2019               WELLS FARGO SECURITIES, LLC
2.1435 lease is for and the nature                                        MAC N9305-05F
       of the debtor’s interest                                           90 SOUTH 7TH STREET
                                                                          5TH FLOOR
           State the term remaining                                       MINNEAPOLIS, MN 55402

           List the contract number of
           any government contract

                                           LICENSE AGREEMENT
       State what the contract or                                             WEST PUBLISHING CORPORATION
2.1436 lease is for and the nature                                            DBA SERENGETI
       of the debtor’s interest                                               PO BOX 6292
                                                                              CAROL STREAM, IL 601976292
           State the term remaining
           List the contract number of
           any government contract

                                           INSURANCE POLICY (MANAGEMENT
       State what the contract or          LIABILITY) POLICY NUMBER     WESTCHESTER FIRE INSURANCE COMPANY
2.1437 lease is for and the nature         G71828128 003                5505 N. CUMBERLAND AVENUE
       of the debtor’s interest                                         SUITE 301
                                                                        CHICAGO, IL 60656
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             WESTERN SURETY COMPANY
2.1438 lease is for and the nature
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           TOTAL ENERGY & SUSTAINABILITY
       State what the contract or          SERVICE AGREEMENT DATED            WESTROCK COMPANY
2.1439 lease is for and the nature         07/28/2014                         1000 ABERNATHY ROAD
       of the debtor’s interest                                               ATLANTA, GA 30328

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             WESTROCK RKT COMPANY
2.1440 lease is for and the nature                                            DBA WESTROCK CP LLC
       of the debtor’s interest                                               PO BOX 409813
                                                                              ATLANTA, GA 303849813
           State the term remaining
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT DATED
       State what the contract or          03/27/2017                         WHITE BOX SOCIAL INTELLIGENCE, INC
2.1441 lease is for and the nature                                            17302 PRESTON RD. #430
       of the debtor’s interest                                               DALLAS, TX 75252

           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-6: STATEMENT OF
       State what the contract or          WORK DATED 04/30/2021              WHITE BOX SOCIAL INTELLIGENCE, INC.
2.1442 lease is for and the nature                                            14785 PRESTON ROAD
       of the debtor’s interest                                               SUITE 290
                                                                              DALLAS, TX 75254
           State the term remaining
           List the contract number of
           any government contract

                                           ATTACHMENT A-2: STATEMENT OF
       State what the contract or          WORK DATED 05/31/2018              WHITE BOX SOCIAL INTELLIGENCE, INC.
2.1443 lease is for and the nature                                            17302 PRESTON RD. #430
       of the debtor’s interest                                               DALLAS, TX 75252

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             WHITE IRON MARKETING
2.1444 lease is for and the nature                                            4501 BALFANZ RD
       of the debtor’s interest                                               EDINA, MN 55435-1612

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             WILLSON INTERNATIONAL LIMITED
2.1445 lease is for and the nature                                            2345 ARGENTIA ROAD
       of the debtor’s interest                                               SUITE 201
                                                                              MISSISSAUGA, ON L5N 8K4
           State the term remaining                                           CANADA

           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             WOMENS FOODSERVICE FORUM
2.1446 lease is for and the nature                                            5310 HARVEST HILL RD STE 299
       of the debtor’s interest                                               DALLAS, TX 75230-5804

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             WORLD OF WONDER PRODUCTIONS INC
2.1447 lease is for and the nature                                            6550 HOLLYWOOD BLVD.
       of the debtor’s interest                                               4TH FLOOR
                                                                              HOLLYWOOD, CA 90028
           State the term remaining
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SERVICES AGREEMENT
       State what the contract or                                             WORLD WILDLIFE FUND INC
2.1448 lease is for and the nature                                            1250 24TH ST NW
       of the debtor’s interest                                               WASHINGTON, DC 20037-1193

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             WYNN LAS VEGAS LLC
2.1449 lease is for and the nature                                            3131 LAS VEGAS BLVD.
       of the debtor’s interest                                               SOUTH LAS VEGAS, NV 89109

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             XCELERATE MEDIA INC
2.1450 lease is for and the nature                                            61 W.BRIDGE STREET
       of the debtor’s interest                                               DUBLIN, OH 43017

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             XO COMMUNICATIONS SERVICES LLC
2.1451 lease is for and the nature                                            C/O VERIZON
       of the debtor’s interest                                               PO BOX 15043
                                                                              ALBANY, NY 12212-5043
           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             YASABELL RUIZ
2.1452 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             YESMAIL INC
2.1453 lease is for and the nature                                            A SUBSIDIARY OF INFOGROUP
       of the debtor’s interest                                               PO BOX 957742
                                                                              ST. LOUIS, MO 631957742
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             YOUGOV AMERICA INC
2.1454 lease is for and the nature                                            999 MAIN STREET
       of the debtor’s interest                                               SUITE 101
                                                                              REDWOOD CITY, CA 94063
           State the term remaining
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             YP ADVERTISING & PUBLISHING LLC
2.1455 lease is for and the nature                                            3100 KETTERING BLVD.
       of the debtor’s interest                                               DAYTON, OH 45439

           State the term remaining
           List the contract number of
           any government contract

                                           MASTER SERVICE AGREEMENT
       State what the contract or                                             ZACKS ENTERPRISES INC
2.1456 lease is for and the nature                                            DBA ZAGWEAR INC
       of the debtor’s interest                                               PO BOX 623
                                                                              ORANGEBURG, NY 10962-0623
           State the term remaining
           List the contract number of
           any government contract

                                           LICENSE AGREEMENT
       State what the contract or                                             ZENRIN USA INC.
2.1457 lease is for and the nature                                            1350 BAYSHORE HIGHWAY
       of the debtor’s interest                                               SUITE 580
                                                                              BURLINGAME, CA 94010
           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             ZOOM VIDEO COMMUNICATIONS INC
2.1458 lease is for and the nature                                            PO BOX 398843
       of the debtor’s interest                                               SAN FRANCISCO, CA 94139-8843

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT DATED
       State what the contract or          03/28/2023                         ZOOM VIDEO COMMUNICATIONS INC.
2.1459 lease is for and the nature                                            55 ALMADEN BLVD, 6TH FLOOR
       of the debtor’s interest                                               SAN JOSE, CA 95113

           State the term remaining
           List the contract number of
           any government contract

                                           SERVICES AGREEMENT
       State what the contract or                                             ZURICH AMERICAN INSURANCE COMPANY
2.1460 lease is for and the nature                                            ZURICH NORTH AMERICA
       of the debtor’s interest                                               3059 PAYSPHERE CIRCLE
                                                                              CHICAGO, IL 60674-0001
           State the term remaining
           List the contract number of
           any government contract

                                           INSURANCE POLICY (GENERAL
       State what the contract or          LIABILITY) POLICY NUMBER GLO       ZURICH AMERICAN INSURANCE COMPANY
2.1461 lease is for and the nature         0176236                            MARSH RISK & INSURANCE SERVICES
       of the debtor’s interest                                               3560 LENOX ROAD
                                                                              SUITE 2400
           State the term remaining                                           ATLANTA, GA 30326

           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           INSURANCE POLICY (WORKER'S
       State what the contract or          COMPENSATION) POLICY NUMBER        ZURICH AMERICAN INSURANCE COMPANY
2.1462 lease is for and the nature         WC 0176233                         MARSH RISK & INSURANCE SERVICES
       of the debtor’s interest                                               3560 LENOX ROAD
                                                                              SUITE 2400
           State the term remaining                                           ATLANTA, GA 30326

           List the contract number of
           any government contract

                                           INSURANCE POLICY (FOREIGN
       State what the contract or          CASUALTY) POLICY NUMBER ZE         ZURICH AMERICAN INSURANCE COMPANY
2.1463 lease is for and the nature         3320827-09                         MARSH RISK & INSURANCE SERVICES
       of the debtor’s interest                                               3560 LENOX ROAD
                                                                              SUITE 2400
           State the term remaining                                           ATLANTA, GA 30326

           List the contract number of
           any government contract

                                           INSURANCE POLICY (UMBRELLA
       State what the contract or          LIABILITY) POLICY NUMBER AUC       ZURICH AMERICAN INSURANCE COMPANY
2.1464 lease is for and the nature         281999-03**                        MARSH RISK & INSURANCE SERVICES
       of the debtor’s interest                                               3560 LENOX ROAD
                                                                              SUITE 2400
           State the term remaining                                           ATLANTA, GA 30326

           List the contract number of
           any government contract

                                           INSURANCE POLICY (COMMERCIAL
       State what the contract or          AUTO) POLICY NUMBER BAP      ZURICH AMERICAN INSURANCE COMPANY
2.1465 lease is for and the nature         0176235                      MARSH RISK & INSURANCE SERVICES
       of the debtor’s interest                                         3560 LENOX ROAD
                                                                        SUITE 2400
           State the term remaining                                     ATLANTA, GA 30326

           List the contract number of
           any government contract

                                           INSURANCE POLICY (WORKER'S
       State what the contract or          COMPENSATION (RETRO)) POLICY       ZURICH AMERICAN INSURANCE COMPANY
2.1466 lease is for and the nature         NUMBER WC 0176234                  MARSH RISK & INSURANCE SERVICES
       of the debtor’s interest                                               3560 LENOX ROAD
                                                                              SUITE 2400
           State the term remaining                                           ATLANTA, GA 30326

           List the contract number of
           any government contract

                                           INSURANCE POLICY (COMMERCIAL
       State what the contract or          GENERAL LIABILITY) POLICY    ZURICH AMERICAN INSURANCE COMPANY
2.1467 lease is for and the nature         NUMBER GLO 0378588-03        MARSH RISK & INSURANCE SERVICES
       of the debtor’s interest                                         3560 LENOX ROAD
                                                                        SUITE 2400
           State the term remaining                                     ATLANTA, GA 30326

           List the contract number of
           any government contract

                                           INSURANCE POLICY (COMMERCIAL
       State what the contract or          AUTO) POLICY NUMBER AC 9801814 ZURICH CANADA
2.1468 lease is for and the nature                                        MARSH CANADA LIMITED
       of the debtor’s interest                                           TORONTO 120 BREMNER BOULEVARD
                                                                          SUITE 800
           State the term remaining                                       TORONTO, ON M5J0A8
                                                                          CANADA
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           INSURANCE POLICY (PROPERTY)
       State what the contract or          POLICY NUMBER 8843326              ZURICH CANADA
2.1469 lease is for and the nature                                            MARSH CANADA LIMITED
       of the debtor’s interest                                               TORONTO 120 BREMNER BOULEVARD
                                                                              SUITE 800
           State the term remaining                                           TORONTO, ON M5J0A8
                                                                              CANADA
           List the contract number of
           any government contract

                                           INSURANCE POLICY (PROPERTY)
       State what the contract or          POLICY NUMBER PPR 0176332-09       ZURICH NORTH AMERICA
2.1470 lease is for and the nature                                            1001 SUMMIT BOULEVARD
       of the debtor’s interest                                               SUITE 1200
                                                                              ATLANTA, GA 30319
           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



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  Fill in this information to identify the case:

 Debtor name      Red Lobster Management LLC

 United States Bankruptcy Court for the:    Middle District of Florida, Orlando Division
                                                                                                                                                   ¨ Check if this is an
 Case number (If known):      24-02486                                                                                                                 amended filing

Official Form 206H
Schedule H: Codebtors                                                                                                                                            12/15
Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
additional Page to this page.

   1. Does the debtor have any codebtors?
       ¨ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       þ Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
      schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                                Column 2: Creditor

          Name                             Mailing address                                                                  Name                     Check all schedules
                                                                                                                                                     that apply:
 2.1   Red Lobster Canada, Inc.        450 SOUTH ORANGE AVENUE                                                           FORTRESS CREDIT             þ D
                                       SUITE 800                                                                         CORP.                       ¨ E/F
                                       ORLANDO, FL 32801
                                                                                                                                                     ¨ G



 2.2   Red Lobster Canada, Inc.        450 SOUTH ORANGE AVENUE                                                           WELLS FARGO BANK,           þ D
                                       SUITE 800                                                                         NATIONAL ASSOCIATION        ¨ E/F
                                       ORLANDO, FL 32801
                                                                                                                                                     ¨ G



 2.3   Red Lobster Hospitality         450 SOUTH ORANGE AVENUE                                                           FORTRESS CREDIT             þ D
       LLC                             SUITE 800                                                                         CORP.                       ¨ E/F
                                       ORLANDO, FL 32801
                                                                                                                                                     ¨ G



 2.4   Red Lobster Hospitality         450 SOUTH ORANGE AVENUE                                                           WELLS FARGO BANK,           þ D
       LLC                             SUITE 800                                                                         NATIONAL ASSOCIATION        ¨ E/F
                                       ORLANDO, FL 32801
                                                                                                                                                     ¨ G



 2.5   Red Lobster Intermediate        450 SOUTH ORANGE AVENUE                                                           FORTRESS CREDIT             þ D
       Holdings LLC                    SUITE 800                                                                         CORP.                       ¨ E/F
                                       ORLANDO, FL 32801
                                                                                                                                                     ¨ G



 2.6   Red Lobster Intermediate        450 SOUTH ORANGE AVENUE                                                           WELLS FARGO BANK,           þ D
       Holdings LLC                    SUITE 800                                                                         NATIONAL ASSOCIATION        ¨ E/F
                                       ORLANDO, FL 32801
                                                                                                                                                     ¨ G




Official Form 206H                                                             Schedule H: Codebtors                                                       Page 1 of 5
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            Name


             Additional Page if Debtor Has More Codebtors

               Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                       Mailing address                                                               Name                Check all schedules
                                                                                                                                         that apply:

 2.7    Red Lobster Of Bel Air,      450 SOUTH ORANGE AVENUE                                                      FORTRESS CREDIT        þ D
        Inc.                         SUITE 800                                                                    CORP.                  ¨ E/F
                                     ORLANDO, FL 32801
                                                                                                                                         ¨ G



 2.8    Red Lobster Of Bel Air,      450 SOUTH ORANGE AVENUE                                                      WELLS FARGO BANK,      þ D
        Inc.                         SUITE 800                                                                    NATIONAL ASSOCIATION   ¨ E/F
                                     ORLANDO, FL 32801
                                                                                                                                         ¨ G



 2.9    Red Lobster Of Texas, Inc. 450 SOUTH ORANGE AVENUE                                                        FORTRESS CREDIT        þ D
                                   SUITE 800                                                                      CORP.                  ¨ E/F
                                   ORLANDO, FL 32801
                                                                                                                                         ¨ G



 2.10   Red Lobster Of Texas, Inc. 450 SOUTH ORANGE AVENUE                                                        WELLS FARGO BANK,      þ D
                                   SUITE 800                                                                      NATIONAL ASSOCIATION   ¨ E/F
                                   ORLANDO, FL 32801
                                                                                                                                         ¨ G



 2.11   Red Lobster Restaurants      450 SOUTH ORANGE AVENUE                                                      FORTRESS CREDIT        þ D
        LLC                          SUITE 800                                                                    CORP.                  ¨ E/F
                                     ORLANDO, FL 32801
                                                                                                                                         ¨ G



 2.12   Red Lobster Restaurants      450 SOUTH ORANGE AVENUE                                                      WELLS FARGO BANK,      þ D
        LLC                          SUITE 800                                                                    NATIONAL ASSOCIATION   ¨ E/F
                                     ORLANDO, FL 32801
                                                                                                                                         ¨ G



 2.13   Red Lobster Sourcing LLC 450 SOUTH ORANGE AVENUE                                                          FORTRESS CREDIT        þ D
                                 SUITE 800                                                                        CORP.                  ¨ E/F
                                 ORLANDO, FL 32801
                                                                                                                                         ¨ G



 2.14   Red Lobster Sourcing LLC 450 SOUTH ORANGE AVENUE                                                          WELLS FARGO BANK,      þ D
                                 SUITE 800                                                                        NATIONAL ASSOCIATION   ¨ E/F
                                 ORLANDO, FL 32801
                                                                                                                                         ¨ G




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             Additional Page if Debtor Has More Codebtors

              Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                Check all schedules
                                                                                                                                        that apply:

 2.15   Red Lobster Supply LLC      450 SOUTH ORANGE AVENUE                                                      FORTRESS CREDIT        þ D
                                    SUITE 800                                                                    CORP.                  ¨ E/F
                                    ORLANDO, FL 32801
                                                                                                                                        ¨ G



 2.16   Red Lobster Supply LLC      450 SOUTH ORANGE AVENUE                                                      WELLS FARGO BANK,      þ D
                                    SUITE 800                                                                    NATIONAL ASSOCIATION   ¨ E/F
                                    ORLANDO, FL 32801
                                                                                                                                        ¨ G



 2.17   RL Columbia LLC             450 SOUTH ORANGE AVENUE                                                      FORTRESS CREDIT        þ D
                                    SUITE 800                                                                    CORP.                  ¨ E/F
                                    ORLANDO, FL 32801
                                                                                                                                        ¨ G



 2.18   RL Columbia LLC             450 SOUTH ORANGE AVENUE                                                      WELLS FARGO BANK,      þ D
                                    SUITE 800                                                                    NATIONAL ASSOCIATION   ¨ E/F
                                    ORLANDO, FL 32801
                                                                                                                                        ¨ G



 2.19   RL Kansas LLC               450 SOUTH ORANGE AVENUE                                                      FORTRESS CREDIT        þ D
                                    SUITE 800                                                                    CORP.                  ¨ E/F
                                    ORLANDO, FL 32801
                                                                                                                                        ¨ G



 2.20   RL Kansas LLC               450 SOUTH ORANGE AVENUE                                                      WELLS FARGO BANK,      þ D
                                    SUITE 800                                                                    NATIONAL ASSOCIATION   ¨ E/F
                                    ORLANDO, FL 32801
                                                                                                                                        ¨ G



 2.21   RL Maryland, Inc.           450 SOUTH ORANGE AVENUE                                                      FORTRESS CREDIT        þ D
                                    SUITE 800                                                                    CORP.                  ¨ E/F
                                    ORLANDO, FL 32801
                                                                                                                                        ¨ G



 2.22   RL Maryland, Inc.           450 SOUTH ORANGE AVENUE                                                      WELLS FARGO BANK,      þ D
                                    SUITE 800                                                                    NATIONAL ASSOCIATION   ¨ E/F
                                    ORLANDO, FL 32801
                                                                                                                                        ¨ G




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   Debtor   Red Lobster Management LLC                                                           Case number (If known):   24-02486
            Name


             Additional Page if Debtor Has More Codebtors

               Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                       Mailing address                                                               Name                Check all schedules
                                                                                                                                         that apply:

 2.23   RL Of Frederick, Inc.        450 SOUTH ORANGE AVENUE                                                      FORTRESS CREDIT        þ D
                                     SUITE 800                                                                    CORP.                  ¨ E/F
                                     ORLANDO, FL 32801
                                                                                                                                         ¨ G



 2.24   RL Of Frederick, Inc.        450 SOUTH ORANGE AVENUE                                                      WELLS FARGO BANK,      þ D
                                     SUITE 800                                                                    NATIONAL ASSOCIATION   ¨ E/F
                                     ORLANDO, FL 32801
                                                                                                                                         ¨ G



 2.25   RL Salisbury, LLC            450 SOUTH ORANGE AVENUE                                                      FORTRESS CREDIT        þ D
                                     SUITE 800                                                                    CORP.                  ¨ E/F
                                     ORLANDO, FL 32801
                                                                                                                                         ¨ G



 2.26   RL Salisbury, LLC            450 SOUTH ORANGE AVENUE                                                      WELLS FARGO BANK,      þ D
                                     SUITE 800                                                                    NATIONAL ASSOCIATION   ¨ E/F
                                     ORLANDO, FL 32801
                                                                                                                                         ¨ G



 2.27   RLSV, Inc.                   450 SOUTH ORANGE AVENUE                                                      FORTRESS CREDIT        þ D
                                     SUITE 800                                                                    CORP.                  ¨ E/F
                                     ORLANDO, FL 32801
                                                                                                                                         ¨ G



 2.28   RLSV, Inc.                   450 SOUTH ORANGE AVENUE                                                      WELLS FARGO BANK,      þ D
                                     SUITE 800                                                                    NATIONAL ASSOCIATION   ¨ E/F
                                     ORLANDO, FL 32801
                                                                                                                                         ¨ G



 2.29   Thai Union Group Public      ATTENTION: LUDOVIC GARNIER                                                   FORTRESS CREDIT        þ D
        Company Limited              72/1 MOO 7, SETHAKIT 1 ROAD, TARSRAI SUB-DISTRICT,                           CORP.                  ¨ E/F
                                     MUEANG SAMUT SAKHON
                                     SAMUT SAKHON, 74000                                                                                 ¨ G
                                     THAILAND



 2.30   Thai Union North America, 2150 E. GRAND AVENUE                                                            FORTRESS CREDIT        þ D
        Inc.                      EL SEGUNDO, CA 90245                                                            CORP.                  ¨ E/F
                                                                                                                                         ¨ G




Official Form 206H                                                     Schedule H: Codebtors                                                Page 4 of 5
                        Case 6:24-bk-02486-GER                       Doc 435           Filed 06/21/24            Page 657 of 1148
   Debtor   Red Lobster Management LLC                                                          Case number (If known):   24-02486
            Name


             Additional Page if Debtor Has More Codebtors

              Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

        Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                      Mailing address                                                               Name               Check all schedules
                                                                                                                                       that apply:

 2.31                                                                                                                                  ¨ D
                                                                                                                                       ¨ E/F
                                                                                                                                       ¨ G



 2.32                                                                                                                                  ¨ D
                                                                                                                                       ¨ E/F
                                                                                                                                       ¨ G



 2.33                                                                                                                                  ¨ D
                                                                                                                                       ¨ E/F
                                                                                                                                       ¨ G



 2.34                                                                                                                                  ¨ D
                                                                                                                                       ¨ E/F
                                                                                                                                       ¨ G



 2.35                                                                                                                                  ¨ D
                                                                                                                                       ¨ E/F
                                                                                                                                       ¨ G



 2.36                                                                                                                                  ¨ D
                                                                                                                                       ¨ E/F
                                                                                                                                       ¨ G



 2.37                                                                                                                                  ¨ D
                                                                                                                                       ¨ E/F
                                                                                                                                       ¨ G



 2.38                                                                                                                                  ¨ D
                                                                                                                                       ¨ E/F
                                                                                                                                       ¨ G




Official Form 206H                                                    Schedule H: Codebtors                                               Page 5 of 5
                         Case 6:24-bk-02486-GER                            Doc 435             Filed 06/21/24                Page 658 of 1148
  Fill in this information to identify the case and this filing:


   Debtor name Red Lobster Management LLC


   United States Bankruptcy Court for the: Middle District of Florida, Orlando Division

   Case number (If known) 24-02486




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                   12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

           Declaration and signature



        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
        another individual serving as a representative of the debtor in this case.

        I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

        þ Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
        þ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        þ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
        þ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        þ Schedule H: Codebtors (Official Form 206H)
        þ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        ¨ Amended Schedule
        ¨ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
        ¨ Other document that requires a declaration




        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on 06/20/2024                                         X /s/ Nicholas Haughey
                       MM / DD / YYYY                                      Signature of individual signing on behalf of debtor



                                                                           Nicholas Haughey
                                                                           Printed name

                                                                           Chief Restructuring Officer
                                                                           Position or relationship to debtor




   Official Form 202                             Declaration Under Penalty of Perjury for Non-Individual Debtors
                          Case 6:24-bk-02486-GER                            Doc 435           Filed 06/21/24        Page 659 of 1148

    Fill in this information to identify the case:

    Debtor name Red Lobster Management LLC


    United States Bankruptcy Court for the:   Middle District of Florida, Orlando Division

    Case number (If known) 24-02486


                                                                                                                                    ¨ Check if this is an
                                                                                                                                        amended filing


 Official Form 207
 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                              04/22
 The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s
 name and case number (if known).

 Part 1:    Income

 1. Gross revenue from business

    ¨ None
                                                                                                                              Gross revenue
           Identify the beginning and ending dates of the debtor’s fiscal                        Sources of revenue
                                                                                                                              (before deductions and
           year, which may be a calendar year                                                    Check all that apply
                                                                                                                              exclusions)

           From the beginning of                                                                 þ Operating a business
           the fiscal year to                   From 06/01/2023             to   04/30/2024                                    $                   0.00
                                                                                                 ¨ Other
           filing date:                                  MM/DD/YYYY

           For prior year:                      From 06/01/2022             to   05/31/2023      þ Operating a business
                                                         MM/DD/YYYY               MM/DD/YYYY     ¨ Other                       $                   0.00

           For the year before that:            From 06/01/2021             to   05/31/2022      þ Operating a business
                                                         MM/DD/YYYY               MM/DD/YYYY     ¨ Other                       $             47,895.82




 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

    ¨ None

         See Attached Rider for Additional Details                                                                            Gross revenue from
                                                                                                 Description of sources of    each source
                                                                                                 revenue                      (before deductions and
                                                                                                                              exclusions)

           From the beginning of
           the fiscal year to                   From 06/01/2023             to   04/30/2024      Various                       $       151,566,789.24
           filing date:                                  MM/DD/YYYY

           For prior year:                      From 06/01/2022             to   05/31/2023      Various                       $       131,971,600.54
                                                         MM/DD/YYYY               MM/DD/YYYY

           For the year before that:            From 06/01/2021             to   05/31/2022      Various                       $       106,916,807.19
                                                         MM/DD/YYYY               MM/DD/YYYY




Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                         Page 1
                               Case 6:24-bk-02486-GER                               Doc 435     Filed 06/21/24          Page 660 of 1148
Debtor      Red Lobster Management LLC                                                                              Case number (If known)     24-02486
            Name



 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
     List payments or transfers including expense reimbursements to any creditor, other than regular employee compensation, within 90
     days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7, 575. (This amount may be adjusted
     on 4/01/2025 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

     ¨ None            See Attached Rider

             Creditor’s name and address                                    Dates           Total amount or value         Reasons for payment or transfer
                                                                                                                          Check all that apply

     3.1
           ____________________________________________________________
                                                                                            $                              ¨ Secured debt
           ____________________________________________________________                                                    ¨ Unsecured loan repayments
           Street
           ____________________________________________________________
                                                                                                                           ¨ Suppliers or vendors
           ____________________________________________________________
           City                      State               Zip Code                                                          ¨ Services
                                                                                                                           ¨ Other

     3.2
           ____________________________________________________________
                                                                                            $                              ¨ Secured debt
           ____________________________________________________________                                                    ¨ Unsecured loan repayments
           Street
           ____________________________________________________________
                                                                                                                           ¨ Suppliers or vendors
           ____________________________________________________________
           City                      State               Zip Code                                                          ¨ Services
                                                                                                                           ¨ Other

  4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $7, 575. (This amount may be adjusted on 4/01/2025 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
     Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
     general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
     the debtor. 11 U.S.C. § 101(31).

     ¨ None See Attached Rider
             Insider’s name and address                                   Dates         Total amount or value          Reasons for payment or transfer


     4.1                                                                                $                             _______________________________________________________
           _______________________________________________________

           _______________________________________________________                                                    _______________________________________________________
           Street
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code




             Relationship to debtor




     4.2                                                                                $
           _______________________________________________________                                                    _______________________________________________________

           _______________________________________________________                                                    _______________________________________________________
           Street
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code




             Relationship to debtor




  Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       Page 2
                              Case 6:24-bk-02486-GER                                  Doc 435              Filed 06/21/24                  Page 661 of 1148
Debtor     Red Lobster Management LLC                                                                                                  Case number (If known)       24-02486
           Name




  5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

     þ None
            Creditor’s name and address                                  Description of the property                                           Date                       Value of property
     5.1 ____________________________________________________________    _______________________________________________________                                          $
          ____________________________________________________________   _______________________________________________________
          Street
          ____________________________________________________________

          ____________________________________________________________
          City                      State               Zip Code




     5.2 ____________________________________________________________    _______________________________________________________                                          $
          ____________________________________________________________   _______________________________________________________
          Street
          ____________________________________________________________

          ____________________________________________________________
          City                      State               Zip Code




  6. Setoffs
     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.

     þ None
            Creditor’s name and address                                  Description of the action creditor took                               Date action was            Amount
                                                                                                                                               taken

         ____________________________________________________________    _______________________________________________________
                                                                                                                                                                          $
         ____________________________________________________________    _______________________________________________________
         Street
         ____________________________________________________________

         ____________________________________________________________
         City                      State               Zip Code


                                                                         Last 4 digits of account number: XXXX -


 Part 3:             Legal Actions or Assignments

  7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity-within 1 year before filing this case.
     ¨ None           See Attached Rider

            Case title                                    Nature of case                                  Court or agency’s name and address                                  Status of case
     7.1 ____________________________ ____________________________                                      _______________________________________________________________   ¨ Pending
                                                                                                        _______________________________________________________________
                                                                                                        Street
                                                                                                                                                                          ¨ On appeal
            Case number
                                                                                                        _______________________________________________________________
                                                                                                        City                      State               Zip Code            ¨ Concluded




            Case title                                    Nature of case                                  Court or agency’s name and address                                  Status of case
     7.2 ____________________________ ____________________________                                                                                                        ¨ Pending
                                                                                                        _______________________________________________________________

                                                                                                        _______________________________________________________________
                                                                                                        Street
                                                                                                                                                                          ¨ On appeal
                                                                                                        _______________________________________________________________
            Case number                                                                                 City                      State               Zip Code            ¨ Concluded




  Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                          Page 3
                              Case 6:24-bk-02486-GER                              Doc 435              Filed 06/21/24                    Page 662 of 1148
Debtor    Red Lobster Management LLC                                                                                                  Case number (If known)     24-02486
          Name



  8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

    þ None
            Custodian’s name and address                                     Description of the property                                     Value

          _______________________________________________________________                                                                     $
          _______________________________________________________________
          Street                                                             Case title                                                      Court name and address
          _______________________________________________________________

          _______________________________________________________________
          City                      State               Zip Code

                                                                             Case number



                                                                             Date of order or assignment



 Part 4: Certain Gifts and Charitable Contributions

  9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate
     value of the gifts to that recipient is less than $1,000

    ¨ None See Attached Rider
            Recipient’s name and address                                     Description of the gifts or contributions                            Dates given           Value

    9.1
          _______________________________________________________________   _______________________________________________________
                                                                                                                                                                       $
          _______________________________________________________________   _______________________________________________________
          Street
          _______________________________________________________________

          _______________________________________________________________
          City                      State               Zip Code




            Recipient’s relationship to debtor



   9.2    _______________________________________________________________   _______________________________________________________                                    $
          _______________________________________________________________   _______________________________________________________
          Street
          _______________________________________________________________

          _______________________________________________________________
          City                      State               Zip Code




            Recipient’s relationship to debtor




 Part 5:         Certain Losses

  10. All losses from fire, theft, or other casualty within 1 year before filing this case.
    ¨ None See Attached Rider
           Description of the property lost and                              Amount of payments received for the loss                             Date of loss          Value of property
           how the loss occurred                                            If you have received payments to cover the loss, for                                        lost
                                                                            example, from insurance, government compensation,
                                                                            or tort liability, list the total received.
                                                                            List unpaid claims on Official Form 106A/B
                                                                            (Schedule A/B: Assets - Real and Personal Property).


          _______________________________________________________           _______________________________________________________                                    $
          _______________________________________________________




  Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                   Page 4
                               Case 6:24-bk-02486-GER                                Doc 435              Filed 06/21/24                  Page 663 of 1148
Debtor     Red Lobster Management LLC                                                                                                  Case number (If known)   24-02486
           Name



 Part 6:              Certain Payments or Transfers

  11. Payments related to bankruptcy
      List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
      the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
      seeking bankruptcy relief, or filing a bankruptcy case.
    ¨ None See Attached Rider
            Who was paid or who received the                                 If not money, describe any property                                 Dates                 Total amount or
            transfer?                                                        transferred                                                                               value
    11.1                                                                     _______________________________________________________                                   $
                                                                             _______________________________________________________
            Address


           _______________________________________________________________

           _______________________________________________________________
           Street
           _______________________________________________________________

           _______________________________________________________________
           City                      State               Zip Code




            Email or website address



            Who made the payment, if not debtor?



            Who was paid or who received the                                 If not money, describe any property                                 Dates                 Total amount or
            transfer?                                                        transferred                                                                               value
    11.2
                                                                             _______________________________________________________
                                                                                                                                                                       $
                                                                             _______________________________________________________
            Address


           _______________________________________________________________

           _______________________________________________________________
           Street
           _______________________________________________________________

           _______________________________________________________________
           City                      State               Zip Code




             Email or website address



            Who made the payment, if not debtor?



  12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of
         this case to a self-settled trust or similar device.
         Do not include transfers already listed on this statement.
   þ None
            Name of trust or device                                          Describe any property transferred                                   Dates transfers       Total amount or
                                                                                                                                                 were made             value


                                                                             _______________________________________________________
                                                                                                                                                                       $
                                                                             _______________________________________________________


             Trustee




  Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                Page 5
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Debtor     Red Lobster Management LLC                                                                                                    Case number (If known)   24-02486
           Name



  13. Transfers not already listed on this statement
      List any transfers of money or other property-by sale, trade, or any other means-made by the debtor or a person acting on behalf of the debtor within 2
      years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
      outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


    ¨ None See Attached Rider
            Who received transfer?                                            Description of property transferred or                                Date transfer            Total amount or
                                                                              payments received or debts paid in exchange                           was made                 value
    13.1
                                                                             _______________________________________________________
                                                                                                                                                                         $
                                                                             _______________________________________________________
            Address


           _______________________________________________________________

           _______________________________________________________________
           Street
           _______________________________________________________________

           _______________________________________________________________
           City                      State               Zip Code




            Relationship to debtor




            Who received transfer?                                            Description of property transferred or                                Date transfer            Total amount or
                                                                              payments received or debts paid in exchange                           was made                 value
    13.2                                                                     _______________________________________________________
                                                                                                                                                                         $
                                                                             _______________________________________________________
            Address


           _______________________________________________________________

           _______________________________________________________________
           Street
           _______________________________________________________________

           _______________________________________________________________
           City                      State               Zip Code




            Relationship to debtor



 Part 7:        Previous Locations

  14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

    þ Does not apply
            Address                                                                                                                          Dates of Occupancy

    14.1 _______________________________________________________________________________________________________________________________ From                                To
           Street
           _______________________________________________________________________________________________________________________________

           _______________________________________________________________________________________________________________________________
           City                                          State                                                     Zip Code



    14.2 _______________________________________________________________________________________________________________________________ From                                To
           Street
           _______________________________________________________________________________________________________________________________

           _______________________________________________________________________________________________________________________________
           City                                          State                                                     Zip Code




  Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                     Page 6
                               Case 6:24-bk-02486-GER                             Doc 435              Filed 06/21/24                 Page 665 of 1148
Debtor     Red Lobster Management LLC                                                                                               Case number (If known)     24-02486
           Name



 Part 8:        Health Care Bankruptcies

  15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          - diagnosing or treating injury, deformity, or disease, or
          - providing any surgical, psychiatric, drug treatment, or obstetric care?

    þ No. Go to Part 9.
    ¨ Yes. Fill in the information below.
            Facility name and address                                Nature of the business operation, including type of                                     If debtor provides meals
                                                                     services the debtor provides                                                            and housing, number of
                                                                                                                                                             patients in debtor’s care
    15.1
           _______________________________________________________   _______________________________________________________

           _______________________________________________________   _______________________________________________________
           Street
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code          Location where patient records are maintained                                           How are records kept?
                                                                     (if different from facility address). If electronic, identify any
                                                                     service provider.

                                                                     _______________________________________________________
                                                                                                                                                             Check all that apply:
                                                                     _______________________________________________________                             ¨ Electronically
                                                                                                                                                         ¨ Paper

            Facility name and address                                Nature of the business operation, including type of                                     If debtor provides meals
                                                                     services the debtor provides                                                            and housing, number of
                                                                                                                                                             patients in debtor’s care
    15.2
           _______________________________________________________   _______________________________________________________

           _______________________________________________________   _______________________________________________________
           Street
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code          Location where patient records are maintained                                           How are records kept?
                                                                     (if different from facility address). If electronic, identify any
                                                                     service provider.
                                                                                                                                                             Check all that apply:
                                                                     _______________________________________________________

                                                                     _______________________________________________________                             ¨ Electronically
                                                                                                                                                         ¨ Paper
 Part 9:          Personally Identifiable Information

  16. Does the debtor collect and retain personally identifiable information of customers?

    ¨ No.                                                                                         See Debtor's website for a full list of information collected
    þ Yes. State the nature of the information collected and retained.                            (https://redlobster.com/privacy-policy/).
                  Does the debtor have a privacy policy about that information?
                  ¨ No
                  þ Yes
  17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403( b), or other
      pension or profit-sharing plan made available by the debtor as an employee benefit?

    ¨ No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                  ¨ No. Go to Part 10.
                  þ Yes. Fill in below
                        Name of plan                                                                                           Employer identification number of the plan
                      See Attached Rider                                                                              EIN:

                      Has the plan been terminated?
                      ¨ No
                      ¨ Yes

  Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                 Page 7
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Debtor     Red Lobster Management LLC                                                                                                 Case number (If known)      24-02486
           Name



 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

  18. Closed financial accounts
         Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed,
         old, moved, or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
         brokerage houses, cooperatives, associations, and other financial institutions.

    ¨ None
            Financial institution name and address                     Last 4 digits of              Type of account                    Date account was                   Last balance
                                                                       account number                                                   closed, sold, moved,               before closing or
                                                                                                                                        or transferred                     transfer
    18.1 HSBC Bank USA N.A.                                          XXXX- x0246                   ¨ Checking                         04/12/2024                          $              2,814.96
           66 HUDSON BOULEVARD
           NEW YORK, NY 10001                                                                      ¨ Savings
                                                                                                   ¨ Money Market
                                                                                                   ¨ Brokerage
                                                                                                   þ Other Foreign
    18.2                                                             XXXX-                         ¨ Checking                                                             $
                                                                                                   ¨ Savings
                                                                                                   ¨ Money Market
                                                                                                   ¨ Brokerage
                                                                                                   ¨ Other

  19. Safe deposit boxes
         List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

    þ None
            Depository institution name and                           Names of anyone with access to it                      Description of the contents                           Does debtor
            address                                                                                                                                                                still have it?

           _______________________________________________________   ____________________________________________________   ____________________________________________________
                                                                                                                                                                                 ¨ No
           _______________________________________________________   ____________________________________________________   ____________________________________________________ ¨
                                                                                                                                                                                   Yes
           Street
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code

                                                                      Address


                                                                     ____________________________________________________

                                                                     ____________________________________________________



  20. Off-premises storage

         List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building
         in which the debtor does business.

    ¨ None See Attached Rider
            Facility name and address                                 Names of anyone with access to it                      Description of the contents                           Does debtor
                                                                                                                                                                                   still have it?

           _______________________________________________________   ____________________________________________________   ____________________________________________________   ¨ No
           _______________________________________________________
           Street
                                                                     ____________________________________________________   ____________________________________________________   ¨ Yes
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code

                                                                      Address

                                                                     ____________________________________________________

                                                                     ____________________________________________________




  Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                       Page 8
                               Case 6:24-bk-02486-GER                                 Doc 435              Filed 06/21/24                   Page 667 of 1148
Debtor     Red Lobster Management LLC                                                                                                    Case number (If known)       24-02486
           Name



 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own

  21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
         trust. Do not list leased or rented property.

    þ None
            Owner’s name and address                                 Location of the property                                  Description of the property                     Value

                                                                                                                                                                              $
           _______________________________________________________   ____________________________________________________   _______________________________________________

           _______________________________________________________   ____________________________________________________   _______________________________________________
           Street
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code




 Part 12: Details About Environmental Information

  For the purpose of Part 12, the following definitions apply:
         Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
         regardless of the medium affected (air, land, water, or any other medium).

         Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
         formerly owned, operated, or utilized.

         Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
         or a similarly harmful substance.

  Report all notices, releases, and proceedings known, regardless of when they occurred.


  22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law ? Include settlements and orders.

    þ No
    ¨ Yes. Provide details below.
            Case title                                                 Court or agency name and address                           Nature of the case                               Status of case

                                                                     _______________________________________________________     _______________________________________________   ¨ Pending
                                                                     _______________________________________________________
                                                                     Street
                                                                                                                                 _______________________________________________   ¨ On appeal
            Case Number                                              _______________________________________________________
                                                                                                                                                                                   ¨ Concluded
                                                                     _______________________________________________________
                                                                     City                      State         Zip Code




  23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
      environmental law?

    þ No
    ¨ Yes. Provide details below.
            Site name and address                                      Governmental unit name and address                         Environmental law, if known                      Date of notice

           _______________________________________________________   _______________________________________________________     _______________________________________________

           _______________________________________________________   _______________________________________________________     _______________________________________________
           Street                                                    Street
           _______________________________________________________   _______________________________________________________

           _______________________________________________________   _______________________________________________________
           City                      State         Zip Code          City                      State         Zip Code




  Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                         Page 9
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Debtor     Red Lobster Management LLC                                                                                                 Case number (If known)      24-02486
           Name




  24. Has the debtor notified any governmental unit of any release of hazardous material?
    þ No
    ¨ Yes. Provide details below.
            Site name and address                                    Governmental unit name and address                        Environmental law, if known                      Date of notice

           _______________________________________________________   _______________________________________________________ ________________________________________________

           _______________________________________________________   _______________________________________________________ ________________________________________________
           Street                                                    Street
           _______________________________________________________   _______________________________________________________

           _______________________________________________________   _______________________________________________________
           City                      State         Zip Code          City                      State         Zip Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business

  25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
         Include this information even if already listed in the Schedules.

    ¨ None See Attached Rider
            Business name and address                                Describe the nature of the business                               Employer Identification number
                                                                                                                                       Do not include Social Security number or ITIN.

    25.1 _______________________________________________________     ____________________________________________________              EIN:
           _______________________________________________________   ____________________________________________________
           Street
           _______________________________________________________
                                                                                                                                       Dates business existed
           _______________________________________________________
           City                      State         Zip Code                                                                            From                               To




            Business name and address                                Describe the nature of the business                               Employer Identification number
                                                                                                                                       Do not include Social Security number or ITIN.

    25.2                                                                                                                               EIN:
           _______________________________________________________   ____________________________________________________

           _______________________________________________________   ____________________________________________________              Dates business existed
           Street
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code
                                                                                                                                       From                               To




            Business name and address                                Describe the nature of the business                               Employer Identification number
                                                                                                                                       Do not include Social Security number or ITIN.

    25.3                                                                                                                               EIN:
           _______________________________________________________   ____________________________________________________

           _______________________________________________________   ____________________________________________________
           Street                                                                                                                      Dates business existed
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code                                                                            From                               To




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Debtor     Red Lobster Management LLC                                                                                                  Case number (If known)      24-02486
           Name




  26. Books, records, and financial statements
         26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

           ¨ None          See Attached Rider
            Name and address                                                                                                            Dates of service


  26a.1 _________________________________________________________________________________________________________________________      From                                To
           _________________________________________________________________________________________________________________________
           Street
           _________________________________________________________________________________________________________________________

           _________________________________________________________________________________________________________________________
           City                                          State                                                     Zip Code




            Name and address                                                                                                            Dates of service


  26a.2 _________________________________________________________________________________________________________________________      From                                To
           _________________________________________________________________________________________________________________________
           Street
           _________________________________________________________________________________________________________________________

           _________________________________________________________________________________________________________________________
           City                                          State                                                     Zip Code




         26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
              statement within 2 years before filing this case.

           ¨ None
                  Name and address                                                                                                      Dates of service


         26b.1 PRICEWATERHOUSE COOPERS LLP                                                                                             From 05/20/2022                     To Present
                 ATTN: TRACY JUNGER
                 4040 W BOY SCOUT BLVD
                 TAMPA, FL 33607




                  Name and address                                                                                                      Dates of service


         26b.2                                                                                                                         From                                To




         26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           ¨ None
                  Name and address                                                                                                      if any books of account and records are
                                                                                                                                        unavailable, explain why

         26c.1 PEREIRA,MEERA
                                                                                                                                       ____________________________________________________
                 450 SOUTH ORANGE AVENUE
                                                                                                                                       ____________________________________________________
                 SUITE 800
                 ORLANDO, FL 32801




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Debtor     Red Lobster Management LLC                                                                                                   Case number (If known)      24-02486
           Name




                  Name and address                                                                                                          if any books of account and records are
                                                                                                                                            unavailable, explain why

         26c.2 MEDLEY, STEPHANIE
                                                                                                                                        ____________________________________________________
                450 SOUTH ORANGE AVENUE
                SUITE 800                                                                                                               ____________________________________________________

                ORLANDO, FL 32801




         26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
              statement within 2 years before filing this case.

           ¨ None          See Attached Rider

                  Name and address


         26d.1 _________________________________________________________________________________________________________________________

                _________________________________________________________________________________________________________________________
                Street
                _________________________________________________________________________________________________________________________

                _________________________________________________________________________________________________________________________
                City                                          State                                                     Zip Code




                  Name and address


         26d.2 _________________________________________________________________________________________________________________________
                _________________________________________________________________________________________________________________________
                Street
                _________________________________________________________________________________________________________________________

                _________________________________________________________________________________________________________________________
                City                                          State                                                     Zip Code




  27. Inventories
         Have any inventories of the debtor’s property been taken within 2 years before filing this case?

         þ No
         ¨ Yes. Give the details about the two most recent inventories.

            Name of the person who supervised the taking of the inventory                                                Date of            The dollar amount and basis (cost,
                                                                                                                         inventory          market, or other basis) of each inventory

                                                                                                                                             $

            Name and address of the person who has possession of
            inventory records

   27.1 ___________________________________________________________________________________________________________
           ___________________________________________________________________________________________________________
           Street
           ___________________________________________________________________________________________________________

           ___________________________________________________________________________________________________________
           City                                          State                                        Zip Code




  Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                         Page 12
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Debtor     Red Lobster Management LLC                                                                                               Case number (If known)    24-02486
          Name




            Name of the person who supervised the taking of the inventory                                               Date of      The dollar amount and basis (cost,
                                                                                                                        inventory    market, or other basis) of each inventory

                                                                                                                                       $

            Name and address of the person who has possession of
            inventory records

   27.2
          ___________________________________________________________________________________________________________

          ___________________________________________________________________________________________________________
          Street
          ___________________________________________________________________________________________________________

          ___________________________________________________________________________________________________________
          City                                          State                                        Zip Code




  28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders,
      or other people in control of the debtor at the time of the filing of this case.

            Name                                             Address                                                        Position and nature of any              % of interest, if any
                                                                                                                            interest

          See Attached Rider




  29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
      members in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    ¨ No
    þ Yes. Identify below.
            Name                                             Address                                                        Position and nature of           Period during which
                                                                                                                            any interest                     position or interest
                                                                                                                                                             was held
          See Attached Rider                                                                                                                                 From                To

                                                                                                                                                             From                To

                                                                                                                                                             From                To

                                                                                                                                                             From                To


  30. Payments, distributions, or withdrawals credited or given to insiders
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
         bonuses, loans, credits on loans, stock redemptions, and options exercised?

    ¨ No
    þ Yes. Identify below.
            Name and address of recipient                                                            Amount of money or                    Dates                     Reason for
                                                                                                     description and value of                                        providing the value
                                                                                                     property
   30.1 See Response to SOFA 4
          ____________________________________________________________________________________                                                                      ____________________________

          ____________________________________________________________________________________                                                                      ____________________________
          Street
          ____________________________________________________________________________________
          City                             State                           Zip Code




            Relationship to debtor




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Debtor    Red Lobster Management LLC                                                                                        Case number (If known)   24-02486
          Name




           Name and address of recipient                                                         Amount of money or              Dates                    Reason for
                                                                                                 description and value of                                 providing the value
                                                                                                 property
   30.2
          ____________________________________________________________________________________                                                           ____________________________

          ____________________________________________________________________________________                                                           ____________________________
          Street
          ____________________________________________________________________________________
          City                             State                           Zip Code




           Relationship to debtor



  31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

    þ No
    ¨ Yes. Identify below.
           Name of the parent corporation                                                                        Employer Identification number of the parent
                                                                                                                 corporation
                                                                                                                 EIN:


  32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund ?

    þ No
    ¨ Yes. Identify below.
           Name of the pension fund                                                                              Employer Identification number of the pension
                                                                                                                 fund
                                                                                                                 EIN:



 Part 14: Signature and Declaration


          WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
          connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
          18 U.S.C. §§ 152, 1341, 1519, and 3571.

          I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
          is true and correct.

          I declare under penalty of perjury that the foregoing is true and correct.


          Executed on         06/20/2024
                                MM / DD / YYYY



     X /s/ Nicholas Haughey                                                                       Printed name Nicholas Haughey

          Signature of individual signing on behalf of the debtor

          Position or relationship to debtor           Chief Restructuring Officer




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?

    ¨ No
    þ Yes




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Debtor Name: Red Lobster Management LLC                                                                       Case Number: 24-02486

                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                                                   SOFA Question 2: Non-business revenue



From Date                    To Date                       Description of sources of revenue                  Gross Revenue


06/01/2023                   04/30/2024                    Dividends                                                           $223,586.26

06/01/2022                   05/31/2023                    Dividends                                                            $21,876.00

06/01/2021                   05/31/2022                    Gift cards                                                            $4,196.17

06/01/2021                   05/31/2022                    Hedging                                                             $215,727.00

06/01/2023                   04/30/2024                    Intercompany Management Income                                  $148,881,242.73

06/01/2022                   05/31/2023                    Intercompany Management Income                                  $131,228,832.24

06/01/2021                   05/31/2022                    Intercompany Management Income                                  $105,976,884.02

06/01/2023                   04/30/2024                    Intercompany Procurement Income                                     $660,000.00

06/01/2022                   05/31/2023                    Intercompany Procurement Income                                     $720,000.00

06/01/2021                   05/31/2022                    Intercompany Procurement Income                                     $720,000.00

06/01/2023                   04/30/2024                    Interest Income                                                    $1,577,798.25

06/01/2022                   05/31/2023                    Management Fee Income                                                   $892.30

06/01/2023                   04/30/2024                    Sublease Rental Income                                              $224,162.00




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                    Case 6:24-bk-02486-GER                    Doc 435         Filed 06/21/24           Page 674 of 1148
Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
10010 STATION LLC                                           03/04/2024                Other- Rent                                            $28,143.73
C/O MAPP LLC
9101 RIVER RD
POTOMAC, MD 20854-4627
                                                            03/29/2024                Other- Rent                                            $28,143.73

                                                                                                                SUBTOTAL                     $56,287.46

10920 MOORPARK LLC                                          03/04/2024                Other- Rent                                            $24,432.09
650 S HILL ST STE M 11
LOS ANGELES, CA 90014-1748
                                                            03/29/2024                Other- Rent                                            $24,432.09

                                                            04/30/2024                Other- Rent                                            $24,432.09

                                                                                                                SUBTOTAL                     $73,296.27

10TH FAIRWAY LLC                                            03/08/2024                Other- Rent                                              $9,014.53
DBA JM MANAGEMENT GROUP
LLC
ATTN JOHN MESITI
2300 BUFFALO RD BLDG 100D
ROCHESTER, NY 14624-1371
                                                            03/25/2024                Other- Rent                                              $9,014.53

                                                                                                                SUBTOTAL                     $18,029.06

112 RLT LLC                                                 03/04/2024                Other- Rent                                              $7,861.62
C/O HOLM & OHARA LLP
3 WEST 35TH STREET 9TH
FLOOR
NEW YORK, NY 10001
                                                            03/29/2024                Other- Rent                                              $7,861.62

                                                                                                                SUBTOTAL                     $15,723.24

1120 SOUTH WALTON PARTNERS                                  03/04/2024                Other- Rent                                            $37,383.92
LLC
4320 INDUSTRIAL DRIVE
FORT SMITH, AR 72916-9194
                                                            03/29/2024                Other- Rent                                            $37,383.92

                                                            04/30/2024                Other- Rent                                            $37,383.92

                                                                                                                SUBTOTAL                     $112,151.76

116 RLT LLC                                                 03/04/2024                Other- Rent                                              $9,129.12
C/O HOLM & OHARA LLP
3 WEST 35TH STREET 9TH
FLOOR
NEW YORK, NY 10001
                                                            03/29/2024                Other- Rent                                              $9,129.12

                                                                                                                SUBTOTAL                     $18,258.24

1229 RICHMOND LLC                                           03/04/2024                Other- Rent                                            $28,739.22
C/O HENRY GOLDBERG
11 MILLER POINT RD
BREMEN, ME 04551-3500
                                                            03/29/2024                Other- Rent                                            $28,739.22

                                                            04/30/2024                Other- Rent                                            $28,739.22

                                                                                                                SUBTOTAL                     $86,217.66



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Debtor Name: Red Lobster Management LLC                                                                                   Case Number: 24-02486

                                      Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                           SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address           Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                  Number
1359 SN OWNERS LLC                                           03/04/2024                Other- Rent                                            $14,947.28
PO BOX 5461
NEW YORK, NY 10185-5461
                                                             03/29/2024                Other- Rent                                            $14,947.28

                                                             04/30/2024                Other- Rent                                            $14,947.28

                                                                                                                 SUBTOTAL                     $44,841.84

13612 HARBOR BOULEVARD LLC                                   03/05/2024                Other- Rent                                            $15,874.52
2058 N MILLS AVENUE
SUITE 435
CLAREMONT, CA 91711-2812
                                                             04/05/2024                Other- Rent                                            $15,874.52

                                                             05/02/2024                Other- Rent                                            $15,874.52

                                                                                                                 SUBTOTAL                     $47,623.56

1420 NOBLE AVE LLC                                           03/04/2024                Other- Rent                                            $33,860.34
DBA 3909 SUNSET DRIVE
OWNER LLC
740 ST NICHOLSON DRIVE
NEW YORK, NY 10031
                                                             03/29/2024                Other- Rent                                            $33,860.34

                                                                                                                 SUBTOTAL                     $67,720.68

1601 DAHILL PROPERTIES INC                                   03/04/2024                Other- Rent                                            $13,360.46
118 WEED AVE
STATEN ISLAND, NY 10306-4925
                                                             03/29/2024                Other- Rent                                            $13,360.46

                                                             04/30/2024                Other- Rent                                            $13,360.46

                                                                                                                 SUBTOTAL                     $40,081.38

170 WOLF ROAD LLC                                            03/04/2024                Other- Rent                                            $39,503.82
655-661 BLANFORD RD
GRANVILLE, MA 01034-9701
                                                             03/29/2024                Other- Rent                                            $39,503.82

                                                             04/30/2024                Other- Rent                                            $39,503.82

                                                                                                                 SUBTOTAL                     $118,511.46

1726 NC LLC                                                  03/04/2024                Other- Rent                                             $11,553.45
ATTN: CELESTE CARLESIMO
250 E 87TH ST APT 6A
NEW YORK, NY 10128-3119
                                                             03/29/2024                Other- Rent                                             $11,553.45

                                                                                                                 SUBTOTAL                     $23,106.90

1885 LTD                                                     03/04/2024                Other- Rent                                            $15,629.17
1707 1/2 POST OAK BLVD # 250
HOUSTON, TX 77056-3801
                                                             03/29/2024                Other- Rent                                            $15,629.17

                                                             04/30/2024                Other- Rent                                            $15,629.17

                                                                                                                 SUBTOTAL                     $46,887.51

2 GIRLS ENTERPRISES LLC                                      03/07/2024                Suppliers or Vendors                                    $8,517.64
DBA WILSON EQUIPMENT ETC
13040 W COLONIAL DR
WINTER GARDEN, FL 34787-3919
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Debtor Name: Red Lobster Management LLC                                                                                   Case Number: 24-02486

                                      Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                           SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address           Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                  Number
                                                             03/14/2024                Suppliers or Vendors                                   $16,477.63

                                                             04/04/2024                Suppliers or Vendors                                   $17,822.70

                                                             05/06/2024                Suppliers or Vendors                                   $12,879.82

                                                             05/08/2024                Suppliers or Vendors                                   $12,749.82

                                                                                                                 SUBTOTAL                     $68,447.61

2300 RESTAURANT CORP                                         03/04/2024                Other- Rent                                            $23,638.06
201 E LAS OLAS BLVD STE 1200
FORT LAUDERDALE, FL
33301-4434
                                                             03/29/2024                Other- Rent                                            $23,638.06

                                                                                                                 SUBTOTAL                     $47,276.12

2325 EAST FLAMINGO LLC                                       03/04/2024                Other- Rent                                            $32,836.54
PO BOX 332
RENO, NV 89504
                                                             03/29/2024                Other- Rent                                            $32,836.54

                                                             04/30/2024                Other- Rent                                            $32,836.54

                                                                                                                 SUBTOTAL                     $98,509.62

2328 COMMERCIAL WAY                                          03/04/2024                Other- Rent                                            $29,511.38
PROPERTIES LLC
ATTN EDEN
1 E ERIE ST STE 525-4833
CHICAGO, IL 60611-2740
                                                             03/29/2024                Other- Rent                                            $29,511.38

                                                             04/30/2024                Other- Rent                                            $29,511.38

                                                                                                                 SUBTOTAL                     $88,534.14

237 UPTOWN INC                                               03/04/2024                Other- Rent                                            $21,155.24
3307 GARLAND DRIVE
FALLS CHURCH, VA 22041-2510
                                                             03/29/2024                Other- Rent                                            $21,155.24

                                                                                                                 SUBTOTAL                     $42,310.48

2474 VALENTINE REALTY LLC                                    03/04/2024                Other- Rent                                            $31,075.36
DBA RL NEW BRUNSWICK
OWNER LLC
C/O THE MORGAN GROUP
1 SOUND SHORE DR STE 203
GREENWICH, CT 06830-7251
                                                             03/29/2024                Other- Rent                                            $31,075.36

                                                                                                                 SUBTOTAL                     $62,150.72

2525 BOWLING GREEN LLC                                       03/04/2024                Other- Rent                                            $11,458.33
C/O GENEVA MANAGEMENT
2950 SW 27TH AVE
MIAMI, FL 33133-3765
                                                             03/29/2024                Other- Rent                                            $11,458.33

                                                             04/30/2024                Other- Rent                                            $11,458.33

                                                                                                                 SUBTOTAL                     $34,374.99




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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
2620 MCFARLAND BLVD EAST                                    03/04/2024                Other- Rent                                             $12,005.03
LLC
28 SUNSET DR
TINTON FALLS, NJ 07724-3234
                                                            03/29/2024                Other- Rent                                             $12,005.03

                                                            04/30/2024                Other- Rent                                             $12,005.03

                                                                                                                SUBTOTAL                      $36,015.09

27TH MESA LLC                                               03/04/2024                Other- Rent                                             $12,083.33
1158 LAS PULGAS RD
PACIFIC PALISADES, CA 90272
                                                            03/29/2024                Other- Rent                                             $12,083.33

                                                            04/30/2024                Other- Rent                                             $12,083.33

                                                                                                                SUBTOTAL                      $36,249.99

29 OCEAN PARKWAY LLC                                        03/04/2024                Other- Rent                                             $25,363.89
ATTN DAVID GARTENSTEIN AND
STEVEN GARTENSTEIN
1245 HEWLETT PLZ UNIT 56
HEWLETT, NY 11557-4003
                                                            03/29/2024                Other- Rent                                             $25,363.89

                                                                                                                SUBTOTAL                      $50,727.78

3087 ASSOCIATES LLC                                         03/04/2024                Other- Rent                                             $15,024.65
DBA 3087 RLGA LLC
C/O LENORE RASHTY
6428 POLO POINT WAY
DELRAY BEACH, FL 33484
                                                            03/29/2024                Other- Rent                                             $15,024.65

                                                                                                                SUBTOTAL                      $30,049.30

39401 FREMONT BOULEVARD                                     03/04/2024                Other- Rent                                             $38,141.96
LLC
555 BRYANT ST PMB 316
PALO ALTO, CA 94301-1704
                                                            03/29/2024                Other- Rent                                             $38,141.96

                                                                                                                SUBTOTAL                      $76,283.92

3B2 SOLUTIONS LLC                                           02/20/2024                Suppliers or Vendors                                   $106,900.67
35 B CONCOURSE WAY
GREER, SC 296504704
                                                            02/23/2024                Suppliers or Vendors                                    $22,556.20

                                                            03/04/2024                Suppliers or Vendors                                    $10,029.92

                                                            03/08/2024                Suppliers or Vendors                                    $18,350.53

                                                            03/13/2024                Suppliers or Vendors                                    $76,466.81

                                                            03/21/2024                Suppliers or Vendors                                    $29,011.17

                                                            03/28/2024                Suppliers or Vendors                                    $31,510.09

                                                            04/11/2024                Suppliers or Vendors                                    $67,584.05

                                                            04/24/2024                Suppliers or Vendors                                    $12,142.00

                                                            05/06/2024                Suppliers or Vendors                                     $2,773.00

                                                            05/07/2024                Suppliers or Vendors                                      $489.00

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number

                                                                                                                SUBTOTAL                     $377,813.44

411 LENOX REALTY INC                                        03/04/2024                Other- Rent                                             $20,575.65
455 LENOX AVE
NEW YORK, NY 10037-3331
                                                            03/29/2024                Other- Rent                                             $20,575.65

                                                            04/30/2024                Other- Rent                                             $20,575.65

                                                                                                                SUBTOTAL                      $61,726.95

416 COMMERCE CENTER DRIVE                                   03/04/2024                Other- Rent                                             $15,803.54
LLC
3518 VALLEYVIEW DR
KISSIMMEE, FL 34746-2869
                                                            03/29/2024                Other- Rent                                             $15,803.54

                                                                                                                SUBTOTAL                      $31,607.08

4230 BROADWAY REALTY CO                                     02/27/2024                Other- Rent                                             $19,662.17
INC
C/O EDWARD APUZZI
5 OAKRIDGE COURT
PRINCETON, NJ 08540
                                                            04/01/2024                Other- Rent                                             $19,662.17

                                                            04/29/2024                Other- Rent                                             $19,662.17

                                                                                                                SUBTOTAL                      $58,986.51

454 W 22 ST LLC                                             03/04/2024                Other- Rent                                             $26,283.26
DBA 8040 KINGSTON PIKE ROAD
OWNER LLC
701 N FORT LAUDERDALE
BEACH BLVD
UNIT 1604
FORT LAUDERDALE, FL
33304-4148
                                                            03/29/2024                Other- Rent                                             $26,283.26

                                                            04/30/2024                Other- Rent                                             $26,283.26

                                                                                                                SUBTOTAL                      $78,849.78

6091 SAWMILL ROAD LLC                                       03/04/2024                Other- Rent                                             $13,048.25
C/O DON KUHN
4534 CROSSTICK CT
SYLVANIA, OH 43560-2288
                                                            03/29/2024                Other- Rent                                             $13,048.25

                                                            04/30/2024                Other- Rent                                             $13,048.25

                                                                                                                SUBTOTAL                      $39,144.75

6701 18TH AVENUE ASSOCIATES                                 03/04/2024                Other- Rent                                             $36,007.38
LLC
112 MULBERRY CIRCLE
STATEN ISLAND, NY 10314-3716
                                                            03/29/2024                Other- Rent                                             $36,007.38

                                                            04/30/2024                Other- Rent                                             $36,007.38

                                                                                                                SUBTOTAL                     $108,022.14




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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
684 MYRTLE AVENUE REALTY                                    03/04/2024                Other- Rent                                            $29,386.03
LLC
360 KINGSLAND AVENUE
BROOKLYN, NY 11222
                                                            03/29/2024                Other- Rent                                            $29,386.03

                                                            04/30/2024                Other- Rent                                            $29,386.03

                                                                                                                SUBTOTAL                     $88,158.09

801 RED LOBSTER LLC                                         03/04/2024                Other- Rent                                            $34,081.03
4601 PONCE DE LEON BLVD
SUITE #300
CORAL GABLES, FL 33146
                                                            03/29/2024                Other- Rent                                            $34,081.03

                                                                                                                SUBTOTAL                     $68,162.06

95METCALF PROPERTIES INC                                    03/04/2024                Other- Rent                                            $19,823.78
4705 CENTRAL STREET
KANSAS CITY, MO 64112
                                                            03/29/2024                Other- Rent                                            $19,823.78

                                                            04/30/2024                Other- Rent                                            $19,823.78

                                                                                                                SUBTOTAL                     $59,471.34

A & A PRODUCE COMPANY LLC                                   02/20/2024                Suppliers or Vendors                                     $917.96
4726 NORTHGATE BLVD
MYRTLE BEACH, SC 29577
                                                            02/21/2024                Suppliers or Vendors                                     $729.60

                                                            02/23/2024                Suppliers or Vendors                                    $1,013.52

                                                            02/27/2024                Suppliers or Vendors                                    $1,083.64

                                                            02/28/2024                Suppliers or Vendors                                     $755.70

                                                            03/04/2024                Suppliers or Vendors                                     $650.12

                                                            03/06/2024                Suppliers or Vendors                                    $1,313.87

                                                            03/08/2024                Suppliers or Vendors                                     $932.51

                                                            03/12/2024                Suppliers or Vendors                                    $1,649.89

                                                            03/14/2024                Suppliers or Vendors                                     $632.43

                                                            03/18/2024                Suppliers or Vendors                                     $712.04

                                                            03/19/2024                Suppliers or Vendors                                     $922.26

                                                            03/21/2024                Suppliers or Vendors                                     $496.13

                                                            03/25/2024                Suppliers or Vendors                                    $1,813.18

                                                            03/26/2024                Suppliers or Vendors                                     $362.45

                                                            03/28/2024                Suppliers or Vendors                                     $402.71

                                                            04/01/2024                Suppliers or Vendors                                     $638.35

                                                            04/02/2024                Suppliers or Vendors                                     $853.36

                                                            04/04/2024                Suppliers or Vendors                                     $551.46

                                                            04/08/2024                Suppliers or Vendors                                     $621.10



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/09/2024                Suppliers or Vendors                                     $1,149.38

                                                            04/11/2024                Suppliers or Vendors                                      $573.25

                                                            04/15/2024                Suppliers or Vendors                                     $1,137.00

                                                            04/16/2024                Suppliers or Vendors                                      $918.51

                                                            04/18/2024                Suppliers or Vendors                                      $543.30

                                                            04/22/2024                Suppliers or Vendors                                      $554.51

                                                            04/23/2024                Suppliers or Vendors                                      $959.12

                                                            04/25/2024                Suppliers or Vendors                                      $238.35

                                                            04/29/2024                Suppliers or Vendors                                     $1,018.41

                                                            04/30/2024                Suppliers or Vendors                                     $1,044.78

                                                            05/02/2024                Suppliers or Vendors                                      $527.33

                                                            05/06/2024                Suppliers or Vendors                                      $571.31

                                                            05/07/2024                Suppliers or Vendors                                     $1,017.23

                                                            05/09/2024                Suppliers or Vendors                                      $477.95

                                                            05/13/2024                Suppliers or Vendors                                      $453.36

                                                            05/14/2024                Suppliers or Vendors                                      $795.47

                                                            05/16/2024                Suppliers or Vendors                                      $762.64

                                                                                                                SUBTOTAL                      $29,794.18

A & F WATER HTR & SPA SER                                   05/08/2024                Suppliers or Vendors                                    $14,213.36
INC
35170 BEATTIE DRIVE
STERLING HEIGHTS, MI 48312
                                                                                                                SUBTOTAL                      $14,213.36

A LIST PLUMBING LLC                                         02/23/2024                Suppliers or Vendors                                     $9,298.14
21133 22ND AVE W
LYNNWOOD, WA 98036-7945
                                                                                                                SUBTOTAL                       $9,298.14

A O SMITH WATER PRODUCTS                                    02/23/2024                Suppliers or Vendors                                    $49,762.97
12024 COLLECTIONS CENTER
DRIVE
CHICAGO, IL 60693
                                                            03/04/2024                Suppliers or Vendors                                      $580.00

                                                            03/08/2024                Suppliers or Vendors                                    $66,374.60

                                                            03/21/2024                Suppliers or Vendors                                   $128,847.30

                                                            03/28/2024                Suppliers or Vendors                                   $107,914.86

                                                            04/11/2024                Suppliers or Vendors                                    $46,246.75

                                                            04/25/2024                Suppliers or Vendors                                   $105,325.16

                                                            05/02/2024                Suppliers or Vendors                                   $130,690.70

                                                            05/19/2024                Suppliers or Vendors                                   $308,907.44

                                                                                                                SUBTOTAL                     $944,649.78


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
A-1 COMMERCIAL CLEANING LLC                                 03/04/2024                Suppliers or Vendors                                    $3,409.88
3415 HUNTERS STAND ST
SAN ANTONIO, TX 78230-2029
                                                            04/12/2024                Suppliers or Vendors                                    $7,306.88

                                                                                                                SUBTOTAL                     $10,716.76

A-1 SERVICE PLUMBING INC                                    04/29/2024                Suppliers or Vendors                                    $7,266.85
2601 PEMBERTON DR
APOPKA, FL 32703-9403
                                                            05/15/2024                Suppliers or Vendors                                    $2,143.43

                                                                                                                SUBTOTAL                      $9,410.28

AARK USA LLC                                                03/04/2024                Other- Rent                                            $22,092.38
3026 MOSSER DRIVE
ALLENTOWN, PA 18103
                                                            03/29/2024                Other- Rent                                            $22,092.38

                                                            04/30/2024                Other- Rent                                            $22,092.38

                                                                                                                SUBTOTAL                     $66,277.14

AARON CHADWICK HARRIS                                       03/08/2024                Other- Individual Miscellaneous                         $8,504.00
DBA HARRIS FENCE &
LANDSCAPING COMPANY
13822 DENTWOOD DR
HOUSTON, TX 77014-2666
                                                            03/28/2024                Other- Individual Miscellaneous                         $1,750.00

                                                            05/02/2024                Other- Individual Miscellaneous                         $1,160.00

                                                                                                                SUBTOTAL                     $11,414.00

AASTHI LLC                                                  03/04/2024                Other- Rent                                            $33,127.51
829 HEATH LN
WESTMONT, IL 60559-2675
                                                            03/29/2024                Other- Rent                                            $33,127.51

                                                            04/30/2024                Other- Rent                                            $33,127.51

                                                                                                                SUBTOTAL                     $99,382.53

AC DC ELECTRIC INC                                          03/04/2024                Suppliers or Vendors                                     $540.00
3140 E AUSTIN DR
GILBERT, AZ 85296-0582
                                                            03/13/2024                Suppliers or Vendors                                    $6,858.00

                                                            03/28/2024                Suppliers or Vendors                                    $1,243.00

                                                            04/04/2024                Suppliers or Vendors                                    $6,061.00

                                                            04/11/2024                Suppliers or Vendors                                    $4,030.00

                                                            05/02/2024                Suppliers or Vendors                                    $6,938.00

                                                                                                                SUBTOTAL                     $25,670.00

ACCURATE BACKGROUND LLC                                     03/08/2024                Suppliers or Vendors                                   $37,851.65
7515 IRVINE CENTER DRIVE
IRVINE, CA 92618-2930
                                                            03/13/2024                Suppliers or Vendors                                     $206.62

                                                            04/04/2024                Suppliers or Vendors                                   $17,664.32

                                                            04/11/2024                Suppliers or Vendors                                     $115.15


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            05/02/2024                Suppliers or Vendors                                    $14,600.48

                                                            05/09/2024                Suppliers or Vendors                                       $111.86

                                                            05/15/2024                Suppliers or Vendors                                      $874.40

                                                            05/16/2024                Suppliers or Vendors                                    $17,475.32

                                                                                                                 SUBTOTAL                     $88,899.80

ACI WORLDWIDE CORP                                          02/26/2024                Suppliers or Vendors                                    $22,468.20
13594 COLLECTIONS CENTER
DRIVE
CHICAGO, IL 60693-0001
                                                            03/01/2024                Suppliers or Vendors                                    $28,845.66

                                                            03/18/2024                Suppliers or Vendors                                    $21,997.84

                                                            03/22/2024                Suppliers or Vendors                                    $41,096.98

                                                            03/27/2024                Suppliers or Vendors                                    $31,054.55

                                                            04/16/2024                Suppliers or Vendors                                    $28,845.66

                                                            04/23/2024                Suppliers or Vendors                                    $15,468.84

                                                            05/02/2024                Suppliers or Vendors                                    $33,145.22

                                                            05/19/2024                Suppliers or Vendors                                   $148,183.49

                                                                                                                 SUBTOTAL                    $371,106.44

AD&C ENTERPRISES LLC                                        03/04/2024                Suppliers or Vendors                                    $14,424.00
3256 N SUSQUEHANNA TRL
YORK, PA 17406-9754
                                                                                                                 SUBTOTAL                     $14,424.00

ADAMS REFRIGERATION &                                       05/08/2024                Suppliers or Vendors                                     $8,621.36
RESTAURANT EQUIPMENT INC
PO BOX 846
JONESBOROUGH, TN 37659
                                                            05/09/2024                Suppliers or Vendors                                      $538.72

                                                                                                                 SUBTOTAL                      $9,160.08

ADOBE INC                                                   03/22/2024                Suppliers or Vendors                                   $259,536.53
29322 NETWORK PLACE
CHICAGO, IL 60673-1293
                                                            05/08/2024                Suppliers or Vendors                                     $3,390.00

                                                                                                                 SUBTOTAL                    $262,926.53

ADP CLIENT TRUST                                            02/28/2024                Other- Payroll Processor                                $48,660.00

                                                            03/06/2024                Other- Payroll Processor                                $10,000.00

                                                            04/08/2024                Other- Payroll Processor                                $60,000.00

                                                            04/17/2024                Other- Payroll Processor                                $10,000.00

                                                            05/01/2024                Other- Payroll Processor                                $20,000.00

                                                            05/16/2024                Other- Payroll Processor                                 $5,000.00

                                                                                                                 SUBTOTAL                    $153,660.00




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Debtor Name: Red Lobster Management LLC                                                                                   Case Number: 24-02486

                                      Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                           SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address           Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                  Number
ADP INC                                                      02/20/2024                Other- Payroll Processor                                $52,708.10
PO BOX 830272
PHILADELPHIA, PA 19182-0382
                                                             03/04/2024                Other- Payroll Processor                                $15,751.49

                                                             03/08/2024                Other- Payroll Processor                                $48,129.86

                                                             03/15/2024                Other- Payroll Processor                                 $5,715.32

                                                             04/04/2024                Other- Payroll Processor                                $50,854.05

                                                             04/10/2024                Other- Payroll Processor                                $50,460.17

                                                             04/23/2024                Other- Payroll Processor                                $63,871.80

                                                                                                                  SUBTOTAL                    $287,490.79

ADVANCED HOUSING                                             03/04/2024                Other- Rent                                             $33,638.19
DEVELOPERS INC
1362 65TH STREET
BROOKLYN, NY 11209
                                                             03/29/2024                Other- Rent                                             $33,638.19

                                                             05/02/2024                Other- Rent                                             $33,638.19

                                                                                                                  SUBTOTAL                    $100,914.57

AEROFUND HOLDINGS INC                                        02/23/2024                Suppliers or Vendors                                    $22,848.22
DBA AEROFUND FINANCIAL
C/O 1212 FLOORING SOLUTIONS
INC
7842 BIG TIMBER TRL
MIDDLETON, WI 53562-4159
                                                                                                                  SUBTOTAL                     $22,848.22

AETNA LIFE INSURANCE                                         03/04/2024                Suppliers or Vendors                                    $24,280.65
COMPANY
221 DAWSON ROAD
COLUMBIA, SC 292243759
                                                             04/04/2024                Suppliers or Vendors                                    $29,491.18

                                                             05/08/2024                Suppliers or Vendors                                    $23,636.14

                                                                                                                  SUBTOTAL                     $77,407.97

AFLI2 LLC                                                    03/04/2024                Other- Rent                                             $15,895.00
ATTN ANGELA LI
3066 STELLING DR
PALO ALTO, CA 94303-3968
                                                             03/29/2024                Other- Rent                                             $15,895.00

                                                                                                                  SUBTOTAL                     $31,790.00

AIB MANAGEMENT I LP                                          03/04/2024                Other- Rent                                             $22,386.88
DBA AIB SHENANDOAH I LLC
C/O MR KLAUS THOMA ESQ
520 POST OAK BLVD STE 710
HOUSTON, TX 77027-9481
                                                             03/29/2024                Other- Rent                                             $22,386.88

                                                             04/30/2024                Other- Rent                                             $22,386.88

                                                                                                                  SUBTOTAL                     $67,160.64




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Debtor Name: Red Lobster Management LLC                                                                                   Case Number: 24-02486

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Creditor Name & Address           Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                  Number
AJ CHEN LLC                                                  03/04/2024                Other- Rent                                             $26,251.79
ATTN DORIS CHEN
423 LAUREL OAK DR
SEWICKLEY, PA 15143-9392
                                                             03/29/2024                Other- Rent                                             $26,251.79

                                                                                                                 SUBTOTAL                      $52,503.58

ALAN S GOLDMAN                                               03/04/2024                Suppliers or Vendors                                     $5,780.42
DBA AQUA-VISIONS
2597 KIMBERLY COURT
MERRICK, NY 11566
                                                             03/28/2024                Suppliers or Vendors                                     $3,424.11

                                                             05/02/2024                Suppliers or Vendors                                     $2,165.66

                                                                                                                 SUBTOTAL                      $11,370.19

ALDO GUIDOTTI                                                02/26/2024                Other- Rent                                             $10,117.52
DBA GUIDOTTI PROPERTIES LLC
C/O COMMERCIAL REAL ESTATE
MANAGEMENT
5951 JEFFERSON STREET NE
SUITE A
ALBUQUERQUE, NM 87109
                                                             03/18/2024                Other- Rent                                             $14,391.50

                                                             04/17/2024                Other- Rent                                             $14,391.50

                                                                                                                 SUBTOTAL                      $38,900.52

ALEXANDRIA SEAFOOD LLC                                       03/04/2024                Other- Rent                                             $36,152.28
15942 SHADY GROVE ROAD
GAITHERSBURG, MD 20877
                                                             03/29/2024                Other- Rent                                             $36,152.28

                                                             04/30/2024                Other- Rent                                             $36,152.28

                                                                                                                 SUBTOTAL                     $108,456.84

NAME ON FILE                                                 03/04/2024                Other- Rent                                              $6,108.03
ADDRESS ON FILE
                                                             03/29/2024                Other- Rent                                              $6,108.03

                                                             04/30/2024                Other- Rent                                              $6,108.03

                                                                                                                 SUBTOTAL                      $18,324.09

ALL HOURS PLUMBING DRAIN                                     03/04/2024                Suppliers or Vendors                                    $18,403.00
CLEANING LLC
1152 W 2400 S
WEST VALLEY, UT 84119-1557
                                                                                                                 SUBTOTAL                      $18,403.00

ALLIED MECHANICAL &                                          03/27/2024                Suppliers or Vendors                                    $21,026.18
ELECTRICAL INC
2141 SANDY DRIVE
STATE COLLEGE, PA 16803-2283
                                                             05/06/2024                Suppliers or Vendors                                     $3,822.61

                                                                                                                 SUBTOTAL                      $24,848.79




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Debtor Name: Red Lobster Management LLC                                                                                   Case Number: 24-02486

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Creditor Name & Address           Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                  Number
ALONSO EXCAVATION &                                          04/11/2024                Suppliers or Vendors                                   $10,626.80
CONSTRUCTION CO INC
DBA ALONSO SERVICE
COMPANY
PO BOX 33998
SAN ANTONIO, TX 78265-3998
                                                                                                                 SUBTOTAL                     $10,626.80

ALPHA MECHANICAL SERVICE                                     02/20/2024                Suppliers or Vendors                                   $24,405.93
LLC
DBA ALPHA ENERGY SOLUTIONS
7200 DISTRIBUTION DRIVE
LOUISVILLE, KY 40258-2827
                                                             03/04/2024                Suppliers or Vendors                                    $9,843.52

                                                             03/13/2024                Suppliers or Vendors                                    $2,485.00

                                                             03/28/2024                Suppliers or Vendors                                   $17,491.15

                                                             04/25/2024                Suppliers or Vendors                                    $8,785.69

                                                             05/02/2024                Suppliers or Vendors                                     $590.00

                                                                                                                 SUBTOTAL                     $63,601.29

ALPHA THREAT MANAGEMENT                                      03/21/2024                Suppliers or Vendors                                    $2,369.63
INC
18032 C LEMON DR SUITE 124
YORBA LINDA, CA 92886
                                                             03/28/2024                Suppliers or Vendors                                   $12,989.25

                                                                                                                 SUBTOTAL                     $15,358.88

ALPINE REFRIGERATION INC                                     03/13/2024                Suppliers or Vendors                                    $8,747.75
PO BOX 40188
DENVER, CO 80204
                                                             03/28/2024                Suppliers or Vendors                                    $3,443.45

                                                             04/25/2024                Suppliers or Vendors                                    $2,366.37

                                                                                                                 SUBTOTAL                     $14,557.57

ALR RACANELLI LLC                                            03/04/2024                Other- Rent                                            $13,705.41
C/O ANGELA POSILLICO
61 BAYVIEW AVE
MASSAPEQUA, NY 11758-7218
                                                             03/29/2024                Other- Rent                                            $13,705.41

                                                             04/30/2024                Other- Rent                                            $13,705.41

                                                                                                                 SUBTOTAL                     $41,116.23

ALSCO INC                                                    02/20/2024                Suppliers or Vendors                                   $37,946.69
DBA ALSCO CORPORATE
ACCOUNTS
3101 CHARLOTTE AVE
NASHVILLE, TN 37209-4053
                                                             02/23/2024                Suppliers or Vendors                                   $36,311.46

                                                             03/04/2024                Suppliers or Vendors                                   $21,802.99

                                                             03/08/2024                Suppliers or Vendors                                   $18,123.89

                                                             03/13/2024                Suppliers or Vendors                                   $27,028.33

                                                             03/21/2024                Suppliers or Vendors                                   $28,048.56


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Debtor Name: Red Lobster Management LLC                                                                                   Case Number: 24-02486

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Creditor Name & Address           Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                  Number
                                                             03/22/2024                Suppliers or Vendors                                      $706.63

                                                             03/28/2024                Suppliers or Vendors                                    $21,732.19

                                                             04/04/2024                Suppliers or Vendors                                    $24,268.49

                                                             04/11/2024                Suppliers or Vendors                                    $22,297.61

                                                             04/18/2024                Suppliers or Vendors                                    $31,289.95

                                                             04/25/2024                Suppliers or Vendors                                    $69,958.90

                                                             05/02/2024                Suppliers or Vendors                                    $21,980.44

                                                             05/16/2024                Suppliers or Vendors                                   $152,958.98

                                                                                                                 SUBTOTAL                     $514,455.11

ALVA INVESTMENT CORP                                         03/04/2024                Other- Rent                                             $35,618.33
8950 SW 74 CT SUITE 1901
MIAMI, FL 33156
                                                             03/29/2024                Other- Rent                                             $35,618.33

                                                             04/19/2024                Other- Rent                                              $4,236.10

                                                             04/30/2024                Other- Rent                                             $35,618.33

                                                                                                                 SUBTOTAL                     $111,091.09

AMAZING GRACE LANDSCAPING                                    02/23/2024                Suppliers or Vendors                                     $5,155.64
LLC
9230 US HIGHWAY 192 STE D1
CLERMONT, FL 34714-8214
                                                             03/28/2024                Suppliers or Vendors                                     $2,380.00

                                                             04/04/2024                Suppliers or Vendors                                     $2,240.00

                                                             04/25/2024                Suppliers or Vendors                                      $312.00

                                                                                                                 SUBTOTAL                      $10,087.64

AMAZON.COM                                                   03/18/2024                Suppliers or Vendors                                    $16,751.61
C/O AMAZON WEB SERVICES
INC
PO BOX 84023
SEATTLE, WA 98124-8423
                                                             03/27/2024                Suppliers or Vendors                                    $17,059.94

                                                             04/17/2024                Suppliers or Vendors                                    $17,252.44

                                                             05/01/2024                Suppliers or Vendors                                      $235.04

                                                             05/19/2024                Suppliers or Vendors                                    $33,533.70

                                                                                                                 SUBTOTAL                      $84,832.73

AMERICAN ARBITRATION                                         02/23/2024                Suppliers or Vendors                                     $4,972.00
ASSOCIATION INC
120 BROADWAY FL 21
NEW YORK, NY 10271-2700
                                                             02/28/2024                Suppliers or Vendors                                       $65.00

                                                             04/05/2024                Suppliers or Vendors                                     $4,575.50

                                                             05/10/2024                Suppliers or Vendors                                      $980.00

                                                             05/17/2024                Suppliers or Vendors                                     $3,387.50


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            05/19/2024                Suppliers or Vendors                                     $368.00

                                                                                                                SUBTOTAL                     $14,348.00

AMERICAN DREAM                                              04/04/2024                Suppliers or Vendors                                   $12,803.50
MAINTENANCE AND POWER
WASHING LLC
DBA ANGELA BOCCIO MCCOMB
64 VANDERBILT AVE
SAINT JAMES, NY 11780-1732
                                                            04/30/2024                Suppliers or Vendors                                    $1,304.50

                                                                                                                SUBTOTAL                     $14,108.00

AMERICAN FAST FREIGHT INC                                   02/23/2024                Suppliers or Vendors                                    $3,705.45
PO BOX 101846
PASADENA, CA 91189-0053
                                                            03/08/2024                Suppliers or Vendors                                    $4,939.09

                                                            03/28/2024                Suppliers or Vendors                                   $12,340.33

                                                            04/19/2024                Suppliers or Vendors                                   $34,374.27

                                                            04/22/2024                Suppliers or Vendors                                    $6,892.49

                                                            05/01/2024                Suppliers or Vendors                                    $5,966.15

                                                            05/03/2024                Suppliers or Vendors                                    $5,822.78

                                                            05/13/2024                Suppliers or Vendors                                    $4,025.22

                                                                                                                SUBTOTAL                     $78,065.78

AMERICAN FINANCE OPERATING                                  03/06/2024                Other- Rent                                            $16,895.40
PARTNERSHIP LP
DBA ARC CLORLFL001 LLC
C/O HIFFMAN NATIONAL LLC
ONE OAKBROOK TERRACE STE
400
OAKBROOK TERRACE, IL
60181-4449
                                                            04/11/2024                Other- Rent                                            $16,895.40

                                                                                                                SUBTOTAL                     $33,790.80

AMERICAN HEATING INC                                        03/21/2024                Suppliers or Vendors                                    $8,722.34
5035 S E 24TH AVENUE
PORTLAND, OR 972024765
                                                            03/28/2024                Suppliers or Vendors                                     $321.00

                                                            04/11/2024                Suppliers or Vendors                                     $348.29

                                                            05/02/2024                Suppliers or Vendors                                     $732.93

                                                                                                                SUBTOTAL                     $10,124.56

AMERITECH FACILITY SERVICES                                 03/08/2024                Suppliers or Vendors                                    $6,656.99
LLC
1500 AIRPORT DRIVE
SUITE 200
BALL GROUND, GA 30107
                                                            03/21/2024                Suppliers or Vendors                                    $5,049.20

                                                            04/04/2024                Suppliers or Vendors                                    $3,554.45

                                                            04/25/2024                Suppliers or Vendors                                    $7,538.29



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            05/02/2024                Suppliers or Vendors                                     $6,943.28

                                                            05/09/2024                Suppliers or Vendors                                   $279,500.00

                                                                                                                SUBTOTAL                     $309,242.21

AMJ WOLF CORP                                               03/04/2024                Other- Rent                                              $9,363.77
239 BARTON AVENUE
MELVILLE, NY 11747
                                                            03/29/2024                Other- Rent                                              $9,363.77

                                                                                                                SUBTOTAL                      $18,727.54

AMW CONTRACTING INC                                         03/04/2024                Suppliers or Vendors                                    $12,048.08
144 ARLINGTON ROAD S STE 3
JACKSONVILLE, FL 32216-7204
                                                            03/21/2024                Suppliers or Vendors                                    $12,018.68

                                                                                                                SUBTOTAL                      $24,066.76

ANALYTIC PARTNERS LP                                        04/22/2024                Suppliers or Vendors                                    $75,000.00
1441 BRICKELL AVE STE 1220
MIAMI, FL 33131-3429
                                                            05/09/2024                Suppliers or Vendors                                    $37,500.00

                                                                                                                SUBTOTAL                     $112,500.00

ANDREWS REFRIGERATION INC                                   04/25/2024                Suppliers or Vendors                                    $12,133.60
5617 E HILLERY DR
SCOTTSDALE, AZ 852542449
                                                                                                                SUBTOTAL                      $12,133.60

ANDYHARRIS LLC                                              03/04/2024                Other- Rent                                             $15,070.33
222 GRAND AVE
ENGLEWOOD, NJ 07631-4352
                                                            03/29/2024                Other- Rent                                             $15,371.74

                                                            04/30/2024                Other- Rent                                             $15,371.74

                                                                                                                SUBTOTAL                      $45,813.81

ANNA BUECHELER INVESTMENT                                   03/04/2024                Other- Rent                                             $25,905.01
PARTNERSHIP
13615 HART STREET
VAN NUYS, CA 91405
                                                            03/29/2024                Other- Rent                                             $25,905.01

                                                            04/30/2024                Other- Rent                                             $25,905.01

                                                                                                                SUBTOTAL                      $77,715.03

ANNAPOLIS MALL SHOPPING                                     03/04/2024                Other- Rent                                             $19,732.00
CTR CO
C/O ANNAPOLIS MGMT CO
PO BOX 6570
ANNAPOLIS, MD 214010570
                                                            03/29/2024                Other- Rent                                             $19,732.00

                                                            04/30/2024                Other- Rent                                             $19,732.00

                                                                                                                SUBTOTAL                      $59,196.00

NAME ON FILE                                                03/04/2024                Other- Rent                                             $20,399.84
ADDRESS ON FILE
                                                            04/02/2024                Other- Rent                                             $20,399.84


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            05/06/2024                Other- Rent                                              $20,399.84

                                                                                                                SUBTOTAL                       $61,199.52

ANTHONY J CHINAPPI                                          05/02/2024                Suppliers or Vendors                                      $8,536.41
DBA CHINAPPI LANDSCAPING
LLC
PO BOX 481
WILLIAMSTOWN, NJ 08094
                                                                                                                SUBTOTAL                        $8,536.41

ANYBILL FINANCIAL SERVICES                                  02/21/2024                Suppliers or Vendors                                    $974,428.10
INC
C/O ACCOUNTS RECEIVABLE
PO BOX 34781
BETHESDA, MD 20827
                                                            02/22/2024                Suppliers or Vendors                                      $1,608.15

                                                            02/27/2024                Suppliers or Vendors                                    $589,149.74

                                                            03/05/2024                Suppliers or Vendors                                    $220,049.00

                                                            03/12/2024                Suppliers or Vendors                                    $664,460.92

                                                            03/15/2024                Suppliers or Vendors                               $10,839,982.19

                                                            03/18/2024                Suppliers or Vendors                                     $19,000.00

                                                            03/20/2024                Suppliers or Vendors                                   $1,305,053.18

                                                            03/27/2024                Suppliers or Vendors                                    $755,896.73

                                                            04/03/2024                Suppliers or Vendors                                    $161,760.00

                                                            04/10/2024                Suppliers or Vendors                                    $692,330.83

                                                            04/15/2024                Suppliers or Vendors                                      $1,568.68

                                                            04/17/2024                Suppliers or Vendors                               $10,770,708.76

                                                            04/22/2024                Suppliers or Vendors                                   $1,468,742.56

                                                            04/25/2024                Suppliers or Vendors                                   $2,135,700.05

                                                            05/02/2024                Suppliers or Vendors                                    $180,576.00

                                                            05/10/2024                Suppliers or Vendors                                    $528,975.84

                                                            05/17/2024                Suppliers or Vendors                                   $8,552,716.42

                                                            05/19/2024                Suppliers or Vendors                                      $3,242.66

                                                                                                                SUBTOTAL                 $39,865,949.81

AP SERVICES LLC                                             02/23/2024                Suppliers or Vendors                                    $402,479.37
PO BOX 7410063
CHICAGO, IL 60674-5063
                                                            03/11/2024                Suppliers or Vendors                                    $682,239.83

                                                            05/08/2024                Suppliers or Vendors                                   $1,340,103.71

                                                                                                                SUBTOTAL                     $2,424,822.91

APEX SYSTEMS INC                                            02/26/2024                Suppliers or Vendors                                     $86,042.00
3750 COLLECTIONS CENTER
DRIVE
CHICAGO, IL 60693
                                                            03/06/2024                Suppliers or Vendors                                     $92,220.00

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/15/2024                Suppliers or Vendors                                     $3,800.00

                                                            03/18/2024                Suppliers or Vendors                                     $8,320.00

                                                            03/27/2024                Suppliers or Vendors                                     $7,320.00

                                                            04/01/2024                Suppliers or Vendors                                     $8,600.00

                                                            04/02/2024                Suppliers or Vendors                                    $37,960.00

                                                            04/09/2024                Suppliers or Vendors                                    $10,120.00

                                                            04/16/2024                Suppliers or Vendors                                    $13,400.00

                                                            04/23/2024                Suppliers or Vendors                                    $36,960.00

                                                            05/02/2024                Suppliers or Vendors                                    $43,375.00

                                                            05/08/2024                Suppliers or Vendors                                    $16,120.00

                                                            05/19/2024                Suppliers or Vendors                                   $232,313.00

                                                                                                                SUBTOTAL                     $596,550.00

APPCAST INC                                                 03/04/2024                Suppliers or Vendors                                    $12,928.75
PO BOX 392472
PITTSBURGH, PA 15251-9472
                                                            04/01/2024                Suppliers or Vendors                                     $7,346.15

                                                                                                                SUBTOTAL                      $20,274.90

APPROVED MAINTENANCE LLC                                    02/20/2024                Suppliers or Vendors                                     $3,850.00
1341 S SENECA ST
WICHITA, KS 67213-4328
                                                            02/23/2024                Suppliers or Vendors                                    $27,375.00

                                                            03/21/2024                Suppliers or Vendors                                    $11,340.50

                                                            03/28/2024                Suppliers or Vendors                                     $7,270.00

                                                            04/11/2024                Suppliers or Vendors                                    $27,562.50

                                                            04/18/2024                Suppliers or Vendors                                     $6,381.90

                                                            04/25/2024                Suppliers or Vendors                                      $750.00

                                                            05/02/2024                Suppliers or Vendors                                     $1,950.00

                                                            05/16/2024                Suppliers or Vendors                                   $113,913.50

                                                                                                                SUBTOTAL                     $200,393.40

ARA FOOD STYLING LLC                                        02/23/2024                Suppliers or Vendors                                    $14,145.26
1101 SANTA CRUZ WAY
WINTER SPRINGS, FL
32708-4813
                                                            04/04/2024                Suppliers or Vendors                                    $16,831.63

                                                            05/16/2024                Suppliers or Vendors                                    $13,097.02

                                                                                                                SUBTOTAL                      $44,073.91

ARAMARK UNIFORM AND                                         02/20/2024                Suppliers or Vendors                                     $5,908.36
CAREER APPAREL GROUP INC
ATTN: FINANCIAL COLLECTIONS
MANAGER
1340 RUSSELL CAVE ROAD
LEXINGTON, KY 40505

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            02/23/2024                Suppliers or Vendors                                    $66,367.84

                                                            02/23/2024                Suppliers or Vendors                                      $837.09

                                                            03/04/2024                Suppliers or Vendors                                    $47,977.61

                                                            03/08/2024                Suppliers or Vendors                                    $16,219.08

                                                            03/13/2024                Suppliers or Vendors                                    $48,542.65

                                                            03/21/2024                Suppliers or Vendors                                      $193.64

                                                            03/28/2024                Suppliers or Vendors                                    $31,870.63

                                                            04/04/2024                Suppliers or Vendors                                    $17,927.58

                                                            04/11/2024                Suppliers or Vendors                                    $12,802.75

                                                            04/18/2024                Suppliers or Vendors                                    $15,864.48

                                                            04/25/2024                Suppliers or Vendors                                    $48,279.01

                                                            05/02/2024                Suppliers or Vendors                                    $48,508.09

                                                            05/16/2024                Suppliers or Vendors                                   $128,059.34

                                                                                                                SUBTOTAL                     $489,358.15

ARES HOLDINGS LLC                                           03/08/2024                Suppliers or Vendors                                     $3,682.96
NEXTECH
1045 S JOHN RODES BLVD
MELBOURNE, FL 32904-2006
                                                            03/28/2024                Suppliers or Vendors                                    $20,536.24

                                                            04/25/2024                Suppliers or Vendors                                     $9,898.34

                                                            05/02/2024                Suppliers or Vendors                                    $21,344.87

                                                                                                                SUBTOTAL                      $55,462.41

ARMEL LLC                                                   03/04/2024                Other- Rent                                             $23,280.17
C/O JOHN FELLIN
3 THE GRNS
HAUPPAUGE, NY 11788-3357
                                                            03/29/2024                Other- Rent                                             $23,280.17

                                                            04/30/2024                Other- Rent                                             $23,280.17

                                                                                                                SUBTOTAL                      $69,840.51

ARNOLD L GARZA                                              03/13/2024                Suppliers or Vendors                                    $13,094.40
DBA A PLUS PLUMBING AND
REPAIR
7036 LAKE VIEW DR
CORPUS CHRISTI, TX 78412-5041
                                                            05/02/2024                Suppliers or Vendors                                     $1,092.00

                                                                                                                SUBTOTAL                      $14,186.40

ARTHUR WEIGOLD                                              03/04/2024                Other- Rent                                             $49,951.33
DBA 3360 CAMP CREEK OWNER
LLC
22 SHOREHAVEN RD
NORWALK, CT 06855-2807
                                                            03/29/2024                Other- Rent                                             $49,951.33

                                                            04/30/2024                Other- Rent                                             $49,951.33


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Debtor Name: Red Lobster Management LLC                                                                                   Case Number: 24-02486

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Creditor Name & Address           Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                  Number

                                                                                                                 SUBTOTAL                     $149,853.99

ARVIG4 LLC                                                   03/04/2024                Other- Rent                                             $21,974.95
2750 NE 185TH ST STE 306
AVENTURA, FL 33180-2877
                                                             03/29/2024                Other- Rent                                             $21,974.95

                                                                                                                 SUBTOTAL                      $43,949.90

NAME ON FILE                                                 03/04/2024                Other- Employee Expense                                  $5,033.77
ADDRESS ON FILE                                                                        Reimbursement
                                                             03/21/2024                Other- Employee Expense                                  $2,343.97
                                                                                       Reimbursement
                                                             04/04/2024                Other- Employee Expense                                  $7,377.14
                                                                                       Reimbursement
                                                             04/23/2024                Other- Employee Expense                                  $4,883.13
                                                                                       Reimbursement
                                                             04/30/2024                Other- Employee Expense                                   $200.82
                                                                                       Reimbursement
                                                                                                                 SUBTOTAL                      $19,838.83

ATB FURNISHED HOUSING SF                                     04/02/2024                Suppliers or Vendors                                    $11,310.00
INC
1480 SW 3RD ST STE C6
POMPANO BEACH, FL 33069-3225
                                                                                                                 SUBTOTAL                      $11,310.00

ATHERTON DEVELOPMENT                                         03/04/2024                Other- Rent                                              $8,723.58
COMPANY LP
C/O WATERS & ASSOCIATES
200 OLD FORGE LANE STE 201
KENNETT SQUARE, PA 19348
                                                             03/29/2024                Other- Rent                                              $8,723.58

                                                             04/30/2024                Other- Rent                                              $8,723.58

                                                                                                                 SUBTOTAL                      $26,170.74

ATLANTIC BUILDING &                                          02/23/2024                Suppliers or Vendors                                    $12,743.00
REMODELING INC
809 LIVE OAK DRIVE
SUITE 11
CHESAPEAKE, VA 23320
                                                             03/13/2024                Suppliers or Vendors                                    $10,047.00

                                                             04/25/2024                Suppliers or Vendors                                     $7,120.00

                                                             05/02/2024                Suppliers or Vendors                                    $10,960.00

                                                                                                                 SUBTOTAL                      $40,870.00

ATLAS VAN LINES INC                                          03/08/2024                Suppliers or Vendors                                    $28,400.34
PO BOX 952340
ST LOUIS, MO 631952340
                                                             03/12/2024                Suppliers or Vendors                                     $6,826.20

                                                             03/29/2024                Suppliers or Vendors                                    $17,534.01

                                                                                                                 SUBTOTAL                      $52,760.55

AUCALLUTIM LLC                                               03/04/2024                Other- Rent                                             $14,297.40
45 SCHOOLHOUSE LN
MORRISTOWN, NJ 07960-3382
                                                             03/29/2024                Other- Rent                                             $14,297.40


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/30/2024                Other- Rent                                             $14,297.40

                                                                                                                SUBTOTAL                      $42,892.20

AUGUST AMERICA LLC                                          03/04/2024                Other- Rent                                             $17,582.95
C/O KWA GROUP
206 NEW LONDON TPKE
GLASTONBURY, CT 06033-2235
                                                            03/29/2024                Other- Rent                                             $17,582.95

                                                            04/30/2024                Other- Rent                                             $12,712.43

                                                                                                                SUBTOTAL                      $47,878.33

AVIANA COMPANY LTD LLC                                      02/27/2024                Other- Rent                                              $9,576.25
CARNEGIE MGMT AND DEVLPMT
CORP
27500 DETROIT ROAD 3RD
FLOOR
WESTLAKE, OH 44145
                                                            03/05/2024                Other- Rent                                                $12.77

                                                            04/02/2024                Other- Rent                                              $9,589.02

                                                            04/30/2024                Other- Rent                                              $9,589.02

                                                            05/06/2024                Other- Rent                                             $18,002.02

                                                                                                                SUBTOTAL                      $46,769.08

B G BRECKE INC                                              03/28/2024                Suppliers or Vendors                                    $15,816.09
4140 F AVENUE NW
CEDAR RAPIDS, IA 52405
                                                                                                                SUBTOTAL                      $15,816.09

B&L STORAGE                                                 03/04/2024                Other- Rent                                             $37,872.96
28135 N 96TH PL
SCOTTSDALE, AZ 85262-8451
                                                            03/29/2024                Other- Rent                                             $37,872.96

                                                            04/30/2024                Other- Rent                                             $37,872.96

                                                                                                                SUBTOTAL                     $113,618.88

BAKER & HOSTETLER LLP                                       03/21/2024                Services                                                $35,515.69
PO BOX 70189
CLEVELAND, OH 44190-0189
                                                            05/02/2024                Services                                                $21,574.03

                                                            05/03/2024                Services                                                $49,758.17

                                                            05/13/2024                Services                                                $19,398.15

                                                                                                                SUBTOTAL                     $126,246.04

BAR HARBOR LOBSTER CO INC                                   02/20/2024                Suppliers or Vendors                                     $5,313.58
DBA BAR HARBOR SEAFOOD
2000 PREMIER ROW
ORLANDO, FL 32809
                                                            02/21/2024                Suppliers or Vendors                                      $406.58

                                                            02/22/2024                Suppliers or Vendors                                     $2,928.00

                                                            02/23/2024                Suppliers or Vendors                                     $1,251.47

                                                            02/26/2024                Suppliers or Vendors                                      $883.83


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            02/27/2024                Suppliers or Vendors                                   $4,274.66

                                                            02/28/2024                Suppliers or Vendors                                    $672.40

                                                            02/29/2024                Suppliers or Vendors                                   $2,727.08

                                                            03/04/2024                Suppliers or Vendors                                   $2,564.49

                                                            03/06/2024                Suppliers or Vendors                                   $5,077.71

                                                            03/07/2024                Suppliers or Vendors                                   $1,156.00

                                                            03/08/2024                Suppliers or Vendors                                   $1,515.67

                                                            03/11/2024                Suppliers or Vendors                                   $1,101.08

                                                            03/12/2024                Suppliers or Vendors                                   $4,073.63

                                                            03/13/2024                Suppliers or Vendors                                    $643.58

                                                            03/14/2024                Suppliers or Vendors                                   $1,218.44

                                                            03/15/2024                Suppliers or Vendors                                   $2,532.78

                                                            03/18/2024                Suppliers or Vendors                                   $4,085.78

                                                            03/19/2024                Suppliers or Vendors                                   $2,021.04

                                                            03/20/2024                Suppliers or Vendors                                    $458.09

                                                            03/21/2024                Suppliers or Vendors                                   $1,001.72

                                                            03/22/2024                Suppliers or Vendors                                   $1,537.01

                                                            03/25/2024                Suppliers or Vendors                                   $3,282.85

                                                            03/26/2024                Suppliers or Vendors                                   $1,975.44

                                                            03/27/2024                Suppliers or Vendors                                   $1,758.57

                                                            03/28/2024                Suppliers or Vendors                                   $2,313.91

                                                            03/29/2024                Suppliers or Vendors                                   $1,276.51

                                                            04/01/2024                Suppliers or Vendors                                   $4,191.89

                                                            04/02/2024                Suppliers or Vendors                                   $1,121.22

                                                            04/03/2024                Suppliers or Vendors                                    $838.77

                                                            04/05/2024                Suppliers or Vendors                                    $878.18

                                                            04/08/2024                Suppliers or Vendors                                   $3,033.85

                                                            04/09/2024                Suppliers or Vendors                                    $960.41

                                                            04/10/2024                Suppliers or Vendors                                    $596.24

                                                            04/12/2024                Suppliers or Vendors                                    $452.62

                                                            04/15/2024                Suppliers or Vendors                                   $2,604.10

                                                            04/16/2024                Suppliers or Vendors                                    $945.54

                                                            04/17/2024                Suppliers or Vendors                                    $388.95

                                                            04/22/2024                Suppliers or Vendors                                   $4,406.82

                                                            04/23/2024                Suppliers or Vendors                                    $244.65

                                                            04/24/2024                Suppliers or Vendors                                    $206.86

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/25/2024                Suppliers or Vendors                                        $518.30

                                                            04/26/2024                Suppliers or Vendors                                      $1,942.75

                                                            04/29/2024                Suppliers or Vendors                                      $3,863.26

                                                            04/30/2024                Suppliers or Vendors                                        $407.75

                                                            05/01/2024                Suppliers or Vendors                                      $2,519.79

                                                            05/02/2024                Suppliers or Vendors                                      $1,932.88

                                                            05/03/2024                Suppliers or Vendors                                        $234.32

                                                            05/06/2024                Suppliers or Vendors                                      $3,805.50

                                                            05/08/2024                Suppliers or Vendors                                      $1,935.56

                                                            05/10/2024                Suppliers or Vendors                                      $1,847.30

                                                            05/13/2024                Suppliers or Vendors                                      $7,379.05

                                                            05/14/2024                Suppliers or Vendors                                        $692.76

                                                            05/15/2024                Suppliers or Vendors                                        $215.04

                                                                                                                SUBTOTAL                      $106,216.26

BARKLEY INC                                                 02/22/2024                Suppliers or Vendors                                    $170,562.50
1740 MAIN ST
KANSAS CITY, MO 64108-1376
                                                            03/04/2024                Suppliers or Vendors                                    $232,412.19

                                                            03/08/2024                Suppliers or Vendors                                    $178,103.53

                                                            03/14/2024                Suppliers or Vendors                                    $380,531.26

                                                            04/01/2024                Suppliers or Vendors                                    $208,565.00

                                                            04/11/2024                Suppliers or Vendors                                    $207,700.75

                                                            04/15/2024                Suppliers or Vendors                                    $208,565.00

                                                            05/02/2024                Suppliers or Vendors                                    $272,232.32

                                                            05/19/2024                Suppliers or Vendors                                    $680,264.78

                                                                                                                SUBTOTAL                     $2,538,937.33

BARLAS RLR LLC                                              03/04/2024                Other- Rent                                              $29,921.63
4407 W FUQUA ST STE A
HOUSTON, TX 77045-6255
                                                            03/29/2024                Other- Rent                                              $29,921.63

                                                            04/30/2024                Other- Rent                                              $29,921.63

                                                                                                                SUBTOTAL                       $89,764.89

BAY PLAZA WEST LLC                                          03/04/2024                Other- Rent                                              $83,664.35
C/O PRESTIGE PROPERTIES
546 FIFTH AVE 15TH FLOOR
NEW YORK, NY 10036
                                                            04/03/2024                Other- Rent                                              $83,664.35

                                                            05/03/2024                Other- Rent                                              $63,088.35

                                                            05/06/2024                Other- Rent                                              $20,576.00



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number

                                                                                                                SUBTOTAL                     $250,993.05

BBI LOGISTICS LLC                                           03/13/2024                Suppliers or Vendors                                     $9,900.00
PO BOX 970
COLUMBUS, OH 43216-0970
                                                            04/11/2024                Suppliers or Vendors                                    $19,800.00

                                                            04/22/2024                Suppliers or Vendors                                     $4,300.00

                                                            05/02/2024                Suppliers or Vendors                                     $3,300.00

                                                            05/16/2024                Suppliers or Vendors                                    $39,600.00

                                                                                                                SUBTOTAL                      $76,900.00

BEENE ENTERPRISES LLC                                       02/23/2024                Suppliers or Vendors                                    $13,306.95
DBA A CLEAN CUT LAWN AND
LANDSCAPE
1112 N 155TH AVE
OMAHA, NE 68154-3736
                                                            05/02/2024                Suppliers or Vendors                                     $1,683.75

                                                                                                                SUBTOTAL                      $14,990.70

BELOS EXCHANGE LLC                                          03/04/2024                Other- Rent                                             $43,253.25
ATTN ELIAS ELIOPOULOS
144 LANGDON AVE
DOBBS FERRY, NY 10522-1203
                                                            03/29/2024                Other- Rent                                             $43,253.25

                                                            04/30/2024                Other- Rent                                             $43,253.25

                                                                                                                SUBTOTAL                     $129,759.75

BELUZ PROPERTIES X LTD                                      03/04/2024                Other- Rent                                             $27,303.91
5109 80TH STREET
LUBBOCK, TX 79424
                                                            03/29/2024                Other- Rent                                             $27,303.91

                                                                                                                SUBTOTAL                      $54,607.82

BENJAMIN M JOHNSON LLC                                      04/18/2024                Suppliers or Vendors                                    $30,600.00
28686 MOUNTAIN VIEW RD
CONIFER, CO 80433-7240
                                                            05/02/2024                Suppliers or Vendors                                    $14,400.00

                                                            05/02/2024                Suppliers or Vendors                                    $10,800.00

                                                            05/03/2024                Suppliers or Vendors                                     $3,600.00

                                                            05/10/2024                Suppliers or Vendors                                     $3,600.00

                                                            05/16/2024                Suppliers or Vendors                                    $12,060.00

                                                                                                                SUBTOTAL                      $75,060.00

BENJAMIN MARKS                                              03/04/2024                Other- Rent                                             $28,402.98
DBA BLJ HOLDINGS LLC
252 SHORE CT
LAUDERDALE BY THE SEA, FL
33308-5031
                                                            03/29/2024                Other- Rent                                             $28,402.98

                                                            04/30/2024                Other- Rent                                             $28,402.98

                                                                                                                SUBTOTAL                      $85,208.94


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
BERTHA AIKEN LLC                                            03/04/2024                Other- Rent                                             $10,709.58
PO BOX 481149
DELRAY BEACH, FL 33448-1149
                                                            03/29/2024                Other- Rent                                             $10,709.58

                                                            04/30/2024                Other- Rent                                             $10,709.58

                                                                                                                SUBTOTAL                      $32,128.74

BEVERAGE-AIR CORPORATION                                    02/20/2024                Suppliers or Vendors                                    $10,077.09
PO BOX 602056
CHARLOTTE, NC 282602056
                                                            03/04/2024                Suppliers or Vendors                                     $5,595.14

                                                            03/08/2024                Suppliers or Vendors                                     $5,193.65

                                                            03/21/2024                Suppliers or Vendors                                     $3,358.54

                                                            03/28/2024                Suppliers or Vendors                                     $9,832.78

                                                            04/03/2024                Suppliers or Vendors                                     $3,660.86

                                                            04/11/2024                Suppliers or Vendors                                    $12,891.58

                                                            04/25/2024                Suppliers or Vendors                                    $20,444.09

                                                            04/30/2024                Suppliers or Vendors                                     $1,839.01

                                                            05/16/2024                Suppliers or Vendors                                    $25,873.80

                                                                                                                SUBTOTAL                      $98,766.54

BHAGAT MD LLC                                               03/04/2024                Other- Rent                                             $36,387.90
6374 LAKEVIEW DR
FALLS CHURCH, VA 22041-1334
                                                            03/29/2024                Other- Rent                                             $36,387.90

                                                            04/30/2024                Other- Rent                                             $36,387.90

                                                                                                                SUBTOTAL                     $109,163.70

BIDWELL CONSTRUCTION INC                                    02/23/2024                Suppliers or Vendors                                     $7,750.25
1900 ORO DAM BOULEVARD
SUITE 12 # 325
OROVILLE, CA 95966
                                                                                                                SUBTOTAL                       $7,750.25

BIG RED LLC                                                 03/05/2024                Other- Rent                                             $24,428.75
C/O BRYAN W FAIRFIELD
MANAGER
6121 OLD STATE ROAD 25 N
LAFAYETTE, IN 47905-9718
                                                            04/02/2024                Other- Rent                                             $24,428.75

                                                            04/30/2024                Other- Rent                                             $24,428.75

                                                                                                                SUBTOTAL                      $73,286.25

BIGGER FISH TO FRY LLC                                      05/07/2024                Suppliers or Vendors                                     $9,916.66

                                                                                                                SUBTOTAL                       $9,916.66

NAME ON FILE                                                03/04/2024                Other- Rent                                             $20,594.76
ADDRESS ON FILE
                                                            03/29/2024                Other- Rent                                             $20,594.76

                                                            04/30/2024                Other- Rent                                             $20,594.76

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number

                                                                                                                SUBTOTAL                     $61,784.28

BISON PALM DESERT LLC                                       03/06/2024                Other- Rent                                             $1,996.06
C/O PURE PROPERTY
MANAGEMENT
ATTN KIMBERY BARRAGAN
PO BOX 871
MENIFEE, CA 92586-0871
                                                            03/14/2024                Other- Rent                                             $1,996.06

                                                            04/04/2024                Other- Rent                                             $2,686.00

                                                            05/06/2024                Other- Rent                                             $4,755.82

                                                                                                                SUBTOTAL                     $11,433.94

BIX PRODUCE CO                                              02/20/2024                Suppliers or Vendors                                   $19,739.00
3060 CENTERVILLE RD
LITTLE CANADA, MN 55117-1105
                                                            02/21/2024                Suppliers or Vendors                                     $590.03

                                                            02/23/2024                Suppliers or Vendors                                    $4,196.18

                                                            02/26/2024                Suppliers or Vendors                                    $9,405.88

                                                            02/27/2024                Suppliers or Vendors                                   $13,425.60

                                                            02/28/2024                Suppliers or Vendors                                     $376.45

                                                            02/29/2024                Suppliers or Vendors                                     $247.56

                                                            03/04/2024                Suppliers or Vendors                                    $8,654.30

                                                            03/06/2024                Suppliers or Vendors                                   $14,355.03

                                                            03/08/2024                Suppliers or Vendors                                    $4,949.41

                                                            03/11/2024                Suppliers or Vendors                                    $4,858.06

                                                            03/12/2024                Suppliers or Vendors                                   $14,701.03

                                                            03/14/2024                Suppliers or Vendors                                    $3,843.57

                                                            03/15/2024                Suppliers or Vendors                                    $4,707.77

                                                            03/18/2024                Suppliers or Vendors                                   $11,985.20

                                                            03/19/2024                Suppliers or Vendors                                    $3,023.81

                                                            03/21/2024                Suppliers or Vendors                                    $2,907.14

                                                            03/22/2024                Suppliers or Vendors                                    $4,108.91

                                                            03/25/2024                Suppliers or Vendors                                   $13,247.44

                                                            03/26/2024                Suppliers or Vendors                                     $320.74

                                                            03/28/2024                Suppliers or Vendors                                    $3,829.96

                                                            03/29/2024                Suppliers or Vendors                                    $4,132.64

                                                            04/01/2024                Suppliers or Vendors                                   $12,155.14

                                                            04/02/2024                Suppliers or Vendors                                    $1,621.23

                                                            04/04/2024                Suppliers or Vendors                                    $2,669.50

                                                            04/05/2024                Suppliers or Vendors                                    $3,714.71



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/08/2024                Suppliers or Vendors                                    $10,850.26

                                                            04/09/2024                Suppliers or Vendors                                      $862.01

                                                            04/10/2024                Suppliers or Vendors                                      $438.46

                                                            04/11/2024                Suppliers or Vendors                                     $4,570.57

                                                            04/12/2024                Suppliers or Vendors                                     $3,567.24

                                                            04/15/2024                Suppliers or Vendors                                    $13,721.63

                                                            04/16/2024                Suppliers or Vendors                                      $338.99

                                                            04/18/2024                Suppliers or Vendors                                     $2,067.40

                                                            04/19/2024                Suppliers or Vendors                                     $4,015.06

                                                            04/22/2024                Suppliers or Vendors                                    $12,032.06

                                                            04/23/2024                Suppliers or Vendors                                      $356.01

                                                            04/25/2024                Suppliers or Vendors                                     $2,389.87

                                                            04/26/2024                Suppliers or Vendors                                     $3,914.21

                                                            04/29/2024                Suppliers or Vendors                                    $12,532.84

                                                            04/30/2024                Suppliers or Vendors                                     $1,547.76

                                                            05/02/2024                Suppliers or Vendors                                     $3,384.55

                                                            05/03/2024                Suppliers or Vendors                                     $4,231.22

                                                            05/06/2024                Suppliers or Vendors                                    $13,050.47

                                                            05/07/2024                Suppliers or Vendors                                      $607.07

                                                            05/09/2024                Suppliers or Vendors                                     $2,678.11

                                                            05/10/2024                Suppliers or Vendors                                     $3,185.40

                                                            05/13/2024                Suppliers or Vendors                                    $11,219.08

                                                            05/14/2024                Suppliers or Vendors                                     $2,575.44

                                                            05/16/2024                Suppliers or Vendors                                     $3,132.72

                                                                                                                SUBTOTAL                     $285,034.72

BLACK DIAMOND PAVING INC                                    02/23/2024                Suppliers or Vendors                                    $23,327.00
1905 MARKETVIEW DRIVE
SUITE 229
YORKVILLE, IL 60560
                                                                                                                SUBTOTAL                      $23,327.00

BLACKHAWK NETWORK INC                                       02/20/2024                Suppliers or Vendors                                    $51,194.70
C/O WACHOVIA BANK
PO BOX 932859
ATLANTA, GA 31193-2859
                                                            02/23/2024                Suppliers or Vendors                                   $131,760.57

                                                            03/04/2024                Suppliers or Vendors                                    $44,854.13

                                                            03/13/2024                Suppliers or Vendors                                   $102,852.62

                                                            03/21/2024                Suppliers or Vendors                                    $91,378.68

                                                            03/22/2024                Suppliers or Vendors                                     $7,525.08


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/28/2024                Suppliers or Vendors                                     $36,404.76

                                                            04/01/2024                Suppliers or Vendors                                      $8,556.55

                                                            04/04/2024                Suppliers or Vendors                                     $67,477.28

                                                            04/11/2024                Suppliers or Vendors                                     $53,768.61

                                                            04/25/2024                Suppliers or Vendors                                     $98,159.89

                                                            04/30/2024                Suppliers or Vendors                                      $9,827.86

                                                            05/02/2024                Suppliers or Vendors                                     $28,921.78

                                                                                                                SUBTOTAL                      $732,682.51

BLACKSTOCK WESTSIDE                                         03/04/2024                Other- Rent                                               $8,559.66
ASSOCIATES LLC
C/O SPENCER HINES PROPERTY
MANAGEMENT
347 E BLACKSTOCK RD STE B
SPARTANBURG, SC 29301-3782
                                                            03/29/2024                Other- Rent                                               $8,559.66

                                                            04/30/2024                Other- Rent                                               $8,559.66

                                                                                                                SUBTOTAL                       $25,678.98

BLUE CROSS BLUE SHIELD                                      02/23/2024                Suppliers or Vendors                                     $26,872.01

                                                            03/01/2024                Suppliers or Vendors                                    $186,702.42

                                                            03/05/2024                Suppliers or Vendors                                   $1,180,614.26

                                                            03/08/2024                Suppliers or Vendors                                    $279,384.21

                                                            03/15/2024                Suppliers or Vendors                                    $141,735.20

                                                            03/21/2024                Suppliers or Vendors                                    $395,264.70

                                                            03/28/2024                Suppliers or Vendors                                    $282,237.92

                                                            04/01/2024                Suppliers or Vendors                                    $181,442.46

                                                            04/04/2024                Suppliers or Vendors                                    $419,814.05

                                                            04/11/2024                Suppliers or Vendors                                    $416,567.60

                                                            04/18/2024                Suppliers or Vendors                                    $339,080.23

                                                            04/25/2024                Suppliers or Vendors                                    $308,154.09

                                                            04/30/2024                Suppliers or Vendors                                    $157,948.53

                                                            05/02/2024                Suppliers or Vendors                                    $396,881.69

                                                            05/09/2024                Suppliers or Vendors                                    $182,806.08

                                                            05/16/2024                Suppliers or Vendors                                    $345,919.34

                                                                                                                SUBTOTAL                     $5,241,424.79

BLUE TREE PROPERTIES OH                                     03/04/2024                Other- Rent                                              $15,928.56
LLC
ATTN: BRADY ERICSON
2215 TOTTENHAM RD
BLOOMFIELD HILLS, MI
48301-2334
                                                            03/29/2024                Other- Rent                                              $15,928.56

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/30/2024                Other- Rent                                            $15,928.56

                                                                                                                SUBTOTAL                     $47,785.68

BLUESTRIPES INVESTMENTS                                     03/04/2024                Other- Rent                                             $9,564.01
LLC
2387 ROPER MOUNTAIN ROAD
SIMPSONVILLE, SC 296814937
                                                            03/29/2024                Other- Rent                                             $9,564.01

                                                            04/30/2024                Other- Rent                                             $9,564.01

                                                                                                                SUBTOTAL                     $28,692.03

BOB AND DAVES LAWN &                                        03/21/2024                Suppliers or Vendors                                    $7,463.75
LANDSCAPE MAINTENANCE INC
PO BOX 828
KAUKAUNA, WI 54130
                                                            05/02/2024                Suppliers or Vendors                                     $812.50

                                                                                                                SUBTOTAL                      $8,276.25

BOSHARD BUILDERS INC                                        03/05/2024                Suppliers or Vendors                                    $8,207.00
DBA SAME DAY ELECTRIC
PO BOX 1992
PROVO, UT 84603-1992
                                                                                                                SUBTOTAL                      $8,207.00

BOTTLING GROUP LLC                                          04/22/2024                Suppliers or Vendors                                   $36,420.99
DBA PEPSI BEVERAGES
COMPANY
PO BOX 75948
CHICAGO, IL 60675-5948
                                                            04/23/2024                Suppliers or Vendors                                     $328.87

                                                            04/29/2024                Suppliers or Vendors                                    $1,090.14

                                                            04/30/2024                Suppliers or Vendors                                    $2,502.54

                                                            05/01/2024                Suppliers or Vendors                                     $644.66

                                                            05/02/2024                Suppliers or Vendors                                     $396.03

                                                            05/06/2024                Suppliers or Vendors                                     $504.44

                                                            05/07/2024                Suppliers or Vendors                                    $2,824.14

                                                            05/08/2024                Suppliers or Vendors                                       $34.70

                                                            05/13/2024                Suppliers or Vendors                                     $498.84

                                                            05/14/2024                Suppliers or Vendors                                     $108.84

                                                            05/15/2024                Suppliers or Vendors                                       $33.72

                                                                                                                SUBTOTAL                     $45,387.91

BPR FF LLC                                                  03/01/2024                Other- Rent                                             $1,797.77
DBA BOISE TOWNE PLAZA LLC
PO BOX 776113
CHICAGO, IL 60677-6113
                                                            03/05/2024                Other- Rent                                            $11,778.75

                                                            03/29/2024                Other- Rent                                             $1,797.77

                                                            04/01/2024                Other- Rent                                            $11,778.75



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/29/2024                Other- Rent                                            $11,778.75

                                                            05/07/2024                Other- Rent                                             $1,797.77

                                                                                                                SUBTOTAL                     $40,729.56

BPW INC                                                     03/15/2024                Other- Rent                                            $32,428.07
61 SPRING VALLEY LN
PITTSBURGH, PA 15238-1857
                                                            04/29/2024                Other- Rent                                            $32,428.07

                                                                                                                SUBTOTAL                     $64,856.14

BRAILLE WORKS                                               03/19/2024                Suppliers or Vendors                                   $17,023.40
INTERNATIONAL INC
941 DARBY LAKE STREET
SEFFNER, FL 33527
                                                                                                                SUBTOTAL                     $17,023.40

BRAVESOFTTECH INC                                           03/04/2024                Suppliers or Vendors                                    $9,000.00
301 E LIBERTY STREET STE 650
ANN ARBOR, MI 48104-2283
                                                            04/05/2024                Suppliers or Vendors                                    $9,000.00

                                                            04/11/2024                Suppliers or Vendors                                    $9,000.00

                                                                                                                SUBTOTAL                     $27,000.00

BREAKTHRU BEVERAGE                                          02/20/2024                Suppliers or Vendors                                     $387.64
SOUTH CAROLINA
102 BEVERAGE BOULEVARD
RIDGEWAY, SC 29130
                                                            02/27/2024                Suppliers or Vendors                                    $1,865.81

                                                            02/27/2024                Suppliers or Vendors                                       $96.42

                                                            03/06/2024                Suppliers or Vendors                                     $330.56

                                                            03/08/2024                Suppliers or Vendors                                    $1,092.95

                                                            03/11/2024                Suppliers or Vendors                                     $463.54

                                                            03/12/2024                Suppliers or Vendors                                     $296.25

                                                            03/15/2024                Suppliers or Vendors                                     $369.84

                                                            03/18/2024                Suppliers or Vendors                                     $277.16

                                                            03/21/2024                Suppliers or Vendors                                     $420.36

                                                            03/22/2024                Suppliers or Vendors                                     $355.02

                                                            03/28/2024                Suppliers or Vendors                                    $1,144.60

                                                            03/28/2024                Suppliers or Vendors                                     $798.62

                                                            03/29/2024                Suppliers or Vendors                                    $1,025.48

                                                            04/01/2024                Suppliers or Vendors                                     $120.09

                                                            04/03/2024                Suppliers or Vendors                                     $110.16

                                                            04/04/2024                Suppliers or Vendors                                     $423.27

                                                            04/12/2024                Suppliers or Vendors                                     $594.80

                                                            04/16/2024                Suppliers or Vendors                                     $432.75


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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/19/2024                Suppliers or Vendors                                      $371.54

                                                            04/22/2024                Suppliers or Vendors                                      $304.59

                                                            04/24/2024                Suppliers or Vendors                                      $250.37

                                                            04/29/2024                Suppliers or Vendors                                      $787.02

                                                            05/03/2024                Suppliers or Vendors                                      $156.71

                                                            05/09/2024                Suppliers or Vendors                                     $1,260.90

                                                            05/13/2024                Suppliers or Vendors                                      $221.79

                                                            05/16/2024                Suppliers or Vendors                                     $1,102.26

                                                                                                                SUBTOTAL                      $15,060.50

BRIARHOLM INC                                               03/04/2024                Other- Rent                                             $89,821.13
1260 SOUTH RIVER ROAD
CRANBURY, NJ 08512
                                                            03/29/2024                Other- Rent                                             $89,821.13

                                                            04/30/2024                Other- Rent                                             $57,029.05

                                                                                                                SUBTOTAL                     $236,671.31

BRINKS INC                                                  03/08/2024                Suppliers or Vendors                                    $72,672.82
PO BOX 101031
ATLANTA, GA 30392-1031
                                                            04/04/2024                Suppliers or Vendors                                    $70,665.87

                                                            05/02/2024                Suppliers or Vendors                                    $68,853.74

                                                            05/16/2024                Suppliers or Vendors                                    $68,871.71

                                                                                                                SUBTOTAL                     $281,064.14

BRITE FUTURE PLUMBING INC                                   03/21/2024                Suppliers or Vendors                                     $6,700.94
2041 SW 70TH AVENUE SUITE
#D15
DAVIE, FL 33317
                                                            04/04/2024                Suppliers or Vendors                                     $1,481.90

                                                            04/25/2024                Suppliers or Vendors                                     $1,468.75

                                                                                                                SUBTOTAL                       $9,651.59

BRIXMOR OPERATING                                           02/27/2024                Other- Rent                                             $16,228.99
PARTNERSHIP LP
DBA CALIFORNIA PROPERTY
OWNER 1 LLC
C/O BRIXMOR PROPERTY
GROUP
PO BOX 645351
CINCINNATI, OH 45264-5351
                                                            02/28/2024                Other- Rent                                              $4,595.06

                                                            03/19/2024                Other- Rent                                             $38,618.25

                                                            03/26/2024                Other- Rent                                              $4,212.19

                                                            04/01/2024                Other- Rent                                             $16,228.99

                                                            04/08/2024                Other- Rent                                                  $0.31

                                                                                                                SUBTOTAL                      $79,883.79


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
BROADRIDGE APARTMENTS LLC                                   03/04/2024                Other- Rent                                              $37,408.81
10231 PRESTWICK TRAIL
LONE TREE, CO 80124-9747
                                                            03/29/2024                Other- Rent                                              $37,408.81

                                                            04/30/2024                Other- Rent                                              $37,408.81

                                                                                                                SUBTOTAL                      $112,226.43

BROADSTONE RL PORTFOLIO                                     03/04/2024                Other- Rent                                             $504,980.94
LLC
C/O BROADSTONE NET LEASE
INC
207 HIGH POINT DR STE 300
VICTOR, NY 14564-1061
                                                            03/29/2024                Other- Rent                                             $504,980.94

                                                            04/30/2024                Other- Rent                                             $504,980.94

                                                                                                                SUBTOTAL                     $1,514,942.82

BROADWAY & NEVADA LLC                                       03/04/2024                Other- Rent                                              $13,118.00
C/O KEVIN FAXON
53 SOUTH RD
HARRISON, NY 10528-2311
                                                            03/29/2024                Other- Rent                                              $13,118.00

                                                            04/30/2024                Other- Rent                                              $13,118.00

                                                            05/02/2024                Other- Rent                                              $57,643.74

                                                                                                                SUBTOTAL                       $96,997.74

BROADWAY AND PEARL                                          03/05/2024                Other- Rent                                              $17,504.79
ASSOCIATES LLC
PO BOX 529
EUGENE, OR 97440
                                                            04/03/2024                Other- Rent                                               $3,039.15

                                                            04/08/2024                Other- Rent                                              $14,465.64

                                                            05/03/2024                Other- Rent                                              $14,465.64

                                                            05/08/2024                Other- Rent                                               $1,252.43

                                                                                                                SUBTOTAL                       $50,727.65

BROCK ASSOCIATES LLC                                        03/04/2024                Other- Rent                                              $37,620.94
385 OAKHURST LN
COLORADO SPRINGS, CO
80906-4399
                                                            03/29/2024                Other- Rent                                              $37,620.94

                                                            04/30/2024                Other- Rent                                              $37,620.94

                                                                                                                SUBTOTAL                      $112,862.82

BROOKS SHOPPING CENTERS                                     02/29/2024                Other- Rent                                              $36,728.65
LLC
C/O MARX REALTY
10 GRAND CENTRAL
155 E 44TH ST 7TH FLOOR
NEW YORK, NY 10017-4100
                                                            03/29/2024                Other- Rent                                              $10,361.46

                                                            04/02/2024                Other- Rent                                              $26,367.19


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            05/01/2024                Other- Rent                                            $26,367.19

                                                            05/03/2024                Other- Rent                                            $10,361.46

                                                                                                                SUBTOTAL                     $110,185.95

BROOKSIDE IMPROVEMENTS                                      02/28/2024                Other- Rent                                            $16,471.83
LLC
C/O BERKSHIRE BANK
PO BOX 15020
WORCESTER, MA 01615-0020
                                                            04/01/2024                Other- Rent                                            $16,471.83

                                                            04/30/2024                Other- Rent                                            $16,471.83

                                                                                                                SUBTOTAL                     $49,415.49

BROTHERS PRODUCE OF                                         02/20/2024                Suppliers or Vendors                                   $13,806.86
AUSTIN
DBA BROTHERS PRODUCE INC
PO BOX 6008
AUSTIN, TX 78762
                                                            02/23/2024                Suppliers or Vendors                                   $15,564.23

                                                            02/26/2024                Suppliers or Vendors                                     $1,543.35

                                                            02/27/2024                Suppliers or Vendors                                    $11,875.35

                                                            02/28/2024                Suppliers or Vendors                                      $767.22

                                                            03/04/2024                Suppliers or Vendors                                     $5,020.43

                                                            03/06/2024                Suppliers or Vendors                                   $13,426.62

                                                            03/08/2024                Suppliers or Vendors                                     $7,064.56

                                                            03/11/2024                Suppliers or Vendors                                      $230.98

                                                            03/12/2024                Suppliers or Vendors                                   $13,015.45

                                                            03/14/2024                Suppliers or Vendors                                     $7,676.50

                                                            03/18/2024                Suppliers or Vendors                                    $11,668.00

                                                            03/19/2024                Suppliers or Vendors                                      $551.49

                                                            03/21/2024                Suppliers or Vendors                                     $7,049.24

                                                            03/22/2024                Suppliers or Vendors                                      $886.80

                                                            03/25/2024                Suppliers or Vendors                                   $12,080.72

                                                            03/26/2024                Suppliers or Vendors                                      $622.58

                                                            03/27/2024                Suppliers or Vendors                                      $359.12

                                                            03/28/2024                Suppliers or Vendors                                     $5,678.66

                                                            04/01/2024                Suppliers or Vendors                                   $12,546.25

                                                            04/02/2024                Suppliers or Vendors                                     $1,510.43

                                                            04/04/2024                Suppliers or Vendors                                     $6,747.08

                                                            04/05/2024                Suppliers or Vendors                                      $279.62

                                                            04/08/2024                Suppliers or Vendors                                   $12,492.30

                                                            04/09/2024                Suppliers or Vendors                                      $214.79


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/11/2024                Suppliers or Vendors                                     $6,989.23

                                                            04/12/2024                Suppliers or Vendors                                      $691.75

                                                            04/15/2024                Suppliers or Vendors                                    $11,002.96

                                                            04/16/2024                Suppliers or Vendors                                     $1,362.51

                                                            04/18/2024                Suppliers or Vendors                                     $4,547.26

                                                            04/19/2024                Suppliers or Vendors                                      $602.48

                                                            04/22/2024                Suppliers or Vendors                                     $9,567.08

                                                            04/23/2024                Suppliers or Vendors                                     $1,577.24

                                                            04/25/2024                Suppliers or Vendors                                     $6,361.81

                                                            04/26/2024                Suppliers or Vendors                                      $356.60

                                                            04/29/2024                Suppliers or Vendors                                    $10,872.33

                                                            04/30/2024                Suppliers or Vendors                                      $348.92

                                                            05/02/2024                Suppliers or Vendors                                     $5,754.40

                                                            05/06/2024                Suppliers or Vendors                                    $10,975.84

                                                            05/07/2024                Suppliers or Vendors                                      $146.48

                                                            05/09/2024                Suppliers or Vendors                                     $4,284.54

                                                            05/10/2024                Suppliers or Vendors                                      $264.06

                                                            05/13/2024                Suppliers or Vendors                                    $11,695.62

                                                            05/15/2024                Suppliers or Vendors                                       $95.63

                                                            05/16/2024                Suppliers or Vendors                                     $6,839.47

                                                                                                                SUBTOTAL                     $257,014.84

BROTHERS PRODUCE OF                                         02/20/2024                Suppliers or Vendors                                    $12,104.84
DALLAS INC
PO BOX 550278
DALLAS, TX 75355
                                                            02/21/2024                Suppliers or Vendors                                     $3,051.92

                                                            02/23/2024                Suppliers or Vendors                                    $12,006.97

                                                            02/26/2024                Suppliers or Vendors                                     $4,505.67

                                                            02/27/2024                Suppliers or Vendors                                     $9,432.39

                                                            02/28/2024                Suppliers or Vendors                                     $2,901.69

                                                            03/04/2024                Suppliers or Vendors                                     $8,087.97

                                                            03/06/2024                Suppliers or Vendors                                    $12,592.87

                                                            03/08/2024                Suppliers or Vendors                                     $7,186.48

                                                            03/11/2024                Suppliers or Vendors                                     $2,661.67

                                                            03/12/2024                Suppliers or Vendors                                    $13,610.94

                                                            03/14/2024                Suppliers or Vendors                                     $7,930.10

                                                            03/15/2024                Suppliers or Vendors                                     $2,320.57



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/18/2024                Suppliers or Vendors                                   $10,098.96

                                                            03/19/2024                Suppliers or Vendors                                    $2,914.49

                                                            03/21/2024                Suppliers or Vendors                                    $7,393.58

                                                            03/22/2024                Suppliers or Vendors                                    $2,554.53

                                                            03/25/2024                Suppliers or Vendors                                    $9,410.18

                                                            03/26/2024                Suppliers or Vendors                                    $3,219.07

                                                            03/27/2024                Suppliers or Vendors                                    $1,132.21

                                                            03/28/2024                Suppliers or Vendors                                    $7,186.52

                                                            03/29/2024                Suppliers or Vendors                                    $2,152.86

                                                            04/01/2024                Suppliers or Vendors                                    $9,125.88

                                                            04/02/2024                Suppliers or Vendors                                    $3,007.44

                                                            04/04/2024                Suppliers or Vendors                                    $6,051.35

                                                            04/05/2024                Suppliers or Vendors                                    $2,006.89

                                                            04/08/2024                Suppliers or Vendors                                    $8,686.10

                                                            04/09/2024                Suppliers or Vendors                                    $3,550.23

                                                            04/11/2024                Suppliers or Vendors                                    $5,358.88

                                                            04/12/2024                Suppliers or Vendors                                    $2,835.52

                                                            04/15/2024                Suppliers or Vendors                                   $10,009.53

                                                            04/16/2024                Suppliers or Vendors                                    $3,254.79

                                                            04/18/2024                Suppliers or Vendors                                    $5,207.40

                                                            04/19/2024                Suppliers or Vendors                                    $1,837.47

                                                            04/22/2024                Suppliers or Vendors                                    $8,122.76

                                                            04/23/2024                Suppliers or Vendors                                    $2,162.78

                                                            04/25/2024                Suppliers or Vendors                                    $5,422.25

                                                            04/26/2024                Suppliers or Vendors                                    $2,097.46

                                                            04/29/2024                Suppliers or Vendors                                    $8,731.54

                                                            04/30/2024                Suppliers or Vendors                                    $2,001.13

                                                            05/02/2024                Suppliers or Vendors                                    $4,898.28

                                                            05/03/2024                Suppliers or Vendors                                    $1,399.74

                                                            05/06/2024                Suppliers or Vendors                                    $8,480.70

                                                            05/07/2024                Suppliers or Vendors                                    $1,832.37

                                                            05/09/2024                Suppliers or Vendors                                    $5,288.53

                                                            05/10/2024                Suppliers or Vendors                                    $1,301.53

                                                            05/13/2024                Suppliers or Vendors                                   $10,592.95

                                                            05/14/2024                Suppliers or Vendors                                    $3,231.80

                                                            05/16/2024                Suppliers or Vendors                                    $6,866.87

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number

                                                                                                                SUBTOTAL                     $277,818.65

BROWN-BELKIN RL LLC                                         03/04/2024                Other- Rent                                             $25,729.63
9805 BABBITT AVE
NORTHRIDGE, CA 91325-1925
                                                            03/29/2024                Other- Rent                                             $25,729.63

                                                            04/30/2024                Other- Rent                                             $27,159.05

                                                                                                                SUBTOTAL                      $78,618.31

BRYAN RENTAL INC                                            03/04/2024                Other- Rent                                              $8,857.83
TRAVEL LOBSTER LLC
1440 SOUTH LIBERTY DRIVE
BLOOMINGTON, IN 47403-5118
                                                            03/29/2024                Other- Rent                                              $8,857.83

                                                            04/30/2024                Other- Rent                                              $8,857.83

                                                                                                                SUBTOTAL                      $26,573.49

BUDD STREET LLC                                             03/04/2024                Other- Rent                                             $27,041.67
ATTN JO FISCHER BUTERA
1590 W ALGONQUIN RD # 223
HOFFMAN ESTATES, IL
60192-1575
                                                            03/29/2024                Other- Rent                                             $27,041.67

                                                            04/30/2024                Other- Rent                                             $27,041.67

                                                                                                                SUBTOTAL                      $81,125.01

BUILDINGS FOR BABIES                                        03/04/2024                Other- Rent                                             $22,531.78
FOUNDATION
C/O AMBER SCHAMEL
1333 BUSINESS ROUTE 63
THAYER, MO 65791-8401
                                                            03/29/2024                Other- Rent                                             $22,531.78

                                                            04/30/2024                Other- Rent                                             $22,531.78

                                                                                                                SUBTOTAL                      $67,595.34

BUNTIN ADVERTISING INC                                      02/20/2024                Suppliers or Vendors                                    $24,987.81
DBA BUNTIN GROUP
1001 HAWKINS ST
NASHVILLE, TN 37203
                                                            03/04/2024                Suppliers or Vendors                                    $41,617.10

                                                            03/28/2024                Suppliers or Vendors                                   $106,808.89

                                                            04/11/2024                Suppliers or Vendors                                    $25,555.23

                                                            05/02/2024                Suppliers or Vendors                                    $66,269.96

                                                                                                                SUBTOTAL                     $265,238.99

BURKHARDT DEVELOPMENT                                       03/11/2024                Other- Rent                                             $10,833.33
GROUP INC
4478 CASTLEMAINE CT
AKRON, OH 44333-1687
                                                            04/12/2024                Other- Rent                                             $10,833.33

                                                                                                                SUBTOTAL                      $21,666.66




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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
BVA DEERBROOK SPE LLC                                       02/21/2024                Other- Rent                                              $6,269.18
C/O BIG V PROPERTIES LLC
PO BOX 6288
HICKSVILLE, NY 11802--6288
                                                            03/04/2024                Other- Rent                                             $11,188.68

                                                            03/29/2024                Other- Rent                                             $11,188.68

                                                            04/18/2024                Other- Rent                                             $37,050.57

                                                            04/30/2024                Other- Rent                                             $11,188.68

                                                                                                                SUBTOTAL                      $76,885.79

C & S PRESS INC                                             02/21/2024                Suppliers or Vendors                                      $282.87
405 27TH STREET
ORLANDO, FL 32806-4452
                                                            03/04/2024                Suppliers or Vendors                                    $20,481.91

                                                            03/08/2024                Suppliers or Vendors                                     $3,941.37

                                                            03/13/2024                Suppliers or Vendors                                       $65.00

                                                            03/21/2024                Suppliers or Vendors                                    $27,360.79

                                                            05/02/2024                Suppliers or Vendors                                    $39,814.34

                                                            05/16/2024                Suppliers or Vendors                                   $102,690.70

                                                                                                                SUBTOTAL                     $194,636.98

C H ROBINSON COMPANY                                        02/20/2024                Suppliers or Vendors                                    $39,202.10
PO BOX 9121
MINNEAPOLIS, MN 554809121
                                                            02/28/2024                Suppliers or Vendors                                     $3,514.31

                                                            03/06/2024                Suppliers or Vendors                                     $6,246.38

                                                            03/14/2024                Suppliers or Vendors                                     $1,357.66

                                                            03/20/2024                Suppliers or Vendors                                    $55,164.83

                                                            03/27/2024                Suppliers or Vendors                                     $6,336.27

                                                            04/03/2024                Suppliers or Vendors                                     $5,144.37

                                                            04/15/2024                Suppliers or Vendors                                     $3,072.05

                                                            04/18/2024                Suppliers or Vendors                                    $38,723.53

                                                            04/24/2024                Suppliers or Vendors                                    $16,922.25

                                                            05/15/2024                Suppliers or Vendors                                      $187.32

                                                                                                                SUBTOTAL                     $175,871.07

C&M REFRIGERATION SALES &                                   03/04/2024                Suppliers or Vendors                                     $5,381.26
SVC INC
PO BOX 186
SPRING CITY, PA 19475
                                                            03/08/2024                Suppliers or Vendors                                      $375.00

                                                            03/21/2024                Suppliers or Vendors                                      $131.63

                                                            04/25/2024                Suppliers or Vendors                                    $10,570.03

                                                            05/02/2024                Suppliers or Vendors                                     $5,553.51



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                                 Number

                                                                                                                SUBTOTAL                     $22,011.43

CAINS CUSTOM SURFACES INC                                   03/13/2024                Suppliers or Vendors                                    $8,424.76
DBA THE HOOD GUY
PO BOX 233
TIMNATH, CO 80547
                                                            03/28/2024                Suppliers or Vendors                                    $3,175.00

                                                            04/04/2024                Suppliers or Vendors                                    $1,333.98

                                                                                                                SUBTOTAL                     $12,933.74

CAJUN AIR INC                                               02/20/2024                Suppliers or Vendors                                   $16,876.04
39 MLK AVENUE
JEFFERSON, GA 30549-1452
                                                            03/08/2024                Suppliers or Vendors                                   $21,523.61

                                                            03/28/2024                Suppliers or Vendors                                    $5,410.26

                                                                                                                SUBTOTAL                     $43,809.91

CALTAMP REALTY ASSOCIATES                                   03/04/2024                Other- Rent                                             $8,799.65
LLC
10 RYE RIDGE PLZ STE 200
RYE BROOK, NY 10573-2828
                                                            03/29/2024                Other- Rent                                             $8,799.65

                                                                                                                SUBTOTAL                     $17,599.30

CAMANCHACA INC                                              03/01/2024                Suppliers or Vendors                                   $38,801.43
7200 NW 19TH STREET SUITE
410
MIAMI, FL 33126
                                                            04/18/2024                Suppliers or Vendors                                    $9,570.00

                                                                                                                SUBTOTAL                     $48,371.43

CAMPBELL BLACKLIDGE PLAZA                                   03/04/2024                Other- Rent                                            $12,321.75
DE LLC
555 E RIVER RD STE 201
TUCSON, AZ 85704-5843
                                                            03/28/2024                Other- Rent                                             $2,682.00

                                                            03/29/2024                Other- Rent                                             $9,639.75

                                                                                                                SUBTOTAL                     $24,643.50

CANTON STARK COUNTY                                         03/01/2024                Suppliers or Vendors                                    $1,868.48
SEWER CLEANING INC
DBA ROTO-ROOTER
5672 COLLECTIONS CENTER
DRIVE
CHICAGO, IL 60693
                                                            05/01/2024                Suppliers or Vendors                                    $3,320.35

                                                            05/02/2024                Suppliers or Vendors                                    $7,981.88

                                                                                                                SUBTOTAL                     $13,170.71

CASCADE REAL ESTATE                                         05/09/2024                Suppliers or Vendors                                   $20,530.77
SERVICES LLC
DBA BLUESTONE REAL ESTATE
SERVICES
PO BOX 7139
SAN FRANCISCO, CA 94120-7139


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                                 Number

                                                                                                                SUBTOTAL                     $20,530.77

CASSCO LAND COMPANY INC                                     03/04/2024                Other- Rent                                            $16,755.79
4200 S HULEN SUITE 614
FORT WORTH, TX 76109
                                                            03/29/2024                Other- Rent                                            $16,755.79

                                                            04/30/2024                Other- Rent                                            $16,755.79

                                                                                                                SUBTOTAL                     $50,267.37

CASTRO CONTRACTING                                          02/26/2024                Suppliers or Vendors                                    $8,591.10
SERVICES LLC
DBA LOUIES PROPERTY
MAINTENANCE
2 CONDON AVE UPPR
BUFFALO, NY 14207-1512
                                                            03/13/2024                Suppliers or Vendors                                    $3,058.93

                                                                                                                SUBTOTAL                     $11,650.03

CATCH AND RELEASE INC                                       02/28/2024                Suppliers or Vendors                                   $16,928.00
DBA IN CALIFORNIA AS VISUAL
CATCH
2443 FILLMORE ST # 380-1738
SAN FRANCISCO, CA 94115-1814
                                                                                                                SUBTOTAL                     $16,928.00

CBL & ASSOCIATES LIMITED                                    02/28/2024                Other- Rent                                              $204.73
PARTNERSHIP
DBA ALAMANCE CROSSING
CMBS LLC
C/O SPINOSO REAL ESTATE
GROUP DLS LLC
PO BOX 646409
CINCINNATI, OH 45264-6409
                                                            03/01/2024                Other- Rent                                            $11,268.34

                                                            03/05/2024                Other- Rent                                              $414.72

                                                            03/29/2024                Other- Rent                                              $204.73

                                                            04/03/2024                Other- Rent                                            $11,683.06

                                                            04/23/2024                Other- Rent                                             $3,421.10

                                                            05/06/2024                Other- Rent                                            $11,268.34

                                                            05/07/2024                Other- Rent                                              $204.73

                                                                                                                SUBTOTAL                     $38,669.75

CEDAR VALLEY LAWN CARE INC                                  02/20/2024                Suppliers or Vendors                                     $659.36
1027 PEOPLES SQUARE
WATERLOO, IA 50702-5740
                                                            03/04/2024                Suppliers or Vendors                                    $5,364.88

                                                            03/13/2024                Suppliers or Vendors                                    $2,052.94

                                                                                                                SUBTOTAL                      $8,077.18

CEILING PRO OF MIDWEST IN                                   03/01/2024                Suppliers or Vendors                                    $2,911.00
1641 EAST 236TH STREET
ARCADIA, IN 46030
                                                            05/07/2024                Suppliers or Vendors                                    $6,378.00



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            05/14/2024                Suppliers or Vendors                                    $2,021.00

                                                                                                                SUBTOTAL                     $11,310.00

CELERITY IS INC                                             02/23/2024                Suppliers or Vendors                                   $28,687.50
6 LIBERTY SQ PMB 496
BOSTON, MA 02109-5800
                                                            03/08/2024                Suppliers or Vendors                                    $8,606.25

                                                            03/28/2024                Suppliers or Vendors                                    $6,018.75

                                                                                                                SUBTOTAL                     $43,312.50

CENTERPOINTCAP I LLC                                        03/04/2024                Other- Rent                                            $24,537.97
LOCKBOX NUMBER 0076002
PO BOX 716002
PHILADELPHIA, PA 19171-6002
                                                            03/29/2024                Other- Rent                                            $24,537.97

                                                            04/30/2024                Other- Rent                                            $24,537.97

                                                                                                                SUBTOTAL                     $73,613.91

CENTURY PLAZA COMMERCIAL                                    03/05/2024                Other- Rent                                            $24,825.32
LLC
C/O SIERRA PACIFIC
PROPERTIES INC
1800 WILLOW PASS COURT
CONCORD, CA 94520-1012
                                                            04/05/2024                Other- Rent                                            $24,825.32

                                                            04/12/2024                Other- Rent                                             $1,694.55

                                                            05/02/2024                Other- Rent                                            $24,825.32

                                                                                                                SUBTOTAL                     $76,170.51

CERTIFIED PRECISION CARPET                                  03/28/2024                Suppliers or Vendors                                    $8,425.52
CLEANING LLC
1562 WOODLAND ST NE
WARREN, OH 44483-5302
                                                            04/11/2024                Suppliers or Vendors                                    $1,769.29

                                                            05/07/2024                Suppliers or Vendors                                    $1,134.13

                                                                                                                SUBTOTAL                     $11,328.94

CG WATERTOWN LLC                                            03/04/2024                Other- Rent                                            $10,773.77
C/O CHARLES GOLD
PO BOX 911
BRIDGEHAMPTON, NY
11932-0911
                                                            03/29/2024                Other- Rent                                            $10,773.77

                                                                                                                SUBTOTAL                     $21,547.54

CH GRESHAM LLC                                              03/04/2024                Other- Rent                                            $20,530.77
C/O THE PENNBROOK COMPANY
250 NW FRANKLIN AVENUE
SUITE 204
BEND, OR 97701
                                                            03/05/2024                Other- Rent                                             $1,528.11

                                                            04/10/2024                Other- Rent                                            $22,058.88

                                                            05/01/2024                Other- Rent                                             $3,587.30


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number

                                                                                                                SUBTOTAL                      $47,705.06

CHAMPAIGN HEATING AND AIR                                   03/21/2024                Suppliers or Vendors                                     $4,396.10
INC
PO BOX 694
CHAMPAIGN, IL 618240694
                                                            03/29/2024                Suppliers or Vendors                                     $2,437.50

                                                            04/25/2024                Suppliers or Vendors                                     $4,402.00

                                                                                                                SUBTOTAL                      $11,235.60

CHAMPION INDUSTRIAL                                         03/05/2024                Suppliers or Vendors                                     $8,572.99
CONTRS INC
DBA CHAMPION MECHANICAL
SERVICES
PO BOX 4399
MODESTO, CA 95352
                                                            03/25/2024                Suppliers or Vendors                                     $1,536.00

                                                            04/11/2024                Suppliers or Vendors                                     $1,461.93

                                                                                                                SUBTOTAL                      $11,570.92

CHERNOFF SALES INC                                          02/26/2024                Suppliers or Vendors                                    $10,954.20
6280 NW 27TH WAY
FORT LAUDERDALE, FL
33309-1729
                                                            03/06/2024                Suppliers or Vendors                                     $4,027.69

                                                            03/11/2024                Suppliers or Vendors                                     $5,943.70

                                                            03/20/2024                Suppliers or Vendors                                     $7,526.56

                                                            04/03/2024                Suppliers or Vendors                                    $24,271.81

                                                            05/03/2024                Suppliers or Vendors                                    $11,923.25

                                                            05/19/2024                Suppliers or Vendors                                    $77,630.66

                                                                                                                SUBTOTAL                     $142,277.87

NAME ON FILE                                                03/04/2024                Other- Rent                                             $12,239.59
ADDRESS ON FILE
                                                            03/29/2024                Other- Rent                                             $12,239.59

                                                                                                                SUBTOTAL                      $24,479.18

CHICO PRODUCE INC                                           02/20/2024                Suppliers or Vendors                                    $18,289.79
DBA PRO PACIFIC FRESH
PO BOX 1069
DURHAM, CA 95938-1069
                                                            02/23/2024                Suppliers or Vendors                                     $3,863.58

                                                            02/26/2024                Suppliers or Vendors                                    $10,450.77

                                                            02/27/2024                Suppliers or Vendors                                    $16,259.61

                                                            03/04/2024                Suppliers or Vendors                                     $9,179.54

                                                            03/06/2024                Suppliers or Vendors                                    $13,459.86

                                                            03/08/2024                Suppliers or Vendors                                     $4,312.05

                                                            03/11/2024                Suppliers or Vendors                                     $6,200.08

                                                            03/12/2024                Suppliers or Vendors                                    $16,031.48


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/14/2024                Suppliers or Vendors                                     $3,488.82

                                                            03/15/2024                Suppliers or Vendors                                     $5,235.17

                                                            03/18/2024                Suppliers or Vendors                                    $15,205.85

                                                            03/21/2024                Suppliers or Vendors                                     $3,672.46

                                                            03/22/2024                Suppliers or Vendors                                     $5,246.47

                                                            03/25/2024                Suppliers or Vendors                                    $13,166.21

                                                            03/26/2024                Suppliers or Vendors                                      $241.97

                                                            03/28/2024                Suppliers or Vendors                                     $2,272.55

                                                            03/29/2024                Suppliers or Vendors                                     $5,063.71

                                                            04/01/2024                Suppliers or Vendors                                    $15,080.05

                                                            04/04/2024                Suppliers or Vendors                                     $2,672.91

                                                            04/05/2024                Suppliers or Vendors                                     $4,122.54

                                                            04/08/2024                Suppliers or Vendors                                    $16,001.28

                                                            04/11/2024                Suppliers or Vendors                                     $3,674.38

                                                            04/12/2024                Suppliers or Vendors                                     $5,005.90

                                                            04/15/2024                Suppliers or Vendors                                    $12,784.25

                                                            04/16/2024                Suppliers or Vendors                                      $574.12

                                                            04/18/2024                Suppliers or Vendors                                     $3,232.29

                                                            04/19/2024                Suppliers or Vendors                                     $3,898.43

                                                            04/22/2024                Suppliers or Vendors                                    $12,831.92

                                                            04/25/2024                Suppliers or Vendors                                     $2,530.04

                                                            04/26/2024                Suppliers or Vendors                                     $3,562.29

                                                            04/29/2024                Suppliers or Vendors                                    $13,489.46

                                                            05/01/2024                Suppliers or Vendors                                      $997.34

                                                            05/02/2024                Suppliers or Vendors                                     $3,263.31

                                                            05/03/2024                Suppliers or Vendors                                     $3,968.41

                                                            05/06/2024                Suppliers or Vendors                                    $13,340.74

                                                            05/07/2024                Suppliers or Vendors                                      $644.62

                                                            05/09/2024                Suppliers or Vendors                                     $2,679.52

                                                            05/10/2024                Suppliers or Vendors                                     $4,820.69

                                                            05/13/2024                Suppliers or Vendors                                    $12,948.58

                                                            05/16/2024                Suppliers or Vendors                                     $3,493.29

                                                                                                                SUBTOTAL                     $297,256.33

CHIEF FIRE PREVENTION &                                     02/23/2024                Suppliers or Vendors                                     $6,575.01
MECHANICAL CORP
PO BOX 296
BRONXVILLE, NY 10708-0296


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/13/2024                Suppliers or Vendors                                     $8,379.15

                                                            04/18/2024                Suppliers or Vendors                                     $3,694.53

                                                                                                                SUBTOTAL                      $18,648.69

CHILLICOTHE MALL INC                                        03/01/2024                Other- Rent                                              $1,457.29
C/O J J GUMBERG CO
1051 BRINTON ROAD
PITTSBURGH, PA 15221-4571
                                                            03/06/2024                Other- Rent                                              $6,263.68

                                                            03/20/2024                Other- Rent                                              $4,407.30

                                                            04/03/2024                Other- Rent                                              $6,333.33

                                                            05/03/2024                Other- Rent                                              $6,333.33

                                                                                                                SUBTOTAL                      $24,794.93

CHR ENT INC                                                 03/22/2024                Suppliers or Vendors                                     $7,563.58
1360 HIGHWAY 9 S
PONTOTOC, MS 38863-9415
                                                            04/19/2024                Suppliers or Vendors                                     $1,968.80

                                                                                                                SUBTOTAL                       $9,532.38

CHRISTEL KELLEY                                             03/04/2024                Other- Rent                                             $27,656.09
DBA CLK ANN ARBOR LLC
UNITED BANK OF MICHIGAN
900 EAST PARIS AVE SE
GRAND RAPIDS, MI 49546-3676
                                                            03/29/2024                Other- Rent                                             $27,656.09

                                                            04/30/2024                Other- Rent                                             $27,656.09

                                                                                                                SUBTOTAL                      $82,968.27

CIC PLUS INC                                                04/29/2024                Suppliers or Vendors                                    $10,424.90
7321 RIDGEWAY AVE
SKOKIE, IL 60076-4026
                                                                                                                SUBTOTAL                      $10,424.90

CINTAS CORPORATION NO 2                                     02/23/2024                Suppliers or Vendors                                    $85,113.50
DBA CINTAS LOCATION #346
PO BOX 630910
CINCINNATI, OH 452630910
                                                            03/04/2024                Suppliers or Vendors                                    $20,946.99

                                                            03/08/2024                Suppliers or Vendors                                   $154,534.81

                                                            03/13/2024                Suppliers or Vendors                                    $64,240.56

                                                            03/21/2024                Suppliers or Vendors                                   $225,110.68

                                                            03/22/2024                Suppliers or Vendors                                    $31,186.84

                                                            03/28/2024                Suppliers or Vendors                                    $46,862.05

                                                            04/04/2024                Suppliers or Vendors                                     $8,558.93

                                                            04/11/2024                Suppliers or Vendors                                     $4,979.36

                                                            04/18/2024                Suppliers or Vendors                                    $40,265.50

                                                            04/25/2024                Suppliers or Vendors                                   $349,207.27



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/26/2024                Suppliers or Vendors                                     $30,259.02

                                                            05/02/2024                Suppliers or Vendors                                     $34,184.91

                                                            05/16/2024                Suppliers or Vendors                                        $786.35

                                                            05/19/2024                Suppliers or Vendors                                    $395,720.15

                                                                                                                SUBTOTAL                     $1,491,956.92

CITY OF BLOOMINGTON                                         04/29/2024                Other- Government / Regulatory                            $9,800.00
BLOOMINGTON CIVIC PLAZA
1800 WEST OLD SHAKOPEE RD
BLOOMINGTON, MN 554313027
                                                                                                                SUBTOTAL                        $9,800.00

CITY OF DANBURY                                             02/27/2024                Other- Rent                                              $11,749.17
FINANCE DEPARTMENT
155 DEER HILL AVENUE
DANBURY, CT 06810
                                                            04/02/2024                Other- Rent                                              $11,749.17

                                                            04/30/2024                Other- Rent                                              $11,749.17

                                                                                                                SUBTOTAL                       $35,247.51

CITY OF MAPLEGROVE                                          04/29/2024                Other- Government / Regulatory                            $8,400.00
12800 ARBOR LAKES PKWY N
MAPLEGROVE, MN 55369-7064
                                                                                                                SUBTOTAL                        $8,400.00

CITY OF NORTHGLENN                                          03/19/2024                Other- Government / Regulatory                           $13,389.08
NORTHGLENN MUNICIPAL
COURT
11701 COMMUNITY CENTER DR
NORTHGLENN, CO 802331099
                                                            04/19/2024                Other- Government / Regulatory                           $15,445.36

                                                            05/09/2024                Other- Government / Regulatory                           $10,502.61

                                                                                                                SUBTOTAL                       $39,337.05

CITY OF TUCKER                                              02/23/2024                Other- Government / Regulatory                            $3,579.32
4119 ADRIAN STREET
TUCKER, GA 30084
                                                            03/25/2024                Other- Government / Regulatory                            $7,200.00

                                                                                                                SUBTOTAL                       $10,779.32

CITY PRODUCE OF FT WALTON                                   02/20/2024                Suppliers or Vendors                                      $2,442.87
BEACH INC
PO BOX 1334
FT WALTON BEACH, FL 32549
                                                            02/21/2024                Suppliers or Vendors                                      $1,490.13

                                                            02/26/2024                Suppliers or Vendors                                      $2,032.41

                                                            02/27/2024                Suppliers or Vendors                                      $1,427.52

                                                            02/28/2024                Suppliers or Vendors                                      $2,236.25

                                                            03/04/2024                Suppliers or Vendors                                      $1,022.89

                                                            03/06/2024                Suppliers or Vendors                                      $2,878.64

                                                            03/11/2024                Suppliers or Vendors                                      $1,258.56


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/12/2024                Suppliers or Vendors                                    $3,075.36

                                                            03/15/2024                Suppliers or Vendors                                    $1,012.95

                                                            03/18/2024                Suppliers or Vendors                                     $991.62

                                                            03/19/2024                Suppliers or Vendors                                    $1,034.53

                                                            03/22/2024                Suppliers or Vendors                                    $1,162.28

                                                            03/25/2024                Suppliers or Vendors                                    $1,450.28

                                                            03/26/2024                Suppliers or Vendors                                    $1,226.01

                                                            03/28/2024                Suppliers or Vendors                                     $770.64

                                                            03/29/2024                Suppliers or Vendors                                    $1,527.85

                                                            04/01/2024                Suppliers or Vendors                                     $540.15

                                                            04/02/2024                Suppliers or Vendors                                    $2,010.32

                                                            04/05/2024                Suppliers or Vendors                                     $612.18

                                                            04/08/2024                Suppliers or Vendors                                    $1,796.46

                                                            04/09/2024                Suppliers or Vendors                                    $2,051.60

                                                            04/11/2024                Suppliers or Vendors                                     $256.55

                                                            04/12/2024                Suppliers or Vendors                                     $316.95

                                                            04/15/2024                Suppliers or Vendors                                    $1,522.22

                                                            04/16/2024                Suppliers or Vendors                                    $1,591.22

                                                            04/19/2024                Suppliers or Vendors                                     $610.67

                                                            04/22/2024                Suppliers or Vendors                                    $1,219.61

                                                            04/23/2024                Suppliers or Vendors                                    $1,205.18

                                                            04/25/2024                Suppliers or Vendors                                     $450.57

                                                            04/26/2024                Suppliers or Vendors                                    $1,138.27

                                                            04/29/2024                Suppliers or Vendors                                     $944.84

                                                            04/30/2024                Suppliers or Vendors                                    $1,748.87

                                                            05/02/2024                Suppliers or Vendors                                     $159.16

                                                            05/03/2024                Suppliers or Vendors                                    $1,116.38

                                                            05/06/2024                Suppliers or Vendors                                     $887.32

                                                            05/07/2024                Suppliers or Vendors                                    $1,101.54

                                                            05/09/2024                Suppliers or Vendors                                     $551.34

                                                            05/10/2024                Suppliers or Vendors                                    $1,067.28

                                                            05/13/2024                Suppliers or Vendors                                     $659.82

                                                            05/14/2024                Suppliers or Vendors                                    $1,431.59

                                                            05/16/2024                Suppliers or Vendors                                     $289.99

                                                                                                                SUBTOTAL                     $52,320.87



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
CITY SECURITY SERVICES HTX                                  02/29/2024                Suppliers or Vendors                                    $3,258.33
LLC
DBA CITY SECURITY SERVICES
2600 NORTH LOOP W STE 300
HOUSTON, TX 77092-8915
                                                            03/21/2024                Suppliers or Vendors                                    $3,637.20

                                                            04/02/2024                Suppliers or Vendors                                   $10,911.60

                                                            04/15/2024                Suppliers or Vendors                                    $3,031.00

                                                                                                                SUBTOTAL                     $20,838.13

CJ & J CORPORATION                                          03/04/2024                Other- Rent                                            $22,866.77
173 COYOTE BRUSH
IRVINE, CA 92618
                                                            03/29/2024                Other- Rent                                            $22,866.77

                                                                                                                SUBTOTAL                     $45,733.54

CLEAN TEXTILE SYSTEMS                                       03/04/2024                Suppliers or Vendors                                    $1,958.86
DBA CLEANCARE
40 51ST STREET
PITTSBURGH, PA 15201
                                                            03/08/2024                Suppliers or Vendors                                    $1,108.55

                                                            03/28/2024                Suppliers or Vendors                                    $2,789.05

                                                            04/04/2024                Suppliers or Vendors                                    $1,097.56

                                                            04/25/2024                Suppliers or Vendors                                    $2,940.09

                                                            05/02/2024                Suppliers or Vendors                                    $1,887.19

                                                                                                                SUBTOTAL                     $11,781.30

CLOUD ENTERPRISES                                           03/04/2024                Other- Rent                                            $20,358.17
CORPORATION INC
241 SOMERSET DRIVE
GADSDEN, AL 35901-5743
                                                            03/29/2024                Other- Rent                                            $20,358.17

                                                            04/30/2024                Other- Rent                                            $20,358.17

                                                                                                                SUBTOTAL                     $61,074.51

COAST CLEANING SERVICES                                     02/23/2024                Suppliers or Vendors                                    $4,220.13
LLC
DBA COAST SERVICES
1100 SIXTH AVE
NEPTUNE, NJ 07753-5150
                                                            03/13/2024                Suppliers or Vendors                                     $590.57

                                                            03/28/2024                Suppliers or Vendors                                     $178.49

                                                            04/25/2024                Suppliers or Vendors                                    $7,650.96

                                                            05/02/2024                Suppliers or Vendors                                    $3,841.21

                                                            05/03/2024                Suppliers or Vendors                                     $690.72

                                                                                                                SUBTOTAL                     $17,172.08

COASTAL SUNBELT PRODUCE                                     02/20/2024                Suppliers or Vendors                                   $28,447.06
PO BOX 62860
BALTIMORE, MD 212642860
                                                            02/21/2024                Suppliers or Vendors                                    $4,295.94

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            02/22/2024                Suppliers or Vendors                                     $960.52

                                                            02/23/2024                Suppliers or Vendors                                   $26,372.26

                                                            02/26/2024                Suppliers or Vendors                                     $809.27

                                                            02/27/2024                Suppliers or Vendors                                   $23,644.03

                                                            02/28/2024                Suppliers or Vendors                                    $4,625.53

                                                            03/04/2024                Suppliers or Vendors                                   $18,537.16

                                                            03/06/2024                Suppliers or Vendors                                   $30,314.04

                                                            03/08/2024                Suppliers or Vendors                                   $14,342.44

                                                            03/11/2024                Suppliers or Vendors                                    $2,649.61

                                                            03/12/2024                Suppliers or Vendors                                   $31,540.61

                                                            03/13/2024                Suppliers or Vendors                                     $444.51

                                                            03/14/2024                Suppliers or Vendors                                   $16,991.74

                                                            03/15/2024                Suppliers or Vendors                                    $1,152.33

                                                            03/18/2024                Suppliers or Vendors                                   $22,986.93

                                                            03/19/2024                Suppliers or Vendors                                    $2,817.19

                                                            03/20/2024                Suppliers or Vendors                                    $1,110.06

                                                            03/21/2024                Suppliers or Vendors                                   $14,093.07

                                                            03/22/2024                Suppliers or Vendors                                     $439.02

                                                            03/25/2024                Suppliers or Vendors                                   $23,691.42

                                                            03/26/2024                Suppliers or Vendors                                    $3,024.53

                                                            03/27/2024                Suppliers or Vendors                                    $1,329.92

                                                            03/28/2024                Suppliers or Vendors                                   $16,263.03

                                                            03/29/2024                Suppliers or Vendors                                    $3,521.93

                                                            04/01/2024                Suppliers or Vendors                                   $25,237.96

                                                            04/02/2024                Suppliers or Vendors                                    $3,757.65

                                                            04/04/2024                Suppliers or Vendors                                   $12,654.62

                                                            04/05/2024                Suppliers or Vendors                                    $3,704.09

                                                            04/08/2024                Suppliers or Vendors                                   $24,829.79

                                                            04/09/2024                Suppliers or Vendors                                    $3,903.29

                                                            04/11/2024                Suppliers or Vendors                                   $15,931.28

                                                            04/12/2024                Suppliers or Vendors                                    $4,816.24

                                                            04/15/2024                Suppliers or Vendors                                   $20,505.81

                                                            04/16/2024                Suppliers or Vendors                                    $5,077.15

                                                            04/18/2024                Suppliers or Vendors                                   $13,654.53

                                                            04/19/2024                Suppliers or Vendors                                    $3,026.16

                                                            04/22/2024                Suppliers or Vendors                                   $26,047.90

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/23/2024                Suppliers or Vendors                                      $3,315.90

                                                            04/25/2024                Suppliers or Vendors                                     $12,706.25

                                                            04/26/2024                Suppliers or Vendors                                      $4,018.28

                                                            04/29/2024                Suppliers or Vendors                                     $24,666.37

                                                            04/30/2024                Suppliers or Vendors                                      $2,794.37

                                                            05/02/2024                Suppliers or Vendors                                     $13,323.24

                                                            05/03/2024                Suppliers or Vendors                                        $259.72

                                                            05/06/2024                Suppliers or Vendors                                     $22,667.02

                                                            05/07/2024                Suppliers or Vendors                                      $3,039.21

                                                            05/08/2024                Suppliers or Vendors                                        $434.01

                                                            05/09/2024                Suppliers or Vendors                                     $12,803.55

                                                            05/10/2024                Suppliers or Vendors                                      $2,288.48

                                                            05/13/2024                Suppliers or Vendors                                     $22,157.26

                                                            05/14/2024                Suppliers or Vendors                                      $4,384.08

                                                            05/16/2024                Suppliers or Vendors                                     $13,512.63

                                                                                                                SUBTOTAL                      $599,920.99

COBBS ALLEN CAPITAL LLC                                     03/14/2024                Suppliers or Vendors                                   $1,398,850.00
DBA CAC SPECIALTY
115 OFFICE PARK DR STE 200
MOUNTAIN BRK, AL 35223-2423
                                                                                                                SUBTOTAL                     $1,398,850.00

COCOA RESTAURANT SERVICES                                   02/23/2024                Suppliers or Vendors                                      $1,190.00
LLC
1744 PEBBLEDASH DRIVE
HERSHEY, PA 17033
                                                            03/04/2024                Suppliers or Vendors                                     $12,382.30

                                                            03/13/2024                Suppliers or Vendors                                     $14,851.25

                                                            03/28/2024                Suppliers or Vendors                                     $16,411.90

                                                            04/11/2024                Suppliers or Vendors                                        $480.00

                                                                                                                SUBTOTAL                       $45,315.45

CODDING ENTERPRISES LP                                      03/04/2024                Other- Rent                                              $22,130.05
PO BOX 5800
SANTA ROSA, CA 95406
                                                            03/28/2024                Other- Rent                                               $1,522.00

                                                            03/29/2024                Other- Rent                                              $21,610.00

                                                                                                                SUBTOTAL                       $45,262.05

COLLINS CUSTOM                                              04/11/2024                Suppliers or Vendors                                     $21,460.00
CONTRACTING
331 SHADOWBROOK DRIVE
LABADIE, MO 63055
                                                                                                                SUBTOTAL                       $21,460.00



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
COLUMBUS CONSOLIDATED                                       04/02/2024                Other- Government / Regulatory                         $10,000.00
GVMT
OCCUPATIONAL TAX SECTION
PO BOX 1397
COLUMBUS, GA 319021397
                                                                                                                SUBTOTAL                     $10,000.00

COMM WORKS INVESTMENT                                       02/20/2024                Suppliers or Vendors                                     $865.61
HOLDING COMPANY LLC
DBA COMM WORKS LLC
PO BOX 734592
CHICAGO, IL 60673-4592
                                                            04/11/2024                Suppliers or Vendors                                   $15,054.80

                                                            04/25/2024                Suppliers or Vendors                                    $7,285.66

                                                            05/02/2024                Suppliers or Vendors                                   $12,648.45

                                                                                                                SUBTOTAL                     $35,854.52

COMMERCIAL APPLIANCE                                        03/27/2024                Suppliers or Vendors                                    $4,404.83
SERVICE LLC
DBA COMMERCIAL APPLIANCE
SERVICE LLC
PO BOX 772803
DETROIT, MI 48277-2803
                                                            04/26/2024                Suppliers or Vendors                                    $1,438.22

                                                            05/07/2024                Suppliers or Vendors                                    $3,161.04

                                                                                                                SUBTOTAL                      $9,004.09

COMMERCIAL FOODSERVICE                                      02/27/2024                Suppliers or Vendors                                    $2,425.01
REPAIR INC
DBA TECH24 SERVICE
SOLUTIONS GROUP
410 E WASHINGTON ST
GREENVILLE, SC 29601
                                                            03/13/2024                Suppliers or Vendors                                    $3,976.52

                                                            03/14/2024                Suppliers or Vendors                                     $665.39

                                                            03/28/2024                Suppliers or Vendors                                     $540.00

                                                            04/03/2024                Suppliers or Vendors                                    $1,280.75

                                                            05/07/2024                Suppliers or Vendors                                    $6,362.92

                                                                                                                SUBTOTAL                     $15,250.59

COMMERCIAL KITCHEN                                          03/08/2024                Suppliers or Vendors                                    $4,032.37
INSTALLERS INC
224 BROWN INDUSTRIAL PKWY
CANTON, GA 30114-8065
                                                            03/28/2024                Suppliers or Vendors                                    $1,326.56

                                                            04/11/2024                Suppliers or Vendors                                    $3,995.95

                                                            04/25/2024                Suppliers or Vendors                                     $919.48

                                                            05/02/2024                Suppliers or Vendors                                    $3,480.06

                                                                                                                SUBTOTAL                     $13,754.42

COMMERCIAL KITCHEN REPAIRS                                  03/21/2024                Suppliers or Vendors                                   $11,033.26
INC
51 SOUTH 14TH STREET
QUAKERTOWN, PA 18951
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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/04/2024                Suppliers or Vendors                                     $1,227.48

                                                            04/26/2024                Suppliers or Vendors                                      $983.63

                                                                                                                SUBTOTAL                      $13,244.37

COMMERCIAL PLUMBING AND                                     02/20/2024                Suppliers or Vendors                                    $33,098.25
HEATING INC
DBA CSG 24/7
24428 GREENWAY AVENUE
FOREST LAKE, MN 55025-8784
                                                            03/04/2024                Suppliers or Vendors                                     $2,873.25

                                                            03/08/2024                Suppliers or Vendors                                      $509.00

                                                            03/28/2024                Suppliers or Vendors                                      $848.50

                                                            04/11/2024                Suppliers or Vendors                                      $655.00

                                                            05/02/2024                Suppliers or Vendors                                     $1,707.25

                                                                                                                SUBTOTAL                      $39,691.25

COMPASS COMMERCIAL INC                                      03/06/2024                Other- Rent                                             $16,526.05
DBA COMPASS COMMERCIAL
ASSET & PROPERTY
MANAGEMENT
600 SW COLUMBIA ST STE 6100A
BEND, OR 97702-1099
                                                            04/02/2024                Other- Rent                                             $16,526.05

                                                            05/02/2024                Other- Rent                                             $16,526.05

                                                                                                                SUBTOTAL                      $49,578.15

COMPSYCH CORPORATION                                        03/18/2024                Suppliers or Vendors                                    $13,548.00
455 N CITYFRONT PLAZA DRIVE
CHICAGO, IL 606115322
                                                            03/20/2024                Suppliers or Vendors                                    $13,992.00

                                                            04/17/2024                Suppliers or Vendors                                    $14,375.60

                                                                                                                SUBTOTAL                      $41,915.60

COMPUWARE HOLDING CORP                                      04/29/2024                Suppliers or Vendors                                    $73,564.10
DBA DYNATRACE LLC
PO BOX 74008118
CHICAGO, IL 60674-8118
                                                                                                                SUBTOTAL                      $73,564.10

CONSTRUCTION OPERATIONS                                     02/20/2024                Suppliers or Vendors                                    $10,733.00
AND RENOVATION EXPERTS
DBA CORE CONTRACTORS
7105 N FLORIDA AVE
TAMPA, FL 33604-4833
                                                            03/21/2024                Suppliers or Vendors                                    $90,434.85

                                                            04/25/2024                Suppliers or Vendors                                    $62,738.96

                                                            05/16/2024                Suppliers or Vendors                                   $108,344.93

                                                                                                                SUBTOTAL                     $272,251.74




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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
CONTINENTAL AMERICAN                                        03/07/2024                Suppliers or Vendors                                    $29,691.78
INSURANCE COMPANY
DBA AFLAC GROUP INSURANCE
1600 WILLIAMS ST
COLUMBIA, SC 29201-2220
                                                            03/08/2024                Suppliers or Vendors                                    $29,059.48

                                                            04/08/2024                Suppliers or Vendors                                    $35,976.78

                                                            05/08/2024                Suppliers or Vendors                                    $28,548.83

                                                                                                                SUBTOTAL                     $123,276.87

CONWAY INN CORP                                             03/04/2024                Other- Rent                                             $25,871.71
DBA TENNESSEE RSR LLC
915 ENTERPRISE DR
JONESBORO, AR 72401-9201
                                                            03/29/2024                Other- Rent                                             $25,871.71

                                                                                                                SUBTOTAL                      $51,743.42

CORNHUSKER PROJECT GI2 LLC                                  03/04/2024                Other- Rent                                              $4,043.07
7587 E TAILFEATHER DR
SCOTTSDALE, AZ 85255-4782
                                                            03/29/2024                Other- Rent                                              $4,043.07

                                                            04/30/2024                Other- Rent                                              $4,043.07

                                                                                                                SUBTOTAL                      $12,129.21

CORPORATE CREATIONS                                         03/27/2024                Suppliers or Vendors                                     $2,623.00
INTERNATIONAL INC
801 US HIGHWAY 1
NORTH PALM BEACH, FL
33408-3811
                                                            05/19/2024                Suppliers or Vendors                                     $7,960.00

                                                                                                                SUBTOTAL                      $10,583.00

NAME ON FILE                                                02/29/2024                Other- Employee Expense                                  $4,899.20
ADDRESS ON FILE                                                                       Reimbursement
                                                            04/04/2024                Other- Employee Expense                                  $4,230.20
                                                                                      Reimbursement
                                                            05/01/2024                Other- Employee Expense                                   $637.66
                                                                                      Reimbursement
                                                                                                                SUBTOTAL                       $9,767.06

COUNTRY LLC                                                 03/04/2024                Other- Rent                                             $24,494.17
18936 E BELLISARIO CREEK PL
PARKER, CO 80134-3433
                                                            03/29/2024                Other- Rent                                             $24,494.17

                                                            04/30/2024                Other- Rent                                             $24,494.17

                                                                                                                SUBTOTAL                      $73,482.51

COUNTRY ORCHARD ESTATES                                     03/04/2024                Other- Rent                                             $23,273.06
INC
C/O DAVE BURTON AND SHERRY
BURTON
277 LA COLINA DRIVE
REDLANDS, CA 92374-8246
                                                            03/29/2024                Other- Rent                                             $23,273.06

                                                            04/30/2024                Other- Rent                                             $23,273.06


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number

                                                                                                                SUBTOTAL                     $69,819.18

COUNTY OF HENRICO VIRGINIA                                  02/27/2024                Other- Government / Regulatory                          $9,776.86
DEPARTMENT OF
FINANCE/ACCOUNTING
PO BOX 90775
HENRICO, VA 232730775
                                                            03/07/2024                Other- Government / Regulatory                           $100.00

                                                                                                                SUBTOTAL                      $9,876.86

CPP RIVER FALLS LLC                                         03/04/2024                Other- Rent                                             $7,660.47
C/O COLUMBUS PACIFIC
PROPERTIES
1313 FOOTHILL BLVD STE 2
LA CANADA FLINTRIDGE, CA
91011-2157
                                                            03/20/2024                Other- Rent                                                $14.40

                                                            03/29/2024                Other- Rent                                             $7,665.27

                                                            04/30/2024                Other- Rent                                             $7,665.27

                                                                                                                SUBTOTAL                     $23,005.41

CR KINGSTON ASSOCIATES LLC                                  03/07/2024                Other- Rent                                             $9,150.66
C/O CENTURION REALTY LLC
500 5TH AVE 39TH FLOOR
NEW YORK, NY 10110-3899
                                                            04/08/2024                Other- Rent                                             $9,150.66

                                                                                                                SUBTOTAL                     $18,301.32

CREATION GARDENS                                            02/20/2024                Suppliers or Vendors                                   $22,562.57
2055 NELSON MILLER PKWY
LOUISVILLE, KY 40223-2185
                                                            02/21/2024                Suppliers or Vendors                                    $7,014.28

                                                            02/23/2024                Suppliers or Vendors                                    $8,497.53

                                                            02/26/2024                Suppliers or Vendors                                    $7,866.61

                                                            02/27/2024                Suppliers or Vendors                                   $26,380.95

                                                            02/28/2024                Suppliers or Vendors                                    $5,701.67

                                                            03/04/2024                Suppliers or Vendors                                   $11,612.06

                                                            03/06/2024                Suppliers or Vendors                                   $29,627.17

                                                            03/08/2024                Suppliers or Vendors                                    $8,482.83

                                                            03/11/2024                Suppliers or Vendors                                    $4,898.86

                                                            03/12/2024                Suppliers or Vendors                                   $29,691.97

                                                            03/14/2024                Suppliers or Vendors                                    $6,748.57

                                                            03/15/2024                Suppliers or Vendors                                    $4,227.18

                                                            03/18/2024                Suppliers or Vendors                                   $23,306.45

                                                            03/19/2024                Suppliers or Vendors                                    $6,694.15

                                                            03/21/2024                Suppliers or Vendors                                    $5,742.75

                                                            03/22/2024                Suppliers or Vendors                                    $4,578.10


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/25/2024                Suppliers or Vendors                                    $21,349.54

                                                            03/26/2024                Suppliers or Vendors                                     $7,644.33

                                                            03/28/2024                Suppliers or Vendors                                     $6,612.73

                                                            03/29/2024                Suppliers or Vendors                                     $2,888.25

                                                            04/01/2024                Suppliers or Vendors                                    $21,232.63

                                                            04/02/2024                Suppliers or Vendors                                     $8,710.43

                                                            04/04/2024                Suppliers or Vendors                                     $7,267.01

                                                            04/05/2024                Suppliers or Vendors                                     $4,555.45

                                                            04/08/2024                Suppliers or Vendors                                    $22,582.00

                                                            04/09/2024                Suppliers or Vendors                                     $6,772.73

                                                            04/10/2024                Suppliers or Vendors                                     $1,584.62

                                                            04/11/2024                Suppliers or Vendors                                     $4,830.74

                                                            04/12/2024                Suppliers or Vendors                                     $4,244.67

                                                            04/15/2024                Suppliers or Vendors                                    $21,318.15

                                                            04/16/2024                Suppliers or Vendors                                     $5,789.37

                                                            04/18/2024                Suppliers or Vendors                                     $5,132.65

                                                            04/19/2024                Suppliers or Vendors                                     $2,570.46

                                                            04/22/2024                Suppliers or Vendors                                    $19,476.87

                                                            04/23/2024                Suppliers or Vendors                                     $6,773.14

                                                            04/25/2024                Suppliers or Vendors                                     $6,108.17

                                                            04/26/2024                Suppliers or Vendors                                     $3,895.39

                                                            04/29/2024                Suppliers or Vendors                                    $18,520.33

                                                            04/30/2024                Suppliers or Vendors                                     $4,802.26

                                                            05/02/2024                Suppliers or Vendors                                     $6,045.09

                                                            05/03/2024                Suppliers or Vendors                                     $2,764.68

                                                            05/06/2024                Suppliers or Vendors                                    $20,277.10

                                                            05/07/2024                Suppliers or Vendors                                     $5,953.64

                                                            05/08/2024                Suppliers or Vendors                                     $1,419.18

                                                            05/09/2024                Suppliers or Vendors                                     $4,241.50

                                                            05/10/2024                Suppliers or Vendors                                     $2,989.65

                                                            05/13/2024                Suppliers or Vendors                                    $18,836.13

                                                            05/14/2024                Suppliers or Vendors                                     $4,727.73

                                                            05/16/2024                Suppliers or Vendors                                     $6,542.95

                                                                                                                SUBTOTAL                     $502,093.27




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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Creditor Name & Address            Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                   Number
CREATIVE CONSUMER                                             03/12/2024                Suppliers or Vendors                                   $15,675.37
CONCEPTS
BIN 150016
PO BOX 88016
MILWAUKEE, WI 53288-8016
                                                                                                                  SUBTOTAL                     $15,675.37

CREATIVE PLANNING HOLDCO                                      03/14/2024                Suppliers or Vendors                                    $2,500.00
LLC
DBA CREATIVE PLANNING LLC
DEPARTMENT RETIREMENT
SERVICES
PO BOX 952032
SAINT LOUIS, MO 63195-2032
                                                              04/08/2024                Suppliers or Vendors                                   $17,500.00

                                                              05/19/2024                Suppliers or Vendors                                   $17,500.00

                                                                                                                  SUBTOTAL                     $37,500.00

CREEKSIDE OUTDOOR LIVING                                      03/07/2024                Suppliers or Vendors                                    $2,826.81
384 E 111TH CT
CROWN POINT, IN 46307-7592
                                                              03/20/2024                Suppliers or Vendors                                     $925.00

                                                              04/04/2024                Suppliers or Vendors                                    $2,254.78

                                                              04/22/2024                Suppliers or Vendors                                    $8,017.85

                                                                                                                  SUBTOTAL                     $14,024.44

CRI OUTPARCELS LLC                                            03/04/2024                Other- Rent                                             $8,161.38
250 CIVIC CENTER DR STE 500
COLUMBUS, OH 43215-5088
                                                              03/13/2024                Other- Rent                                            $16,232.40

                                                              03/29/2024                Other- Rent                                             $8,161.38

                                                              04/30/2024                Other- Rent                                             $8,161.38

                                                                                                                  SUBTOTAL                     $40,716.54

CRISWELL SERVICES INC                                         03/04/2024                Suppliers or Vendors                                   $20,074.61
120 BRIDGES ROAD
BESSEMER CITY, NC 28016
                                                              03/21/2024                Suppliers or Vendors                                    $1,956.97

                                                                                                                  SUBTOTAL                     $22,031.58

CROWN CONSTRUCTION &                                          03/15/2024                Suppliers or Vendors                                   $28,123.52
MAINTENANCE INC
13717 S ROUTE 30
STE 117B
PLAINFIELD, IL 60544-5510
                                                                                                                  SUBTOTAL                     $28,123.52

CURRY INVESTMENT COMPANY                                      03/04/2024                Other- Rent                                            $27,126.85
C/O ACCOUNTS RECEIVABLES
2700 NE KENDALLWOOD PKWY
STE 208
GLADSTONE, MO 64119-2081
                                                              03/29/2024                Other- Rent                                            $27,126.85

                                                              04/30/2024                Other- Rent                                            $27,126.85

                                                                                                                  SUBTOTAL                     $81,380.55

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
CURTIS R BARTELLS                                           02/20/2024                Other- Individual Miscellaneous                        $29,456.00
DBA BARTELLS CONSTRUCTION
17186 DEERWOOD LANE
JORDAN, MN 55352
                                                            03/08/2024                Other- Individual Miscellaneous                         $4,557.00

                                                            03/28/2024                Other- Individual Miscellaneous                         $1,431.00

                                                            04/25/2024                Other- Individual Miscellaneous                         $8,159.00

                                                                                                                SUBTOTAL                     $43,603.00

D & LS INC                                                  03/04/2024                Suppliers or Vendors                                    $2,366.00
DBA OFFICE KEEPERS
8537 BASH ST
SUITE 5
INDIANAPOLIS, IN 46250
                                                            03/13/2024                Suppliers or Vendors                                    $3,398.00

                                                            03/28/2024                Suppliers or Vendors                                     $575.00

                                                            04/25/2024                Suppliers or Vendors                                     $696.00

                                                            05/02/2024                Suppliers or Vendors                                     $878.00

                                                                                                                SUBTOTAL                      $7,913.00

D J W PROPERTIES LLC                                        03/04/2024                Other- Rent                                            $13,117.58
3949 KILBERN WAY
SAN LUIS OBISPO, CA
93401-6243
                                                            03/29/2024                Other- Rent                                            $13,117.58

                                                            04/30/2024                Other- Rent                                            $13,117.58

                                                                                                                SUBTOTAL                     $39,352.74

DACF INVEST-4 LLC                                           03/04/2024                Other- Rent                                            $18,388.59
20 HARRISON AVENUE
WALDWICK, NJ 07463-1757
                                                            03/29/2024                Other- Rent                                            $18,388.59

                                                            04/30/2024                Other- Rent                                            $18,388.59

                                                                                                                SUBTOTAL                     $55,165.77

DALE HARDEN                                                 02/23/2024                Suppliers or Vendors                                   $13,764.86
DBA HARDEN CONSTRUCTION &
REMODELING LLC
304B HARRISON BROOKVILLE
RD
WEST HARRISON, IN 47060-9675
                                                            03/08/2024                Suppliers or Vendors                                    $5,915.47

                                                            03/13/2024                Suppliers or Vendors                                    $5,821.57

                                                            03/28/2024                Suppliers or Vendors                                    $6,396.40

                                                            04/04/2024                Suppliers or Vendors                                    $1,831.66

                                                            04/11/2024                Suppliers or Vendors                                   $28,491.82

                                                            04/25/2024                Suppliers or Vendors                                    $3,491.00

                                                            05/16/2024                Suppliers or Vendors                                   $20,437.40

                                                                                                                SUBTOTAL                     $86,150.18


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
DAMIAN CHARLES                                              03/04/2024                Other- Rent                                             $14,218.44
DBA CHARLES & CO REALTY LLC
591 EAST 92ND STREET
BROOKLYN, NY 11236
                                                            03/29/2024                Other- Rent                                             $14,218.44

                                                            04/30/2024                Other- Rent                                             $14,218.44

                                                                                                                SUBTOTAL                      $42,655.32

DAN C INC                                                   03/04/2024                Other- Rent                                             $33,793.86
ATTN DANIEL COLLOMB
11417 TUNNEL HILL WAY
GOLD RIVER, CA 95670-7229
                                                            03/29/2024                Other- Rent                                             $33,793.86

                                                            04/30/2024                Other- Rent                                             $33,793.86

                                                                                                                SUBTOTAL                     $101,381.58

DAVID C TURK                                                03/05/2024                Suppliers or Vendors                                     $7,420.86
DBA PRO-TECH MAINTENANCE &
REPAIR
21500 EDEN CANYON RD
CASTRO VALLEY, CA 94552-9720
                                                            03/19/2024                Suppliers or Vendors                                     $4,185.63

                                                            04/09/2024                Suppliers or Vendors                                    $35,722.02

                                                            04/11/2024                Suppliers or Vendors                                     $1,524.99

                                                            05/10/2024                Suppliers or Vendors                                     $1,681.86

                                                                                                                SUBTOTAL                      $50,535.36

DAVID FUENTES                                               02/23/2024                Other- Individual Miscellaneous                          $4,288.49
DBA TEXAS A/C REFRIGERATION
PO BOX 762638
SAN ANTONIO, TX 78245
                                                            03/08/2024                Other- Individual Miscellaneous                           $950.19

                                                            03/28/2024                Other- Individual Miscellaneous                           $726.77

                                                            05/02/2024                Other- Individual Miscellaneous                          $3,077.70

                                                                                                                SUBTOTAL                       $9,043.15

DAVRICH REALTY CORP                                         03/04/2024                Other- Rent                                             $19,178.72
9012 GOLDEN MOUNTAIN CIR
BOYNTON BEACH, FL 33473-3311
                                                            03/29/2024                Other- Rent                                             $19,178.72

                                                            04/30/2024                Other- Rent                                             $19,178.72

                                                                                                                SUBTOTAL                      $57,536.16

DDI GENERAL CONTRACTING                                     04/25/2024                Suppliers or Vendors                                     $7,976.35
LLC
830 E BAY DRIVE
WEST ISLIP, NY 11795
                                                                                                                SUBTOTAL                       $7,976.35

DEES SUGAR HOUSE CENTER                                     03/04/2024                Other- Rent                                             $26,540.84
LLC
1136 E WILMINGTON AVE STE
200
SALT LAKE CITY, UT 84106-2819

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/28/2024                Other- Rent                                              $2,415.00

                                                            03/29/2024                Other- Rent                                             $19,670.00

                                                            04/30/2024                Other- Rent                                             $22,085.00

                                                                                                                SUBTOTAL                      $70,710.84

DEL MONTE CAPITOL MEAT                                      02/20/2024                Suppliers or Vendors                                     $1,612.63
COMPANY LLC
DBA ALLEN BROTHERS WEST
PO BOX 101831
PASADENA, CA 91189-0051
                                                            02/21/2024                Suppliers or Vendors                                     $1,419.47

                                                            02/27/2024                Suppliers or Vendors                                      $203.20

                                                            02/29/2024                Suppliers or Vendors                                      $362.13

                                                            03/05/2024                Suppliers or Vendors                                      $555.20

                                                            03/06/2024                Suppliers or Vendors                                      $231.00

                                                            03/11/2024                Suppliers or Vendors                                      $361.00

                                                            03/25/2024                Suppliers or Vendors                                     $1,114.95

                                                            03/28/2024                Suppliers or Vendors                                      $872.60

                                                            04/01/2024                Suppliers or Vendors                                      $450.10

                                                            04/02/2024                Suppliers or Vendors                                      $231.40

                                                            04/03/2024                Suppliers or Vendors                                      $231.40

                                                            04/08/2024                Suppliers or Vendors                                      $444.20

                                                            04/15/2024                Suppliers or Vendors                                     $2,156.20

                                                            04/17/2024                Suppliers or Vendors                                      $222.00

                                                            04/22/2024                Suppliers or Vendors                                      $870.00

                                                            04/29/2024                Suppliers or Vendors                                      $499.80

                                                            05/01/2024                Suppliers or Vendors                                      $444.20

                                                            05/06/2024                Suppliers or Vendors                                      $101.80

                                                                                                                SUBTOTAL                      $12,383.28

DELCOR INC                                                  04/01/2024                Suppliers or Vendors                                     $9,934.56
1905 OLD FIRE TOWER RD
GREENVILLE, NC 27858-8080
                                                            04/11/2024                Suppliers or Vendors                                     $1,669.20

                                                            05/02/2024                Suppliers or Vendors                                      $561.75

                                                            05/09/2024                Suppliers or Vendors                                     $4,044.60

                                                                                                                SUBTOTAL                      $16,210.11

DELTA DENTAL                                                03/12/2024                Suppliers or Vendors                                   $192,965.50

                                                            04/12/2024                Suppliers or Vendors                                   $191,155.11

                                                            05/16/2024                Suppliers or Vendors                                   $186,380.29



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number

                                                                                                                SUBTOTAL                     $570,500.90

DELUXE OUTDOOR                                              04/04/2024                Suppliers or Vendors                                     $8,614.96
MAINTENANCE INC
PO BOX 987
CHESTERLAND, OH 44026
                                                                                                                SUBTOTAL                       $8,614.96

DEMPSEY UNIFORM & LINEN                                     02/23/2024                Suppliers or Vendors                                     $4,989.01
SUPPLY
1200 MID VALLEY DRIVE
JESSUP, PA 18434
                                                            03/21/2024                Suppliers or Vendors                                     $2,513.49

                                                            03/28/2024                Suppliers or Vendors                                      $326.45

                                                            04/04/2024                Suppliers or Vendors                                      $230.51

                                                            05/02/2024                Suppliers or Vendors                                      $147.74

                                                                                                                SUBTOTAL                       $8,207.20

DENNIS LAPIDUS                                              03/04/2024                Other- Rent                                             $26,494.76
DBA MBI RED LOB LLC
11340 LONGWATER CHASE CT
FORT MYERS, FL 33908-4923
                                                            03/29/2024                Other- Rent                                             $26,494.76

                                                            04/30/2024                Other- Rent                                             $26,494.76

                                                                                                                SUBTOTAL                      $79,484.28

DEPENDABLE BUILDING                                         02/23/2024                Suppliers or Vendors                                    $15,220.88
MAINTENANCE SERVICES LLC
4645 138TH ST
CRESTWOOD, IL 60418-1930
                                                            03/21/2024                Suppliers or Vendors                                    $23,796.33

                                                            03/28/2024                Suppliers or Vendors                                     $8,178.00

                                                            04/25/2024                Suppliers or Vendors                                    $33,754.27

                                                                                                                SUBTOTAL                      $80,949.48

DESIGN REFRIGERATION & AC                                   03/21/2024                Suppliers or Vendors                                     $6,208.57
INC
DBA DESIGN REFRIGERATION
AND AIR CONDITIONING CO INC
3600 S STATE ROAD 7 STE 334
MIRAMAR, FL 33023-5290
                                                            03/28/2024                Suppliers or Vendors                                     $5,825.64

                                                            03/29/2024                Suppliers or Vendors                                      $974.77

                                                            04/25/2024                Suppliers or Vendors                                    $10,885.66

                                                            05/02/2024                Suppliers or Vendors                                     $4,821.64

                                                                                                                SUBTOTAL                      $28,716.28

DEVI FISHERIES INC                                          03/28/2024                Suppliers or Vendors                                     $6,240.00
11111 KATY FWY STE 910
HOUSTON, TX 77079-2119
                                                            04/18/2024                Suppliers or Vendors                                    $31,200.00

                                                            05/13/2024                Suppliers or Vendors                                    $18,720.00


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number

                                                                                                                SUBTOTAL                      $56,160.00

DEWITT EQUIPMENT CO INC                                     03/06/2024                Suppliers or Vendors                                    $25,650.99
PO BOX 2189
MESA, AZ 85214
                                                            03/27/2024                Suppliers or Vendors                                     $4,863.00

                                                            04/10/2024                Suppliers or Vendors                                     $2,294.00

                                                            05/17/2024                Suppliers or Vendors                                      $781.00

                                                                                                                SUBTOTAL                      $33,588.99

DEX IMAGING                                                 04/29/2024                Suppliers or Vendors                                    $10,105.14
DBA GREATAMERICA FINANCIAL
SERVICES CORPORATION
PO BOX 660831
DALLAS, TX 75266-0831
                                                            05/02/2024                Suppliers or Vendors                                     $2,648.43

                                                                                                                SUBTOTAL                      $12,753.57

DIADON LLC                                                  03/04/2024                Other- Rent                                             $34,127.33
1300 WHITE OAK CT
IRWIN, PA 15642-4386
                                                            03/29/2024                Other- Rent                                             $34,127.33

                                                            04/30/2024                Other- Rent                                             $34,127.33

                                                                                                                SUBTOTAL                     $102,381.99

DINOVA INC                                                  02/20/2024                Suppliers or Vendors                                    $84,019.72
6455 EAST JOHNS CROSSING
SUITE 220
JOHNS CREEK, GA 30097-1559
                                                            03/13/2024                Suppliers or Vendors                                    $93,530.59

                                                            04/11/2024                Suppliers or Vendors                                    $88,755.84

                                                                                                                SUBTOTAL                     $266,306.15

DIRECTIONS RESEARCH INC                                     03/22/2024                Suppliers or Vendors                                    $85,600.00
M/L 520
PO BOX 145400
CINCINNATI, OH 452505400
                                                            04/11/2024                Suppliers or Vendors                                    $11,500.00

                                                                                                                SUBTOTAL                      $97,100.00

DIRECTV                                                     02/28/2024                Suppliers or Vendors                                    $77,846.01
PO BOX 5006
CAROL STREAM, IL 60197-5006
                                                            03/28/2024                Suppliers or Vendors                                    $81,219.09

                                                            04/16/2024                Suppliers or Vendors                                    $80,026.73

                                                            04/30/2024                Suppliers or Vendors                                    $69,298.86

                                                                                                                SUBTOTAL                     $308,390.69

DISASTER RESTORATION                                        03/21/2024                Suppliers or Vendors                                    $11,103.25
SYSTEM LLC
1-800 WATER DAMAGE OF
HARRISBURG PA
3256 N SUSQUEHANNA TRL
YORK, PA 17406-9754

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/11/2024                Suppliers or Vendors                                    $83,656.59

                                                            04/18/2024                Suppliers or Vendors                                    $31,329.99

                                                            04/25/2024                Suppliers or Vendors                                    $24,172.85

                                                            05/16/2024                Suppliers or Vendors                                    $65,927.89

                                                                                                                SUBTOTAL                     $216,190.57

DIVERSIFIED MECHANICAL INC                                  02/21/2024                Suppliers or Vendors                                     $3,419.34
329 N WESTERN AVENUE
PEORIA, IL 61604
                                                            03/06/2024                Suppliers or Vendors                                     $4,887.98

                                                            03/12/2024                Suppliers or Vendors                                      $868.50

                                                            04/04/2024                Suppliers or Vendors                                     $1,078.00

                                                            04/16/2024                Suppliers or Vendors                                      $350.00

                                                            05/07/2024                Suppliers or Vendors                                     $1,608.77

                                                                                                                SUBTOTAL                      $12,212.59

DIXIE PRODUCE INC                                           02/20/2024                Suppliers or Vendors                                     $6,092.09
DBA WHAT CHEFS WANT
SOUTHEAST
PO BOX 896706
CHARLOTTE, NC 28289-6706
                                                            02/21/2024                Suppliers or Vendors                                     $2,740.02

                                                            02/22/2024                Suppliers or Vendors                                      $593.52

                                                            02/23/2024                Suppliers or Vendors                                     $2,625.06

                                                            02/26/2024                Suppliers or Vendors                                     $1,814.39

                                                            02/27/2024                Suppliers or Vendors                                     $6,566.15

                                                            02/28/2024                Suppliers or Vendors                                     $2,223.49

                                                            03/04/2024                Suppliers or Vendors                                     $2,783.70

                                                            03/06/2024                Suppliers or Vendors                                     $8,156.94

                                                            03/08/2024                Suppliers or Vendors                                     $1,579.17

                                                            03/11/2024                Suppliers or Vendors                                      $871.02

                                                            03/12/2024                Suppliers or Vendors                                     $8,786.23

                                                            03/14/2024                Suppliers or Vendors                                     $1,671.35

                                                            03/15/2024                Suppliers or Vendors                                     $1,353.92

                                                            03/18/2024                Suppliers or Vendors                                     $4,877.96

                                                            03/19/2024                Suppliers or Vendors                                     $3,645.45

                                                            03/21/2024                Suppliers or Vendors                                     $1,295.44

                                                            03/22/2024                Suppliers or Vendors                                     $1,392.13

                                                            03/25/2024                Suppliers or Vendors                                     $4,918.69

                                                            03/26/2024                Suppliers or Vendors                                     $2,694.06

                                                            03/28/2024                Suppliers or Vendors                                     $1,689.61


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/29/2024                Suppliers or Vendors                                     $1,637.79

                                                            04/01/2024                Suppliers or Vendors                                     $5,076.20

                                                            04/02/2024                Suppliers or Vendors                                     $2,497.68

                                                            04/04/2024                Suppliers or Vendors                                     $2,586.75

                                                            04/05/2024                Suppliers or Vendors                                      $912.31

                                                            04/08/2024                Suppliers or Vendors                                     $3,811.75

                                                            04/09/2024                Suppliers or Vendors                                     $2,713.03

                                                            04/11/2024                Suppliers or Vendors                                     $1,057.67

                                                            04/12/2024                Suppliers or Vendors                                     $1,313.81

                                                            04/15/2024                Suppliers or Vendors                                     $5,152.20

                                                            04/16/2024                Suppliers or Vendors                                     $1,938.66

                                                            04/18/2024                Suppliers or Vendors                                     $1,801.34

                                                            04/19/2024                Suppliers or Vendors                                     $1,419.53

                                                            04/22/2024                Suppliers or Vendors                                     $5,605.46

                                                            04/23/2024                Suppliers or Vendors                                     $1,908.13

                                                            04/25/2024                Suppliers or Vendors                                     $1,658.69

                                                            04/26/2024                Suppliers or Vendors                                     $1,141.24

                                                            04/29/2024                Suppliers or Vendors                                     $3,947.10

                                                            04/30/2024                Suppliers or Vendors                                     $3,378.11

                                                            05/02/2024                Suppliers or Vendors                                     $1,110.95

                                                            05/03/2024                Suppliers or Vendors                                     $2,048.75

                                                            05/06/2024                Suppliers or Vendors                                     $3,568.32

                                                            05/07/2024                Suppliers or Vendors                                     $2,605.69

                                                            05/08/2024                Suppliers or Vendors                                      $773.17

                                                            05/09/2024                Suppliers or Vendors                                     $1,113.79

                                                            05/10/2024                Suppliers or Vendors                                      $838.93

                                                            05/13/2024                Suppliers or Vendors                                     $5,356.06

                                                            05/14/2024                Suppliers or Vendors                                     $2,867.02

                                                            05/16/2024                Suppliers or Vendors                                     $1,385.41

                                                                                                                SUBTOTAL                     $139,595.93

DK ORLANDO AC LLC                                           03/04/2024                Suppliers or Vendors                                    $11,693.00
DBA AC BY MARRIOTT AND AC
SKY BAR ORLANDO
DOWNTOWN
333 S GARLAND AVE
ORLANDO, FL 32801-3355
                                                            04/12/2024                Suppliers or Vendors                                     $1,294.46

                                                            04/26/2024                Suppliers or Vendors                                      $515.26


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            05/13/2024                Suppliers or Vendors                                    $9,274.68

                                                            05/19/2024                Suppliers or Vendors                                    $3,364.89

                                                                                                                SUBTOTAL                     $26,142.29

DMC SERVICES LLC                                            02/23/2024                Suppliers or Vendors                                   $62,020.89
2 PIN OAK LN STE 100
CHERRY HILL, NJ 08003-1632
                                                            03/08/2024                Suppliers or Vendors                                    $1,166.52

                                                                                                                SUBTOTAL                     $63,187.41

DOHME PRODUCE CO INC                                        02/20/2024                Suppliers or Vendors                                   $10,184.83
DBA CENTRAL ILLINOIS
PRODUCE
500 S GLOVER
URBANA, IL 61802
                                                            02/21/2024                Suppliers or Vendors                                     $156.84

                                                            02/23/2024                Suppliers or Vendors                                    $2,871.99

                                                            02/26/2024                Suppliers or Vendors                                     $981.41

                                                            02/27/2024                Suppliers or Vendors                                   $12,203.27

                                                            02/28/2024                Suppliers or Vendors                                     $150.42

                                                            03/04/2024                Suppliers or Vendors                                    $3,142.65

                                                            03/06/2024                Suppliers or Vendors                                    $8,948.29

                                                            03/08/2024                Suppliers or Vendors                                    $3,439.94

                                                            03/11/2024                Suppliers or Vendors                                    $1,444.51

                                                            03/12/2024                Suppliers or Vendors                                    $9,000.82

                                                            03/14/2024                Suppliers or Vendors                                    $3,781.69

                                                            03/15/2024                Suppliers or Vendors                                     $379.50

                                                            03/18/2024                Suppliers or Vendors                                    $8,647.19

                                                            03/21/2024                Suppliers or Vendors                                    $2,271.54

                                                            03/22/2024                Suppliers or Vendors                                     $398.48

                                                            03/25/2024                Suppliers or Vendors                                   $10,122.29

                                                            03/26/2024                Suppliers or Vendors                                     $127.52

                                                            03/28/2024                Suppliers or Vendors                                    $3,125.23

                                                            03/29/2024                Suppliers or Vendors                                     $362.49

                                                            04/01/2024                Suppliers or Vendors                                    $8,184.51

                                                            04/04/2024                Suppliers or Vendors                                    $3,154.21

                                                            04/05/2024                Suppliers or Vendors                                     $390.65

                                                            04/08/2024                Suppliers or Vendors                                    $9,307.66

                                                            04/11/2024                Suppliers or Vendors                                    $2,618.46

                                                            04/12/2024                Suppliers or Vendors                                     $318.01

                                                            04/15/2024                Suppliers or Vendors                                    $8,278.21


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/16/2024                Suppliers or Vendors                                        $11.10

                                                            04/18/2024                Suppliers or Vendors                                     $2,350.80

                                                            04/19/2024                Suppliers or Vendors                                      $413.09

                                                            04/22/2024                Suppliers or Vendors                                     $7,825.92

                                                            04/24/2024                Suppliers or Vendors                                      $406.24

                                                            04/25/2024                Suppliers or Vendors                                     $3,044.04

                                                            04/26/2024                Suppliers or Vendors                                      $656.10

                                                            04/29/2024                Suppliers or Vendors                                     $8,028.71

                                                            05/02/2024                Suppliers or Vendors                                     $3,212.25

                                                            05/03/2024                Suppliers or Vendors                                      $493.44

                                                            05/06/2024                Suppliers or Vendors                                     $8,068.93

                                                            05/09/2024                Suppliers or Vendors                                     $1,940.42

                                                            05/10/2024                Suppliers or Vendors                                      $495.74

                                                            05/13/2024                Suppliers or Vendors                                     $7,969.13

                                                            05/14/2024                Suppliers or Vendors                                       $37.65

                                                            05/16/2024                Suppliers or Vendors                                     $2,910.91

                                                                                                                SUBTOTAL                     $161,857.08

DONTSLOWMEDOWN INC                                          03/28/2024                Suppliers or Vendors                                     $8,595.00
79 BARBERRY PLACE
HELEN, GA 30545-3319
                                                            04/25/2024                Suppliers or Vendors                                     $8,050.00

                                                                                                                SUBTOTAL                      $16,645.00

DOORDASH INC                                                03/20/2024                Suppliers or Vendors                                   $298,441.27
PO BOX 735240
DALLAS, TX 75373-5240
                                                                                                                SUBTOTAL                     $298,441.27

DOUGLAS V HALE                                              03/04/2024                Other- Rent                                             $31,734.98
DBA DOUG HALE LLC
2238 GOVERNORS BEND RD SE
HUNTSVILLE, AL 35801-1371
                                                            03/29/2024                Other- Rent                                             $31,734.98

                                                            04/30/2024                Other- Rent                                             $31,734.98

                                                                                                                SUBTOTAL                      $95,204.94

DRAFT BEER INTELLIGENCE LLC                                 02/23/2024                Suppliers or Vendors                                    $28,212.59
255 S GLENDORA AVE # 1210
GLENDORA, CA 91740-7162
                                                            03/08/2024                Suppliers or Vendors                                     $9,956.25

                                                            03/28/2024                Suppliers or Vendors                                    $34,331.21

                                                            04/25/2024                Suppliers or Vendors                                     $6,332.04

                                                                                                                SUBTOTAL                      $78,832.09



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Debtor Name: Red Lobster Management LLC                                                                                   Case Number: 24-02486

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Creditor Name & Address           Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                  Number
DRIVERS LICENSE GUIDE CO                                     05/16/2024                Suppliers or Vendors                                   $10,347.54
1492 ODDSTAD DR
REDWOOD CITY, CA 94063
                                                                                                                 SUBTOTAL                     $10,347.54

DRURY DEVELOPMENT                                            02/28/2024                Other- Rent                                            $29,940.20
CORPORATION
ATTN MELINDA STEAMER LEASE
ADMINISTRATOR
13075 MANCHESTER RD STE 200
SAINT LOUIS, MO 63131-1836
                                                             04/02/2024                Other- Rent                                            $29,940.20

                                                             04/30/2024                Other- Rent                                            $29,940.20

                                                                                                                 SUBTOTAL                     $89,820.60

DTC DEVELOPMENT MSP LLC                                      03/04/2024                Other- Rent                                            $31,291.27
PO BOX 809342
CHICAGO, IL 60680-9342
                                                             03/28/2024                Other- Rent                                            $14,714.75

                                                             04/01/2024                Other- Rent                                            $16,576.52

                                                             05/03/2024                Other- Rent                                            $16,576.52

                                                             05/06/2024                Other- Rent                                            $15,695.74

                                                                                                                 SUBTOTAL                     $94,854.80

DTI GROUP INC                                                03/18/2024                Suppliers or Vendors                                    $7,982.07
10913 NW 30TH ST STE 107
DORAL, FL 33172-5029
                                                             04/11/2024                Suppliers or Vendors                                    $7,871.32

                                                             05/09/2024                Suppliers or Vendors                                    $7,987.64

                                                                                                                 SUBTOTAL                     $23,841.03

DUANE MORRIS LLP                                             05/19/2024                Services                                               $64,262.54
30 S 17TH ST FL 5
PHILADELPHIA, PA 19103-4196
                                                                                                                 SUBTOTAL                     $64,262.54

NAME ON FILE                                                 02/22/2024                Other- Employee Expense                                 $2,190.44
ADDRESS ON FILE                                                                        Reimbursement
                                                             04/03/2024                Other- Employee Expense                                 $4,501.28
                                                                                       Reimbursement
                                                             04/26/2024                Other- Employee Expense                                 $1,910.98
                                                                                       Reimbursement
                                                             04/30/2024                Other- Employee Expense                                  $842.62
                                                                                       Reimbursement
                                                             05/14/2024                Other- Employee Expense                                 $1,703.11
                                                                                       Reimbursement
                                                                                                                 SUBTOTAL                     $11,148.43

E L WALTERS AIR                                              04/11/2024                Suppliers or Vendors                                    $7,614.93
CONDITIONING & HEATING INC
12420 N GREEN RIVER ROAD
EVANSVILLE, IN 47725
                                                             04/25/2024                Suppliers or Vendors                                    $4,097.94

                                                             04/26/2024                Suppliers or Vendors                                    $3,624.81

                                                             05/02/2024                Suppliers or Vendors                                    $3,876.06


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            05/03/2024                Suppliers or Vendors                                     $451.65

                                                            05/09/2024                Suppliers or Vendors                                     $532.43

                                                                                                                SUBTOTAL                     $20,197.82

EAST COAST REFRIGERATION                                    02/23/2024                Suppliers or Vendors                                    $8,091.62
INC
1220 BISCAYNE BLVD UNIT C
DELAND, FL 32724
                                                            03/07/2024                Suppliers or Vendors                                    $2,007.85

                                                            03/22/2024                Suppliers or Vendors                                     $388.67

                                                            04/03/2024                Suppliers or Vendors                                    $2,490.06

                                                            05/09/2024                Suppliers or Vendors                                     $714.38

                                                                                                                SUBTOTAL                     $13,692.58

EAST WEST CROSSINGS LLC                                     02/28/2024                Other- Rent                                             $7,558.03
PO BOX 96347
CHARLOTTE, NC 28296-0347
                                                            04/02/2024                Other- Rent                                             $7,784.77

                                                            05/01/2024                Other- Rent                                             $7,784.77

                                                                                                                SUBTOTAL                     $23,127.57

ECO RESTORATION & CLEANING                                  02/23/2024                Suppliers or Vendors                                     $543.80
SERVICES
2951 MARINA BAY DR STE
130.367
LEAGUE CITY, TX 77573-2735
                                                            03/08/2024                Suppliers or Vendors                                    $5,251.96

                                                            03/21/2024                Suppliers or Vendors                                   $17,638.55

                                                            03/22/2024                Suppliers or Vendors                                    $2,140.00

                                                            04/25/2024                Suppliers or Vendors                                    $4,355.30

                                                                                                                SUBTOTAL                     $29,929.61

ECOLAB INC                                                  02/26/2024                Suppliers or Vendors                                   $30,775.70
PO BOX 100512
PASADENA, CA 911890512
                                                            02/28/2024                Suppliers or Vendors                                   $20,861.81

                                                            02/29/2024                Suppliers or Vendors                                    $3,027.15

                                                            03/04/2024                Suppliers or Vendors                                    $4,452.52

                                                            03/05/2024                Suppliers or Vendors                                   $25,101.25

                                                            03/06/2024                Suppliers or Vendors                                     $131.79

                                                            03/08/2024                Suppliers or Vendors                                    $6,860.90

                                                            03/12/2024                Suppliers or Vendors                                    $1,479.21

                                                            03/13/2024                Suppliers or Vendors                                    $2,574.31

                                                            03/15/2024                Suppliers or Vendors                                       $49.77

                                                            03/18/2024                Suppliers or Vendors                                       $66.20

                                                            03/28/2024                Suppliers or Vendors                                    $3,825.85

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/03/2024                Suppliers or Vendors                                      $1,078.74

                                                            04/04/2024                Suppliers or Vendors                                      $5,988.98

                                                            04/09/2024                Suppliers or Vendors                                     $25,503.96

                                                            04/11/2024                Suppliers or Vendors                                      $1,839.66

                                                            04/18/2024                Suppliers or Vendors                                      $1,672.37

                                                            04/25/2024                Suppliers or Vendors                                     $30,782.16

                                                            05/02/2024                Suppliers or Vendors                                     $27,181.06

                                                                                                                SUBTOTAL                      $193,253.39

ECOLAB INC                                                  03/06/2024                Suppliers or Vendors                                      $1,449.42
ECOSURE
26397 NETWORK PLACE
CHICAGO, IL 606731263
                                                            04/02/2024                Suppliers or Vendors                                     $53,361.71

                                                            05/01/2024                Suppliers or Vendors                                     $70,068.37

                                                            05/19/2024                Suppliers or Vendors                                     $98,021.39

                                                                                                                SUBTOTAL                      $222,900.89

ECOLAB PEST ELIMINATION                                     02/23/2024                Suppliers or Vendors                                    $177,815.69
26252 NETWORK PLACE
CHICAGO, IL 606731262
                                                            03/08/2024                Suppliers or Vendors                                    $185,732.84

                                                            04/04/2024                Suppliers or Vendors                                    $174,647.21

                                                            04/25/2024                Suppliers or Vendors                                    $182,767.44

                                                            05/02/2024                Suppliers or Vendors                                    $198,446.11

                                                            05/19/2024                Suppliers or Vendors                                    $212,262.05

                                                                                                                SUBTOTAL                     $1,131,671.34

ECONOMY PLUMBING & DRAIN                                    03/25/2024                Suppliers or Vendors                                      $8,849.21
INC
DBA GARDNER PLUMBING
PO BOX 6273
KOKOMO, IN 46904-6273
                                                            04/15/2024                Suppliers or Vendors                                      $1,552.95

                                                            05/03/2024                Suppliers or Vendors                                        $685.00

                                                                                                                SUBTOTAL                       $11,087.16

EEC ACQUISITION LLC                                         02/22/2024                Suppliers or Vendors                                     $11,916.90
DBA SMART CARE EQUIPMENT
SOLUTIONS
PO BOX 74008980
CHICAGO, IL 60674-8980
                                                            02/26/2024                Suppliers or Vendors                                      $1,375.65

                                                            03/06/2024                Suppliers or Vendors                                      $2,898.55

                                                            03/18/2024                Suppliers or Vendors                                      $2,518.30

                                                            05/01/2024                Suppliers or Vendors                                      $1,158.77



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number

                                                                                                                SUBTOTAL                      $19,868.17

EGE5 LLC                                                    03/04/2024                Other- Rent                                             $26,164.87
2011 BREWSTER DR
FRANKLIN, TN 37067-8597
                                                            03/29/2024                Other- Rent                                             $26,164.87

                                                            04/30/2024                Other- Rent                                             $26,164.87

                                                                                                                SUBTOTAL                      $78,494.61

EIRREK RLF LLC                                              03/04/2024                Other- Rent                                             $28,872.60
12672 CARA CARA LOOP
BRADENTON, FL 34212-2948
                                                            03/29/2024                Other- Rent                                             $28,872.60

                                                            04/30/2024                Other- Rent                                             $28,872.60

                                                                                                                SUBTOTAL                      $86,617.80

EKTOS LLC                                                   03/21/2024                Suppliers or Vendors                                    $11,807.50
DBA ROBINSON SOLUTIONS
WASHINGTON
17802 134TH AVENUE NE
SUITE 12
WOODINVILLE, WA 98072
                                                                                                                SUBTOTAL                      $11,807.50

ELASTICSEARCH INC                                           02/28/2024                Suppliers or Vendors                                     $3,333.33
PO BOX 894466
LOS ANGELES, CA 90189-4466
                                                            04/30/2024                Suppliers or Vendors                                    $18,641.17

                                                            05/07/2024                Suppliers or Vendors                                    $45,575.48

                                                            05/19/2024                Suppliers or Vendors                                    $95,995.37

                                                                                                                SUBTOTAL                     $163,545.35

ELHIO II LLC                                                03/04/2024                Other- Rent                                              $7,529.09
C/O ATTN MICHAEL SCHMIDT
222 GRAND AVENUE
ENGLEWOOD, NJ 07631-4352
                                                            03/29/2024                Other- Rent                                              $7,529.09

                                                            04/30/2024                Other- Rent                                              $7,529.09

                                                                                                                SUBTOTAL                      $22,587.27

EMERALD ACQUISITION INC                                     02/29/2024                Suppliers or Vendors                                   $101,217.00
DBA EMERALD PAVING
COMPANY
6381 INDUSTRY WAY
WESTMINSTER, CA 92683-3693
                                                            03/29/2024                Suppliers or Vendors                                    $52,922.00

                                                                                                                SUBTOTAL                     $154,139.00

EMILY KO LEE                                                03/04/2024                Other- Rent                                             $20,391.27
DBA KOLEE 59 TRUST
5353 WEST ALABAMA STREET
SUITE #610
HOUSTON, TX 77056
                                                            03/29/2024                Other- Rent                                             $20,391.27



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number

                                                                                                                SUBTOTAL                      $40,782.54

EMPLIFI INC                                                 05/19/2024                Suppliers or Vendors                                    $29,892.72
DBA EMPLIFI
4200 REGENT ST STE 200
SUITE 150
COLUMBUS, OH 43219-6229
                                                                                                                SUBTOTAL                      $29,892.72

EMPLOYMENTGROUP INC                                         02/23/2024                Suppliers or Vendors                                     $8,925.00
DBA EG WORKFORCE
SOLUTIONS
4651 W DICKMAN RD
BATTLE CREEK, MI 49037-7343
                                                            03/08/2024                Suppliers or Vendors                                    $11,900.00

                                                            03/28/2024                Suppliers or Vendors                                    $17,850.00

                                                                                                                SUBTOTAL                      $38,675.00

NAME ON FILE                                                03/07/2024                Other- Rent                                              $5,510.78
ADDRESS ON FILE
                                                            04/04/2024                Other- Rent                                              $5,510.78

                                                            05/02/2024                Other- Rent                                              $5,510.78

                                                                                                                SUBTOTAL                      $16,532.34

ENGIE INSIGHT SERVICES INC                                  02/20/2024                Suppliers or Vendors                                   $239,799.00
1313 NORTH ATLANTIC STE 5000
SPOKANE, WA 99201-2330
                                                            02/21/2024                Suppliers or Vendors                                   $210,663.71

                                                            02/22/2024                Suppliers or Vendors                                   $682,105.60

                                                            02/23/2024                Suppliers or Vendors                                   $187,158.77

                                                            02/27/2024                Suppliers or Vendors                                    $19,190.87

                                                            02/28/2024                Suppliers or Vendors                                   $968,733.27

                                                            02/29/2024                Suppliers or Vendors                                   $219,122.81

                                                            03/04/2024                Suppliers or Vendors                                   $489,560.83

                                                            03/06/2024                Suppliers or Vendors                                   $595,376.18

                                                            03/07/2024                Suppliers or Vendors                                   $360,151.72

                                                            03/08/2024                Suppliers or Vendors                                   $265,643.49

                                                            03/11/2024                Suppliers or Vendors                                   $257,575.46

                                                            03/12/2024                Suppliers or Vendors                                   $766,671.27

                                                            03/13/2024                Suppliers or Vendors                                   $298,711.13

                                                            03/14/2024                Suppliers or Vendors                                   $304,527.20

                                                            03/15/2024                Suppliers or Vendors                                   $299,344.87

                                                            03/18/2024                Suppliers or Vendors                                   $290,080.32

                                                            03/19/2024                Suppliers or Vendors                                   $373,551.75

                                                            03/20/2024                Suppliers or Vendors                                   $296,597.53

                                                            03/21/2024                Suppliers or Vendors                                   $395,349.27

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/22/2024                Suppliers or Vendors                                    $305,423.20

                                                            03/25/2024                Suppliers or Vendors                                    $203,161.32

                                                            03/26/2024                Suppliers or Vendors                                    $373,063.24

                                                            03/27/2024                Suppliers or Vendors                                    $298,897.56

                                                            03/28/2024                Suppliers or Vendors                                    $165,895.97

                                                            04/02/2024                Suppliers or Vendors                                    $994,008.51

                                                            04/03/2024                Suppliers or Vendors                                    $222,655.61

                                                            04/04/2024                Suppliers or Vendors                                    $171,423.72

                                                            04/05/2024                Suppliers or Vendors                                    $351,092.49

                                                            04/08/2024                Suppliers or Vendors                                    $297,822.09

                                                            04/09/2024                Suppliers or Vendors                                    $452,490.21

                                                            04/10/2024                Suppliers or Vendors                                    $442,976.36

                                                            04/11/2024                Suppliers or Vendors                                    $247,936.06

                                                            04/12/2024                Suppliers or Vendors                                    $264,380.02

                                                            04/15/2024                Suppliers or Vendors                                    $348,859.59

                                                            04/18/2024                Suppliers or Vendors                                   $1,006,832.09

                                                            04/19/2024                Suppliers or Vendors                                    $283,190.51

                                                            04/22/2024                Suppliers or Vendors                                    $329,752.77

                                                            04/23/2024                Suppliers or Vendors                                    $371,489.98

                                                            04/24/2024                Suppliers or Vendors                                    $223,670.26

                                                            04/25/2024                Suppliers or Vendors                                    $219,869.73

                                                            04/30/2024                Suppliers or Vendors                                   $1,094,614.68

                                                            05/01/2024                Suppliers or Vendors                                    $264,105.47

                                                            05/02/2024                Suppliers or Vendors                                    $151,016.86

                                                            05/03/2024                Suppliers or Vendors                                    $237,953.79

                                                            05/06/2024                Suppliers or Vendors                                    $267,083.83

                                                            05/07/2024                Suppliers or Vendors                                    $350,524.35

                                                            05/08/2024                Suppliers or Vendors                                    $272,553.06

                                                            05/09/2024                Suppliers or Vendors                                    $313,103.27

                                                            05/10/2024                Suppliers or Vendors                                    $347,547.24

                                                            05/13/2024                Suppliers or Vendors                                    $301,624.95

                                                            05/19/2024                Suppliers or Vendors                                     $92,250.00

                                                                                                                SUBTOTAL                 $18,787,183.84

ENTERPRISE FM TRUST                                         03/08/2024                Suppliers or Vendors                                    $113,708.68
PO BOX 800089
KANSAS CITY, MO 641800089
                                                            03/14/2024                Suppliers or Vendors                                      $57,111.12

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/21/2024                Suppliers or Vendors                                    $101,741.30

                                                            04/18/2024                Suppliers or Vendors                                    $126,225.38

                                                            05/13/2024                Suppliers or Vendors                                    $113,144.06

                                                                                                                SUBTOTAL                      $511,930.54

ENTERPRISE LEASING                                          03/11/2024                Suppliers or Vendors                                      $8,000.75
COMPANY OF ORLANDO LLC.
DBA ENTERPRISE RENT-A-CAR
PO BOX 402383
ATLANTA, GA 30384-2383
                                                                                                                SUBTOTAL                        $8,000.75

EPLUS TECHNOLOGY INC                                        02/23/2024                Suppliers or Vendors                                      $1,788.27
PO BOX 404398
ATLANTA, GA 30384-4398
                                                            03/13/2024                Suppliers or Vendors                                   $1,982,444.04

                                                            03/19/2024                Suppliers or Vendors                                        $322.97

                                                            04/04/2024                Suppliers or Vendors                                        $160.00

                                                            04/15/2024                Suppliers or Vendors                                         $25.25

                                                                                                                SUBTOTAL                     $1,984,740.53

ERNST & YOUNG LLP                                           02/21/2024                Services                                                 $12,875.01
ERNST & YOUNG US LLP WELLS
FARGO BANK NA
PO BOX 933514
ATLANTA, GA 311933514
                                                            03/07/2024                Services                                                  $4,291.67

                                                            04/01/2024                Services                                                  $4,291.67

                                                            04/29/2024                Services                                                  $4,291.67

                                                            05/19/2024                Services                                                 $12,875.01

                                                                                                                SUBTOTAL                       $38,625.03

ESTEVAN VEGA                                                02/20/2024                Other- Individual Miscellaneous                           $2,606.30
DBA AIR COMFORT
REFRIGERATION
11506 REBEL CT
EL PASO, TX 79936-1415
                                                            03/04/2024                Other- Individual Miscellaneous                           $3,570.32

                                                            03/13/2024                Other- Individual Miscellaneous                           $5,377.02

                                                                                                                SUBTOTAL                       $11,553.64

EVEN TEMP OF WICHITA INC                                    02/20/2024                Suppliers or Vendors                                      $5,350.39
DBA THE FORGOTTEN
CRAFTSMAN
216 S COMMERCE
WICHITA, KS 67202
                                                            02/23/2024                Suppliers or Vendors                                        $814.68

                                                            03/13/2024                Suppliers or Vendors                                     $10,157.61

                                                            04/25/2024                Suppliers or Vendors                                      $5,613.12

                                                            05/02/2024                Suppliers or Vendors                                        $867.52



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number

                                                                                                                SUBTOTAL                      $22,803.32

EXECUTIVE SAFE AND                                          04/15/2024                Suppliers or Vendors                                      $625.00
SECURITY CORP
DBA AMPHION
C/O ACCOUNTING DEPT
PO BOX 225
SANTA CLARA, CA 95052-0225
                                                            04/19/2024                Suppliers or Vendors                                      $695.50

                                                            05/02/2024                Suppliers or Vendors                                     $8,252.82

                                                            05/08/2024                Suppliers or Vendors                                      $702.47

                                                            05/19/2024                Suppliers or Vendors                                     $3,780.00

                                                                                                                SUBTOTAL                      $14,055.79

EXPERT AIR INC                                              02/23/2024                Suppliers or Vendors                                     $8,619.49
PO BOX 4386
WAYNE, NJ 074744386
                                                            03/13/2024                Suppliers or Vendors                                    $19,428.29

                                                            03/21/2024                Suppliers or Vendors                                    $14,979.05

                                                            04/25/2024                Suppliers or Vendors                                     $9,290.46

                                                                                                                SUBTOTAL                      $52,317.29

EXPERT SERVICE TECHNOLOGY                                   03/04/2024                Suppliers or Vendors                                     $4,482.50
CORP
DBA EXPERT SERVICE
PLUMBING
956 W 79TH ST
HIALEAH, FL 33014-3538
                                                            04/04/2024                Suppliers or Vendors                                     $4,985.00

                                                                                                                SUBTOTAL                       $9,467.50

EYEMED VISION CARE                                          03/13/2024                Suppliers or Vendors                                    $35,860.14

                                                            04/15/2024                Suppliers or Vendors                                    $35,315.52

                                                            05/16/2024                Suppliers or Vendors                                    $35,056.07

                                                                                                                SUBTOTAL                     $106,231.73

FAB-RITE LLC                                                03/04/2024                Other- Rent                                             $20,345.14
24 SENDERO
RANCHO SANTA MARGARITA, CA
92688-3007
                                                            03/29/2024                Other- Rent                                             $20,345.14

                                                                                                                SUBTOTAL                      $40,690.28

FACILITIES MAINTENANCE LLC                                  02/23/2024                Suppliers or Vendors                                    $25,200.00
681 S BLUFORD AVENUE
OCOEE, FL 34761
                                                            03/08/2024                Suppliers or Vendors                                    $15,800.00

                                                            03/21/2024                Suppliers or Vendors                                    $15,504.96

                                                            04/04/2024                Suppliers or Vendors                                     $1,789.00

                                                            04/25/2024                Suppliers or Vendors                                      $400.00

                                                            05/16/2024                Suppliers or Vendors                                     $6,689.87

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number

                                                                                                                SUBTOTAL                      $65,383.83

FAR HORIZONS TRAILER                                        03/04/2024                Other- Rent                                            $122,136.19
VILLAGE LLC
7682 CALLAWAY DR
RANCHO MURIETA, CA
95683-9268
                                                            03/29/2024                Other- Rent                                            $122,136.19

                                                            04/30/2024                Other- Rent                                             $80,043.56

                                                                                                                SUBTOTAL                     $324,315.94

FARLEY REFRIGERATION                                        02/23/2024                Suppliers or Vendors                                      $285.00
SERVICES
88 N LONDON ST
MOUNT STERLING, OH
43143-1129
                                                            03/13/2024                Suppliers or Vendors                                     $3,658.68

                                                            04/04/2024                Suppliers or Vendors                                      $855.00

                                                            04/25/2024                Suppliers or Vendors                                     $6,315.72

                                                            05/02/2024                Suppliers or Vendors                                     $1,050.50

                                                                                                                SUBTOTAL                      $12,164.90

FASTRANS LOGISTICS INC                                      02/23/2024                Suppliers or Vendors                                     $3,267.17
7069 NORTH HANLEY ROAD
HAZELWOOD, MO 63042-2903
                                                            03/13/2024                Suppliers or Vendors                                    $12,752.02

                                                            04/26/2024                Suppliers or Vendors                                     $3,112.88

                                                                                                                SUBTOTAL                      $19,132.07

FBMWW OPCO LLC                                              02/20/2024                Suppliers or Vendors                                    $47,250.00
DBA MWW GROUP LLC
1 MEADOWLANDS PLAZA
EAST RUTHERFORD, NJ 07073
                                                            03/13/2024                Suppliers or Vendors                                    $47,250.00

                                                            04/11/2024                Suppliers or Vendors                                    $47,250.00

                                                            05/02/2024                Suppliers or Vendors                                    $47,250.00

                                                            05/16/2024                Suppliers or Vendors                                    $76,246.93

                                                                                                                SUBTOTAL                     $265,246.93

FEDERAL EXPRESS                                             03/28/2024                Suppliers or Vendors                                    $10,569.58
CORPORATION
PO BOX 660481
DALLAS, TX 752660481
                                                            04/05/2024                Suppliers or Vendors                                      $540.04

                                                            04/10/2024                Suppliers or Vendors                                     $3,494.00

                                                            05/02/2024                Suppliers or Vendors                                      $710.64

                                                            05/09/2024                Suppliers or Vendors                                     $8,916.04

                                                                                                                SUBTOTAL                      $24,230.30




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Debtor Name: Red Lobster Management LLC                                                                                   Case Number: 24-02486

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                           SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address           Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                  Number
FEDERAL HEATH SIGN                                           04/25/2024                Suppliers or Vendors                                   $38,886.56
COMPANY LLC
PO BOX 670222
DALLAS, TX 75267-0222
                                                             05/01/2024                Suppliers or Vendors                                   $14,654.47

                                                                                                                 SUBTOTAL                     $53,541.03

FEDERAL REALTY OP LP                                         02/28/2024                Other- Rent                                            $20,000.00
C/O FR WHITE MARSH LLC -
PROPERTY #2270
PO BOX 8500 LOCKBOX #9320
PHILADELPHIA, PA 19178-9320
                                                             04/02/2024                Other- Rent                                            $20,000.00

                                                             04/30/2024                Other- Rent                                            $20,000.00

                                                                                                                 SUBTOTAL                     $60,000.00

FIFTH THIRD BANK                                             05/07/2024                Suppliers or Vendors                                   $23,469.74
PO BOX 636045
CINCINNATI, OH 452636045
                                                                                                                 SUBTOTAL                     $23,469.74

NAME ON FILE                                                 03/04/2024                Other- Employee Expense                                $10,727.41
ADDRESS ON FILE                                                                        Reimbursement
                                                             04/04/2024                Other- Employee Expense                                $12,265.56
                                                                                       Reimbursement
                                                             04/23/2024                Other- Employee Expense                                 $5,312.79
                                                                                       Reimbursement
                                                             05/01/2024                Other- Employee Expense                                 $7,230.47
                                                                                       Reimbursement
                                                             05/13/2024                Other- Employee Expense                                 $6,158.16
                                                                                       Reimbursement
                                                                                                                 SUBTOTAL                     $41,694.39

FIRST & MAIN LLC                                             03/04/2024                Other- Rent                                            $14,453.42
C/O NORWOOD LIMITED INC
111 SOUTH TEJON ST SUITE
#222
COLORADO SPRINGS, CO 80903
                                                             03/29/2024                Other- Rent                                            $14,453.42

                                                             04/30/2024                Other- Rent                                            $14,453.42

                                                                                                                 SUBTOTAL                     $43,360.26

FIRST AMERICAN EXCHANGE                                      04/03/2024                Other- Rent                                            $25,954.54
COMPANY LLC
DBA ARCP RL/OG LANGHORNE
PA LLC
215 SOUTH STATE STREET
SUITE 380
SALT LAKE CITY, UT 84111
                                                             04/29/2024                Other- Rent                                            $30,158.27

                                                                                                                 SUBTOTAL                     $56,112.81

FIRST ARIZONA RL ASSOCIATES                                  03/04/2024                Other- Rent                                            $17,904.51
LLC
80 NASHUA RD STE A4
LONDONDERRY, NH 03053-3419
                                                             03/29/2024                Other- Rent                                            $17,904.51

                                                             04/30/2024                Other- Rent                                            $17,904.51


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number

                                                                                                                SUBTOTAL                      $53,713.53

FIRST CLASS PLUMBING LLC                                    03/08/2024                Suppliers or Vendors                                     $1,584.51
17032 SILVER CHARM PLACE
LEESBURG, VA 20176
                                                            03/28/2024                Suppliers or Vendors                                     $9,581.26

                                                            04/25/2024                Suppliers or Vendors                                     $1,309.76

                                                                                                                SUBTOTAL                      $12,475.53

FIRST DATA CORPORATION                                      02/23/2024                Suppliers or Vendors                                     $1,259.33
DBA FDS HOLDINGS INC
PO BOX 2025
ENGLEWOOD, CO 80150-2025
                                                            02/29/2024                Suppliers or Vendors                                    $58,047.49

                                                            03/13/2024                Suppliers or Vendors                                      $861.22

                                                            03/20/2024                Suppliers or Vendors                                    $45,930.01

                                                            04/04/2024                Suppliers or Vendors                                     $8,582.80

                                                            04/11/2024                Suppliers or Vendors                                      $728.98

                                                            05/02/2024                Suppliers or Vendors                                    $36,731.53

                                                            05/09/2024                Suppliers or Vendors                                    $33,493.91

                                                            05/16/2024                Suppliers or Vendors                                      $839.60

                                                            05/19/2024                Suppliers or Vendors                                    $60,197.96

                                                                                                                SUBTOTAL                     $246,672.83

FISERV RESERVE                                              05/03/2024                Suppliers or Vendors                                   $450,000.00

                                                                                                                SUBTOTAL                     $450,000.00

FK PROPERTIES LLC                                           03/04/2024                Other- Rent                                             $24,284.77
ATTN GLENN M ROCCA
20 HARRISON AVENUE
WALDWICK, NJ 07463-1757
                                                            03/29/2024                Other- Rent                                             $24,284.77

                                                            04/30/2024                Other- Rent                                             $24,284.77

                                                                                                                SUBTOTAL                      $72,854.31

FLORIDA DISTRIBUTING                                        03/01/2024                Suppliers or Vendors                                     $1,860.57
SOURCE INC
5325 115TH AVE N
CLEARWATER, FL 33760-4840
                                                            03/20/2024                Suppliers or Vendors                                     $6,780.00

                                                            04/30/2024                Suppliers or Vendors                                     $3,790.75

                                                                                                                SUBTOTAL                      $12,431.32

FNW REALTY CORP                                             03/04/2024                Other- Rent                                             $29,822.36
FNWRL LLC
1251 58TH ST
BROOKLYN, NY 11219-5174
                                                            03/29/2024                Other- Rent                                             $29,822.36

                                                                                                                SUBTOTAL                      $59,644.72


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
FOLLETT LLC                                                 03/08/2024                Suppliers or Vendors                                    $8,929.64
PO BOX 782806
PHILADELPHIA, PA 191782806
                                                                                                                SUBTOTAL                      $8,929.64

FOOD DONATION CONNECTION                                    03/29/2024                Suppliers or Vendors                                    $3,265.00
LLC
PO BOX 22787
KNOXVILLE, TN 379330787
                                                            04/11/2024                Suppliers or Vendors                                    $3,057.00

                                                            04/25/2024                Suppliers or Vendors                                    $2,801.00

                                                            05/19/2024                Suppliers or Vendors                                    $8,281.00

                                                                                                                SUBTOTAL                     $17,404.00

FORESTWOOD FARM INC                                         02/20/2024                Suppliers or Vendors                                    $4,476.44
PO BOX 310728
BIRMINGHAM, AL 352310728
                                                            02/21/2024                Suppliers or Vendors                                    $3,263.12

                                                            02/23/2024                Suppliers or Vendors                                     $153.25

                                                            02/26/2024                Suppliers or Vendors                                    $4,366.51

                                                            02/27/2024                Suppliers or Vendors                                    $4,422.97

                                                            02/28/2024                Suppliers or Vendors                                    $1,788.25

                                                            02/29/2024                Suppliers or Vendors                                     $221.24

                                                            03/04/2024                Suppliers or Vendors                                    $2,782.13

                                                            03/06/2024                Suppliers or Vendors                                    $8,194.18

                                                            03/08/2024                Suppliers or Vendors                                     $665.28

                                                            03/11/2024                Suppliers or Vendors                                    $1,782.74

                                                            03/12/2024                Suppliers or Vendors                                    $5,694.65

                                                            03/14/2024                Suppliers or Vendors                                    $2,088.70

                                                            03/15/2024                Suppliers or Vendors                                     $792.62

                                                            03/18/2024                Suppliers or Vendors                                    $3,866.42

                                                            03/19/2024                Suppliers or Vendors                                    $1,684.72

                                                            03/21/2024                Suppliers or Vendors                                     $832.10

                                                            03/22/2024                Suppliers or Vendors                                     $573.26

                                                            03/25/2024                Suppliers or Vendors                                    $4,642.31

                                                            03/26/2024                Suppliers or Vendors                                    $1,634.68

                                                            03/28/2024                Suppliers or Vendors                                     $891.23

                                                            03/29/2024                Suppliers or Vendors                                    $1,152.85

                                                            04/01/2024                Suppliers or Vendors                                    $4,421.85

                                                            04/02/2024                Suppliers or Vendors                                    $1,040.55

                                                            04/04/2024                Suppliers or Vendors                                    $1,872.94

                                                            04/05/2024                Suppliers or Vendors                                     $416.00


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/08/2024                Suppliers or Vendors                                     $3,831.60

                                                            04/09/2024                Suppliers or Vendors                                     $2,198.58

                                                            04/11/2024                Suppliers or Vendors                                      $450.03

                                                            04/12/2024                Suppliers or Vendors                                      $597.06

                                                            04/15/2024                Suppliers or Vendors                                     $3,891.55

                                                            04/16/2024                Suppliers or Vendors                                     $1,558.39

                                                            04/18/2024                Suppliers or Vendors                                      $872.97

                                                            04/19/2024                Suppliers or Vendors                                      $665.39

                                                            04/22/2024                Suppliers or Vendors                                     $4,926.82

                                                            04/23/2024                Suppliers or Vendors                                      $941.48

                                                            04/25/2024                Suppliers or Vendors                                     $1,242.24

                                                            04/26/2024                Suppliers or Vendors                                     $1,081.88

                                                            04/29/2024                Suppliers or Vendors                                     $4,620.69

                                                            05/02/2024                Suppliers or Vendors                                      $686.72

                                                            05/03/2024                Suppliers or Vendors                                     $1,640.31

                                                            05/06/2024                Suppliers or Vendors                                     $3,982.86

                                                            05/07/2024                Suppliers or Vendors                                      $836.39

                                                            05/09/2024                Suppliers or Vendors                                     $1,602.30

                                                            05/10/2024                Suppliers or Vendors                                      $508.66

                                                            05/13/2024                Suppliers or Vendors                                     $3,953.97

                                                            05/14/2024                Suppliers or Vendors                                      $779.45

                                                            05/15/2024                Suppliers or Vendors                                      $502.46

                                                            05/16/2024                Suppliers or Vendors                                      $971.84

                                                                                                                SUBTOTAL                     $106,064.63

FORMOSA DEVELOPERS INC                                      03/04/2024                Other- Rent                                             $15,817.17
7836 WEST IRLO BRONSON HWY
KISSIMMEE, FL 34747
                                                            03/29/2024                Other- Rent                                             $15,817.17

                                                            04/30/2024                Other- Rent                                             $15,817.17

                                                                                                                SUBTOTAL                      $47,451.51

FORTIFIED BELTWAY LANHAM                                    02/28/2024                Other- Rent                                             $16,666.66
LLC
C/O RAPPAPORT MANAGEMENT
COMPANY
PO BOX 25097
TAMPA, FL 33622
                                                            04/03/2024                Other- Rent                                             $16,666.66

                                                            05/01/2024                Other- Rent                                             $16,666.66

                                                                                                                SUBTOTAL                      $49,999.98


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
FORTRESS                                                    03/28/2024                Suppliers or Vendors                                   $4,283,277.51

                                                                                                                SUBTOTAL                     $4,283,277.51

FOUR CORNERS OPERATING                                      02/27/2024                Other- Rent                                              $20,081.48
PARTNERSHIP LP
FCPT HOLDINGS LLC
PO BOX 936705
ATLANTA, GA 31193-6705
                                                            03/04/2024                Other- Rent                                             $294,870.61

                                                            03/20/2024                Other- Rent                                               $4,477.50

                                                            03/26/2024                Other- Rent                                                  $43.88

                                                            03/29/2024                Other- Rent                                             $295,191.05

                                                            04/01/2024                Other- Rent                                              $10,132.57

                                                            04/02/2024                Other- Rent                                              $20,081.48

                                                            04/05/2024                Other- Rent                                              $39,557.82

                                                            04/09/2024                Other- Rent                                              $12,142.69

                                                            04/16/2024                Other- Rent                                               $7,840.87

                                                            04/30/2024                Other- Rent                                             $295,191.05

                                                            05/03/2024                Other- Rent                                              $20,081.48

                                                            05/07/2024                Other- Rent                                                 $165.85

                                                                                                                SUBTOTAL                     $1,019,858.33

FOUR HAND REALTY LLC                                        03/04/2024                Other- Rent                                              $37,627.57
C/O ELMADANI SADEK
830 6TH AVE FL 4
NEW YORK, NY 10001-6394
                                                            03/29/2024                Other- Rent                                              $37,627.57

                                                            04/30/2024                Other- Rent                                              $37,627.57

                                                                                                                SUBTOTAL                      $112,882.71

FOURTH ENTERPRISES LLC                                      03/04/2024                Suppliers or Vendors                                     $58,649.06
DBA HOTSCHEDULES RED
BOOK SOLUTIONS
RED BOOK CONNECT LLC
PO BOX 18364
PALATINE, IL 60055-8364
                                                            03/28/2024                Suppliers or Vendors                                     $45,770.57

                                                            04/04/2024                Suppliers or Vendors                                         $86.96

                                                            05/02/2024                Suppliers or Vendors                                    $117,744.82

                                                            05/19/2024                Suppliers or Vendors                                     $58,737.38

                                                                                                                SUBTOTAL                      $280,988.79

NAME ON FILE                                                02/21/2024                Other- Employee Expense                                   $2,538.65
ADDRESS ON FILE                                                                       Reimbursement
                                                            03/05/2024                Other- Employee Expense                                   $1,591.56
                                                                                      Reimbursement
                                                            04/02/2024                Other- Employee Expense                                   $1,665.10
                                                                                      Reimbursement


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/24/2024                Other- Employee Expense                                 $2,619.65
                                                                                      Reimbursement
                                                            05/07/2024                Other- Employee Expense                                 $1,574.07
                                                                                      Reimbursement
                                                            05/08/2024                Other- Employee Expense                                 $1,097.67
                                                                                      Reimbursement
                                                            05/16/2024                Other- Employee Expense                                  $527.49
                                                                                      Reimbursement
                                                                                                                SUBTOTAL                     $11,614.19

FOX RIVER SHOPPING CTR LLP                                  02/28/2024                Other- Rent                                            $12,500.00
C/O FOX RIVER SHOPPING
CENTER PARTNERS
SDS-12-1360 - PO BOX 86
MINNEAPOLIS, MN 554861360
                                                            04/01/2024                Other- Rent                                            $12,500.00

                                                            04/29/2024                Other- Rent                                            $12,500.00

                                                                                                                SUBTOTAL                     $37,500.00

FRANCHISE TAX BOARD                                         03/15/2024                Other- Government / Regulatory                          $2,400.00

                                                            05/13/2024                Other- Government / Regulatory                         $11,990.00

                                                                                                                SUBTOTAL                     $14,390.00

NAME ON FILE                                                03/06/2024                Other- Rent                                             $7,791.58
ADDRESS ON FILE
                                                            04/04/2024                Other- Rent                                             $7,791.58

                                                            04/30/2024                Other- Rent                                             $7,791.58

                                                                                                                SUBTOTAL                     $23,374.74

FRANKLIN MACHINE PRODUCTS                                   02/22/2024                Suppliers or Vendors                                     $684.34
INC
PO BOX 74007311
CHICAGO, IL 60674-7311
                                                            02/23/2024                Suppliers or Vendors                                   $11,549.85

                                                            03/04/2024                Suppliers or Vendors                                    $3,426.89

                                                            03/08/2024                Suppliers or Vendors                                    $4,859.65

                                                            03/13/2024                Suppliers or Vendors                                    $1,630.21

                                                            03/21/2024                Suppliers or Vendors                                   $37,942.48

                                                            04/02/2024                Suppliers or Vendors                                     $233.56

                                                            04/26/2024                Suppliers or Vendors                                    $8,643.19

                                                            05/08/2024                Suppliers or Vendors                                     $386.42

                                                                                                                SUBTOTAL                     $69,356.59

FRESHPOINT INC                                              02/20/2024                Suppliers or Vendors                                    $4,449.05
DBA REDS MARKET
8801 EXCHANGE DRIVE
ORLANDO, FL 32809
                                                            02/21/2024                Suppliers or Vendors                                    $2,455.32

                                                            02/23/2024                Suppliers or Vendors                                     $823.90

                                                            02/26/2024                Suppliers or Vendors                                    $3,011.85


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            02/27/2024                Suppliers or Vendors                                   $4,844.78

                                                            02/28/2024                Suppliers or Vendors                                   $3,567.72

                                                            03/04/2024                Suppliers or Vendors                                   $1,973.40

                                                            03/06/2024                Suppliers or Vendors                                   $8,345.65

                                                            03/08/2024                Suppliers or Vendors                                    $530.48

                                                            03/11/2024                Suppliers or Vendors                                   $2,677.39

                                                            03/12/2024                Suppliers or Vendors                                   $7,894.98

                                                            03/14/2024                Suppliers or Vendors                                    $485.00

                                                            03/15/2024                Suppliers or Vendors                                   $2,286.85

                                                            03/18/2024                Suppliers or Vendors                                   $3,669.21

                                                            03/19/2024                Suppliers or Vendors                                   $2,934.83

                                                            03/21/2024                Suppliers or Vendors                                    $948.44

                                                            03/22/2024                Suppliers or Vendors                                   $2,341.14

                                                            03/25/2024                Suppliers or Vendors                                   $3,918.92

                                                            03/26/2024                Suppliers or Vendors                                   $2,422.52

                                                            03/28/2024                Suppliers or Vendors                                    $809.29

                                                            03/29/2024                Suppliers or Vendors                                   $1,869.52

                                                            04/01/2024                Suppliers or Vendors                                   $3,863.60

                                                            04/02/2024                Suppliers or Vendors                                   $3,154.91

                                                            04/04/2024                Suppliers or Vendors                                    $408.76

                                                            04/05/2024                Suppliers or Vendors                                   $1,592.58

                                                            04/08/2024                Suppliers or Vendors                                   $5,739.52

                                                            04/09/2024                Suppliers or Vendors                                   $2,752.67

                                                            04/11/2024                Suppliers or Vendors                                    $489.67

                                                            04/12/2024                Suppliers or Vendors                                   $1,771.38

                                                            04/15/2024                Suppliers or Vendors                                   $3,034.35

                                                            04/16/2024                Suppliers or Vendors                                   $3,430.02

                                                            04/18/2024                Suppliers or Vendors                                    $538.40

                                                            04/19/2024                Suppliers or Vendors                                   $1,344.66

                                                            04/22/2024                Suppliers or Vendors                                   $3,805.38

                                                            04/23/2024                Suppliers or Vendors                                   $2,852.58

                                                            04/25/2024                Suppliers or Vendors                                    $411.74

                                                            04/26/2024                Suppliers or Vendors                                   $1,706.16

                                                            04/29/2024                Suppliers or Vendors                                   $3,208.43

                                                            04/30/2024                Suppliers or Vendors                                   $3,576.56

                                                            05/02/2024                Suppliers or Vendors                                    $400.43

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            05/03/2024                Suppliers or Vendors                                     $1,073.90

                                                            05/06/2024                Suppliers or Vendors                                     $4,274.42

                                                            05/07/2024                Suppliers or Vendors                                     $3,020.68

                                                            05/09/2024                Suppliers or Vendors                                     $2,436.51

                                                            05/13/2024                Suppliers or Vendors                                     $3,691.40

                                                            05/14/2024                Suppliers or Vendors                                     $2,829.37

                                                            05/16/2024                Suppliers or Vendors                                      $685.05

                                                                                                                SUBTOTAL                     $124,353.37

FRESHPOINT NORTH CAROLINA                                   02/20/2024                Suppliers or Vendors                                     $4,788.96
FRESHPOINT RALEIGH
203 TRANSAIR DRIVE
MORRISVILLE, NC 27560
                                                            02/21/2024                Suppliers or Vendors                                     $1,668.34

                                                            02/23/2024                Suppliers or Vendors                                     $4,069.77

                                                            02/26/2024                Suppliers or Vendors                                     $1,231.34

                                                            02/27/2024                Suppliers or Vendors                                     $6,127.74

                                                            02/28/2024                Suppliers or Vendors                                     $1,604.70

                                                            03/04/2024                Suppliers or Vendors                                     $2,418.66

                                                            03/06/2024                Suppliers or Vendors                                     $6,818.72

                                                            03/08/2024                Suppliers or Vendors                                     $2,231.28

                                                            03/11/2024                Suppliers or Vendors                                      $908.02

                                                            03/12/2024                Suppliers or Vendors                                     $7,174.46

                                                            03/14/2024                Suppliers or Vendors                                     $1,688.74

                                                            03/15/2024                Suppliers or Vendors                                       $411.86

                                                            03/18/2024                Suppliers or Vendors                                     $6,624.68

                                                            03/19/2024                Suppliers or Vendors                                     $2,436.04

                                                            03/21/2024                Suppliers or Vendors                                     $1,553.43

                                                            03/22/2024                Suppliers or Vendors                                      $332.08

                                                            03/25/2024                Suppliers or Vendors                                     $5,203.39

                                                            03/26/2024                Suppliers or Vendors                                     $1,608.81

                                                            03/28/2024                Suppliers or Vendors                                     $1,318.44

                                                            03/29/2024                Suppliers or Vendors                                      $354.29

                                                            04/01/2024                Suppliers or Vendors                                     $5,800.69

                                                            04/02/2024                Suppliers or Vendors                                     $2,221.00

                                                            04/04/2024                Suppliers or Vendors                                     $2,112.96

                                                            04/05/2024                Suppliers or Vendors                                      $625.97

                                                            04/08/2024                Suppliers or Vendors                                     $3,892.90



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/09/2024                Suppliers or Vendors                                     $2,042.70

                                                            04/11/2024                Suppliers or Vendors                                     $2,589.88

                                                            04/12/2024                Suppliers or Vendors                                      $765.41

                                                            04/15/2024                Suppliers or Vendors                                     $4,607.42

                                                            04/16/2024                Suppliers or Vendors                                     $2,284.86

                                                            04/18/2024                Suppliers or Vendors                                     $1,292.50

                                                            04/19/2024                Suppliers or Vendors                                       $411.34

                                                            04/22/2024                Suppliers or Vendors                                     $5,270.99

                                                            04/23/2024                Suppliers or Vendors                                     $1,611.45

                                                            04/25/2024                Suppliers or Vendors                                     $2,314.63

                                                            04/26/2024                Suppliers or Vendors                                      $458.17

                                                            04/29/2024                Suppliers or Vendors                                     $3,677.01

                                                            04/30/2024                Suppliers or Vendors                                     $1,357.11

                                                            05/02/2024                Suppliers or Vendors                                     $2,255.00

                                                            05/03/2024                Suppliers or Vendors                                      $456.07

                                                            05/06/2024                Suppliers or Vendors                                     $4,400.23

                                                            05/07/2024                Suppliers or Vendors                                     $1,854.14

                                                            05/09/2024                Suppliers or Vendors                                     $1,850.92

                                                            05/10/2024                Suppliers or Vendors                                      $872.34

                                                            05/13/2024                Suppliers or Vendors                                     $4,034.62

                                                            05/14/2024                Suppliers or Vendors                                     $2,554.63

                                                            05/16/2024                Suppliers or Vendors                                     $1,251.57

                                                                                                                SUBTOTAL                     $123,440.26

FRESNO COUNTY PRIVATE                                       02/22/2024                Suppliers or Vendors                                     $2,563.50
SECURITY
1195 W SHAW AVE STE B
FRESNO, CA 93711-3704
                                                            03/08/2024                Suppliers or Vendors                                     $2,178.00

                                                            04/11/2024                Suppliers or Vendors                                     $4,208.00

                                                                                                                SUBTOTAL                       $8,949.50

FRISCO 3056 PRESTON LLC                                     03/04/2024                Other- Rent                                             $32,477.28
C/O SARITHA KATIKANENI
12 SUGAR SHACK DR
WEST LAKE HILLS, TX
78746-4630
                                                            03/29/2024                Other- Rent                                             $32,477.28

                                                            04/30/2024                Other- Rent                                             $32,477.28

                                                                                                                SUBTOTAL                      $97,431.84

FRONTIER PLUMBING                                           02/20/2024                Suppliers or Vendors                                    $27,127.44
13341 STABLE RD
EL PASO, TX 79938-8901
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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/14/2024                Suppliers or Vendors                                    $1,385.59

                                                            03/15/2024                Suppliers or Vendors                                    $2,197.47

                                                            04/26/2024                Suppliers or Vendors                                     $243.56

                                                            05/07/2024                Suppliers or Vendors                                     $313.93

                                                                                                                SUBTOTAL                     $31,267.99

FRONTIER PRODUCE INC                                        02/20/2024                Suppliers or Vendors                                    $6,940.81
10060 E 52ND STREET
TULSA, OK 74146
                                                            02/21/2024                Suppliers or Vendors                                    $3,843.85

                                                            02/23/2024                Suppliers or Vendors                                    $1,449.39

                                                            02/26/2024                Suppliers or Vendors                                    $4,525.08

                                                            02/27/2024                Suppliers or Vendors                                    $6,103.30

                                                            02/28/2024                Suppliers or Vendors                                    $2,896.45

                                                            03/04/2024                Suppliers or Vendors                                    $4,307.65

                                                            03/06/2024                Suppliers or Vendors                                    $8,109.22

                                                            03/08/2024                Suppliers or Vendors                                    $1,403.28

                                                            03/11/2024                Suppliers or Vendors                                    $2,619.07

                                                            03/12/2024                Suppliers or Vendors                                    $8,720.62

                                                            03/14/2024                Suppliers or Vendors                                    $1,520.42

                                                            03/15/2024                Suppliers or Vendors                                    $2,250.45

                                                            03/18/2024                Suppliers or Vendors                                    $5,114.94

                                                            03/19/2024                Suppliers or Vendors                                    $3,502.92

                                                            03/21/2024                Suppliers or Vendors                                    $1,453.20

                                                            03/22/2024                Suppliers or Vendors                                    $1,769.44

                                                            03/25/2024                Suppliers or Vendors                                    $4,354.83

                                                            03/26/2024                Suppliers or Vendors                                    $3,126.70

                                                            03/28/2024                Suppliers or Vendors                                    $1,192.91

                                                            03/29/2024                Suppliers or Vendors                                    $2,493.45

                                                            04/01/2024                Suppliers or Vendors                                    $5,165.40

                                                            04/02/2024                Suppliers or Vendors                                    $3,580.31

                                                            04/04/2024                Suppliers or Vendors                                     $598.51

                                                            04/05/2024                Suppliers or Vendors                                    $1,413.58

                                                            04/08/2024                Suppliers or Vendors                                    $5,474.82

                                                            04/09/2024                Suppliers or Vendors                                    $3,152.34

                                                            04/11/2024                Suppliers or Vendors                                     $908.46

                                                            04/12/2024                Suppliers or Vendors                                    $1,974.94

                                                            04/15/2024                Suppliers or Vendors                                    $3,309.54

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/16/2024                Suppliers or Vendors                                     $3,477.53

                                                            04/18/2024                Suppliers or Vendors                                      $734.76

                                                            04/19/2024                Suppliers or Vendors                                     $1,604.06

                                                            04/22/2024                Suppliers or Vendors                                     $3,970.56

                                                            04/23/2024                Suppliers or Vendors                                     $4,256.25

                                                            04/25/2024                Suppliers or Vendors                                     $1,303.22

                                                            04/26/2024                Suppliers or Vendors                                     $1,575.28

                                                            04/29/2024                Suppliers or Vendors                                     $3,564.22

                                                            04/30/2024                Suppliers or Vendors                                     $2,862.33

                                                            05/02/2024                Suppliers or Vendors                                     $2,084.22

                                                            05/03/2024                Suppliers or Vendors                                     $1,563.39

                                                            05/06/2024                Suppliers or Vendors                                     $4,421.55

                                                            05/07/2024                Suppliers or Vendors                                     $2,982.79

                                                            05/09/2024                Suppliers or Vendors                                      $944.61

                                                            05/10/2024                Suppliers or Vendors                                     $1,357.30

                                                            05/13/2024                Suppliers or Vendors                                     $4,789.38

                                                            05/14/2024                Suppliers or Vendors                                     $2,813.48

                                                            05/16/2024                Suppliers or Vendors                                     $1,330.72

                                                                                                                SUBTOTAL                     $148,911.53

FSF MANUFACTURING INC                                       03/04/2024                Suppliers or Vendors                                      $391.53
575 ECON RIVER PLACE
OVIEDO, FL 32765-7343
                                                            03/13/2024                Suppliers or Vendors                                     $7,293.40

                                                            04/26/2024                Suppliers or Vendors                                   $10,138.18

                                                                                                                SUBTOTAL                      $17,823.11

FSLRO 10700 PARALLEL KANSAS                                 03/04/2024                Other- Rent                                            $19,963.97
CITY LLC
2000 MCKINNEY AVE STE 1000
DALLAS, TX 75201-2027
                                                            03/29/2024                Other- Rent                                            $19,963.97

                                                                                                                SUBTOTAL                     $39,927.94

FT SHERI REALTY LLC A NEW                                   03/04/2024                Other- Rent                                            $38,648.48
YORK LIMITED LIABILITY
COMPANY
C/O NEXBANK SSB
ATTN LOAN DEPT
2515 MCKINNEY AVE STE 1100
DALLAS, TX 75201-1945
                                                            03/29/2024                Other- Rent                                            $38,648.48

                                                            04/30/2024                Other- Rent                                            $38,648.48

                                                                                                                SUBTOTAL                     $115,945.44



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
G&I X CROSSROADS MZL LLC                                    02/28/2024                Other- Rent                                             $2,565.31
G&I X NE & MA GROCERY POOL
1-A LLC
PO BOX 411350
BOSTON, MA 02241-1350
                                                            02/29/2024                Other- Rent                                            $16,409.91

                                                            03/27/2024                Other- Rent                                             $6,159.07

                                                            04/01/2024                Other- Rent                                            $16,294.05

                                                            04/29/2024                Other- Rent                                            $15,946.41

                                                            05/06/2024                Other- Rent                                             $3,463.75

                                                                                                                SUBTOTAL                     $60,838.50

GALO PROPERTIES INC                                         03/04/2024                Other- Rent                                            $22,339.26
C/O GP TEXARKANA LLC
PO BOX 4505
WAYNE, NJ 07474-4505
                                                            03/29/2024                Other- Rent                                            $22,339.26

                                                            04/30/2024                Other- Rent                                            $22,339.26

                                                                                                                SUBTOTAL                     $67,017.78

GCFP LIMITED PARTNERSHIP                                    03/04/2024                Other- Rent                                            $23,626.62
C/O MATTHEW GORDER
2623 SOVEREIGN WAY
RIVERSIDE, CA 92506-5121
                                                            03/29/2024                Other- Rent                                            $23,626.62

                                                                                                                SUBTOTAL                     $47,253.24

GE MECHANICAL LLC                                           03/21/2024                Suppliers or Vendors                                   $29,545.60
2316 S MAIN ROAD
VINELAND, NJ 08360
                                                            04/02/2024                Suppliers or Vendors                                    $1,936.68

                                                                                                                SUBTOTAL                     $31,482.28

GELLY LLC                                                   03/04/2024                Other- Rent                                            $31,064.63
17206 DOCTOR BIRD RD
SANDY SPRING, MD 20860-1205
                                                            03/29/2024                Other- Rent                                            $31,064.63

                                                                                                                SUBTOTAL                     $62,129.26

GENEVA RL VENTURE LLC                                       03/04/2024                Other- Rent                                            $16,390.82
C/O LEON NOVAK
6400 POWERS FERRY RD NW
STE 100
ATLANTA, GA 30339-2907
                                                            03/29/2024                Other- Rent                                            $16,390.82

                                                            04/30/2024                Other- Rent                                            $16,390.82

                                                                                                                SUBTOTAL                     $49,172.46

NAME ON FILE                                                03/05/2024                Other- Rent                                             $4,372.52
ADDRESS ON FILE
                                                            04/02/2024                Other- Rent                                             $4,372.52

                                                            04/30/2024                Other- Rent                                             $4,372.52



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Debtor Name: Red Lobster Management LLC                                                                                   Case Number: 24-02486

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Creditor Name & Address           Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                  Number

                                                                                                                 SUBTOTAL                     $13,117.56

NAME ON FILE                                                 03/04/2024                Other- Rent                                            $35,021.41
ADDRESS ON FILE
                                                             03/29/2024                Other- Rent                                            $35,021.41

                                                                                                                 SUBTOTAL                     $70,042.82

GEORGE JUSTIN HOWARD                                         03/21/2024                Suppliers or Vendors                                    $8,748.96
DBA KAVA SEVICES LLC
PO BOX 91
JOHNSTOWN, CO 80534-0091
                                                                                                                 SUBTOTAL                      $8,748.96

GEORGES SUPPLY CENTER INC                                    05/06/2024                Suppliers or Vendors                                    $9,190.50
3101 BROWNSVILLE RD
SOUTH PARK, PA 15129-8537
                                                             05/13/2024                Suppliers or Vendors                                     $548.00

                                                                                                                 SUBTOTAL                      $9,738.50

GERALD L SPANDE                                              03/04/2024                Other- Rent                                            $31,327.64
DBA GSPANDE LLC
16430 IRIS CT
LAKEVILLE, MN 55044-5833
                                                             03/29/2024                Other- Rent                                            $31,327.64

                                                             04/30/2024                Other- Rent                                            $31,327.64

                                                                                                                 SUBTOTAL                     $93,982.92

NAME ON FILE                                                 03/04/2024                Other- Rent                                            $27,654.71
ADDRESS ON FILE
                                                             03/29/2024                Other- Rent                                            $27,654.71

                                                                                                                 SUBTOTAL                     $55,309.42

GERALDINE APRAHAMIAN                                         03/04/2024                Other- Rent                                            $20,668.05
DBA THE APRAHAMIAN TRUST
16787 FLEUR BLVD
RIVERSIDE, CA 92503-6938
                                                             03/29/2024                Other- Rent                                            $20,668.05

                                                             04/30/2024                Other- Rent                                            $20,668.05

                                                                                                                 SUBTOTAL                     $62,004.15

GET FRESH PRODUCE INC                                        02/20/2024                Suppliers or Vendors                                   $17,551.57
1441 BREWSTER CREEK BLVD
BARTLETT, IL 60103
                                                             02/21/2024                Suppliers or Vendors                                   $15,032.57

                                                             02/22/2024                Suppliers or Vendors                                     $384.57

                                                             02/23/2024                Suppliers or Vendors                                    $3,306.91

                                                             02/26/2024                Suppliers or Vendors                                   $19,180.82

                                                             02/27/2024                Suppliers or Vendors                                    $7,393.94

                                                             02/28/2024                Suppliers or Vendors                                   $14,151.12

                                                             03/04/2024                Suppliers or Vendors                                   $17,311.48

                                                             03/06/2024                Suppliers or Vendors                                   $21,465.89


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/08/2024                Suppliers or Vendors                                    $3,225.57

                                                            03/11/2024                Suppliers or Vendors                                   $14,756.99

                                                            03/12/2024                Suppliers or Vendors                                   $23,672.82

                                                            03/14/2024                Suppliers or Vendors                                    $2,770.97

                                                            03/15/2024                Suppliers or Vendors                                   $14,427.22

                                                            03/18/2024                Suppliers or Vendors                                    $4,914.78

                                                            03/19/2024                Suppliers or Vendors                                   $15,920.87

                                                            03/21/2024                Suppliers or Vendors                                    $1,354.13

                                                            03/22/2024                Suppliers or Vendors                                   $14,245.83

                                                            03/25/2024                Suppliers or Vendors                                    $3,813.31

                                                            03/26/2024                Suppliers or Vendors                                   $15,166.66

                                                            03/28/2024                Suppliers or Vendors                                    $2,534.98

                                                            03/29/2024                Suppliers or Vendors                                   $14,454.08

                                                            04/01/2024                Suppliers or Vendors                                    $5,169.48

                                                            04/02/2024                Suppliers or Vendors                                   $14,225.88

                                                            04/04/2024                Suppliers or Vendors                                    $2,935.81

                                                            04/05/2024                Suppliers or Vendors                                   $13,664.57

                                                            04/08/2024                Suppliers or Vendors                                    $5,157.92

                                                            04/09/2024                Suppliers or Vendors                                   $13,985.72

                                                            04/11/2024                Suppliers or Vendors                                    $3,284.09

                                                            04/12/2024                Suppliers or Vendors                                   $14,716.94

                                                            04/15/2024                Suppliers or Vendors                                    $4,609.64

                                                            04/16/2024                Suppliers or Vendors                                   $13,523.08

                                                            04/18/2024                Suppliers or Vendors                                    $1,986.97

                                                            04/19/2024                Suppliers or Vendors                                   $12,761.72

                                                            04/22/2024                Suppliers or Vendors                                    $7,080.35

                                                            04/23/2024                Suppliers or Vendors                                   $14,626.25

                                                            04/25/2024                Suppliers or Vendors                                    $1,886.81

                                                            04/26/2024                Suppliers or Vendors                                   $11,855.16

                                                            04/29/2024                Suppliers or Vendors                                    $5,987.83

                                                            04/30/2024                Suppliers or Vendors                                   $12,941.80

                                                            05/02/2024                Suppliers or Vendors                                    $1,886.01

                                                            05/03/2024                Suppliers or Vendors                                   $12,087.55

                                                            05/06/2024                Suppliers or Vendors                                    $7,355.91

                                                            05/07/2024                Suppliers or Vendors                                   $13,783.07

                                                            05/08/2024                Suppliers or Vendors                                     $497.39

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            05/09/2024                Suppliers or Vendors                                     $1,961.95

                                                            05/10/2024                Suppliers or Vendors                                    $11,505.11

                                                            05/13/2024                Suppliers or Vendors                                     $3,684.16

                                                            05/14/2024                Suppliers or Vendors                                    $15,091.40

                                                            05/16/2024                Suppliers or Vendors                                     $2,757.98

                                                                                                                SUBTOTAL                     $478,047.63

GGP LIMITED PARTNERSHIP                                     02/26/2024                Other- Rent                                              $2,408.46
DBA GREENWOOD MALL LLC
SDS-12-1361
PO BOX 86
MINNEAPOLIS, MN 55486
                                                            02/28/2024                Other- Rent                                             $12,765.53

                                                            03/26/2024                Other- Rent                                              $2,408.46

                                                            04/01/2024                Other- Rent                                             $12,765.53

                                                            04/29/2024                Other- Rent                                             $12,765.53

                                                            05/06/2024                Other- Rent                                               $534.74

                                                                                                                SUBTOTAL                      $43,648.25

GGP MALL OF LOUISIANA LLC                                   02/28/2024                Other- Rent                                             $14,566.93
PO BOX 86
SDS-12-2440
MINNEAPOLIS, MN 554862440
                                                            04/01/2024                Other- Rent                                             $14,566.93

                                                            04/29/2024                Other- Rent                                             $14,566.93

                                                                                                                SUBTOTAL                      $43,700.79

NAME ON FILE                                                03/07/2024                Other- Rent                                             $29,243.09
ADDRESS ON FILE
                                                            04/11/2024                Other- Rent                                             $29,243.09

                                                            05/06/2024                Other- Rent                                             $29,243.09

                                                                                                                SUBTOTAL                      $87,729.27

GIRARDEAU P2 LLC                                            03/04/2024                Other- Rent                                             $23,395.75
2712 LOON LN
OKEMOS, MI 48864-3352
                                                            03/29/2024                Other- Rent                                             $23,395.75

                                                            04/30/2024                Other- Rent                                             $23,395.75

                                                                                                                SUBTOTAL                      $70,187.25

GLOBAL TRUSTED AUDITORS                                     05/02/2024                Suppliers or Vendors                                     $9,613.32

                                                                                                                SUBTOTAL                       $9,613.32

GLR MECHANICAL LLC                                          02/23/2024                Suppliers or Vendors                                     $8,914.57
77 FOOTE AVE
DURYEA, PA 18642-1164
                                                            03/28/2024                Suppliers or Vendors                                     $3,294.62

                                                            05/02/2024                Suppliers or Vendors                                      $217.30


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number

                                                                                                                SUBTOTAL                     $12,426.49

GLR PROPERTY MANAGEMENT                                     02/28/2024                Other- Rent                                            $21,333.64
LLC
ATTN CEM GULER
22 ELLSWORTH DR
WARREN, NJ 07059-7135
                                                            04/01/2024                Other- Rent                                            $21,333.64

                                                            04/29/2024                Other- Rent                                            $21,333.64

                                                                                                                SUBTOTAL                     $64,000.92

GOLDBERG KOHN LTD                                           03/27/2024                Suppliers or Vendors                                   $45,000.00

                                                                                                                SUBTOTAL                     $45,000.00

GOLDEN STATE EQUIPMENT                                      05/09/2024                Suppliers or Vendors                                   $12,288.20
REPAIR
PO BOX 728
ROSEVILLE, CA 95661-0728
                                                                                                                SUBTOTAL                     $12,288.20

GOLDEN-TECH INTERNATIONAL                                   03/04/2024                Suppliers or Vendors                                    $5,934.50
INC
11120 NE 2ND ST STE 200
BELLEVUE, WA 98004-8337
                                                            04/01/2024                Suppliers or Vendors                                    $3,219.50

                                                            04/24/2024                Suppliers or Vendors                                   $15,142.53

                                                            04/29/2024                Suppliers or Vendors                                    $2,725.50

                                                                                                                SUBTOTAL                     $27,022.03

GOODWIN & ASSOCIATES                                        03/04/2024                Suppliers or Vendors                                    $9,100.00
HOSPITALITY SERVICES LLC
DBA GOODWIN RECRUITING
46 CENTER ST
EXETER, NH 03833
                                                                                                                SUBTOTAL                      $9,100.00

GOVDOCS INC                                                 03/12/2024                Suppliers or Vendors                                   $17,522.09
VB BOX 167
PO BOX 9202
MINNEAPOLIS, MN 55480-9202
                                                            05/01/2024                Suppliers or Vendors                                       $39.07

                                                                                                                SUBTOTAL                     $17,561.16

GRAND ROBSTER LLC                                           03/04/2024                Other- Rent                                            $11,652.69
15915 VENTURA BOULEVARD
PH2
ENCINO, CA 91436-4439
                                                            03/29/2024                Other- Rent                                            $11,652.69

                                                            04/30/2024                Other- Rent                                            $11,652.69

                                                                                                                SUBTOTAL                     $34,958.07

GRASMICK PRODUCE CO INC                                     02/20/2024                Suppliers or Vendors                                    $2,095.73
PO BOX 45120
BOISE, ID 83711-5120
                                                            02/23/2024                Suppliers or Vendors                                    $1,244.66



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            02/27/2024                Suppliers or Vendors                                    $1,420.33

                                                            02/28/2024                Suppliers or Vendors                                     $261.61

                                                            03/04/2024                Suppliers or Vendors                                    $1,032.65

                                                            03/06/2024                Suppliers or Vendors                                    $2,724.83

                                                            03/08/2024                Suppliers or Vendors                                     $908.47

                                                            03/11/2024                Suppliers or Vendors                                       $61.11

                                                            03/12/2024                Suppliers or Vendors                                    $2,255.17

                                                            03/14/2024                Suppliers or Vendors                                     $944.72

                                                            03/18/2024                Suppliers or Vendors                                    $2,346.04

                                                            03/21/2024                Suppliers or Vendors                                     $934.46

                                                            03/25/2024                Suppliers or Vendors                                    $2,350.80

                                                            03/26/2024                Suppliers or Vendors                                       $63.40

                                                            03/28/2024                Suppliers or Vendors                                     $886.40

                                                            04/01/2024                Suppliers or Vendors                                    $2,089.75

                                                            04/04/2024                Suppliers or Vendors                                     $745.75

                                                            04/08/2024                Suppliers or Vendors                                    $2,351.85

                                                            04/11/2024                Suppliers or Vendors                                     $887.99

                                                            04/15/2024                Suppliers or Vendors                                    $1,778.28

                                                            04/18/2024                Suppliers or Vendors                                    $1,442.63

                                                            04/22/2024                Suppliers or Vendors                                    $1,761.23

                                                            04/25/2024                Suppliers or Vendors                                     $412.13

                                                            04/29/2024                Suppliers or Vendors                                    $2,094.65

                                                            05/01/2024                Suppliers or Vendors                                     $100.10

                                                            05/02/2024                Suppliers or Vendors                                     $662.66

                                                            05/06/2024                Suppliers or Vendors                                    $1,622.37

                                                            05/07/2024                Suppliers or Vendors                                     $693.26

                                                            05/09/2024                Suppliers or Vendors                                     $429.13

                                                            05/10/2024                Suppliers or Vendors                                       $35.08

                                                            05/13/2024                Suppliers or Vendors                                    $1,754.29

                                                            05/16/2024                Suppliers or Vendors                                     $491.25

                                                                                                                SUBTOTAL                     $38,882.78

GREATER CHARLOTTE                                           05/02/2024                Suppliers or Vendors                                   $13,390.33
REFRIGERATION INC
6120-J BROOKSHIRE BLVD
CHARLOTTE, NC 28216
                                                                                                                SUBTOTAL                     $13,390.33




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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
GREEN CABBAGE MARKETING                                     03/11/2024                Suppliers or Vendors                                   $25,000.00
LLC
DBA GREEN CABBAGE LLC
125 EMERYVILLE DR STE 330
CRANBERRY TOWNSHIP, PA
16066-5020
                                                                                                                SUBTOTAL                     $25,000.00

GREEN FARMS INC                                             02/20/2024                Suppliers or Vendors                                   $15,065.24
DBA WORLDWIDE PRODUCE
PO BOX 54399
LOS ANGELES, CA 90054
                                                            02/21/2024                Suppliers or Vendors                                    $9,114.30

                                                            02/23/2024                Suppliers or Vendors                                     $541.92

                                                            02/26/2024                Suppliers or Vendors                                   $20,801.74

                                                            02/27/2024                Suppliers or Vendors                                    $8,263.31

                                                            02/28/2024                Suppliers or Vendors                                   $10,756.65

                                                            03/04/2024                Suppliers or Vendors                                    $7,560.12

                                                            03/06/2024                Suppliers or Vendors                                   $21,204.33

                                                            03/11/2024                Suppliers or Vendors                                    $7,860.36

                                                            03/12/2024                Suppliers or Vendors                                   $22,800.43

                                                            03/13/2024                Suppliers or Vendors                                    $1,132.71

                                                            03/14/2024                Suppliers or Vendors                                     $615.68

                                                            03/15/2024                Suppliers or Vendors                                    $8,267.35

                                                            03/18/2024                Suppliers or Vendors                                   $11,167.62

                                                            03/19/2024                Suppliers or Vendors                                   $11,232.39

                                                            03/21/2024                Suppliers or Vendors                                     $815.79

                                                            03/22/2024                Suppliers or Vendors                                    $6,022.52

                                                            03/25/2024                Suppliers or Vendors                                   $11,822.36

                                                            03/26/2024                Suppliers or Vendors                                   $11,537.60

                                                            03/27/2024                Suppliers or Vendors                                     $679.27

                                                            03/29/2024                Suppliers or Vendors                                    $7,246.83

                                                            04/01/2024                Suppliers or Vendors                                   $11,425.02

                                                            04/02/2024                Suppliers or Vendors                                   $11,546.46

                                                            04/05/2024                Suppliers or Vendors                                    $5,758.86

                                                            04/08/2024                Suppliers or Vendors                                   $12,450.57

                                                            04/09/2024                Suppliers or Vendors                                   $12,133.27

                                                            04/12/2024                Suppliers or Vendors                                    $6,216.09

                                                            04/15/2024                Suppliers or Vendors                                    $9,343.53

                                                            04/16/2024                Suppliers or Vendors                                   $12,315.07

                                                            04/17/2024                Suppliers or Vendors                                     $404.94


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/19/2024                Suppliers or Vendors                                     $6,029.47

                                                            04/22/2024                Suppliers or Vendors                                    $11,251.60

                                                            04/23/2024                Suppliers or Vendors                                     $9,877.23

                                                            04/26/2024                Suppliers or Vendors                                     $4,504.29

                                                            04/29/2024                Suppliers or Vendors                                     $9,445.41

                                                            04/30/2024                Suppliers or Vendors                                     $9,947.00

                                                            05/03/2024                Suppliers or Vendors                                     $6,690.49

                                                            05/06/2024                Suppliers or Vendors                                     $9,710.83

                                                            05/07/2024                Suppliers or Vendors                                     $9,370.30

                                                            05/10/2024                Suppliers or Vendors                                     $7,704.89

                                                            05/13/2024                Suppliers or Vendors                                     $8,936.97

                                                            05/14/2024                Suppliers or Vendors                                     $9,402.39

                                                                                                                SUBTOTAL                     $378,973.20

GREEN FARMS OF NEVADA INC                                   02/20/2024                Suppliers or Vendors                                     $2,783.73
DBA WORLDWIDE PRODUCE
LAS VEGAS
PO BOX 30468
LOS ANGELES, CA 90030
                                                            02/21/2024                Suppliers or Vendors                                      $574.06

                                                            02/23/2024                Suppliers or Vendors                                     $4,692.21

                                                            02/26/2024                Suppliers or Vendors                                      $365.27

                                                            02/27/2024                Suppliers or Vendors                                     $2,844.67

                                                            02/28/2024                Suppliers or Vendors                                       $90.18

                                                            03/04/2024                Suppliers or Vendors                                     $2,595.61

                                                            03/06/2024                Suppliers or Vendors                                     $3,428.38

                                                            03/08/2024                Suppliers or Vendors                                     $2,838.84

                                                            03/11/2024                Suppliers or Vendors                                       $60.12

                                                            03/12/2024                Suppliers or Vendors                                     $4,395.28

                                                            03/14/2024                Suppliers or Vendors                                     $2,452.96

                                                            03/18/2024                Suppliers or Vendors                                     $3,547.10

                                                            03/19/2024                Suppliers or Vendors                                      $393.78

                                                            03/21/2024                Suppliers or Vendors                                     $3,199.86

                                                            03/22/2024                Suppliers or Vendors                                       $33.92

                                                            03/25/2024                Suppliers or Vendors                                     $2,828.59

                                                            03/26/2024                Suppliers or Vendors                                      $412.90

                                                            03/28/2024                Suppliers or Vendors                                     $2,573.37

                                                            03/29/2024                Suppliers or Vendors                                       $15.74

                                                            04/01/2024                Suppliers or Vendors                                     $4,082.62

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/02/2024                Suppliers or Vendors                                     $402.83

                                                            04/04/2024                Suppliers or Vendors                                    $2,309.34

                                                            04/05/2024                Suppliers or Vendors                                       $50.88

                                                            04/08/2024                Suppliers or Vendors                                    $3,267.27

                                                            04/09/2024                Suppliers or Vendors                                     $492.51

                                                            04/11/2024                Suppliers or Vendors                                    $2,373.96

                                                            04/12/2024                Suppliers or Vendors                                     $102.18

                                                            04/15/2024                Suppliers or Vendors                                    $2,377.59

                                                            04/16/2024                Suppliers or Vendors                                    $1,176.57

                                                            04/18/2024                Suppliers or Vendors                                    $2,391.05

                                                            04/19/2024                Suppliers or Vendors                                       $42.26

                                                            04/22/2024                Suppliers or Vendors                                    $3,111.96

                                                            04/23/2024                Suppliers or Vendors                                     $339.84

                                                            04/25/2024                Suppliers or Vendors                                    $1,350.09

                                                            04/26/2024                Suppliers or Vendors                                     $125.49

                                                            04/29/2024                Suppliers or Vendors                                    $3,060.28

                                                            04/30/2024                Suppliers or Vendors                                     $384.08

                                                            05/02/2024                Suppliers or Vendors                                    $2,206.89

                                                            05/06/2024                Suppliers or Vendors                                    $2,937.18

                                                            05/07/2024                Suppliers or Vendors                                     $284.06

                                                            05/09/2024                Suppliers or Vendors                                    $2,105.32

                                                            05/10/2024                Suppliers or Vendors                                       $23.13

                                                            05/13/2024                Suppliers or Vendors                                    $3,575.99

                                                            05/14/2024                Suppliers or Vendors                                     $164.93

                                                            05/16/2024                Suppliers or Vendors                                    $1,852.58

                                                                                                                SUBTOTAL                     $80,717.45

GREENHEAD LOBSTER LLC                                       02/21/2024                Suppliers or Vendors                                    $8,245.06
PO BOX 670
STONINGTON, ME 04681-0670
                                                            02/26/2024                Suppliers or Vendors                                   $12,674.27

                                                            02/27/2024                Suppliers or Vendors                                    $3,317.58

                                                            03/06/2024                Suppliers or Vendors                                    $8,126.79

                                                            03/07/2024                Suppliers or Vendors                                    $5,384.00

                                                            03/11/2024                Suppliers or Vendors                                    $7,235.95

                                                            03/12/2024                Suppliers or Vendors                                    $5,209.53

                                                            03/13/2024                Suppliers or Vendors                                    $4,073.06

                                                            03/19/2024                Suppliers or Vendors                                    $7,238.48

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/20/2024                Suppliers or Vendors                                    $21,537.01

                                                            03/25/2024                Suppliers or Vendors                                    $10,075.56

                                                            03/26/2024                Suppliers or Vendors                                     $3,156.44

                                                            04/01/2024                Suppliers or Vendors                                     $8,064.91

                                                            04/03/2024                Suppliers or Vendors                                     $7,075.40

                                                            04/09/2024                Suppliers or Vendors                                    $19,337.33

                                                            04/10/2024                Suppliers or Vendors                                     $3,923.91

                                                            04/12/2024                Suppliers or Vendors                                     $4,466.52

                                                            04/15/2024                Suppliers or Vendors                                     $6,697.96

                                                            04/16/2024                Suppliers or Vendors                                     $1,114.80

                                                            04/18/2024                Suppliers or Vendors                                    $12,472.85

                                                            04/22/2024                Suppliers or Vendors                                     $3,947.71

                                                            04/23/2024                Suppliers or Vendors                                      $906.62

                                                            04/24/2024                Suppliers or Vendors                                     $8,790.12

                                                            04/29/2024                Suppliers or Vendors                                     $3,774.44

                                                            04/30/2024                Suppliers or Vendors                                     $4,825.99

                                                            05/01/2024                Suppliers or Vendors                                     $4,307.21

                                                            05/06/2024                Suppliers or Vendors                                     $6,451.11

                                                            05/07/2024                Suppliers or Vendors                                     $7,695.22

                                                            05/08/2024                Suppliers or Vendors                                     $4,233.74

                                                            05/13/2024                Suppliers or Vendors                                     $3,217.27

                                                            05/14/2024                Suppliers or Vendors                                     $3,094.23

                                                            05/15/2024                Suppliers or Vendors                                     $8,627.36

                                                                                                                SUBTOTAL                     $219,298.43

GREENTREE APARTMENTS LLC                                    03/04/2024                Other- Rent                                             $21,189.98
C/O MERLE S MAYER
8655 SW CITIZENS DRIVE
SUITE 201
WILSONVILLE, OR 97070-7695
                                                            03/29/2024                Other- Rent                                             $21,189.98

                                                            04/30/2024                Other- Rent                                             $21,189.98

                                                                                                                SUBTOTAL                      $63,569.94

GREENWAY PROPERTY LLC                                       02/29/2024                Other- Rent                                             $28,669.10
DBA GREENWAY PROPERTY LLC
PO BOX 14504
SCOTTSDALE, AZ 852674504
                                                            04/02/2024                Other- Rent                                             $28,669.10

                                                                                                                SUBTOTAL                      $57,338.20




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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
GREENWICH INC                                               04/01/2024                Suppliers or Vendors                                      $836.93
DBA COMMERCIAL KITCHEN
PARTS & SERVICE
PO BOX 831128
SAN ANTONIO, TX 78283
                                                            05/03/2024                Suppliers or Vendors                                    $13,744.63

                                                                                                                SUBTOTAL                      $14,581.56

GRI EQY SPARKLEBERRY                                        02/28/2024                Other- Rent                                             $11,081.00
SQUARE LLC
PNC/BANK C/O SPARKLEBERRY
SQUARE
PO BOX 664001
DALLAS, TX 75266-4001
                                                            04/04/2024                Other- Rent                                             $11,081.00

                                                            04/30/2024                Other- Rent                                             $11,081.00

                                                                                                                SUBTOTAL                      $33,243.00

NAME ON FILE                                                04/26/2024                Suppliers or Vendors                                     $8,681.51
ADDRESS ON FILE
                                                                                                                SUBTOTAL                       $8,681.51

GRUPO TFJ PROPERTIES                                        03/04/2024                Other- Rent                                             $41,188.35
A FLORIDA LIMITED LIABILITY
13100 BISCAYNE BOULEVARD
NORTH MIAMI, FL 33181
                                                            04/02/2024                Other- Rent                                             $41,188.35

                                                            05/02/2024                Other- Rent                                             $41,188.35

                                                                                                                SUBTOTAL                     $123,565.05

GSMS 2011 GC5 EAST                                          02/29/2024                Other- Rent                                             $25,277.68
BROADWAY BOULEVARD LLC
C/O PACIFIC PARK PLACE MGMT
LOCKBOX DEP# 880676
PO BOX 29650
PHOENIX, AZ 85038-9650
                                                            04/03/2024                Other- Rent                                             $25,277.68

                                                            05/01/2024                Other- Rent                                             $25,277.68

                                                                                                                SUBTOTAL                      $75,833.04

GTL PROPERTIES                                              03/04/2024                Other- Rent                                             $18,793.59
3271 S HIGHLAND DR STE 704
LAS VEGAS, NV 89109-1051
                                                            04/02/2024                Other- Rent                                             $18,793.59

                                                            04/30/2024                Other- Rent                                             $18,793.59

                                                                                                                SUBTOTAL                      $56,380.77

GUIDEPOINT SECURITY LLC                                     03/07/2024                Suppliers or Vendors                                    $58,260.60
PO BOX 844716
BOSTON, MA 02284-4716
                                                            04/24/2024                Suppliers or Vendors                                    $20,880.00

                                                                                                                SUBTOTAL                      $79,140.60




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Debtor Name: Red Lobster Management LLC                                                                                   Case Number: 24-02486

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                           SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address           Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                  Number
GUIMA BRAZIL USA LLC                                         03/04/2024                Other- Rent                                             $36,542.86
3363 NE 163RD ST STE 506
NORTH MIAMI BEACH, FL
33160-4423
                                                             03/29/2024                Other- Rent                                             $36,542.86

                                                             04/30/2024                Other- Rent                                             $36,542.86

                                                                                                                 SUBTOTAL                     $109,628.58

GULF COAST PRODUCE                                           02/20/2024                Suppliers or Vendors                                     $2,471.17
DISTRIBUTORS INC
194 BOHN STREET
BILOXI, MS 39530
                                                             02/23/2024                Suppliers or Vendors                                     $1,552.00

                                                             02/27/2024                Suppliers or Vendors                                     $2,370.59

                                                             02/28/2024                Suppliers or Vendors                                      $876.87

                                                             03/04/2024                Suppliers or Vendors                                     $1,017.86

                                                             03/06/2024                Suppliers or Vendors                                     $2,426.02

                                                             03/08/2024                Suppliers or Vendors                                     $1,283.52

                                                             03/12/2024                Suppliers or Vendors                                     $2,728.92

                                                             03/14/2024                Suppliers or Vendors                                     $1,531.24

                                                             03/18/2024                Suppliers or Vendors                                     $1,966.00

                                                             03/21/2024                Suppliers or Vendors                                     $1,027.78

                                                             03/25/2024                Suppliers or Vendors                                     $2,546.91

                                                             03/28/2024                Suppliers or Vendors                                     $1,061.84

                                                             04/01/2024                Suppliers or Vendors                                     $2,556.60

                                                             04/04/2024                Suppliers or Vendors                                     $1,033.86

                                                             04/08/2024                Suppliers or Vendors                                     $2,128.41

                                                             04/11/2024                Suppliers or Vendors                                      $983.24

                                                             04/15/2024                Suppliers or Vendors                                     $2,508.65

                                                             04/18/2024                Suppliers or Vendors                                     $1,083.79

                                                             04/22/2024                Suppliers or Vendors                                     $1,604.04

                                                             04/25/2024                Suppliers or Vendors                                     $1,371.14

                                                             04/29/2024                Suppliers or Vendors                                     $2,226.39

                                                             05/06/2024                Suppliers or Vendors                                     $2,767.42

                                                             05/09/2024                Suppliers or Vendors                                     $1,022.03

                                                             05/13/2024                Suppliers or Vendors                                     $1,920.49

                                                             05/16/2024                Suppliers or Vendors                                     $1,060.10

                                                                                                                 SUBTOTAL                      $45,126.88

GW INTERNATIONAL INC                                         03/18/2024                Suppliers or Vendors                                     $4,715.00
1426 HARVEST AVE SE
OLYMPIA, WA 98501-8620


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/28/2024                Suppliers or Vendors                                    $18,335.00

                                                            04/19/2024                Suppliers or Vendors                                     $5,413.50

                                                            05/15/2024                Suppliers or Vendors                                     $3,391.38

                                                                                                                SUBTOTAL                      $31,854.88

HAASIS MCGRATH JOINT                                        02/27/2024                Other- Rent                                             $15,429.08
VENTURE
ATTN DOWNTOWN BRANCH
MANAGER, PNC BANK
7901 N UNIVERSITY ST
PEORIA, IL 61615-1838
                                                            04/01/2024                Other- Rent                                             $15,429.08

                                                            04/30/2024                Other- Rent                                             $15,429.08

                                                                                                                SUBTOTAL                      $46,287.24

HAGAR RESTAURANT EQUIP                                      03/04/2024                Suppliers or Vendors                                     $3,318.13
SVC INC
DBA HAGAR RESTUARANT
SERVICE INC
6200 NW 2ND STREET
OKLAHOMA CITY, OK 731276520
                                                            03/08/2024                Suppliers or Vendors                                      $230.50

                                                            03/28/2024                Suppliers or Vendors                                     $7,601.21

                                                            04/04/2024                Suppliers or Vendors                                      $363.00

                                                            05/02/2024                Suppliers or Vendors                                      $367.29

                                                                                                                SUBTOTAL                      $11,880.13

HAI YUE TX LLC                                              03/11/2024                Other- Rent                                             $34,783.63
79 GLEN COVE AVE STE B
GLEN COVE, NY 11542-2852
                                                            04/02/2024                Other- Rent                                             $34,783.63

                                                            05/08/2024                Other- Rent                                             $34,783.63

                                                                                                                SUBTOTAL                     $104,350.89

NAME ON FILE                                                02/27/2024                Other- Employee Expense                                  $2,764.05
ADDRESS ON FILE                                                                       Reimbursement
                                                            03/19/2024                Other- Employee Expense                                  $1,210.02
                                                                                      Reimbursement
                                                            04/02/2024                Other- Employee Expense                                  $1,220.00
                                                                                      Reimbursement
                                                            04/15/2024                Other- Employee Expense                                   $992.50
                                                                                      Reimbursement
                                                            04/29/2024                Other- Employee Expense                                   $878.10
                                                                                      Reimbursement
                                                            05/15/2024                Other- Employee Expense                                   $934.44
                                                                                      Reimbursement
                                                                                                                SUBTOTAL                       $7,999.11

HANABI A CALIFORNIA GENERAL                                 03/04/2024                Other- Rent                                             $37,239.02
PARTNERSHIP
DBA HANABI PARTNERSHIP
1006 TENNESSEE ST
SAN FRANCISCO, CA 94107-3016
                                                            03/29/2024                Other- Rent                                             $37,239.02



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/30/2024                Other- Rent                                            $37,239.02

                                                                                                                SUBTOTAL                     $111,717.06

HANDY HARDEES LLC                                           03/04/2024                Other- Rent                                             $4,774.21
15915 VENTURA BOULEVARD
PH2
ENCINO, CA 91436-4439
                                                            03/29/2024                Other- Rent                                             $4,774.21

                                                            04/30/2024                Other- Rent                                             $4,774.21

                                                                                                                SUBTOTAL                     $14,322.63

HANNA23 LLC                                                 02/29/2024                Suppliers or Vendors                                   $10,000.00
DBA KATIE KNIGHT
3920 W BARCELONA ST
TAMPA, FL 33629-6803
                                                                                                                SUBTOTAL                     $10,000.00

HARBOR PLAZA LLC                                            03/04/2024                Other- Rent                                            $20,994.65
C/O ATHENA PROPERTY
MANAGEMENT
730 EL CAMINO WAY STE 200
TUSTIN, CA 92780-7733
                                                            03/19/2024                Other- Rent                                            $19,820.31

                                                            04/03/2024                Other- Rent                                            $20,480.86

                                                            05/02/2024                Other- Rent                                            $20,480.86

                                                            05/08/2024                Other- Rent                                               $218.01

                                                                                                                SUBTOTAL                     $81,994.69

HARCO CAPITAL LLC                                           03/04/2024                Other- Rent                                            $16,228.68
HARWELL CAPITAL LLC
4600 ROSWELL RD BLDG H686
ATLANTA, GA 30342-3034
                                                            03/29/2024                Other- Rent                                            $16,228.68

                                                            04/30/2024                Other- Rent                                            $16,228.68

                                                                                                                SUBTOTAL                     $48,686.04

HARLAND CLARKE                                              04/30/2024                Suppliers or Vendors                                    $4,566.90
CORPORATION
DBA TRANSOURCE
PO BOX 931898
ATLANTA, GA 31193-1898
                                                            05/10/2024                Suppliers or Vendors                                    $6,482.82

                                                                                                                SUBTOTAL                     $11,049.72

HARMON MEADOW OWNER LLC                                     02/28/2024                Other- Rent                                             $4,862.00
C/O RIPCO MANAGEMENT LLC
PO BOX 67212
NEWARK, NJ 07101-4002
                                                            02/29/2024                Other- Rent                                            $36,300.82

                                                            03/28/2024                Other- Rent                                             $4,862.00

                                                            04/02/2024                Other- Rent                                            $36,300.82

                                                            05/01/2024                Other- Rent                                            $36,300.82



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            05/06/2024                Other- Rent                                              $4,862.00

                                                                                                                SUBTOTAL                     $123,488.46

HATCO CORPORATION                                           03/05/2024                Suppliers or Vendors                                     $2,863.77
PO BOX 68-4035
CHICAGO, IL 606954035
                                                            03/21/2024                Suppliers or Vendors                                     $5,992.68

                                                            05/08/2024                Suppliers or Vendors                                     $3,333.85

                                                                                                                SUBTOTAL                      $12,190.30

HAWAIIAN PROPERTIES LTD                                     02/28/2024                Other- Rent                                             $12,558.83
PO BOX 38078
HONOLULU, HI 968371078
                                                            04/08/2024                Other- Rent                                             $12,558.83

                                                            05/02/2024                Other- Rent                                             $12,558.83

                                                                                                                SUBTOTAL                      $37,676.49

HCL GOODYEAR                                                03/01/2024                Other- Rent                                             $17,945.09
CENTERPOINTE LLC
12302 EXPOSITION BOULEVARD
LOS ANGELES, CA 90064
                                                            03/28/2024                Other- Rent                                              $2,432.14

                                                            04/04/2024                Other- Rent                                             $16,915.03

                                                            04/15/2024                Other- Rent                                              $2,652.36

                                                            05/02/2024                Other- Rent                                             $16,915.03

                                                            05/09/2024                Other- Rent                                              $2,432.14

                                                                                                                SUBTOTAL                      $59,291.79

HCL INGLEWOOD VILLAGE LLC                                   03/01/2024                Other- Rent                                             $17,222.29
C/O HAAGEN COMPANY LLC
12302 EXPOSITION BOULEVARD
LOS ANGELES, CA 90064
                                                            04/04/2024                Other- Rent                                             $17,222.29

                                                            04/10/2024                Other- Rent                                             $64,163.47

                                                            05/02/2024                Other- Rent                                             $17,222.29

                                                                                                                SUBTOTAL                     $115,830.34

HELLOWORLD INC                                              03/11/2024                Suppliers or Vendors                                    $82,149.86
A MERKLE INC COMPANY
3000 TOWN CENTER STE 2100
SOUTHFIELD, MI 48075-1313
                                                            03/28/2024                Suppliers or Vendors                                   $145,134.50

                                                                                                                SUBTOTAL                     $227,284.36

HENDRIE FAMILY PROPERTIES                                   03/04/2024                Other- Rent                                             $18,386.99
LLC
C/O NET LEASED MANAGEMENT
INC
10951 SORRENTO VALLEY RD
STE 2A
SAN DIEGO, CA 92121-1613
                                                            03/29/2024                Other- Rent                                             $18,386.99


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/30/2024                Other- Rent                                            $18,386.99

                                                                                                                SUBTOTAL                     $55,160.97

HERZMAN NIECES EXEMPT                                       03/04/2024                Other- Rent                                            $12,750.00
TRUST
DBA U/D/T DECEMBER 15,1972
HERZMAN TRUST
C/O CHRISTINE B CUNNING
TRUSTEE
PO BOX 3129
SAN DIEGO, CA 92163-1129
                                                            03/29/2024                Other- Rent                                            $12,750.00

                                                            04/30/2024                Other- Rent                                            $12,750.00

                                                                                                                SUBTOTAL                     $38,250.00

NAME ON FILE                                                02/29/2024                Other- Employee Expense                                 $2,376.51
ADDRESS ON FILE                                                                       Reimbursement
                                                            04/03/2024                Other- Employee Expense                                 $4,202.47
                                                                                      Reimbursement
                                                            04/30/2024                Other- Employee Expense                                 $2,628.39
                                                                                      Reimbursement
                                                            05/14/2024                Other- Employee Expense                                  $182.92
                                                                                      Reimbursement
                                                                                                                SUBTOTAL                      $9,390.29

HKH JVC LLC                                                 03/19/2024                Suppliers or Vendors                                    $3,079.43
DBA NORPAC FISHERIES
EXPORT
CENTRAL & WESTERN PACIFIC
1535 COLBURN STREET
HONOLULU, HI 96817
                                                            03/26/2024                Suppliers or Vendors                                        $4.14

                                                            04/16/2024                Suppliers or Vendors                                    $3,871.80

                                                            04/23/2024                Suppliers or Vendors                                        $4.51

                                                            05/14/2024                Suppliers or Vendors                                    $5,507.09

                                                                                                                SUBTOTAL                     $12,466.97

HKT ENTERPRISES LLC                                         03/11/2024                Other- Rent                                            $14,575.00
PO BOX 444
RARITAN, NJ 08869
                                                            04/03/2024                Other- Rent                                            $14,575.00

                                                                                                                SUBTOTAL                     $29,150.00

HOBART CORP                                                 02/20/2024                Suppliers or Vendors                                    $4,262.29
DBA HOBART FOOD EQUIPMENT
PO BOX 3563
CAROL STREAM, IL 601323563
                                                            02/23/2024                Suppliers or Vendors                                     $129.11

                                                            03/04/2024                Suppliers or Vendors                                   $17,116.40

                                                            03/08/2024                Suppliers or Vendors                                    $5,335.88

                                                            03/13/2024                Suppliers or Vendors                                    $3,742.26

                                                            03/21/2024                Suppliers or Vendors                                    $7,116.37

                                                            03/22/2024                Suppliers or Vendors                                    $2,871.97


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/28/2024                Suppliers or Vendors                                    $21,582.76

                                                            04/04/2024                Suppliers or Vendors                                     $8,588.92

                                                            04/11/2024                Suppliers or Vendors                                    $21,704.28

                                                            04/18/2024                Suppliers or Vendors                                     $6,362.73

                                                            04/25/2024                Suppliers or Vendors                                    $27,516.15

                                                            05/02/2024                Suppliers or Vendors                                     $1,843.51

                                                            05/16/2024                Suppliers or Vendors                                    $29,912.67

                                                                                                                SUBTOTAL                     $158,085.30

HOFFMAN 4101 VETERANS                                       02/29/2024                Other- Rent                                             $10,000.00
MEMORIAL LLC
727 CRAIG ROAD
SUITE 100
ST LOUIS, MO 63141
                                                            04/02/2024                Other- Rent                                             $10,000.00

                                                            04/30/2024                Other- Rent                                             $10,000.00

                                                                                                                SUBTOTAL                      $30,000.00

HOME DEPOT USA INC                                          03/04/2024                Other- Rent                                             $10,084.35
PO BOX 641596
PITTSBURGH, PA 15264-1596
                                                            03/29/2024                Other- Rent                                             $10,084.35

                                                            04/30/2024                Other- Rent                                             $10,084.35

                                                                                                                SUBTOTAL                      $30,253.05

HOMETOWN LAWN LLC                                           03/21/2024                Suppliers or Vendors                                    $18,268.00
DBA HOMETOWN
15720 S KEELER ST STE 100
OLATHE, KS 66062-3628
                                                            04/04/2024                Suppliers or Vendors                                     $5,109.45

                                                            04/11/2024                Suppliers or Vendors                                     $4,086.59

                                                            05/02/2024                Suppliers or Vendors                                      $541.20

                                                                                                                SUBTOTAL                      $28,005.24

HOSHIZAKI AMERICA INC                                       03/14/2024                Suppliers or Vendors                                    $32,791.25
DEPT 2547
PO BOX 122547
DALLAS, TX 75312-2547
                                                                                                                SUBTOTAL                      $32,791.25

HOTEL APPRAISALS LLC                                        03/11/2024                Suppliers or Vendors                                    $36,390.00
DBA HVS EXECUTIVE SEARCH
13727 SW 152ND ST PMB 1040
MIAMI, FL 33177-1106
                                                                                                                SUBTOTAL                      $36,390.00

HSA BANK                                                    02/21/2024                Other- Government / Regulatory                           $1,152.00

                                                            02/22/2024                Other- Government / Regulatory                          $16,943.07

                                                            02/29/2024                Other- Government / Regulatory                          $16,902.61

                                                            03/07/2024                Other- Government / Regulatory                          $16,808.52

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/13/2024                Other- Government / Regulatory                          $16,831.70

                                                            03/18/2024                Other- Government / Regulatory                           $1,144.00

                                                            03/20/2024                Other- Government / Regulatory                          $16,789.44

                                                            03/27/2024                Other- Government / Regulatory                          $16,697.72

                                                            04/03/2024                Other- Government / Regulatory                          $16,548.03

                                                            04/10/2024                Other- Government / Regulatory                          $16,047.93

                                                            04/18/2024                Other- Government / Regulatory                          $17,174.88

                                                            04/25/2024                Other- Government / Regulatory                          $15,794.05

                                                            05/01/2024                Other- Government / Regulatory                          $15,770.09

                                                            05/08/2024                Other- Government / Regulatory                          $15,355.14

                                                            05/15/2024                Other- Government / Regulatory                          $15,661.18

                                                            05/16/2024                Other- Government / Regulatory                           $1,125.00

                                                                                                                SUBTOTAL                     $216,745.36

HUERTA VENTURES LLC                                         03/06/2024                Suppliers or Vendors                                     $2,435.65
DBA A AND S LAWNCARE
PO BOX 21196
AMARILLO, TX 79114-3196
                                                            03/20/2024                Suppliers or Vendors                                     $4,761.11

                                                            04/23/2024                Suppliers or Vendors                                      $487.13

                                                                                                                SUBTOTAL                       $7,683.89

NAME ON FILE                                                03/21/2024                Suppliers or Vendors                                    $10,500.00
ADDRESS ON FILE
                                                                                                                SUBTOTAL                      $10,500.00

HUNTER EQUITIES 309 LLC                                     03/04/2024                Other- Rent                                             $19,937.09
DBA YYRL SOUTH PADRE
ISLAND DRIVE OWNER LLC
C/O FEDERMAN STEIFMAN LLP
220 EAST 42ND STREET 29TH
FLOOR
NEW YORK, NY 10017
                                                            03/29/2024                Other- Rent                                             $19,937.09

                                                            04/30/2024                Other- Rent                                             $19,937.09

                                                                                                                SUBTOTAL                      $59,811.27

HUNTER EQUITIES 326 LLC                                     02/28/2024                Other- Rent                                             $28,594.13
TEXAS BANK F/B/O 100 IH 35
NORTH OWNER LLC
998 WOLFE NURSERY RD
STEPHENVILLE, TX 76401-1902
                                                            04/01/2024                Other- Rent                                             $28,594.13

                                                            04/30/2024                Other- Rent                                             $28,594.13

                                                                                                                SUBTOTAL                      $85,782.39




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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
HYATT AIR CONDITIONING AND                                  02/23/2024                Suppliers or Vendors                                    $1,838.54
REFRIGERATION INC
5401 N. HAVERHILL ROAD
STE 115
WEST PALM BEACH, FL 33407
                                                            03/13/2024                Suppliers or Vendors                                    $3,363.98

                                                            04/04/2024                Suppliers or Vendors                                    $5,705.79

                                                            04/11/2024                Suppliers or Vendors                                    $7,837.08

                                                            04/25/2024                Suppliers or Vendors                                    $2,581.39

                                                                                                                SUBTOTAL                     $21,326.78

I D ASSOCIATES INC                                          03/21/2024                Suppliers or Vendors                                   $46,588.50
1771 INDUSTRIAL RD
DOTHAN, AL 36303-5737
                                                            04/25/2024                Suppliers or Vendors                                    $2,150.00

                                                                                                                SUBTOTAL                     $48,738.50

ICONTROL SYSTEMS USA LLC                                    03/13/2024                Suppliers or Vendors                                    $3,812.00
9710 TRAVILLE GATEWAY DR 306
ROCKVILLE, MD 20850-7408
                                                            04/11/2024                Suppliers or Vendors                                    $3,812.00

                                                            04/15/2024                Suppliers or Vendors                                    $3,812.00

                                                            05/13/2024                Suppliers or Vendors                                    $3,812.00

                                                            05/19/2024                Suppliers or Vendors                                   $50,000.00

                                                                                                                SUBTOTAL                     $65,248.00

ID SEAFOOD LLC                                              03/04/2024                Other- Rent                                             $9,868.50
ATTN MATT WATERMAN
15915 VENTURA BLVD PH 2
ENCINO, CA 91436-4439
                                                            03/29/2024                Other- Rent                                             $9,868.50

                                                                                                                SUBTOTAL                     $19,737.00

IDENTITY REHAB CORPORATION                                  03/12/2024                Suppliers or Vendors                                    $2,715.86
DBA ID WATCHDOG
PO BOX 71221
CHARLOTTE, NC 28272-1221
                                                            04/11/2024                Suppliers or Vendors                                    $3,485.61

                                                            05/13/2024                Suppliers or Vendors                                    $2,638.51

                                                                                                                SUBTOTAL                      $8,839.98

IF&P HOLDING COMPANY LLC                                    02/20/2024                Suppliers or Vendors                                   $13,859.10
DBA PIAZZA PRODUCE &
SPECIALTY FOODS
PO BOX 639476
CINCINNATI, OH 45263-9476
                                                            02/21/2024                Suppliers or Vendors                                    $6,825.42

                                                            02/23/2024                Suppliers or Vendors                                    $9,275.78

                                                            02/26/2024                Suppliers or Vendors                                    $6,687.44

                                                            02/27/2024                Suppliers or Vendors                                    $6,833.03

                                                            02/28/2024                Suppliers or Vendors                                    $5,833.33

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/04/2024                Suppliers or Vendors                                    $9,970.78

                                                            03/06/2024                Suppliers or Vendors                                   $12,447.26

                                                            03/08/2024                Suppliers or Vendors                                    $6,207.99

                                                            03/11/2024                Suppliers or Vendors                                    $5,521.61

                                                            03/12/2024                Suppliers or Vendors                                   $15,033.91

                                                            03/14/2024                Suppliers or Vendors                                    $6,722.79

                                                            03/15/2024                Suppliers or Vendors                                    $4,184.23

                                                            03/18/2024                Suppliers or Vendors                                    $6,189.75

                                                            03/19/2024                Suppliers or Vendors                                    $6,031.56

                                                            03/21/2024                Suppliers or Vendors                                    $5,269.31

                                                            03/22/2024                Suppliers or Vendors                                    $4,633.16

                                                            03/25/2024                Suppliers or Vendors                                    $6,803.07

                                                            03/26/2024                Suppliers or Vendors                                    $6,492.00

                                                            03/28/2024                Suppliers or Vendors                                    $6,133.67

                                                            03/29/2024                Suppliers or Vendors                                    $4,105.31

                                                            04/01/2024                Suppliers or Vendors                                    $7,316.29

                                                            04/02/2024                Suppliers or Vendors                                    $6,270.38

                                                            04/04/2024                Suppliers or Vendors                                    $5,708.30

                                                            04/05/2024                Suppliers or Vendors                                    $3,942.15

                                                            04/08/2024                Suppliers or Vendors                                    $7,343.12

                                                            04/09/2024                Suppliers or Vendors                                    $5,053.49

                                                            04/11/2024                Suppliers or Vendors                                    $4,161.39

                                                            04/12/2024                Suppliers or Vendors                                    $3,659.22

                                                            04/15/2024                Suppliers or Vendors                                    $7,614.21

                                                            04/16/2024                Suppliers or Vendors                                    $4,853.11

                                                            04/18/2024                Suppliers or Vendors                                    $4,065.16

                                                            04/19/2024                Suppliers or Vendors                                    $3,123.16

                                                            04/22/2024                Suppliers or Vendors                                    $7,110.66

                                                            04/23/2024                Suppliers or Vendors                                    $4,902.42

                                                            04/25/2024                Suppliers or Vendors                                    $4,212.84

                                                            04/26/2024                Suppliers or Vendors                                    $5,529.11

                                                            04/29/2024                Suppliers or Vendors                                    $5,932.70

                                                            04/30/2024                Suppliers or Vendors                                    $5,257.42

                                                            05/02/2024                Suppliers or Vendors                                    $5,903.40

                                                            05/03/2024                Suppliers or Vendors                                    $3,057.64

                                                            05/06/2024                Suppliers or Vendors                                    $6,404.66

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            05/07/2024                Suppliers or Vendors                                     $6,411.95

                                                            05/09/2024                Suppliers or Vendors                                     $3,785.33

                                                            05/10/2024                Suppliers or Vendors                                     $3,321.21

                                                            05/13/2024                Suppliers or Vendors                                     $6,757.48

                                                            05/14/2024                Suppliers or Vendors                                     $5,180.20

                                                            05/16/2024                Suppliers or Vendors                                     $5,582.75

                                                                                                                SUBTOTAL                     $297,520.25

IG IGLOO HOLDINGS INC                                       02/26/2024                Suppliers or Vendors                                    $63,080.00
DBA INSIGHT GLOBAL LLC
PO BOX 198226
ATLANTA, GA 303848226
                                                            03/06/2024                Suppliers or Vendors                                     $8,800.00

                                                            03/11/2024                Suppliers or Vendors                                    $15,200.00

                                                            04/01/2024                Suppliers or Vendors                                    $11,360.00

                                                                                                                SUBTOTAL                      $98,440.00

ILENE FLAUM                                                 02/27/2024                Other- Rent                                             $14,299.53
DBA QUEENSBURY PLAZA I, LLC
400 ANDREWS STREET SUITE
500
ROCHESTER, NY 14604
                                                            04/05/2024                Other- Rent                                             $14,299.53

                                                            04/30/2024                Other- Rent                                             $14,299.53

                                                                                                                SUBTOTAL                      $42,898.59

INCONTACT INC                                               05/02/2024                Suppliers or Vendors                                    $29,353.69
DBA NICE NICE INCONTACT THE
NICE GROUP
LOCKBOX 0268
PO BOX 7247
PHILADELPHIA, PA 19170-0268
                                                            05/17/2024                Suppliers or Vendors                                     $9,562.06

                                                                                                                SUBTOTAL                      $38,915.75

INDEED INC                                                  02/29/2024                Suppliers or Vendors                                     $1,150.00
MAIL CODE 5160
PO BOX 660367
DALLAS, TX 752660367
                                                            03/18/2024                Suppliers or Vendors                                    $27,981.02

                                                            04/05/2024                Suppliers or Vendors                                    $15,329.53

                                                            05/03/2024                Suppliers or Vendors                                    $14,169.39

                                                            05/19/2024                Suppliers or Vendors                                    $45,176.26

                                                                                                                SUBTOTAL                     $103,806.20




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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
INDEPENDENCE PROPERTIES                                     03/04/2024                Other- Rent                                             $19,155.25
348 LLC
DBA YYRL SOUTH PADRE
ISLAND DRIVE OWNER 2 LLC
C/O FEDERMAN STEIFMAN LLP
220 EAST 42ND STREET 29TH
FLOOR
NEW YORK, NY 10017
                                                            03/29/2024                Other- Rent                                             $19,155.25

                                                            04/30/2024                Other- Rent                                             $19,155.25

                                                                                                                SUBTOTAL                      $57,465.75

INFINITE TALENT INC                                         05/19/2024                Suppliers or Vendors                                    $54,500.46
FKA PIONEER HOLDBULL INC
2600 TOWER OAKS BLVD STE
700
ROCKVILLE, MD 20852-4240
                                                                                                                SUBTOTAL                      $54,500.46

INFORMATICA LLC                                             03/06/2024                Suppliers or Vendors                                    $36,857.97
PO BOX 741089
LOS ANGELES, CA 90074-1089
                                                                                                                SUBTOTAL                      $36,857.97

INFOSYS BPM LIMITED                                         03/05/2024                Services                                                $21,999.96
BOA LOCKBOX SERVICES
13539 COLLECTIONS CENTER
DRIVE
CHICAGO, IL 60693
                                                            03/18/2024                Services                                                 $1,430.00

                                                            04/08/2024                Services                                                $21,999.96

                                                            05/07/2024                Services                                                $21,999.96

                                                            05/10/2024                Services                                                $21,999.96

                                                                                                                SUBTOTAL                      $89,429.84

INSIGHT MECHANICAL                                          02/23/2024                Suppliers or Vendors                                     $9,689.43
CONTRACTORS LLC
9204 EAST 350 HIGHWAY
RAYTOWN, MO 64133-5753
                                                            03/08/2024                Suppliers or Vendors                                     $1,789.91

                                                                                                                SUBTOTAL                      $11,479.34

INTERACTIVE                                                 02/23/2024                Suppliers or Vendors                                    $45,407.07
COMMUNICATIONS
INTERNATIONAL INC
DBA INCOMM
PO BOX 935359
ATLANTA, GA 311935359
                                                            03/13/2024                Suppliers or Vendors                                    $18,000.00

                                                            03/21/2024                Suppliers or Vendors                                    $63,275.76

                                                            04/11/2024                Suppliers or Vendors                                    $88,608.05

                                                                                                                SUBTOTAL                     $215,290.88

INTRALINKS INC                                              04/08/2024                Suppliers or Vendors                                    $65,067.71

                                                            04/16/2024                Suppliers or Vendors                                     $1,967.84


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            05/19/2024                Suppliers or Vendors                                    $50,517.90

                                                                                                                SUBTOTAL                     $117,553.45

IRON MOUNTAIN INFORMATION                                   03/06/2024                Suppliers or Vendors                                    $20,662.12
MGMT INC
PO BOX 27128
NEW YORK, NY 100877128
                                                            04/03/2024                Suppliers or Vendors                                    $27,899.01

                                                            05/02/2024                Suppliers or Vendors                                    $17,837.92

                                                            05/19/2024                Suppliers or Vendors                                    $31,191.74

                                                                                                                SUBTOTAL                      $97,590.79

IRONWOOD 1 LLC                                              03/05/2024                Other- Rent                                             $22,715.40
C/O KALB CONSTRUCTION CO
5670 WYNN ROAD
LAS VEGAS, NV 89118
                                                            03/20/2024                Other- Rent                                             $17,554.74

                                                            04/03/2024                Other- Rent                                             $22,715.40

                                                            05/09/2024                Other- Rent                                             $22,715.40

                                                                                                                SUBTOTAL                      $85,700.94

IRS                                                         03/14/2024                Other- Government / Regulatory                            $227.19

                                                            05/09/2024                Other- Government / Regulatory                         $220,000.00

                                                                                                                SUBTOTAL                     $220,227.19

ITW FOOD EQUIPMENT GROUP                                    02/23/2024                Suppliers or Vendors                                    $19,846.10
LLC
DBA BERKEL COMPANY
4406 TECHNOLOGY DRIVE
SOUTH BEND, IN 46628
                                                            02/26/2024                Suppliers or Vendors                                    $73,962.19

                                                            03/04/2024                Suppliers or Vendors                                   $104,951.49

                                                            03/05/2024                Suppliers or Vendors                                     $4,475.43

                                                            03/07/2024                Suppliers or Vendors                                   $133,433.47

                                                            03/08/2024                Suppliers or Vendors                                     $6,072.59

                                                            03/13/2024                Suppliers or Vendors                                   $108,934.20

                                                            03/14/2024                Suppliers or Vendors                                     $4,275.01

                                                            03/19/2024                Suppliers or Vendors                                     $3,995.17

                                                            03/20/2024                Suppliers or Vendors                                    $25,390.77

                                                            03/21/2024                Suppliers or Vendors                                    $13,808.11

                                                            03/22/2024                Suppliers or Vendors                                     $5,465.50

                                                            04/02/2024                Suppliers or Vendors                                    $23,467.06

                                                            04/04/2024                Suppliers or Vendors                                     $3,908.10

                                                            04/04/2024                Suppliers or Vendors                                    $21,859.53

                                                            04/08/2024                Suppliers or Vendors                                    $64,455.49


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/11/2024                Suppliers or Vendors                                    $123,119.44

                                                            04/15/2024                Suppliers or Vendors                                     $46,396.45

                                                            04/16/2024                Suppliers or Vendors                                     $29,533.52

                                                            04/18/2024                Suppliers or Vendors                                     $18,855.32

                                                            04/19/2024                Suppliers or Vendors                                     $10,932.00

                                                            04/23/2024                Suppliers or Vendors                                     $31,633.85

                                                            04/25/2024                Suppliers or Vendors                                     $66,855.99

                                                            05/03/2024                Suppliers or Vendors                                     $23,851.17

                                                            05/06/2024                Suppliers or Vendors                                     $93,897.52

                                                            05/10/2024                Suppliers or Vendors                                     $46,101.68

                                                            05/16/2024                Suppliers or Vendors                                    $161,925.10

                                                            05/19/2024                Suppliers or Vendors                                    $341,740.98

                                                                                                                SUBTOTAL                     $1,613,143.23

IVISION HOLDINGS LLC                                        03/04/2024                Other- Rent                                              $20,793.30
C/O FEDERMAN STEIFMAN LLP
THE NEWS BUILDING
220 E 42ND ST 29TH FLOOR
NEW YORK, NY 10017-5817
                                                            03/29/2024                Other- Rent                                              $20,793.30

                                                            04/30/2024                Other- Rent                                              $20,793.30

                                                                                                                SUBTOTAL                       $62,379.90

J AND P SCHEDULING INC                                      04/18/2024                Suppliers or Vendors                                      $7,579.50
DBA J AND P SECURITY
SERVICES
1650 CHAUSER LN
WOODRIDGE, IL 60517-7598
                                                            04/25/2024                Suppliers or Vendors                                      $1,534.50

                                                                                                                SUBTOTAL                         $9,114.00

J L ADLER ROOFING & SHEET                                   03/07/2024                Suppliers or Vendors                                     $51,675.00
METAL INC
779 JOYCE RD
JOLIET, IL 60436-1815
                                                            05/08/2024                Suppliers or Vendors                                      $2,000.00

                                                                                                                SUBTOTAL                       $53,675.00

J T JACKSON COMPANY                                         02/27/2024                Other- Rent                                              $16,611.33
ACCOUNTING & BOOKKEEPING
DEPT
PO BOX 488
COLMAR, PA 189150488
                                                            04/02/2024                Other- Rent                                              $16,611.33

                                                            04/29/2024                Other- Rent                                              $16,611.33

                                                                                                                SUBTOTAL                       $49,833.99

JADE SECURITY INC                                           02/23/2024                Suppliers or Vendors                                      $3,792.10
697 3RD AVE STE 120
NEW YORK, NY 10017-4003

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/04/2024                Suppliers or Vendors                                    $6,335.01

                                                            03/28/2024                Suppliers or Vendors                                    $1,164.46

                                                            04/12/2024                Suppliers or Vendors                                    $6,413.22

                                                            05/02/2024                Suppliers or Vendors                                    $3,076.26

                                                                                                                SUBTOTAL                     $20,781.05

JAKS LLC                                                    03/04/2024                Other- Rent                                            $28,804.05
C/O HAN MOK KIM
16607 HARBOUR TOWN DRIVE
ASHTON, MD 20861-4082
                                                            03/29/2024                Other- Rent                                            $28,804.05

                                                            04/30/2024                Other- Rent                                            $28,804.05

                                                                                                                SUBTOTAL                     $86,412.15

JAL ENTERPRISES INC                                         03/04/2024                Other- Rent                                            $20,045.20
ATTN JULIAN LEONG
RL1 0354
4571 ANGUS DRIVE
VANCOUVER, BC V6J 4J4
CANADA
                                                            03/29/2024                Other- Rent                                            $20,045.20

                                                            04/30/2024                Other- Rent                                            $20,045.20

                                                                                                                SUBTOTAL                     $60,135.60

JAMES CAMPBELL COMPANY                                      03/01/2024                Other- Rent                                            $17,193.00
LLC
DBA JCC CALIFORNIA
PROPERTIES LLC
FILE 50349
LOS ANGELES, CA 900740349
                                                            04/01/2024                Other- Rent                                            $17,305.00

                                                            04/30/2024                Other- Rent                                            $17,305.00

                                                                                                                SUBTOTAL                     $51,803.00

JAMES KHEZRIE                                               03/04/2024                Other- Rent                                            $10,980.99
DBA EASTRIDGE MALL LP
ATTN MALL MANAGEMENT
OFFICE
246 NORTH NEW HOPE RD PO
BOX 5246
GASTONIA, NC 28054-0045
                                                            03/28/2024                Other- Rent                                              $510.71

                                                            03/29/2024                Other- Rent                                            $10,470.28

                                                            04/30/2024                Other- Rent                                            $10,980.99

                                                                                                                SUBTOTAL                     $32,942.97

JAYS LAWN & LANDSCAPE                                       02/23/2024                Suppliers or Vendors                                    $1,366.75
SERVICES LLC
PO BOX 137
OXFORD, MI 48371-0137
                                                            03/13/2024                Suppliers or Vendors                                   $13,554.16

                                                            04/26/2024                Suppliers or Vendors                                   $12,509.85


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            05/02/2024                Suppliers or Vendors                                   $12,163.43

                                                                                                                SUBTOTAL                     $39,594.19

JC ROYAL REPAIRS INC                                        02/20/2024                Suppliers or Vendors                                    $2,751.71
473 DOANE AVENUE
STATEN ISLAND, NY 10308
                                                            03/08/2024                Suppliers or Vendors                                    $4,443.57

                                                            03/28/2024                Suppliers or Vendors                                   $14,707.65

                                                            04/25/2024                Suppliers or Vendors                                   $13,437.98

                                                            05/02/2024                Suppliers or Vendors                                    $1,193.10

                                                                                                                SUBTOTAL                     $36,534.01

NAME ON FILE                                                03/04/2024                Other- Rent                                            $32,598.48
ADDRESS ON FILE
                                                            03/29/2024                Other- Rent                                            $32,598.48

                                                            04/30/2024                Other- Rent                                            $32,598.48

                                                                                                                SUBTOTAL                     $97,795.44

JEANNETTE D GERMANN                                         03/04/2024                Other- Rent                                            $33,127.51
DBA STONE LAND LLC
4170 HARRODSBURG ROAD
DANVILLE, KY 40422
                                                            03/29/2024                Other- Rent                                            $33,127.51

                                                            04/30/2024                Other- Rent                                            $33,127.51

                                                                                                                SUBTOTAL                     $99,382.53

JFCF INVEST-3 LLC                                           03/04/2024                Other- Rent                                            $32,104.37
20 HARRISON AVE
WALDWICK, NJ 07463-1757
                                                            03/29/2024                Other- Rent                                            $32,104.37

                                                            04/30/2024                Other- Rent                                            $13,791.94

                                                                                                                SUBTOTAL                     $78,000.68

JH DREYFUS LLC                                              03/04/2024                Other- Rent                                             $5,949.77
PO BOX 481149
DELRAY BEACH, FL 33448-1149
                                                            03/29/2024                Other- Rent                                             $5,949.77

                                                            04/30/2024                Other- Rent                                             $5,949.77

                                                                                                                SUBTOTAL                     $17,849.31

NAME ON FILE                                                03/04/2024                Other- Rent                                            $16,391.47
ADDRESS ON FILE
                                                            03/29/2024                Other- Rent                                            $16,391.47

                                                            04/30/2024                Other- Rent                                            $16,391.47

                                                                                                                SUBTOTAL                     $49,174.41

JOE AMATO EAST END CENTRE                                   02/29/2024                Other- Rent                                             $7,500.00
LP
272 E END CTR
WILKES BARRE, PA 18702-6970
                                                            04/03/2024                Other- Rent                                             $7,500.00

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            05/01/2024                Other- Rent                                              $7,500.00

                                                                                                                SUBTOTAL                      $22,500.00

JOHN H BURROWS INC                                          02/20/2024                Suppliers or Vendors                                      $761.82
DBA BONANZA PRODUCE CO
PO BOX 604
SPARKS, NV 89432
                                                            02/23/2024                Suppliers or Vendors                                      $470.30

                                                            02/27/2024                Suppliers or Vendors                                     $1,252.81

                                                            03/04/2024                Suppliers or Vendors                                      $657.95

                                                            03/06/2024                Suppliers or Vendors                                      $821.07

                                                            03/08/2024                Suppliers or Vendors                                      $585.56

                                                            03/12/2024                Suppliers or Vendors                                     $1,115.40

                                                            03/14/2024                Suppliers or Vendors                                      $416.27

                                                            03/18/2024                Suppliers or Vendors                                      $541.57

                                                            03/21/2024                Suppliers or Vendors                                      $617.78

                                                            03/25/2024                Suppliers or Vendors                                      $930.24

                                                            03/28/2024                Suppliers or Vendors                                      $546.44

                                                            04/01/2024                Suppliers or Vendors                                      $786.87

                                                            04/04/2024                Suppliers or Vendors                                      $559.01

                                                            04/08/2024                Suppliers or Vendors                                      $729.22

                                                            04/12/2024                Suppliers or Vendors                                      $712.55

                                                            04/15/2024                Suppliers or Vendors                                      $639.55

                                                            05/06/2024                Suppliers or Vendors                                       $42.98

                                                            05/08/2024                Suppliers or Vendors                                      $635.10

                                                            05/13/2024                Suppliers or Vendors                                      $763.86

                                                            05/15/2024                Suppliers or Vendors                                      $569.21

                                                                                                                SUBTOTAL                      $14,155.56

JOHNSON CONTROLS US                                         02/23/2024                Suppliers or Vendors                                    $75,129.92
HOLDINGS LLC
DBA JOHNSON CONTROLS
SECURITY SOLUTIONS LLC
DEPT CH 14324
PALATINE, IL 60055-4324
                                                            03/04/2024                Suppliers or Vendors                                   $512,867.80

                                                            03/08/2024                Suppliers or Vendors                                     $2,215.39

                                                            03/13/2024                Suppliers or Vendors                                     $9,687.21

                                                            03/21/2024                Suppliers or Vendors                                     $3,012.05

                                                            03/22/2024                Suppliers or Vendors                                     $2,366.24

                                                            03/28/2024                Suppliers or Vendors                                     $5,284.84

                                                            04/10/2024                Suppliers or Vendors                                       $55.00


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/11/2024                Suppliers or Vendors                                     $50,256.62

                                                            04/12/2024                Suppliers or Vendors                                      $3,517.87

                                                            04/18/2024                Suppliers or Vendors                                    $206,554.87

                                                            04/25/2024                Suppliers or Vendors                                    $430,406.94

                                                            04/30/2024                Suppliers or Vendors                                      $3,364.58

                                                            05/02/2024                Suppliers or Vendors                                        $360.57

                                                            05/19/2024                Suppliers or Vendors                                    $744,592.90

                                                                                                                SUBTOTAL                     $2,049,672.80

JOHNSONS TRAILER PARKS LLC                                  03/04/2024                Other- Rent                                              $20,665.11
16 TWIN ACRES DR
KALISPELL, MT 59901-7536
                                                            03/29/2024                Other- Rent                                              $20,665.11

                                                                                                                SUBTOTAL                       $41,330.22

JO-LYN MANAGEMENT CORP                                      03/04/2024                Other- Rent                                              $43,758.71
C/O LYN-JO WASHINGTON LLC
C/O NEXBANK SSB
ATTN LOAN DEPT 2515
MCKINNEY AVENUE SUITE 1100
DALLAS, TX 75201-1945
                                                            03/29/2024                Other- Rent                                              $43,758.71

                                                            04/30/2024                Other- Rent                                              $43,758.71

                                                                                                                SUBTOTAL                      $131,276.13

JONES LANG LASALLE                                          04/04/2024                Suppliers or Vendors                                     $18,000.00
AMERICAS INC
PO BOX 95028
CHICAGO, IL 60690-7217
                                                                                                                SUBTOTAL                       $18,000.00

JOSE PEREZ                                                  03/11/2024                Other- Rent                                               $7,290.79
DBA JOSE SMYRNA OWNER LLC
118 KNICKERBOCKER AVE
BROOKLYN, NY 11237-1803
                                                            04/05/2024                Other- Rent                                               $7,290.79

                                                            05/14/2024                Other- Rent                                               $7,290.79

                                                                                                                SUBTOTAL                       $21,872.37

JOSEPH EL SINEITTI                                          03/04/2024                Other- Rent                                              $30,138.98
DBA JE FUEL LLC
845 AHWAHNEE DRIVE
MILLBRAE, CA 94030
                                                            03/29/2024                Other- Rent                                              $30,138.98

                                                            04/30/2024                Other- Rent                                              $30,138.98

                                                                                                                SUBTOTAL                       $90,416.94

JOSEPH GAROFALO                                             03/04/2024                Other- Rent                                              $12,354.83
DBA JOSEPH J GAROFALO 2017
TRUST
7 EXETER DR
MARLBORO, NJ 07746-2732


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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/29/2024                Other- Rent                                            $12,354.83

                                                                                                                SUBTOTAL                     $24,709.66

JPA LANDSCAPE AND                                           03/04/2024                Suppliers or Vendors                                    $3,216.44
CONSTRUCTION INC
DBA SEQUOIA LANDSCAPE
SPECIALTIES
PO BOX 1292
PLEASANTON, CA 94566
                                                            03/13/2024                Suppliers or Vendors                                    $4,828.17

                                                            03/28/2024                Suppliers or Vendors                                     $782.29

                                                            05/02/2024                Suppliers or Vendors                                    $1,169.79

                                                                                                                SUBTOTAL                      $9,996.69

JPS REALTY MANAGEMENT LLC                                   03/04/2024                Other- Rent                                            $18,815.23
C/O JOHN SHEEHAN
2130 WILLIAMSBRIDGE ROAD
#1-G
BRONX, NY 10461-1620
                                                            03/29/2024                Other- Rent                                            $18,815.23

                                                            04/30/2024                Other- Rent                                            $18,815.23

                                                                                                                SUBTOTAL                     $56,445.69

JRS PLUMBING AND DRAIN                                      04/01/2024                Suppliers or Vendors                                    $7,332.00
101 W AMERICAN CANYON RD
STE 508-119
AMERICAN CANYON, CA
94503-1162
                                                            05/07/2024                Suppliers or Vendors                                   $18,364.00

                                                                                                                SUBTOTAL                     $25,696.00

JSSA VENTURES INC                                           03/04/2024                Other- Rent                                            $17,076.79
FKA KFC OF JACKSON HOLE INC
4020 E 6TH AVENUE PKWY
DENVER, CO 80220-4905
                                                            03/29/2024                Other- Rent                                            $17,076.79

                                                            04/30/2024                Other- Rent                                            $17,076.79

                                                                                                                SUBTOTAL                     $51,230.37

JTN-RL LLC                                                  03/04/2024                Other- Rent                                            $21,742.04
9984 SCRIPPS RANCH BLVD #284
SAN DIEGO, CA 92131
                                                            03/29/2024                Other- Rent                                            $21,742.04

                                                            04/30/2024                Other- Rent                                            $21,742.04

                                                                                                                SUBTOTAL                     $65,226.12

JUAN PEREZ                                                  03/11/2024                Other- Rent                                            $14,581.58
DBA JUAN SMYRNA OWNER LLC
118 KNICKERBOCKER AVE
BROOKLYN, NY 11237-1803
                                                            04/05/2024                Other- Rent                                            $14,581.58

                                                            05/14/2024                Other- Rent                                            $14,581.58

                                                                                                                SUBTOTAL                     $43,744.74

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
K & D MAINTENANCE COMPANY                                   03/08/2024                Suppliers or Vendors                                     $9,600.00
LLC
670 MERIDIAN WAY STE 294
WESTERVILLE, OH 43082-2307
                                                            03/28/2024                Suppliers or Vendors                                     $7,900.00

                                                                                                                SUBTOTAL                      $17,500.00

KAISER PERMANENTE                                           03/14/2024                Suppliers or Vendors                                   $137,869.84

                                                            04/16/2024                Suppliers or Vendors                                   $138,024.51

                                                                                                                SUBTOTAL                     $275,894.35

NAME ON FILE                                                03/04/2024                Other- Rent                                             $13,508.25
ADDRESS ON FILE
                                                            03/29/2024                Other- Rent                                             $13,508.25

                                                                                                                SUBTOTAL                      $27,016.50

KANTOR & SMITH LLC                                          02/20/2024                Suppliers or Vendors                                    $29,470.00
DBA ON-IT CONSTRUCTION
3909 W DE LEON ST
TAMPA, FL 33609-4414
                                                            02/23/2024                Suppliers or Vendors                                      $300.00

                                                            03/04/2024                Suppliers or Vendors                                     $4,650.00

                                                            03/08/2024                Suppliers or Vendors                                    $30,325.00

                                                            03/13/2024                Suppliers or Vendors                                    $24,105.00

                                                            03/21/2024                Suppliers or Vendors                                     $7,915.00

                                                            03/28/2024                Suppliers or Vendors                                    $37,620.00

                                                            04/04/2024                Suppliers or Vendors                                     $5,905.00

                                                            04/18/2024                Suppliers or Vendors                                      $455.00

                                                            04/25/2024                Suppliers or Vendors                                    $21,485.00

                                                            05/02/2024                Suppliers or Vendors                                    $22,870.00

                                                            05/16/2024                Suppliers or Vendors                                    $45,375.00

                                                                                                                SUBTOTAL                     $230,475.00

NAME ON FILE                                                03/08/2024                Other- Rent                                              $9,000.00
ADDRESS ON FILE
                                                            04/17/2024                Other- Rent                                              $9,000.00

                                                            05/13/2024                Other- Rent                                              $9,000.00

                                                                                                                SUBTOTAL                      $27,000.00

KATHLEEN P CRABTREE                                         02/23/2024                Suppliers or Vendors                                     $1,753.65
DBA CRABTREE PROPERTY
MAINTENANCE LLC
7486 MYRTLE TRL
SAN ANTONIO, TX 78244-2236
                                                            03/08/2024                Suppliers or Vendors                                     $1,493.85

                                                            03/28/2024                Suppliers or Vendors                                    $11,245.55

                                                            04/11/2024                Suppliers or Vendors                                     $5,674.03



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number

                                                                                                                SUBTOTAL                     $20,167.08

KAUTZ CONSTRUCTION                                          03/08/2024                Suppliers or Vendors                                   $45,603.00
COMPANY
1262 LOOP ROAD
LANCASTER, PA 17601-3114
                                                            03/28/2024                Suppliers or Vendors                                   $22,767.00

                                                                                                                SUBTOTAL                     $68,370.00

KB RIVERDALE LLC                                            02/29/2024                Other- Rent                                             $9,391.17
2743 PERIMETER PARKWAY
BUILDING 100
SUITE 370
AUGUSTA, GA 30909
                                                            04/02/2024                Other- Rent                                             $9,391.17

                                                            04/30/2024                Other- Rent                                             $9,391.17

                                                                                                                SUBTOTAL                     $28,173.51

KEATHLEY SERVICE CO INC                                     03/04/2024                Suppliers or Vendors                                     $969.31
196 MAJESTIC CIRCLE
MAUMELLE, AR 72113
                                                            03/21/2024                Suppliers or Vendors                                    $6,495.03

                                                            04/04/2024                Suppliers or Vendors                                     $922.00

                                                            05/02/2024                Suppliers or Vendors                                    $1,772.09

                                                                                                                SUBTOTAL                     $10,158.43

NAME ON FILE                                                03/04/2024                Other- Rent                                             $9,449.57
ADDRESS ON FILE
                                                            03/29/2024                Other- Rent                                             $9,449.57

                                                            04/30/2024                Other- Rent                                             $9,449.57

                                                                                                                SUBTOTAL                     $28,348.71

KEGELS PRODUCE INC                                          02/20/2024                Suppliers or Vendors                                   $26,875.51
PO BOX 4682
LANCASTER, PA 17604
                                                            02/22/2024                Suppliers or Vendors                                    $1,824.52

                                                            02/23/2024                Suppliers or Vendors                                   $17,246.95

                                                            02/26/2024                Suppliers or Vendors                                     $605.22

                                                            02/27/2024                Suppliers or Vendors                                   $27,952.90

                                                            02/28/2024                Suppliers or Vendors                                     $553.35

                                                            03/04/2024                Suppliers or Vendors                                    $9,202.13

                                                            03/06/2024                Suppliers or Vendors                                   $29,997.26

                                                            03/08/2024                Suppliers or Vendors                                   $10,270.39

                                                            03/11/2024                Suppliers or Vendors                                    $1,663.91

                                                            03/12/2024                Suppliers or Vendors                                   $28,413.12

                                                            03/14/2024                Suppliers or Vendors                                   $10,238.80

                                                            03/15/2024                Suppliers or Vendors                                     $825.46



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/18/2024                Suppliers or Vendors                                    $26,923.45

                                                            03/21/2024                Suppliers or Vendors                                     $9,805.15

                                                            03/22/2024                Suppliers or Vendors                                      $506.94

                                                            03/25/2024                Suppliers or Vendors                                    $25,818.66

                                                            03/26/2024                Suppliers or Vendors                                      $847.23

                                                            03/28/2024                Suppliers or Vendors                                     $8,964.65

                                                            03/29/2024                Suppliers or Vendors                                      $578.94

                                                            04/01/2024                Suppliers or Vendors                                    $27,378.44

                                                            04/04/2024                Suppliers or Vendors                                     $9,085.63

                                                            04/05/2024                Suppliers or Vendors                                      $745.21

                                                            04/08/2024                Suppliers or Vendors                                    $26,819.06

                                                            04/09/2024                Suppliers or Vendors                                      $104.65

                                                            04/11/2024                Suppliers or Vendors                                     $9,056.85

                                                            04/12/2024                Suppliers or Vendors                                     $1,108.09

                                                            04/15/2024                Suppliers or Vendors                                    $25,429.79

                                                            04/16/2024                Suppliers or Vendors                                      $267.97

                                                            04/18/2024                Suppliers or Vendors                                     $8,058.55

                                                            04/19/2024                Suppliers or Vendors                                     $1,091.72

                                                            04/22/2024                Suppliers or Vendors                                    $24,580.52

                                                            04/25/2024                Suppliers or Vendors                                     $7,640.35

                                                            04/26/2024                Suppliers or Vendors                                      $422.46

                                                            04/29/2024                Suppliers or Vendors                                    $26,719.11

                                                            05/02/2024                Suppliers or Vendors                                     $9,089.52

                                                            05/03/2024                Suppliers or Vendors                                      $765.37

                                                            05/06/2024                Suppliers or Vendors                                    $22,328.43

                                                            05/07/2024                Suppliers or Vendors                                     $1,143.83

                                                            05/09/2024                Suppliers or Vendors                                     $7,978.60

                                                            05/10/2024                Suppliers or Vendors                                      $887.37

                                                            05/13/2024                Suppliers or Vendors                                    $21,877.92

                                                            05/15/2024                Suppliers or Vendors                                     $1,985.79

                                                            05/16/2024                Suppliers or Vendors                                     $8,591.74

                                                                                                                SUBTOTAL                     $482,271.51

KELLEYS SERVICES INC                                        03/04/2024                Suppliers or Vendors                                      $900.00
3281 HALF MOON VALLEY ROAD
WARRIORS MARK, PA 16877
                                                            03/28/2024                Suppliers or Vendors                                     $5,713.00

                                                            04/25/2024                Suppliers or Vendors                                     $2,398.00

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number

                                                                                                                SUBTOTAL                         $9,011.00

KELSO RL PROPERTY LLC                                       03/04/2024                Other- Rent                                              $11,667.46
C/O FRANCIS C KASTER
MEMBER
412 NORTH ST
YREKA, CA 96097-2313
                                                            03/29/2024                Other- Rent                                              $11,667.46

                                                            04/30/2024                Other- Rent                                              $11,667.46

                                                                                                                SUBTOTAL                       $35,002.38

KENNEDY MALL LTD                                            03/01/2024                Other- Rent                                              $10,070.22
PO BOX 7535
CAROL STREAM, IL 60197-7535
                                                            04/03/2024                Other- Rent                                              $10,070.22

                                                            04/22/2024                Other- Rent                                              $18,952.06

                                                            05/06/2024                Other- Rent                                              $10,070.22

                                                                                                                SUBTOTAL                       $49,162.72

KENNETH O LESTER COMPANY                                    02/20/2024                Suppliers or Vendors                                   $4,780,165.07
INC
DBA PFG CUSTOMIZED
DISTRIBUTION
PO BOX 933457
ATLANTA, GA 31193-3457
                                                            02/21/2024                Suppliers or Vendors                                   $2,880,106.10

                                                            02/22/2024                Suppliers or Vendors                                   $1,274,787.98

                                                            02/23/2024                Suppliers or Vendors                                   $3,757,940.84

                                                            02/26/2024                Suppliers or Vendors                                   $3,271,351.03

                                                            02/27/2024                Suppliers or Vendors                                   $3,814,314.36

                                                            02/28/2024                Suppliers or Vendors                                   $4,047,859.85

                                                            02/29/2024                Suppliers or Vendors                                   $1,389,304.58

                                                            03/04/2024                Suppliers or Vendors                                   $5,245,159.66

                                                            03/06/2024                Suppliers or Vendors                                   $5,935,887.45

                                                            03/07/2024                Suppliers or Vendors                                   $1,142,587.35

                                                            03/08/2024                Suppliers or Vendors                                   $2,737,185.78

                                                            03/11/2024                Suppliers or Vendors                                   $2,612,766.09

                                                            03/12/2024                Suppliers or Vendors                                   $5,932,665.32

                                                            03/13/2024                Suppliers or Vendors                                   $1,260,486.81

                                                            03/14/2024                Suppliers or Vendors                                   $3,109,043.98

                                                            03/15/2024                Suppliers or Vendors                                   $2,959,124.39

                                                            03/18/2024                Suppliers or Vendors                                   $3,243,054.63

                                                            03/19/2024                Suppliers or Vendors                                   $3,389,240.66

                                                            03/20/2024                Suppliers or Vendors                                   $1,203,966.19

                                                            03/21/2024                Suppliers or Vendors                                   $3,036,315.84

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/22/2024                Suppliers or Vendors                                   $2,859,387.36

                                                            03/25/2024                Suppliers or Vendors                                   $3,046,003.81

                                                            03/26/2024                Suppliers or Vendors                                   $3,153,888.52

                                                            03/27/2024                Suppliers or Vendors                                   $1,144,064.85

                                                            03/28/2024                Suppliers or Vendors                                   $2,686,108.85

                                                            03/29/2024                Suppliers or Vendors                                   $2,435,169.16

                                                            04/01/2024                Suppliers or Vendors                                   $2,805,655.29

                                                            04/02/2024                Suppliers or Vendors                                   $2,798,475.67

                                                            04/03/2024                Suppliers or Vendors                                   $1,045,942.38

                                                            04/04/2024                Suppliers or Vendors                                   $2,695,778.52

                                                            04/05/2024                Suppliers or Vendors                                   $2,314,337.95

                                                            04/08/2024                Suppliers or Vendors                                   $2,459,335.23

                                                            04/09/2024                Suppliers or Vendors                                   $2,667,403.44

                                                            04/10/2024                Suppliers or Vendors                                   $1,061,213.99

                                                            04/11/2024                Suppliers or Vendors                                   $2,448,514.64

                                                            04/12/2024                Suppliers or Vendors                                   $2,438,663.17

                                                            04/15/2024                Suppliers or Vendors                                   $2,504,459.85

                                                            04/16/2024                Suppliers or Vendors                                   $2,639,857.45

                                                            04/17/2024                Suppliers or Vendors                                   $1,061,927.46

                                                            04/18/2024                Suppliers or Vendors                                   $2,475,507.29

                                                            04/19/2024                Suppliers or Vendors                                   $2,613,919.80

                                                            04/22/2024                Suppliers or Vendors                                   $2,429,895.78

                                                            04/23/2024                Suppliers or Vendors                                   $2,452,170.09

                                                            04/24/2024                Suppliers or Vendors                                    $880,525.72

                                                            04/25/2024                Suppliers or Vendors                                   $2,243,627.42

                                                            04/26/2024                Suppliers or Vendors                                   $2,258,140.06

                                                            04/29/2024                Suppliers or Vendors                                   $2,180,401.86

                                                            04/30/2024                Suppliers or Vendors                                   $2,355,693.09

                                                            05/01/2024                Suppliers or Vendors                                    $865,082.95

                                                            05/02/2024                Suppliers or Vendors                                   $2,302,509.13

                                                            05/03/2024                Suppliers or Vendors                                   $2,223,783.38

                                                            05/06/2024                Suppliers or Vendors                                   $2,140,614.67

                                                            05/07/2024                Suppliers or Vendors                                   $2,345,351.81

                                                            05/08/2024                Suppliers or Vendors                                    $890,765.14

                                                            05/09/2024                Suppliers or Vendors                                   $2,240,634.64

                                                            05/10/2024                Suppliers or Vendors                                   $2,216,586.57

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            05/13/2024                Suppliers or Vendors                                   $2,251,826.08

                                                            05/14/2024                Suppliers or Vendors                                   $2,556,047.42

                                                            05/15/2024                Suppliers or Vendors                                    $998,196.45

                                                            05/16/2024                Suppliers or Vendors                                   $2,606,055.81

                                                                                                                SUBTOTAL                $154,816,836.71

KESSIMAKIS PRODUCE CO INC                                   02/20/2024                Suppliers or Vendors                                      $1,654.41
PO BOX 2310
SALT LAKE CITY, UT 841102310
                                                            02/21/2024                Suppliers or Vendors                                      $1,122.80

                                                            02/23/2024                Suppliers or Vendors                                      $2,887.30

                                                            02/27/2024                Suppliers or Vendors                                      $3,009.86

                                                            02/28/2024                Suppliers or Vendors                                        $294.07

                                                            03/04/2024                Suppliers or Vendors                                      $2,001.69

                                                            03/06/2024                Suppliers or Vendors                                      $3,384.73

                                                            03/08/2024                Suppliers or Vendors                                      $1,751.42

                                                            03/12/2024                Suppliers or Vendors                                      $3,310.35

                                                            03/14/2024                Suppliers or Vendors                                        $864.95

                                                            03/18/2024                Suppliers or Vendors                                      $2,002.94

                                                            03/19/2024                Suppliers or Vendors                                      $1,347.23

                                                            03/21/2024                Suppliers or Vendors                                      $1,516.84

                                                            03/25/2024                Suppliers or Vendors                                      $2,851.58

                                                            03/26/2024                Suppliers or Vendors                                        $794.96

                                                            03/28/2024                Suppliers or Vendors                                        $673.35

                                                            04/01/2024                Suppliers or Vendors                                      $1,906.84

                                                            04/02/2024                Suppliers or Vendors                                      $1,187.99

                                                            04/04/2024                Suppliers or Vendors                                      $1,174.08

                                                            04/05/2024                Suppliers or Vendors                                        $446.21

                                                            04/08/2024                Suppliers or Vendors                                      $2,444.14

                                                            04/09/2024                Suppliers or Vendors                                      $1,377.06

                                                            04/11/2024                Suppliers or Vendors                                      $1,647.66

                                                            04/15/2024                Suppliers or Vendors                                      $1,060.65

                                                            04/16/2024                Suppliers or Vendors                                       $1,114.60

                                                            04/18/2024                Suppliers or Vendors                                      $1,834.26

                                                            04/22/2024                Suppliers or Vendors                                      $1,741.35

                                                            04/23/2024                Suppliers or Vendors                                      $1,233.97

                                                            04/25/2024                Suppliers or Vendors                                      $1,550.09

                                                            04/29/2024                Suppliers or Vendors                                        $863.56

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/30/2024                Suppliers or Vendors                                    $1,715.17

                                                            05/02/2024                Suppliers or Vendors                                    $1,392.21

                                                            05/06/2024                Suppliers or Vendors                                    $1,574.61

                                                            05/07/2024                Suppliers or Vendors                                    $1,467.47

                                                            05/09/2024                Suppliers or Vendors                                    $2,508.80

                                                            05/13/2024                Suppliers or Vendors                                    $1,881.02

                                                            05/14/2024                Suppliers or Vendors                                    $1,735.52

                                                            05/16/2024                Suppliers or Vendors                                     $897.34

                                                                                                                SUBTOTAL                     $62,223.08

KEYSER FLOORING 1 LP                                        02/27/2024                Suppliers or Vendors                                   $18,370.60
OXI FRESH CARPET CLEANING
PO BOX 440100
SAINT LOUIS, MO 63144-4100
                                                            03/12/2024                Suppliers or Vendors                                     $970.00

                                                            03/28/2024                Suppliers or Vendors                                    $3,066.92

                                                            05/13/2024                Suppliers or Vendors                                     $588.50

                                                                                                                SUBTOTAL                     $22,996.02

KEYSTONE FIESTA PLAZA LLC                                   03/04/2024                Other- Rent                                            $18,825.26
3776 N 1ST AVE STE 200
TUCSON, AZ 85719-1610
                                                            03/28/2024                Other- Rent                                             $3,569.09

                                                            03/29/2024                Other- Rent                                            $15,256.17

                                                            04/09/2024                Other- Rent                                            $21,278.01

                                                            04/30/2024                Other- Rent                                            $18,825.26

                                                                                                                SUBTOTAL                     $77,753.79

KFORCE INC                                                  02/26/2024                Suppliers or Vendors                                    $4,960.00
PO BOX 277997
ATLANTA, GA 30384-7997
                                                            03/18/2024                Suppliers or Vendors                                   $17,856.00

                                                            04/30/2024                Suppliers or Vendors                                    $5,425.00

                                                            05/19/2024                Suppliers or Vendors                                   $24,552.00

                                                                                                                SUBTOTAL                     $52,793.00

KIMBALL & THOMPSON                                          02/20/2024                Suppliers or Vendors                                    $5,025.30
PRODUCE CO INC
305 S LINCOLN
LOWELL, AR 72745
                                                            02/21/2024                Suppliers or Vendors                                    $3,841.81

                                                            02/23/2024                Suppliers or Vendors                                     $990.27

                                                            02/26/2024                Suppliers or Vendors                                    $2,854.88

                                                            02/27/2024                Suppliers or Vendors                                    $4,782.86

                                                            02/28/2024                Suppliers or Vendors                                    $2,368.17


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/04/2024                Suppliers or Vendors                                   $3,604.99

                                                            03/06/2024                Suppliers or Vendors                                   $7,732.33

                                                            03/08/2024                Suppliers or Vendors                                   $1,603.51

                                                            03/11/2024                Suppliers or Vendors                                   $1,671.79

                                                            03/12/2024                Suppliers or Vendors                                   $5,377.91

                                                            03/14/2024                Suppliers or Vendors                                   $1,902.41

                                                            03/15/2024                Suppliers or Vendors                                    $847.39

                                                            03/18/2024                Suppliers or Vendors                                   $4,185.11

                                                            03/19/2024                Suppliers or Vendors                                   $3,626.00

                                                            03/21/2024                Suppliers or Vendors                                   $1,567.36

                                                            03/22/2024                Suppliers or Vendors                                   $1,135.68

                                                            03/25/2024                Suppliers or Vendors                                   $4,213.53

                                                            03/26/2024                Suppliers or Vendors                                   $2,477.08

                                                            03/28/2024                Suppliers or Vendors                                   $1,205.15

                                                            03/29/2024                Suppliers or Vendors                                   $1,549.12

                                                            04/01/2024                Suppliers or Vendors                                   $3,750.52

                                                            04/02/2024                Suppliers or Vendors                                   $2,379.01

                                                            04/04/2024                Suppliers or Vendors                                   $1,503.86

                                                            04/05/2024                Suppliers or Vendors                                    $894.05

                                                            04/08/2024                Suppliers or Vendors                                   $5,308.32

                                                            04/09/2024                Suppliers or Vendors                                   $2,849.82

                                                            04/11/2024                Suppliers or Vendors                                   $1,131.15

                                                            04/12/2024                Suppliers or Vendors                                   $1,159.91

                                                            04/15/2024                Suppliers or Vendors                                   $3,105.90

                                                            04/16/2024                Suppliers or Vendors                                   $2,182.32

                                                            04/18/2024                Suppliers or Vendors                                   $1,357.85

                                                            04/19/2024                Suppliers or Vendors                                    $673.46

                                                            04/22/2024                Suppliers or Vendors                                   $3,401.83

                                                            04/23/2024                Suppliers or Vendors                                   $3,889.83

                                                            04/25/2024                Suppliers or Vendors                                   $1,029.43

                                                            04/26/2024                Suppliers or Vendors                                    $777.18

                                                            04/29/2024                Suppliers or Vendors                                   $3,041.02

                                                            04/30/2024                Suppliers or Vendors                                   $3,134.17

                                                            05/02/2024                Suppliers or Vendors                                   $1,014.17

                                                            05/03/2024                Suppliers or Vendors                                   $1,303.76

                                                            05/06/2024                Suppliers or Vendors                                   $2,730.96

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            05/07/2024                Suppliers or Vendors                                     $3,228.70

                                                            05/08/2024                Suppliers or Vendors                                      $602.93

                                                            05/09/2024                Suppliers or Vendors                                     $1,223.87

                                                            05/10/2024                Suppliers or Vendors                                     $1,253.05

                                                            05/13/2024                Suppliers or Vendors                                     $3,557.02

                                                            05/14/2024                Suppliers or Vendors                                     $2,904.74

                                                            05/16/2024                Suppliers or Vendors                                      $688.43

                                                                                                                SUBTOTAL                     $122,639.91

KIMCO REALTY CORPORATION                                    02/27/2024                Other- Rent                                             $18,528.47
DBA NORTH VALLEY PLAZA LLC
PO BOX 30344
TAMPA, FL 33630-3344
                                                            03/04/2024                Other- Rent                                             $66,860.77

                                                            03/12/2024                Other- Rent                                             $12,028.74

                                                            04/01/2024                Other- Rent                                             $49,705.60

                                                            04/03/2024                Other- Rent                                             $29,183.91

                                                            05/15/2024                Other- Rent                                             $10,201.66

                                                                                                                SUBTOTAL                     $186,509.15

KIN PROPERTIES INC                                          02/28/2024                Other- Rent                                             $25,139.35
185 NW SPANISH RIVER BLVD
BOCA RATON, FL 33431-4227
                                                            04/02/2024                Other- Rent                                             $25,139.35

                                                            04/30/2024                Other- Rent                                             $25,139.35

                                                                                                                SUBTOTAL                      $75,418.05

KINETICO INCORPORATED                                       02/20/2024                Suppliers or Vendors                                    $46,290.40
DBA KINETICO QUALITY WATER
SYSTEMS
9765 BASIL WESTERN ROAD
CANAL WINCHESTER, OH 43110
                                                            03/04/2024                Suppliers or Vendors                                    $10,284.44

                                                            03/08/2024                Suppliers or Vendors                                     $2,122.49

                                                            03/21/2024                Suppliers or Vendors                                    $20,061.30

                                                            03/28/2024                Suppliers or Vendors                                     $4,097.47

                                                            04/25/2024                Suppliers or Vendors                                      $545.91

                                                            04/26/2024                Suppliers or Vendors                                    $10,404.99

                                                            05/02/2024                Suppliers or Vendors                                     $4,844.99

                                                                                                                SUBTOTAL                      $98,651.99

KING APPLIANCE LLC                                          02/27/2024                Suppliers or Vendors                                    $54,414.88
15 SUNRISE CIR
CONNELLSVILLE, PA 15425-9704
                                                            03/12/2024                Suppliers or Vendors                                     $2,355.86

                                                            03/28/2024                Suppliers or Vendors                                    $11,840.00

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/04/2024                Suppliers or Vendors                                    $15,050.74

                                                            04/18/2024                Suppliers or Vendors                                    $36,440.28

                                                            05/02/2024                Suppliers or Vendors                                     $7,938.40

                                                                                                                SUBTOTAL                     $128,040.16

KING OF PRUSSIA PA RETAIL LLC                               03/04/2024                Other- Rent                                             $25,574.66
C/O GERSHENSON REALTY AND
INVESTMENT LLC
31500 NORTHWESTERN HWY
STE 100
FARMINGTON HILLS, MI
48334-2568
                                                            03/29/2024                Other- Rent                                             $25,574.66

                                                            04/30/2024                Other- Rent                                             $25,574.66

                                                                                                                SUBTOTAL                      $76,723.98

KIR COPIAGUE LP                                             02/28/2024                Other- Rent                                             $26,714.40
PO BOX 30344
TAMPA, FL 33630-3344
                                                            04/01/2024                Other- Rent                                             $26,740.06

                                                            05/14/2024                Other- Rent                                             $26,740.06

                                                                                                                SUBTOTAL                      $80,194.52

KISAN B CHAVAN                                              03/04/2024                Other- Rent                                             $31,122.12
DBA KUNDAN CHAVAN TRUSTEE
OF THE KISAN &
KUNDAN CHAVAN LVG TRUST
1500 E OCEAN BLVD UNIT 614
LONG BEACH, CA 90802-6931
                                                            03/29/2024                Other- Rent                                             $31,122.12

                                                            04/30/2024                Other- Rent                                             $31,122.12

                                                                                                                SUBTOTAL                      $93,366.36

KITE REALTY GROUP LP                                        03/01/2024                Other- Rent                                             $10,375.97
DBA KRG BEL AIR SQUARE LLC
13068 COLLECTION CENTER
DRIVE
CHICAGO, IL 60693-0130
                                                            03/05/2024                Other- Rent                                              $1,622.76

                                                            04/01/2024                Other- Rent                                             $10,375.97

                                                            05/01/2024                Other- Rent                                             $10,375.97

                                                                                                                SUBTOTAL                      $32,750.67

KIU ND HOLDINGS LLC                                         03/04/2024                Other- Rent                                             $25,012.13
C/O DAVID KIU
32 MAMMOLA WAY
MEDFORD, MA 02155-2051
                                                            03/29/2024                Other- Rent                                             $25,012.13

                                                                                                                SUBTOTAL                      $50,024.26

KNOX & AMERICAN I LLC                                       03/04/2024                Other- Rent                                             $18,333.33
C/O STUARTCO
1000 WEST 80TH STREET
BLOOMINGTON, MN 55420

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/29/2024                Other- Rent                                             $18,333.33

                                                            04/30/2024                Other- Rent                                             $18,333.33

                                                                                                                SUBTOTAL                      $54,999.99

KNULL ENTERPRISES INC                                       02/23/2024                Suppliers or Vendors                                    $11,014.53
DBA THERMAX CLEAN CARE
CENTER
1930 GOOD HOPE ROAD
ENOLA, PA 17025
                                                            03/08/2024                Suppliers or Vendors                                     $5,442.58

                                                            03/21/2024                Suppliers or Vendors                                    $11,202.12

                                                                                                                SUBTOTAL                      $27,659.23

KOOL KLEEN INC                                              03/21/2024                Suppliers or Vendors                                     $6,544.55
DBA FILTER KLEEN
PO BOX 87
MURRYSVILLE, PA 15668
                                                            05/02/2024                Suppliers or Vendors                                     $3,247.20

                                                                                                                SUBTOTAL                       $9,791.75

KPLP II LLC                                                 03/04/2024                Other- Rent                                             $19,199.11
5680 E CUTTING HORSE LANE
KUNA, ID 83634-1449
                                                            03/29/2024                Other- Rent                                             $19,199.11

                                                            04/30/2024                Other- Rent                                             $19,199.11

                                                                                                                SUBTOTAL                      $57,597.33

KPMG LLP                                                    02/21/2024                Services                                                $21,790.00
DEPT 0608
PO BOX 120608
DALLAS, TX 753120608
                                                            03/13/2024                Services                                                $18,342.50

                                                            04/03/2024                Services                                                $17,317.00

                                                            05/07/2024                Services                                                $16,790.00

                                                            05/19/2024                Services                                                $70,802.66

                                                                                                                SUBTOTAL                     $145,042.16

KRAMER BEVERAGE CO INC                                      02/22/2024                Suppliers or Vendors                                      $408.20
PO BOX 470
HAMMONTON, NJ 08037-0470
                                                            02/27/2024                Suppliers or Vendors                                      $457.00

                                                            02/28/2024                Suppliers or Vendors                                      $695.70

                                                            03/06/2024                Suppliers or Vendors                                     $1,313.45

                                                            03/07/2024                Suppliers or Vendors                                      $491.50

                                                            03/12/2024                Suppliers or Vendors                                      $298.20

                                                            03/18/2024                Suppliers or Vendors                                     $1,112.75

                                                            03/21/2024                Suppliers or Vendors                                      $370.50

                                                            03/25/2024                Suppliers or Vendors                                      $717.80



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/01/2024                Suppliers or Vendors                                     $454.80

                                                            04/02/2024                Suppliers or Vendors                                     $311.35

                                                            04/08/2024                Suppliers or Vendors                                     $380.50

                                                            04/10/2024                Suppliers or Vendors                                     $566.70

                                                            04/15/2024                Suppliers or Vendors                                     $921.25

                                                            04/23/2024                Suppliers or Vendors                                     $385.15

                                                            04/29/2024                Suppliers or Vendors                                     $198.00

                                                            05/06/2024                Suppliers or Vendors                                     $568.05

                                                            05/13/2024                Suppliers or Vendors                                     $370.50

                                                            05/15/2024                Suppliers or Vendors                                     $323.45

                                                                                                                SUBTOTAL                     $10,344.85

KRISHNAMOORTI FAMILY                                        03/04/2024                Other- Rent                                            $30,968.38
LIMITED PARTNERSHIP
ATTN DURGA K SINGA
45415 ANTELOPE DR
FREMONT, CA 94539-6041
                                                            03/29/2024                Other- Rent                                            $30,968.38

                                                            04/30/2024                Other- Rent                                            $30,968.38

                                                                                                                SUBTOTAL                     $92,905.14

KS SEAFOOD LLC                                              03/04/2024                Other- Rent                                            $15,148.05
ATTN MATT WATERMAN
15915 VENTURA BLVD PH 2
ENCINO, CA 91436-4439
                                                            03/29/2024                Other- Rent                                            $15,148.05

                                                                                                                SUBTOTAL                     $30,296.10

KW COMMERCIAL APPLIANCE                                     03/08/2024                Suppliers or Vendors                                    $3,331.90
REPAIR LLC
4914 THONOTOSASSA RD
PLANT CITY, FL 33565-5930
                                                            03/28/2024                Suppliers or Vendors                                    $3,854.64

                                                            04/11/2024                Suppliers or Vendors                                    $2,867.81

                                                            05/02/2024                Suppliers or Vendors                                    $2,862.73

                                                                                                                SUBTOTAL                     $12,917.08

L B BILLINGSLEY INVESTMENT                                  02/29/2024                Other- Rent                                            $12,079.28
CO
5336 ALPHA ROAD
SUITE 6
DALLAS, TX 75240
                                                            04/04/2024                Other- Rent                                            $12,079.28

                                                            05/02/2024                Other- Rent                                            $12,079.28

                                                                                                                SUBTOTAL                     $36,237.84

L W RIVERDALE LLC                                           03/04/2024                Other- Rent                                            $24,796.20
W NORTH LAS VEGAS LLC
315 CENTRAL AVE
LAWRENCE, NY 11559-1605

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/29/2024                Other- Rent                                            $24,796.20

                                                            04/30/2024                Other- Rent                                            $24,796.20

                                                                                                                SUBTOTAL                     $74,388.60

L&D MAINTENANCE CO                                          03/08/2024                Suppliers or Vendors                                    $3,264.60
13877 17TH ST N
STILLWATER, MN 55082-1746
                                                            03/28/2024                Suppliers or Vendors                                   $13,775.07

                                                                                                                SUBTOTAL                     $17,039.67

L&S TOLUCA PROPERTIES                                       03/04/2024                Other- Rent                                            $24,710.87
1393 PALISADES DR
PACIFIC PALISADES, CA
90272-2153
                                                            03/29/2024                Other- Rent                                            $24,710.87

                                                                                                                SUBTOTAL                     $49,421.74

LA GRASSO BROS INC                                          02/20/2024                Suppliers or Vendors                                   $30,456.25
PO BOX 2638
DETROIT, MI 482022638
                                                            02/21/2024                Suppliers or Vendors                                    $6,745.69

                                                            02/23/2024                Suppliers or Vendors                                    $9,753.61

                                                            02/26/2024                Suppliers or Vendors                                    $6,535.97

                                                            02/27/2024                Suppliers or Vendors                                   $31,628.22

                                                            02/28/2024                Suppliers or Vendors                                    $5,679.95

                                                            03/04/2024                Suppliers or Vendors                                   $11,988.61

                                                            03/06/2024                Suppliers or Vendors                                   $33,560.38

                                                            03/08/2024                Suppliers or Vendors                                    $9,124.95

                                                            03/11/2024                Suppliers or Vendors                                    $4,275.37

                                                            03/12/2024                Suppliers or Vendors                                   $35,345.76

                                                            03/14/2024                Suppliers or Vendors                                    $6,958.02

                                                            03/15/2024                Suppliers or Vendors                                    $4,196.06

                                                            03/18/2024                Suppliers or Vendors                                   $26,987.03

                                                            03/19/2024                Suppliers or Vendors                                    $7,644.92

                                                            03/21/2024                Suppliers or Vendors                                    $6,964.37

                                                            03/22/2024                Suppliers or Vendors                                    $3,098.39

                                                            03/25/2024                Suppliers or Vendors                                   $24,628.74

                                                            03/26/2024                Suppliers or Vendors                                    $8,736.40

                                                            03/28/2024                Suppliers or Vendors                                    $4,615.96

                                                            03/29/2024                Suppliers or Vendors                                    $3,804.11

                                                            04/01/2024                Suppliers or Vendors                                   $25,174.82

                                                            04/02/2024                Suppliers or Vendors                                    $7,657.29

                                                            04/04/2024                Suppliers or Vendors                                    $6,897.79

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/05/2024                Suppliers or Vendors                                     $3,509.26

                                                            04/08/2024                Suppliers or Vendors                                    $29,903.11

                                                            04/09/2024                Suppliers or Vendors                                     $7,924.82

                                                            04/11/2024                Suppliers or Vendors                                     $7,325.43

                                                            04/12/2024                Suppliers or Vendors                                     $3,650.38

                                                            04/15/2024                Suppliers or Vendors                                    $25,143.76

                                                            04/16/2024                Suppliers or Vendors                                     $7,839.53

                                                            04/18/2024                Suppliers or Vendors                                     $5,839.51

                                                            04/19/2024                Suppliers or Vendors                                     $4,738.32

                                                            04/22/2024                Suppliers or Vendors                                    $25,825.91

                                                            04/23/2024                Suppliers or Vendors                                     $7,593.90

                                                            04/25/2024                Suppliers or Vendors                                     $5,413.45

                                                            04/26/2024                Suppliers or Vendors                                     $3,667.57

                                                            04/29/2024                Suppliers or Vendors                                    $24,304.04

                                                            04/30/2024                Suppliers or Vendors                                     $7,035.86

                                                            05/01/2024                Suppliers or Vendors                                     $1,065.18

                                                            05/02/2024                Suppliers or Vendors                                     $6,984.39

                                                            05/03/2024                Suppliers or Vendors                                     $5,065.78

                                                            05/06/2024                Suppliers or Vendors                                    $24,370.31

                                                            05/07/2024                Suppliers or Vendors                                     $8,730.32

                                                            05/09/2024                Suppliers or Vendors                                     $6,763.04

                                                            05/10/2024                Suppliers or Vendors                                     $3,895.00

                                                            05/13/2024                Suppliers or Vendors                                    $25,785.13

                                                            05/14/2024                Suppliers or Vendors                                     $7,559.47

                                                            05/16/2024                Suppliers or Vendors                                     $6,042.15

                                                                                                                SUBTOTAL                     $588,434.28

LA JOLLA GROUP B LLC                                        03/04/2024                Other- Rent                                             $21,157.27
765 W HIGH ST
MANHEIM, PA 17545-1907
                                                            03/29/2024                Other- Rent                                             $21,157.27

                                                            04/30/2024                Other- Rent                                             $21,157.27

                                                                                                                SUBTOTAL                      $63,471.81

LAKE FOREST BANK AND TRUST                                  02/26/2024                Suppliers or Vendors                                   $338,323.72
COMPANY N A
DBA FIRST INSURANCE
FUNDING
450 SKOKIE BLVD STE 1000
NORTHBROOK, IL 60062-7917
                                                            03/29/2024                Suppliers or Vendors                                   $338,323.72



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/29/2024                Suppliers or Vendors                                    $338,323.72

                                                                                                                SUBTOTAL                     $1,014,971.16

LAKE PARK INVESTORS LLC                                     02/27/2024                Other- Rent                                               $8,679.15
3265 MERIDIAN PKWY STE 130
WESTON, FL 33331-3506
                                                                                                                SUBTOTAL                        $8,679.15

LAKNERS LANDSCAPING LLC                                     04/04/2024                Suppliers or Vendors                                      $7,500.00
PO BOX 530924
LIVONIA, MI 48153-0924
                                                            05/10/2024                Suppliers or Vendors                                      $2,500.00

                                                                                                                SUBTOTAL                       $10,000.00

LAMANNA LANDSCAPE &                                         04/18/2024                Suppliers or Vendors                                      $5,106.92
FERTILIZING COMPANY
3430 LAKE RIDGE DRIVE
MURRYSVILLE, PA 15668
                                                            04/25/2024                Suppliers or Vendors                                      $1,621.80

                                                            05/02/2024                Suppliers or Vendors                                      $2,160.00

                                                                                                                SUBTOTAL                        $8,888.72

LAND HOE MAINTENANCE LLC                                    02/27/2024                Suppliers or Vendors                                      $1,701.60
15 THORPE ST
DANBURY, CT 06810-4714
                                                            03/20/2024                Suppliers or Vendors                                      $1,701.60

                                                            04/09/2024                Suppliers or Vendors                                      $3,403.20

                                                            05/07/2024                Suppliers or Vendors                                      $1,701.60

                                                                                                                SUBTOTAL                        $8,508.00

NAME ON FILE                                                03/05/2024                Other- Rent                                               $6,875.00
ADDRESS ON FILE
                                                            04/02/2024                Other- Rent                                               $6,875.00

                                                            05/02/2024                Other- Rent                                               $6,875.00

                                                                                                                SUBTOTAL                       $20,625.00

LANSING RETAIL CENTER LLC                                   03/04/2024                Other- Rent                                               $7,354.15
PO BOX 789117
PHILADELPHIA, PA 19178-9117
                                                            03/29/2024                Other- Rent                                               $7,354.15

                                                            04/30/2024                Other- Rent                                               $7,354.15

                                                                                                                SUBTOTAL                       $22,062.45

LARCO MANAGEMENT LLC                                        03/04/2024                Other- Rent                                              $33,420.67
455 CENTRAL PARK AVENUE
SUITE 204
SCARSDALE, NY 10583
                                                            03/29/2024                Other- Rent                                              $33,420.67

                                                            04/30/2024                Other- Rent                                              $33,420.67

                                                                                                                SUBTOTAL                      $100,262.01




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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
LARIDAEL M BAXTER                                           02/23/2024                Other- Individual Miscellaneous                         $2,434.20
DBA PROTOCALL LLC
303 W LOOP 281
SUITE 110 PMB 149
LONGVIEW, TX 75605
                                                            03/08/2024                Other- Individual Miscellaneous                          $795.64

                                                            03/28/2024                Other- Individual Miscellaneous                         $2,134.69

                                                            04/25/2024                Other- Individual Miscellaneous                         $5,685.63

                                                            05/02/2024                Other- Individual Miscellaneous                         $1,804.86

                                                                                                                SUBTOTAL                     $12,855.02

LATINA BOULEVARD FOODS LLC                                  02/20/2024                Suppliers or Vendors                                    $5,344.88
DBA BOULEVARD PRODUCE
1 SCRIVNER DRIVE
SUITE 1
CHEEKTOWAGA, NY 14227
                                                            02/21/2024                Suppliers or Vendors                                    $1,632.44

                                                            02/26/2024                Suppliers or Vendors                                    $2,609.21

                                                            02/27/2024                Suppliers or Vendors                                    $2,953.02

                                                            02/28/2024                Suppliers or Vendors                                     $723.38

                                                            03/04/2024                Suppliers or Vendors                                    $1,678.96

                                                            03/06/2024                Suppliers or Vendors                                    $5,796.32

                                                            03/08/2024                Suppliers or Vendors                                     $574.32

                                                            03/11/2024                Suppliers or Vendors                                    $2,409.00

                                                            03/12/2024                Suppliers or Vendors                                    $3,447.30

                                                            03/14/2024                Suppliers or Vendors                                     $527.71

                                                            03/15/2024                Suppliers or Vendors                                    $1,371.66

                                                            03/18/2024                Suppliers or Vendors                                    $2,681.05

                                                            03/19/2024                Suppliers or Vendors                                     $414.30

                                                            03/21/2024                Suppliers or Vendors                                    $2,038.22

                                                            03/22/2024                Suppliers or Vendors                                     $827.51

                                                            03/25/2024                Suppliers or Vendors                                    $2,671.71

                                                            03/26/2024                Suppliers or Vendors                                     $953.58

                                                            03/28/2024                Suppliers or Vendors                                    $1,378.21

                                                            03/29/2024                Suppliers or Vendors                                     $876.48

                                                            04/01/2024                Suppliers or Vendors                                    $2,291.38

                                                            04/02/2024                Suppliers or Vendors                                    $1,323.31

                                                            04/04/2024                Suppliers or Vendors                                    $1,223.26

                                                            04/05/2024                Suppliers or Vendors                                     $659.98

                                                            04/08/2024                Suppliers or Vendors                                    $3,658.40

                                                            04/09/2024                Suppliers or Vendors                                     $351.95


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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/11/2024                Suppliers or Vendors                                     $473.82

                                                            04/12/2024                Suppliers or Vendors                                    $1,453.66

                                                            04/15/2024                Suppliers or Vendors                                    $2,216.30

                                                            04/16/2024                Suppliers or Vendors                                    $1,053.47

                                                            04/18/2024                Suppliers or Vendors                                    $1,169.23

                                                            04/19/2024                Suppliers or Vendors                                     $256.93

                                                            04/22/2024                Suppliers or Vendors                                    $2,843.35

                                                            04/23/2024                Suppliers or Vendors                                    $1,767.21

                                                            04/25/2024                Suppliers or Vendors                                     $545.82

                                                            04/26/2024                Suppliers or Vendors                                    $1,022.30

                                                            04/29/2024                Suppliers or Vendors                                    $2,219.53

                                                            04/30/2024                Suppliers or Vendors                                     $537.63

                                                            05/02/2024                Suppliers or Vendors                                    $1,367.60

                                                            05/03/2024                Suppliers or Vendors                                    $1,453.81

                                                            05/06/2024                Suppliers or Vendors                                    $2,236.49

                                                            05/07/2024                Suppliers or Vendors                                     $928.37

                                                            05/09/2024                Suppliers or Vendors                                    $1,445.51

                                                            05/10/2024                Suppliers or Vendors                                     $774.92

                                                            05/13/2024                Suppliers or Vendors                                    $2,224.27

                                                            05/14/2024                Suppliers or Vendors                                    $1,308.58

                                                            05/16/2024                Suppliers or Vendors                                    $1,068.51

                                                                                                                SUBTOTAL                     $78,784.85

NAME ON FILE                                                05/06/2024                Other- Individual Miscellaneous                         $8,305.00
ADDRESS ON FILE
                                                                                                                SUBTOTAL                      $8,305.00

LAUREL LAKES LLC                                            03/04/2024                Other- Rent                                            $13,293.72
C/O MARYLAND FINANCIAL
INVESTOR INC
2800 QUARRY LAKE DRIVE
SUITE 340
BALTIMORE, MD 21209
                                                            03/29/2024                Other- Rent                                            $13,293.72

                                                                                                                SUBTOTAL                     $26,587.44

LBX DEPTFORD TH LLC                                         03/04/2024                Other- Rent                                            $19,576.50
C/O LBX MANAGEMENT LLC
PO BOX 67334
NEWARK, NJ 07101-4007
                                                            03/29/2024                Other- Rent                                            $17,507.95

                                                            04/03/2024                Other- Rent                                             $6,150.52

                                                            04/17/2024                Other- Rent                                             $1,663.00

                                                            04/30/2024                Other- Rent                                            $20,408.00

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number

                                                                                                                SUBTOTAL                      $65,305.97

LEDGEWOOD OUTPARCEL                                         03/04/2024                Other- Rent                                              $8,224.07
INVESTORS LLC
C/O ADVANCE REALTY
MANAGEMENT
1430 US HIGHWAY 206 STE 100
BRIDGEWATER, NJ 07921-4602
                                                            03/29/2024                Other- Rent                                              $8,224.07

                                                                                                                SUBTOTAL                      $16,448.14

LEHIGH VALLEY ASSOCIATES                                    03/05/2024                Other- Rent                                             $13,611.34
DBA LEHIGH VALLEY MALL LLC
PO BOX 829446
PHILADELPHIA, PA 19182-9446
                                                            04/01/2024                Other- Rent                                             $13,611.34

                                                            04/30/2024                Other- Rent                                             $13,611.34

                                                                                                                SUBTOTAL                      $40,834.02

NAME ON FILE                                                03/18/2024                Other- Rent                                             $16,432.52
ADDRESS ON FILE
                                                            04/02/2024                Other- Rent                                             $16,432.52

                                                            05/08/2024                Other- Rent                                             $16,432.52

                                                                                                                SUBTOTAL                      $49,297.56

NAME ON FILE                                                03/04/2024                Other- Rent                                             $61,254.19
ADDRESS ON FILE
                                                            03/29/2024                Other- Rent                                             $61,254.19

                                                            04/30/2024                Other- Rent                                             $61,254.19

                                                                                                                SUBTOTAL                     $183,762.57

LEVY FAMILY LIMITED                                         03/04/2024                Other- Rent                                             $25,230.89
PARTNERSHIP
C/O HOLLAND & KNIGHT LLP
800 17TH STREET NW
SUITE 1100
WASHINGTON, DC 20006
                                                            03/29/2024                Other- Rent                                             $25,230.89

                                                            04/30/2024                Other- Rent                                             $25,230.89

                                                                                                                SUBTOTAL                      $75,692.67

LIBERTY FRUIT CO INC                                        02/20/2024                Suppliers or Vendors                                    $15,028.96
1247 ARGENTINE BLVD
KANSAS CITY, KS 66105
                                                            02/21/2024                Suppliers or Vendors                                     $4,931.95

                                                            02/22/2024                Suppliers or Vendors                                     $1,666.72

                                                            02/23/2024                Suppliers or Vendors                                     $8,267.73

                                                            02/26/2024                Suppliers or Vendors                                     $1,159.88

                                                            02/27/2024                Suppliers or Vendors                                    $15,884.42

                                                            02/28/2024                Suppliers or Vendors                                     $4,714.98

                                                            02/29/2024                Suppliers or Vendors                                      $607.77


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/04/2024                Suppliers or Vendors                                    $7,085.78

                                                            03/06/2024                Suppliers or Vendors                                   $17,913.39

                                                            03/07/2024                Suppliers or Vendors                                     $944.64

                                                            03/08/2024                Suppliers or Vendors                                    $4,266.57

                                                            03/11/2024                Suppliers or Vendors                                    $3,580.30

                                                            03/12/2024                Suppliers or Vendors                                   $19,068.67

                                                            03/13/2024                Suppliers or Vendors                                    $1,215.55

                                                            03/14/2024                Suppliers or Vendors                                    $5,089.09

                                                            03/15/2024                Suppliers or Vendors                                    $1,730.45

                                                            03/18/2024                Suppliers or Vendors                                   $14,488.31

                                                            03/19/2024                Suppliers or Vendors                                    $3,620.40

                                                            03/20/2024                Suppliers or Vendors                                    $1,765.71

                                                            03/21/2024                Suppliers or Vendors                                    $4,463.51

                                                            03/22/2024                Suppliers or Vendors                                    $1,757.66

                                                            03/25/2024                Suppliers or Vendors                                   $13,587.66

                                                            03/26/2024                Suppliers or Vendors                                    $4,131.35

                                                            03/27/2024                Suppliers or Vendors                                    $1,381.72

                                                            03/28/2024                Suppliers or Vendors                                    $4,241.51

                                                            03/29/2024                Suppliers or Vendors                                    $1,323.30

                                                            04/01/2024                Suppliers or Vendors                                   $13,676.13

                                                            04/02/2024                Suppliers or Vendors                                    $1,831.37

                                                            04/03/2024                Suppliers or Vendors                                     $973.77

                                                            04/04/2024                Suppliers or Vendors                                    $5,067.98

                                                            04/05/2024                Suppliers or Vendors                                    $1,616.09

                                                            04/08/2024                Suppliers or Vendors                                   $13,915.01

                                                            04/09/2024                Suppliers or Vendors                                    $3,841.26

                                                            04/10/2024                Suppliers or Vendors                                     $904.81

                                                            04/11/2024                Suppliers or Vendors                                    $4,767.51

                                                            04/12/2024                Suppliers or Vendors                                    $1,336.54

                                                            04/15/2024                Suppliers or Vendors                                   $13,982.00

                                                            04/16/2024                Suppliers or Vendors                                    $3,451.06

                                                            04/17/2024                Suppliers or Vendors                                     $994.07

                                                            04/18/2024                Suppliers or Vendors                                    $3,237.99

                                                            04/19/2024                Suppliers or Vendors                                     $682.95

                                                            04/22/2024                Suppliers or Vendors                                   $13,213.37

                                                            04/23/2024                Suppliers or Vendors                                    $4,915.37

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/24/2024                Suppliers or Vendors                                      $932.79

                                                            04/25/2024                Suppliers or Vendors                                     $3,583.32

                                                            04/26/2024                Suppliers or Vendors                                     $1,417.17

                                                            04/29/2024                Suppliers or Vendors                                    $11,432.91

                                                            04/30/2024                Suppliers or Vendors                                     $3,192.70

                                                            05/01/2024                Suppliers or Vendors                                      $832.60

                                                            05/02/2024                Suppliers or Vendors                                     $5,030.16

                                                            05/03/2024                Suppliers or Vendors                                      $880.31

                                                            05/06/2024                Suppliers or Vendors                                    $11,307.36

                                                            05/07/2024                Suppliers or Vendors                                     $2,296.59

                                                            05/08/2024                Suppliers or Vendors                                      $773.97

                                                            05/09/2024                Suppliers or Vendors                                     $3,815.00

                                                            05/10/2024                Suppliers or Vendors                                     $1,281.97

                                                            05/13/2024                Suppliers or Vendors                                    $11,247.32

                                                            05/14/2024                Suppliers or Vendors                                     $4,082.63

                                                            05/15/2024                Suppliers or Vendors                                      $897.76

                                                            05/16/2024                Suppliers or Vendors                                     $5,139.24

                                                                                                                SUBTOTAL                     $320,469.06

LIBERTY MUTUAL INSURANCE                                    02/20/2024                Suppliers or Vendors                                     $5,049.79
CO
PO BOX 1449
NEW YORK, NY 10116-1449
                                                            03/15/2024                Suppliers or Vendors                                     $7,341.33

                                                            04/12/2024                Suppliers or Vendors                                     $5,637.63

                                                                                                                SUBTOTAL                      $18,028.75

LIFEWORKS US LTD                                            03/07/2024                Suppliers or Vendors                                     $6,988.79
LBX# 1663 PO BOX 95000
PHILADELPHIA, PA 19195-0001
                                                            04/01/2024                Suppliers or Vendors                                     $7,133.63

                                                            04/30/2024                Suppliers or Vendors                                     $7,268.95

                                                                                                                SUBTOTAL                      $21,391.37

LIMESTONE REDLOB LLC                                        03/04/2024                Other- Rent                                             $37,176.13
C/O OIMC
200 SOUTH BISCAYNE BLVD
SIXTH FLOOR
MIAMI, FL 33131
                                                            03/29/2024                Other- Rent                                             $37,176.13

                                                            04/30/2024                Other- Rent                                             $37,176.13

                                                                                                                SUBTOTAL                     $111,528.39

LINCOLN CENTER LLC                                          03/01/2024                Other- Rent                                             $21,175.00
3211 PAYSPHERE CIRCLE
CHICAGO, IL 60674
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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/01/2024                Other- Rent                                             $21,175.00

                                                            04/26/2024                Other- Rent                                             $30,544.12

                                                            04/29/2024                Other- Rent                                             $21,175.00

                                                                                                                SUBTOTAL                      $94,069.12

LINCOLN FINANCIAL GROUP                                     03/01/2024                Suppliers or Vendors                                   $145,941.38

                                                            03/28/2024                Suppliers or Vendors                                   $143,634.33

                                                            04/30/2024                Suppliers or Vendors                                   $141,651.90

                                                                                                                SUBTOTAL                     $431,227.61

LINCOLN HOLDINGS LLC                                        02/29/2024                Other- Rent                                             $23,116.16
2760 W 110TH COURT
WESTMINSTER, CO 80234
                                                            03/29/2024                Other- Rent                                             $23,116.16

                                                            04/30/2024                Other- Rent                                             $23,116.16

                                                                                                                SUBTOTAL                      $69,348.48

NAME ON FILE                                                03/04/2024                Other- Rent                                             $22,195.60
ADDRESS ON FILE
                                                            03/29/2024                Other- Rent                                             $22,195.60

                                                            04/30/2024                Other- Rent                                             $22,195.60

                                                                                                                SUBTOTAL                      $66,586.80

LINEAGE LOGISTICS FREEZER                                   02/23/2024                Suppliers or Vendors                                     $2,545.13

                                                            03/01/2024                Suppliers or Vendors                                     $2,225.94

                                                            03/08/2024                Suppliers or Vendors                                      $905.58

                                                            03/21/2024                Suppliers or Vendors                                     $1,688.16

                                                            03/28/2024                Suppliers or Vendors                                     $1,451.43

                                                            04/11/2024                Suppliers or Vendors                                     $1,277.23

                                                            04/18/2024                Suppliers or Vendors                                      $302.28

                                                            04/25/2024                Suppliers or Vendors                                      $160.03

                                                            05/02/2024                Suppliers or Vendors                                      $958.34

                                                            05/09/2024                Suppliers or Vendors                                       $61.34

                                                            05/16/2024                Suppliers or Vendors                                      $844.08

                                                                                                                SUBTOTAL                      $12,419.54

LMI SYSTEMS INC                                             03/08/2024                Suppliers or Vendors                                    $11,558.42
4680 N ROYAL ATLANTA ROAD
TUCKER, GA 30084
                                                                                                                SUBTOTAL                      $11,558.42

LOBSTER BUILDING                                            03/04/2024                Other- Rent                                             $17,460.32
15528 SE ANDEREGG PARKWAY
DAMASCUS, OR 97089
                                                            03/29/2024                Other- Rent                                             $17,460.32



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/30/2024                Other- Rent                                            $17,460.32

                                                                                                                SUBTOTAL                     $52,380.96

LOBZONA LLC                                                 03/04/2024                Other- Rent                                            $10,044.58
222 GRAND AVENUE
ENGLEWOOD, NJ 07631
                                                            03/29/2024                Other- Rent                                            $10,044.58

                                                            04/30/2024                Other- Rent                                            $10,044.58

                                                                                                                SUBTOTAL                     $30,133.74

LOD JACKSONVILLE LLC                                        03/04/2024                Other- Rent                                            $18,958.93
450 SEVILLA AVE
CORAL GABLES, FL 33134
                                                            03/29/2024                Other- Rent                                            $18,958.93

                                                                                                                SUBTOTAL                     $37,917.86

LODESTRO INC                                                02/23/2024                Suppliers or Vendors                                    $1,090.00
DBA AMERICA CARPET
CLEANING
1918 ALTON DR
CLEARWATER, FL 33763-2206
                                                            03/08/2024                Suppliers or Vendors                                    $8,705.00

                                                            03/28/2024                Suppliers or Vendors                                    $3,110.00

                                                                                                                SUBTOTAL                     $12,905.00

LOGAN CLARK III                                             02/20/2024                Suppliers or Vendors                                   $33,715.34
DBA FIRST LIGHT SEAFOOD INC
290 SHORE RD
BOURNE, MA 02532-4104
                                                            02/21/2024                Suppliers or Vendors                                    $6,496.80

                                                            02/22/2024                Suppliers or Vendors                                    $8,584.79

                                                            02/23/2024                Suppliers or Vendors                                    $8,100.44

                                                            02/26/2024                Suppliers or Vendors                                    $4,443.12

                                                            02/27/2024                Suppliers or Vendors                                   $15,789.52

                                                            02/28/2024                Suppliers or Vendors                                    $4,962.36

                                                            02/29/2024                Suppliers or Vendors                                    $9,735.08

                                                            03/04/2024                Suppliers or Vendors                                   $14,957.22

                                                            03/06/2024                Suppliers or Vendors                                   $16,964.47

                                                            03/07/2024                Suppliers or Vendors                                    $4,494.70

                                                            03/08/2024                Suppliers or Vendors                                    $2,361.15

                                                            03/11/2024                Suppliers or Vendors                                    $4,422.10

                                                            03/12/2024                Suppliers or Vendors                                   $25,232.71

                                                            03/13/2024                Suppliers or Vendors                                    $2,018.81

                                                            03/14/2024                Suppliers or Vendors                                    $8,018.12

                                                            03/15/2024                Suppliers or Vendors                                    $4,212.48

                                                            03/18/2024                Suppliers or Vendors                                   $20,407.29

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/19/2024                Suppliers or Vendors                                    $1,712.47

                                                            03/20/2024                Suppliers or Vendors                                    $5,297.00

                                                            03/21/2024                Suppliers or Vendors                                    $6,223.45

                                                            03/22/2024                Suppliers or Vendors                                    $4,020.70

                                                            03/25/2024                Suppliers or Vendors                                   $18,964.10

                                                            03/26/2024                Suppliers or Vendors                                    $3,433.69

                                                            03/27/2024                Suppliers or Vendors                                    $3,519.75

                                                            03/28/2024                Suppliers or Vendors                                    $1,289.95

                                                            03/29/2024                Suppliers or Vendors                                   $12,386.78

                                                            04/01/2024                Suppliers or Vendors                                   $23,466.93

                                                            04/02/2024                Suppliers or Vendors                                    $2,829.58

                                                            04/03/2024                Suppliers or Vendors                                    $4,479.70

                                                            04/04/2024                Suppliers or Vendors                                    $3,433.04

                                                            04/05/2024                Suppliers or Vendors                                    $6,923.31

                                                            04/08/2024                Suppliers or Vendors                                   $11,982.36

                                                            04/09/2024                Suppliers or Vendors                                    $2,526.24

                                                            04/10/2024                Suppliers or Vendors                                    $6,592.04

                                                            04/11/2024                Suppliers or Vendors                                    $4,695.68

                                                            04/12/2024                Suppliers or Vendors                                    $2,655.84

                                                            04/15/2024                Suppliers or Vendors                                   $17,306.99

                                                            04/16/2024                Suppliers or Vendors                                    $1,326.54

                                                            04/17/2024                Suppliers or Vendors                                     $470.16

                                                            04/18/2024                Suppliers or Vendors                                    $2,552.40

                                                            04/19/2024                Suppliers or Vendors                                    $1,224.68

                                                            04/22/2024                Suppliers or Vendors                                   $15,638.12

                                                            04/23/2024                Suppliers or Vendors                                    $2,379.73

                                                            04/24/2024                Suppliers or Vendors                                    $5,346.69

                                                            04/25/2024                Suppliers or Vendors                                    $3,237.10

                                                            04/26/2024                Suppliers or Vendors                                    $4,348.61

                                                            04/29/2024                Suppliers or Vendors                                   $15,973.69

                                                            04/30/2024                Suppliers or Vendors                                     $383.15

                                                            05/01/2024                Suppliers or Vendors                                    $1,515.40

                                                            05/02/2024                Suppliers or Vendors                                    $5,145.76

                                                            05/03/2024                Suppliers or Vendors                                    $5,328.61

                                                            05/06/2024                Suppliers or Vendors                                   $16,414.80

                                                            05/07/2024                Suppliers or Vendors                                    $1,671.75

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            05/08/2024                Suppliers or Vendors                                     $8,975.01

                                                            05/09/2024                Suppliers or Vendors                                     $6,685.38

                                                            05/10/2024                Suppliers or Vendors                                     $8,312.75

                                                            05/13/2024                Suppliers or Vendors                                    $27,133.28

                                                            05/14/2024                Suppliers or Vendors                                     $8,176.18

                                                            05/15/2024                Suppliers or Vendors                                     $2,598.15

                                                            05/16/2024                Suppliers or Vendors                                     $2,573.28

                                                                                                                SUBTOTAL                     $486,067.32

LOMPOCK JACK LLC                                            03/04/2024                Other- Rent                                              $6,199.68
15915 VENTURA BOULEVARD
PH2
ENCINO, CA 91436-4439
                                                            03/29/2024                Other- Rent                                              $6,199.68

                                                            04/30/2024                Other- Rent                                              $6,199.68

                                                                                                                SUBTOTAL                      $18,599.04

LOOMIS                                                      03/08/2024                Suppliers or Vendors                                    $53,344.98
2500 CITYWEST BLVD
SUITE 900
HOUSTON, TX 77042
                                                            04/04/2024                Suppliers or Vendors                                    $54,542.75

                                                            05/02/2024                Suppliers or Vendors                                    $52,935.21

                                                            05/16/2024                Suppliers or Vendors                                    $52,655.31

                                                                                                                SUBTOTAL                     $213,478.25

LOUIS WINTERMEYER                                           03/04/2024                Other- Rent                                             $32,493.22
DBA RL 4010 LLC
893 ROUTE 9W S
NYACK, NY 10960-5012
                                                            03/29/2024                Other- Rent                                             $32,493.22

                                                                                                                SUBTOTAL                      $64,986.44

LOYAL PLAZA SC REALTY FUND                                  02/29/2024                Other- Rent                                              $9,266.67
LLC
DBA LOYAL PLAZA SC LLC
C/O FIRST NATIONAL PROPERTY
MANAGEMENT LLC
151 BODMAN PL STE 201
RED BANK, NJ 07701-1064
                                                            04/04/2024                Other- Rent                                              $9,266.67

                                                            05/03/2024                Other- Rent                                              $9,266.67

                                                                                                                SUBTOTAL                      $27,800.01

LPRE HOLDINGS LLC                                           03/04/2024                Other- Rent                                             $28,402.44
1411 W 190TH ST STE 465
GARDENA, CA 90248-4373
                                                            03/29/2024                Other- Rent                                             $28,402.44

                                                            04/30/2024                Other- Rent                                             $28,402.44

                                                                                                                SUBTOTAL                      $85,207.32

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
LSG1 CROSSROADS SQUARE                                      05/07/2024                Other- Rent                                             $7,662.97
LLC
PO BOX 31232
TAMPA, FL 33631-3232
                                                                                                                SUBTOTAL                      $7,662.97

LTH INVESTMENTS LLC                                         03/07/2024                Other- Rent                                            $21,465.17
4422 DURHAM CHAPEL HILL
BLVD
DURHAM, NC 27707-2509
                                                            04/30/2024                Other- Rent                                            $21,465.17

                                                                                                                SUBTOTAL                     $42,930.34

LUKES LOBSTER ME LLC                                        02/20/2024                Suppliers or Vendors                                    $2,018.16
DBA LUKES LOBSTER
84 INDUSTRIAL PARK RD
SACO, ME 04072-1840
                                                            02/21/2024                Suppliers or Vendors                                    $3,169.23

                                                            02/22/2024                Suppliers or Vendors                                    $4,564.69

                                                            02/23/2024                Suppliers or Vendors                                    $2,384.26

                                                            02/26/2024                Suppliers or Vendors                                    $1,297.09

                                                            02/27/2024                Suppliers or Vendors                                    $1,399.86

                                                            02/28/2024                Suppliers or Vendors                                    $6,381.36

                                                            02/29/2024                Suppliers or Vendors                                    $2,019.06

                                                            03/04/2024                Suppliers or Vendors                                    $5,499.98

                                                            03/06/2024                Suppliers or Vendors                                   $10,763.81

                                                            03/07/2024                Suppliers or Vendors                                    $5,567.85

                                                            03/08/2024                Suppliers or Vendors                                    $1,093.58

                                                            03/12/2024                Suppliers or Vendors                                    $3,525.64

                                                            03/13/2024                Suppliers or Vendors                                    $2,987.65

                                                            03/14/2024                Suppliers or Vendors                                    $1,648.06

                                                            03/15/2024                Suppliers or Vendors                                     $842.97

                                                            03/18/2024                Suppliers or Vendors                                     $847.52

                                                            03/19/2024                Suppliers or Vendors                                    $2,936.06

                                                            03/20/2024                Suppliers or Vendors                                    $5,249.67

                                                            03/21/2024                Suppliers or Vendors                                    $1,170.74

                                                            03/22/2024                Suppliers or Vendors                                    $4,928.38

                                                            03/25/2024                Suppliers or Vendors                                    $1,647.42

                                                            03/26/2024                Suppliers or Vendors                                    $6,334.06

                                                            03/27/2024                Suppliers or Vendors                                    $4,601.64

                                                            03/28/2024                Suppliers or Vendors                                    $2,004.02

                                                            03/29/2024                Suppliers or Vendors                                    $1,934.26

                                                            04/01/2024                Suppliers or Vendors                                     $607.30

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Debtor Name: Red Lobster Management LLC                                                                                   Case Number: 24-02486

                                      Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                           SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address           Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                  Number
                                                             04/02/2024                Suppliers or Vendors                                     $4,949.90

                                                             04/03/2024                Suppliers or Vendors                                     $6,888.38

                                                             04/04/2024                Suppliers or Vendors                                     $2,093.05

                                                             04/05/2024                Suppliers or Vendors                                      $289.33

                                                             04/08/2024                Suppliers or Vendors                                      $322.85

                                                             04/09/2024                Suppliers or Vendors                                     $3,403.32

                                                             04/10/2024                Suppliers or Vendors                                     $3,443.48

                                                             04/11/2024                Suppliers or Vendors                                      $640.82

                                                             04/12/2024                Suppliers or Vendors                                     $2,584.46

                                                             04/15/2024                Suppliers or Vendors                                      $928.41

                                                             04/16/2024                Suppliers or Vendors                                     $3,172.23

                                                             04/17/2024                Suppliers or Vendors                                     $1,648.61

                                                             04/19/2024                Suppliers or Vendors                                     $3,899.32

                                                             04/22/2024                Suppliers or Vendors                                     $1,447.43

                                                             04/23/2024                Suppliers or Vendors                                     $5,156.48

                                                             04/24/2024                Suppliers or Vendors                                     $1,462.82

                                                             04/25/2024                Suppliers or Vendors                                     $1,631.35

                                                             04/29/2024                Suppliers or Vendors                                     $1,600.03

                                                             04/30/2024                Suppliers or Vendors                                     $8,236.55

                                                             05/01/2024                Suppliers or Vendors                                     $4,281.28

                                                             05/02/2024                Suppliers or Vendors                                     $2,915.18

                                                             05/03/2024                Suppliers or Vendors                                     $3,870.75

                                                             05/06/2024                Suppliers or Vendors                                     $2,102.80

                                                             05/07/2024                Suppliers or Vendors                                     $1,077.95

                                                             05/14/2024                Suppliers or Vendors                                    $15,749.97

                                                                                                                 SUBTOTAL                     $171,221.07

LUXONE LLC                                                   03/04/2024                Other- Rent                                             $32,180.03
572 CHIMALUS DR
PALO ALTO, CA 94306-2707
                                                             03/29/2024                Other- Rent                                             $32,180.03

                                                                                                                 SUBTOTAL                      $64,360.06

MACWH LP                                                     03/04/2024                Other- Rent                                             $30,421.86
DBA VALLEY STREAM GREEN
ACRES LLC
PO BOX 29650
LOCKBOX #880508
PHOENIX, AZ 85038-9650
                                                             03/29/2024                Other- Rent                                             $30,421.86

                                                             04/17/2024                Other- Rent                                             $15,508.23



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/30/2024                Other- Rent                                             $30,421.86

                                                                                                                SUBTOTAL                     $106,773.81

MACYS INC                                                   03/04/2024                Other- Rent                                             $16,734.17
DBA MACYS RETAIL HOLDINGS
LLC
145 PROGRESS PL
SPRINGDALE, OH 45246-1717
                                                            03/29/2024                Other- Rent                                             $16,734.17

                                                            04/30/2024                Other- Rent                                             $16,734.17

                                                                                                                SUBTOTAL                      $50,202.51

MADDEN FAMILY LLC NO 3                                      02/28/2024                Other- Rent                                             $12,604.17
HAMBURG PLACE
PO BOX 12128
LEXINGTON, KY 40580
                                                            04/02/2024                Other- Rent                                             $12,604.17

                                                            05/01/2024                Other- Rent                                             $12,604.17

                                                                                                                SUBTOTAL                      $37,812.51

MAIN & MAIN DEL PASO LLC                                    03/04/2024                Other- Rent                                             $11,212.50
2404 ALMA AVE
MANHATTAN BEACH, CA
90266-4340
                                                            03/29/2024                Other- Rent                                             $11,212.50

                                                            04/30/2024                Other- Rent                                             $11,212.50

                                                                                                                SUBTOTAL                      $33,637.50

MAINSAIL HOUSING PARTNERS                                   05/03/2024                Suppliers or Vendors                                     $8,704.80
LLC
DBA MAINSAIL CORPORATE
HOUSING
4602 EISENHOWER BLVD
TAMPA, FL 33634-6359
                                                                                                                SUBTOTAL                       $8,704.80

MAJESTIC CLEANING INC                                       02/27/2024                Suppliers or Vendors                                     $4,779.62
PO BOX 520
NORTH BELLMORE, NY 11710
                                                            03/12/2024                Suppliers or Vendors                                     $4,942.93

                                                            04/03/2024                Suppliers or Vendors                                    $10,329.93

                                                            05/02/2024                Suppliers or Vendors                                     $4,160.59

                                                                                                                SUBTOTAL                      $24,213.07

MALL OF SOUTH CAROLINA                                      02/29/2024                Other- Rent                                             $14,419.17
OUTPARCEL LP
PO BOX 746204
ATLANTA, GA 30374-6204
                                                            04/03/2024                Other- Rent                                             $14,419.17

                                                            04/30/2024                Other- Rent                                             $14,419.17

                                                                                                                SUBTOTAL                      $43,257.51

NAME ON FILE                                                02/22/2024                Other- Employee Expense                                  $1,029.12
ADDRESS ON FILE                                                                       Reimbursement

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/12/2024                Other- Employee Expense                                  $926.21
                                                                                      Reimbursement
                                                            05/01/2024                Other- Employee Expense                                 $6,697.40
                                                                                      Reimbursement
                                                                                                                SUBTOTAL                      $8,652.73

MANHATTAN 338 CORP                                          03/04/2024                Other- Rent                                            $25,067.51
C/O RL1AK LLC
PO BOX 124
MAMARONECK, NY 10543-0124
                                                            03/29/2024                Other- Rent                                            $25,067.51

                                                            04/30/2024                Other- Rent                                            $25,067.51

                                                                                                                SUBTOTAL                     $75,202.53

MANSON PRODUCTS CO INC                                      02/20/2024                Suppliers or Vendors                                    $1,609.82
1618 KALANI STREET
HONOLULU, HI 96817
                                                            02/23/2024                Suppliers or Vendors                                    $1,015.26

                                                            02/27/2024                Suppliers or Vendors                                    $2,369.42

                                                            03/04/2024                Suppliers or Vendors                                    $1,163.44

                                                            03/06/2024                Suppliers or Vendors                                    $2,174.36

                                                            03/12/2024                Suppliers or Vendors                                    $3,006.25

                                                            03/14/2024                Suppliers or Vendors                                     $652.28

                                                            03/18/2024                Suppliers or Vendors                                    $1,882.37

                                                            03/21/2024                Suppliers or Vendors                                    $1,114.47

                                                            03/25/2024                Suppliers or Vendors                                    $1,632.93

                                                            03/26/2024                Suppliers or Vendors                                       $22.86

                                                            03/28/2024                Suppliers or Vendors                                     $703.32

                                                            04/01/2024                Suppliers or Vendors                                    $1,852.95

                                                            04/02/2024                Suppliers or Vendors                                     $517.77

                                                            04/04/2024                Suppliers or Vendors                                     $491.92

                                                            04/08/2024                Suppliers or Vendors                                    $1,246.92

                                                            04/11/2024                Suppliers or Vendors                                    $1,159.58

                                                            04/12/2024                Suppliers or Vendors                                       $11.32

                                                            04/15/2024                Suppliers or Vendors                                    $1,364.32

                                                            04/18/2024                Suppliers or Vendors                                     $586.59

                                                            04/19/2024                Suppliers or Vendors                                     $727.34

                                                            04/22/2024                Suppliers or Vendors                                    $1,093.04

                                                            04/25/2024                Suppliers or Vendors                                     $978.16

                                                            04/29/2024                Suppliers or Vendors                                    $1,748.10

                                                            05/01/2024                Suppliers or Vendors                                     $247.07

                                                            05/02/2024                Suppliers or Vendors                                     $399.36


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            05/03/2024                Suppliers or Vendors                                       $41.70

                                                            05/06/2024                Suppliers or Vendors                                     $2,527.77

                                                            05/07/2024                Suppliers or Vendors                                       $28.85

                                                            05/09/2024                Suppliers or Vendors                                      $736.09

                                                            05/10/2024                Suppliers or Vendors                                      $189.40

                                                            05/13/2024                Suppliers or Vendors                                     $1,029.13

                                                            05/16/2024                Suppliers or Vendors                                     $1,462.38

                                                                                                                SUBTOTAL                      $35,786.54

MARINE IRON & SHIP BLDG CO                                  03/04/2024                Other- Rent                                             $15,161.68
INC
C/O ENCOMPASS REAL ESTATE
INVESTMENT SERVICES
306 W MICHIGAN ST STE 300
DULUTH, MN 55802-1648
                                                            04/11/2024                Other- Rent                                             $15,161.68

                                                            05/02/2024                Other- Rent                                             $15,161.68

                                                            05/15/2024                Other- Rent                                             $55,582.60

                                                                                                                SUBTOTAL                     $101,067.64

MARION PLAZA ASSOCIATES LP                                  03/07/2024                Other- Rent                                              $3,647.39
DBA MADISON ACQUISITIONS
LLC
4041 LIBERTY AVE STE 201
PITTSBURGH, PA 15224-1459
                                                            04/04/2024                Other- Rent                                             $15,339.51

                                                            05/03/2024                Other- Rent                                              $3,647.39

                                                                                                                SUBTOTAL                      $22,634.29

NAME ON FILE                                                03/04/2024                Other- Rent                                             $25,258.74
ADDRESS ON FILE
                                                            03/29/2024                Other- Rent                                             $25,258.74

                                                                                                                SUBTOTAL                      $50,517.48

NAME ON FILE                                                03/04/2024                Other- Rent                                             $22,315.74
ADDRESS ON FILE
                                                            03/29/2024                Other- Rent                                             $22,315.74

                                                            04/30/2024                Other- Rent                                             $22,315.74

                                                                                                                SUBTOTAL                      $66,947.22

MARLAND LIMITED                                             02/21/2024                Other- Rent                                              $4,609.36
PARTNERSHIP
450 CLEM RD
GREENWOOD, SC 29649-8546
                                                            03/05/2024                Other- Rent                                              $4,609.36

                                                            04/09/2024                Other- Rent                                              $4,609.36

                                                            04/30/2024                Other- Rent                                              $4,609.36

                                                                                                                SUBTOTAL                      $18,437.44


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
MARSH USA INC                                               03/04/2024                Suppliers or Vendors                                    $89,709.00
PO BOX 846015
DALLAS, TX 752846015
                                                            03/11/2024                Suppliers or Vendors                                     $3,023.82

                                                            03/13/2024                Suppliers or Vendors                                    $39,607.32

                                                            03/25/2024                Suppliers or Vendors                                     $1,050.00

                                                            05/08/2024                Suppliers or Vendors                                   $772,648.60

                                                                                                                SUBTOTAL                     $906,038.74

MARVIN H GEISTLINGER                                        03/04/2024                Other- Rent                                             $14,078.76
DBA & LINDA J GEISTLINGER
CO-TRUSTEE
MARVIN & LINDA GEISTLINGER
REVOCABLE TRUST
343 BELHAVEN CIR
SANTA ROSA, CA 95409-6004
                                                            03/29/2024                Other- Rent                                             $14,078.76

                                                                                                                SUBTOTAL                      $28,157.52

MASTER DRY CLEANING &                                       02/23/2024                Suppliers or Vendors                                     $6,760.00
RESTORATION INC
17541 LONG RIDGE DRIVE
MONTVERDE, FL 34756
                                                            03/13/2024                Suppliers or Vendors                                     $2,569.50

                                                            04/25/2024                Suppliers or Vendors                                     $2,295.00

                                                                                                                SUBTOTAL                      $11,624.50

MAYER LLP                                                   05/08/2024                Services                                                $11,302.77
750 N SAINT PAUL ST STE 700
DALLAS, TX 75201-3207
                                                            05/19/2024                Services                                                $17,089.35

                                                                                                                SUBTOTAL                      $28,392.12

MC BUILDERS LLC                                             02/23/2024                Suppliers or Vendors                                     $6,504.35
1229 LATTA ST
CHATTANOOGA, TN 37406-3746
                                                            03/21/2024                Suppliers or Vendors                                    $14,722.40

                                                            04/18/2024                Suppliers or Vendors                                     $2,085.00

                                                                                                                SUBTOTAL                      $23,311.75

NAME ON FILE                                                02/20/2024                Suppliers or Vendors                                    $19,400.28
ADDRESS ON FILE
                                                            02/21/2024                Suppliers or Vendors                                     $4,043.39

                                                            02/23/2024                Suppliers or Vendors                                     $9,749.80

                                                            02/26/2024                Suppliers or Vendors                                     $4,093.49

                                                            02/27/2024                Suppliers or Vendors                                    $17,845.01

                                                            02/28/2024                Suppliers or Vendors                                     $3,489.60

                                                            03/04/2024                Suppliers or Vendors                                     $9,059.11

                                                            03/06/2024                Suppliers or Vendors                                    $20,183.55

                                                            03/08/2024                Suppliers or Vendors                                     $6,629.07

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/11/2024                Suppliers or Vendors                                    $1,817.30

                                                            03/12/2024                Suppliers or Vendors                                   $20,523.99

                                                            03/14/2024                Suppliers or Vendors                                    $6,758.53

                                                            03/15/2024                Suppliers or Vendors                                    $1,681.13

                                                            03/18/2024                Suppliers or Vendors                                   $16,027.63

                                                            03/19/2024                Suppliers or Vendors                                    $3,369.93

                                                            03/21/2024                Suppliers or Vendors                                    $5,850.23

                                                            03/22/2024                Suppliers or Vendors                                    $1,720.58

                                                            03/25/2024                Suppliers or Vendors                                   $15,584.22

                                                            03/26/2024                Suppliers or Vendors                                    $3,442.36

                                                            03/28/2024                Suppliers or Vendors                                    $5,598.27

                                                            03/29/2024                Suppliers or Vendors                                    $1,926.61

                                                            04/01/2024                Suppliers or Vendors                                   $16,997.98

                                                            04/02/2024                Suppliers or Vendors                                    $3,815.29

                                                            04/04/2024                Suppliers or Vendors                                    $5,119.86

                                                            04/05/2024                Suppliers or Vendors                                    $1,133.78

                                                            04/08/2024                Suppliers or Vendors                                   $13,865.56

                                                            04/09/2024                Suppliers or Vendors                                    $3,707.91

                                                            04/10/2024                Suppliers or Vendors                                     $612.70

                                                            04/11/2024                Suppliers or Vendors                                    $5,984.18

                                                            04/12/2024                Suppliers or Vendors                                    $1,848.59

                                                            04/15/2024                Suppliers or Vendors                                   $11,641.10

                                                            04/16/2024                Suppliers or Vendors                                    $3,865.48

                                                            04/18/2024                Suppliers or Vendors                                    $5,358.57

                                                            04/19/2024                Suppliers or Vendors                                    $1,879.19

                                                            04/22/2024                Suppliers or Vendors                                   $13,603.77

                                                            04/23/2024                Suppliers or Vendors                                    $3,315.42

                                                            04/24/2024                Suppliers or Vendors                                     $474.90

                                                            04/25/2024                Suppliers or Vendors                                    $4,638.79

                                                            04/26/2024                Suppliers or Vendors                                    $1,392.44

                                                            04/29/2024                Suppliers or Vendors                                   $14,375.95

                                                            04/30/2024                Suppliers or Vendors                                    $4,018.01

                                                            05/02/2024                Suppliers or Vendors                                    $4,465.38

                                                            05/03/2024                Suppliers or Vendors                                    $1,980.24

                                                            05/06/2024                Suppliers or Vendors                                   $13,379.96

                                                            05/07/2024                Suppliers or Vendors                                    $3,239.65

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            05/09/2024                Suppliers or Vendors                                     $3,535.99

                                                            05/10/2024                Suppliers or Vendors                                     $1,887.12

                                                            05/13/2024                Suppliers or Vendors                                    $13,564.97

                                                            05/14/2024                Suppliers or Vendors                                     $3,452.12

                                                            05/16/2024                Suppliers or Vendors                                     $4,825.47

                                                                                                                SUBTOTAL                     $346,774.45

MCD 6 LLC                                                   03/04/2024                Other- Rent                                             $14,757.28
C/O METROPOLITAN
COMMERCIAL DEVELOPMENT
ATTN TRIPP MCCULLOCH
2001 STATE HILL RD STE 205
WYOMISSING, PA 19610-1607
                                                            03/29/2024                Other- Rent                                             $14,757.28

                                                            04/30/2024                Other- Rent                                             $14,757.28

                                                                                                                SUBTOTAL                      $44,271.84

MDVIP INC                                                   04/03/2024                Suppliers or Vendors                                     $3,950.00
4950 COMMUNICATION AVENUE
SUITE 100
BOCA RATON, FL 33431
                                                            04/17/2024                Suppliers or Vendors                                     $7,630.00

                                                                                                                SUBTOTAL                      $11,580.00

MECHANICAL HEATING INC                                      02/23/2024                Suppliers or Vendors                                     $2,145.13
DBA M H I SERVICES
PO BOX 483
MIAMISBURG, OH 453430483
                                                            03/08/2024                Suppliers or Vendors                                      $157.50

                                                            03/28/2024                Suppliers or Vendors                                     $6,350.29

                                                            05/02/2024                Suppliers or Vendors                                      $157.50

                                                                                                                SUBTOTAL                       $8,810.42

MECHANICAL SOURCE                                           02/23/2024                Suppliers or Vendors                                     $3,475.33
SOLUTIONS LLC
1244 EXECUTIVE BLVD BLDG B
STE 101
CHESAPEAKE, VA 23320-2881
                                                            03/12/2024                Suppliers or Vendors                                    $25,043.12

                                                            03/21/2024                Suppliers or Vendors                                    $12,169.72

                                                            04/04/2024                Suppliers or Vendors                                     $4,226.66

                                                            04/25/2024                Suppliers or Vendors                                      $489.66

                                                            05/02/2024                Suppliers or Vendors                                     $3,489.43

                                                                                                                SUBTOTAL                      $48,893.92

MEDCOR INC                                                  05/19/2024                Suppliers or Vendors                                    $11,128.69
PO BOX #75570
CLEVELAND, OH 441014755
                                                                                                                SUBTOTAL                      $11,128.69



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
MEILE INVESTMENT LLC                                        03/11/2024                Other- Rent                                              $36,718.20
DBA DOUBLETREE BY HILTON
MONROVIA-PASADENA
924 WEST HUNTINGTON DRIVE
MONROVIA, CA 91016
                                                            03/22/2024                Other- Rent                                              $90,882.53

                                                            04/08/2024                Other- Rent                                              $36,718.20

                                                                                                                SUBTOTAL                      $164,318.93

MEMPHIS AIR CONDITIONING &                                  04/22/2024                Suppliers or Vendors                                     $17,135.05
HEATING CO INC
2125 HILLSHIRE CIRCLE
MEMPHIS, TN 38133
                                                                                                                SUBTOTAL                       $17,135.05

MERCHANT LINK LLC                                           03/06/2024                Suppliers or Vendors                                     $25,086.07
C/O MERCHANT LINK LOCKBOX
26125 NETWORK PL
CHICAGO, IL 60673-1261
                                                            03/15/2024                Suppliers or Vendors                                      $3,332.51

                                                                                                                SUBTOTAL                       $28,418.58

MERKLE INC                                                  03/13/2024                Suppliers or Vendors                                     $23,373.00
29432 NETWORK PL
CHICAGO, IL 60673-1294
                                                            03/21/2024                Suppliers or Vendors                                     $95,805.00

                                                            04/26/2024                Suppliers or Vendors                                    $250,664.00

                                                            05/02/2024                Suppliers or Vendors                                    $250,375.00

                                                            05/09/2024                Suppliers or Vendors                                    $250,222.00

                                                            05/16/2024                Suppliers or Vendors                                    $252,218.00

                                                                                                                SUBTOTAL                     $1,122,657.00

METLIFE LEGAL PLANS INC                                     03/13/2024                Suppliers or Vendors                                      $9,829.05
DEPT 781523
PO BOX 78000
DETROIT, MI 48278-1523
                                                            04/15/2024                Suppliers or Vendors                                     $12,146.62

                                                            05/15/2024                Suppliers or Vendors                                      $9,270.93

                                                                                                                SUBTOTAL                       $31,246.60

METRO NORTH CROSSING LLC                                    03/04/2024                Other- Rent                                              $10,568.68
470 NW LEGACY DR
KANSAS CITY, MO 64155-2894
                                                            03/29/2024                Other- Rent                                              $10,568.68

                                                            04/30/2024                Other- Rent                                              $10,568.68

                                                                                                                SUBTOTAL                       $31,706.04

METROPOLITAN LIFE                                           03/06/2024                Suppliers or Vendors                                     $10,152.64
INSURANCE COMPANY
PO BOX 8500-3895
PHILADELPHIA, PA 191783895
                                                            04/15/2024                Suppliers or Vendors                                     $11,665.85

                                                            05/15/2024                Suppliers or Vendors                                      $9,749.45


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number

                                                                                                                SUBTOTAL                      $31,567.94

MF&B RESTAURANT SYSTEMS                                     02/23/2024                Suppliers or Vendors                                    $88,417.00
INC
119 ICMI RD STE 300
DUNBAR, PA 15431-2323
                                                            03/11/2024                Suppliers or Vendors                                    $39,245.00

                                                            03/28/2024                Suppliers or Vendors                                     $5,671.00

                                                                                                                SUBTOTAL                     $133,333.00

MGA VENTURES INC                                            03/04/2024                Other- Rent                                             $25,357.31
DBA MGA MCDONOUGH LLC
C/O J RON STEPHENS
146 HIGHWAY 138 # 376
MONROE, GA 30655
                                                            03/29/2024                Other- Rent                                             $25,357.31

                                                            04/30/2024                Other- Rent                                             $25,357.31

                                                                                                                SUBTOTAL                      $76,071.93

MI CLAW LLC                                                 03/04/2024                Other- Rent                                             $24,478.88
C/O 125 E 39TH ST REALTY LLC
234 E 58TH ST UNIT NO 1
NEW YORK, NY 10022-2015
                                                            03/29/2024                Other- Rent                                             $24,478.88

                                                            04/30/2024                Other- Rent                                             $24,478.88

                                                                                                                SUBTOTAL                      $73,436.64

MIAMI DADE COUNTY                                           03/19/2024                Other- Government / Regulatory                          $12,430.22
DEPT OF ENVIRONMENTAL
RESOURCES MGMT
701 NORTHWEST 1ST CT SUITE
#200
MIAMI, FL 33136
                                                            04/19/2024                Other- Government / Regulatory                          $15,297.42

                                                            05/09/2024                Other- Government / Regulatory                          $10,592.19

                                                                                                                SUBTOTAL                      $38,319.83

NAME ON FILE                                                05/03/2024                Suppliers or Vendors                                     $8,620.00
ADDRESS ON FILE
                                                                                                                SUBTOTAL                       $8,620.00

MICRO MATIC USA INC                                         03/13/2024                Suppliers or Vendors                                    $18,899.79
2386 SIMON COURT
BROOKSVILLE, FL 34604-0751
                                                                                                                SUBTOTAL                      $18,899.79

MICROSOFT CORPORATION                                       02/23/2024                Suppliers or Vendors                                    $61,318.60
TECH ED NORTH AMERICA 2010
1950 N STEMMONS FWY STE
5010
LOCKBOX 847715
DALLAS, TX 75207
                                                            03/08/2024                Suppliers or Vendors                                     $3,460.00

                                                            03/13/2024                Suppliers or Vendors                                    $64,235.70

                                                            04/11/2024                Suppliers or Vendors                                    $57,548.80


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/25/2024                Suppliers or Vendors                                    $71,923.44

                                                            05/19/2024                Suppliers or Vendors                                   $118,272.65

                                                                                                                SUBTOTAL                     $376,759.19

MICROSTRATEGY SERVICES                                      04/24/2024                Suppliers or Vendors                                    $67,549.95
CORPORATION
PO BOX 409671
ATLANTA, GA 30384
                                                                                                                SUBTOTAL                      $67,549.95

MID-ATLANTIC PROPERTY JT                                    03/04/2024                Other- Rent                                             $24,850.16
LLC
C/O AKHTER MEHMOOD
415 NATTULL DRIVE
BEAR, DE 19701
                                                            03/29/2024                Other- Rent                                             $24,850.16

                                                            04/30/2024                Other- Rent                                             $24,850.16

                                                                                                                SUBTOTAL                      $74,550.48

MIDDLETOWN I RESOURCES L P                                  03/04/2024                Other- Rent                                             $13,191.67
C/O NATIONAL REALTY &
DEVELOPMENT CORP
225 LIBERTY ST 31ST FLOOR
NEW YORK, NY 10281-1089
                                                            03/08/2024                Other- Rent                                             $18,410.33

                                                            03/29/2024                Other- Rent                                             $13,191.67

                                                            04/30/2024                Other- Rent                                             $13,191.67

                                                                                                                SUBTOTAL                      $57,985.34

NAME ON FILE                                                04/11/2024                Suppliers or Vendors                                    $50,900.00
ADDRESS ON FILE
                                                            05/16/2024                Suppliers or Vendors                                    $35,504.00

                                                                                                                SUBTOTAL                      $86,404.00

MIKE HENSLEY PLUMBING INC                                   02/22/2024                Suppliers or Vendors                                     $6,061.00
3194 SPRING GROVE AVENUE
CINCINNATI, OH 45225-1828
                                                            03/11/2024                Suppliers or Vendors                                      $925.00

                                                            03/14/2024                Suppliers or Vendors                                      $355.00

                                                            04/03/2024                Suppliers or Vendors                                     $5,868.00

                                                            04/16/2024                Suppliers or Vendors                                      $709.00

                                                            04/24/2024                Suppliers or Vendors                                      $703.00

                                                            05/07/2024                Suppliers or Vendors                                     $1,230.00

                                                                                                                SUBTOTAL                      $15,851.00

MILLER MOTIVATIONS LLC                                      02/26/2024                Suppliers or Vendors                                     $1,785.00
1688 16TH ST NE
GRAND FORKS, ND 58201-9620
                                                            03/14/2024                Suppliers or Vendors                                      $120.00

                                                            03/20/2024                Suppliers or Vendors                                     $2,080.00



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/29/2024                Suppliers or Vendors                                    $4,090.00

                                                            05/15/2024                Suppliers or Vendors                                    $1,455.00

                                                                                                                SUBTOTAL                      $9,530.00

MILLS LAW GROUP PA                                          02/27/2024                Suppliers or Vendors                                   $38,700.00
2509 W GARDNER CT
TAMPA, FL 33611-4774
                                                                                                                SUBTOTAL                     $38,700.00

MILPITAS TOWN CENTER 2008                                   03/07/2024                Other- Rent                                            $32,461.87
LP
C/O SHAPELL PROPERTIES INC
1990 S BUNDY DRIVE STE 500
LOS ANGELES, CA 90025-5245
                                                            04/16/2024                Other- Rent                                            $32,461.87

                                                            04/25/2024                Other- Rent                                             $1,229.81

                                                            05/14/2024                Other- Rent                                            $29,785.87

                                                            05/16/2024                Other- Rent                                             $2,676.00

                                                                                                                SUBTOTAL                     $98,615.42

MINT CLEANING SOLUTIONS LLC                                 02/23/2024                Suppliers or Vendors                                    $2,600.00
2821 NE 163RD ST APT 2T
NORTH MIAMI BEACH, FL
33160-4430
                                                            03/08/2024                Suppliers or Vendors                                    $1,975.00

                                                            03/28/2024                Suppliers or Vendors                                    $9,760.00

                                                            04/25/2024                Suppliers or Vendors                                    $3,550.00

                                                                                                                SUBTOTAL                     $17,885.00

MINTZER SAROWITZ ZERIS                                      03/19/2024                Services                                                   $37.00
LEDVA & MEYERS LLP
ATTN CENTER SQUARE WEST
TOWER
1500 MARKET STREET
SUITE 4100
PHILADELPHIA, PA 19102
                                                            05/19/2024                Services                                                $7,618.69

                                                                                                                SUBTOTAL                      $7,655.69

MINUTEMAN INDUSTRIES INC                                    03/08/2024                Suppliers or Vendors                                   $29,479.71
DBA MINUTEMAN PLMBG &
DRAIN SVCS
PO BOX 4983
GARDEN GROVE, CA 92842
                                                            05/02/2024                Suppliers or Vendors                                     $366.50

                                                                                                                SUBTOTAL                     $29,846.21

MISSION SAN JOSE LLC                                        03/04/2024                Other- Rent                                             $1,538.40
C/O CREEKSIDE DEVELOPMENT
222 OAK MEADOW DRIVE SUITE
A
LOS GATOS, CA 95032
                                                            03/29/2024                Other- Rent                                             $3,349.75

                                                            04/03/2024                Other- Rent                                             $5,781.18


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            05/02/2024                Other- Rent                                             $1,538.40

                                                                                                                SUBTOTAL                     $12,207.73

MOBI WIRELESS MANAGEMENT                                    02/23/2024                Suppliers or Vendors                                     $876.54
LLC
6100 W 96TH STREET SUITE 200
INDIANAPOLIS, IN 46278-6020
                                                            03/07/2024                Suppliers or Vendors                                   $11,900.00

                                                            03/26/2024                Suppliers or Vendors                                     $725.21

                                                            04/10/2024                Suppliers or Vendors                                   $12,100.00

                                                            04/24/2024                Suppliers or Vendors                                     $734.73

                                                            05/07/2024                Suppliers or Vendors                                   $12,650.00

                                                                                                                SUBTOTAL                     $38,986.48

MONICA INC                                                  03/04/2024                Other- Rent                                            $16,735.83
1012 WESLEY DR
MECHANICSBURG, PA
17055-5466
                                                            03/29/2024                Other- Rent                                            $16,735.83

                                                            04/30/2024                Other- Rent                                            $16,735.83

                                                                                                                SUBTOTAL                     $50,207.49

MONTGOMERY CROSS RETAIL                                     03/04/2024                Other- Rent                                             $5,000.00
GROUP LLC
60 CUTTERMILL RD
GREAT NECK, NY 11021-3131
                                                            03/29/2024                Other- Rent                                             $5,000.00

                                                            04/30/2024                Other- Rent                                             $5,000.00

                                                                                                                SUBTOTAL                     $15,000.00

MONTVISTA LLC                                               03/18/2024                Other- Rent                                             $8,596.54
1002 SOUTH FIRST STREET
ALHAMBRA, CA 918014701
                                                            04/03/2024                Other- Rent                                             $8,596.54

                                                            04/29/2024                Other- Rent                                            $19,564.82

                                                                                                                SUBTOTAL                     $36,757.90

MOOD MEDIA NORTH AMERICA                                    02/20/2024                Suppliers or Vendors                                    $6,208.96
HOLDINGS CORP
DBA MOOD MEDIA
PO BOX 602777
CHARLOTTE, NC 28260-2777
                                                            02/23/2024                Suppliers or Vendors                                    $5,654.06

                                                            03/18/2024                Suppliers or Vendors                                   $26,686.01

                                                            04/02/2024                Suppliers or Vendors                                    $7,334.90

                                                            05/08/2024                Suppliers or Vendors                                   $32,650.58

                                                                                                                SUBTOTAL                     $78,534.51

MOORLAND MEDICINE LLC                                       03/04/2024                Other- Rent                                            $25,871.71
8804 POTOMAC STATION LN
POTOMAC, MD 20854-3983

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/29/2024                Other- Rent                                             $25,871.71

                                                            04/30/2024                Other- Rent                                             $25,871.71

                                                                                                                SUBTOTAL                      $77,615.13

MORGUARD BOYNTON TOWN                                       02/27/2024                Other- Rent                                             $18,722.74
CENTER INC
PO BOX 919141
DALLAS, TX 753919141
                                                            04/01/2024                Other- Rent                                             $18,722.74

                                                            04/30/2024                Other- Rent                                             $18,722.74

                                                                                                                SUBTOTAL                      $56,168.22

MOUNT HUNGER HOLDINGS LLC                                   03/04/2024                Other- Rent                                             $11,264.62
DBA RL DECATUR LLC
1217 HIGH ST
BOULDER, CO 80304-4112
                                                            03/29/2024                Other- Rent                                             $11,264.62

                                                                                                                SUBTOTAL                      $22,529.24

MOUNTAIN LANDSCAPE                                          02/20/2024                Suppliers or Vendors                                      $325.74
CONTRACTORS
PO BOX 438
MOUNT FREEDOM, NJ 07970
                                                            03/05/2024                Suppliers or Vendors                                      $325.74

                                                            04/10/2024                Suppliers or Vendors                                    $11,207.09

                                                            05/07/2024                Suppliers or Vendors                                      $627.49

                                                                                                                SUBTOTAL                      $12,486.06

MPNT MICHIGAN LLC                                           03/04/2024                Other- Rent                                             $35,382.46
C/O MPNT REALTY INC
18 ROLLING HILLS LN
HARRISON, NY 10528-1706
                                                            03/29/2024                Other- Rent                                             $35,382.46

                                                            04/30/2024                Other- Rent                                             $35,382.46

                                                                                                                SUBTOTAL                     $106,147.38

MR HVAC LLC                                                 02/22/2024                Suppliers or Vendors                                     $7,974.89
415 COMMERCE LN STE 1
WEST BERLIN, NJ 08091-9271
                                                            03/06/2024                Suppliers or Vendors                                     $2,870.64

                                                            03/13/2024                Suppliers or Vendors                                      $495.00

                                                            03/26/2024                Suppliers or Vendors                                     $9,062.93

                                                            04/25/2024                Suppliers or Vendors                                     $2,342.89

                                                            05/08/2024                Suppliers or Vendors                                      $990.00

                                                                                                                SUBTOTAL                      $23,736.35

MRR HOLDINGS LLC                                            03/19/2024                Suppliers or Vendors                                    $27,851.09
DBA MARKS REDDI ROOTER &
PLUMBING
501 TASMAN ST
MADISON, WI 53714-3155


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number

                                                                                                                SUBTOTAL                     $27,851.09

MSJ PROJECTS LLC                                            02/23/2024                Suppliers or Vendors                                   $27,698.00
11534 HORTON AVE
DOWNEY, CA 90241-4430
                                                            03/28/2024                Suppliers or Vendors                                    $3,200.00

                                                                                                                SUBTOTAL                     $30,898.00

MULTI-FRESH INC                                             02/20/2024                Suppliers or Vendors                                    $8,207.37
DBA CROOK BROTHERS
250 GREY FLATS ROAD
BECKLEY, WV 25801
                                                            02/21/2024                Suppliers or Vendors                                    $3,163.31

                                                            02/23/2024                Suppliers or Vendors                                    $1,814.91

                                                            02/26/2024                Suppliers or Vendors                                    $4,747.78

                                                            02/27/2024                Suppliers or Vendors                                    $6,925.71

                                                            02/28/2024                Suppliers or Vendors                                    $2,064.46

                                                            03/04/2024                Suppliers or Vendors                                    $3,498.76

                                                            03/06/2024                Suppliers or Vendors                                    $7,793.90

                                                            03/07/2024                Suppliers or Vendors                                    $1,012.12

                                                            03/08/2024                Suppliers or Vendors                                    $1,236.44

                                                            03/11/2024                Suppliers or Vendors                                    $2,260.53

                                                            03/12/2024                Suppliers or Vendors                                    $9,115.71

                                                            03/13/2024                Suppliers or Vendors                                     $519.60

                                                            03/14/2024                Suppliers or Vendors                                    $1,918.13

                                                            03/15/2024                Suppliers or Vendors                                    $2,231.25

                                                            03/18/2024                Suppliers or Vendors                                    $7,270.44

                                                            03/19/2024                Suppliers or Vendors                                    $2,400.48

                                                            03/21/2024                Suppliers or Vendors                                    $1,139.55

                                                            03/22/2024                Suppliers or Vendors                                    $2,017.10

                                                            03/25/2024                Suppliers or Vendors                                    $6,723.16

                                                            03/26/2024                Suppliers or Vendors                                    $2,440.83

                                                            03/27/2024                Suppliers or Vendors                                     $466.49

                                                            03/28/2024                Suppliers or Vendors                                     $939.15

                                                            03/29/2024                Suppliers or Vendors                                    $2,209.79

                                                            04/01/2024                Suppliers or Vendors                                    $6,543.86

                                                            04/02/2024                Suppliers or Vendors                                    $2,166.04

                                                            04/04/2024                Suppliers or Vendors                                     $406.95

                                                            04/05/2024                Suppliers or Vendors                                    $1,758.04

                                                            04/08/2024                Suppliers or Vendors                                    $6,752.64



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/09/2024                Suppliers or Vendors                                     $2,109.98

                                                            04/10/2024                Suppliers or Vendors                                      $596.88

                                                            04/11/2024                Suppliers or Vendors                                      $988.73

                                                            04/12/2024                Suppliers or Vendors                                     $2,169.57

                                                            04/15/2024                Suppliers or Vendors                                     $5,282.34

                                                            04/16/2024                Suppliers or Vendors                                     $2,029.52

                                                            04/18/2024                Suppliers or Vendors                                     $1,702.78

                                                            04/19/2024                Suppliers or Vendors                                     $2,115.72

                                                            04/22/2024                Suppliers or Vendors                                     $7,158.28

                                                            04/23/2024                Suppliers or Vendors                                     $2,357.06

                                                            04/25/2024                Suppliers or Vendors                                     $1,121.00

                                                            04/26/2024                Suppliers or Vendors                                     $1,337.82

                                                            04/29/2024                Suppliers or Vendors                                     $6,214.21

                                                            04/30/2024                Suppliers or Vendors                                     $2,323.73

                                                            05/01/2024                Suppliers or Vendors                                      $740.40

                                                            05/02/2024                Suppliers or Vendors                                      $894.22

                                                            05/03/2024                Suppliers or Vendors                                     $1,967.29

                                                            05/06/2024                Suppliers or Vendors                                     $5,833.28

                                                            05/07/2024                Suppliers or Vendors                                     $1,843.72

                                                            05/09/2024                Suppliers or Vendors                                      $784.42

                                                            05/10/2024                Suppliers or Vendors                                     $1,924.65

                                                            05/13/2024                Suppliers or Vendors                                     $6,373.28

                                                            05/14/2024                Suppliers or Vendors                                     $2,141.68

                                                            05/16/2024                Suppliers or Vendors                                      $865.80

                                                                                                                SUBTOTAL                     $160,620.86

MUNICIPALITY OF                                             03/07/2024                Other- Government / Regulatory                           $8,974.84
MONROEVILLE
TAX COLLECTOR
2700 MONROEVILLE BLVD
MONROEVILLE, PA 151462388
                                                                                                                SUBTOTAL                       $8,974.84

MY TECH TEXAS LLC                                           02/23/2024                Suppliers or Vendors                                      $698.36
2201 LONG PRAIRIE ROAD
SUITE 107-153
FLOWER MOUND, TX 75022-4832
                                                            03/08/2024                Suppliers or Vendors                                     $3,632.86

                                                            03/21/2024                Suppliers or Vendors                                    $25,945.48

                                                            03/22/2024                Suppliers or Vendors                                     $6,896.40

                                                            03/28/2024                Suppliers or Vendors                                     $7,283.75



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/25/2024                Suppliers or Vendors                                     $9,528.42

                                                                                                                SUBTOTAL                      $53,985.27

NADG NNN RLOB MAY NJ LP                                     03/07/2024                Other- Rent                                             $14,732.47
C/O NADG NNN PROPERTY
FUND LP
3131 MCKINNEY AVE STE L10
DALLAS, TX 75204-2430
                                                            04/10/2024                Other- Rent                                             $14,732.47

                                                            05/07/2024                Other- Rent                                             $14,732.47

                                                                                                                SUBTOTAL                      $44,197.41

NAPLES LEASING 416 LLC                                      03/04/2024                Other- Rent                                             $29,835.06
DBA 1846 JONESBORO ROAD
OWNER LLC
C/O FEDERMAN STEIFMAN LLP
220 E 42ND ST FL 29
NEW YORK, NY 10017
                                                            03/29/2024                Other- Rent                                             $29,835.06

                                                            04/30/2024                Other- Rent                                             $29,835.06

                                                                                                                SUBTOTAL                      $89,505.18

NAS RECRUITMENT                                             03/11/2024                Suppliers or Vendors                                    $30,000.00
INNOVATIONS INC
PO BOX 781315
PHILADELPHIA, PA 19178-1315
                                                            03/12/2024                Suppliers or Vendors                                    $10,000.00

                                                            03/29/2024                Suppliers or Vendors                                    $10,000.00

                                                            05/19/2024                Suppliers or Vendors                                    $50,000.00

                                                                                                                SUBTOTAL                     $100,000.00

NATIONAL ORDERS INC                                         02/23/2024                Suppliers or Vendors                                   $101,494.86
DBA BUSINESS MOBILITY
SOLUTIONS
3926 W SOUTH AVENUE B
TAMPA, FL 33614-6552
                                                            03/08/2024                Suppliers or Vendors                                    $19,146.39

                                                            03/13/2024                Suppliers or Vendors                                    $11,546.84

                                                            03/21/2024                Suppliers or Vendors                                    $24,239.25

                                                                                                                SUBTOTAL                     $156,427.34

NATIONAL RESTAURANT                                         02/23/2024                Suppliers or Vendors                                     $1,811.70
ASSOCIATION
PO BOX 824032
PHILADELPHIA, PA 19182-4032
                                                            02/28/2024                Suppliers or Vendors                                    $31,353.00

                                                            03/14/2024                Suppliers or Vendors                                    $11,113.40

                                                            03/19/2024                Suppliers or Vendors                                      $391.14

                                                            04/03/2024                Suppliers or Vendors                                    $11,487.80

                                                                                                                SUBTOTAL                      $56,157.04



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
NAME ON FILE                                                03/04/2024                Other- Rent                                             $76,777.73
ADDRESS ON FILE
                                                            03/29/2024                Other- Rent                                             $76,777.73

                                                            04/30/2024                Other- Rent                                             $76,777.73

                                                                                                                SUBTOTAL                     $230,333.19

NAME ON FILE                                                03/04/2024                Other- Rent                                             $31,892.29
ADDRESS ON FILE
                                                            03/29/2024                Other- Rent                                             $31,892.29

                                                            04/30/2024                Other- Rent                                             $31,892.29

                                                                                                                SUBTOTAL                      $95,676.87

NC ABC COMMISSION                                           03/15/2024                Other- Government / Regulatory                          $37,400.00

                                                                                                                SUBTOTAL                      $37,400.00

NC DEPT OF REVENUE                                          03/08/2024                Other- Government / Regulatory                          $20,935.85

                                                                                                                SUBTOTAL                      $20,935.85

NEW BENEFITS LTD                                            03/06/2024                Suppliers or Vendors                                     $5,848.85
14240 PROTON ROAD
DALLAS, TX 75244
                                                            04/03/2024                Suppliers or Vendors                                     $5,777.45

                                                            05/08/2024                Suppliers or Vendors                                     $5,670.35

                                                                                                                SUBTOTAL                      $17,296.65

NEW ENGLAND MARINE                                          05/13/2024                Suppliers or Vendors                                   $693,250.00

                                                                                                                SUBTOTAL                     $693,250.00

NEW MILLENNIUM                                              03/08/2024                Suppliers or Vendors                                     $9,445.00
CONSTRUCTION SVCS CORP
34430 ELEVATOR ROAD
WILMINGTON, IL 60481
                                                            03/28/2024                Suppliers or Vendors                                    $31,204.00

                                                            04/25/2024                Suppliers or Vendors                                     $6,315.25

                                                                                                                SUBTOTAL                      $46,964.25

NEW PLAN HAMPTON VILLAGE                                    02/27/2024                Other- Rent                                             $13,474.98
LLC
C/O BRIXMOR PROPERTY
GROUP
PO BOX 645321
CINCINNATI, OH 452645321
                                                            03/04/2024                Other- Rent                                                $23.00

                                                            04/01/2024                Other- Rent                                             $15,132.12

                                                            04/29/2024                Other- Rent                                             $13,474.98

                                                                                                                SUBTOTAL                      $42,105.08

NEXT TECH DEVELOPMENT LLC                                   03/04/2024                Other- Rent                                             $13,855.85
C/O LUPE DEVELOPMENT
PARTNERS
1801 COUNTY ROAD B W STE
201
ROSEVILLE, MN 55113-2832
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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/29/2024                Other- Rent                                             $13,855.85

                                                            04/30/2024                Other- Rent                                             $13,855.85

                                                                                                                SUBTOTAL                      $41,567.55

NEXTGEN WOODSIDE REALTY                                     02/28/2024                Other- Rent                                             $24,478.88
LLC
DBA WOODSIDE PARMA LLC
7845 COLONY RD STE C4-242
CHARLOTTE, NC 28226-7681
                                                            04/01/2024                Other- Rent                                             $24,478.88

                                                            04/30/2024                Other- Rent                                             $24,478.88

                                                                                                                SUBTOTAL                      $73,436.64

NAME ON FILE                                                03/07/2024                Suppliers or Vendors                                     $8,988.31
ADDRESS ON FILE
                                                            04/08/2024                Suppliers or Vendors                                    $13,676.41

                                                                                                                SUBTOTAL                      $22,664.72

NORTHTOWN SQUARE LLC                                        03/04/2024                Other- Rent                                             $15,339.53
C/O JAMESON COMMERCIAL
PROPERTY
PO BOX 2158
SPOKANE, WA 99210-2158
                                                            03/27/2024                Other- Rent                                              $1,754.09

                                                            04/02/2024                Other- Rent                                             $15,339.53

                                                            04/16/2024                Other- Rent                                              $1,754.09

                                                            05/01/2024                Other- Rent                                             $15,339.53

                                                            05/07/2024                Other- Rent                                              $1,754.09

                                                                                                                SUBTOTAL                      $51,280.86

NORTHWEST PROMENADE LLC                                     03/04/2024                Other- Rent                                             $13,810.83
PO BOX 82515
BAKERSFIELD, CA 933802515
                                                            03/29/2024                Other- Rent                                             $13,361.02

                                                            04/30/2024                Other- Rent                                             $13,810.83

                                                                                                                SUBTOTAL                      $40,982.68

NORTON CREATIVE LLC                                         04/30/2024                Suppliers or Vendors                                    $48,800.00

                                                                                                                SUBTOTAL                      $48,800.00

NUCO2 INC                                                   03/21/2024                Suppliers or Vendors                                   $125,962.62
PO BOX 9011
STUART, FL 34995
                                                            04/19/2024                Suppliers or Vendors                                   $134,415.04

                                                                                                                SUBTOTAL                     $260,377.66

NUTRICLINICAL SOLUTIONS LLC                                 02/20/2024                Suppliers or Vendors                                    $22,525.00
PO BOX 1742
ALACHUA, FL 32616-1742
                                                            03/08/2024                Suppliers or Vendors                                     $3,825.00

                                                            04/11/2024                Suppliers or Vendors                                    $16,075.00

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            05/16/2024                Suppliers or Vendors                                    $9,975.00

                                                                                                                SUBTOTAL                     $52,400.00

NVS LANDSCAPE SERVICES                                      03/28/2024                Suppliers or Vendors                                    $3,579.43
23A WALKER WAY
COLONIE, NY 12205-4945
                                                            04/25/2024                Suppliers or Vendors                                    $6,981.43

                                                                                                                SUBTOTAL                     $10,560.86

NWCC INVESTMENTS II LLC                                     03/12/2024                Other- Rent                                            $23,712.93
DBA NWCC CENTER PLAZA
1402 E PIKE ST
SEATTLE, WA 98122-4148
                                                            03/29/2024                Other- Rent                                             $6,404.00

                                                            04/01/2024                Other- Rent                                            $12,884.33

                                                            04/09/2024                Other- Rent                                             $8,993.28

                                                            04/30/2024                Other- Rent                                             $6,404.00

                                                            05/08/2024                Other- Rent                                             $3,707.84

                                                                                                                SUBTOTAL                     $62,106.38

NYC DEPT OF FINANCE                                         03/21/2024                Other- Government / Regulatory                         $18,739.37
PO BOX 32
NEW YORK, NY 10008
                                                                                                                SUBTOTAL                     $18,739.37

OAKTREE INVESTMENTS 4 LLC                                   03/04/2024                Other- Rent                                            $12,997.64
C/O JOHN DAVID WILSON &
BARBARA ANN WILSON
6355 PRINCEVILLE CIR
HUNTINGTON BEACH, CA
92648-5524
                                                            03/29/2024                Other- Rent                                            $12,997.64

                                                                                                                SUBTOTAL                     $25,995.28

OAKWOOD PLAZA LP                                            03/05/2024                Other- Rent                                            $18,140.57
PO BOX 30344
TAMPA, FL 33630-3344
                                                            04/03/2024                Other- Rent                                            $18,140.57

                                                            05/15/2024                Other- Rent                                            $18,140.57

                                                                                                                SUBTOTAL                     $54,421.71

OBEACH LLC                                                  03/04/2024                Other- Rent                                            $18,522.10
289 CAMINO DEL POSTIGO
ESCONDIDO, CA 92029-7442
                                                            03/29/2024                Other- Rent                                            $18,522.10

                                                            04/30/2024                Other- Rent                                            $18,522.10

                                                                                                                SUBTOTAL                     $55,566.30

OCEAN PRO INC                                               03/08/2024                Suppliers or Vendors                                     $595.00
P O BOX 1284
TUCKER, GA 30084
                                                            03/28/2024                Suppliers or Vendors                                    $2,780.00

                                                            04/04/2024                Suppliers or Vendors                                     $995.00

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/25/2024                Suppliers or Vendors                                    $2,905.00

                                                            05/02/2024                Suppliers or Vendors                                    $2,274.00

                                                                                                                SUBTOTAL                      $9,549.00

OCEAN SEAFOOD DEPOT INC                                     02/20/2024                Suppliers or Vendors                                    $2,221.10
331 ADAMS ST
NEWARK, NJ 07105-1929
                                                            02/21/2024                Suppliers or Vendors                                    $1,059.80

                                                            02/27/2024                Suppliers or Vendors                                     $283.73

                                                            03/01/2024                Suppliers or Vendors                                     $895.49

                                                            03/04/2024                Suppliers or Vendors                                    $1,222.23

                                                            03/05/2024                Suppliers or Vendors                                     $652.44

                                                            03/12/2024                Suppliers or Vendors                                    $2,490.65

                                                            03/19/2024                Suppliers or Vendors                                    $2,241.12

                                                            03/22/2024                Suppliers or Vendors                                     $383.60

                                                            03/25/2024                Suppliers or Vendors                                    $1,525.92

                                                            03/26/2024                Suppliers or Vendors                                    $1,617.46

                                                            04/01/2024                Suppliers or Vendors                                    $3,635.46

                                                            04/02/2024                Suppliers or Vendors                                    $2,751.27

                                                            04/09/2024                Suppliers or Vendors                                    $3,457.17

                                                            04/15/2024                Suppliers or Vendors                                    $1,394.75

                                                            04/16/2024                Suppliers or Vendors                                     $725.17

                                                            04/25/2024                Suppliers or Vendors                                    $4,315.00

                                                            04/29/2024                Suppliers or Vendors                                    $2,736.83

                                                            04/30/2024                Suppliers or Vendors                                     $815.59

                                                            05/06/2024                Suppliers or Vendors                                     $337.39

                                                            05/07/2024                Suppliers or Vendors                                    $1,322.29

                                                            05/13/2024                Suppliers or Vendors                                     $740.03

                                                            05/14/2024                Suppliers or Vendors                                    $1,110.73

                                                                                                                SUBTOTAL                     $37,935.22

OCRE INVESTMENTS LLC                                        03/04/2024                Other- Rent                                            $25,220.19
ATTN: OSCAR COUSILLAS
1395 BRICKELL AVENUE
SUITE #730
MIAMI, FL 33131
                                                            03/29/2024                Other- Rent                                            $25,220.19

                                                            04/30/2024                Other- Rent                                            $25,220.19

                                                                                                                SUBTOTAL                     $75,660.57




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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
ODP BUSINESS SOLUTIONS LLC                                  02/20/2024                Suppliers or Vendors                                    $12,608.40
DBA OFFICE DEPOT BUSINESS
SOLUTIONS LLC
PO BOX 633211
CINCINNATI, OH 45263-3211
                                                            03/04/2024                Suppliers or Vendors                                    $47,714.43

                                                            03/08/2024                Suppliers or Vendors                                    $10,684.48

                                                            03/13/2024                Suppliers or Vendors                                    $12,450.70

                                                            03/28/2024                Suppliers or Vendors                                    $24,644.03

                                                            04/25/2024                Suppliers or Vendors                                    $11,362.07

                                                            05/09/2024                Suppliers or Vendors                                    $26,170.82

                                                                                                                SUBTOTAL                     $145,634.93

OFFICE COMPLEX                                              03/08/2024                Other- Rent                                             $19,715.07
ENTERPRISES INC
952 LAKEWOOD ROAD
TOMS RIVER, NJ 08753
                                                            04/11/2024                Other- Rent                                             $19,715.07

                                                            05/09/2024                Other- Rent                                             $19,715.07

                                                                                                                SUBTOTAL                      $59,145.21

OHIO BUREAU OF WORKERS                                      03/04/2024                Suppliers or Vendors                                    $26,742.30
COMPENSATION
PO BOX 89492
CLEVELAND, OH 441016492
                                                            04/25/2024                Suppliers or Vendors                                    $26,806.50

                                                                                                                SUBTOTAL                      $53,548.80

OHIO DEPT OF TAXATION                                       05/13/2024                Other- Government / Regulatory                          $67,540.00

                                                                                                                SUBTOTAL                      $67,540.00

OKTA INC                                                    03/04/2024                Suppliers or Vendors                                    $36,250.00
PO BOX 743620
LOS ANGELES, CA 90074-3620
                                                                                                                SUBTOTAL                      $36,250.00

OLESEN AL LLC                                               03/11/2024                Other- Rent                                             $17,387.87
PO BOX 274
BUELLTON, CA 93427
                                                            04/10/2024                Other- Rent                                             $17,387.87

                                                                                                                SUBTOTAL                      $34,775.74

OMAHA CAVE PARTNERSHIP LP                                   02/29/2024                Other- Rent                                              $8,250.00
727 CRAIG ROAD
#100
ST LOUIS, MO 631417114
                                                            04/02/2024                Other- Rent                                              $8,250.00

                                                            04/23/2024                Other- Rent                                             $15,474.97

                                                            04/30/2024                Other- Rent                                              $8,250.00

                                                                                                                SUBTOTAL                      $40,224.97




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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
OPENTABLE INC                                               03/20/2024                Suppliers or Vendors                                     $29,065.59
29109 NETWORK PL
CHICAGO, IL 60673-1291
                                                                                                                SUBTOTAL                       $29,065.59

OPTUM RX                                                    02/23/2024                Suppliers or Vendors                                    $248,213.84

                                                            03/08/2024                Suppliers or Vendors                                    $241,187.08

                                                            03/21/2024                Suppliers or Vendors                                    $399,440.00

                                                            04/05/2024                Suppliers or Vendors                                    $276,032.83

                                                            04/24/2024                Suppliers or Vendors                                    $264,495.61

                                                            05/08/2024                Suppliers or Vendors                                    $352,430.29

                                                                                                                SUBTOTAL                     $1,781,799.65

OR REVENUE DEPT                                             03/15/2024                Other- Government / Regulatory                              $334.08

                                                            04/15/2024                Other- Government / Regulatory                            $3,356.00

                                                            04/30/2024                Other- Government / Regulatory                           $18,000.00

                                                                                                                SUBTOTAL                       $21,690.08

ORACLE AMERICA INC                                          04/03/2024                Suppliers or Vendors                                     $97,709.95
500 ORACLE PARKWAY
REDWOOD SHORES, CA 94065
                                                                                                                SUBTOTAL                       $97,709.95

ORIGLIO BEVERAGE INC                                        02/20/2024                Suppliers or Vendors                                      $1,123.60
3000 MEETING HOUSE ROAD
PHILADELPHIA, PA 19154
                                                            02/22/2024                Suppliers or Vendors                                        $868.40

                                                            02/26/2024                Suppliers or Vendors                                        $761.19

                                                            02/27/2024                Suppliers or Vendors                                      $1,024.92

                                                            03/12/2024                Suppliers or Vendors                                        $933.92

                                                            03/19/2024                Suppliers or Vendors                                        $453.47

                                                            04/08/2024                Suppliers or Vendors                                        $474.45

                                                            04/09/2024                Suppliers or Vendors                                        $433.54

                                                            04/22/2024                Suppliers or Vendors                                        $528.88

                                                            04/23/2024                Suppliers or Vendors                                        $578.07

                                                            04/29/2024                Suppliers or Vendors                                        $225.56

                                                            05/06/2024                Suppliers or Vendors                                        $288.96

                                                            05/13/2024                Suppliers or Vendors                                      $1,410.15

                                                                                                                SUBTOTAL                         $9,105.11

ORLANDO MAGIC LTD                                           03/20/2024                Suppliers or Vendors                                      $5,000.00
DBA ORLANDO EVENTS CENTER
ENTERPRISE LLC
400 W CHURCH ST STE 250
ORLANDO, FL 32801-2515
                                                            03/28/2024                Suppliers or Vendors                                      $4,400.00


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Debtor Name: Red Lobster Management LLC                                                                                   Case Number: 24-02486

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Creditor Name & Address           Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                  Number
                                                             04/11/2024                Suppliers or Vendors                                    $4,400.00

                                                                                                                 SUBTOTAL                     $13,800.00

OSTLUND A SERVICE COMPANY                                    04/30/2024                Suppliers or Vendors                                    $9,539.11
LLC
3637 S OLD US 23 STE 100
BRIGHTON, MI 48114-7668
                                                                                                                 SUBTOTAL                      $9,539.11

OTIS ELEVATOR COMPANY                                        04/24/2024                Suppliers or Vendors                                   $14,087.93
DEPT LA 21684
PASADENA, CA 91185-1684
                                                                                                                 SUBTOTAL                     $14,087.93

OTTO M PEREZ                                                 03/11/2024                Other- Rent                                             $7,290.79
DBA OTTO SMYRNA OWNER LLC
118 KNICKERBOCKER AVE
BROOKLYN, NY 11237-1803
                                                             04/05/2024                Other- Rent                                             $7,290.79

                                                             05/14/2024                Other- Rent                                             $7,290.79

                                                                                                                 SUBTOTAL                     $21,872.37

OUTER BANKS LIMITED                                          03/04/2024                Other- Rent                                            $17,382.96
PARTNERSHIP
4212 31ST ST N
ARLINGTON, VA 22207-4114
                                                             03/29/2024                Other- Rent                                            $17,382.96

                                                             04/30/2024                Other- Rent                                            $17,382.96

                                                                                                                 SUBTOTAL                     $52,148.88

OXFORD DEVELOPMENT                                           02/28/2024                Other- Rent                                             $9,708.33
COMPANY - MORAINE
2545 RAILROAD ST STE 300
PITTSBURGH, PA 15222-7605
                                                             04/03/2024                Other- Rent                                             $9,708.33

                                                             05/02/2024                Other- Rent                                             $9,708.33

                                                                                                                 SUBTOTAL                     $29,124.99

PACIFIC GROUP                                                02/20/2024                Suppliers or Vendors                                    $2,957.00
DBA PACIFIC SEAFOOD
PO BOX 830240
PHILADELPHIA, PA 19182-0350
                                                             02/21/2024                Suppliers or Vendors                                    $1,334.00

                                                             02/26/2024                Suppliers or Vendors                                     $866.00

                                                             02/27/2024                Suppliers or Vendors                                    $3,180.79

                                                             02/28/2024                Suppliers or Vendors                                     $601.00

                                                             03/04/2024                Suppliers or Vendors                                    $1,239.87

                                                             03/06/2024                Suppliers or Vendors                                    $1,573.00

                                                             03/07/2024                Suppliers or Vendors                                    $1,133.50

                                                             03/11/2024                Suppliers or Vendors                                     $477.00

                                                             03/12/2024                Suppliers or Vendors                                     $576.00


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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/13/2024                Suppliers or Vendors                                      $725.50

                                                            03/22/2024                Suppliers or Vendors                                      $580.00

                                                            03/25/2024                Suppliers or Vendors                                     $1,954.00

                                                            03/26/2024                Suppliers or Vendors                                      $798.00

                                                            04/01/2024                Suppliers or Vendors                                     $1,150.00

                                                            04/08/2024                Suppliers or Vendors                                      $819.00

                                                            04/11/2024                Suppliers or Vendors                                      $601.00

                                                                                                                SUBTOTAL                      $20,565.66

PACIFIC PREMIER RETAIL TRUST                                02/28/2024                Other- Rent                                              $1,475.67
LLC
DBA MACERICH LAKEWOOD LP
PO BOX 29650
DEPT # 880527
PHOENIX, AZ 85038-9650
                                                            02/29/2024                Other- Rent                                             $41,944.50

                                                            04/03/2024                Other- Rent                                             $41,944.50

                                                            04/05/2024                Other- Rent                                              $1,475.67

                                                            05/01/2024                Other- Rent                                             $39,558.89

                                                            05/07/2024                Other- Rent                                              $1,475.67

                                                                                                                SUBTOTAL                     $127,874.90

PACIFIC SEAFOOD                                             03/15/2024                Suppliers or Vendors                                   $152,336.50

                                                            03/21/2024                Suppliers or Vendors                                   $119,380.00

                                                                                                                SUBTOTAL                     $271,716.50

PANOBSTER LLC                                               03/04/2024                Other- Rent                                              $8,366.76
C/O MICHAEL SCHMIDT
MANAGING MEMBER
222 GRAND AVENUE
ENGLEWOOD, NJ 07631
                                                            03/29/2024                Other- Rent                                              $8,366.76

                                                            04/30/2024                Other- Rent                                              $8,366.76

                                                                                                                SUBTOTAL                      $25,100.28

PARED MOTEL ASSOCIATES LLC                                  03/04/2024                Other- Rent                                             $28,516.41
DBA COMFORT INN & SUITES
211 ROUTE 17 SOUTH
PARAMUS, NJ 07652
                                                            03/29/2024                Other- Rent                                             $28,516.41

                                                            04/09/2024                Other- Rent                                             $22,672.71

                                                            04/18/2024                Other- Rent                                             $11,075.56

                                                            04/30/2024                Other- Rent                                             $28,516.41

                                                                                                                SUBTOTAL                     $119,297.50




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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
PARK EAST LLC                                               02/20/2024                Other- Rent                                              $3,681.13
220 WESTBURY AVENUE
PO BOX 348
CARLE PLACE, NY 115140348
                                                            02/27/2024                Other- Rent                                             $22,213.13

                                                            02/29/2024                Other- Rent                                             $35,778.82

                                                            04/02/2024                Other- Rent                                             $22,213.13

                                                            04/08/2024                Other- Rent                                             $35,778.82

                                                            04/23/2024                Other- Rent                                             $68,134.58

                                                            04/30/2024                Other- Rent                                             $22,213.13

                                                            05/07/2024                Other- Rent                                              $4,012.10

                                                                                                                SUBTOTAL                     $214,024.84

NAME ON FILE                                                03/04/2024                Other- Employee Expense                                  $2,781.62
ADDRESS ON FILE                                                                       Reimbursement
                                                            04/04/2024                Other- Employee Expense                                  $5,084.23
                                                                                      Reimbursement
                                                            05/01/2024                Other- Employee Expense                                  $4,100.19
                                                                                      Reimbursement
                                                            05/13/2024                Other- Employee Expense                                  $2,313.08
                                                                                      Reimbursement
                                                                                                                SUBTOTAL                      $14,279.12

NAME ON FILE                                                02/26/2024                Other- Employee Expense                                  $1,982.99
ADDRESS ON FILE                                                                       Reimbursement
                                                            03/18/2024                Other- Employee Expense                                  $2,698.62
                                                                                      Reimbursement
                                                            03/28/2024                Other- Employee Expense                                  $1,191.82
                                                                                      Reimbursement
                                                            04/04/2024                Other- Employee Expense                                   $417.86
                                                                                      Reimbursement
                                                            04/24/2024                Other- Employee Expense                                  $1,374.60
                                                                                      Reimbursement
                                                            04/30/2024                Other- Employee Expense                                  $1,029.18
                                                                                      Reimbursement
                                                                                                                SUBTOTAL                       $8,695.07

PARTS TOWN LLC                                              05/19/2024                Suppliers or Vendors                                    $32,778.01
27787 NETWORK PLACE
CHICAGO, IL 606731277
                                                                                                                SUBTOTAL                      $32,778.01

NAME ON FILE                                                03/04/2024                Other- Rent                                             $27,264.23
ADDRESS ON FILE
                                                            03/29/2024                Other- Rent                                             $27,264.23

                                                            04/30/2024                Other- Rent                                             $27,264.23

                                                                                                                SUBTOTAL                      $81,792.69

NAME ON FILE                                                02/27/2024                Other- Employee Expense                                   $959.23
ADDRESS ON FILE                                                                       Reimbursement
                                                            02/29/2024                Other- Employee Expense                                   $476.87
                                                                                      Reimbursement
                                                            03/21/2024                Other- Employee Expense                                  $6,768.25
                                                                                      Reimbursement
                                                            03/27/2024                Other- Employee Expense                                  $1,238.69
                                                                                      Reimbursement

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/04/2024                Other- Employee Expense                                  $1,219.28
                                                                                      Reimbursement
                                                            04/15/2024                Other- Employee Expense                                  $2,049.69
                                                                                      Reimbursement
                                                            04/22/2024                Other- Employee Expense                                  $1,261.06
                                                                                      Reimbursement
                                                            05/01/2024                Other- Employee Expense                                  $3,761.10
                                                                                      Reimbursement
                                                            05/13/2024                Other- Employee Expense                                  $1,062.52
                                                                                      Reimbursement
                                                                                                                SUBTOTAL                      $18,796.69

PECONIC LLC                                                 03/04/2024                Other- Rent                                             $34,225.78
740 ST NICHOLSON DRIVE
NEW YORK, NY 10031
                                                            03/29/2024                Other- Rent                                             $34,225.78

                                                            04/30/2024                Other- Rent                                             $34,225.78

                                                                                                                SUBTOTAL                     $102,677.34

NAME ON FILE                                                03/13/2024                Suppliers or Vendors                                     $1,100.00
ADDRESS ON FILE
                                                            04/25/2024                Suppliers or Vendors                                    $10,150.00

                                                            05/16/2024                Suppliers or Vendors                                     $2,250.00

                                                                                                                SUBTOTAL                      $13,500.00

PEGNATO ROOF INTELLIGENCE                                   02/23/2024                Suppliers or Vendors                                    $32,127.03
NETWORK
4307 ROMA CT
MARINA DEL REY, CA 90292-5998
                                                            03/21/2024                Suppliers or Vendors                                   $104,308.00

                                                            03/28/2024                Suppliers or Vendors                                    $21,425.19

                                                            04/04/2024                Suppliers or Vendors                                     $1,363.90

                                                            04/25/2024                Suppliers or Vendors                                    $79,671.76

                                                            05/02/2024                Suppliers or Vendors                                     $3,975.00

                                                            05/16/2024                Suppliers or Vendors                                    $78,274.70

                                                                                                                SUBTOTAL                     $321,145.58

PEPSI MIDAMERICA                                            02/21/2024                Suppliers or Vendors                                      $534.00
PO BOX 50-18241
ST LOUIS, MO 63150-8241
                                                            02/27/2024                Suppliers or Vendors                                     $1,166.40

                                                            03/04/2024                Suppliers or Vendors                                     $1,054.00

                                                            03/05/2024                Suppliers or Vendors                                      $316.20

                                                            03/11/2024                Suppliers or Vendors                                      $230.15

                                                            03/19/2024                Suppliers or Vendors                                      $316.20

                                                            03/26/2024                Suppliers or Vendors                                      $513.00

                                                            03/28/2024                Suppliers or Vendors                                      $233.76

                                                            04/01/2024                Suppliers or Vendors                                      $843.20

                                                            04/02/2024                Suppliers or Vendors                                      $739.45

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/08/2024                Suppliers or Vendors                                     $824.10

                                                            04/10/2024                Suppliers or Vendors                                     $316.20

                                                            04/15/2024                Suppliers or Vendors                                    $1,370.20

                                                            04/17/2024                Suppliers or Vendors                                     $316.20

                                                            04/19/2024                Suppliers or Vendors                                     $210.80

                                                            04/26/2024                Suppliers or Vendors                                     $218.80

                                                            05/01/2024                Suppliers or Vendors                                     $527.00

                                                            05/08/2024                Suppliers or Vendors                                     $210.80

                                                            05/14/2024                Suppliers or Vendors                                     $843.20

                                                                                                                SUBTOTAL                     $10,783.66

PERFICUT COMPANIES INC                                      04/25/2024                Suppliers or Vendors                                   $17,746.28
DBA QUALITY CARE LAWN
PO BOX 200477
DALLAS, TX 75320-0477
                                                            05/02/2024                Suppliers or Vendors                                    $4,001.07

                                                                                                                SUBTOTAL                     $21,747.35

PERFORMANCE FOOD GROUP                                      02/20/2024                Suppliers or Vendors                                    $1,187.70
INC
DBA REINHART FOODSERVICE
LLC
100 HARBORVIEW PLZ STE 200
LA CROSSE, WI 54601-4291
                                                            02/26/2024                Suppliers or Vendors                                     $692.16

                                                            02/27/2024                Suppliers or Vendors                                     $736.87

                                                            03/04/2024                Suppliers or Vendors                                     $460.23

                                                            03/06/2024                Suppliers or Vendors                                     $665.25

                                                            03/11/2024                Suppliers or Vendors                                     $405.36

                                                            03/12/2024                Suppliers or Vendors                                     $827.22

                                                            03/15/2024                Suppliers or Vendors                                     $566.79

                                                            03/18/2024                Suppliers or Vendors                                     $536.36

                                                            03/22/2024                Suppliers or Vendors                                     $392.50

                                                            03/25/2024                Suppliers or Vendors                                     $695.59

                                                            03/29/2024                Suppliers or Vendors                                     $321.47

                                                            04/01/2024                Suppliers or Vendors                                     $469.65

                                                            04/05/2024                Suppliers or Vendors                                     $387.00

                                                            04/08/2024                Suppliers or Vendors                                     $692.97

                                                            04/12/2024                Suppliers or Vendors                                     $405.84

                                                            04/15/2024                Suppliers or Vendors                                     $275.65

                                                            04/19/2024                Suppliers or Vendors                                     $493.49

                                                            04/22/2024                Suppliers or Vendors                                     $181.12


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/26/2024                Suppliers or Vendors                                      $615.36

                                                            04/29/2024                Suppliers or Vendors                                      $433.43

                                                            05/03/2024                Suppliers or Vendors                                      $402.32

                                                            05/06/2024                Suppliers or Vendors                                      $551.96

                                                            05/10/2024                Suppliers or Vendors                                      $398.05

                                                            05/13/2024                Suppliers or Vendors                                      $607.67

                                                                                                                SUBTOTAL                      $13,402.01

PERLICK COMPANY INC                                         03/04/2024                Suppliers or Vendors                                    $17,225.19
PO BOX 88802
MILWAUKEE, WI 53288-8802
                                                            04/01/2024                Suppliers or Vendors                                      $555.67

                                                            04/18/2024                Suppliers or Vendors                                      $879.66

                                                            05/02/2024                Suppliers or Vendors                                      $175.35

                                                                                                                SUBTOTAL                      $18,835.87

PERSAM WETHERSFIELD LLC                                     03/04/2024                Other- Rent                                             $43,253.25
118 KNICKERBOCKER AVENUE
BROOKLYN, NY 11237
                                                            03/29/2024                Other- Rent                                             $43,253.25

                                                            04/30/2024                Other- Rent                                             $43,253.25

                                                                                                                SUBTOTAL                     $129,759.75

NAME ON FILE                                                03/27/2024                Other- Employee Expense                                  $9,201.72
ADDRESS ON FILE                                                                       Reimbursement
                                                            03/29/2024                Other- Employee Expense                                  $1,691.02
                                                                                      Reimbursement
                                                            04/29/2024                Other- Employee Expense                                  $4,446.73
                                                                                      Reimbursement
                                                                                                                SUBTOTAL                      $15,339.47

PETER MOON HONG                                             03/04/2024                Other- Rent                                             $27,583.88
DBA THE 2015 HONG FAMILY
TRUST
24641 WILLOW TER
HARBOR CITY, CA 90710-4570
                                                            03/29/2024                Other- Rent                                             $27,583.88

                                                            04/30/2024                Other- Rent                                             $27,583.88

                                                                                                                SUBTOTAL                      $82,751.64

PFA-C SILVER SPRING LC                                      02/26/2024                Other- Rent                                              $2,354.33
PFA SILVER SPRING LOCKBOX
#075383
PO BOX 75383
CHARLOTTE, NC 28275
                                                            02/27/2024                Other- Rent                                             $28,578.55

                                                            03/28/2024                Other- Rent                                              $2,354.33

                                                            04/01/2024                Other- Rent                                             $28,578.55

                                                                                                                SUBTOTAL                      $61,865.76



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
PHEASANT REALTY LLC                                         03/04/2024                Other- Rent                                             $22,411.09
DBA 9069 VANTAGE POINT
DRIVE OWNER LLC
1776 61ST ST
BROOKLYN, NY 11204-2232
                                                            03/29/2024                Other- Rent                                             $22,411.09

                                                                                                                SUBTOTAL                      $44,822.18

PHILIP VELKA                                                03/04/2024                Other- Rent                                             $18,424.34
DBA THE VELKA FAMILY TRUST
1 MEMORY LN
SAN JUAN CAPISTRANO, CA
92675-1008
                                                            03/29/2024                Other- Rent                                             $18,424.34

                                                                                                                SUBTOTAL                      $36,848.68

PIECE MANAGEMENT INC                                        03/05/2024                Suppliers or Vendors                                    $27,678.44
117 SOUTH SECOND STREET
NEW HYDE PARK, NY 110404832
                                                            03/12/2024                Suppliers or Vendors                                     $2,926.36

                                                            04/02/2024                Suppliers or Vendors                                     $3,374.04

                                                            05/08/2024                Suppliers or Vendors                                      $579.22

                                                                                                                SUBTOTAL                      $34,558.06

PIEDMONT CNL TOWERS                                         02/26/2024                Other- Rent                                            $298,310.12
ORLAND LLC
PO BOX 743938
ATLANTA, GA 30374-3938
                                                            03/04/2024                Other- Rent                                             $17,695.66

                                                            04/01/2024                Other- Rent                                            $298,310.12

                                                            04/08/2024                Other- Rent                                              $8,316.61

                                                            04/22/2024                Other- Rent                                                $18.29

                                                            04/29/2024                Other- Rent                                            $298,310.12

                                                                                                                SUBTOTAL                     $920,960.92

PINE VIEW ENTERPRISES LLC                                   02/29/2024                Other- Rent                                             $47,623.98
10231 PRESTWICK TRAIL
LONE TREE, CO 80124
                                                            04/03/2024                Other- Rent                                             $47,623.98

                                                            04/30/2024                Other- Rent                                             $47,623.98

                                                                                                                SUBTOTAL                     $142,871.94

PINLEN LUBBOCK LLC                                          03/04/2024                Other- Rent                                             $28,290.31
C/O THE DAVIDMAN GROUP INC
1095 WOLVERTON E
BOCA RATON, FL 33434-4530
                                                            03/29/2024                Other- Rent                                             $28,290.31

                                                            04/30/2024                Other- Rent                                             $28,290.31

                                                                                                                SUBTOTAL                      $84,870.93




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Debtor Name: Red Lobster Management LLC                                                                                   Case Number: 24-02486

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                           SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address           Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                  Number
PINNACLE LAND MAINTENANCE                                    03/08/2024                Suppliers or Vendors                                   $14,241.00
INC
850 WEST BERESFORD ROAD
DELAND, FL 32720
                                                             03/29/2024                Suppliers or Vendors                                    $5,291.25

                                                             04/24/2024                Suppliers or Vendors                                    $3,954.50

                                                             05/13/2024                Suppliers or Vendors                                    $4,501.75

                                                             05/17/2024                Suppliers or Vendors                                    $1,396.00

                                                                                                                 SUBTOTAL                     $29,384.50

PIPE PRO INC                                                 02/23/2024                Suppliers or Vendors                                   $16,799.65
6633 8TH STREET SOUTH WEST
CEDAR RAPIDS, IA 52404
                                                             03/08/2024                Suppliers or Vendors                                    $6,244.40

                                                             03/13/2024                Suppliers or Vendors                                    $2,246.87

                                                             03/28/2024                Suppliers or Vendors                                     $655.68

                                                             05/02/2024                Suppliers or Vendors                                     $368.04

                                                                                                                 SUBTOTAL                     $26,314.64

PIQRED LLC                                                   03/04/2024                Other- Rent                                             $4,841.24
ATTN MICHAEL SCHMIDT
222 GRAND AVE
ENGLEWOOD, NJ 07631-4352
                                                             03/29/2024                Other- Rent                                             $4,841.25

                                                             04/30/2024                Other- Rent                                             $4,865.34

                                                                                                                 SUBTOTAL                     $14,547.83

PITCO FRIALATOR INC                                          03/04/2024                Suppliers or Vendors                                   $29,028.92
DBA PITCO/MAGIKITCHEN
2485 PAYSPHERE CIRCLE
CHICAGO, IL 60674
                                                             03/13/2024                Suppliers or Vendors                                   $16,599.99

                                                             03/27/2024                Suppliers or Vendors                                   $26,119.56

                                                             05/06/2024                Suppliers or Vendors                                    $8,820.52

                                                             05/08/2024                Suppliers or Vendors                                   $17,213.57

                                                                                                                 SUBTOTAL                     $97,782.56

PK II EL CAMINO NORTH LP                                     02/27/2024                Other- Rent                                             $1,862.17
PO BOX 30344
TAMPA, FL 33630-3344
                                                             02/28/2024                Other- Rent                                            $15,277.57

                                                             03/26/2024                Other- Rent                                             $1,862.17

                                                             04/01/2024                Other- Rent                                            $15,277.57

                                                             05/03/2024                Other- Rent                                             $1,862.17

                                                             05/15/2024                Other- Rent                                            $15,277.57

                                                                                                                 SUBTOTAL                     $51,419.22




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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
PLAINFIELD FRUIT AND                                        02/20/2024                Suppliers or Vendors                                   $19,931.07
PRODUCE CO INC
82 EXECUTIVE AVENUE
EDISON, NJ 08817
                                                            02/21/2024                Suppliers or Vendors                                    $8,567.63

                                                            02/22/2024                Suppliers or Vendors                                    $2,070.04

                                                            02/23/2024                Suppliers or Vendors                                    $9,496.81

                                                            02/26/2024                Suppliers or Vendors                                   $10,247.11

                                                            02/27/2024                Suppliers or Vendors                                   $17,416.80

                                                            02/28/2024                Suppliers or Vendors                                   $12,829.90

                                                            03/04/2024                Suppliers or Vendors                                   $14,149.08

                                                            03/06/2024                Suppliers or Vendors                                   $31,993.38

                                                            03/08/2024                Suppliers or Vendors                                    $8,314.34

                                                            03/11/2024                Suppliers or Vendors                                    $2,772.84

                                                            03/12/2024                Suppliers or Vendors                                   $35,031.94

                                                            03/14/2024                Suppliers or Vendors                                    $7,909.22

                                                            03/15/2024                Suppliers or Vendors                                    $3,738.60

                                                            03/18/2024                Suppliers or Vendors                                   $17,899.82

                                                            03/19/2024                Suppliers or Vendors                                   $12,573.80

                                                            03/21/2024                Suppliers or Vendors                                    $7,896.34

                                                            03/22/2024                Suppliers or Vendors                                    $2,876.49

                                                            03/25/2024                Suppliers or Vendors                                   $18,723.33

                                                            03/26/2024                Suppliers or Vendors                                   $14,775.63

                                                            03/28/2024                Suppliers or Vendors                                    $6,211.17

                                                            03/29/2024                Suppliers or Vendors                                    $5,494.36

                                                            04/01/2024                Suppliers or Vendors                                   $19,657.07

                                                            04/02/2024                Suppliers or Vendors                                   $11,508.97

                                                            04/04/2024                Suppliers or Vendors                                    $4,470.93

                                                            04/05/2024                Suppliers or Vendors                                    $5,098.96

                                                            04/08/2024                Suppliers or Vendors                                   $21,981.09

                                                            04/09/2024                Suppliers or Vendors                                   $12,412.17

                                                            04/11/2024                Suppliers or Vendors                                    $8,008.88

                                                            04/12/2024                Suppliers or Vendors                                    $3,833.99

                                                            04/15/2024                Suppliers or Vendors                                   $15,837.72

                                                            04/16/2024                Suppliers or Vendors                                   $14,426.88

                                                            04/18/2024                Suppliers or Vendors                                    $5,103.67

                                                            04/19/2024                Suppliers or Vendors                                    $3,370.28



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/22/2024                Suppliers or Vendors                                    $17,783.31

                                                            04/23/2024                Suppliers or Vendors                                    $12,901.91

                                                            04/25/2024                Suppliers or Vendors                                     $5,585.31

                                                            04/26/2024                Suppliers or Vendors                                     $2,949.57

                                                            04/29/2024                Suppliers or Vendors                                    $21,233.86

                                                            04/30/2024                Suppliers or Vendors                                     $9,939.51

                                                            05/02/2024                Suppliers or Vendors                                     $7,117.69

                                                            05/03/2024                Suppliers or Vendors                                     $4,511.02

                                                            05/06/2024                Suppliers or Vendors                                    $18,842.54

                                                            05/07/2024                Suppliers or Vendors                                    $13,788.64

                                                            05/09/2024                Suppliers or Vendors                                     $5,804.19

                                                            05/10/2024                Suppliers or Vendors                                     $3,797.03

                                                            05/13/2024                Suppliers or Vendors                                    $17,362.87

                                                            05/14/2024                Suppliers or Vendors                                    $15,416.55

                                                            05/16/2024                Suppliers or Vendors                                     $4,104.82

                                                                                                                SUBTOTAL                     $557,769.13

PLUMBING & DRAIN                                            03/26/2024                Suppliers or Vendors                                    $17,103.74
PROFESSIONALS LLC
372 MORRISON RD STE G
COLUMBUS, OH 43213-1412
                                                            04/30/2024                Suppliers or Vendors                                     $7,799.78

                                                            05/08/2024                Suppliers or Vendors                                      $825.31

                                                                                                                SUBTOTAL                      $25,728.83

POINT LOBSTER CO INC                                        02/20/2024                Suppliers or Vendors                                     $1,798.61
1 SAINT LOUIS AVE
POINT PLEASANT BEACH, NJ
08742-2651
                                                            02/21/2024                Suppliers or Vendors                                      $505.90

                                                            02/27/2024                Suppliers or Vendors                                      $216.35

                                                            02/28/2024                Suppliers or Vendors                                     $1,122.41

                                                            03/05/2024                Suppliers or Vendors                                     $3,095.63

                                                            03/06/2024                Suppliers or Vendors                                      $694.98

                                                            03/11/2024                Suppliers or Vendors                                      $132.72

                                                            03/12/2024                Suppliers or Vendors                                      $440.29

                                                            03/13/2024                Suppliers or Vendors                                      $338.48

                                                            03/18/2024                Suppliers or Vendors                                      $595.92

                                                            03/19/2024                Suppliers or Vendors                                      $322.60

                                                            03/20/2024                Suppliers or Vendors                                     $2,397.38

                                                            03/21/2024                Suppliers or Vendors                                     $1,395.64


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/02/2024                Suppliers or Vendors                                    $1,515.63

                                                            04/03/2024                Suppliers or Vendors                                    $2,342.55

                                                            04/08/2024                Suppliers or Vendors                                    $1,103.28

                                                            04/10/2024                Suppliers or Vendors                                     $510.91

                                                            04/15/2024                Suppliers or Vendors                                    $2,769.37

                                                            04/22/2024                Suppliers or Vendors                                     $877.31

                                                            04/24/2024                Suppliers or Vendors                                     $284.24

                                                            04/25/2024                Suppliers or Vendors                                    $1,011.08

                                                            04/29/2024                Suppliers or Vendors                                    $2,556.19

                                                            05/01/2024                Suppliers or Vendors                                     $588.26

                                                            05/06/2024                Suppliers or Vendors                                    $1,959.77

                                                            05/13/2024                Suppliers or Vendors                                    $2,629.72

                                                            05/15/2024                Suppliers or Vendors                                     $314.64

                                                                                                                SUBTOTAL                     $31,519.86

POLLYWOG TRANSPORT INC                                      02/20/2024                Suppliers or Vendors                                    $1,724.25
1908 28TH AVE E
PALMETTO, FL 34221-9290
                                                            02/22/2024                Suppliers or Vendors                                    $1,260.55

                                                            02/27/2024                Suppliers or Vendors                                    $1,708.15

                                                            02/29/2024                Suppliers or Vendors                                    $1,609.15

                                                            03/06/2024                Suppliers or Vendors                                    $1,796.00

                                                            03/07/2024                Suppliers or Vendors                                    $1,599.35

                                                            03/12/2024                Suppliers or Vendors                                    $1,139.40

                                                            03/15/2024                Suppliers or Vendors                                     $954.30

                                                            03/18/2024                Suppliers or Vendors                                    $1,166.35

                                                            03/20/2024                Suppliers or Vendors                                     $742.55

                                                            03/27/2024                Suppliers or Vendors                                     $763.90

                                                            04/01/2024                Suppliers or Vendors                                    $2,023.50

                                                            04/03/2024                Suppliers or Vendors                                     $526.95

                                                            04/08/2024                Suppliers or Vendors                                    $1,387.20

                                                            04/10/2024                Suppliers or Vendors                                     $465.00

                                                            04/12/2024                Suppliers or Vendors                                    $1,512.15

                                                            04/15/2024                Suppliers or Vendors                                    $1,799.15

                                                            04/17/2024                Suppliers or Vendors                                     $970.05

                                                            04/22/2024                Suppliers or Vendors                                    $2,004.25

                                                            04/24/2024                Suppliers or Vendors                                    $1,111.45

                                                            04/29/2024                Suppliers or Vendors                                    $2,006.00

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            05/01/2024                Suppliers or Vendors                                    $1,104.10

                                                            05/06/2024                Suppliers or Vendors                                    $1,782.70

                                                            05/08/2024                Suppliers or Vendors                                     $606.40

                                                            05/13/2024                Suppliers or Vendors                                    $1,791.45

                                                            05/15/2024                Suppliers or Vendors                                     $477.25

                                                                                                                SUBTOTAL                     $34,031.55

PORT MCDONALD INC                                           03/04/2024                Other- Rent                                            $23,005.78
PO BOX 481149
DELRAY BEACH, FL 33448-1149
                                                            03/29/2024                Other- Rent                                            $23,005.78

                                                            04/30/2024                Other- Rent                                            $23,005.78

                                                                                                                SUBTOTAL                     $69,017.34

POSTAL CENTER                                               03/18/2024                Suppliers or Vendors                                    $4,973.45
INTERNATIONAL INC
PO BOX 31792
DEPT 13340
TAMPA, FL 336313792
                                                            03/26/2024                Suppliers or Vendors                                    $1,643.01

                                                            04/22/2024                Suppliers or Vendors                                    $2,822.41

                                                            04/23/2024                Suppliers or Vendors                                     $693.75

                                                            04/30/2024                Suppliers or Vendors                                     $900.68

                                                            05/07/2024                Suppliers or Vendors                                    $1,185.69

                                                            05/14/2024                Suppliers or Vendors                                     $845.95

                                                            05/19/2024                Suppliers or Vendors                                    $6,701.29

                                                                                                                SUBTOTAL                     $19,766.23

POTATO SPECIALTY CO INC                                     02/20/2024                Suppliers or Vendors                                    $2,640.50
PO BOX 3925
LUBBOCK, TX 79452
                                                            02/21/2024                Suppliers or Vendors                                    $1,721.06

                                                            02/23/2024                Suppliers or Vendors                                    $2,792.56

                                                            02/26/2024                Suppliers or Vendors                                     $281.51

                                                            02/27/2024                Suppliers or Vendors                                    $2,170.00

                                                            02/28/2024                Suppliers or Vendors                                     $990.94

                                                            03/04/2024                Suppliers or Vendors                                    $1,808.14

                                                            03/06/2024                Suppliers or Vendors                                    $2,836.30

                                                            03/07/2024                Suppliers or Vendors                                     $775.57

                                                            03/08/2024                Suppliers or Vendors                                     $623.60

                                                            03/12/2024                Suppliers or Vendors                                    $4,627.32

                                                            03/14/2024                Suppliers or Vendors                                    $1,404.58

                                                            03/15/2024                Suppliers or Vendors                                     $219.45


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/18/2024                Suppliers or Vendors                                    $2,699.07

                                                            03/19/2024                Suppliers or Vendors                                    $1,219.51

                                                            03/21/2024                Suppliers or Vendors                                    $1,216.12

                                                            03/22/2024                Suppliers or Vendors                                       $92.83

                                                            03/25/2024                Suppliers or Vendors                                    $2,568.45

                                                            03/26/2024                Suppliers or Vendors                                    $1,101.67

                                                            03/27/2024                Suppliers or Vendors                                     $533.59

                                                            03/28/2024                Suppliers or Vendors                                    $1,547.36

                                                            04/01/2024                Suppliers or Vendors                                    $2,608.86

                                                            04/02/2024                Suppliers or Vendors                                    $1,182.76

                                                            04/04/2024                Suppliers or Vendors                                    $1,335.25

                                                            04/08/2024                Suppliers or Vendors                                    $2,810.28

                                                            04/09/2024                Suppliers or Vendors                                    $1,720.62

                                                            04/11/2024                Suppliers or Vendors                                    $1,653.68

                                                            04/15/2024                Suppliers or Vendors                                    $1,753.31

                                                            04/16/2024                Suppliers or Vendors                                    $1,388.42

                                                            04/18/2024                Suppliers or Vendors                                     $933.60

                                                            04/22/2024                Suppliers or Vendors                                    $1,851.69

                                                            04/23/2024                Suppliers or Vendors                                    $1,359.79

                                                            04/25/2024                Suppliers or Vendors                                    $1,705.21

                                                            04/29/2024                Suppliers or Vendors                                    $1,831.79

                                                            04/30/2024                Suppliers or Vendors                                    $1,400.97

                                                            05/02/2024                Suppliers or Vendors                                    $1,321.97

                                                            05/06/2024                Suppliers or Vendors                                    $1,942.86

                                                            05/07/2024                Suppliers or Vendors                                    $1,255.84

                                                            05/09/2024                Suppliers or Vendors                                    $1,243.67

                                                            05/13/2024                Suppliers or Vendors                                    $1,959.48

                                                            05/14/2024                Suppliers or Vendors                                    $1,373.00

                                                            05/16/2024                Suppliers or Vendors                                    $1,101.85

                                                                                                                SUBTOTAL                     $67,605.03

POTTSTOWN CENTER LP                                         03/04/2024                Other- Rent                                              $254.03
C/O LONGVIEW MANAGEMENT
LP
309 LANCASTER AVE STE C-3
MALVERN, PA 19355-1889
                                                            03/05/2024                Other- Rent                                             $8,672.08

                                                            04/02/2024                Other- Rent                                             $1,551.00

                                                            04/03/2024                Other- Rent                                             $8,672.08

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            05/02/2024                Other- Rent                                             $8,672.08

                                                            05/06/2024                Other- Rent                                             $1,551.00

                                                                                                                SUBTOTAL                     $29,372.27

PPINC LLC                                                   02/20/2024                Suppliers or Vendors                                    $8,321.02
PREMIER PRODUCE
2672 SW 36TH STREET
DANIA BEACH, FL 33312
                                                            02/21/2024                Suppliers or Vendors                                    $1,970.10

                                                            02/22/2024                Suppliers or Vendors                                     $302.85

                                                            02/23/2024                Suppliers or Vendors                                   $12,630.62

                                                            02/26/2024                Suppliers or Vendors                                    $1,930.23

                                                            02/27/2024                Suppliers or Vendors                                    $6,765.55

                                                            02/28/2024                Suppliers or Vendors                                    $1,043.12

                                                            02/29/2024                Suppliers or Vendors                                     $455.96

                                                            03/04/2024                Suppliers or Vendors                                    $8,687.59

                                                            03/06/2024                Suppliers or Vendors                                    $9,158.54

                                                            03/08/2024                Suppliers or Vendors                                    $9,839.81

                                                            03/11/2024                Suppliers or Vendors                                     $544.71

                                                            03/12/2024                Suppliers or Vendors                                    $9,472.35

                                                            03/14/2024                Suppliers or Vendors                                    $8,201.97

                                                            03/15/2024                Suppliers or Vendors                                    $1,827.29

                                                            03/18/2024                Suppliers or Vendors                                   $10,604.62

                                                            03/19/2024                Suppliers or Vendors                                     $608.18

                                                            03/21/2024                Suppliers or Vendors                                    $8,358.56

                                                            03/22/2024                Suppliers or Vendors                                     $543.97

                                                            03/25/2024                Suppliers or Vendors                                    $8,309.63

                                                            03/26/2024                Suppliers or Vendors                                     $569.23

                                                            03/28/2024                Suppliers or Vendors                                    $5,448.66

                                                            03/29/2024                Suppliers or Vendors                                    $1,878.77

                                                            04/01/2024                Suppliers or Vendors                                    $9,504.16

                                                            04/02/2024                Suppliers or Vendors                                     $103.55

                                                            04/04/2024                Suppliers or Vendors                                    $7,195.05

                                                            04/05/2024                Suppliers or Vendors                                     $169.35

                                                            04/08/2024                Suppliers or Vendors                                   $11,694.75

                                                            04/09/2024                Suppliers or Vendors                                     $349.20

                                                            04/10/2024                Suppliers or Vendors                                    $1,139.15

                                                            04/11/2024                Suppliers or Vendors                                    $8,181.60



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/15/2024                Suppliers or Vendors                                     $9,404.45

                                                            04/16/2024                Suppliers or Vendors                                       $34.56

                                                            04/18/2024                Suppliers or Vendors                                     $6,876.56

                                                            04/19/2024                Suppliers or Vendors                                      $861.23

                                                            04/22/2024                Suppliers or Vendors                                     $5,863.79

                                                            04/23/2024                Suppliers or Vendors                                     $2,897.56

                                                            04/25/2024                Suppliers or Vendors                                     $8,439.82

                                                            04/29/2024                Suppliers or Vendors                                     $8,989.77

                                                            04/30/2024                Suppliers or Vendors                                      $245.60

                                                            05/02/2024                Suppliers or Vendors                                     $6,299.03

                                                            05/03/2024                Suppliers or Vendors                                      $481.28

                                                            05/06/2024                Suppliers or Vendors                                     $8,454.19

                                                            05/07/2024                Suppliers or Vendors                                      $170.25

                                                            05/09/2024                Suppliers or Vendors                                     $6,178.26

                                                            05/10/2024                Suppliers or Vendors                                     $1,586.06

                                                            05/13/2024                Suppliers or Vendors                                     $7,919.22

                                                            05/14/2024                Suppliers or Vendors                                     $1,784.02

                                                            05/16/2024                Suppliers or Vendors                                     $6,158.04

                                                                                                                SUBTOTAL                     $238,453.83

PRAN MCCAIN LLC                                             03/04/2024                Other- Rent                                             $43,901.28
ATTN NUTAN BHASKAR
12570 PINDELL CIR
ALPHARETTA, GA 30004-1034
                                                            03/29/2024                Other- Rent                                             $43,901.28

                                                            04/30/2024                Other- Rent                                             $43,901.28

                                                                                                                SUBTOTAL                     $131,703.84

PRATT GOLDSMITH INC                                         03/04/2024                Other- Rent                                             $18,735.78
AGENT FOR HARDEN RANCH
PLAZA
PO BOX 718
RODEO, CA 94572-0718
                                                            04/03/2024                Other- Rent                                             $18,735.78

                                                            05/02/2024                Other- Rent                                             $18,735.78

                                                                                                                SUBTOTAL                      $56,207.34

PREMIER PRODUCE CENTRAL                                     02/20/2024                Suppliers or Vendors                                    $27,407.95
FLORIDA INC
PREMIER PRODUCE CENTRAL
FLORIDA INC
PO BOX 7829
CAROL STREAM, IL 601977829
                                                            02/21/2024                Suppliers or Vendors                                    $12,022.22

                                                            02/23/2024                Suppliers or Vendors                                    $25,622.44


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            02/26/2024                Suppliers or Vendors                                   $10,719.53

                                                            02/27/2024                Suppliers or Vendors                                   $20,354.65

                                                            02/28/2024                Suppliers or Vendors                                    $9,882.72

                                                            02/29/2024                Suppliers or Vendors                                     $882.95

                                                            03/04/2024                Suppliers or Vendors                                   $26,136.94

                                                            03/06/2024                Suppliers or Vendors                                   $32,016.04

                                                            03/08/2024                Suppliers or Vendors                                   $17,603.24

                                                            03/11/2024                Suppliers or Vendors                                   $10,998.85

                                                            03/12/2024                Suppliers or Vendors                                   $35,084.08

                                                            03/14/2024                Suppliers or Vendors                                   $17,218.16

                                                            03/15/2024                Suppliers or Vendors                                    $7,430.38

                                                            03/18/2024                Suppliers or Vendors                                   $21,349.77

                                                            03/19/2024                Suppliers or Vendors                                    $8,393.98

                                                            03/21/2024                Suppliers or Vendors                                   $15,752.82

                                                            03/22/2024                Suppliers or Vendors                                    $7,213.19

                                                            03/25/2024                Suppliers or Vendors                                   $21,400.91

                                                            03/26/2024                Suppliers or Vendors                                    $9,850.64

                                                            03/28/2024                Suppliers or Vendors                                   $13,730.63

                                                            03/29/2024                Suppliers or Vendors                                   $10,491.78

                                                            04/01/2024                Suppliers or Vendors                                   $19,691.60

                                                            04/02/2024                Suppliers or Vendors                                    $8,564.01

                                                            04/04/2024                Suppliers or Vendors                                   $15,825.06

                                                            04/05/2024                Suppliers or Vendors                                    $6,951.61

                                                            04/08/2024                Suppliers or Vendors                                   $22,092.22

                                                            04/09/2024                Suppliers or Vendors                                   $11,711.58

                                                            04/11/2024                Suppliers or Vendors                                   $12,663.52

                                                            04/12/2024                Suppliers or Vendors                                    $7,597.82

                                                            04/15/2024                Suppliers or Vendors                                   $23,834.25

                                                            04/16/2024                Suppliers or Vendors                                    $8,603.88

                                                            04/18/2024                Suppliers or Vendors                                   $15,885.85

                                                            04/19/2024                Suppliers or Vendors                                    $7,314.89

                                                            04/22/2024                Suppliers or Vendors                                   $20,426.78

                                                            04/23/2024                Suppliers or Vendors                                   $10,794.21

                                                            04/25/2024                Suppliers or Vendors                                   $12,999.00

                                                            04/26/2024                Suppliers or Vendors                                    $7,319.12

                                                            04/29/2024                Suppliers or Vendors                                   $19,009.64

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/30/2024                Suppliers or Vendors                                    $11,838.75

                                                            05/02/2024                Suppliers or Vendors                                    $15,250.56

                                                            05/03/2024                Suppliers or Vendors                                     $6,334.32

                                                            05/06/2024                Suppliers or Vendors                                    $19,035.85

                                                            05/07/2024                Suppliers or Vendors                                     $8,695.42

                                                            05/09/2024                Suppliers or Vendors                                    $14,358.32

                                                            05/10/2024                Suppliers or Vendors                                     $6,199.59

                                                            05/13/2024                Suppliers or Vendors                                    $17,708.46

                                                            05/14/2024                Suppliers or Vendors                                     $7,407.38

                                                            05/16/2024                Suppliers or Vendors                                    $19,217.23

                                                                                                                SUBTOTAL                     $718,894.79

PRESTO AUTOMATION INC                                       03/04/2024                Suppliers or Vendors                                    $10,561.61
DBA E LA CARTE LLC
985 INDUSTRIAL RD STE 205
SAN CARLOS, CA 94070-4157
                                                            03/11/2024                Suppliers or Vendors                                      $653.84

                                                            03/28/2024                Suppliers or Vendors                                      $426.60

                                                                                                                SUBTOTAL                      $11,642.05

PRICEWATERHOUSE COOPERS                                     03/14/2024                Services                                                $72,586.00
LLP
PO BOX 932011
ATLANTA, GA 311932011
                                                            03/22/2024                Services                                                $47,000.00

                                                            04/03/2024                Services                                               $219,110.00

                                                            05/10/2024                Services                                               $100,000.00

                                                                                                                SUBTOTAL                     $438,696.00

PRINCE WILLIAN COUNTY                                       02/26/2024                Other- Government / Regulatory                          $11,712.61

                                                                                                                SUBTOTAL                      $11,712.61

PRINCIPAL                                                   02/23/2024                Suppliers or Vendors                                   $307,264.30

                                                            03/01/2024                Suppliers or Vendors                                   $283,609.20

                                                            03/08/2024                Suppliers or Vendors                                   $277,552.07

                                                            03/15/2024                Suppliers or Vendors                                   $276,542.38

                                                            03/22/2024                Suppliers or Vendors                                   $427,412.79

                                                            03/29/2024                Suppliers or Vendors                                   $267,795.73

                                                            04/05/2024                Suppliers or Vendors                                   $267,281.57

                                                            04/12/2024                Suppliers or Vendors                                   $262,359.86

                                                            04/19/2024                Suppliers or Vendors                                   $262,359.86

                                                            04/23/2024                Suppliers or Vendors                                     $1,363.35



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/26/2024                Suppliers or Vendors                                    $261,186.42

                                                            05/03/2024                Suppliers or Vendors                                    $257,450.06

                                                            05/08/2024                Suppliers or Vendors                                   $1,005,741.02

                                                            05/10/2024                Suppliers or Vendors                                    $251,989.39

                                                            05/16/2024                Suppliers or Vendors                                    $282,201.33

                                                                                                                SUBTOTAL                     $4,692,109.33

PRIZEOUT CORP                                               03/13/2024                Suppliers or Vendors                                     $13,000.00
33 W 17TH ST FL 8
NEW YORK, NY 10011-5511
                                                            04/18/2024                Suppliers or Vendors                                      $8,000.00

                                                                                                                SUBTOTAL                       $21,000.00

PRO AIR MECHANICAL INC                                      02/20/2024                Suppliers or Vendors                                      $1,639.93
285 N US HIGHWAY 17-92
LONGWOOD, FL 32750-4424
                                                            03/04/2024                Suppliers or Vendors                                      $3,532.79

                                                            03/13/2024                Suppliers or Vendors                                     $10,195.34

                                                            03/28/2024                Suppliers or Vendors                                      $1,963.83

                                                            05/02/2024                Suppliers or Vendors                                      $1,989.60

                                                                                                                SUBTOTAL                       $19,321.49

PROGRESSIVE FLOORING                                        03/08/2024                Suppliers or Vendors                                    $103,182.12
SERVICES INC
100 HERITAGE DRIVE
ETNA, OH 43062-8042
                                                            03/21/2024                Suppliers or Vendors                                     $35,858.66

                                                            04/25/2024                Suppliers or Vendors                                        $640.06

                                                                                                                SUBTOTAL                      $139,680.84

PRO-HYGIENE                                                 02/22/2024                Suppliers or Vendors                                      $8,489.58
DBA XTREME HYGIENE
40 CYPRESS CREEK PKWY PMB
220
HOUSTON, TX 77090-3530
                                                            02/27/2024                Suppliers or Vendors                                         $75.78

                                                            03/06/2024                Suppliers or Vendors                                        $577.52

                                                            03/19/2024                Suppliers or Vendors                                        $260.24

                                                            04/03/2024                Suppliers or Vendors                                      $1,104.43

                                                                                                                SUBTOTAL                       $10,507.55

PROLOGIS LP                                                 02/27/2024                Other- Rent                                              $11,640.16
PO BOX 846255
DALLAS, TX 752846255
                                                            04/03/2024                Other- Rent                                              $11,640.16

                                                            05/02/2024                Other- Rent                                              $11,640.16

                                                                                                                SUBTOTAL                       $34,920.48




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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
PROPERTY WORX LLC                                           04/25/2024                Suppliers or Vendors                                     $21,631.13
PO BOX 1312
DELAWARE, OH 43015-8312
                                                                                                                SUBTOTAL                       $21,631.13

PROSKAUER ROSE LLP                                          05/15/2024                Suppliers or Vendors                                   $2,500,000.00

                                                                                                                SUBTOTAL                     $2,500,000.00

PRO-TECH COOLING & HEATING                                  02/23/2024                Suppliers or Vendors                                     $12,679.68
155 PRAIRIE LAKE RD STE C
EAST DUNDEE, IL 60118-9123
                                                            03/08/2024                Suppliers or Vendors                                      $2,291.77

                                                            03/28/2024                Suppliers or Vendors                                      $9,009.76

                                                            04/25/2024                Suppliers or Vendors                                      $4,844.27

                                                                                                                SUBTOTAL                       $28,825.48

PRO-TECH SERVICES                                           03/11/2024                Suppliers or Vendors                                      $5,330.50
DBA PRO-TECH SERVICES LLC
4101 N WOOD RD
EAGLE MOUNTAIN, UT
84005-6507
                                                            03/21/2024                Suppliers or Vendors                                      $3,856.02

                                                            04/04/2024                Suppliers or Vendors                                      $3,345.07

                                                            05/02/2024                Suppliers or Vendors                                      $2,105.39

                                                            05/09/2024                Suppliers or Vendors                                      $1,531.04

                                                                                                                SUBTOTAL                       $16,168.02

NAME ON FILE                                                02/29/2024                Other- Employee Expense                                   $1,939.32
ADDRESS ON FILE                                                                       Reimbursement
                                                            04/04/2024                Other- Employee Expense                                   $2,137.28
                                                                                      Reimbursement
                                                            04/17/2024                Other- Employee Expense                                   $6,912.63
                                                                                      Reimbursement
                                                            04/30/2024                Other- Employee Expense                                   $4,024.97
                                                                                      Reimbursement
                                                            05/13/2024                Other- Employee Expense                                   $3,384.57
                                                                                      Reimbursement
                                                                                                                SUBTOTAL                       $18,398.77

PROVENDER HALL I LLC                                        03/04/2024                Other- Rent                                              $29,168.66
ATTN JOANNE FOX
301 MISSION ST APT 29C
SAN FRANCISCO, CA 94105-6652
                                                            03/29/2024                Other- Rent                                              $29,168.66

                                                                                                                SUBTOTAL                       $58,337.32

PRSS LLC                                                    03/04/2024                Other- Rent                                              $25,148.34
C/O POORNACHANDER UPPALA
2407 RAINFLOWER MEADOW LN
KATY, TX 77494-7809
                                                            03/29/2024                Other- Rent                                              $25,148.34

                                                            04/30/2024                Other- Rent                                              $25,148.34

                                                                                                                SUBTOTAL                       $75,445.02



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
PSCO KIEFFER INC                                            02/28/2024                Suppliers or Vendors                                     $508.76
PO BOX 72617
CLEVELAND, OH 44192-0001
                                                            03/20/2024                Suppliers or Vendors                                   $11,595.08

                                                            04/18/2024                Suppliers or Vendors                                    $4,486.89

                                                            04/24/2024                Suppliers or Vendors                                    $5,261.00

                                                                                                                SUBTOTAL                     $21,851.73

PT HOLDINGS LLC                                             03/08/2024                Suppliers or Vendors                                    $1,856.87
DBA RESTAURANT EQUIPMENT
SERVICE GROUP LLC
TOTAL MECHANICAL SERVICE
27766 NETWORK PLACE
LOCKBOX 27766
CHICAGO, IL 60673-1277
                                                            03/28/2024                Suppliers or Vendors                                    $3,720.09

                                                            04/04/2024                Suppliers or Vendors                                    $3,550.97

                                                            04/25/2024                Suppliers or Vendors                                    $2,231.35

                                                                                                                SUBTOTAL                     $11,359.28

PT INTERMEDIATE HOLDINGS IV                                 02/21/2024                Suppliers or Vendors                                    $7,809.96
LLC
DBA GENERAL PARTS LLC
MI 10
PO BOX 9201
MINNEAPOLIS, MN 55480-9201
                                                            02/23/2024                Suppliers or Vendors                                    $1,635.81

                                                            03/08/2024                Suppliers or Vendors                                     $168.35

                                                            03/28/2024                Suppliers or Vendors                                   $16,799.70

                                                            04/25/2024                Suppliers or Vendors                                   $10,339.62

                                                                                                                SUBTOTAL                     $36,753.44

PUMA INDUSTRIES 307 LLC                                     03/04/2024                Other- Rent                                            $11,857.05
DBA 828 EASTERN BYPASS
OWNER LLC
701 N FORT LAUDERDALE
BEACH BLVD
UNIT 1604
FORT LAUDERDALE, FL
33304-4148
                                                            03/29/2024                Other- Rent                                            $11,857.05

                                                            04/30/2024                Other- Rent                                            $11,857.05

                                                                                                                SUBTOTAL                     $35,571.15

PVSC COMPANY                                                03/07/2024                Other- Rent                                             $6,219.59
PO BOX 331
ALTOONA, PA 16603-0331
                                                            04/03/2024                Other- Rent                                             $6,219.59

                                                            05/03/2024                Other- Rent                                             $6,219.59

                                                                                                                SUBTOTAL                     $18,658.77




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

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Creditor Name & Address            Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                   Number
PW WATERTOWN LLC                                              03/04/2024                Other- Rent                                             $10,773.77
C/O PERI WOLFMAN
PO BOX 911
BRIDGEHAMPTON, NY
11932-0911
                                                              03/29/2024                Other- Rent                                             $10,773.77

                                                                                                                  SUBTOTAL                      $21,547.54

QR RUSHMORE LLC                                               03/04/2024                Other- Rent                                              $9,916.66
ATTN MALL MANAGEMENT
OFFICE
2200 N MAPLE AVE
RAPID CITY, SD 57701-7854
                                                              03/29/2024                Other- Rent                                              $9,916.66

                                                                                                                  SUBTOTAL                      $19,833.32

QSR AUTOMATIONS INC                                           02/23/2024                Suppliers or Vendors                                       $26.64
2700 BUDDEKE DR
LOUISVILLE, KY 40206-1051
                                                              03/08/2024                Suppliers or Vendors                                   $241,623.64

                                                              03/28/2024                Suppliers or Vendors                                     $3,624.60

                                                              04/11/2024                Suppliers or Vendors                                     $3,387.03

                                                              04/25/2024                Suppliers or Vendors                                       $69.22

                                                              05/02/2024                Suppliers or Vendors                                      $104.23

                                                              05/09/2024                Suppliers or Vendors                                   $253,849.09

                                                              05/14/2024                Suppliers or Vendors                                      $551.94

                                                                                                                  SUBTOTAL                     $503,236.39

QUALITY F & V LLC                                             02/20/2024                Suppliers or Vendors                                     $9,619.67
DBA QUALITY FRUIT & VEG CO
10 ZANE GREY
EL PASO, TX 799065266
                                                              02/21/2024                Suppliers or Vendors                                     $1,362.77

                                                              02/22/2024                Suppliers or Vendors                                     $3,237.48

                                                              02/26/2024                Suppliers or Vendors                                     $3,721.35

                                                              02/27/2024                Suppliers or Vendors                                     $6,450.58

                                                              02/28/2024                Suppliers or Vendors                                     $1,004.96

                                                              02/29/2024                Suppliers or Vendors                                     $3,760.73

                                                              03/04/2024                Suppliers or Vendors                                     $4,652.03

                                                              03/06/2024                Suppliers or Vendors                                     $9,982.59

                                                              03/07/2024                Suppliers or Vendors                                     $1,657.51

                                                              03/08/2024                Suppliers or Vendors                                       $26.15

                                                              03/11/2024                Suppliers or Vendors                                     $3,873.16

                                                              03/12/2024                Suppliers or Vendors                                     $8,910.66

                                                              03/13/2024                Suppliers or Vendors                                     $1,869.55

                                                              03/14/2024                Suppliers or Vendors                                      $413.10


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/15/2024                Suppliers or Vendors                                   $4,625.83

                                                            03/18/2024                Suppliers or Vendors                                   $7,133.30

                                                            03/19/2024                Suppliers or Vendors                                   $1,606.07

                                                            03/20/2024                Suppliers or Vendors                                   $1,898.89

                                                            03/22/2024                Suppliers or Vendors                                   $1,886.52

                                                            03/25/2024                Suppliers or Vendors                                   $7,520.11

                                                            03/26/2024                Suppliers or Vendors                                    $744.38

                                                            03/27/2024                Suppliers or Vendors                                   $2,508.87

                                                            03/28/2024                Suppliers or Vendors                                    $260.00

                                                            03/29/2024                Suppliers or Vendors                                   $4,117.54

                                                            04/01/2024                Suppliers or Vendors                                   $6,766.15

                                                            04/02/2024                Suppliers or Vendors                                   $2,056.94

                                                            04/03/2024                Suppliers or Vendors                                   $2,246.04

                                                            04/05/2024                Suppliers or Vendors                                   $3,970.31

                                                            04/08/2024                Suppliers or Vendors                                   $6,619.17

                                                            04/09/2024                Suppliers or Vendors                                   $5,168.36

                                                            04/12/2024                Suppliers or Vendors                                   $3,402.75

                                                            04/15/2024                Suppliers or Vendors                                   $5,384.72

                                                            04/16/2024                Suppliers or Vendors                                   $1,652.73

                                                            04/17/2024                Suppliers or Vendors                                   $2,222.41

                                                            04/18/2024                Suppliers or Vendors                                   $1,848.97

                                                            04/19/2024                Suppliers or Vendors                                   $2,864.03

                                                            04/22/2024                Suppliers or Vendors                                   $5,965.95

                                                            04/23/2024                Suppliers or Vendors                                   $1,285.59

                                                            04/24/2024                Suppliers or Vendors                                   $2,101.42

                                                            04/26/2024                Suppliers or Vendors                                   $2,843.26

                                                            04/29/2024                Suppliers or Vendors                                   $5,567.50

                                                            04/30/2024                Suppliers or Vendors                                   $2,605.30

                                                            05/01/2024                Suppliers or Vendors                                   $1,699.48

                                                            05/02/2024                Suppliers or Vendors                                    $110.70

                                                            05/03/2024                Suppliers or Vendors                                   $2,836.33

                                                            05/06/2024                Suppliers or Vendors                                   $6,162.68

                                                            05/07/2024                Suppliers or Vendors                                   $1,481.42

                                                            05/08/2024                Suppliers or Vendors                                   $2,363.91

                                                            05/09/2024                Suppliers or Vendors                                    $131.70

                                                            05/10/2024                Suppliers or Vendors                                   $2,482.89

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            05/13/2024                Suppliers or Vendors                                     $6,649.25

                                                            05/14/2024                Suppliers or Vendors                                     $1,607.63

                                                            05/15/2024                Suppliers or Vendors                                     $2,511.79

                                                                                                                SUBTOTAL                     $185,453.18

QUALITY REFRIGERATION                                       02/23/2024                Suppliers or Vendors                                    $18,196.84
CONCEPTS INC
DBA QRC INC
215 CASSELL ST
WINSTON SALEM, NC 27127-4810
                                                            03/08/2024                Suppliers or Vendors                                     $1,027.79

                                                            03/13/2024                Suppliers or Vendors                                     $4,834.54

                                                            03/21/2024                Suppliers or Vendors                                    $21,077.05

                                                                                                                SUBTOTAL                      $45,136.22

QUALITY REFRIGERATION INC                                   02/23/2024                Suppliers or Vendors                                      $997.58
6237 PENN AVE SO SUITE 100
RICHFIELD, MN 55423
                                                            03/13/2024                Suppliers or Vendors                                    $13,068.61

                                                            03/28/2024                Suppliers or Vendors                                     $7,756.84

                                                            04/25/2024                Suppliers or Vendors                                    $11,199.33

                                                            05/02/2024                Suppliers or Vendors                                     $5,477.05

                                                                                                                SUBTOTAL                      $38,499.41

QUICK CONSTRUCTION INC                                      04/02/2024                Suppliers or Vendors                                    $94,000.00
PO BOX 8
CANDOR, NY 13743-0008
                                                                                                                SUBTOTAL                      $94,000.00

QUICK SERVANT COMPANY INC                                   03/04/2024                Suppliers or Vendors                                     $2,520.00
12011 GUILFORD ROAD
UNIT 101
ANNAPOLIS JUNCTION, MD
20701
                                                            03/08/2024                Suppliers or Vendors                                     $2,628.99

                                                            03/28/2024                Suppliers or Vendors                                    $17,924.06

                                                            04/25/2024                Suppliers or Vendors                                    $13,709.07

                                                                                                                SUBTOTAL                      $36,782.12

QWEST MECHANICAL CORP                                       02/20/2024                Suppliers or Vendors                                    $27,747.23
33940 E ROYALTON RD
COLUMBIA STATION, OH
44028-9164
                                                            03/04/2024                Suppliers or Vendors                                    $10,437.24

                                                            03/08/2024                Suppliers or Vendors                                     $3,005.62

                                                            03/28/2024                Suppliers or Vendors                                    $42,254.91

                                                            05/02/2024                Suppliers or Vendors                                    $26,816.63

                                                                                                                SUBTOTAL                     $110,261.63



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Debtor Name: Red Lobster Management LLC                                                                                   Case Number: 24-02486

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Creditor Name & Address           Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                  Number
R & P RESTAURANT SERVICE                                     02/20/2024                Suppliers or Vendors                                    $25,146.24
INC
324 N 325 E
VALPARAISO, IN 46383
                                                             03/04/2024                Suppliers or Vendors                                     $4,882.13

                                                             03/08/2024                Suppliers or Vendors                                      $675.00

                                                             03/28/2024                Suppliers or Vendors                                     $3,150.89

                                                             04/04/2024                Suppliers or Vendors                                     $2,293.88

                                                             05/02/2024                Suppliers or Vendors                                      $661.00

                                                                                                                 SUBTOTAL                      $36,809.14

R&H PROPERTIES LP                                            03/04/2024                Other- Rent                                             $18,386.99
2243 E DEL RAE DR
FLAGSTAFF, AZ 86005-2763
                                                             03/29/2024                Other- Rent                                             $18,386.99

                                                             04/30/2024                Other- Rent                                             $18,386.99

                                                                                                                 SUBTOTAL                      $55,160.97

RAAB SERVICE INC                                             02/26/2024                Suppliers or Vendors                                    $49,408.90
2015 B S WEST AVE
WAUKESHA, WI 53189
                                                             03/12/2024                Suppliers or Vendors                                     $6,961.65

                                                             04/03/2024                Suppliers or Vendors                                     $9,137.26

                                                                                                                 SUBTOTAL                      $65,507.81

RAI SAWAK LLC                                                03/04/2024                Other- Rent                                             $11,590.33
C/O MARK RAI
8932 S SHADOW BAY DR
ORLANDO, FL 32825-3707
                                                             03/29/2024                Other- Rent                                             $11,590.33

                                                             04/30/2024                Other- Rent                                             $11,590.33

                                                                                                                 SUBTOTAL                      $34,770.99

RAI UNION REALTY LLC                                         03/04/2024                Other- Rent                                             $15,842.42
C/O SHAMWATIE SAWAK
8932 S SHADOW BAY DR
ORLANDO, FL 32825-3707
                                                             03/29/2024                Other- Rent                                             $15,842.42

                                                             04/30/2024                Other- Rent                                             $15,842.42

                                                                                                                 SUBTOTAL                      $47,527.26

RAINMAKER THINKING INC                                       03/15/2024                Suppliers or Vendors                                   $102,500.00
PO BOX 6082
WALLINGFORD, CT 06492-0089
                                                             05/02/2024                Suppliers or Vendors                                   $102,500.00

                                                                                                                 SUBTOTAL                     $205,000.00

RAYMARC RE LLC                                               03/04/2024                Other- Rent                                             $39,193.68
1145 E 80TH STREET
APT 9GH
NEW YORK, NY 10075
                                                             03/29/2024                Other- Rent                                             $39,193.68


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/30/2024                Other- Rent                                             $39,193.68

                                                                                                                SUBTOTAL                     $117,581.04

RAYMARK MECHANICAL INC                                      02/23/2024                Suppliers or Vendors                                     $7,929.75
DBA RAYFORD MECHANICAL
3520 ALDINE BENDER RD SUITE
B
HOUSTON, TX 77032-3723
                                                            03/21/2024                Suppliers or Vendors                                     $2,325.02

                                                                                                                SUBTOTAL                      $10,254.77

RB SANDRINI FARMS LP                                        03/04/2024                Other- Rent                                             $30,456.95
C/O RICHARD SANDRINI
10889 CASEY AVENUE
DELANO, CA 93215-9316
                                                            03/29/2024                Other- Rent                                             $30,456.95

                                                                                                                SUBTOTAL                      $60,913.90

RDHW MANAGEMENT LLC                                         03/04/2024                Other- Rent                                             $14,634.96
DBA ROD DE LLANO FAMILY
PARTNERSHIP LP
HERBERT AND ISABEL WOLFE
TTEES, WOLFE TR
440 LOUISIANA ST STE 1212
HOUSTON, TX 77002-1056
                                                            03/29/2024                Other- Rent                                             $14,634.96

                                                            04/30/2024                Other- Rent                                             $14,634.96

                                                                                                                SUBTOTAL                      $43,904.88

REAL ESTATE SERVICES INC                                    03/04/2024                Other- Rent                                             $16,305.51
PO BOX 600653
SAN DIEGO, CA 92160
                                                            03/29/2024                Other- Rent                                              $4,779.38

                                                                                                                SUBTOTAL                      $21,084.89

REALTY INCOME CORPORATION                                   03/07/2024                Other- Rent                                            $286,129.87
DBA SPIRIT MASTER FUNDING IX
LLC
PO BOX 103128
PASADENA, CA 91189-0153
                                                            04/01/2024                Other- Rent                                            $286,129.87

                                                            04/29/2024                Other- Rent                                            $286,129.87

                                                                                                                SUBTOTAL                     $858,389.61

RED DAWN SEI BUYER INC                                      04/01/2024                Suppliers or Vendors                                    $69,589.99
DBA SERVICE EXPRESS LLC
DEPT 6306
PO BOX 30516
LANSING, MI 48909-8016
                                                                                                                SUBTOTAL                      $69,589.99

RED GARDEN LLC                                              03/04/2024                Other- Rent                                             $18,481.31
222 GRAND AVE
ENGLEWOOD, NJ 07631
                                                            03/29/2024                Other- Rent                                             $18,481.31

                                                            04/30/2024                Other- Rent                                             $18,481.31


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number

                                                                                                                SUBTOTAL                      $55,443.93

RED LOBSTER MASTER                                          03/13/2024                Other- Government / Regulatory                          $11,625.00
HOLDINGS LP
DBA RED LOBSTER
MANAGEMENT LLC
450 S ORANGE AVENUE
SUITE 800
ORLANDO, FL 32801
                                                                                                                SUBTOTAL                      $11,625.00

RED LOBSTER OF LAKELAND                                     03/04/2024                Other- Rent                                             $41,908.49
LLC
5194 SEAHORSE AVE
NAPLES, FL 34103-2465
                                                            03/29/2024                Other- Rent                                             $41,908.49

                                                            04/30/2024                Other- Rent                                             $41,908.49

                                                                                                                SUBTOTAL                     $125,725.47

RED LOBSTER ST CLOUD MN                                     03/04/2024                Other- Rent                                             $34,051.25
LLC
20161 OCEAN KEY DR
BOCA RATON, FL 33498-4530
                                                            03/29/2024                Other- Rent                                             $34,051.25

                                                            04/30/2024                Other- Rent                                             $34,051.25

                                                                                                                SUBTOTAL                     $102,153.75

RED OLIVE PROPERTIES LLC                                    03/04/2024                Other- Rent                                             $15,749.19
C/O CBRE INC PROPERTY
ACCOUNTING SVCS
3820 W HAPPY VALLEY RD
141-445
GLENDALE, AZ 85310
                                                            03/29/2024                Other- Rent                                             $12,605.81

                                                            04/30/2024                Other- Rent                                             $15,749.19

                                                                                                                SUBTOTAL                      $44,104.19

REDAN ADVISORS LLC                                          03/14/2024                Suppliers or Vendors                                    $50,000.00
C/O PATRICK J BARTELS JR
5330 CARMEL CREST LN
CHARLOTTE, NC 28226-2300
                                                            04/19/2024                Suppliers or Vendors                                    $50,000.00

                                                                                                                SUBTOTAL                     $100,000.00

REFRIGERATION SERVICE CO                                    04/19/2024                Suppliers or Vendors                                    $40,083.23
INC
225 VALLEY STREET
S WILLIAMSPORT, PA 17702
                                                            05/13/2024                Suppliers or Vendors                                     $1,265.00

                                                                                                                SUBTOTAL                      $41,348.23

NAME ON FILE                                                02/27/2024                Other- Employee Expense                                  $4,838.42
ADDRESS ON FILE                                                                       Reimbursement
                                                            02/28/2024                Other- Employee Expense                                  $3,676.45
                                                                                      Reimbursement
                                                            04/03/2024                Other- Employee Expense                                   $139.43
                                                                                      Reimbursement


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number

                                                                                                                SUBTOTAL                       $8,654.30

RELATED RETAIL MANAGEMENT                                   03/04/2024                Other- Rent                                             $28,542.65
CORPORATION
ATTN: TREASURY DEPT
410 10TH AVE FL 7
NEW YORK, NY 10001-1799
                                                            03/29/2024                Other- Rent                                             $28,542.65

                                                            04/30/2024                Other- Rent                                             $28,542.65

                                                                                                                SUBTOTAL                      $85,627.95

RELIAKOR SERVICES INC                                       04/04/2024                Suppliers or Vendors                                     $9,426.50
NW 5561
PO BOX 1450
MINNEAPOLIS, MN 55485-5561
                                                                                                                SUBTOTAL                       $9,426.50

RENAISSANCE HOLDINGS LLC                                    03/19/2024                Suppliers or Vendors                                    $11,868.16
DBA GLENNS COMMERCIAL
SERVICE LLC
4012 BISHOP LANE
LOUISVILLE, KY 40218-4539
                                                            04/02/2024                Suppliers or Vendors                                      $454.80

                                                            04/30/2024                Suppliers or Vendors                                    $34,440.15

                                                            05/07/2024                Suppliers or Vendors                                     $1,577.78

                                                                                                                SUBTOTAL                      $48,340.89

NAME ON FILE                                                03/04/2024                Other- Rent                                              $9,372.51
ADDRESS ON FILE
                                                            03/29/2024                Other- Rent                                              $9,372.51

                                                                                                                SUBTOTAL                      $18,745.02

RESTAURANT EQUIPMENT                                        04/18/2024                Suppliers or Vendors                                     $1,728.68
DIAGNOSTICS LLC
DBA G MATTHEW BRUNTY
213 GLEN ORCHARD WAY
DANIELS, WV 25832-9027
                                                            05/01/2024                Suppliers or Vendors                                     $5,911.29

                                                                                                                SUBTOTAL                       $7,639.97

RESTAURANT EQUIPMENT                                        03/04/2024                Suppliers or Vendors                                   $156,372.54
MAINTENANCE CO LLC
DBA REMCO
PO BOX 7410423
CHICAGO, IL 60674-0423
                                                            03/06/2024                Suppliers or Vendors                                     $2,563.56

                                                            03/08/2024                Suppliers or Vendors                                     $3,786.32

                                                            03/21/2024                Suppliers or Vendors                                    $32,287.05

                                                            03/29/2024                Suppliers or Vendors                                      $353.48

                                                            04/25/2024                Suppliers or Vendors                                     $3,718.36

                                                            05/02/2024                Suppliers or Vendors                                      $621.96

                                                            05/08/2024                Suppliers or Vendors                                      $255.48



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            05/16/2024                Suppliers or Vendors                                   $128,472.56

                                                                                                                SUBTOTAL                     $328,431.31

RETAIL OPPORTUNITY                                          02/28/2024                Other- Rent                                             $29,596.35
INVESTMENTS PARTNERSHIP LP
DBA ROIC CALIFORNIA LLC
MS 631099
PO BOX 3953
SEATTLE, WA 981243953
                                                            04/02/2024                Other- Rent                                             $29,596.35

                                                            04/30/2024                Other- Rent                                             $29,596.35

                                                                                                                SUBTOTAL                      $88,789.05

REVENUE COLLECTION                                          04/02/2024                Other- Government / Regulatory                           $9,808.31
DIVISION
P O BOX 1340
COLUMBUS, GA 31993
                                                                                                                SUBTOTAL                       $9,808.31

RFH1 LLC                                                    03/04/2024                Other- Rent                                             $25,991.62
DBA ROSEWATER FAMILY
HOLDING LLC
C/O DONALD J. ROSEWATER
372 W KILBRIDGE DR
HIGHLAND HEIGHTS, OH
44143-3647
                                                            04/18/2024                Other- Rent                                             $25,991.62

                                                            04/30/2024                Other- Rent                                             $25,991.62

                                                                                                                SUBTOTAL                      $77,974.86

RGLI LLC                                                    03/04/2024                Other- Rent                                             $18,159.87
C/O GORDON LI
25 WOODHILL DR
REDWOOD CITY, CA 94061-1826
                                                            03/29/2024                Other- Rent                                             $18,159.87

                                                            04/30/2024                Other- Rent                                             $18,159.87

                                                                                                                SUBTOTAL                      $54,479.61

RH TACOMA PLACE ASSOCIATES                                  03/04/2024                Other- Rent                                             $31,161.83
LLC
C/O ROSEN PROPERTIES
PO BOX 5003
BELLEVUE, WA 98009
                                                            04/02/2024                Other- Rent                                             $31,161.83

                                                            04/10/2024                Other- Rent                                              $4,541.00

                                                            04/24/2024                Other- Rent                                             $17,293.49

                                                            05/01/2024                Other- Rent                                             $31,161.83

                                                                                                                SUBTOTAL                     $115,319.98

NAME ON FILE                                                03/05/2024                Services                                                 $5,585.00
ADDRESS ON FILE
                                                            05/15/2024                Services                                                 $3,189.00

                                                                                                                SUBTOTAL                       $8,774.00



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Debtor Name: Red Lobster Management LLC                                                                                   Case Number: 24-02486

                                      Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                           SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address           Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                  Number
RICARDO G COLAZO                                             03/13/2024                Suppliers or Vendors                                     $3,610.00
DBA CR PROFESSIONAL
CARPET CLEANING
2901 NAUTILUS DR
NASHVILLE, TN 37217-4306
                                                             03/28/2024                Suppliers or Vendors                                     $1,880.00

                                                             04/25/2024                Suppliers or Vendors                                     $2,320.00

                                                                                                                 SUBTOTAL                       $7,810.00

RIDGE LINE INC                                               02/28/2024                Other- Rent                                             $11,382.83
400 SECOND AVENUE
S CHARLESTON, WV 25303
                                                             04/03/2024                Other- Rent                                             $11,382.83

                                                             04/30/2024                Other- Rent                                             $11,382.83

                                                                                                                 SUBTOTAL                      $34,148.49

RING CENTRAL INC                                             02/21/2024                Suppliers or Vendors                                    $50,070.56
DEPT CH 19585
PALATINE, IL 60055-0001
                                                             03/22/2024                Suppliers or Vendors                                    $50,732.78

                                                             03/26/2024                Suppliers or Vendors                                    $53,037.29

                                                             04/29/2024                Suppliers or Vendors                                    $50,326.30

                                                                                                                 SUBTOTAL                     $204,166.93

RISK STRATEGIES CONSULTING                                   05/14/2024                Services                                                 $5,000.00
INC
PO BOX 83121
WOBURN, MA 01813-3121
                                                             05/19/2024                Services                                                $10,000.00

                                                                                                                 SUBTOTAL                      $15,000.00

RIVER OAKS PROPERTIES LTD                                    03/06/2024                Other- Rent                                             $20,623.69
C/O RIVER OAKS EL PASEO LLC
5678 N MESA ST
EL PASO, TX 79912
                                                             04/05/2024                Other- Rent                                             $12,200.83

                                                             05/06/2024                Other- Rent                                             $12,200.83

                                                                                                                 SUBTOTAL                      $45,025.35

RIVERSIDE INCOME FUND I LP                                   03/04/2024                Other- Rent                                             $27,295.04
C/O RIVERSIDE RESOURCES
1221 S MOPAC EXPY STE 200
AUSTIN, TX 78746-7625
                                                             03/08/2024                Other- Rent                                             $25,778.65

                                                             03/29/2024                Other- Rent                                             $27,295.04

                                                             04/03/2024                Other- Rent                                             $25,778.65

                                                             04/30/2024                Other- Rent                                             $27,295.04

                                                             05/02/2024                Other- Rent                                             $25,778.64

                                                                                                                 SUBTOTAL                     $159,221.06




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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
RJP RL I DRIVE LLC                                          03/04/2024                Other- Rent                                             $41,632.91
C/O ROBERT S GUERRERIO JR
132 E PROSPECT AVE
MAMARONECK, NY 10543-3709
                                                            03/29/2024                Other- Rent                                             $41,632.91

                                                            04/30/2024                Other- Rent                                             $41,632.91

                                                                                                                SUBTOTAL                     $124,898.73

RL ARIZONA LLC                                              03/04/2024                Other- Rent                                             $24,884.21
124 MCCLEAN AVE
STATEN ISLAND, NY 10305-4614
                                                            03/29/2024                Other- Rent                                             $24,884.21

                                                            04/30/2024                Other- Rent                                             $24,884.21

                                                                                                                SUBTOTAL                      $74,652.63

RL ELIZABETHTOWN LLC                                        03/04/2024                Other- Rent                                             $18,341.11
1105 PELICAN LN
HOLLYWOOD, FL 33019-5040
                                                            03/29/2024                Other- Rent                                             $18,341.11

                                                            04/30/2024                Other- Rent                                             $18,341.11

                                                                                                                SUBTOTAL                      $55,023.33

RL ENTERPRISES LLC                                          03/04/2024                Other- Rent                                             $15,874.52
2615 DIAMONDWOOD DR
CEDAR RAPIDS, IA 52403-1519
                                                            03/29/2024                Other- Rent                                             $15,874.52

                                                            04/30/2024                Other- Rent                                             $15,874.52

                                                                                                                SUBTOTAL                      $47,623.56

RL JENSEN BEACH LLC                                         03/04/2024                Other- Rent                                             $26,363.78
1950 BRIGHTON HENRIETTA
TOWN LINE RD
ROCHESTER, NY 14623-2543
                                                            03/29/2024                Other- Rent                                             $26,363.78

                                                                                                                SUBTOTAL                      $52,727.56

RL KOKOMO LLC                                               03/04/2024                Other- Rent                                             $21,301.68
1105 PELICAN LN
HOLLYWOOD, FL 33019-5040
                                                            03/29/2024                Other- Rent                                             $21,301.68

                                                            04/30/2024                Other- Rent                                             $21,301.68

                                                                                                                SUBTOTAL                      $63,905.04

RL LCG LLC                                                  03/04/2024                Other- Rent                                             $12,024.31
DBA JM MANAGEMENT GROUP
LLC
ATTN JOHN MESITI
2300 BUFFALO RD BLDG 100D
ROCHESTER, NY 14624-1371
                                                            03/29/2024                Other- Rent                                             $12,024.31

                                                                                                                SUBTOTAL                      $24,048.62




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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
RL MADISON HEIGHTS LLC                                      03/04/2024                Other- Rent                                            $24,625.76
DBA R AID LAURENS LLC
1105 PELICAN LN
HOLLYWOOD, FL 33019-5040
                                                            03/29/2024                Other- Rent                                            $24,625.76

                                                            04/30/2024                Other- Rent                                            $24,625.76

                                                                                                                SUBTOTAL                     $73,877.28

RL SCHAUMBURG LLC                                           03/04/2024                Other- Rent                                            $24,000.00
PRASHANTH REDDY
700 E OGDEN AVE STE 305
WESTMONT, IL 60559-5554
                                                            03/29/2024                Other- Rent                                            $24,000.00

                                                            04/30/2024                Other- Rent                                            $24,000.00

                                                                                                                SUBTOTAL                     $72,000.00

RL SDN LLC                                                  03/04/2024                Other- Rent                                             $7,854.35
DBA JM MANAGEMENT GROUP
LLC
ATTN JOHN MESITI
2300 BUFFALO RD BLDG 100D
ROCHESTER, NY 14624-1371
                                                            03/29/2024                Other- Rent                                             $7,854.35

                                                                                                                SUBTOTAL                     $15,708.70

RL12580 LLC                                                 03/04/2024                Other- Rent                                            $25,571.63
14706 STURTEVANT RD
SILVER SPRING, MD 20905-4457
                                                            03/29/2024                Other- Rent                                            $25,571.63

                                                                                                                SUBTOTAL                     $51,143.26

RLCA PROPERTIES INC                                         03/04/2024                Other- Rent                                            $25,358.67
1028 85TH STREET
BROOKLYN, NY 11228
                                                            03/29/2024                Other- Rent                                            $25,358.67

                                                            04/30/2024                Other- Rent                                            $25,358.67

                                                                                                                SUBTOTAL                     $76,076.01

ROBBIES INC                                                 03/04/2024                Other- Rent                                            $26,581.20
C/O CHARLES ROBERTSON
514 ROUTE 46 EAST
WAYNE, NJ 07470
                                                            03/29/2024                Other- Rent                                            $26,581.20

                                                            04/30/2024                Other- Rent                                            $41,635.62

                                                                                                                SUBTOTAL                     $94,798.02

NAME ON FILE                                                02/27/2024                Other- Rent                                            $15,416.67
ADDRESS ON FILE
                                                            04/02/2024                Other- Rent                                            $15,416.67

                                                            04/30/2024                Other- Rent                                            $15,416.67

                                                                                                                SUBTOTAL                     $46,250.01

NAME ON FILE                                                03/04/2024                Other- Rent                                            $49,208.38
ADDRESS ON FILE

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/29/2024                Other- Rent                                            $49,208.38

                                                            04/30/2024                Other- Rent                                            $19,963.69

                                                                                                                SUBTOTAL                     $118,380.45

NAME ON FILE                                                02/22/2024                Suppliers or Vendors                                     $2,029.50
ADDRESS ON FILE
                                                            02/29/2024                Suppliers or Vendors                                      $553.50

                                                            03/15/2024                Suppliers or Vendors                                      $369.00

                                                            04/09/2024                Suppliers or Vendors                                     $3,321.00

                                                            05/06/2024                Suppliers or Vendors                                     $1,660.50

                                                                                                                SUBTOTAL                       $7,933.50

NAME ON FILE                                                03/04/2024                Other- Rent                                            $30,791.02
ADDRESS ON FILE
                                                            03/29/2024                Other- Rent                                            $30,791.02

                                                            04/30/2024                Other- Rent                                            $30,791.02

                                                                                                                SUBTOTAL                     $92,373.06

ROBERTSON PRODUCE OF                                        02/20/2024                Suppliers or Vendors                                      $505.42
SHREVEPORT LLC
101 HORSESHOE LAKE RD
MONROE, LA 71203-2001
                                                            02/27/2024                Suppliers or Vendors                                      $440.02

                                                            03/04/2024                Suppliers or Vendors                                      $269.41

                                                            03/06/2024                Suppliers or Vendors                                      $452.73

                                                            03/08/2024                Suppliers or Vendors                                      $168.85

                                                            03/12/2024                Suppliers or Vendors                                      $318.83

                                                            03/14/2024                Suppliers or Vendors                                       $95.01

                                                            03/18/2024                Suppliers or Vendors                                      $623.68

                                                            03/22/2024                Suppliers or Vendors                                       $97.27

                                                            03/25/2024                Suppliers or Vendors                                      $343.47

                                                            03/28/2024                Suppliers or Vendors                                      $149.95

                                                            03/29/2024                Suppliers or Vendors                                      $399.15

                                                            04/01/2024                Suppliers or Vendors                                      $448.94

                                                            04/05/2024                Suppliers or Vendors                                      $155.79

                                                            04/08/2024                Suppliers or Vendors                                      $506.15

                                                            04/12/2024                Suppliers or Vendors                                      $249.78

                                                            04/15/2024                Suppliers or Vendors                                      $369.01

                                                            04/18/2024                Suppliers or Vendors                                       $60.21

                                                            04/19/2024                Suppliers or Vendors                                      $397.28

                                                            04/22/2024                Suppliers or Vendors                                      $204.40

                                                            04/26/2024                Suppliers or Vendors                                      $334.53

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/29/2024                Suppliers or Vendors                                     $508.59

                                                            05/03/2024                Suppliers or Vendors                                     $294.52

                                                            05/07/2024                Suppliers or Vendors                                     $306.61

                                                            05/10/2024                Suppliers or Vendors                                     $119.67

                                                            05/13/2024                Suppliers or Vendors                                     $245.02

                                                            05/16/2024                Suppliers or Vendors                                       $98.03

                                                                                                                SUBTOTAL                      $8,162.32

ROCHESTER ARMORED CAR INC                                   03/15/2024                Suppliers or Vendors                                    $3,629.75
PO BOX #8 DOWNTOWN STA
OMAHA, NE 68101
                                                            04/15/2024                Suppliers or Vendors                                    $3,629.75

                                                            05/09/2024                Suppliers or Vendors                                    $3,629.75

                                                            05/19/2024                Suppliers or Vendors                                    $3,509.41

                                                                                                                SUBTOTAL                     $14,398.66

NAME ON FILE                                                03/04/2024                Other- Rent                                            $22,825.23
ADDRESS ON FILE
                                                            03/29/2024                Other- Rent                                            $22,825.23

                                                            04/30/2024                Other- Rent                                            $22,825.23

                                                                                                                SUBTOTAL                     $68,475.69

RONALD A GILLIAM                                            03/11/2024                Other- Individual Miscellaneous                         $7,665.00
DBA ENVIROSAFE
LANDSCAPING
437 EAST 600 SOUTH
ANDERSON, IN 46013
                                                                                                                SUBTOTAL                      $7,665.00

RONDELL N FISHER                                            03/04/2024                Suppliers or Vendors                                    $4,491.28
DBA SEAHORSE AQUASCAPE
18151 BLACKHOOF CREEK
ROAD
WAPAKONETA, OH 45895
                                                            03/28/2024                Suppliers or Vendors                                    $2,681.93

                                                            04/25/2024                Suppliers or Vendors                                    $3,695.68

                                                            05/02/2024                Suppliers or Vendors                                     $400.00

                                                                                                                SUBTOTAL                     $11,268.89

ROTO-ROOTER SERVICES                                        03/06/2024                Suppliers or Vendors                                    $2,378.88
COMPANY
5672 COLLECTION CENTER DR
CHICAGO, IL 60693-0056
                                                            03/18/2024                Suppliers or Vendors                                    $9,641.22

                                                            04/02/2024                Suppliers or Vendors                                    $2,030.47

                                                            04/09/2024                Suppliers or Vendors                                    $3,121.26

                                                            04/16/2024                Suppliers or Vendors                                    $4,304.05

                                                                                                                SUBTOTAL                     $21,475.88


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
ROUND ROCK RL LLC                                           03/04/2024                Other- Rent                                             $33,661.50
29 BENEDICT AVENUE
STATEN ISLAND, NY 10314
                                                            03/29/2024                Other- Rent                                             $33,661.50

                                                            04/30/2024                Other- Rent                                             $33,661.50

                                                                                                                SUBTOTAL                     $100,984.50

ROUSE PROPERTIES REIT INC                                   02/26/2024                Other- Rent                                              $1,286.78
DBA CHULA VISTA CENTER LP
SDS-12-2851 PO BOX 86
MINNEAPOLIS, MN 55486-2851
                                                            02/28/2024                Other- Rent                                             $20,561.99

                                                            03/26/2024                Other- Rent                                              $1,286.78

                                                            04/01/2024                Other- Rent                                             $20,561.99

                                                            04/29/2024                Other- Rent                                             $20,561.99

                                                                                                                SUBTOTAL                      $64,259.53

ROXANNE MASON                                               03/21/2024                Suppliers or Vendors                                     $7,051.31
DBA TROPICAL CONCEPTS
PO BOX 1289
BESSEMER CITY, NC 28016-1289
                                                            04/04/2024                Suppliers or Vendors                                      $225.00

                                                            04/25/2024                Suppliers or Vendors                                      $250.00

                                                            05/02/2024                Suppliers or Vendors                                      $900.00

                                                                                                                SUBTOTAL                       $8,426.31

NAME ON FILE                                                03/04/2024                Other- Rent                                             $28,037.94
ADDRESS ON FILE
                                                            03/29/2024                Other- Rent                                             $28,037.94

                                                            04/30/2024                Other- Rent                                             $28,037.94

                                                                                                                SUBTOTAL                      $84,113.82

ROYAL FOODSERVICE INC                                       02/20/2024                Suppliers or Vendors                                    $20,148.13
PO BOX 162389
ATLANTA, GA 30321
                                                            02/21/2024                Suppliers or Vendors                                     $4,790.50

                                                            02/23/2024                Suppliers or Vendors                                    $20,088.92

                                                            02/26/2024                Suppliers or Vendors                                     $6,517.70

                                                            02/27/2024                Suppliers or Vendors                                    $15,384.50

                                                            02/28/2024                Suppliers or Vendors                                     $3,504.65

                                                            03/04/2024                Suppliers or Vendors                                    $17,431.64

                                                            03/06/2024                Suppliers or Vendors                                    $24,188.24

                                                            03/08/2024                Suppliers or Vendors                                    $14,311.71

                                                            03/11/2024                Suppliers or Vendors                                     $5,858.54

                                                            03/12/2024                Suppliers or Vendors                                    $23,853.30

                                                            03/14/2024                Suppliers or Vendors                                    $14,627.51


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/15/2024                Suppliers or Vendors                                    $4,187.39

                                                            03/18/2024                Suppliers or Vendors                                   $15,611.94

                                                            03/19/2024                Suppliers or Vendors                                    $3,495.71

                                                            03/20/2024                Suppliers or Vendors                                     $224.15

                                                            03/21/2024                Suppliers or Vendors                                   $12,913.89

                                                            03/22/2024                Suppliers or Vendors                                    $3,187.36

                                                            03/25/2024                Suppliers or Vendors                                   $20,760.40

                                                            03/26/2024                Suppliers or Vendors                                    $4,034.90

                                                            03/28/2024                Suppliers or Vendors                                   $12,192.16

                                                            03/29/2024                Suppliers or Vendors                                    $3,852.66

                                                            04/01/2024                Suppliers or Vendors                                   $17,528.49

                                                            04/02/2024                Suppliers or Vendors                                    $3,744.27

                                                            04/04/2024                Suppliers or Vendors                                   $10,823.03

                                                            04/05/2024                Suppliers or Vendors                                    $3,415.64

                                                            04/08/2024                Suppliers or Vendors                                   $15,358.96

                                                            04/09/2024                Suppliers or Vendors                                    $4,949.34

                                                            04/11/2024                Suppliers or Vendors                                   $13,947.22

                                                            04/12/2024                Suppliers or Vendors                                    $2,852.92

                                                            04/15/2024                Suppliers or Vendors                                   $18,754.23

                                                            04/16/2024                Suppliers or Vendors                                    $3,191.21

                                                            04/18/2024                Suppliers or Vendors                                   $10,421.20

                                                            04/19/2024                Suppliers or Vendors                                    $4,222.34

                                                            04/22/2024                Suppliers or Vendors                                   $19,336.88

                                                            04/23/2024                Suppliers or Vendors                                    $4,183.99

                                                            04/25/2024                Suppliers or Vendors                                   $12,764.14

                                                            04/26/2024                Suppliers or Vendors                                    $3,161.34

                                                            04/29/2024                Suppliers or Vendors                                   $16,918.51

                                                            04/30/2024                Suppliers or Vendors                                    $3,436.74

                                                            05/02/2024                Suppliers or Vendors                                   $10,685.27

                                                            05/03/2024                Suppliers or Vendors                                    $3,157.37

                                                            05/06/2024                Suppliers or Vendors                                   $17,546.51

                                                            05/07/2024                Suppliers or Vendors                                    $3,625.59

                                                            05/09/2024                Suppliers or Vendors                                   $12,143.27

                                                            05/10/2024                Suppliers or Vendors                                    $3,924.51

                                                            05/13/2024                Suppliers or Vendors                                   $18,000.26

                                                            05/14/2024                Suppliers or Vendors                                    $4,720.84

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            05/16/2024                Suppliers or Vendors                                    $10,098.03

                                                                                                                SUBTOTAL                     $504,078.00

RPRL STONY BROOK LLC                                        03/04/2024                Other- Rent                                              $9,360.96
11 SOUTH PASCACK ROAD
SPRING VALLEY, NY 10977
                                                            03/29/2024                Other- Rent                                              $9,360.96

                                                                                                                SUBTOTAL                      $18,721.92

RPRL UNION 22 LLC                                           03/04/2024                Other- Rent                                             $33,503.34
11 S PASCACK ROAD
SPRING VALLEY, NY 10977
                                                            03/29/2024                Other- Rent                                             $33,503.34

                                                            04/23/2024                Other- Rent                                             $33,503.34

                                                                                                                SUBTOTAL                     $100,510.02

NAME ON FILE                                                02/23/2024                Suppliers or Vendors                                         $6.34
ADDRESS ON FILE
                                                            03/04/2024                Suppliers or Vendors                                      $477.61

                                                            03/13/2024                Suppliers or Vendors                                       $12.74

                                                            03/28/2024                Suppliers or Vendors                                         $0.96

                                                            04/11/2024                Suppliers or Vendors                                    $29,488.87

                                                            04/25/2024                Suppliers or Vendors                                    $88,064.55

                                                            05/16/2024                Suppliers or Vendors                                     $7,432.76

                                                                                                                SUBTOTAL                     $125,483.83

RSC ASSOCIATES LLC                                          03/04/2024                Other- Rent                                             $20,503.20
136 DEVON RD
ESSEX FELLS, NJ 07021-1707
                                                            03/29/2024                Other- Rent                                             $20,503.20

                                                                                                                SUBTOTAL                      $41,006.40

RUBEN CORTEZ CORPORATION                                    05/13/2024                Suppliers or Vendors                                    $23,234.85
DBA RCS MECHANICAL
SERVICES
4161 INGOT STREET
FREMONT, CA 94538
                                                                                                                SUBTOTAL                      $23,234.85

RUBICON GLOBAL LLC                                          02/20/2024                Suppliers or Vendors                                      $540.00
ATTN ACCOUNTS RECEIVABLE
ATTN RUBICON
PO BOX 936684
ATLANTA, GA 31193-6684
                                                            03/06/2024                Suppliers or Vendors                                    $16,268.64

                                                            03/27/2024                Suppliers or Vendors                                      $540.00

                                                            04/11/2024                Suppliers or Vendors                                    $17,150.45

                                                            05/06/2024                Suppliers or Vendors                                      $540.00

                                                            05/10/2024                Suppliers or Vendors                                    $14,996.25

                                                                                                                SUBTOTAL                      $50,035.34


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
RUBIN POSTAER AND                                           02/23/2024                Suppliers or Vendors                                   $4,484,155.02
ASSOCIATES
DBA RPA
PO BOX 2779
LOS ANGELES, CA 90051-0779
                                                            03/22/2024                Suppliers or Vendors                                    $924,084.30

                                                            03/25/2024                Suppliers or Vendors                                   $6,312,811.96

                                                            04/25/2024                Suppliers or Vendors                                    $550,962.29

                                                            05/02/2024                Suppliers or Vendors                                    $356,886.47

                                                            05/19/2024                Suppliers or Vendors                                    $522,052.59

                                                                                                                SUBTOTAL                 $13,150,952.63

RUCKER ELECTRIC                                             02/23/2024                Suppliers or Vendors                                      $3,023.85
5209 N COUNCIL RD
OKLAHOMA CITY, OK 73132-9735
                                                            03/13/2024                Suppliers or Vendors                                      $1,806.20

                                                            04/04/2024                Suppliers or Vendors                                      $1,493.30

                                                            05/02/2024                Suppliers or Vendors                                      $8,177.49

                                                                                                                SUBTOTAL                       $14,500.84

RUCKER MECHANICAL INC                                       03/21/2024                Suppliers or Vendors                                      $8,412.16
5217 N COUNCIL
OKLAHOMA CITY, OK 73132
                                                            05/02/2024                Suppliers or Vendors                                      $2,274.75

                                                                                                                SUBTOTAL                       $10,686.91

RXR 5TS HOLDINGS JV LLC                                     03/04/2024                Other- Rent                                             $160,165.54
DBA RXR 5TS OWNER LLC
PO BOX 784085
PHILADELPHIA, PA 19178-4085
                                                            03/29/2024                Other- Rent                                             $160,165.54

                                                            04/30/2024                Other- Rent                                             $160,165.54

                                                                                                                SUBTOTAL                      $480,496.62

RYAN LLC                                                    02/23/2024                Services                                                  $8,122.10
13155 NOEL ROAD
SUITE 100
DALLAS, TX 75240-5050
                                                            03/13/2024                Services                                                 $11,996.85

                                                            04/11/2024                Services                                                 $48,373.57

                                                                                                                SUBTOTAL                       $68,492.52

RYAN LLC                                                    02/22/2024                Suppliers or Vendors                                     $48,976.97

                                                            02/26/2024                Suppliers or Vendors                                    $515,016.82

                                                            03/01/2024                Suppliers or Vendors                                      $5,573.62

                                                            03/13/2024                Suppliers or Vendors                                   $3,156,837.20

                                                            03/14/2024                Suppliers or Vendors                                      $3,145.13

                                                            03/21/2024                Suppliers or Vendors                                     $65,850.32



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/25/2024                Suppliers or Vendors                                    $700,932.22

                                                            04/02/2024                Suppliers or Vendors                                        $300.00

                                                            04/05/2024                Suppliers or Vendors                                     $17,195.89

                                                            04/24/2024                Suppliers or Vendors                                    $438,381.92

                                                            05/03/2024                Suppliers or Vendors                                    $451,007.41

                                                            05/07/2024                Suppliers or Vendors                                    $376,147.30

                                                                                                                SUBTOTAL                     $5,779,364.80

RYG REALTY INC                                              03/04/2024                Other- Rent                                              $48,784.84
ATTN YURY GNESIN
17070 COLLINS AVE STE 255
SUNNY ISLES BEACH, FL
33160-3635
                                                            03/29/2024                Other- Rent                                              $48,784.84

                                                            04/30/2024                Other- Rent                                              $48,784.84

                                                                                                                SUBTOTAL                      $146,354.52

RYNAKO LP                                                   03/04/2024                Other- Rent                                              $28,290.31
3801 LYNN REGIS CT
FAIRFAX, VA 22031-3815
                                                            03/29/2024                Other- Rent                                              $28,290.31

                                                            04/30/2024                Other- Rent                                              $28,290.31

                                                                                                                SUBTOTAL                       $84,870.93

SADA SYSTEMS INC                                            04/25/2024                Suppliers or Vendors                                      $8,430.69
5250 LANKERSHIM BOULEVARD
#620
NORTH HOLLYWOOD, CA 91601
                                                            05/02/2024                Suppliers or Vendors                                      $7,629.85

                                                            05/16/2024                Suppliers or Vendors                                     $12,796.46

                                                                                                                SUBTOTAL                       $28,857.00

SAGA LLC                                                    03/04/2024                Other- Rent                                              $25,157.97
ATTN MR NILESH NAYAK
155 POTOMAC PSGE UNIT 626
OXON HILL, MD 20745-1574
                                                            03/29/2024                Other- Rent                                              $25,157.97

                                                                                                                SUBTOTAL                       $50,315.94

SAN BRUNO TOWNE CENTER                                      02/29/2024                Other- Rent                                             $113,548.04
PARTNERSHIP
DEPT LA 24131
PASADENA, CA 91185-4131
                                                            04/02/2024                Other- Rent                                              $28,462.05

                                                            04/30/2024                Other- Rent                                              $25,817.05

                                                            05/07/2024                Other- Rent                                                  $56.91

                                                                                                                SUBTOTAL                      $167,884.05

NAME ON FILE                                                03/04/2024                Other- Employee Expense                                   $3,417.02
ADDRESS ON FILE                                                                       Reimbursement


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/18/2024                Other- Employee Expense                                  $3,009.71
                                                                                      Reimbursement
                                                            04/04/2024                Other- Employee Expense                                  $1,448.24
                                                                                      Reimbursement
                                                            04/17/2024                Other- Employee Expense                                  $3,490.99
                                                                                      Reimbursement
                                                            05/01/2024                Other- Employee Expense                                  $2,027.50
                                                                                      Reimbursement
                                                            05/13/2024                Other- Employee Expense                                  $2,537.25
                                                                                      Reimbursement
                                                                                                                SUBTOTAL                      $15,930.71

SANDERS CONSULTING GROUP                                    02/29/2024                Services                                                 $9,000.00
INC
1800 COUNTRY CLUB ROAD
CARBONDALE, IL 62903
                                                            03/20/2024                Services                                                 $9,000.00

                                                            05/14/2024                Services                                                 $9,000.00

                                                                                                                SUBTOTAL                      $27,000.00

SANDY ALEXANDER INC                                         02/23/2024                Suppliers or Vendors                                    $49,237.93
DBA DINETEC
PO BOX 824263
PHILADELPHIA, PA 19182-4263
                                                            03/04/2024                Suppliers or Vendors                                    $92,125.94

                                                            03/28/2024                Suppliers or Vendors                                   $143,872.16

                                                            04/04/2024                Suppliers or Vendors                                    $83,802.12

                                                            05/02/2024                Suppliers or Vendors                                     $4,726.56

                                                            05/16/2024                Suppliers or Vendors                                   $109,505.07

                                                                                                                SUBTOTAL                     $483,269.78

SANTA MARIA PRODUCE INC                                     02/20/2024                Suppliers or Vendors                                      $468.17
232 ISLAND ST
SHREVEPORT, LA 711076814
                                                            02/21/2024                Suppliers or Vendors                                      $758.61

                                                            02/22/2024                Suppliers or Vendors                                     $1,173.05

                                                            02/23/2024                Suppliers or Vendors                                      $129.81

                                                            02/26/2024                Suppliers or Vendors                                      $519.66

                                                            02/27/2024                Suppliers or Vendors                                     $1,482.73

                                                            02/28/2024                Suppliers or Vendors                                      $956.57

                                                            03/04/2024                Suppliers or Vendors                                      $752.29

                                                            03/06/2024                Suppliers or Vendors                                     $2,140.37

                                                            03/08/2024                Suppliers or Vendors                                     $1,066.89

                                                            03/12/2024                Suppliers or Vendors                                     $2,320.82

                                                            03/14/2024                Suppliers or Vendors                                     $1,058.76

                                                            03/18/2024                Suppliers or Vendors                                      $969.28

                                                            03/19/2024                Suppliers or Vendors                                      $234.84



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/21/2024                Suppliers or Vendors                                     $450.76

                                                            03/22/2024                Suppliers or Vendors                                    $1,271.30

                                                            03/25/2024                Suppliers or Vendors                                    $1,203.37

                                                            03/28/2024                Suppliers or Vendors                                     $702.52

                                                            03/29/2024                Suppliers or Vendors                                     $399.70

                                                            04/01/2024                Suppliers or Vendors                                     $425.05

                                                            04/02/2024                Suppliers or Vendors                                     $578.25

                                                            04/03/2024                Suppliers or Vendors                                     $423.40

                                                            04/04/2024                Suppliers or Vendors                                     $547.80

                                                            04/08/2024                Suppliers or Vendors                                    $2,543.90

                                                            04/11/2024                Suppliers or Vendors                                     $539.06

                                                            04/15/2024                Suppliers or Vendors                                    $1,149.74

                                                            04/16/2024                Suppliers or Vendors                                     $190.06

                                                            04/18/2024                Suppliers or Vendors                                    $1,010.05

                                                            04/19/2024                Suppliers or Vendors                                     $449.51

                                                            04/22/2024                Suppliers or Vendors                                    $2,131.63

                                                            04/25/2024                Suppliers or Vendors                                     $685.16

                                                            04/29/2024                Suppliers or Vendors                                    $1,285.73

                                                            05/02/2024                Suppliers or Vendors                                     $314.47

                                                            05/06/2024                Suppliers or Vendors                                    $1,556.49

                                                            05/09/2024                Suppliers or Vendors                                     $892.11

                                                            05/13/2024                Suppliers or Vendors                                     $748.18

                                                            05/16/2024                Suppliers or Vendors                                     $302.19

                                                                                                                SUBTOTAL                     $33,832.28

SANTOS R CRUZ                                               03/04/2024                Other- Employee Miscellaneous                            $644.40
DBA CRUZ LAWN SERVICE
PO BOX 541026
DALLAS, TX 75354
                                                            03/08/2024                Other- Employee Miscellaneous                           $2,542.89

                                                            03/13/2024                Other- Employee Miscellaneous                            $230.03

                                                            04/04/2024                Other- Employee Miscellaneous                           $7,274.17

                                                            04/25/2024                Other- Employee Miscellaneous                            $224.94

                                                            05/02/2024                Other- Employee Miscellaneous                            $216.50

                                                                                                                SUBTOTAL                     $11,132.93

SARL JV                                                     03/05/2024                Other- Rent                                            $21,734.94
C/O DZMI
1250 WOOD BRANCH PARK
DRIVE SUITE 100
HOUSTON, TX 77079-1207


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/03/2024                Other- Rent                                             $21,734.94

                                                            05/02/2024                Other- Rent                                             $21,734.94

                                                                                                                SUBTOTAL                      $65,204.82

SAYAGE VALDOSTA LLC                                         03/04/2024                Other- Rent                                             $20,418.06
24 MELTON DRIVE EAST
ROCKVILLE CENTRE, NY 11570
                                                            03/29/2024                Other- Rent                                             $20,418.06

                                                            04/30/2024                Other- Rent                                             $20,418.06

                                                                                                                SUBTOTAL                      $61,254.18

SC HEIGHTS LLC                                              03/04/2024                Other- Rent                                             $20,358.30
ATTN GREG MALOOF
13 MAINSAIL XING
SAVANNAH, GA 31411-2723
                                                            03/29/2024                Other- Rent                                             $20,358.30

                                                            04/30/2024                Other- Rent                                             $20,358.30

                                                                                                                SUBTOTAL                      $61,074.90

SCF RC FUNDING IV LLC                                       03/04/2024                Other- Rent                                            $101,223.87
ATTN SERVICING
902 CARNEGIE CTR STE 520
PRINCETON, NJ 08540-6531
                                                            03/29/2024                Other- Rent                                            $101,223.87

                                                            04/30/2024                Other- Rent                                             $63,025.25

                                                                                                                SUBTOTAL                     $265,472.99

SCHOENMANN PRODUCE                                          02/20/2024                Suppliers or Vendors                                     $6,105.60
COMPANY INC
PO BOX 51705
LAFAYETTE, LA 70505
                                                            02/21/2024                Suppliers or Vendors                                       $63.62

                                                            02/23/2024                Suppliers or Vendors                                     $9,730.04

                                                            02/27/2024                Suppliers or Vendors                                     $5,100.26

                                                            03/04/2024                Suppliers or Vendors                                     $5,492.39

                                                            03/06/2024                Suppliers or Vendors                                     $6,492.52

                                                            03/08/2024                Suppliers or Vendors                                     $6,130.99

                                                            03/12/2024                Suppliers or Vendors                                     $7,069.42

                                                            03/14/2024                Suppliers or Vendors                                     $4,659.23

                                                            03/18/2024                Suppliers or Vendors                                     $6,788.64

                                                            03/19/2024                Suppliers or Vendors                                       $28.12

                                                            03/21/2024                Suppliers or Vendors                                     $4,567.73

                                                            03/22/2024                Suppliers or Vendors                                       $56.77

                                                            03/25/2024                Suppliers or Vendors                                     $6,563.26

                                                            03/26/2024                Suppliers or Vendors                                       $70.30

                                                            03/28/2024                Suppliers or Vendors                                     $5,264.09

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/29/2024                Suppliers or Vendors                                       $41.46

                                                            04/01/2024                Suppliers or Vendors                                     $6,994.43

                                                            04/02/2024                Suppliers or Vendors                                       $58.64

                                                            04/04/2024                Suppliers or Vendors                                     $4,942.38

                                                            04/08/2024                Suppliers or Vendors                                     $6,930.18

                                                            04/11/2024                Suppliers or Vendors                                     $4,239.03

                                                            04/15/2024                Suppliers or Vendors                                     $5,343.38

                                                            04/18/2024                Suppliers or Vendors                                     $3,848.53

                                                            04/19/2024                Suppliers or Vendors                                       $44.80

                                                            04/22/2024                Suppliers or Vendors                                     $5,197.59

                                                            04/23/2024                Suppliers or Vendors                                      $452.86

                                                            04/25/2024                Suppliers or Vendors                                     $4,769.14

                                                            04/29/2024                Suppliers or Vendors                                     $5,086.78

                                                            04/30/2024                Suppliers or Vendors                                       $87.70

                                                            05/02/2024                Suppliers or Vendors                                     $4,011.43

                                                            05/03/2024                Suppliers or Vendors                                      $523.50

                                                            05/06/2024                Suppliers or Vendors                                     $6,206.32

                                                            05/07/2024                Suppliers or Vendors                                      $710.19

                                                            05/08/2024                Suppliers or Vendors                                      $298.86

                                                            05/09/2024                Suppliers or Vendors                                     $4,613.41

                                                            05/10/2024                Suppliers or Vendors                                     $1,043.14

                                                            05/13/2024                Suppliers or Vendors                                     $5,304.44

                                                            05/14/2024                Suppliers or Vendors                                       $98.50

                                                            05/16/2024                Suppliers or Vendors                                     $5,261.02

                                                                                                                SUBTOTAL                     $150,290.69

SCHOOX INC                                                  03/08/2024                Suppliers or Vendors                                    $50,160.00
C/O VCFO
6836 AUSTIN CENTER BLVD
BLDG 1 SUITE 280
AUSTIN, TX 78731
                                                            03/22/2024                Suppliers or Vendors                                    $21,331.50

                                                                                                                SUBTOTAL                      $71,491.50

SCP REO FUND NORTHFIELD                                     03/04/2024                Other- Rent                                              $2,434.56
SPLITTER LP
SCP NORTHFIELD LLC
STOCKDALE CAP PTRS LLC,
ATTN ASSET MGR
10850 WILSHIRE BLVD STE 1050
LOS ANGELES, CA 90024-4326
                                                            03/29/2024                Other- Rent                                              $2,434.56

                                                            04/03/2024                Other- Rent                                              $4,172.76


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number

                                                                                                                SUBTOTAL                       $9,041.88

SCULLIN REAL ESTATE VII LLC                                 03/04/2024                Other- Rent                                             $22,314.43
4651 VIA FIRENZE
BONITA SPRINGS, FL 34134-6906
                                                            03/29/2024                Other- Rent                                             $22,314.43

                                                            04/30/2024                Other- Rent                                             $22,314.43

                                                                                                                SUBTOTAL                      $66,943.29

SEAONUS CS                                                  02/23/2024                Suppliers or Vendors                                       $117.50

                                                            03/01/2024                Suppliers or Vendors                                      $994.50

                                                            03/15/2024                Suppliers or Vendors                                     $3,302.80

                                                            03/21/2024                Suppliers or Vendors                                     $3,421.30

                                                            03/28/2024                Suppliers or Vendors                                     $1,011.50

                                                            04/11/2024                Suppliers or Vendors                                     $5,535.00

                                                            04/18/2024                Suppliers or Vendors                                       $28.00

                                                            04/25/2024                Suppliers or Vendors                                      $415.50

                                                            05/02/2024                Suppliers or Vendors                                     $2,283.30

                                                            05/09/2024                Suppliers or Vendors                                      $102.00

                                                            05/16/2024                Suppliers or Vendors                                       $23.50

                                                                                                                SUBTOTAL                      $17,234.90

SEASTONE INTERNATIONAL LLC                                  02/29/2024                Suppliers or Vendors                                    $26,806.21
20062 BEAUMONT CIR
HUNTINGTON BEACH, CA
92646-4912
                                                                                                                SUBTOTAL                      $26,806.21

SEATTLE SHRIMP                                              04/24/2024                Suppliers or Vendors                                    $55,694.40

                                                            05/02/2024                Suppliers or Vendors                                   $197,340.00

                                                                                                                SUBTOTAL                     $253,034.40

SENN BROS DISTRIBUTORS                                      02/20/2024                Suppliers or Vendors                                    $14,709.01
DBA SENN BROS PRODUCE
327 WHOLESALE LANE
WEST COLUMBIA, SC 29172
                                                            02/21/2024                Suppliers or Vendors                                     $1,155.10

                                                            02/23/2024                Suppliers or Vendors                                     $9,148.96

                                                            02/26/2024                Suppliers or Vendors                                     $1,582.25

                                                            02/27/2024                Suppliers or Vendors                                    $15,526.91

                                                            02/28/2024                Suppliers or Vendors                                     $1,359.42

                                                            03/04/2024                Suppliers or Vendors                                     $6,845.66

                                                            03/06/2024                Suppliers or Vendors                                    $14,332.35

                                                            03/07/2024                Suppliers or Vendors                                      $944.03

                                                            03/08/2024                Suppliers or Vendors                                     $6,418.34

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/12/2024                Suppliers or Vendors                                   $16,963.18

                                                            03/14/2024                Suppliers or Vendors                                    $5,754.64

                                                            03/15/2024                Suppliers or Vendors                                    $1,332.56

                                                            03/18/2024                Suppliers or Vendors                                   $14,901.98

                                                            03/19/2024                Suppliers or Vendors                                    $1,566.17

                                                            03/21/2024                Suppliers or Vendors                                    $5,718.76

                                                            03/25/2024                Suppliers or Vendors                                   $14,993.03

                                                            03/26/2024                Suppliers or Vendors                                     $725.25

                                                            03/27/2024                Suppliers or Vendors                                     $918.18

                                                            03/28/2024                Suppliers or Vendors                                    $4,181.81

                                                            03/29/2024                Suppliers or Vendors                                     $437.11

                                                            04/01/2024                Suppliers or Vendors                                   $17,426.37

                                                            04/02/2024                Suppliers or Vendors                                     $384.88

                                                            04/04/2024                Suppliers or Vendors                                    $4,294.37

                                                            04/08/2024                Suppliers or Vendors                                   $15,107.12

                                                            04/09/2024                Suppliers or Vendors                                    $1,036.44

                                                            04/11/2024                Suppliers or Vendors                                    $4,972.06

                                                            04/12/2024                Suppliers or Vendors                                     $181.32

                                                            04/15/2024                Suppliers or Vendors                                   $13,883.29

                                                            04/16/2024                Suppliers or Vendors                                     $892.41

                                                            04/17/2024                Suppliers or Vendors                                    $1,297.80

                                                            04/18/2024                Suppliers or Vendors                                    $6,448.70

                                                            04/22/2024                Suppliers or Vendors                                   $13,709.15

                                                            04/23/2024                Suppliers or Vendors                                    $1,025.58

                                                            04/25/2024                Suppliers or Vendors                                    $4,782.89

                                                            04/26/2024                Suppliers or Vendors                                    $1,516.95

                                                            04/29/2024                Suppliers or Vendors                                   $13,600.34

                                                            04/30/2024                Suppliers or Vendors                                    $2,081.76

                                                            05/02/2024                Suppliers or Vendors                                    $5,369.34

                                                            05/06/2024                Suppliers or Vendors                                   $12,530.88

                                                            05/07/2024                Suppliers or Vendors                                     $544.41

                                                            05/09/2024                Suppliers or Vendors                                    $5,994.07

                                                            05/10/2024                Suppliers or Vendors                                     $120.20

                                                            05/13/2024                Suppliers or Vendors                                   $13,396.98

                                                            05/14/2024                Suppliers or Vendors                                    $1,062.69

                                                            05/15/2024                Suppliers or Vendors                                     $953.87

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            05/16/2024                Suppliers or Vendors                                     $4,420.55

                                                                                                                SUBTOTAL                     $286,549.12

SERG 13 LLC                                                 03/04/2024                Other- Rent                                             $17,553.76
1937 EAST 24TH STREET
BROOKLYN, NY 11229
                                                            03/29/2024                Other- Rent                                             $17,553.76

                                                                                                                SUBTOTAL                      $35,107.52

SERVICE SOLUTIONS OF TEXAS                                  03/04/2024                Suppliers or Vendors                                    $10,981.71
LLC
3022 COWLING RD
SANGER, TX 76266-7477
                                                            03/08/2024                Suppliers or Vendors                                      $440.72

                                                            03/28/2024                Suppliers or Vendors                                    $16,829.13

                                                            04/25/2024                Suppliers or Vendors                                     $1,197.58

                                                            05/02/2024                Suppliers or Vendors                                     $3,347.81

                                                                                                                SUBTOTAL                      $32,796.95

SERVICE SPECIALIST LLC                                      02/23/2024                Suppliers or Vendors                                     $4,080.83
DBA EMERGENCY PLUMBING
SERVICE
C/O CRESTMARK BANK
DRAWER 2176
PO BOX 5935
TROY, MI 480075935
                                                            03/08/2024                Suppliers or Vendors                                     $2,009.87

                                                            03/13/2024                Suppliers or Vendors                                     $1,683.50

                                                            03/28/2024                Suppliers or Vendors                                     $1,999.60

                                                            04/04/2024                Suppliers or Vendors                                     $2,270.35

                                                            05/02/2024                Suppliers or Vendors                                     $2,975.59

                                                                                                                SUBTOTAL                      $15,019.74

SERVICE TECH BROS INC                                       03/08/2024                Suppliers or Vendors                                     $2,538.37
644 GREENVILLE AVE PMB 295
STAUNTON, VA 24401-4997
                                                            03/28/2024                Suppliers or Vendors                                     $6,810.99

                                                            04/04/2024                Suppliers or Vendors                                     $1,584.66

                                                                                                                SUBTOTAL                      $10,934.02

SEWELL MECHANICAL INC                                       04/25/2024                Suppliers or Vendors                                     $9,178.13
4813 SOUTH 101ST EAST
AVENUE
TULSA, OK 74146
                                                                                                                SUBTOTAL                       $9,178.13

SEYFARTH SHAW LLP                                           03/28/2024                Services                                                 $7,873.50
3807 COLLECTIONS CENTER
DRIVE
CHICAGO, IL 60693-0001
                                                            05/02/2024                Services                                                $26,269.00

                                                            05/19/2024                Services                                                $43,880.59


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number

                                                                                                                SUBTOTAL                      $78,023.09

SHADES CREEK R&I CORP                                       02/22/2024                Other- Rent                                             $12,604.17
TUTWILE PROPERTIES LTD
PO BOX 12045
BIRMINGHAM, AL 35202
                                                            02/28/2024                Other- Rent                                             $12,604.17

                                                            04/04/2024                Other- Rent                                             $12,604.17

                                                            05/03/2024                Other- Rent                                             $12,604.17

                                                                                                                SUBTOTAL                      $50,416.68

SHASHIKANT PATIL                                            03/04/2024                Other- Rent                                             $29,097.97
DBA SPOORNA HOLDINGS LLC
1131 MILLSTONE RUN
WATKINSVILLE, GA 30677-6946
                                                            03/29/2024                Other- Rent                                             $29,097.97

                                                                                                                SUBTOTAL                      $58,195.94

SHEER ENTERPRISES INC                                       02/23/2024                Suppliers or Vendors                                     $1,125.51
6250 N MILITARY TRAIL STE 204
WEST PALM BEACH, FL
33407-1407
                                                            03/08/2024                Suppliers or Vendors                                    $44,614.63

                                                            03/28/2024                Suppliers or Vendors                                    $26,690.00

                                                            04/25/2024                Suppliers or Vendors                                    $22,156.16

                                                            05/02/2024                Suppliers or Vendors                                    $14,984.88

                                                            05/16/2024                Suppliers or Vendors                                    $50,762.69

                                                                                                                SUBTOTAL                     $160,333.87

SHELL ENERGY                                                04/30/2024                Suppliers or Vendors                                   $155,000.00

                                                            05/09/2024                Suppliers or Vendors                                   $155,000.00

                                                                                                                SUBTOTAL                     $310,000.00

SHENKER RUSSO AND CLARK                                     05/02/2024                Suppliers or Vendors                                      $500.00
LLP
121 STATE STREET
4TH FLOOR
ALBANY, NY 12207-1633
                                                            05/19/2024                Suppliers or Vendors                                     $9,796.20

                                                                                                                SUBTOTAL                      $10,296.20

SHEPHERD MECHANICAL LLC                                     02/20/2024                Suppliers or Vendors                                     $6,768.00
6100 AMERICAN RD
TOLEDO, OH 43612-3902
                                                            03/08/2024                Suppliers or Vendors                                     $3,443.00

                                                            03/28/2024                Suppliers or Vendors                                    $21,593.00

                                                            04/25/2024                Suppliers or Vendors                                     $8,961.00

                                                            05/02/2024                Suppliers or Vendors                                     $1,067.00

                                                                                                                SUBTOTAL                      $41,832.00



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
SHIPPS ENTERPRISES INC                                      02/26/2024                Suppliers or Vendors                                   $21,414.56
5304 BURKETT CT
LOUISVILLE, KY 40291
                                                            03/12/2024                Suppliers or Vendors                                    $6,434.20

                                                            04/04/2024                Suppliers or Vendors                                    $7,319.37

                                                            05/02/2024                Suppliers or Vendors                                     $631.09

                                                                                                                SUBTOTAL                     $35,799.22

SICILIAN GROUND SERVICES                                    04/11/2024                Suppliers or Vendors                                   $10,550.00
INC
2806 W TOUHY AVENUE
CHICAGO, IL 60645
                                                                                                                SUBTOTAL                     $10,550.00

SILVER SPRING SERIES A                                      03/04/2024                Other- Rent                                            $30,240.61
SERIES
OF OWLS NEST PROPERTIES
LLC
4204 PYLES FORD RD
GREENVILLE, DE 19807-1734
                                                            03/29/2024                Other- Rent                                            $30,240.61

                                                            04/30/2024                Other- Rent                                            $30,240.61

                                                                                                                SUBTOTAL                     $90,721.83

SILVER STATE REFRIGERATION                                  02/23/2024                Suppliers or Vendors                                    $1,479.35
& HVAC LLC
4535 COPPER SAGE ST
LAS VEGAS, NV 89115-1878
                                                            03/08/2024                Suppliers or Vendors                                    $9,093.81

                                                            03/21/2024                Suppliers or Vendors                                   $18,256.20

                                                            04/11/2024                Suppliers or Vendors                                    $2,124.80

                                                            05/02/2024                Suppliers or Vendors                                    $6,924.19

                                                                                                                SUBTOTAL                     $37,878.35

SIMON PROP GRP TX LP                                        03/01/2024                Other- Rent                                            $33,105.20
867728 RELIABLE PARKWAY
CHICAGO, IL 606860079
                                                            03/04/2024                Other- Rent                                            $13,174.41

                                                            04/03/2024                Other- Rent                                            $13,174.41

                                                            05/03/2024                Other- Rent                                            $13,174.41

                                                                                                                SUBTOTAL                     $72,628.43

SIMON PROPERTY GROUP LP                                     03/01/2024                Other- Rent                                            $14,083.33
DBA EMPIRE MALL LLC
PO BOX 775906
CHICAGO, IL 60677-5906
                                                            04/01/2024                Other- Rent                                            $14,083.33

                                                            04/29/2024                Other- Rent                                            $14,083.33

                                                                                                                SUBTOTAL                     $42,249.99

NAME ON FILE                                                03/04/2024                Other- Rent                                            $22,916.67
ADDRESS ON FILE


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/29/2024                Other- Rent                                            $22,916.67

                                                            04/30/2024                Other- Rent                                            $22,916.67

                                                                                                                SUBTOTAL                     $68,750.01

SIRNA & SONS INC                                            02/20/2024                Suppliers or Vendors                                   $39,517.51
MAINLINE PRODUCE
7176 STATE ROUTE 88
RAVENNA, OH 44266
                                                            02/21/2024                Suppliers or Vendors                                    $2,621.75

                                                            02/23/2024                Suppliers or Vendors                                   $21,176.32

                                                            02/27/2024                Suppliers or Vendors                                   $45,786.94

                                                            02/28/2024                Suppliers or Vendors                                    $2,109.33

                                                            03/04/2024                Suppliers or Vendors                                   $16,351.68

                                                            03/06/2024                Suppliers or Vendors                                   $40,150.78

                                                            03/08/2024                Suppliers or Vendors                                   $17,213.70

                                                            03/11/2024                Suppliers or Vendors                                     $572.79

                                                            03/12/2024                Suppliers or Vendors                                   $42,162.50

                                                            03/14/2024                Suppliers or Vendors                                   $16,396.72

                                                            03/15/2024                Suppliers or Vendors                                     $141.63

                                                            03/18/2024                Suppliers or Vendors                                   $39,404.33

                                                            03/19/2024                Suppliers or Vendors                                    $1,647.30

                                                            03/21/2024                Suppliers or Vendors                                   $10,865.85

                                                            03/22/2024                Suppliers or Vendors                                     $831.21

                                                            03/25/2024                Suppliers or Vendors                                   $34,255.62

                                                            03/26/2024                Suppliers or Vendors                                    $2,993.92

                                                            03/28/2024                Suppliers or Vendors                                   $12,865.80

                                                            04/01/2024                Suppliers or Vendors                                   $39,271.39

                                                            04/02/2024                Suppliers or Vendors                                    $1,483.97

                                                            04/04/2024                Suppliers or Vendors                                   $12,700.19

                                                            04/05/2024                Suppliers or Vendors                                     $190.66

                                                            04/08/2024                Suppliers or Vendors                                   $38,865.27

                                                            04/09/2024                Suppliers or Vendors                                    $3,471.69

                                                            04/11/2024                Suppliers or Vendors                                    $9,004.66

                                                            04/12/2024                Suppliers or Vendors                                       $20.34

                                                            04/15/2024                Suppliers or Vendors                                   $32,998.56

                                                            04/16/2024                Suppliers or Vendors                                    $2,357.11

                                                            04/18/2024                Suppliers or Vendors                                   $11,746.30

                                                            04/22/2024                Suppliers or Vendors                                   $35,430.82



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/23/2024                Suppliers or Vendors                                     $2,045.88

                                                            04/25/2024                Suppliers or Vendors                                    $13,216.68

                                                            04/29/2024                Suppliers or Vendors                                    $32,525.05

                                                            04/30/2024                Suppliers or Vendors                                     $3,080.89

                                                            05/02/2024                Suppliers or Vendors                                    $14,003.49

                                                            05/06/2024                Suppliers or Vendors                                    $32,285.12

                                                            05/07/2024                Suppliers or Vendors                                     $3,336.24

                                                            05/08/2024                Suppliers or Vendors                                      $892.73

                                                            05/09/2024                Suppliers or Vendors                                    $10,943.47

                                                            05/10/2024                Suppliers or Vendors                                      $649.00

                                                            05/13/2024                Suppliers or Vendors                                    $33,566.71

                                                            05/14/2024                Suppliers or Vendors                                     $1,482.39

                                                            05/16/2024                Suppliers or Vendors                                    $12,658.34

                                                                                                                SUBTOTAL                     $695,292.63

SKYHY PROPERTY LLC                                          03/04/2024                Other- Rent                                             $20,887.92
2330 ROUTH DR
ROWLAND HEIGHTS, CA
91748-4859
                                                            03/29/2024                Other- Rent                                             $20,887.92

                                                                                                                SUBTOTAL                      $41,775.84

SLADE GORTON & CO INC                                       03/13/2024                Suppliers or Vendors                                    $75,023.90
PO BOX 0261
BRATTLEBORO, VT 05302-0261
                                                            04/04/2024                Suppliers or Vendors                                   $111,443.27

                                                            05/02/2024                Suppliers or Vendors                                    $75,023.90

                                                            05/16/2024                Suppliers or Vendors                                   $150,047.80

                                                                                                                SUBTOTAL                     $411,538.87

SLM WASTE & RECYCLING                                       02/20/2024                Suppliers or Vendors                                    $95,619.13
SERVICES INC
PO BOX 782678
PHILADELPHIA, PA 19178-2678
                                                            03/08/2024                Suppliers or Vendors                                    $68,504.33

                                                            03/13/2024                Suppliers or Vendors                                    $70,331.61

                                                            03/28/2024                Suppliers or Vendors                                    $97,546.01

                                                            04/04/2024                Suppliers or Vendors                                   $101,835.32

                                                            04/11/2024                Suppliers or Vendors                                   $175,647.03

                                                            04/18/2024                Suppliers or Vendors                                   $110,809.36

                                                            04/25/2024                Suppliers or Vendors                                    $78,350.03

                                                            05/02/2024                Suppliers or Vendors                                    $50,746.37

                                                            05/09/2024                Suppliers or Vendors                                    $47,278.97


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            05/16/2024                Suppliers or Vendors                                    $29,256.10

                                                                                                                SUBTOTAL                     $925,924.26

SMBSIRIS LLC                                                03/04/2024                Other- Rent                                             $22,673.66
58 WAVERLY STREET
BROOKLINE, MA 02445
                                                            03/29/2024                Other- Rent                                             $22,673.66

                                                                                                                SUBTOTAL                      $45,347.32

NAME ON FILE                                                03/04/2024                Other- Rent                                             $42,186.91
ADDRESS ON FILE
                                                            03/29/2024                Other- Rent                                             $42,186.91

                                                            04/30/2024                Other- Rent                                             $42,186.91

                                                                                                                SUBTOTAL                     $126,560.73

SMITH LEGACY LLC                                            03/04/2024                Other- Rent                                             $42,904.91
C/O SHARON M FONG VP
COMERICA BANK & TRUST NA
CO-TRUSTEE
2321 ROSECRANS AVE 5TH
FLOOR
EL SEGUNDO, CA 90245-7902
                                                            03/29/2024                Other- Rent                                             $42,904.91

                                                            04/30/2024                Other- Rent                                             $42,904.91

                                                                                                                SUBTOTAL                     $128,714.73

NAME ON FILE                                                03/04/2024                Other- Rent                                             $19,761.76
ADDRESS ON FILE
                                                            03/29/2024                Other- Rent                                             $19,761.76

                                                            04/30/2024                Other- Rent                                             $19,761.76

                                                                                                                SUBTOTAL                      $59,285.28

SMS AMBASSADORS CORP                                        03/04/2024                Other- Rent                                             $15,286.84
3601 W ALEXIS RD STE 105
TOLEDO, OH 43623-1347
                                                            03/29/2024                Other- Rent                                             $15,286.84

                                                            04/30/2024                Other- Rent                                             $15,286.84

                                                                                                                SUBTOTAL                      $45,860.52

SNAGAJOB.COM INC                                            03/06/2024                Suppliers or Vendors                                    $12,500.00
32978 COLLECTIONS CENTER
DRIVE
CHICAGO, IL 606930329
                                                            04/02/2024                Suppliers or Vendors                                    $12,500.00

                                                            04/23/2024                Suppliers or Vendors                                    $12,500.00

                                                                                                                SUBTOTAL                      $37,500.00

SOCRATES INVESTMENTS INC                                    03/04/2024                Other- Rent                                             $27,583.88
C/O KAUFMAN ROSSIN AND CO
ATTN S DEMAR
3310 MARY ST STE 501
MIAMI, FL 33133-5344
                                                            03/29/2024                Other- Rent                                             $27,583.88


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number

                                                                                                                SUBTOTAL                     $55,167.76

SOCRATIC TECHNOLOGIES INC                                   02/23/2024                Suppliers or Vendors                                   $21,700.00
18 SHORELINE DR
STRATFORD, CT 06615-7704
                                                                                                                SUBTOTAL                     $21,700.00

SOME BEACH LTD                                              03/21/2024                Suppliers or Vendors                                     $7,366.00
DBA DENVER SNOW AND
COMMERCIAL
PROPERTY SERVICES
10940 S PARKER RD #408
PARKER, CO 80134
                                                            04/04/2024                Suppliers or Vendors                                      $230.00

                                                            04/25/2024                Suppliers or Vendors                                     $1,793.50

                                                                                                                SUBTOTAL                       $9,389.50

NAME ON FILE                                                03/04/2024                Other- Rent                                            $38,770.91
ADDRESS ON FILE
                                                            03/29/2024                Other- Rent                                            $38,770.91

                                                            04/30/2024                Other- Rent                                            $38,770.91

                                                                                                                SUBTOTAL                     $116,312.73

SOS MAINTENANCE INC                                         03/27/2024                Suppliers or Vendors                                   $23,280.00
PO BOX 601
BROOKLYN, NY 11237
                                                            04/04/2024                Suppliers or Vendors                                   $15,967.00

                                                            04/09/2024                Suppliers or Vendors                                     $1,860.00

                                                            05/09/2024                Suppliers or Vendors                                     $1,950.00

                                                                                                                SUBTOTAL                     $43,057.00

SOUTH TEXAS RESTAURANT                                      04/25/2024                Suppliers or Vendors                                     $8,244.13
EQUIPMENT INC
433 MC CAMPBELL ROAD
CORPUS CHRISTI, TX 78408-2407
                                                                                                                SUBTOTAL                       $8,244.13

SOUTHLANDS COLORADO LLC                                     02/20/2024                Other- Rent                                              $1,909.45
DBA SOUTHLANDS METRO
DISTRICT 1
C/O RAMONA PADILLA
8390 E CRESCENT PKWY STE
300
GREENWOOD VILLAGE, CO
80111-2813
                                                            03/11/2024                Other- Rent                                              $1,909.45

                                                            04/08/2024                Other- Rent                                              $1,909.45

                                                            05/01/2024                Other- Rent                                              $1,909.45

                                                                                                                SUBTOTAL                       $7,637.80

SPADA PROPERTIES INC                                        02/20/2024                Suppliers or Vendors                                     $7,957.74
DBA UNITED SALAD CO
8448 NE 33RD DR STE 100
PORTLAND, OR 97211-2105
                                                            02/21/2024                Suppliers or Vendors                                     $3,014.96


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            02/23/2024                Suppliers or Vendors                                   $5,843.83

                                                            02/26/2024                Suppliers or Vendors                                   $3,564.29

                                                            02/27/2024                Suppliers or Vendors                                   $5,044.56

                                                            02/28/2024                Suppliers or Vendors                                   $2,387.88

                                                            02/29/2024                Suppliers or Vendors                                    $825.47

                                                            03/04/2024                Suppliers or Vendors                                   $6,441.23

                                                            03/06/2024                Suppliers or Vendors                                   $8,943.17

                                                            03/08/2024                Suppliers or Vendors                                   $3,126.77

                                                            03/11/2024                Suppliers or Vendors                                   $1,849.42

                                                            03/12/2024                Suppliers or Vendors                                   $8,979.41

                                                            03/14/2024                Suppliers or Vendors                                   $3,487.75

                                                            03/15/2024                Suppliers or Vendors                                   $2,601.14

                                                            03/18/2024                Suppliers or Vendors                                   $5,598.72

                                                            03/19/2024                Suppliers or Vendors                                   $3,076.22

                                                            03/21/2024                Suppliers or Vendors                                   $2,708.28

                                                            03/22/2024                Suppliers or Vendors                                   $2,522.46

                                                            03/25/2024                Suppliers or Vendors                                   $5,552.14

                                                            03/26/2024                Suppliers or Vendors                                   $2,745.32

                                                            03/28/2024                Suppliers or Vendors                                   $2,468.92

                                                            03/29/2024                Suppliers or Vendors                                   $2,455.80

                                                            04/01/2024                Suppliers or Vendors                                   $5,769.11

                                                            04/02/2024                Suppliers or Vendors                                   $2,919.71

                                                            04/04/2024                Suppliers or Vendors                                   $3,248.71

                                                            04/05/2024                Suppliers or Vendors                                   $2,413.20

                                                            04/08/2024                Suppliers or Vendors                                   $5,830.82

                                                            04/09/2024                Suppliers or Vendors                                   $3,350.59

                                                            04/11/2024                Suppliers or Vendors                                   $2,871.75

                                                            04/12/2024                Suppliers or Vendors                                   $2,056.58

                                                            04/15/2024                Suppliers or Vendors                                   $5,303.90

                                                            04/16/2024                Suppliers or Vendors                                   $3,160.92

                                                            04/18/2024                Suppliers or Vendors                                   $2,924.16

                                                            04/19/2024                Suppliers or Vendors                                   $2,230.49

                                                            04/22/2024                Suppliers or Vendors                                   $5,171.52

                                                            04/23/2024                Suppliers or Vendors                                   $2,259.27

                                                            04/24/2024                Suppliers or Vendors                                    $480.42

                                                            04/25/2024                Suppliers or Vendors                                   $2,543.20

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/26/2024                Suppliers or Vendors                                     $2,016.45

                                                            04/29/2024                Suppliers or Vendors                                     $5,214.76

                                                            04/30/2024                Suppliers or Vendors                                     $3,014.91

                                                            05/02/2024                Suppliers or Vendors                                     $2,844.63

                                                            05/03/2024                Suppliers or Vendors                                     $2,347.34

                                                            05/06/2024                Suppliers or Vendors                                     $5,317.82

                                                            05/07/2024                Suppliers or Vendors                                     $2,400.74

                                                            05/09/2024                Suppliers or Vendors                                     $1,512.09

                                                            05/10/2024                Suppliers or Vendors                                     $3,253.68

                                                            05/13/2024                Suppliers or Vendors                                     $6,533.49

                                                            05/14/2024                Suppliers or Vendors                                     $2,195.40

                                                            05/16/2024                Suppliers or Vendors                                     $2,130.51

                                                                                                                SUBTOTAL                     $182,511.65

SPADEA INC                                                  03/04/2024                Other- Rent                                            $31,566.64
C/O NURAN STEHMERS
EXECUTOR OF THE ESTATE OF
JOHN D LAGRECO
2177 CROSS HWY
FAIRFIELD, CT 06824-1755
                                                            03/29/2024                Other- Rent                                            $31,566.64

                                                            04/30/2024                Other- Rent                                            $31,566.64

                                                                                                                SUBTOTAL                     $94,699.92

SPECIALIZED COMMERCIAL                                      03/28/2024                Suppliers or Vendors                                     $6,911.74
SERVICES INC
DBA SPECIALIZED COMMERCIAL
EQUIP SVC
303 E GURLEY STREET
460
PRESCOTT, AZ 86301
                                                            04/04/2024                Suppliers or Vendors                                      $266.08

                                                            05/02/2024                Suppliers or Vendors                                      $632.47

                                                                                                                SUBTOTAL                       $7,810.29

SPECTRUM BRANDS PET LLC                                     03/04/2024                Suppliers or Vendors                                     $3,070.10
32854 COLLECTION CENTER
DRIVE
CHICAGO, IL 60693-0328
                                                            03/08/2024                Suppliers or Vendors                                     $1,010.00

                                                            03/28/2024                Suppliers or Vendors                                   $13,409.78

                                                            04/18/2024                Suppliers or Vendors                                   $12,236.62

                                                            04/23/2024                Suppliers or Vendors                                      $364.09

                                                                                                                SUBTOTAL                     $30,090.59

SPEEDWAY95 LLC                                              03/04/2024                Other- Rent                                            $19,474.41
ATTN WILLIAM EDMISTON
PO BOX 130
LAKE FOREST, IL 60045
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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/29/2024                Other- Rent                                            $19,474.41

                                                            04/30/2024                Other- Rent                                            $19,474.41

                                                                                                                SUBTOTAL                     $58,423.23

SPM ACQUISITION LLC                                         03/04/2024                Other- Rent                                            $21,574.53
C/O ATTN OFFICE
COORDINATOR
500 SOUTHPARK CTR
STRONGSVILLE, OH 44136-9320
                                                            03/29/2024                Other- Rent                                            $21,621.04

                                                            04/30/2024                Other- Rent                                            $21,621.04

                                                                                                                SUBTOTAL                     $64,816.61

SPORTS ARENA VILLAGE LTD                                    03/05/2024                Other- Rent                                            $14,925.18
C/O THE WHEATCROFT
COMPANY
3760 SPORTS ARENA BLVD STE
14
SAN DIEGO, CA 921105134
                                                            04/03/2024                Other- Rent                                             $16,112.64

                                                            05/03/2024                Other- Rent                                            $12,978.59

                                                            05/17/2024                Other- Rent                                              $1,573.23

                                                                                                                SUBTOTAL                     $45,589.64

SSS NORTHWEST CROSSING                                      02/23/2024                Other- Rent                                             $11,597.67
LLC
ATTN HELEN WU WU
C/O WU PROPERTIES INC
3657 BRIARPARK DR STE 188
HOUSTON, TX 77042-5267
                                                            03/29/2024                Other- Rent                                             $11,597.67

                                                            04/30/2024                Other- Rent                                             $11,597.67

                                                                                                                SUBTOTAL                     $34,793.01

STAPLES INC                                                 03/04/2024                Suppliers or Vendors                                   $39,280.05
DBA DEX IMAGING LLC
PO BOX 17299
CLEARWATER, FL 33762-0299
                                                            03/28/2024                Suppliers or Vendors                                   $39,187.00

                                                                                                                SUBTOTAL                     $78,467.05

STAR INTERNATIONAL                                          02/23/2024                Suppliers or Vendors                                   $37,923.92
HOLDINGS INC
PO BOX 60151
ST LOUIS, MO 631600151
                                                            03/13/2024                Suppliers or Vendors                                   $69,048.32

                                                            03/21/2024                Suppliers or Vendors                                     $6,072.78

                                                                                                                SUBTOTAL                     $113,045.02

STAR-WEST GREAT NORTHERN                                    03/21/2024                Other- Rent                                              $4,764.85
MALL LLC
PO BOX 856553
MINNEAPOLIS, MN 55485-6553
                                                            03/25/2024                Other- Rent                                            $13,903.07


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/23/2024                Other- Rent                                             $13,903.07

                                                            04/30/2024                Other- Rent                                              $4,764.85

                                                                                                                SUBTOTAL                      $37,335.84

STATE INDUSTRIES INC                                        04/16/2024                Suppliers or Vendors                                    $24,476.64
12610 COLLECTIONS CENTER
DR
CHICAGO, IL 60693
                                                            05/02/2024                Suppliers or Vendors                                    $13,624.00

                                                            05/08/2024                Suppliers or Vendors                                    $46,670.27

                                                            05/19/2024                Suppliers or Vendors                                    $35,733.38

                                                                                                                SUBTOTAL                     $120,504.29

STATE OF LOUISIANA                                          03/21/2024                Other- Government / Regulatory                          $23,169.00

                                                            04/23/2024                Other- Government / Regulatory                          $25,520.00

                                                                                                                SUBTOTAL                      $48,689.00

STATE OF MICHIGAN                                           04/11/2024                Other- Government / Regulatory                            $150.00
DEPT OF ENERGY LABOR &
ECONOMIC GWTHCONSUMER &
BUREAU OF CONST
CODES/BOILER DIV
PO BOX 30255
LANSING, MI 48909
                                                            04/15/2024                Other- Government / Regulatory                          $23,365.00

                                                                                                                SUBTOTAL                      $23,515.00

STAUNTON EM 2 LLC                                           02/28/2024                Other- Rent                                              $4,509.42
PO BOX 202
MANAKIN SABOT, VA 23103-0202
                                                            04/03/2024                Other- Rent                                              $4,509.42

                                                            05/08/2024                Other- Rent                                              $4,509.42

                                                                                                                SUBTOTAL                      $13,528.26

STEVE LIN                                                   03/04/2024                Other- Rent                                             $39,577.11
DBA STEVE AND CAROL LIN
TRUST
360 SWIFT AVENUE
SUITE 21
SOUTH SAN FRANCISCO, CA
94080
                                                            03/29/2024                Other- Rent                                             $39,577.11

                                                            04/30/2024                Other- Rent                                             $39,577.11

                                                                                                                SUBTOTAL                     $118,731.33

STEVEN E BREITMAN                                           02/27/2024                Other- Rent                                             $35,179.66
DBA HRP 0137 SAN ANTONIO
LLC
C/O WAL 7301 LLC
6229 RIVO LAKES BLVD
SARASOTA, FL 34241-2726
                                                            03/29/2024                Other- Rent                                             $35,179.66

                                                            05/01/2024                Other- Rent                                             $35,179.66


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number

                                                                                                                SUBTOTAL                      $105,538.98

STR MECHANICAL LLC                                          05/15/2024                Suppliers or Vendors                                     $11,746.92
PO BOX 205
SANDY SPRINGS, SC 29677-0205
                                                                                                                SUBTOTAL                       $11,746.92

STRATEGIC SERVICE LLC                                       02/23/2024                Suppliers or Vendors                                      $3,354.56
1607 COMMERCE AVENUE
SAINT JOSEPH, MO 64505-3933
                                                            03/21/2024                Suppliers or Vendors                                      $4,580.07

                                                                                                                SUBTOTAL                        $7,934.63

STRATEGIC SOLUTIONS INC                                     02/23/2024                Suppliers or Vendors                                     $43,602.00
122 W 22ND ST
OAK BROOK, IL 60523-1562
                                                            03/04/2024                Suppliers or Vendors                                      $3,771.10

                                                            03/08/2024                Suppliers or Vendors                                    $120,666.00

                                                            03/13/2024                Suppliers or Vendors                                    $109,839.00

                                                            03/22/2024                Suppliers or Vendors                                     $94,449.60

                                                            03/28/2024                Suppliers or Vendors                                        $492.50

                                                            04/04/2024                Suppliers or Vendors                                     $44,819.31

                                                            04/11/2024                Suppliers or Vendors                                     $43,279.50

                                                            04/18/2024                Suppliers or Vendors                                     $94,309.05

                                                            04/25/2024                Suppliers or Vendors                                    $157,642.42

                                                            05/19/2024                Suppliers or Vendors                                    $337,858.40

                                                                                                                SUBTOTAL                     $1,050,728.88

STRAUBTEK LLC                                               02/20/2024                Suppliers or Vendors                                     $35,752.35
PO BOX 162113
ALTAMONTE SPRINGS, FL
32716-2113
                                                            03/04/2024                Suppliers or Vendors                                      $5,100.52

                                                            03/08/2024                Suppliers or Vendors                                        $936.67

                                                            03/28/2024                Suppliers or Vendors                                      $2,270.77

                                                            04/04/2024                Suppliers or Vendors                                      $1,154.03

                                                            05/02/2024                Suppliers or Vendors                                      $1,703.01

                                                                                                                SUBTOTAL                       $46,917.35

SUMMIT INVESTMENT                                           04/15/2024                Suppliers or Vendors                                     $65,300.00
MANAGEMENT LLC
                                                            04/19/2024                Suppliers or Vendors                                     $15,300.00

                                                                                                                SUBTOTAL                       $80,600.00

SUN ALPINE                                                  03/08/2024                Suppliers or Vendors                                    $138,000.00

                                                            03/21/2024                Suppliers or Vendors                                    $138,000.00

                                                            05/08/2024                Suppliers or Vendors                                    $142,800.00


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Debtor Name: Red Lobster Management LLC                                                                                   Case Number: 24-02486

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Creditor Name & Address           Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                  Number

                                                                                                                 SUBTOTAL                     $418,800.00

SUNBEAM DEVELOPMENT                                          03/04/2024                Other- Rent                                             $20,649.22
CORPORATION
PO BOX 610727
NORTH MIAMI, FL 33261
                                                             04/02/2024                Other- Rent                                             $20,649.22

                                                             05/02/2024                Other- Rent                                             $20,649.22

                                                                                                                 SUBTOTAL                      $61,947.66

SUPERIOR STEEL STUDS INC                                     02/27/2024                Other- Rent                                             $18,734.07
C/O SS SMALL MOUTH
PARKERSBURG LLC
2960 WOODBRIDGE AVE
EDISON, NJ 08837-3406
                                                             04/16/2024                Other- Rent                                             $18,734.07

                                                             04/30/2024                Other- Rent                                             $18,734.07

                                                                                                                 SUBTOTAL                      $56,202.21

SUPREME LOBSTER AND                                          02/20/2024                Suppliers or Vendors                                      $640.98
SEAFOOD CO
220 EAST NORTH AVENUE
VILLA PARK, IL 601811221
                                                             02/21/2024                Suppliers or Vendors                                      $810.05

                                                             02/22/2024                Suppliers or Vendors                                      $230.18

                                                             02/23/2024                Suppliers or Vendors                                      $966.83

                                                             02/29/2024                Suppliers or Vendors                                      $699.51

                                                             03/04/2024                Suppliers or Vendors                                     $1,598.91

                                                             03/06/2024                Suppliers or Vendors                                     $2,021.21

                                                             03/07/2024                Suppliers or Vendors                                      $383.69

                                                             03/12/2024                Suppliers or Vendors                                     $1,998.59

                                                             03/13/2024                Suppliers or Vendors                                     $1,018.57

                                                             03/14/2024                Suppliers or Vendors                                      $733.43

                                                             03/18/2024                Suppliers or Vendors                                      $657.07

                                                             03/19/2024                Suppliers or Vendors                                      $724.35

                                                             03/22/2024                Suppliers or Vendors                                      $247.23

                                                             03/25/2024                Suppliers or Vendors                                      $259.05

                                                             03/26/2024                Suppliers or Vendors                                      $544.05

                                                             03/27/2024                Suppliers or Vendors                                      $326.26

                                                             03/28/2024                Suppliers or Vendors                                      $254.10

                                                             03/29/2024                Suppliers or Vendors                                     $1,359.84

                                                             04/01/2024                Suppliers or Vendors                                      $740.05

                                                             04/02/2024                Suppliers or Vendors                                      $525.44

                                                             04/03/2024                Suppliers or Vendors                                      $555.87


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/04/2024                Suppliers or Vendors                                     $359.00

                                                            04/05/2024                Suppliers or Vendors                                     $357.49

                                                            04/08/2024                Suppliers or Vendors                                     $474.80

                                                            04/09/2024                Suppliers or Vendors                                     $746.72

                                                            04/10/2024                Suppliers or Vendors                                     $632.16

                                                            04/11/2024                Suppliers or Vendors                                     $462.73

                                                            04/15/2024                Suppliers or Vendors                                     $296.18

                                                            04/16/2024                Suppliers or Vendors                                    $1,138.32

                                                            04/17/2024                Suppliers or Vendors                                    $1,701.24

                                                            04/19/2024                Suppliers or Vendors                                     $520.73

                                                            04/22/2024                Suppliers or Vendors                                     $280.02

                                                            04/23/2024                Suppliers or Vendors                                     $527.25

                                                            04/24/2024                Suppliers or Vendors                                     $292.63

                                                            04/25/2024                Suppliers or Vendors                                     $574.80

                                                            04/29/2024                Suppliers or Vendors                                     $443.22

                                                            05/01/2024                Suppliers or Vendors                                     $341.05

                                                            05/03/2024                Suppliers or Vendors                                     $348.23

                                                            05/06/2024                Suppliers or Vendors                                     $241.19

                                                            05/07/2024                Suppliers or Vendors                                     $328.53

                                                            05/13/2024                Suppliers or Vendors                                     $324.74

                                                            05/14/2024                Suppliers or Vendors                                    $1,427.85

                                                            05/15/2024                Suppliers or Vendors                                     $638.71

                                                            05/16/2024                Suppliers or Vendors                                     $248.92

                                                                                                                SUBTOTAL                     $30,001.77

SURFSIDE SQUARE                                             04/03/2024                Other- Rent                                             $8,036.88
CONDOMINIUM ASSOCIATION
INC
C/O PREMIER ACCOUNTING &
MANAGEMENT
3162 S ATLANTIC AVE STE C
DAYTONA BEACH SHORES, FL
32118-6259
                                                                                                                SUBTOTAL                      $8,036.88

NAME ON FILE                                                02/20/2024                Other- Employee Expense                                 $4,909.48
ADDRESS ON FILE                                                                       Reimbursement
                                                            03/19/2024                Other- Employee Expense                                 $4,720.96
                                                                                      Reimbursement
                                                            04/02/2024                Other- Employee Expense                                 $2,001.67
                                                                                      Reimbursement
                                                            04/15/2024                Other- Employee Expense                                 $1,651.48
                                                                                      Reimbursement
                                                            04/30/2024                Other- Employee Expense                                  $589.47
                                                                                      Reimbursement


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            05/13/2024                Other- Employee Expense                                  $252.54
                                                                                      Reimbursement
                                                                                                                SUBTOTAL                     $14,125.60

SWB-LYNN HOLDINGS LLC                                       03/04/2024                Other- Rent                                            $27,313.45
PO BOX 401
GLENWOOD LANDING, NY 11547
                                                            03/29/2024                Other- Rent                                            $27,313.45

                                                            04/30/2024                Other- Rent                                            $27,313.45

                                                                                                                SUBTOTAL                     $81,940.35

SWIFT AIR                                                   03/21/2024                Suppliers or Vendors                                   $10,436.58
2101 LEOPARD ST
CORPUS CHRISTI, TX 78408-3900
                                                            04/04/2024                Suppliers or Vendors                                     $449.24

                                                            04/25/2024                Suppliers or Vendors                                     $449.24

                                                                                                                SUBTOTAL                     $11,335.06

SWIFT CREEK ASSOCIATES LP                                   02/27/2024                Other- Rent                                            $14,150.13
C/O BET INVESTMENTS INC
200 DRYDEN RD E STE 2000
DRESHER, PA 19025-1048
                                                            03/26/2024                Other- Rent                                             $1,784.92

                                                            04/01/2024                Other- Rent                                            $12,365.21

                                                            04/30/2024                Other- Rent                                            $12,365.21

                                                            05/03/2024                Other- Rent                                             $1,784.92

                                                                                                                SUBTOTAL                     $42,450.39

SWR-LV LLC                                                  03/04/2024                Other- Rent                                            $13,080.65
C/O REDD REALTY SERVICES
3949 HOLCOMB BRIDGE RD STE
202
PEACHTREE CORNERS, GA
30092-2208
                                                            03/28/2024                Other- Rent                                             $1,123.00

                                                            03/29/2024                Other- Rent                                            $11,957.65

                                                            04/30/2024                Other- Rent                                            $14,188.99

                                                            05/07/2024                Other- Rent                                             $5,131.40

                                                                                                                SUBTOTAL                     $45,481.69

SYRACUSE BANANA CO INC                                      02/20/2024                Suppliers or Vendors                                    $3,490.12
900 WOLF STREET
SYRACUSE, NY 13208
                                                            02/21/2024                Suppliers or Vendors                                     $989.95

                                                            02/23/2024                Suppliers or Vendors                                    $2,424.15

                                                            02/26/2024                Suppliers or Vendors                                       $36.16

                                                            02/27/2024                Suppliers or Vendors                                    $4,633.83

                                                            03/04/2024                Suppliers or Vendors                                    $1,494.95

                                                            03/06/2024                Suppliers or Vendors                                    $4,491.48


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/08/2024                Suppliers or Vendors                                    $1,839.15

                                                            03/12/2024                Suppliers or Vendors                                    $4,782.63

                                                            03/14/2024                Suppliers or Vendors                                    $1,155.04

                                                            03/18/2024                Suppliers or Vendors                                    $4,338.29

                                                            03/19/2024                Suppliers or Vendors                                       $67.65

                                                            03/21/2024                Suppliers or Vendors                                    $1,072.16

                                                            03/25/2024                Suppliers or Vendors                                    $3,261.16

                                                            03/26/2024                Suppliers or Vendors                                     $148.01

                                                            03/28/2024                Suppliers or Vendors                                    $1,503.72

                                                            04/01/2024                Suppliers or Vendors                                    $4,174.02

                                                            04/02/2024                Suppliers or Vendors                                     $143.72

                                                            04/04/2024                Suppliers or Vendors                                    $1,440.52

                                                            04/08/2024                Suppliers or Vendors                                    $3,782.21

                                                            04/09/2024                Suppliers or Vendors                                     $632.60

                                                            04/11/2024                Suppliers or Vendors                                    $1,058.05

                                                            04/15/2024                Suppliers or Vendors                                    $3,861.39

                                                            04/16/2024                Suppliers or Vendors                                     $117.88

                                                            04/18/2024                Suppliers or Vendors                                     $960.80

                                                            04/19/2024                Suppliers or Vendors                                       $97.65

                                                            04/22/2024                Suppliers or Vendors                                    $3,687.63

                                                            04/23/2024                Suppliers or Vendors                                       $50.89

                                                            04/25/2024                Suppliers or Vendors                                     $792.54

                                                            04/29/2024                Suppliers or Vendors                                    $4,024.52

                                                            04/30/2024                Suppliers or Vendors                                       $86.36

                                                            05/02/2024                Suppliers or Vendors                                    $1,860.86

                                                            05/03/2024                Suppliers or Vendors                                       $27.35

                                                            05/06/2024                Suppliers or Vendors                                    $3,527.28

                                                            05/07/2024                Suppliers or Vendors                                       $68.40

                                                            05/09/2024                Suppliers or Vendors                                    $1,339.59

                                                            05/13/2024                Suppliers or Vendors                                    $3,483.38

                                                            05/14/2024                Suppliers or Vendors                                       $42.30

                                                            05/16/2024                Suppliers or Vendors                                     $763.56

                                                                                                                SUBTOTAL                     $71,751.95

T EASTGATE PLAZA NR NV LLC                                  02/29/2024                Other- Rent                                             $2,906.33
PO BOX 209277
AUSTIN, TX 78720-9271
                                                            03/29/2024                Other- Rent                                             $1,302.21

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/04/2024                Other- Rent                                              $1,783.91

                                                            05/03/2024                Other- Rent                                              $1,604.12

                                                            05/09/2024                Other- Rent                                              $1,302.21

                                                                                                                SUBTOTAL                       $8,898.78

T L CARROLL CONTRACTING INC                                 05/02/2024                Suppliers or Vendors                                     $5,071.88
2751 TEABERRY LN
HERMITAGE, PA 16148-6299
                                                            05/10/2024                Suppliers or Vendors                                     $4,910.00

                                                                                                                SUBTOTAL                       $9,981.88

TAAG VENTURES LLC                                           03/04/2024                Other- Rent                                             $14,875.00
ATTN TYLER DANIELS
4727 OSBORNE DR
EL PASO, TX 79922-1049
                                                            03/29/2024                Other- Rent                                             $14,875.00

                                                                                                                SUBTOTAL                      $29,750.00

TAGEX BRANDS INC                                            05/08/2024                Suppliers or Vendors                                   $249,775.00

                                                                                                                SUBTOTAL                     $249,775.00

TAITZ RL MOBILE LLC                                         03/04/2024                Other- Rent                                              $9,136.35
C/O FEDERMAN STEIFMAN LLP
220 EAST 42ND STREET
29TH FLOOR
NEW YORK, NY 10017
                                                            03/29/2024                Other- Rent                                              $9,136.35

                                                                                                                SUBTOTAL                      $18,272.70

TALENTREEF INC                                              03/21/2024                Suppliers or Vendors                                    $13,629.00
PO BOX 8027
CAROL STREAM, IL 60197-8027
                                                            05/16/2024                Suppliers or Vendors                                    $40,887.00

                                                                                                                SUBTOTAL                      $54,516.00

TALON MAINTENANCE                                           03/22/2024                Suppliers or Vendors                                     $6,434.20
CONTRACTING INC
7024 BIRCHWOOD DR
SLATINGTON, PA 18080
                                                            03/28/2024                Suppliers or Vendors                                     $1,955.70

                                                            04/04/2024                Suppliers or Vendors                                      $328.60

                                                            04/25/2024                Suppliers or Vendors                                      $689.00

                                                                                                                SUBTOTAL                       $9,407.50

TALX CORPORATION                                            03/18/2024                Suppliers or Vendors                                    $17,675.00
DBA EQUIFAX WORKFORCE
SOLUTIONS
4076 PAYSPHERE CIRCLE
CHICAGO, IL 60674-4076
                                                                                                                SUBTOTAL                      $17,675.00




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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
TANGER PROPERTIES LIMITED                                   02/28/2024                Other- Rent                                            $31,357.41
PARTNERSHIP
COROC/HILTON HEAD I LLC
PO BOX 414225
BOSTON, MA 02241-4225
                                                            04/03/2024                Other- Rent                                            $26,775.41

                                                            04/10/2024                Other- Rent                                             $4,582.00

                                                            05/02/2024                Other- Rent                                            $26,775.41

                                                            05/07/2024                Other- Rent                                             $4,582.00

                                                                                                                SUBTOTAL                     $94,072.23

TAYLOR & MONROE LLC                                         03/04/2024                Other- Rent                                            $24,541.42
19370 COLLINS AVENUE CU1
SUNNY ISLES BEACH, FL 33160
                                                            03/29/2024                Other- Rent                                            $24,541.42

                                                            04/30/2024                Other- Rent                                            $24,541.42

                                                                                                                SUBTOTAL                     $73,624.26

TAYLOR CORPORATION                                          02/21/2024                Suppliers or Vendors                                    $1,956.51
DBA TRAVEL TAGS INC
CARD FULFILLMENT SERVICES
PO BOX 1450
MINNEAPOLIS, MN 55485-1450
                                                            02/28/2024                Suppliers or Vendors                                   $21,749.98

                                                            03/21/2024                Suppliers or Vendors                                    $5,729.73

                                                            04/17/2024                Suppliers or Vendors                                    $2,380.51

                                                                                                                SUBTOTAL                     $31,816.73

TDN2K LLC                                                   03/04/2024                Services                                               $19,703.25
DBA PEOPLE REPORT
17304 PRESTON ROAD SUITE
430
DALLAS, TX 75252
                                                                                                                SUBTOTAL                     $19,703.25

TECH ONE ASSOCIATES                                         03/04/2024                Other- Rent                                             $5,973.34
200 MARSHALL DRIVE
CORAOPOLIS, PA 15108
                                                            03/15/2024                Other- Rent                                             $3,331.38

                                                            03/26/2024                Other- Rent                                             $6,676.45

                                                            04/02/2024                Other- Rent                                             $5,973.34

                                                            05/02/2024                Other- Rent                                             $5,973.34

                                                                                                                SUBTOTAL                     $27,927.85

TECH SERVICES MECHANICAL                                    03/21/2024                Suppliers or Vendors                                    $6,987.85
LLC
360 MAIN ST STE 1
MATAWAN, NJ 07747-3255
                                                            04/25/2024                Suppliers or Vendors                                     $447.83

                                                            05/02/2024                Suppliers or Vendors                                    $5,412.73

                                                                                                                SUBTOTAL                     $12,848.41


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
TECHMASTERS INC                                             02/29/2024                Suppliers or Vendors                                    $1,384.32
2024 SW 6TH ST
LINCOLN, NE 68522
                                                            03/15/2024                Suppliers or Vendors                                   $12,109.09

                                                            04/03/2024                Suppliers or Vendors                                       $55.00

                                                            04/11/2024                Suppliers or Vendors                                    $8,442.79

                                                            04/18/2024                Suppliers or Vendors                                    $6,075.13

                                                            05/02/2024                Suppliers or Vendors                                    $2,344.84

                                                                                                                SUBTOTAL                     $30,411.17

TED AND MARIAS PLAZA LLC                                    03/04/2024                Other- Rent                                            $22,267.43
518 S LAURELTREE DR
ANAHEIM, CA 92808-1626
                                                            03/29/2024                Other- Rent                                            $22,267.43

                                                            04/30/2024                Other- Rent                                            $22,267.43

                                                                                                                SUBTOTAL                     $66,802.29

NAME ON FILE                                                02/26/2024                Other- Employee Expense                                 $4,320.93
ADDRESS ON FILE                                                                       Reimbursement
                                                            03/20/2024                Other- Employee Expense                                 $3,895.48
                                                                                      Reimbursement
                                                            04/03/2024                Other- Employee Expense                                 $2,441.81
                                                                                      Reimbursement
                                                            04/17/2024                Other- Employee Expense                                 $1,652.96
                                                                                      Reimbursement
                                                            05/01/2024                Other- Employee Expense                                 $2,555.38
                                                                                      Reimbursement
                                                            05/19/2024                Other- Employee Expense                                 $6,463.50
                                                                                      Reimbursement
                                                                                                                SUBTOTAL                     $21,330.06

TEHANS REALTY COMPANY                                       02/28/2024                Other- Rent                                            $19,760.17
PO BOX 796
NEW HARTFORD, NY 13413
                                                            04/01/2024                Other- Rent                                            $19,760.17

                                                            05/02/2024                Other- Rent                                            $19,929.38

                                                                                                                SUBTOTAL                     $59,449.72

TEKSYSTEMS INC                                              02/26/2024                Suppliers or Vendors                                    $3,600.00
PO BOX 198568
ATLANTA, GA 303848568
                                                            02/27/2024                Suppliers or Vendors                                    $8,640.00

                                                            03/11/2024                Suppliers or Vendors                                    $3,600.00

                                                            03/18/2024                Suppliers or Vendors                                    $3,600.00

                                                            04/02/2024                Suppliers or Vendors                                    $5,760.00

                                                            04/12/2024                Suppliers or Vendors                                    $6,480.00

                                                            04/15/2024                Suppliers or Vendors                                    $7,200.00

                                                            04/24/2024                Suppliers or Vendors                                    $3,600.00

                                                            04/30/2024                Suppliers or Vendors                                    $7,200.00

                                                            05/19/2024                Suppliers or Vendors                                   $38,520.00

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number

                                                                                                                SUBTOTAL                      $88,200.00

TEWS CONSULTING INC                                         02/29/2024                Suppliers or Vendors                                    $25,370.00
DBA TEWS COMPANY
1000 LEGION PLACE SUITE 730
ORLANDO, FL 32801-5201
                                                            03/07/2024                Suppliers or Vendors                                    $31,268.00

                                                            03/21/2024                Suppliers or Vendors                                     $7,192.00

                                                            04/04/2024                Suppliers or Vendors                                     $7,148.00

                                                            04/18/2024                Suppliers or Vendors                                     $7,280.00

                                                            04/25/2024                Suppliers or Vendors                                     $3,640.00

                                                            05/02/2024                Suppliers or Vendors                                    $14,318.00

                                                            05/09/2024                Suppliers or Vendors                                     $3,640.00

                                                            05/19/2024                Suppliers or Vendors                                    $36,334.00

                                                                                                                SUBTOTAL                     $136,190.00

THE DIGITAL ACCESSIBILITY                                   05/19/2024                Suppliers or Vendors                                    $38,156.65
CENTRE LTD
SUITE 18 LLAN COED HOUSE
DARCY BUSINESS PARK
LLANDARCY, SA10 6FG
UNITED KINGDOM
                                                                                                                SUBTOTAL                      $38,156.65

THE EVELYN D BENEDETTO                                      03/04/2024                Other- Rent                                             $15,171.23
FAMILY PARTNERSHIP LLP
225 FOX HUNT CRESCENT
SYOSSET, NY 11791
                                                            03/29/2024                Other- Rent                                             $15,171.23

                                                                                                                SUBTOTAL                      $30,342.46

NAME ON FILE                                                03/04/2024                Other- Rent                                             $17,976.56
ADDRESS ON FILE
                                                            03/29/2024                Other- Rent                                             $17,976.56

                                                                                                                SUBTOTAL                      $35,953.12

THE GERRARD FAMILY LIMITED                                  03/04/2024                Other- Rent                                             $24,995.06
PARTNERSHIP LLLP
C/O NATHAN M GERRARD
27154 COUNTY ROAD 13
JOHNSTOWN, CO 80534-8205
                                                            03/29/2024                Other- Rent                                             $24,995.06

                                                            04/30/2024                Other- Rent                                             $24,995.06

                                                                                                                SUBTOTAL                      $74,985.18

THE HARRY AND JEANETTE                                      02/23/2024                Other- Rent                                               $264.83
WEINBERG FOUNDATION
INCORPORATED
DBA 300 LLC
MSC 61414
PO BOX 1300
HONOLULU, HI 96807-1300
                                                            03/05/2024                Other- Rent                                             $26,178.00



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/19/2024                Other- Rent                                              $7,062.21

                                                            04/09/2024                Other- Rent                                             $26,178.00

                                                            04/19/2024                Other- Rent                                             $13,589.85

                                                            05/14/2024                Other- Rent                                              $1,743.89

                                                                                                                SUBTOTAL                      $75,016.78

THE HERRING IMPACT GROUP                                    03/15/2024                Suppliers or Vendors                                    $15,875.00
LLC
DBA IMPACT GROUP LLC
12977 NORTH OUTER 40 DRIVE
SUITE 300
ST LOUIS, MO 63141-8656
                                                            04/08/2024                Suppliers or Vendors                                    $13,540.00

                                                            05/06/2024                Suppliers or Vendors                                     $2,490.00

                                                                                                                SUBTOTAL                      $31,905.00

THE ICEE COMPANY                                            04/25/2024                Suppliers or Vendors                                    $13,021.63
PO BOX 515723
LOS ANGELES, CA 900515203
                                                                                                                SUBTOTAL                      $13,021.63

NAME ON FILE                                                03/04/2024                Other- Rent                                             $23,401.88
ADDRESS ON FILE
                                                            03/29/2024                Other- Rent                                             $23,401.88

                                                            04/30/2024                Other- Rent                                             $23,401.88

                                                                                                                SUBTOTAL                      $70,205.64

THE LIONS CLEANING SERVICES                                 03/13/2024                Suppliers or Vendors                                    $24,325.80
LLC
1327 SCHOLAR ST
LOUISVILLE, KY 40213-2115
                                                                                                                SUBTOTAL                      $24,325.80

THE LOBSTER GUYS SW LLC                                     03/28/2024                Suppliers or Vendors                                    $13,914.04
6336 ENCHANTED CREEK PL
LAS VEGAS, NV 89122-3643
                                                            04/11/2024                Suppliers or Vendors                                     $2,610.96

                                                            04/18/2024                Suppliers or Vendors                                      $780.34

                                                            04/25/2024                Suppliers or Vendors                                     $1,446.89

                                                            05/02/2024                Suppliers or Vendors                                      $370.80

                                                                                                                SUBTOTAL                      $19,123.03

THE P SMITH REALTY LLC                                      03/04/2024                Other- Rent                                             $35,465.56
PO BOX 237090
NEW YORK, NY 10023
                                                            03/29/2024                Other- Rent                                             $35,465.56

                                                            04/30/2024                Other- Rent                                             $35,465.56

                                                                                                                SUBTOTAL                     $106,396.68

THE PROMENADE DIBERVILLE                                    02/29/2024                Other- Rent                                             $12,604.17
LLC
PO BOX 531761
ATLANTA, GA 303531761
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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/03/2024                Other- Rent                                             $12,604.17

                                                                                                                SUBTOTAL                      $25,208.34

THE RAPHAEL FAMILY                                          03/04/2024                Other- Rent                                             $27,117.65
WOOSTER STREET COMPANY
LLC
C/O GARBRIEL RAPHAEL
201 OCEAN AVE UNIT 1504P
SANTA MONICA, CA 90402-1453
                                                            03/29/2024                Other- Rent                                             $27,117.65

                                                            04/30/2024                Other- Rent                                             $27,117.65

                                                                                                                SUBTOTAL                      $81,352.95

THE STORAGE BIN INC                                         03/04/2024                Other- Rent                                             $25,668.42
2945 RICHMOND TERRACE
STATEN ISLAND, NY 10303-2310
                                                            03/29/2024                Other- Rent                                             $25,668.42

                                                                                                                SUBTOTAL                      $51,336.84

THE WALDINGER CORPORATION                                   02/20/2024                Suppliers or Vendors                                     $4,817.55
1800 LEVEE RD
NORTH KANSAS CITY, MO
64116-4405
                                                            03/04/2024                Suppliers or Vendors                                     $5,004.15

                                                            03/08/2024                Suppliers or Vendors                                      $927.29

                                                            03/28/2024                Suppliers or Vendors                                    $41,451.60

                                                            04/25/2024                Suppliers or Vendors                                     $3,542.58

                                                            05/02/2024                Suppliers or Vendors                                     $7,199.50

                                                                                                                SUBTOTAL                      $62,942.67

THE WASSERSTROM COMPANY                                     02/20/2024                Suppliers or Vendors                                   $194,372.46
PO BOX 182056
COLUMBUS, OH 43218-2056
                                                            02/26/2024                Suppliers or Vendors                                   $187,039.18

                                                            02/27/2024                Suppliers or Vendors                                     $7,516.29

                                                            03/01/2024                Suppliers or Vendors                                      $748.46

                                                            03/04/2024                Suppliers or Vendors                                   $487,961.06

                                                            03/07/2024                Suppliers or Vendors                                    $24,127.91

                                                            03/08/2024                Suppliers or Vendors                                   $183,371.00

                                                            03/13/2024                Suppliers or Vendors                                   $264,232.65

                                                            03/13/2024                Suppliers or Vendors                                    $48,056.50

                                                            03/20/2024                Suppliers or Vendors                                     $3,009.75

                                                            03/21/2024                Suppliers or Vendors                                   $308,856.23

                                                            03/28/2024                Suppliers or Vendors                                   $155,399.92

                                                            04/03/2024                Suppliers or Vendors                                      $682.97

                                                            04/18/2024                Suppliers or Vendors                                   $294,463.19


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/25/2024                Suppliers or Vendors                                    $739,631.54

                                                            05/01/2024                Suppliers or Vendors                                      $8,826.59

                                                                                                                SUBTOTAL                     $2,908,295.70

THELAB LLC                                                  02/29/2024                Suppliers or Vendors                                     $63,444.88
637 W 27TH ST FL 8
NEW YORK, NY 10001-1019
                                                            03/08/2024                Suppliers or Vendors                                    $126,527.37

                                                            04/11/2024                Suppliers or Vendors                                     $63,242.00

                                                            05/16/2024                Suppliers or Vendors                                    $126,484.00

                                                                                                                SUBTOTAL                      $379,698.25

NAME ON FILE                                                02/27/2024                Other- Employee Expense                                   $5,461.18
ADDRESS ON FILE                                                                       Reimbursement
                                                            03/04/2024                Other- Employee Expense                                   $2,981.71
                                                                                      Reimbursement
                                                            03/07/2024                Other- Employee Expense                                   $1,784.00
                                                                                      Reimbursement
                                                            03/26/2024                Other- Employee Expense                                   $3,973.18
                                                                                      Reimbursement
                                                            04/05/2024                Other- Employee Expense                                   $1,381.00
                                                                                      Reimbursement
                                                            05/06/2024                Other- Employee Expense                                   $4,446.09
                                                                                      Reimbursement
                                                            05/13/2024                Other- Employee Expense                                   $3,225.62
                                                                                      Reimbursement
                                                                                                                SUBTOTAL                       $23,252.78

THERMAL REFRIGERATION INC                                   02/23/2024                Suppliers or Vendors                                     $15,140.74
90 WALSH CT
ST CHARLES, MO 63301
                                                            03/08/2024                Suppliers or Vendors                                        $345.00

                                                            03/28/2024                Suppliers or Vendors                                      $6,772.36

                                                            05/02/2024                Suppliers or Vendors                                      $6,088.70

                                                                                                                SUBTOTAL                       $28,346.80

THF CHESTERFIELD DEV LLC                                    03/05/2024                Other- Rent                                              $11,285.77
211 N STADIUM BLVD STE 201
COLUMBIA, MO 65203-1161
                                                            04/08/2024                Other- Rent                                              $11,285.77

                                                            05/02/2024                Other- Rent                                              $11,285.77

                                                                                                                SUBTOTAL                       $33,857.31

THF MAPLEWOOD OUTPARCEL                                     03/01/2024                Other- Rent                                              $12,916.67
DEVELOPMENT LLC
C/O TKG MANAGEMENT INC
211 NORTH STADIUM BLVD
SUITE 201
COLUMBIA, MO 65203
                                                            03/27/2024                Other- Rent                                                 $614.49

                                                            04/05/2024                Other- Rent                                              $12,916.67

                                                            05/01/2024                Other- Rent                                              $12,916.67




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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number

                                                                                                                SUBTOTAL                      $39,364.50

THF ST CLAIRSVILLE DEVELOP                                  03/05/2024                Other- Rent                                              $9,193.28
LP
C/O THF MANAGEMENT INC
211 N STADIUM BLVD
SUITE 201
COLUMBIA, MO 65203
                                                            04/08/2024                Other- Rent                                              $9,193.28

                                                            05/02/2024                Other- Rent                                              $9,193.28

                                                                                                                SUBTOTAL                      $27,579.84

THOMPSON & COMPANY INC                                      03/21/2024                Other- Rent                                             $10,011.58
PO BOX 50909
COLUMBIA, SC 29250
                                                            04/08/2024                Other- Rent                                             $10,011.58

                                                            05/07/2024                Other- Rent                                             $10,011.58

                                                                                                                SUBTOTAL                      $30,034.74

TIDAL SOFTWARE LLC                                          03/06/2024                Suppliers or Vendors                                     $7,725.00
3201 DALLAS PKWY STE 810
FRISCO, TX 75034-9596
                                                                                                                SUBTOTAL                       $7,725.00

TILDE MARIANI GIACCHE                                       03/04/2024                Other- Rent                                             $18,769.14
DBA 8407 LITTLE ROAD OWNER
LLC
11 EAST 12TH STREET
NEW YORK, NY 10003-4435
                                                            03/29/2024                Other- Rent                                             $18,769.14

                                                                                                                SUBTOTAL                      $37,538.28

TN DEPT OF REVENUE                                          04/09/2024                Other- Government / Regulatory                         $153,089.00

                                                                                                                SUBTOTAL                     $153,089.00

TN STATE REVENUE                                            04/16/2024                Other- Government / Regulatory                          $14,623.00

                                                                                                                SUBTOTAL                      $14,623.00

TOM & LEE HOLDING CO LLC                                    03/04/2024                Other- Rent                                             $10,537.08
1524 DORCAS ST
SAN DIEGO, CA 92110-1515
                                                            03/29/2024                Other- Rent                                             $10,537.08

                                                            04/30/2024                Other- Rent                                             $10,537.08

                                                                                                                SUBTOTAL                      $31,611.24

TORNIG GA LLC                                               03/04/2024                Other- Rent                                             $19,980.53
720 E PALISADE AVE STE 103
ENGLEWOOD CLIFFS, NJ
07632-3054
                                                            03/29/2024                Other- Rent                                             $19,980.53

                                                            04/30/2024                Other- Rent                                             $19,980.53

                                                                                                                SUBTOTAL                      $59,941.59




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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
TOTAL ARMORED CAR                                           03/14/2024                Suppliers or Vendors                                     $1,952.19
2950 ROSA PARKS BLVD
DETROIT, MI 48216
                                                            04/12/2024                Suppliers or Vendors                                     $1,952.19

                                                            05/08/2024                Suppliers or Vendors                                     $1,952.19

                                                            05/19/2024                Suppliers or Vendors                                     $1,952.19

                                                                                                                SUBTOTAL                       $7,808.76

TOTAL MECHANICAL SYSTEMS                                    02/23/2024                Suppliers or Vendors                                     $4,252.70
CORP
194 MORRIS AVENUE STE 5
HOLTSVILLE, NY 11742-1452
                                                            03/08/2024                Suppliers or Vendors                                     $4,517.86

                                                            03/21/2024                Suppliers or Vendors                                    $11,296.91

                                                            03/22/2024                Suppliers or Vendors                                     $2,082.37

                                                            04/11/2024                Suppliers or Vendors                                      $836.63

                                                            05/02/2024                Suppliers or Vendors                                     $2,427.17

                                                                                                                SUBTOTAL                     $25,413.64

TOTAL QUALITY LOGISTICS LLC                                 02/20/2024                Suppliers or Vendors                                     $1,300.00
PO BOX 634558
CINCINNATI, OH 452634558
                                                            02/23/2024                Suppliers or Vendors                                     $5,218.00

                                                            03/06/2024                Suppliers or Vendors                                     $8,152.00

                                                            03/14/2024                Suppliers or Vendors                                   $22,956.00

                                                            03/18/2024                Suppliers or Vendors                                     $4,207.00

                                                            03/28/2024                Suppliers or Vendors                                     $7,700.00

                                                            04/01/2024                Suppliers or Vendors                                     $2,700.00

                                                            04/04/2024                Suppliers or Vendors                                     $2,725.00

                                                            04/05/2024                Suppliers or Vendors                                     $5,225.00

                                                            04/15/2024                Suppliers or Vendors                                   $12,919.00

                                                            04/18/2024                Suppliers or Vendors                                      $125.00

                                                            04/22/2024                Suppliers or Vendors                                     $6,775.00

                                                            04/24/2024                Suppliers or Vendors                                     $2,000.00

                                                            04/26/2024                Suppliers or Vendors                                     $2,685.00

                                                            05/01/2024                Suppliers or Vendors                                     $9,644.00

                                                            05/03/2024                Suppliers or Vendors                                     $5,410.00

                                                            05/10/2024                Suppliers or Vendors                                     $2,685.00

                                                            05/19/2024                Suppliers or Vendors                                   $14,350.00

                                                                                                                SUBTOTAL                     $116,776.00

TOUCHPOINT INC                                              02/20/2024                Suppliers or Vendors                                     $2,548.00
PO BOX 935792
ATLANTA, GA 31193-5792

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            02/23/2024                Suppliers or Vendors                                    $13,406.78

                                                            02/27/2024                Suppliers or Vendors                                      $192.57

                                                            03/08/2024                Suppliers or Vendors                                    $20,522.34

                                                            03/13/2024                Suppliers or Vendors                                     $2,209.01

                                                            03/28/2024                Suppliers or Vendors                                     $5,203.07

                                                            04/18/2024                Suppliers or Vendors                                     $1,732.31

                                                            04/25/2024                Suppliers or Vendors                                     $7,283.85

                                                            05/02/2024                Suppliers or Vendors                                     $3,273.30

                                                            05/03/2024                Suppliers or Vendors                                    $14,604.48

                                                                                                                SUBTOTAL                      $70,975.71

TOWN CENTER REFRIGERATION                                   02/23/2024                Suppliers or Vendors                                    $27,103.28
INC
DBA TOWN CENTER INC
PO BOX 2273
BRIGHTON, MI 481166073
                                                            03/08/2024                Suppliers or Vendors                                    $29,461.92

                                                            03/21/2024                Suppliers or Vendors                                    $39,416.15

                                                            03/22/2024                Suppliers or Vendors                                     $1,040.76

                                                            03/28/2024                Suppliers or Vendors                                     $3,940.35

                                                            04/25/2024                Suppliers or Vendors                                    $90,992.72

                                                            05/14/2024                Suppliers or Vendors                                    $60,032.79

                                                            05/16/2024                Suppliers or Vendors                                    $32,112.80

                                                                                                                SUBTOTAL                     $284,100.77

TPI 1960 RETAIL LLC                                         03/04/2024                Other- Rent                                             $13,631.96
C/O TARANTINO PROPERTIES
INC
7887 SAN FELIPE ST STE 237
HOUSTON, TX 77063-1621
                                                            04/04/2024                Other- Rent                                             $13,631.96

                                                            04/25/2024                Other- Rent                                             $35,221.76

                                                                                                                SUBTOTAL                      $62,485.68

TQL TOTAL QUALITY LOGISTICS                                 02/23/2024                Suppliers or Vendors                                     $5,000.00

                                                            03/08/2024                Suppliers or Vendors                                     $2,100.00

                                                            03/15/2024                Suppliers or Vendors                                     $4,511.00

                                                            04/18/2024                Suppliers or Vendors                                    $22,100.00

                                                            04/25/2024                Suppliers or Vendors                                     $2,700.00

                                                            05/02/2024                Suppliers or Vendors                                     $8,900.00

                                                            05/17/2024                Suppliers or Vendors                                    $14,350.00

                                                                                                                SUBTOTAL                      $59,661.00



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
TR UWO FRED ZIESS                                           03/04/2024                Other- Rent                                             $61,200.17
DBA 32 BLANDING BOULEVARD
OWNER LLC
841 GILBERT HIGHWAY
FAIRFIELD, CT 06824
                                                            03/29/2024                Other- Rent                                             $61,200.17

                                                            04/30/2024                Other- Rent                                             $30,313.09

                                                                                                                SUBTOTAL                     $152,713.43

TRENTON COLD STORAGE                                        02/22/2024                Suppliers or Vendors                                       $90.40

                                                            03/01/2024                Suppliers or Vendors                                     $9,996.50

                                                            03/08/2024                Suppliers or Vendors                                      $630.91

                                                            03/29/2024                Suppliers or Vendors                                     $5,002.16

                                                            04/05/2024                Suppliers or Vendors                                     $4,457.94

                                                            04/12/2024                Suppliers or Vendors                                      $384.20

                                                            04/19/2024                Suppliers or Vendors                                      $936.98

                                                            04/26/2024                Suppliers or Vendors                                     $1,866.49

                                                            05/03/2024                Suppliers or Vendors                                     $1,976.37

                                                            05/10/2024                Suppliers or Vendors                                     $3,508.64

                                                            05/17/2024                Suppliers or Vendors                                      $155.94

                                                                                                                SUBTOTAL                      $29,006.53

TRI TOWN ELECTRIC INC                                       05/02/2024                Suppliers or Vendors                                    $10,250.00
4153 PROGRESS BLVD
PERU, IL 61354
                                                                                                                SUBTOTAL                      $10,250.00

TRIBELLA PROPERTIES LLC                                     03/04/2024                Other- Rent                                             $25,643.46
PO BOX 210
HUDSON, WI 54016-0210
                                                            03/29/2024                Other- Rent                                             $25,643.46

                                                            04/30/2024                Other- Rent                                             $25,643.46

                                                                                                                SUBTOTAL                      $76,930.38

TRINTECH INC                                                03/13/2024                Suppliers or Vendors                                    $53,550.00
PO BOX 734950
DALLAS, TX 75373-4950
                                                                                                                SUBTOTAL                      $53,550.00

TRIPADVISOR HOLDINGS LLC                                    03/15/2024                Suppliers or Vendors                                    $33,350.00
DBA TRIPADVISOR LLC
PO BOX 844325
DALLAS, TX 75284-4325
                                                                                                                SUBTOTAL                      $33,350.00

TRIPLE BAR YORK                                             02/29/2024                Other- Rent                                             $16,898.80
MARKETPLACE LLC
C/O JC BAR PROPERTIES INC
224 SAINT CHARLES WAY STE
290
YORK, PA 17402-4667


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/28/2024                Other- Rent                                              $1,910.76

                                                            04/02/2024                Other- Rent                                             $14,988.04

                                                            05/01/2024                Other- Rent                                             $14,988.04

                                                            05/07/2024                Other- Rent                                              $1,910.76

                                                                                                                SUBTOTAL                      $50,696.40

TRU-COMFORT INC                                             03/04/2024                Suppliers or Vendors                                     $3,577.50
155 PRAIRIE LAKE RD STE
(RANGE A - E)
EAST DUNDEE, IL 60118-9123
                                                            03/21/2024                Suppliers or Vendors                                     $2,860.89

                                                            04/25/2024                Suppliers or Vendors                                     $5,475.00

                                                            05/02/2024                Suppliers or Vendors                                     $3,115.99

                                                                                                                SUBTOTAL                      $15,029.38

TUKAIZ LLC                                                  03/13/2024                Suppliers or Vendors                                    $34,011.65
PO BOX 14470
SAINT LOUIS, MO 63178-4470
                                                                                                                SUBTOTAL                      $34,011.65

TWC SERVICES INC                                            02/20/2024                Suppliers or Vendors                                    $42,964.03
12590 METRO PARKWAY
FORT MYERS, FL 33966
                                                            02/23/2024                Suppliers or Vendors                                    $28,288.21

                                                            03/08/2024                Suppliers or Vendors                                     $8,017.92

                                                            03/13/2024                Suppliers or Vendors                                    $25,231.48

                                                            03/21/2024                Suppliers or Vendors                                    $46,266.86

                                                            03/28/2024                Suppliers or Vendors                                    $13,327.75

                                                            04/04/2024                Suppliers or Vendors                                    $12,574.67

                                                            04/11/2024                Suppliers or Vendors                                    $47,223.49

                                                            04/18/2024                Suppliers or Vendors                                     $8,388.88

                                                            04/25/2024                Suppliers or Vendors                                    $50,975.07

                                                            05/02/2024                Suppliers or Vendors                                     $3,262.41

                                                            05/16/2024                Suppliers or Vendors                                    $57,831.14

                                                                                                                SUBTOTAL                     $344,351.91

TWO D HOLDINGS LLC                                          03/04/2024                Other- Rent                                             $22,966.48
C/O DAVID SUH
PO BOX 1097
ENGLEWOOD CLIFFS, NJ
07632-0097
                                                            03/29/2024                Other- Rent                                             $22,966.48

                                                            04/30/2024                Other- Rent                                             $22,966.48

                                                                                                                SUBTOTAL                      $68,899.44




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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
U S LAWN AND LANDSCAPE LLC                                  04/25/2024                Suppliers or Vendors                                    $5,703.87
2549 PETTY DR
BOWLING GREEN, KY
42103-7162
                                                            05/02/2024                Suppliers or Vendors                                    $2,082.86

                                                                                                                SUBTOTAL                      $7,786.73

UB MIDWAY LLC                                               03/04/2024                Other- Rent                                            $38,534.86
C/O MIDWAY SHOPPING CENTER
321 RAILROAD AVENUE
GREENWICH, CT 06830
                                                            03/18/2024                Other- Rent                                             $5,704.57

                                                            04/05/2024                Other- Rent                                            $46,460.86

                                                                                                                SUBTOTAL                     $90,700.29

UIPATH INC                                                  03/08/2024                Suppliers or Vendors                                   $39,936.00
1 VANDERBILT AVE FL 60
NEW YORK, NY 10017-3807
                                                                                                                SUBTOTAL                     $39,936.00

UNITED SALAD OF                                             02/20/2024                Suppliers or Vendors                                    $3,475.05
WASHINGTON INC
8448 NE 33RD DRIVE
PORTLAND, OR 97211
                                                            02/21/2024                Suppliers or Vendors                                    $3,269.72

                                                            02/26/2024                Suppliers or Vendors                                    $3,778.85

                                                            02/27/2024                Suppliers or Vendors                                    $1,429.26

                                                            02/28/2024                Suppliers or Vendors                                    $1,167.75

                                                            02/29/2024                Suppliers or Vendors                                     $831.47

                                                            03/04/2024                Suppliers or Vendors                                    $3,711.17

                                                            03/06/2024                Suppliers or Vendors                                    $3,850.86

                                                            03/08/2024                Suppliers or Vendors                                     $619.04

                                                            03/11/2024                Suppliers or Vendors                                    $2,008.30

                                                            03/12/2024                Suppliers or Vendors                                    $3,966.03

                                                            03/15/2024                Suppliers or Vendors                                    $2,817.67

                                                            03/18/2024                Suppliers or Vendors                                    $2,140.46

                                                            03/19/2024                Suppliers or Vendors                                    $2,105.31

                                                            03/21/2024                Suppliers or Vendors                                     $464.46

                                                            03/22/2024                Suppliers or Vendors                                    $2,278.46

                                                            03/25/2024                Suppliers or Vendors                                    $1,593.46

                                                            03/26/2024                Suppliers or Vendors                                    $1,819.08

                                                            03/28/2024                Suppliers or Vendors                                     $608.37

                                                            03/29/2024                Suppliers or Vendors                                    $2,245.60

                                                            04/01/2024                Suppliers or Vendors                                    $1,589.78

                                                            04/02/2024                Suppliers or Vendors                                    $2,303.44


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/04/2024                Suppliers or Vendors                                     $265.65

                                                            04/05/2024                Suppliers or Vendors                                    $2,005.67

                                                            04/08/2024                Suppliers or Vendors                                    $1,767.85

                                                            04/09/2024                Suppliers or Vendors                                    $2,271.98

                                                            04/11/2024                Suppliers or Vendors                                     $395.33

                                                            04/12/2024                Suppliers or Vendors                                    $1,969.86

                                                            04/15/2024                Suppliers or Vendors                                    $1,485.37

                                                            04/16/2024                Suppliers or Vendors                                    $2,822.98

                                                            04/19/2024                Suppliers or Vendors                                    $1,494.12

                                                            04/22/2024                Suppliers or Vendors                                    $2,418.48

                                                            04/23/2024                Suppliers or Vendors                                    $2,352.46

                                                            04/25/2024                Suppliers or Vendors                                     $435.81

                                                            04/26/2024                Suppliers or Vendors                                    $1,710.69

                                                            04/29/2024                Suppliers or Vendors                                     $980.89

                                                            04/30/2024                Suppliers or Vendors                                    $1,952.23

                                                            05/03/2024                Suppliers or Vendors                                    $2,163.25

                                                            05/06/2024                Suppliers or Vendors                                    $2,348.75

                                                            05/07/2024                Suppliers or Vendors                                    $1,763.44

                                                            05/08/2024                Suppliers or Vendors                                       $43.20

                                                            05/09/2024                Suppliers or Vendors                                     $378.42

                                                            05/10/2024                Suppliers or Vendors                                    $1,559.27

                                                            05/13/2024                Suppliers or Vendors                                    $1,595.68

                                                            05/14/2024                Suppliers or Vendors                                    $2,512.89

                                                                                                                SUBTOTAL                     $84,767.86

UNITED TECHNOLOGIES CORP                                    03/20/2024                Suppliers or Vendors                                    $7,092.66
DBA OTIS ELEVATOR COMPANY
PO BOX 13716
NEWARK, NJ 07188-0716
                                                            04/15/2024                Suppliers or Vendors                                    $2,132.32

                                                            05/10/2024                Suppliers or Vendors                                    $2,132.32

                                                                                                                SUBTOTAL                     $11,357.30

UNIVERSAL KITCHEN SERVICES                                  02/23/2024                Suppliers or Vendors                                    $4,309.73
LLC
31 PINEDALE AVE
FARMINGVILLE, NY 11738-2625
                                                            03/13/2024                Suppliers or Vendors                                    $7,951.83

                                                                                                                SUBTOTAL                     $12,261.56




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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
UNIVERSITY VENTURE CORP                                     03/04/2024                Other- Rent                                             $29,170.90
C/O KENCO REALTY
MANAGEMENT
605 WEST 142ND STREET APT
B2
NEW YORK, NY 10031-6610
                                                            03/29/2024                Other- Rent                                             $29,170.90

                                                            04/30/2024                Other- Rent                                             $29,170.90

                                                                                                                SUBTOTAL                      $87,512.70

URBAN EDGE PROPERTIES LP                                    02/27/2024                Other- Rent                                             $55,745.34
DBA UE 675 ROUTE 1 LLC
PO BOX 95000
LB 1272
PHILADELPHIA, PA 19195-0001
                                                            02/28/2024                Other- Rent                                             $41,622.30

                                                            03/27/2024                Other- Rent                                              $6,976.57

                                                            04/01/2024                Other- Rent                                             $88,168.82

                                                            04/29/2024                Other- Rent                                             $47,034.02

                                                            04/29/2024                Suppliers or Vendors                                     $8,224.07

                                                            04/30/2024                Other- Rent                                             $35,404.40

                                                            05/03/2024                Other- Rent                                              $4,347.88

                                                            05/07/2024                Other- Rent                                             $18,767.34

                                                                                                                SUBTOTAL                     $306,290.74

US BANK/FIRSTAR                                             05/09/2024                Other- Government / Regulatory                          $62,917.25
TREASURY MANAGEMENT
SERVICES
CM/9581
ST PAUL, MN 551709581
                                                                                                                SUBTOTAL                      $62,917.25

US FOODSERVICE INC                                          02/20/2024                Suppliers or Vendors                                       $616.11
NW 6007 PO BOX 1450
MINNEAPOLIS, MN 554856007
                                                            02/23/2024                Suppliers or Vendors                                     $1,183.67

                                                            02/27/2024                Suppliers or Vendors                                      $739.48

                                                            03/04/2024                Suppliers or Vendors                                      $515.51

                                                            03/06/2024                Suppliers or Vendors                                      $953.74

                                                            03/08/2024                Suppliers or Vendors                                      $741.01

                                                            03/12/2024                Suppliers or Vendors                                     $1,171.60

                                                            03/14/2024                Suppliers or Vendors                                      $761.00

                                                            03/18/2024                Suppliers or Vendors                                     $1,112.15

                                                            03/21/2024                Suppliers or Vendors                                      $585.01

                                                            03/25/2024                Suppliers or Vendors                                      $924.12

                                                            03/28/2024                Suppliers or Vendors                                      $853.55

                                                            04/01/2024                Suppliers or Vendors                                      $824.67


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/04/2024                Suppliers or Vendors                                      $630.43

                                                            04/08/2024                Suppliers or Vendors                                      $773.32

                                                            04/11/2024                Suppliers or Vendors                                      $693.84

                                                            04/15/2024                Suppliers or Vendors                                      $880.99

                                                            04/18/2024                Suppliers or Vendors                                      $381.04

                                                            04/22/2024                Suppliers or Vendors                                      $995.34

                                                            04/25/2024                Suppliers or Vendors                                      $526.22

                                                            04/29/2024                Suppliers or Vendors                                      $965.04

                                                            05/02/2024                Suppliers or Vendors                                      $779.83

                                                            05/06/2024                Suppliers or Vendors                                     $1,086.17

                                                            05/09/2024                Suppliers or Vendors                                      $480.97

                                                            05/13/2024                Suppliers or Vendors                                      $848.05

                                                            05/16/2024                Suppliers or Vendors                                      $825.69

                                                                                                                SUBTOTAL                      $20,848.55

USA CONSTRUCTION &                                          03/13/2024                Suppliers or Vendors                                     $8,087.95
PROJECT MGMT EXCHANGE LLC
DBA PAVEMENT EXCHANGE
GROUP
3111 MONROE RD
SUITE 200
CHARLOTTE, NC 28205-7541
                                                            03/28/2024                Suppliers or Vendors                                      $205.84

                                                            05/16/2024                Suppliers or Vendors                                    $36,122.88

                                                                                                                SUBTOTAL                      $44,416.67

USA PLUMBING & SEWER                                        04/26/2024                Suppliers or Vendors                                     $7,759.05
SERVICE INC
DBA OAKLAND PLUMBING
11731 29 MILE RD
WASHINGTON, MI 48095-2602
                                                                                                                SUBTOTAL                       $7,759.05

UT HEIGHTS LLC                                              03/04/2024                Other- Rent                                             $41,296.19
ATTN GREG MALOOF
13 MAINSAIL XING
SAVANNAH, GA 31411-2723
                                                            03/29/2024                Other- Rent                                             $41,296.19

                                                            04/30/2024                Other- Rent                                             $41,296.19

                                                                                                                SUBTOTAL                     $123,888.57

VACO ORLANDO LLC                                            02/27/2024                Suppliers or Vendors                                     $4,476.27
PO BOX 667
BRENTWOOD, TN 37024-0667
                                                            03/11/2024                Suppliers or Vendors                                     $5,446.80

                                                            04/02/2024                Suppliers or Vendors                                     $2,143.53

                                                                                                                SUBTOTAL                      $12,066.60



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
VAN HOOK SERVICE CO INC                                     02/20/2024                Suppliers or Vendors                                    $1,795.51
76 SENECA AVENUE
ROCHESTER, NY 14621
                                                            03/21/2024                Suppliers or Vendors                                   $11,405.98

                                                            04/25/2024                Suppliers or Vendors                                     $479.25

                                                                                                                SUBTOTAL                     $13,680.74

VAN VLIET ACQUISITION IV LLC                                03/04/2024                Other- Rent                                            $26,384.74
DBA VAN VLIET ACQUISITION IV
LLC
23801 CALABASAS ROAD
SUITE 1024
CALABASAS, CA 91302
                                                            03/29/2024                Other- Rent                                            $26,384.74

                                                            04/30/2024                Other- Rent                                            $26,384.74

                                                                                                                SUBTOTAL                     $79,154.22

VANCO COMMERCIAL SERVICE                                    02/23/2024                Suppliers or Vendors                                   $11,921.30
LLC
DBA VANCO
8025 CASTLEWAY DRIVE
INDIANAPOLIS, IN 46250
                                                            03/04/2024                Suppliers or Vendors                                    $3,772.01

                                                            03/13/2024                Suppliers or Vendors                                   $18,408.90

                                                            03/28/2024                Suppliers or Vendors                                    $7,561.61

                                                            04/25/2024                Suppliers or Vendors                                   $40,456.74

                                                            05/02/2024                Suppliers or Vendors                                     $272.99

                                                                                                                SUBTOTAL                     $82,393.55

VASILIKI LLC                                                02/29/2024                Other- Rent                                             $8,903.33
8 HILLCREST DR
OLYPHANT, PA 18447-1304
                                                            04/01/2024                Other- Rent                                             $8,903.33

                                                            04/30/2024                Other- Rent                                             $8,903.33

                                                                                                                SUBTOTAL                     $26,709.99

VERA CRUZ PROPERTIES LP                                     03/04/2024                Other- Rent                                            $20,228.30
PO BOX 10326
PORTLAND, OR 97296-0326
                                                            03/29/2024                Other- Rent                                            $20,228.30

                                                            04/30/2024                Other- Rent                                            $20,228.30

                                                                                                                SUBTOTAL                     $60,684.90

VERA LLC                                                    03/04/2024                Other- Rent                                            $21,181.09
7704 MAPLERIDGE DRIVE
PLANO, TX 75024
                                                            03/29/2024                Other- Rent                                            $21,181.09

                                                            04/30/2024                Other- Rent                                            $21,181.09

                                                                                                                SUBTOTAL                     $63,543.27




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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
VEREIT OPERATING                                            03/04/2024                Other- Rent                                            $3,993,986.95
PARTNERSHIP LP
PO BOX 103127
PASADENA, CA 91189-0153
                                                            03/29/2024                Other- Rent                                            $3,993,986.95

                                                            04/12/2024                Other- Rent                                              $22,387.66

                                                            04/30/2024                Other- Rent                                            $3,895,712.78

                                                                                                                SUBTOTAL                 $11,906,074.34

VERMILION VALLEY PRODUCE                                    02/20/2024                Suppliers or Vendors                                        $741.16
INC
DBA CENTRAL ILLINOIS
PRODUCE
2055 NELSON MILLER PKWY
LOUISVILLE, KY 40223-2185
                                                            02/23/2024                Suppliers or Vendors                                        $694.46

                                                            02/27/2024                Suppliers or Vendors                                        $532.88

                                                            03/04/2024                Suppliers or Vendors                                        $362.36

                                                            03/06/2024                Suppliers or Vendors                                        $582.08

                                                            03/08/2024                Suppliers or Vendors                                        $356.52

                                                            03/12/2024                Suppliers or Vendors                                        $653.18

                                                            03/14/2024                Suppliers or Vendors                                        $388.68

                                                            03/18/2024                Suppliers or Vendors                                        $625.84

                                                            03/21/2024                Suppliers or Vendors                                        $432.12

                                                            03/25/2024                Suppliers or Vendors                                        $364.34

                                                            03/28/2024                Suppliers or Vendors                                        $410.24

                                                            04/01/2024                Suppliers or Vendors                                        $633.04

                                                            04/04/2024                Suppliers or Vendors                                        $325.22

                                                            04/08/2024                Suppliers or Vendors                                        $459.50

                                                            04/11/2024                Suppliers or Vendors                                        $462.78

                                                            04/15/2024                Suppliers or Vendors                                        $542.62

                                                            04/18/2024                Suppliers or Vendors                                        $255.00

                                                            04/22/2024                Suppliers or Vendors                                        $434.31

                                                            04/25/2024                Suppliers or Vendors                                        $492.07

                                                            04/29/2024                Suppliers or Vendors                                        $443.47

                                                            05/02/2024                Suppliers or Vendors                                        $392.16

                                                            05/06/2024                Suppliers or Vendors                                        $286.28

                                                            05/09/2024                Suppliers or Vendors                                        $485.22

                                                            05/13/2024                Suppliers or Vendors                                        $530.40

                                                            05/16/2024                Suppliers or Vendors                                        $326.27

                                                                                                                SUBTOTAL                       $12,212.20


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
VESTAR BOWLES CROSSING                                      02/28/2024                Other- Rent                                            $14,632.87
LLC
PO BOX 30412
TAMPA, FL 33630-3412
                                                            04/01/2024                Other- Rent                                            $14,632.87

                                                            04/10/2024                Other- Rent                                              $584.60

                                                            05/01/2024                Other- Rent                                            $14,632.87

                                                                                                                SUBTOTAL                     $44,483.21

VESTAR CROSSROADS GILBERT                                   03/04/2024                Other- Rent                                            $16,285.33
LLC
C/O VESTAR PROPERTY
MANAGEMENT
PO BOX 30412
TAMPA, FL 33630-3412
                                                            03/29/2024                Other- Rent                                            $16,285.33

                                                            04/01/2024                Other- Rent                                            $15,608.40

                                                            04/30/2024                Other- Rent                                            $16,285.33

                                                                                                                SUBTOTAL                     $64,464.39

VETERANS PLUMBING SERVICE                                   02/23/2024                Suppliers or Vendors                                   $24,348.56
AND SUPPLIES INC
DBA VETERANS WORLDWIDE
MAINTENANCE
105 MAIN ST STE 3
HACKENSACK, NJ 07601-8103
                                                            03/11/2024                Suppliers or Vendors                                   $24,554.64

                                                                                                                SUBTOTAL                     $48,903.20

VILLAGES / ACORN                                            03/04/2024                Other- Rent                                            $15,705.54
INVESTMENTS LTD
C/O THE VILLAGES
COMMERCIAL PROPERTY
MANAGEMENT
3597 KIESSEL RD
THE VILLAGES, FL 32163
                                                            03/29/2024                Other- Rent                                            $15,705.54

                                                            04/30/2024                Other- Rent                                            $15,705.54

                                                                                                                SUBTOTAL                     $47,116.62

VINSUE CORP                                                 03/04/2024                Other- Rent                                            $31,611.46
5 GLENMARE MEWS
NYACK, NY 10960
                                                            03/29/2024                Other- Rent                                            $31,611.46

                                                                                                                SUBTOTAL                     $63,222.92

WA DEPT OF REVENUE                                          02/21/2024                Other- Government / Regulatory                         $16,191.81

                                                            03/08/2024                Other- Government / Regulatory                          $2,856.00

                                                            03/18/2024                Other- Government / Regulatory                          $1,856.00

                                                            03/19/2024                Other- Government / Regulatory                         $14,010.10

                                                            03/22/2024                Other- Government / Regulatory                          $8,355.00

                                                            03/26/2024                Other- Government / Regulatory                         $18,672.05

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/26/2024                Other- Government / Regulatory                         $22,425.97

                                                            05/01/2024                Other- Government / Regulatory                          $1,155.13

                                                                                                                SUBTOTAL                     $85,522.06

WA STATE DEPARTMENT OF                                      05/08/2024                Other- Government / Regulatory                         $67,193.05
LABOR & INDUSTRIES
EMPLOYMENT STANDARDS
PROGRAM
PO BOX 44510
OLYMPIA, WA 985044510
                                                                                                                SUBTOTAL                     $67,193.05

WAGEWORKS                                                   02/21/2024                Suppliers or Vendors                                    $2,755.54

                                                            02/27/2024                Suppliers or Vendors                                    $6,631.87

                                                            02/27/2024                Suppliers or Vendors                                    $1,029.00

                                                            03/05/2024                Suppliers or Vendors                                    $4,700.37

                                                            03/12/2024                Suppliers or Vendors                                    $2,854.16

                                                            03/19/2024                Suppliers or Vendors                                    $3,972.51

                                                            03/26/2024                Suppliers or Vendors                                    $1,025.00

                                                            03/26/2024                Suppliers or Vendors                                    $5,415.45

                                                            04/02/2024                Suppliers or Vendors                                    $3,063.06

                                                            04/09/2024                Suppliers or Vendors                                    $3,013.67

                                                            04/16/2024                Suppliers or Vendors                                    $5,539.28

                                                            04/23/2024                Suppliers or Vendors                                    $2,246.91

                                                            04/26/2024                Suppliers or Vendors                                   $13,044.20

                                                            04/26/2024                Suppliers or Vendors                                     $938.25

                                                            04/30/2024                Suppliers or Vendors                                    $4,653.28

                                                            05/06/2024                Suppliers or Vendors                                     $278.50

                                                            05/07/2024                Suppliers or Vendors                                    $1,575.44

                                                            05/14/2024                Suppliers or Vendors                                    $2,734.92

                                                                                                                SUBTOTAL                     $65,471.41

WAGEWORKS INC                                               02/28/2024                Suppliers or Vendors                                    $3,561.00
DBA CONEXIS A DIVISION OF
WAGEWORKS INC
PO BOX 8363
PASADENA, CA 91109-8363
                                                            03/26/2024                Suppliers or Vendors                                    $3,561.00

                                                            04/23/2024                Suppliers or Vendors                                    $3,561.00

                                                            05/14/2024                Suppliers or Vendors                                    $3,561.00

                                                                                                                SUBTOTAL                     $14,244.00

WALSTER LLC                                                 03/04/2024                Other- Rent                                            $14,930.29
222 GRAND AVE
ENGLEWOOD, NJ 07631


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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/29/2024                Other- Rent                                             $14,930.29

                                                            04/30/2024                Other- Rent                                             $14,930.29

                                                                                                                SUBTOTAL                      $44,790.87

WASHINGTON MALL- JCP ASSOC                                  03/04/2024                Other- Rent                                             $11,636.35
LTD
C/O MOSITES DEVELOPMENT
COMPANY
400 MOSITES WAY SUITE 100
PITTSBURGH, PA 15205
                                                            04/04/2024                Other- Rent                                             $11,636.35

                                                            05/02/2024                Other- Rent                                             $11,636.35

                                                                                                                SUBTOTAL                      $34,909.05

WASHINGTON PRIME                                            02/27/2024                Other- Rent                                             $15,578.86
PROPERTY LP
DBA GEORGESVILLE SQUARE
180 E BROAD ST
COLUMBUS, OH 43215-3707
                                                            04/01/2024                Other- Rent                                             $15,578.86

                                                                                                                SUBTOTAL                      $31,157.72

WATER CONDITIONING OF MS                                    03/19/2024                Suppliers or Vendors                                     $6,904.76
LLC
DBA CULLIGAN OF MS
1205 NELLE ST
TUPELO, MS 38801-3415
                                                            04/22/2024                Suppliers or Vendors                                     $9,274.69

                                                                                                                SUBTOTAL                      $16,179.45

WAYNE A BELLEAU                                             03/04/2024                Other- Rent                                            $100,702.65
DBA MANOR HOUSE
DEVELOPMENT
1412 S LEGEND HILLS DR STE
100
CLEARFIELD, UT 84015-1588
                                                            03/29/2024                Other- Rent                                            $100,702.65

                                                            04/30/2024                Other- Rent                                            $100,702.65

                                                                                                                SUBTOTAL                     $302,107.95

WDH SOLUTIONS INC                                           02/23/2024                Suppliers or Vendors                                    $73,420.54
PO BOX 1734
TROY, MI 48099-1734
                                                            03/08/2024                Suppliers or Vendors                                     $1,852.62

                                                            03/28/2024                Suppliers or Vendors                                     $3,051.21

                                                            04/25/2024                Suppliers or Vendors                                      $102.63

                                                                                                                SUBTOTAL                      $78,427.00

WEATHERBY ENTERPRISES                                       03/04/2024                Other- Rent                                             $27,439.46
39629 N 106TH ST
SCOTTSDALE, AZ 85262-3384
                                                            03/29/2024                Other- Rent                                             $27,439.46

                                                            04/30/2024                Other- Rent                                             $27,439.46



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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number

                                                                                                                SUBTOTAL                       $82,318.38

WEATHERITE CORPORATION                                      02/20/2024                Suppliers or Vendors                                      $8,241.50
21211 COMMERCE POINT DRIVE
WALNUT, CA 91789-3056
                                                            03/08/2024                Suppliers or Vendors                                      $8,539.48

                                                            03/22/2024                Suppliers or Vendors                                      $9,565.00

                                                            03/28/2024                Suppliers or Vendors                                        $393.00

                                                            05/02/2024                Suppliers or Vendors                                        $106.00

                                                                                                                SUBTOTAL                       $26,844.98

WEIL GOTSHAL & MANGES LLP                                   02/23/2024                Suppliers or Vendors                                    $477,560.07
767 FIFTH AVENUE
NEW YORK, NY 10153-0119
                                                            03/29/2024                Suppliers or Vendors                                    $772,641.25

                                                                                                                SUBTOTAL                     $1,250,201.32

WEISER HEATING-AIR                                          03/08/2024                Suppliers or Vendors                                     $17,713.59
CONDITIONING
385 STONY HILL RD
WEST MIDDLESEX, PA
16159-2439
                                                            03/28/2024                Suppliers or Vendors                                      $1,609.13

                                                                                                                SUBTOTAL                       $19,322.72

WELLS FARGO BANK NA                                         03/21/2024                Suppliers or Vendors                                     $55,418.98
ACCOUNT ANALYSIS
NW 7091 PO BOX 1450
MINNEAPOLIS, MN 55485
                                                            04/09/2024                Suppliers or Vendors                                     $52,170.43

                                                            04/23/2024                Suppliers or Vendors                                     $49,311.89

                                                                                                                SUBTOTAL                      $156,901.30

WELLS FARGO N.A.                                            02/29/2024                Other- Government / Regulatory                          $100,000.00

                                                            03/01/2024                Other- Government / Regulatory                             $1,711.72

                                                            03/12/2024                Other- Government / Regulatory                           $11,233.00

                                                            03/15/2024                Other- Government / Regulatory                          $469,234.88

                                                            04/01/2024                Other- Government / Regulatory                           $311,658.11

                                                            04/02/2024                Other- Government / Regulatory                           $33,397.71

                                                            04/10/2024                Other- Government / Regulatory                            $2,126.16

                                                            04/15/2024                Other- Government / Regulatory                          $536,441.70

                                                            05/15/2024                Other- Government / Regulatory                          $895,706.98

                                                            05/17/2024                Other- Government / Regulatory                          $238,740.97

                                                                                                                SUBTOTAL                     $2,600,251.23




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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
WESTRIDGE PARK INVESTORS L                                  03/05/2024                Other- Rent                                             $16,264.00
P
ATTN: MR TOM TAIT
3131 E CAMELBACK ROAD
SUITE 310
PHOENIX, AZ 85016
                                                            04/08/2024                Other- Rent                                             $16,264.00

                                                            05/02/2024                Other- Rent                                             $16,264.00

                                                                                                                SUBTOTAL                      $48,792.00

WEX BANK                                                    03/05/2024                Other- Government / Regulatory                          $37,261.90
PO BOX 6293
CAROL STREAM, IL 601976293
                                                            03/15/2024                Other- Government / Regulatory                          $36,354.99

                                                            04/16/2024                Other- Government / Regulatory                          $28,834.29

                                                            05/13/2024                Other- Government / Regulatory                          $36,330.53

                                                                                                                SUBTOTAL                     $138,781.71

WHALEY FOODSERVICE                                          03/21/2024                Suppliers or Vendors                                    $17,054.77
REPAIRS INC
DBA WHALEY PARTS & SUPPLY
PO BOX 615
LEXINGTON, SC 29071-0615
                                                            03/22/2024                Suppliers or Vendors                                     $2,342.66

                                                                                                                SUBTOTAL                      $19,397.43

WHRL STONY BROOK LLC                                        03/04/2024                Other- Rent                                              $9,360.96
C/O GRANITO & EPSTEIN LLP
100 MERRICK RD STE 202E
ROCKVILLE CENTRE, NY
11570-4807
                                                            03/29/2024                Other- Rent                                              $9,360.96

                                                                                                                SUBTOTAL                      $18,721.92

WIDEWATERS GROUP INC                                        03/04/2024                Other- Rent                                              $9,325.80
ATTN LEASE ADMINISTRATION
5845 WIDEWATERS PARKWAY
STE 100
EAST SYRACUSE, NY 13057-3078
                                                            03/29/2024                Other- Rent                                              $7,059.74

                                                            04/03/2024                Other- Rent                                              $3,185.42

                                                                                                                SUBTOTAL                      $19,570.96

WILD REALTY 1 LLC                                           02/23/2024                Other- Rent                                             $20,184.35
C/O WILDENSTEIN & CO INC
689 5TH AVE FL 4
NEW YORK, NY 10022-3155
                                                            03/29/2024                Other- Rent                                             $20,184.35

                                                            04/30/2024                Other- Rent                                             $20,184.35

                                                                                                                SUBTOTAL                      $60,553.05

WILD REALTY 3 LLC                                           02/23/2024                Other- Rent                                             $20,127.92
C/O WILDENSTEIN & CO INC
ATTN KARI HOROWITZ CFO
689 5TH AVE FL 4
NEW YORK, NY 10022-3155

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            03/29/2024                Other- Rent                                             $20,127.92

                                                            04/30/2024                Other- Rent                                             $20,127.92

                                                                                                                SUBTOTAL                      $60,383.76

WILDWOOD MARKETING INC                                      02/29/2024                Suppliers or Vendors                                     $2,697.88
PO BOX 80
LAVONIA, GA 30553-0080
                                                            03/22/2024                Suppliers or Vendors                                   $120,606.24

                                                            04/09/2024                Suppliers or Vendors                                     $6,373.93

                                                            05/17/2024                Suppliers or Vendors                                    $13,275.37

                                                                                                                SUBTOTAL                     $142,953.42

WILKINSON DEKALB LAND                                       02/27/2024                Other- Rent                                             $18,437.55
COMPANY LLC
C/O WILKINSON DEVELOPMENT
CORP
106 COMMERCE STREET SUITE
110
LAKE MARY, FL 32746
                                                            03/05/2024                Other- Rent                                              $4,710.21

                                                            03/29/2024                Other- Rent                                              $2,110.79

                                                            04/01/2024                Other- Rent                                             $16,326.76

                                                            04/19/2024                Other- Rent                                              $4,089.81

                                                            04/29/2024                Other- Rent                                             $16,326.76

                                                            05/06/2024                Other- Rent                                              $2,110.79

                                                                                                                SUBTOTAL                      $64,112.67

NAME ON FILE                                                03/04/2024                Other- Rent                                             $18,489.67
ADDRESS ON FILE
                                                            03/29/2024                Other- Rent                                             $18,489.67

                                                            04/30/2024                Other- Rent                                             $18,489.67

                                                                                                                SUBTOTAL                      $55,469.01

WILLIAM J CIRIELLO PLUMBING                                 03/04/2024                Suppliers or Vendors                                    $19,899.83
CO INC
PO BOX 468
BEECH GROVE, IN 46107-0468
                                                            03/13/2024                Suppliers or Vendors                                     $3,026.64

                                                            03/28/2024                Suppliers or Vendors                                     $2,073.38

                                                            04/25/2024                Suppliers or Vendors                                      $969.04

                                                                                                                SUBTOTAL                      $25,968.89

NAME ON FILE                                                03/04/2024                Other- Rent                                              $4,372.52
ADDRESS ON FILE
                                                            03/29/2024                Other- Rent                                              $4,372.52

                                                            04/30/2024                Other- Rent                                              $4,372.52

                                                                                                                SUBTOTAL                      $13,117.56

NAME ON FILE                                                02/20/2024                Suppliers or Vendors                                    $11,445.98
ADDRESS ON FILE
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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            02/21/2024                Suppliers or Vendors                                    $1,291.47

                                                            02/22/2024                Suppliers or Vendors                                       $26.05

                                                            02/23/2024                Suppliers or Vendors                                    $5,587.44

                                                            02/26/2024                Suppliers or Vendors                                    $3,901.92

                                                            02/27/2024                Suppliers or Vendors                                   $17,616.26

                                                            02/28/2024                Suppliers or Vendors                                    $1,345.57

                                                            02/29/2024                Suppliers or Vendors                                     $454.62

                                                            03/04/2024                Suppliers or Vendors                                    $6,838.18

                                                            03/06/2024                Suppliers or Vendors                                   $12,719.53

                                                            03/07/2024                Suppliers or Vendors                                     $340.23

                                                            03/08/2024                Suppliers or Vendors                                    $5,270.71

                                                            03/11/2024                Suppliers or Vendors                                    $2,226.42

                                                            03/12/2024                Suppliers or Vendors                                   $15,405.65

                                                            03/14/2024                Suppliers or Vendors                                    $5,952.04

                                                            03/15/2024                Suppliers or Vendors                                     $483.94

                                                            03/18/2024                Suppliers or Vendors                                   $16,601.81

                                                            03/19/2024                Suppliers or Vendors                                        $6.50

                                                            03/20/2024                Suppliers or Vendors                                     $566.75

                                                            03/21/2024                Suppliers or Vendors                                    $3,569.80

                                                            03/22/2024                Suppliers or Vendors                                     $908.03

                                                            03/25/2024                Suppliers or Vendors                                   $13,281.22

                                                            03/26/2024                Suppliers or Vendors                                     $290.14

                                                            03/27/2024                Suppliers or Vendors                                     $338.67

                                                            03/28/2024                Suppliers or Vendors                                    $5,036.79

                                                            03/29/2024                Suppliers or Vendors                                     $966.21

                                                            04/01/2024                Suppliers or Vendors                                   $12,420.45

                                                            04/02/2024                Suppliers or Vendors                                    $1,772.70

                                                            04/03/2024                Suppliers or Vendors                                       $77.26

                                                            04/04/2024                Suppliers or Vendors                                    $5,139.84

                                                            04/05/2024                Suppliers or Vendors                                    $1,014.60

                                                            04/08/2024                Suppliers or Vendors                                   $14,875.60

                                                            04/11/2024                Suppliers or Vendors                                    $4,654.71

                                                            04/12/2024                Suppliers or Vendors                                     $581.12

                                                            04/15/2024                Suppliers or Vendors                                   $12,667.73

                                                            04/16/2024                Suppliers or Vendors                                    $1,575.50

                                                            04/17/2024                Suppliers or Vendors                                    $1,204.39

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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

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Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/18/2024                Suppliers or Vendors                                     $3,948.82

                                                            04/19/2024                Suppliers or Vendors                                     $1,128.90

                                                            04/22/2024                Suppliers or Vendors                                    $11,477.67

                                                            04/23/2024                Suppliers or Vendors                                      $301.32

                                                            04/24/2024                Suppliers or Vendors                                      $504.94

                                                            04/25/2024                Suppliers or Vendors                                     $4,151.21

                                                            04/26/2024                Suppliers or Vendors                                      $978.88

                                                            04/29/2024                Suppliers or Vendors                                    $10,047.63

                                                            04/30/2024                Suppliers or Vendors                                     $1,577.69

                                                            05/01/2024                Suppliers or Vendors                                      $239.40

                                                            05/02/2024                Suppliers or Vendors                                     $3,599.39

                                                            05/03/2024                Suppliers or Vendors                                     $1,151.42

                                                            05/06/2024                Suppliers or Vendors                                    $11,650.58

                                                            05/07/2024                Suppliers or Vendors                                      $570.28

                                                            05/08/2024                Suppliers or Vendors                                      $896.37

                                                            05/09/2024                Suppliers or Vendors                                     $4,185.70

                                                            05/10/2024                Suppliers or Vendors                                     $1,119.10

                                                            05/13/2024                Suppliers or Vendors                                    $10,500.40

                                                            05/14/2024                Suppliers or Vendors                                     $1,065.75

                                                            05/15/2024                Suppliers or Vendors                                      $975.58

                                                            05/16/2024                Suppliers or Vendors                                     $3,711.31

                                                                                                                SUBTOTAL                     $262,238.17

WINCH PLUMBING HEATING &                                    03/04/2024                Suppliers or Vendors                                     $4,024.38
MECHANICAL INC
PO BOX 4678
TOMS RIVER, NJ 087544678
                                                            03/08/2024                Suppliers or Vendors                                     $1,015.89

                                                            03/28/2024                Suppliers or Vendors                                     $3,020.08

                                                            04/25/2024                Suppliers or Vendors                                     $8,762.97

                                                                                                                SUBTOTAL                      $16,823.32

WINCHESTER SEAFOOD LLC                                      03/04/2024                Other- Rent                                             $11,829.25
15942 SHADY GROVE RD
GAITHERSBURG, MD 20877-1315
                                                            03/29/2024                Other- Rent                                             $11,829.25

                                                            04/30/2024                Other- Rent                                             $11,829.25

                                                                                                                SUBTOTAL                      $35,487.75

WIND RIVER SERVICES INC                                     04/25/2024                Suppliers or Vendors                                     $8,762.00
7172 REGIONAL STREET 283
DUBLIN, CA 94568-2324


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                    Case 6:24-bk-02486-GER                    Doc 435         Filed 06/21/24           Page 918 of 1148
Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number

                                                                                                                SUBTOTAL                       $8,762.00

WINDSOR REALTY LTD                                          03/04/2024                Other- Rent                                             $23,407.85
PARTNERSHIP
DBA NAVESINK FAMILY
PARTNERS LLC
2 WARRENTON LANE
COLTS NECK, NJ 077221065
                                                            03/29/2024                Other- Rent                                             $23,407.85

                                                            04/30/2024                Other- Rent                                             $23,407.85

                                                                                                                SUBTOTAL                      $70,223.55

WOODBRIDGE HEIGHTS                                          03/04/2024                Other- Rent                                             $35,148.24
ASSOCIATES LLC
C/O TONY HUANG
369 E 62ND ST
NEW YORK, NY 10065-7705
                                                            03/29/2024                Other- Rent                                             $35,148.24

                                                            04/30/2024                Other- Rent                                             $35,148.24

                                                                                                                SUBTOTAL                     $105,444.72

WORLD CLASS INVESTMENTS                                     03/06/2024                Other- Rent                                             $40,980.63
LLC
9241 SW 140 STREET
MIAMI, FL 33176
                                                            04/03/2024                Other- Rent                                             $40,980.63

                                                            05/07/2024                Other- Rent                                             $40,980.63

                                                                                                                SUBTOTAL                     $122,941.89

WPE INVESTMENT 10 LLC                                       03/04/2024                Other- Rent                                             $32,206.97
C/O HOWARD J POWERS II
2900 W BAY TO BAY BLVD UNIT
1003
TAMPA, FL 33629-8130
                                                            03/29/2024                Other- Rent                                             $32,206.97

                                                            04/30/2024                Other- Rent                                             $32,206.97

                                                                                                                SUBTOTAL                      $96,620.91

WYOMING LIQUOR DIVISION                                     02/27/2024                Suppliers or Vendors                                      $775.37
6601 CAMPSTOOL ROAD
CHEYENNE, WY 820020110
                                                            03/04/2024                Suppliers or Vendors                                     $1,952.36

                                                            03/06/2024                Suppliers or Vendors                                     $1,370.71

                                                            03/12/2024                Suppliers or Vendors                                      $598.39

                                                            03/15/2024                Suppliers or Vendors                                      $526.49

                                                            03/18/2024                Suppliers or Vendors                                      $620.57

                                                            03/22/2024                Suppliers or Vendors                                      $807.12

                                                            03/25/2024                Suppliers or Vendors                                      $424.21

                                                            04/01/2024                Suppliers or Vendors                                     $1,079.89

                                                            04/08/2024                Suppliers or Vendors                                      $254.42



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                    Case 6:24-bk-02486-GER                    Doc 435         Filed 06/21/24           Page 919 of 1148
Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/15/2024                Suppliers or Vendors                                     $1,210.57

                                                            04/22/2024                Suppliers or Vendors                                      $585.70

                                                            04/26/2024                Suppliers or Vendors                                      $544.90

                                                            04/29/2024                Suppliers or Vendors                                      $829.52

                                                            05/06/2024                Suppliers or Vendors                                      $165.90

                                                            05/13/2024                Suppliers or Vendors                                      $999.57

                                                                                                                SUBTOTAL                     $12,745.69

YASMON 19 GROUP LLC                                         03/04/2024                Other- Rent                                            $37,444.58
ATTN KHOSROW YAZHARI
1316 BYRON NELSON PKWY
SOUTHLAKE, TX 76092-9557
                                                            03/29/2024                Other- Rent                                            $37,444.58

                                                            04/30/2024                Other- Rent                                            $37,444.58

                                                                                                                SUBTOTAL                     $112,333.74

NAME ON FILE                                                03/01/2024                Other- Rent                                              $6,461.95
ADDRESS ON FILE
                                                            04/03/2024                Other- Rent                                              $6,461.95

                                                            05/01/2024                Other- Rent                                              $7,008.82

                                                                                                                SUBTOTAL                     $19,932.72

NAME ON FILE                                                02/27/2024                Other- Employee Expense                                  $1,699.17
ADDRESS ON FILE                                                                       Reimbursement
                                                            03/20/2024                Other- Employee Expense                                  $3,707.69
                                                                                      Reimbursement
                                                            04/03/2024                Other- Employee Expense                                   $842.33
                                                                                      Reimbursement
                                                            04/29/2024                Other- Employee Expense                                  $2,593.52
                                                                                      Reimbursement
                                                            05/08/2024                Other- Employee Expense                                  $1,495.86
                                                                                      Reimbursement
                                                                                                                SUBTOTAL                     $10,338.57

NAME ON FILE                                                02/27/2024                Other- Employee Expense                                  $2,775.39
ADDRESS ON FILE                                                                       Reimbursement
                                                            03/21/2024                Other- Employee Expense                                  $2,497.22
                                                                                      Reimbursement
                                                            04/01/2024                Other- Employee Expense                                  $3,909.20
                                                                                      Reimbursement
                                                            04/04/2024                Other- Employee Expense                                  $3,451.53
                                                                                      Reimbursement
                                                            04/22/2024                Other- Employee Expense                                  $5,557.70
                                                                                      Reimbursement
                                                            04/24/2024                Other- Employee Expense                                  $1,489.76
                                                                                      Reimbursement
                                                                                                                SUBTOTAL                     $19,680.80

YOUR ENVIRONMENTS                                           02/20/2024                Suppliers or Vendors                                     $3,391.80
SOLUTION INC
428 5TH STREET
ORLANDO, FL 32824
                                                            03/04/2024                Suppliers or Vendors                                     $6,677.00

                                                            03/21/2024                Suppliers or Vendors                                     $3,028.12


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                    Case 6:24-bk-02486-GER                    Doc 435         Filed 06/21/24           Page 920 of 1148
Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/18/2024                Suppliers or Vendors                                    $1,897.95

                                                                                                                SUBTOTAL                     $14,994.87

YOUR MAINTENANCE DEPT INC                                   03/21/2024                Suppliers or Vendors                                   $29,164.17
9656 VISTA LANE
COMMERCE TWP, MI 48382
                                                            03/22/2024                Suppliers or Vendors                                   $12,910.54

                                                            04/04/2024                Suppliers or Vendors                                    $1,078.50

                                                            04/25/2024                Suppliers or Vendors                                    $2,620.59

                                                                                                                SUBTOTAL                     $45,773.80

ZAFAR PRODUCE INC                                           02/20/2024                Suppliers or Vendors                                    $5,349.67
115 CORPORATE DRIVE
NEW WINDSOR, NY 12553
                                                            02/21/2024                Suppliers or Vendors                                    $5,593.40

                                                            02/23/2024                Suppliers or Vendors                                    $3,705.76

                                                            02/26/2024                Suppliers or Vendors                                    $7,233.05

                                                            02/27/2024                Suppliers or Vendors                                    $1,321.16

                                                            02/28/2024                Suppliers or Vendors                                    $4,527.04

                                                            03/04/2024                Suppliers or Vendors                                    $6,335.17

                                                            03/06/2024                Suppliers or Vendors                                    $7,694.97

                                                            03/08/2024                Suppliers or Vendors                                    $2,394.60

                                                            03/11/2024                Suppliers or Vendors                                    $4,617.46

                                                            03/12/2024                Suppliers or Vendors                                    $8,191.06

                                                            03/14/2024                Suppliers or Vendors                                    $2,386.18

                                                            03/15/2024                Suppliers or Vendors                                    $3,036.80

                                                            03/18/2024                Suppliers or Vendors                                    $2,181.68

                                                            03/19/2024                Suppliers or Vendors                                    $5,288.65

                                                            03/21/2024                Suppliers or Vendors                                    $2,466.10

                                                            03/22/2024                Suppliers or Vendors                                    $3,570.38

                                                            03/25/2024                Suppliers or Vendors                                    $2,126.47

                                                            03/26/2024                Suppliers or Vendors                                    $4,802.05

                                                            03/28/2024                Suppliers or Vendors                                    $1,969.90

                                                            03/29/2024                Suppliers or Vendors                                    $3,766.51

                                                            04/01/2024                Suppliers or Vendors                                    $2,742.13

                                                            04/02/2024                Suppliers or Vendors                                    $4,960.61

                                                            04/04/2024                Suppliers or Vendors                                     $903.37

                                                            04/05/2024                Suppliers or Vendors                                    $4,660.56

                                                            04/08/2024                Suppliers or Vendors                                    $2,156.87

                                                            04/09/2024                Suppliers or Vendors                                    $4,995.19


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Debtor Name: Red Lobster Management LLC                                                                                  Case Number: 24-02486

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address          Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                 Number
                                                            04/11/2024                Suppliers or Vendors                                      $1,746.74

                                                            04/12/2024                Suppliers or Vendors                                      $3,603.74

                                                            04/15/2024                Suppliers or Vendors                                      $2,396.57

                                                            04/16/2024                Suppliers or Vendors                                      $5,083.87

                                                            04/18/2024                Suppliers or Vendors                                       $1,110.14

                                                            04/19/2024                Suppliers or Vendors                                      $2,789.73

                                                            04/22/2024                Suppliers or Vendors                                      $2,227.02

                                                            04/23/2024                Suppliers or Vendors                                      $5,437.99

                                                            04/25/2024                Suppliers or Vendors                                      $1,992.70

                                                            04/26/2024                Suppliers or Vendors                                      $3,632.85

                                                            04/29/2024                Suppliers or Vendors                                      $2,008.52

                                                            04/30/2024                Suppliers or Vendors                                      $5,103.67

                                                            05/02/2024                Suppliers or Vendors                                      $1,356.75

                                                            05/03/2024                Suppliers or Vendors                                      $3,722.54

                                                            05/06/2024                Suppliers or Vendors                                      $2,243.30

                                                            05/07/2024                Suppliers or Vendors                                      $4,853.88

                                                            05/09/2024                Suppliers or Vendors                                      $1,655.50

                                                            05/10/2024                Suppliers or Vendors                                      $3,125.40

                                                            05/13/2024                Suppliers or Vendors                                      $1,740.39

                                                            05/14/2024                Suppliers or Vendors                                      $5,677.75

                                                            05/16/2024                Suppliers or Vendors                                      $2,165.74

                                                                                                                SUBTOTAL                      $172,651.58

ZIPRECRUITER INC                                            03/04/2024                Suppliers or Vendors                                     $10,000.00
PO BOX 102827
PASADENA, CA 91189-0132
                                                                                                                SUBTOTAL                       $10,000.00

ZURICH AMERICAN INSURANCE                                   02/20/2024                Suppliers or Vendors                                    $921,400.20
COMPANY
ZURICH NORTH AMERICA
3059 PAYSPHERE CIRCLE
CHICAGO, IL 60674-0001
                                                            03/20/2024                Suppliers or Vendors                                   $1,091,783.32

                                                            03/25/2024                Suppliers or Vendors                                    $288,235.00

                                                            04/03/2024                Suppliers or Vendors                                     $85,560.00

                                                            04/17/2024                Suppliers or Vendors                                   $1,204,098.94

                                                                                                                SUBTOTAL                     $3,591,077.46




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


CHICK, JOEL B                    Former EVP, Chief Operating                           $ 287.90 05/19/2023            Benefits
ADDRESS ON FILE                  Officer

CHICK, JOEL B                    Former EVP, Chief Operating                          $ 5,249.04 05/19/2023           Severance
ADDRESS ON FILE                  Officer

DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 05/19/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                         $ 75.00 05/19/2023            Phone allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                       $ 7,320.98 05/19/2023           Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 05/19/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 149.04 05/19/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                            $ 4,230.77 05/19/2023           Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 05/19/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 126.92 05/19/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                           $ 75.00 05/19/2023            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                         $ 3,365.38 05/19/2023           Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 92.98 05/19/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 149.04 05/19/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                           $ 4,230.77 05/19/2023           Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 05/19/2023            Benefits
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 05/19/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                            $ 75.00 05/19/2023            Phone allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                          $ 6,250.00 05/19/2023           Salary
ADDRESS ON FILE                  Officer

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 05/19/2023            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 149.04 05/19/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                             $ 75.00 05/19/2023            Phone allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                           $ 4,615.38 05/19/2023           Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 05/19/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 05/19/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                      $ 4,326.92 05/19/2023           Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 05/19/2023            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                             $ 75.00 05/19/2023            Phone allowance
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                           $ 2,433.27 05/19/2023           Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
STAMM, ROBERT                    Former Chief Development &                           $ 4,615.38 05/19/2023           Salary
ADDRESS ON FILE                  Facilities Officer

STAMM, ROBERT                    Former Chief Development &                            $ 149.04 05/19/2023            Car allowance
ADDRESS ON FILE                  Facilities Officer

STAMM, ROBERT                    Former Chief Development &                            $ 356.99 05/19/2023            Benefits
ADDRESS ON FILE                  Facilities Officer

TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 05/19/2023            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                         $ 75.00 05/19/2023            Phone allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                       $ 5,265.38 05/19/2023           Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                        $ 205.86 05/19/2023            Benefits
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                        $ 149.04 05/19/2023            Car allowance
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                       $ 7,471.15 05/19/2023           Salary
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                   $ 361.68 05/19/2023            Benefits
ADDRESS ON FILE                  Development & International

WHITLOW, JARRETT C               Former SVP, Concept                                  $ 4,800.00 05/19/2023           Salary
ADDRESS ON FILE                  Development & International


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


CHICK, JOEL B                    Former EVP, Chief Operating                           $ 287.90 05/26/2023            Benefits
ADDRESS ON FILE                  Officer

CHICK, JOEL B                    Former EVP, Chief Operating                          $ 5,249.04 05/26/2023           Severance
ADDRESS ON FILE                  Officer

DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 05/26/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                         $ 51.53 05/26/2023            Car allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                       $ 7,320.98 05/26/2023           Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 05/26/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 149.04 05/26/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                              $ 75.00 05/26/2023            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                            $ 4,230.77 05/26/2023           Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 05/26/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 126.92 05/26/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 240.00 05/26/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                         $ 3,365.38 05/26/2023           Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 92.98 05/26/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 149.04 05/26/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 75.00 05/26/2023            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                           $ 4,230.77 05/26/2023           Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 05/26/2023            Benefits
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 05/26/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                          $ 6,250.00 05/26/2023           Salary
ADDRESS ON FILE                  Officer


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 05/26/2023            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 149.04 05/26/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 240.00 05/26/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                           $ 4,615.38 05/26/2023           Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 05/26/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 05/26/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                        $ 75.00 05/26/2023            Phone allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                      $ 4,326.92 05/26/2023           Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 05/26/2023            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                           $ 2,433.27 05/26/2023           Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
STAMM, ROBERT                    Former Chief Development &                           $ 4,615.38 05/26/2023           Salary
ADDRESS ON FILE                  Facilities Officer

STAMM, ROBERT                    Former Chief Development &                            $ 149.04 05/26/2023            Car allowance
ADDRESS ON FILE                  Facilities Officer

STAMM, ROBERT                    Former Chief Development &                            $ 356.99 05/26/2023            Benefits
ADDRESS ON FILE                  Facilities Officer

TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 05/26/2023            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                       $ 5,265.38 05/26/2023           Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                        $ 205.86 05/26/2023            Benefits
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                        $ 149.04 05/26/2023            Car allowance
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                       $ 7,471.15 05/26/2023           Salary
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                   $ 361.68 05/26/2023            Benefits
ADDRESS ON FILE                  Development & International

WHITLOW, JARRETT C               Former SVP, Concept                                   $ 612.94 05/26/2023            Reimbursement of business
ADDRESS ON FILE                  Development & International                                                          expenses


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                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 926 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


WHITLOW, JARRETT C               Former SVP, Concept                                  $ 4,800.00 05/26/2023           Salary
ADDRESS ON FILE                  Development & International

DAWSON III, HORACE G             Director/manager of affiliate;                       $ 1,305.35 05/30/2023           Reimbursement of business
ADDRESS ON FILE                  former Chief Executive Officer;                                                      expenses
                                 former EVP, General Counsel
KENNY, PAUL                      Former Interim Chief Executive                    $ 12,041.41 05/30/2023             Reimbursement of business
ADDRESS ON FILE                  Officer; former                                                                      expenses
                                 director/manager of affiliate
PEREIRA, MEERA                   SVP, Controller; former Interim                        $ 34.32 06/01/2023            Reimbursement of business
450 S ORANGE AVE STE 800         Chief Financial Officer                                                              expenses
ORLANDO, FL 32801-3344
CHICK, JOEL B                    Former EVP, Chief Operating                           $ 287.90 06/02/2023            Benefits
ADDRESS ON FILE                  Officer

CHICK, JOEL B                    Former EVP, Chief Operating                          $ 5,249.04 06/02/2023           Severance
ADDRESS ON FILE                  Officer

DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 06/02/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 586.90 06/02/2023            Car allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 600.00 06/02/2023            Dining card allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                       $ 7,320.98 06/02/2023           Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 06/02/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 149.04 06/02/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 600.00 06/02/2023            Dining card allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                            $ 4,230.77 06/02/2023           Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 06/02/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 126.92 06/02/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 600.00 06/02/2023            Dining card allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                         $ 3,365.38 06/02/2023           Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 92.98 06/02/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 149.04 06/02/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 927 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 600.00 06/02/2023            Dining card allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                           $ 4,230.77 06/02/2023           Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 06/02/2023            Benefits
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 06/02/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 600.00 06/02/2023            Dining card allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                          $ 6,250.00 06/02/2023           Salary
ADDRESS ON FILE                  Officer

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 06/02/2023            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 149.04 06/02/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                           $ 4,615.38 06/02/2023           Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 06/02/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 06/02/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 600.00 06/02/2023            Dining card allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 240.00 06/02/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                      $ 4,326.92 06/02/2023           Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 06/02/2023            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                           $ 2,433.27 06/02/2023           Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
STAMM, ROBERT                    Former Chief Development &                           $ 4,615.38 06/02/2023           Salary
ADDRESS ON FILE                  Facilities Officer

STAMM, ROBERT                    Former Chief Development &                            $ 149.04 06/02/2023            Car allowance
ADDRESS ON FILE                  Facilities Officer

STAMM, ROBERT                    Former Chief Development &                            $ 356.99 06/02/2023            Benefits
ADDRESS ON FILE                  Facilities Officer

TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 06/02/2023            Benefits
ADDRESS ON FILE


                                                                      Page 6 of 205
                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 928 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


TAPANYA, TRIN                    Former Chief Operating Officer                       $ 1,617.23 06/02/2023           Car allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                        $ 600.00 06/02/2023            Dining card allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                       $ 5,265.38 06/02/2023           Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                        $ 205.86 06/02/2023            Benefits
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                        $ 149.04 06/02/2023            Car allowance
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                        $ 600.00 06/02/2023            Dining card allowance
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                       $ 7,471.15 06/02/2023           Salary
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                   $ 361.68 06/02/2023            Benefits
ADDRESS ON FILE                  Development & International

WHITLOW, JARRETT C               Former SVP, Concept                                  $ 4,800.00 06/02/2023           Salary
ADDRESS ON FILE                  Development & International

TAPANYA, TRIN                    Former Chief Operating Officer                       $ 7,678.28 06/06/2023           Reimbursement of business
ADDRESS ON FILE                                                                                                       expenses

TAPANYA, TRIN                    Former Chief Operating Officer                       $ 2,117.25 06/06/2023           Reimbursement of business
ADDRESS ON FILE                                                                                                       expenses

TREVINO, PATRICIA A              Former Chief Marketing Officer                       $ 4,657.18 06/06/2023           Reimbursement of business
ADDRESS ON FILE                                                                                                       expenses

CHICK, JOEL B                    Former EVP, Chief Operating                           $ 287.90 06/09/2023            Benefits
ADDRESS ON FILE                  Officer

CHICK, JOEL B                    Former EVP, Chief Operating                          $ 5,249.04 06/09/2023           Severance
ADDRESS ON FILE                  Officer

DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 06/09/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                       $ 7,320.98 06/09/2023           Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 06/09/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 149.04 06/09/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 240.00 06/09/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                            $ 4,230.77 06/09/2023           Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 929 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 06/09/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 126.92 06/09/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                         $ 3,365.38 06/09/2023           Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 92.98 06/09/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 149.04 06/09/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 240.00 06/09/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                           $ 4,230.77 06/09/2023           Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 06/09/2023            Benefits
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 06/09/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 240.00 06/09/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                          $ 6,250.00 06/09/2023           Salary
ADDRESS ON FILE                  Officer

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 06/09/2023            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 149.04 06/09/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                           $ 4,615.38 06/09/2023           Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 06/09/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 06/09/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                      $ 4,326.92 06/09/2023           Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 06/09/2023            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                           $ 2,433.27 06/09/2023           Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
STAMM, ROBERT                    Former Chief Development &                           $ 4,615.38 06/09/2023           Salary
ADDRESS ON FILE                  Facilities Officer


                                                                      Page 8 of 205
                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 930 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


STAMM, ROBERT                    Former Chief Development &                            $ 149.04 06/09/2023            Car allowance
ADDRESS ON FILE                  Facilities Officer

STAMM, ROBERT                    Former Chief Development &                            $ 356.99 06/09/2023            Benefits
ADDRESS ON FILE                  Facilities Officer

TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 06/09/2023            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                        $ 240.00 06/09/2023            Car allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                       $ 5,265.38 06/09/2023           Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                        $ 205.86 06/09/2023            Benefits
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                        $ 149.04 06/09/2023            Car allowance
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                        $ 240.00 06/09/2023            Car allowance
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                       $ 7,471.15 06/09/2023           Salary
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                   $ 361.68 06/09/2023            Benefits
ADDRESS ON FILE                  Development & International

WHITLOW, JARRETT C               Former SVP, Concept                                  $ 4,800.00 06/09/2023           Salary
ADDRESS ON FILE                  Development & International

LIVESAY, MATTHEW P               Chief Supply Chain Officer                           $ 1,013.14 06/12/2023           Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
CHICK, JOEL B                    Former EVP, Chief Operating                           $ 287.90 06/16/2023            Benefits
ADDRESS ON FILE                  Officer

CHICK, JOEL B                    Former EVP, Chief Operating                          $ 5,249.04 06/16/2023           Severance
ADDRESS ON FILE                  Officer

DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 06/16/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                         $ 75.00 06/16/2023            Phone allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                       $ 7,320.98 06/16/2023           Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 06/16/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 149.04 06/16/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                            $ 4,230.77 06/16/2023           Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 931 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 06/16/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 126.92 06/16/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 3,365.38 06/16/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 92.98 06/16/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 149.04 06/16/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 846.59 06/16/2023            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 4,230.77 06/16/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 06/16/2023            Benefits
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 06/16/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                            $ 75.00 06/16/2023            Phone allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                        $ 6,250.00 06/16/2023             Salary
ADDRESS ON FILE                  Officer

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 06/16/2023            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 149.04 06/16/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 600.00 06/16/2023            Dining card allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 567.62 06/16/2023            Reimbursement of business
450 S ORANGE AVE STE 800         Officer                                                                              expenses
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 4,615.38 06/16/2023             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 06/16/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 06/16/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 4,326.92 06/16/2023             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 06/16/2023            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344

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                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 932 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,433.27 06/16/2023             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
STAMM, ROBERT                    Former Chief Development &                         $ 4,615.38 06/16/2023             Salary
ADDRESS ON FILE                  Facilities Officer

STAMM, ROBERT                    Former Chief Development &                            $ 149.04 06/16/2023            Car allowance
ADDRESS ON FILE                  Facilities Officer

STAMM, ROBERT                    Former Chief Development &                            $ 356.99 06/16/2023            Benefits
ADDRESS ON FILE                  Facilities Officer

TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 06/16/2023            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                         $ 75.00 06/16/2023            Phone allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,265.38 06/16/2023             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                        $ 205.86 06/16/2023            Benefits
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                        $ 149.04 06/16/2023            Car allowance
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                         $ 75.00 06/16/2023            Phone allowance
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 06/16/2023             Salary
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                   $ 361.68 06/16/2023            Benefits
ADDRESS ON FILE                  Development & International

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 06/16/2023             Salary
ADDRESS ON FILE                  Development & International

HERON, TONYA T                   VP, Division General Counsel                          $ 265.00 06/20/2023            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 368.28 06/20/2023            Reimbursement of business
450 S ORANGE AVE STE 800         Chief Financial Officer                                                              expenses
ORLANDO, FL 32801-3344
CHICK, JOEL B                    Former EVP, Chief Operating                           $ 287.90 06/23/2023            Benefits
ADDRESS ON FILE                  Officer

CHICK, JOEL B                    Former EVP, Chief Operating                        $ 5,249.04 06/23/2023             Severance
ADDRESS ON FILE                  Officer

DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 06/23/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 28,379.56 06/23/2023             Incentive compensation
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                  $ 100,000.00 06/23/2023              Retention payment
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel

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                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 933 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


DAWSON III, HORACE G             Director/manager of affiliate;                     $ 7,320.95 06/23/2023             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 06/23/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 149.04 06/23/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                         $ 10,007.82 06/23/2023             Incentive compensation
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                         $ 75,000.00 06/23/2023             Retention payment
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 4,230.77 06/23/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 06/23/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 126.92 06/23/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                           $ 75.00 06/23/2023            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 240.00 06/23/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 9,734.38 06/23/2023             Incentive compensation
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 3,365.38 06/23/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 92.98 06/23/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 149.04 06/23/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                        $ 10,007.82 06/23/2023             Incentive compensation
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                        $ 75,000.00 06/23/2023             Retention payment
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 4,230.77 06/23/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 06/23/2023            Benefits
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 06/23/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                       $ 19,784.19 06/23/2023             Incentive compensation
ADDRESS ON FILE                  Officer


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                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 934 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


MCCLAIN, PHILIP B                Former EVP, Chief Financial                       $ 75,000.00 06/23/2023             Retention payment
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                        $ 6,250.00 06/23/2023             Salary
ADDRESS ON FILE                  Officer

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 06/23/2023            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 149.04 06/23/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                             $ 75.00 06/23/2023            Phone allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 240.00 06/23/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                        $ 13,044.51 06/23/2023             Incentive compensation
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                        $ 75,000.00 06/23/2023             Retention payment
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 4,615.38 06/23/2023             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 06/23/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 06/23/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 9,486.99 06/23/2023             Incentive compensation
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 4,326.92 06/23/2023             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 06/23/2023            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                             $ 75.00 06/23/2023            Phone allowance
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,433.27 06/23/2023             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
STAMM, ROBERT                    Former Chief Development &                         $ 4,615.38 06/23/2023             Salary
ADDRESS ON FILE                  Facilities Officer

STAMM, ROBERT                    Former Chief Development &                        $ 14,316.34 06/23/2023             Incentive compensation
ADDRESS ON FILE                  Facilities Officer

STAMM, ROBERT                    Former Chief Development &                        $ 75,000.00 06/23/2023             Retention payment
ADDRESS ON FILE                  Facilities Officer

STAMM, ROBERT                    Former Chief Development &                            $ 149.04 06/23/2023            Car allowance
ADDRESS ON FILE                  Facilities Officer


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                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 935 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


STAMM, ROBERT                    Former Chief Development &                            $ 356.99 06/23/2023            Benefits
ADDRESS ON FILE                  Facilities Officer

TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 06/23/2023            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                    $ 12,616.07 06/23/2023             Incentive compensation
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                    $ 75,000.00 06/23/2023             Retention payment
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,265.38 06/23/2023             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                        $ 205.86 06/23/2023            Benefits
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                        $ 149.04 06/23/2023            Car allowance
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                    $ 28,630.53 06/23/2023             Incentive compensation
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                  $ 100,000.00 06/23/2023              Retention payment
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 06/23/2023             Salary
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                   $ 361.68 06/23/2023            Benefits
ADDRESS ON FILE                  Development & International

WHITLOW, JARRETT C               Former SVP, Concept                               $ 14,951.08 06/23/2023             Incentive compensation
ADDRESS ON FILE                  Development & International

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 06/23/2023             Salary
ADDRESS ON FILE                  Development & International

CHICK, JOEL B                    Former EVP, Chief Operating                           $ 287.90 06/30/2023            Benefits
ADDRESS ON FILE                  Officer

CHICK, JOEL B                    Former EVP, Chief Operating                        $ 5,249.04 06/30/2023             Severance
ADDRESS ON FILE                  Officer

DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 06/30/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                         $ 48.32 06/30/2023            Car allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                     $ 7,320.98 06/30/2023             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 06/30/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 149.04 06/30/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 936 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


HARRS, SHAWN                     Chief Information Officer                              $ 75.00 06/30/2023            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 4,230.77 06/30/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 06/30/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 126.92 06/30/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 3,365.38 06/30/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 92.98 06/30/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 149.04 06/30/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 75.00 06/30/2023            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 4,230.77 06/30/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 06/30/2023            Benefits
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 06/30/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                        $ 6,250.00 06/30/2023             Salary
ADDRESS ON FILE                  Officer

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 06/30/2023            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 149.04 06/30/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 4,615.38 06/30/2023             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 06/30/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 06/30/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                        $ 75.00 06/30/2023            Phone allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 240.00 06/30/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                   $ 25,000.00 06/30/2023             Retention payment
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344

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                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 937 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 4,807.69 06/30/2023             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 06/30/2023            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,433.27 06/30/2023             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
STAMM, ROBERT                    Former Chief Development &                         $ 4,615.38 06/30/2023             Salary
ADDRESS ON FILE                  Facilities Officer

STAMM, ROBERT                    Former Chief Development &                            $ 149.04 06/30/2023            Car allowance
ADDRESS ON FILE                  Facilities Officer

STAMM, ROBERT                    Former Chief Development &                            $ 356.99 06/30/2023            Benefits
ADDRESS ON FILE                  Facilities Officer

TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 06/30/2023            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,265.38 06/30/2023             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                        $ 205.86 06/30/2023            Benefits
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                        $ 149.04 06/30/2023            Car allowance
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 06/30/2023             Salary
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                   $ 361.68 06/30/2023            Benefits
ADDRESS ON FILE                  Development & International

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 06/30/2023             Salary
ADDRESS ON FILE                  Development & International

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 437.72 07/04/2023            Reimbursement of business
450 S ORANGE AVE STE 800         Officer                                                                              expenses
ORLANDO, FL 32801-3344
CHICK, JOEL B                    Former EVP, Chief Operating                           $ 287.90 07/07/2023            Benefits
ADDRESS ON FILE                  Officer

CHICK, JOEL B                    Former EVP, Chief Operating                        $ 5,249.04 07/07/2023             Severance
ADDRESS ON FILE                  Officer

DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 07/07/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 586.90 07/07/2023            Car allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                     $ 7,320.98 07/07/2023             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 07/07/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


HARRS, SHAWN                     Chief Information Officer                             $ 149.04 07/07/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 240.00 07/07/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 4,230.77 07/07/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 07/07/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 126.92 07/07/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 3,365.38 07/07/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 92.98 07/07/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 149.04 07/07/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 240.00 07/07/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 4,230.77 07/07/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 07/07/2023            Benefits
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 07/07/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 240.00 07/07/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                        $ 6,250.00 07/07/2023             Salary
ADDRESS ON FILE                  Officer

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 07/07/2023            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 149.04 07/07/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 4,615.38 07/07/2023             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 07/07/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 07/07/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 4,807.69 07/07/2023             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RIVERA, NORMA                    Senior Manager, Licensing;                           $ 169.62 07/07/2023             Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 5,630.59 07/07/2023             Incentive compensation
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,433.27 07/07/2023             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                       $ 158.35 07/07/2023             Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 1,617.23 07/07/2023             Car allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                       $ 240.00 07/07/2023             Car allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,265.38 07/07/2023             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                       $ 205.86 07/07/2023             Benefits
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                       $ 149.04 07/07/2023             Car allowance
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                       $ 240.00 07/07/2023             Car allowance
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 07/07/2023             Salary
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                  $ 361.68 07/07/2023             Benefits
ADDRESS ON FILE                  Development & International

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 07/07/2023             Salary
ADDRESS ON FILE                  Development & International

HARRS, SHAWN                     Chief Information Officer                             $ 28.38 07/11/2023             Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 86.25 07/11/2023             Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 45.59 07/11/2023             Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                              $ 5.80 07/11/2023             Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                            $ 254.28 07/11/2023             Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,177.70 07/11/2023             Reimbursement of business
ADDRESS ON FILE                                                                                                       expenses

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 4,600.41 07/11/2023             Reimbursement of business
ADDRESS ON FILE                                                                                                       expenses


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


TAPANYA, TRIN                    Former Chief Operating Officer                     $ 2,463.15 07/11/2023             Reimbursement of business
ADDRESS ON FILE                                                                                                       expenses

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 398.39 07/13/2023            Reimbursement of business
450 S ORANGE AVE STE 800         Officer                                                                              expenses
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                     $ 1,752.23 07/13/2023             Reimbursement of business
ADDRESS ON FILE                                                                                                       expenses

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 3,755.48 07/13/2023             Reimbursement of business
ADDRESS ON FILE                                                                                                       expenses

CHICK, JOEL B                    Former EVP, Chief Operating                           $ 287.90 07/14/2023            Benefits
ADDRESS ON FILE                  Officer

CHICK, JOEL B                    Former EVP, Chief Operating                        $ 5,249.04 07/14/2023             Severance
ADDRESS ON FILE                  Officer

DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 07/14/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                     $ 7,320.98 07/14/2023             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 07/14/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 149.04 07/14/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 4,230.77 07/14/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 07/14/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 126.92 07/14/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 3,365.38 07/14/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 92.98 07/14/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 149.04 07/14/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 4,230.77 07/14/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 07/14/2023            Benefits
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 07/14/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                        $ 6,250.00 07/14/2023             Salary
ADDRESS ON FILE                  Officer


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                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 941 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 07/14/2023            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 149.04 07/14/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 4,615.38 07/14/2023             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 07/14/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 07/14/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 4,807.69 07/14/2023             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 07/14/2023            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,433.27 07/14/2023             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
STAMM, ROBERT                    Former Chief Development &                         $ 9,230.77 07/14/2023             Salary
ADDRESS ON FILE                  Facilities Officer

TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 07/14/2023            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,265.38 07/14/2023             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                        $ 205.86 07/14/2023            Benefits
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                        $ 149.04 07/14/2023            Car allowance
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 07/14/2023             Salary
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                   $ 361.68 07/14/2023            Benefits
ADDRESS ON FILE                  Development & International

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 07/14/2023             Salary
ADDRESS ON FILE                  Development & International

CHICK, JOEL B                    Former EVP, Chief Operating                           $ 287.90 07/21/2023            Benefits
ADDRESS ON FILE                  Officer

CHICK, JOEL B                    Former EVP, Chief Operating                        $ 5,249.04 07/21/2023             Severance
ADDRESS ON FILE                  Officer

DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 07/21/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                         $ 75.00 07/21/2023            Phone allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


DAWSON III, HORACE G             Director/manager of affiliate;                     $ 7,320.98 07/21/2023             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 07/21/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 149.04 07/21/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 4,230.77 07/21/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 07/21/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 126.92 07/21/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                           $ 75.00 07/21/2023            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 240.00 07/21/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 3,365.38 07/21/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 92.98 07/21/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 149.04 07/21/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 4,230.77 07/21/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 07/21/2023            Benefits
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 07/21/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                            $ 75.00 07/21/2023            Phone allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                        $ 6,250.00 07/21/2023             Salary
ADDRESS ON FILE                  Officer

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 07/21/2023            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 149.04 07/21/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                             $ 75.00 07/21/2023            Phone allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 240.00 07/21/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344

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                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 943 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 4,615.38 07/21/2023             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 07/21/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 07/21/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 4,807.69 07/21/2023             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 07/21/2023            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                             $ 75.00 07/21/2023            Phone allowance
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,433.27 07/21/2023             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 07/21/2023            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                         $ 75.00 07/21/2023            Phone allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,265.38 07/21/2023             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                        $ 205.86 07/21/2023            Benefits
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                        $ 149.04 07/21/2023            Car allowance
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                         $ 75.00 07/21/2023            Phone allowance
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 07/21/2023             Salary
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                   $ 361.68 07/21/2023            Benefits
ADDRESS ON FILE                  Development & International

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 07/21/2023             Salary
ADDRESS ON FILE                  Development & International

LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 3,116.15 07/24/2023             Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 120.89 07/26/2023            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
CHICK, JOEL B                    Former EVP, Chief Operating                           $ 287.90 07/28/2023            Benefits
ADDRESS ON FILE                  Officer

CHICK, JOEL B                    Former EVP, Chief Operating                        $ 5,249.04 07/28/2023             Severance
ADDRESS ON FILE                  Officer


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                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 944 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 07/28/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 195.04 07/28/2023            Car allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                     $ 7,320.98 07/28/2023             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 07/28/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 149.04 07/28/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                              $ 75.00 07/28/2023            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 4,230.77 07/28/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 07/28/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 126.92 07/28/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 3,365.38 07/28/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 92.98 07/28/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 149.04 07/28/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 75.00 07/28/2023            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 4,230.77 07/28/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 07/28/2023            Benefits
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 07/28/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                        $ 6,250.00 07/28/2023             Salary
ADDRESS ON FILE                  Officer

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 07/28/2023            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 149.04 07/28/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 4,615.38 07/28/2023             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 07/28/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 07/28/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                        $ 75.00 07/28/2023            Phone allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 240.00 07/28/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 4,807.69 07/28/2023             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 07/28/2023            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,433.27 07/28/2023             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 07/28/2023            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,265.38 07/28/2023             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                         $ 76.15 07/28/2023            Benefits
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                        $ 149.04 07/28/2023            Car allowance
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 4,482.69 07/28/2023             Salary
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                   $ 361.68 07/28/2023            Benefits
ADDRESS ON FILE                  Development & International

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 07/28/2023             Salary
ADDRESS ON FILE                  Development & International

CHICK, JOEL B                    Former EVP, Chief Operating                           $ 287.90 08/04/2023            Benefits
ADDRESS ON FILE                  Officer

CHICK, JOEL B                    Former EVP, Chief Operating                        $ 5,249.04 08/04/2023             Severance
ADDRESS ON FILE                  Officer

DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 08/04/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 586.90 08/04/2023            Car allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                     $ 7,320.98 08/04/2023             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 08/04/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 946 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


HARRS, SHAWN                     Chief Information Officer                             $ 149.04 08/04/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 240.00 08/04/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 4,230.77 08/04/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 08/04/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 126.92 08/04/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 3,365.38 08/04/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 92.98 08/04/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 149.04 08/04/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 240.00 08/04/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 4,230.77 08/04/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 08/04/2023            Benefits
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 08/04/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 240.00 08/04/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                        $ 6,250.00 08/04/2023             Salary
ADDRESS ON FILE                  Officer

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 08/04/2023            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 149.04 08/04/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 4,615.38 08/04/2023             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 08/04/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 08/04/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 4,807.69 08/04/2023             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344

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                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 947 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 08/04/2023            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,433.27 08/04/2023             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 08/04/2023            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 1,617.23 08/04/2023             Car allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                        $ 240.00 08/04/2023            Car allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,265.38 08/04/2023             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                        $ 149.04 08/04/2023            Car allowance
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                    $ 29,884.62 08/04/2023             Unused vacation
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                   $ 361.68 08/04/2023            Benefits
ADDRESS ON FILE                  Development & International

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 08/04/2023             Salary
ADDRESS ON FILE                  Development & International

WHITLOW, JARRETT C               Former SVP, Concept                                $ 1,341.08 08/07/2023             Reimbursement of business
ADDRESS ON FILE                  Development & International                                                          expenses

LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 582.77 08/08/2023            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 08/11/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                     $ 7,320.98 08/11/2023             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 08/11/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 149.04 08/11/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 4,230.77 08/11/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                         $ 13,932.00 08/11/2023             Performance Unit Awards
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 08/11/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 126.92 08/11/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


HERON, TONYA T                   VP, Division General Counsel                       $ 3,466.35 08/11/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 9,287.50 08/11/2023             Performance Unit Awards
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
KENNY, PAUL                      Former Interim Chief Executive                    $ 11,092.73 08/11/2023             Reimbursement of business
ADDRESS ON FILE                  Officer; former                                                                      expenses
                                 director/manager of affiliate
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 92.98 08/11/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 149.04 08/11/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 4,230.77 08/11/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                        $ 13,932.00 08/11/2023             Performance Unit Awards
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 08/11/2023            Benefits
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 08/11/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                        $ 6,250.00 08/11/2023             Salary
ADDRESS ON FILE                  Officer

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 08/11/2023            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 149.04 08/11/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 4,615.38 08/11/2023             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 9,287.50 08/11/2023             Performance Unit Awards
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 08/11/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 08/11/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 4,807.69 08/11/2023             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 9,287.50 08/11/2023             Performance Unit Awards
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 08/11/2023            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 08/11/2023             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344

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                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 949 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 08/11/2023            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,265.38 08/11/2023             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                        $ 149.04 08/11/2023            Car allowance
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                    $ 29,884.62 08/11/2023             Unused vacation
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                   $ 361.68 08/11/2023            Benefits
ADDRESS ON FILE                  Development & International

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 08/11/2023             Salary
ADDRESS ON FILE                  Development & International

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 323.89 08/15/2023            Reimbursement of business
450 S ORANGE AVE STE 800         Officer                                                                              expenses
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                     $ 9,464.58 08/15/2023             Reimbursement of business
ADDRESS ON FILE                                                                                                       expenses

KENNY, PAUL                      Former Interim Chief Executive                    $ 11,784.52 08/16/2023             Reimbursement of business
ADDRESS ON FILE                  Officer; former                                                                      expenses
                                 director/manager of affiliate
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 08/18/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                         $ 75.00 08/18/2023            Phone allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                     $ 7,320.98 08/18/2023             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 08/18/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 149.04 08/18/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 4,230.77 08/18/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 08/18/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 126.92 08/18/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                           $ 75.00 08/18/2023            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 240.00 08/18/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 3,466.35 08/18/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 92.98 08/18/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 149.04 08/18/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 4,230.77 08/18/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 08/18/2023            Benefits
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 08/18/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                            $ 75.00 08/18/2023            Phone allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                        $ 6,250.00 08/18/2023             Salary
ADDRESS ON FILE                  Officer

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 08/18/2023            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 149.04 08/18/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                             $ 75.00 08/18/2023            Phone allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 240.00 08/18/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 4,615.38 08/18/2023             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 08/18/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 08/18/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 4,807.69 08/18/2023             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 08/18/2023            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                             $ 75.00 08/18/2023            Phone allowance
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 08/18/2023             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 08/18/2023            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                         $ 75.00 08/18/2023            Phone allowance
ADDRESS ON FILE


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                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 951 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,265.38 08/18/2023             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                    $ 22,413.45 08/18/2023             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                    $ 50.14 08/18/2023            Benefits
ADDRESS ON FILE                  Development & International

WHITLOW, JARRETT C               Former SVP, Concept                                $ 2,880.00 08/18/2023             Salary
ADDRESS ON FILE                  Development & International

TAPANYA, TRIN                    Former Chief Operating Officer                        $ 250.90 08/24/2023            Reimbursement of business
ADDRESS ON FILE                                                                                                       expenses

DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 08/25/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                         $ 55.36 08/25/2023            Car allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                     $ 7,320.98 08/25/2023             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 08/25/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 149.04 08/25/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                              $ 75.00 08/25/2023            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 4,230.77 08/25/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 08/25/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 126.92 08/25/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 3,466.35 08/25/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 92.98 08/25/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 149.04 08/25/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 75.00 08/25/2023            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 4,230.77 08/25/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 08/25/2023            Benefits
ADDRESS ON FILE                  Officer


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 08/25/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                        $ 6,250.00 08/25/2023             Salary
ADDRESS ON FILE                  Officer

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 08/25/2023            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 149.04 08/25/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 4,615.38 08/25/2023             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 08/25/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 08/25/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                        $ 75.00 08/25/2023            Phone allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 240.00 08/25/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 4,807.69 08/25/2023             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 08/25/2023            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 08/25/2023             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,240.50 08/25/2023             Performance Unit Awards
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 08/25/2023            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,265.38 08/25/2023             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 08/25/2023             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 1,920.00 08/25/2023             Salary
ADDRESS ON FILE                  Development & International

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 08/25/2023             Severance
ADDRESS ON FILE                  Development & International

DAWSON III, HORACE G             Director/manager of affiliate;                     $ 1,381.72 08/30/2023             Reimbursement of business
ADDRESS ON FILE                  former Chief Executive Officer;                                                      expenses
                                 former EVP, General Counsel
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 388.04 08/30/2023            Reimbursement of business
450 S ORANGE AVE STE 800         Officer                                                                              expenses
ORLANDO, FL 32801-3344

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                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 953 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 349.66 08/30/2023            Reimbursement of business
450 S ORANGE AVE STE 800         Officer                                                                              expenses
ORLANDO, FL 32801-3344
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 09/01/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 586.90 09/01/2023            Car allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 600.00 09/01/2023            Dining card allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                     $ 7,320.98 09/01/2023             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 09/01/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 149.04 09/01/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 600.00 09/01/2023            Dining card allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 240.00 09/01/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 4,230.77 09/01/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 09/01/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 126.92 09/01/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 600.00 09/01/2023            Dining card allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 3,365.38 09/01/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 92.98 09/01/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 149.04 09/01/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 600.00 09/01/2023            Dining card allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 240.00 09/01/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 4,230.77 09/01/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 09/01/2023            Benefits
ADDRESS ON FILE                  Officer


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 09/01/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 600.00 09/01/2023            Dining card allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 240.00 09/01/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                        $ 6,250.00 09/01/2023             Salary
ADDRESS ON FILE                  Officer

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 09/01/2023            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 149.04 09/01/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 4,615.38 09/01/2023             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 09/01/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 09/01/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 600.00 09/01/2023            Dining card allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 4,807.69 09/01/2023             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 09/01/2023            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 09/01/2023             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 09/01/2023            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 1,617.23 09/01/2023             Car allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                        $ 600.00 09/01/2023            Dining card allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                        $ 240.00 09/01/2023            Car allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,265.38 09/01/2023             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 09/01/2023             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 09/01/2023             Severance
ADDRESS ON FILE                  Development & International


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


HARRS, SHAWN                     Chief Information Officer                          $ 1,985.64 09/06/2023             Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                              $ 46.86 09/06/2023            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 344.87 09/06/2023            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 769.18 09/06/2023            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 114.99 09/06/2023            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 822.56 09/07/2023            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 09/08/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                     $ 7,320.98 09/08/2023             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 09/08/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 149.04 09/08/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 4,230.77 09/08/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 09/08/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 126.92 09/08/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 3,466.35 09/08/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 92.98 09/08/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 149.04 09/08/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 4,230.77 09/08/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 09/08/2023            Benefits
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 09/08/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                        $ 6,250.00 09/08/2023             Salary
ADDRESS ON FILE                  Officer


                                                                      Page 34 of 205
                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 956 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 09/08/2023            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 149.04 09/08/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 4,615.38 09/08/2023             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 09/08/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 09/08/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 4,807.69 09/08/2023             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 09/08/2023            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 09/08/2023             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 09/08/2023            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,265.38 09/08/2023             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 09/08/2023             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 09/08/2023             Severance
ADDRESS ON FILE                  Development & International

WHITLOW, JARRETT C               Former SVP, Concept                               $ 48,000.00 09/08/2023             Unused vacation
ADDRESS ON FILE                  Development & International

KENNY, PAUL                      Former Interim Chief Executive                    $ 11,074.41 09/12/2023             Reimbursement of business
ADDRESS ON FILE                  Officer; former                                                                      expenses
                                 director/manager of affiliate
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 8,895.02 09/12/2023             Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 249.61 09/12/2023            Reimbursement of business
450 S ORANGE AVE STE 800         Officer                                                                              expenses
ORLANDO, FL 32801-3344
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 09/15/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                         $ 75.00 09/15/2023            Phone allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                     $ 7,320.98 09/15/2023             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 09/15/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 957 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


HARRS, SHAWN                     Chief Information Officer                             $ 149.04 09/15/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 4,230.77 09/15/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 09/15/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 126.92 09/15/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 240.00 09/15/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 100.97 09/15/2023            Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 3,466.35 09/15/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 92.98 09/15/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 149.04 09/15/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 4,230.77 09/15/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 09/15/2023            Benefits
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 09/15/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                            $ 75.00 09/15/2023            Phone allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                        $ 6,250.00 09/15/2023             Salary
ADDRESS ON FILE                  Officer

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 09/15/2023            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 149.04 09/15/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 600.00 09/15/2023            Dining card allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 240.00 09/15/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 4,615.38 09/15/2023             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 09/15/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344

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                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 958 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 09/15/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 4,807.69 09/15/2023             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 09/15/2023            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 09/15/2023             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 09/15/2023            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                         $ 75.00 09/15/2023            Phone allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,265.38 09/15/2023             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 09/15/2023             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 09/15/2023             Severance
ADDRESS ON FILE                  Development & International

DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 09/22/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                     $ 7,320.98 09/22/2023             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 09/22/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 149.04 09/22/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 4,230.77 09/22/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 09/22/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 126.92 09/22/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                           $ 75.00 09/22/2023            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 3,466.35 09/22/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 92.98 09/22/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 149.04 09/22/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 959 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 906.38 09/22/2023            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 4,230.77 09/22/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 09/22/2023            Benefits
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 09/22/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                        $ 6,250.00 09/22/2023             Salary
ADDRESS ON FILE                  Officer

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 09/22/2023            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 149.04 09/22/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                             $ 75.00 09/22/2023            Phone allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 4,615.38 09/22/2023             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 09/22/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 09/22/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 240.00 09/22/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 4,807.69 09/22/2023             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 09/22/2023            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                             $ 75.00 09/22/2023            Phone allowance
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 09/22/2023             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
STAMM, ROBERT                    Former Chief Development &                        $ 62,984.85 09/22/2023             Deferred compensation
ADDRESS ON FILE                  Facilities Officer

TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 09/22/2023            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,265.38 09/22/2023             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 09/22/2023             Severance
ADDRESS ON FILE


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                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 960 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 09/22/2023             Severance
ADDRESS ON FILE                  Development & International

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 1,606.46 09/27/2023             Reimbursement of business
ADDRESS ON FILE                                                                                                       expenses

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 2,454.74 09/27/2023             Reimbursement of business
ADDRESS ON FILE                                                                                                       expenses

DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 09/29/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                         $ 87.55 09/29/2023            Car allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 09/29/2023             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 09/29/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 149.04 09/29/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                              $ 75.00 09/29/2023            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 240.00 09/29/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 4,230.77 09/29/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 09/29/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 126.92 09/29/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 3,466.35 09/29/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 92.98 09/29/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 149.04 09/29/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 75.00 09/29/2023            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 240.00 09/29/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 4,230.77 09/29/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 09/29/2023            Benefits
ADDRESS ON FILE                  Officer


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 09/29/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 240.00 09/29/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                        $ 6,250.00 09/29/2023             Salary
ADDRESS ON FILE                  Officer

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 09/29/2023            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 149.04 09/29/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 4,615.38 09/29/2023             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 09/29/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 09/29/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                        $ 75.00 09/29/2023            Phone allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 4,807.69 09/29/2023             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 09/29/2023            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 09/29/2023             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 09/29/2023            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                        $ 240.00 09/29/2023            Car allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,265.38 09/29/2023             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 09/29/2023             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 09/29/2023             Severance
ADDRESS ON FILE                  Development & International

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,102.65 10/02/2023             Reimbursement of business
ADDRESS ON FILE                                                                                                       expenses

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 4,650.80 10/02/2023             Reimbursement of business
ADDRESS ON FILE                                                                                                       expenses

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 1,239.76 10/02/2023             Reimbursement of business
ADDRESS ON FILE                                                                                                       expenses


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


TAPANYA, TRIN                    Former Chief Operating Officer                        $ 501.06 10/02/2023            Reimbursement of business
ADDRESS ON FILE                                                                                                       expenses

TAPANYA, TRIN                    Former Chief Operating Officer                        $ 388.23 10/03/2023            Reimbursement of business
ADDRESS ON FILE                                                                                                       expenses

HARRS, SHAWN                     Chief Information Officer                          $ 1,717.52 10/05/2023             Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                              $ 34.00 10/05/2023            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 1,853.38 10/05/2023             Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                         $ 6.60 10/05/2023            Reimbursement of business
450 S ORANGE AVE STE 800         Chief Financial Officer                                                              expenses
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                     $ 2,011.50 10/05/2023             Reimbursement of business
ADDRESS ON FILE                                                                                                       expenses

DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 10/06/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 586.90 10/06/2023            Car allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 10/06/2023             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 10/06/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 149.04 10/06/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 4,230.77 10/06/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 10/06/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 126.92 10/06/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 3,466.35 10/06/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 92.98 10/06/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 149.04 10/06/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 4,230.77 10/06/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 10/06/2023            Benefits
ADDRESS ON FILE                  Officer


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 10/06/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                        $ 6,250.00 10/06/2023             Salary
ADDRESS ON FILE                  Officer

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 10/06/2023            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 149.04 10/06/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 4,615.38 10/06/2023             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 10/06/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 10/06/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 4,807.69 10/06/2023             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 10/06/2023            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 10/06/2023             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 10/06/2023            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 1,617.23 10/06/2023             Car allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,265.38 10/06/2023             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 10/06/2023             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 10/06/2023             Severance
ADDRESS ON FILE                  Development & International

DAWSON III, HORACE G             Director/manager of affiliate;                     $ 2,915.43 10/11/2023             Reimbursement of business
ADDRESS ON FILE                  former Chief Executive Officer;                                                      expenses
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 10/13/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 10/13/2023             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 10/13/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 149.04 10/13/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


HARRS, SHAWN                     Chief Information Officer                          $ 4,230.77 10/13/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 10/13/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 126.92 10/13/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 240.00 10/13/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 4,230.77 10/13/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 92.98 10/13/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 149.04 10/13/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 4,230.77 10/13/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 10/13/2023            Benefits
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 10/13/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                        $ 6,250.00 10/13/2023             Salary
ADDRESS ON FILE                  Officer

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 10/13/2023            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 149.04 10/13/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 240.00 10/13/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 4,615.38 10/13/2023             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 10/13/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 10/13/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 4,807.69 10/13/2023             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 10/13/2023            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 10/13/2023             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 10/13/2023            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,265.38 10/13/2023             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 1,130.39 10/13/2023             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 10/13/2023             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 10/13/2023             Severance
ADDRESS ON FILE                  Development & International

HERON, TONYA T                   VP, Division General Counsel                          $ 225.81 10/17/2023            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                           $ 60.06 10/17/2023            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 129.70 10/17/2023            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 294.87 10/17/2023            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                           $ 83.40 10/17/2023            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                           $ 42.36 10/17/2023            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 1,716.66 10/18/2023             Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 10/20/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                         $ 75.00 10/20/2023            Phone allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 10/20/2023             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 10/20/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 158.65 10/20/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 5,384.62 10/20/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 10/20/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 126.92 10/20/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


HERON, TONYA T                   VP, Division General Counsel                           $ 75.00 10/20/2023            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 4,230.77 10/20/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 92.98 10/20/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 158.65 10/20/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 5,384.62 10/20/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 10/20/2023            Benefits
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 10/20/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                            $ 75.00 10/20/2023            Phone allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                        $ 6,250.00 10/20/2023             Salary
ADDRESS ON FILE                  Officer

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 10/20/2023            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 158.65 10/20/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                             $ 75.00 10/20/2023            Phone allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 6,153.85 10/20/2023             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 10/20/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 10/20/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 240.00 10/20/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 4,807.69 10/20/2023             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 10/20/2023            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                             $ 75.00 10/20/2023            Phone allowance
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 10/20/2023             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 10/20/2023            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                         $ 75.00 10/20/2023            Phone allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,769.23 10/20/2023             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 10/20/2023             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 10/20/2023             Severance
ADDRESS ON FILE                  Development & International

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 1,469.95 10/23/2023             Reimbursement of business
ADDRESS ON FILE                                                                                                       expenses

LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 1,720.56 10/25/2023             Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 10/27/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                         $ 61.94 10/27/2023            Car allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 10/27/2023             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 10/27/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 158.65 10/27/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                              $ 75.00 10/27/2023            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 240.00 10/27/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                              $ 46.86 10/27/2023            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 5,384.62 10/27/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 10/27/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 126.92 10/27/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 4,230.77 10/27/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 92.98 10/27/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 158.65 10/27/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 75.00 10/27/2023            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 240.00 10/27/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 5,384.62 10/27/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 10/27/2023            Benefits
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 10/27/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 240.00 10/27/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                        $ 6,250.00 10/27/2023             Salary
ADDRESS ON FILE                  Officer

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 10/27/2023            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 158.65 10/27/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 6,153.85 10/27/2023             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 10/27/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 10/27/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                        $ 75.00 10/27/2023            Phone allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 4,807.69 10/27/2023             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 10/27/2023            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 10/27/2023             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 10/27/2023            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                        $ 240.00 10/27/2023            Car allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,769.23 10/27/2023             Salary
ADDRESS ON FILE


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 10/27/2023             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 10/27/2023             Severance
ADDRESS ON FILE                  Development & International

DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 11/03/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 586.90 11/03/2023            Car allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                         $ 49.96 11/03/2023            Reimbursement of business
ADDRESS ON FILE                  former Chief Executive Officer;                                                      expenses
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 11/03/2023             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 11/03/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 158.65 11/03/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 5,384.62 11/03/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 11/03/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 146.16 11/03/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 4,230.77 11/03/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 92.98 11/03/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 158.65 11/03/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 5,384.62 11/03/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 11/03/2023            Benefits
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 11/03/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                        $ 6,250.00 11/03/2023             Salary
ADDRESS ON FILE                  Officer

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 11/03/2023            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 158.65 11/03/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344

                                                                      Page 48 of 205
                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 970 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 6,153.85 11/03/2023             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 11/03/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 11/03/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 4,807.69 11/03/2023             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 11/03/2023            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 11/03/2023             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 11/03/2023            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 1,617.23 11/03/2023             Car allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,769.23 11/03/2023             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 11/03/2023             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 11/03/2023             Severance
ADDRESS ON FILE                  Development & International

RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,074.16 11/06/2023             Reimbursement of business
450 S ORANGE AVE STE 800         director/manager of affiliate                                                        expenses
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                     $ 2,190.82 11/07/2023             Reimbursement of business
ADDRESS ON FILE                                                                                                       expenses

DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 11/10/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 11/10/2023             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 11/10/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 158.65 11/10/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 5,384.62 11/10/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 11/10/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 131.73 11/10/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


HERON, TONYA T                   VP, Division General Counsel                          $ 240.00 11/10/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 4,230.77 11/10/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 92.98 11/10/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 158.65 11/10/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 5,384.62 11/10/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 11/10/2023            Benefits
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 11/10/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                        $ 6,250.00 11/10/2023             Salary
ADDRESS ON FILE                  Officer

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 11/10/2023            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 158.65 11/10/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 240.00 11/10/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 6,153.85 11/10/2023             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 11/10/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 11/10/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 4,807.69 11/10/2023             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 11/10/2023            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 11/10/2023             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 11/10/2023            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,769.23 11/10/2023             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 11/10/2023             Severance
ADDRESS ON FILE


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                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 972 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 11/10/2023             Severance
ADDRESS ON FILE                  Development & International

TAPANYA, TRIN                    Former Chief Operating Officer                         $ 96.76 11/14/2023            Reimbursement of business
ADDRESS ON FILE                                                                                                       expenses

TAPANYA, TRIN                    Former Chief Operating Officer                        $ 825.60 11/15/2023            Reimbursement of business
ADDRESS ON FILE                                                                                                       expenses

DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 11/17/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                         $ 75.00 11/17/2023            Phone allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 11/17/2023             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 11/17/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 158.65 11/17/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 5,384.62 11/17/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 11/17/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 131.73 11/17/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                           $ 75.00 11/17/2023            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 4,230.77 11/17/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 92.98 11/17/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 158.65 11/17/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 5,384.62 11/17/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 11/17/2023            Benefits
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 11/17/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                            $ 75.00 11/17/2023            Phone allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                        $ 6,250.00 11/17/2023             Salary
ADDRESS ON FILE                  Officer


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                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 973 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 11/17/2023            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 158.65 11/17/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                             $ 75.00 11/17/2023            Phone allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 6,153.85 11/17/2023             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 11/17/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 11/17/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 240.00 11/17/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 4,807.69 11/17/2023             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 11/17/2023            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                             $ 75.00 11/17/2023            Phone allowance
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 11/17/2023             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 11/17/2023            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                         $ 75.00 11/17/2023            Phone allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,769.23 11/17/2023             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 11/17/2023             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 11/17/2023             Severance
ADDRESS ON FILE                  Development & International

DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 11/24/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 119.23 11/24/2023            Car allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 11/24/2023             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 11/24/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 974 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


HARRS, SHAWN                     Chief Information Officer                             $ 158.65 11/24/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                              $ 75.00 11/24/2023            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 240.00 11/24/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 5,384.62 11/24/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 11/24/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 131.73 11/24/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 4,230.77 11/24/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 92.98 11/24/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 158.65 11/24/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 75.00 11/24/2023            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 240.00 11/24/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 5,384.62 11/24/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 11/24/2023            Benefits
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 11/24/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 240.00 11/24/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                        $ 6,250.00 11/24/2023             Salary
ADDRESS ON FILE                  Officer

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 11/24/2023            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 158.65 11/24/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 6,153.85 11/24/2023             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 11/24/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 11/24/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                        $ 75.00 11/24/2023            Phone allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 4,807.69 11/24/2023             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 11/24/2023            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 11/24/2023             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 11/24/2023            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                        $ 240.00 11/24/2023            Car allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,769.23 11/24/2023             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 11/24/2023             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 11/24/2023             Severance
ADDRESS ON FILE                  Development & International

HARRS, SHAWN                     Chief Information Officer                             $ 939.82 11/30/2023            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                              $ 46.86 11/30/2023            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                        $ 24.42 11/30/2023            Reimbursement of business
450 S ORANGE AVE STE 800         Chief Financial Officer                                                              expenses
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                     $ 3,255.14 11/30/2023             Reimbursement of business
ADDRESS ON FILE                                                                                                       expenses

DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 12/01/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 586.90 12/01/2023            Car allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 600.00 12/01/2023            Dining card allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 12/01/2023             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 12/01/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 158.65 12/01/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


HARRS, SHAWN                     Chief Information Officer                             $ 600.00 12/01/2023            Dining card allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 5,384.62 12/01/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 12/01/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 131.73 12/01/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 600.00 12/01/2023            Dining card allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 4,230.77 12/01/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
KENNY, PAUL                      Former Interim Chief Executive                    $ 11,510.48 12/01/2023             Reimbursement of business
ADDRESS ON FILE                  Officer; former                                                                      expenses
                                 director/manager of affiliate
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 92.98 12/01/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 158.65 12/01/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 600.00 12/01/2023            Dining card allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 5,384.62 12/01/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 12/01/2023            Benefits
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 12/01/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 600.00 12/01/2023            Dining card allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                     $ 144,002.50 12/01/2023              Retention payment
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                        $ 6,250.00 12/01/2023             Salary
ADDRESS ON FILE                  Officer

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 12/01/2023            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 158.65 12/01/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 6,153.85 12/01/2023             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 12/01/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 12/01/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 600.00 12/01/2023            Dining card allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 4,807.69 12/01/2023             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 12/01/2023            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 12/01/2023             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 12/01/2023            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 1,617.23 12/01/2023             Car allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                        $ 600.00 12/01/2023            Dining card allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,769.23 12/01/2023             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 12/01/2023             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 12/01/2023             Severance
ADDRESS ON FILE                  Development & International

KENNY, PAUL                      Former Interim Chief Executive                  $ 346,841.00 12/06/2023              Director fees
ADDRESS ON FILE                  Officer; former
                                 director/manager of affiliate
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 12/08/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 12/08/2023             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 12/08/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 158.65 12/08/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 5,384.62 12/08/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 12/08/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 131.73 12/08/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 240.00 12/08/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


HERON, TONYA T                   VP, Division General Counsel                       $ 4,230.77 12/08/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 92.98 12/08/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 158.65 12/08/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 5,384.62 12/08/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 12/08/2023            Benefits
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 12/08/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                        $ 6,250.00 12/08/2023             Salary
ADDRESS ON FILE                  Officer

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 12/08/2023            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 158.65 12/08/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 240.00 12/08/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 6,153.85 12/08/2023             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 12/08/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 12/08/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 4,807.69 12/08/2023             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 12/08/2023            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 12/08/2023             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 12/08/2023            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,769.23 12/08/2023             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 12/08/2023             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 12/08/2023             Severance
ADDRESS ON FILE                  Development & International


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


DAWSON III, HORACE G             Director/manager of affiliate;                        $ 143.75 12/11/2023            Reimbursement of business
ADDRESS ON FILE                  former Chief Executive Officer;                                                      expenses
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 809.75 12/11/2023            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 1,809.57 12/12/2023             Reimbursement of business
450 S ORANGE AVE STE 800         Officer                                                                              expenses
ORLANDO, FL 32801-3344
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 12/15/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                         $ 75.00 12/15/2023            Phone allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 12/15/2023             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 12/15/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 158.65 12/15/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 5,384.62 12/15/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 12/15/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 131.73 12/15/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 4,230.77 12/15/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 92.98 12/15/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 158.65 12/15/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 5,384.62 12/15/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 12/15/2023            Benefits
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 12/15/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                            $ 75.00 12/15/2023            Phone allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                        $ 6,250.00 12/15/2023             Salary
ADDRESS ON FILE                  Officer

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 12/15/2023            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 158.65 12/15/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 600.00 12/15/2023            Dining card allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 6,153.85 12/15/2023             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 12/15/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 12/15/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 240.00 12/15/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 4,807.69 12/15/2023             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 12/15/2023            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 12/15/2023             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 12/15/2023            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                         $ 75.00 12/15/2023            Phone allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,769.23 12/15/2023             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 12/15/2023             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 12/15/2023             Severance
ADDRESS ON FILE                  Development & International

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 4,655.22 12/18/2023             Reimbursement of business
ADDRESS ON FILE                                                                                                       expenses

DAWSON III, HORACE G             Director/manager of affiliate;                         $ 46.14 12/21/2023            Reimbursement of business
ADDRESS ON FILE                  former Chief Executive Officer;                                                      expenses
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                              $ 46.86 12/21/2023            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
BLANCHETTE, RAY                  Former Interim Chief                              $ 52,126.38 12/22/2023             Contractor fees and expenses
ADDRESS ON FILE                  Transformation Officer

DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 12/22/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 12/22/2023             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


HARRS, SHAWN                     Chief Information Officer                            $ 112.44 12/22/2023             Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                            $ 158.65 12/22/2023             Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                            $ 240.00 12/22/2023             Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 5,384.62 12/22/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                         $ 356.99 12/22/2023             Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                         $ 131.73 12/22/2023             Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 75.00 12/22/2023             Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 4,230.77 12/22/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 92.98 12/22/2023             Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                           $ 158.65 12/22/2023             Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                           $ 240.00 12/22/2023             Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 5,384.62 12/22/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                          $ 389.28 12/22/2023             Benefits
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                          $ 225.96 12/22/2023             Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                          $ 240.00 12/22/2023             Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                        $ 6,250.00 12/22/2023             Salary
ADDRESS ON FILE                  Officer

PAVEL, SUSAN K                   EVP, Chief Human Resources                           $ 134.15 12/22/2023             Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                           $ 158.65 12/22/2023             Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 75.00 12/22/2023             Phone allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 6,153.85 12/22/2023             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 12/22/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 12/22/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 6,730.77 12/22/2023             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 12/22/2023            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                             $ 75.00 12/22/2023            Phone allowance
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 12/22/2023             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
STAMM, ROBERT                    Former Chief Development &                        $ 64,092.46 12/22/2023             Deferred compensation
ADDRESS ON FILE                  Facilities Officer

TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 12/22/2023            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                        $ 240.00 12/22/2023            Car allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,769.23 12/22/2023             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 6,333.14 12/22/2023             Deferred compensation
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 12/22/2023             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                             $ 417,614.39 12/22/2023              Deferred compensation
ADDRESS ON FILE                  Development & International

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 12/22/2023             Severance
ADDRESS ON FILE                  Development & International

HIRSH, LAWRENCE R                Director                                          $ 50,000.00 12/28/2023             Director fees
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 693.94 12/29/2023            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                         $ 62.32 12/29/2023            Car allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 12/29/2023             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 12/29/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 158.65 12/29/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


HARRS, SHAWN                     Chief Information Officer                              $ 75.00 12/29/2023            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 5,384.62 12/29/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 12/29/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 131.73 12/29/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 4,230.77 12/29/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 92.98 12/29/2023            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 158.65 12/29/2023            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 75.00 12/29/2023            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 5,384.62 12/29/2023             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 12/29/2023            Benefits
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 12/29/2023            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                        $ 6,250.00 12/29/2023             Salary
ADDRESS ON FILE                  Officer

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 12/29/2023            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 158.65 12/29/2023            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 6,153.85 12/29/2023             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 12/29/2023            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 12/29/2023            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                        $ 75.00 12/29/2023            Phone allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 6,730.77 12/29/2023             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 12/29/2023            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 12/29/2023             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 12/29/2023            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,769.23 12/29/2023             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 12/29/2023             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 12/29/2023             Severance
ADDRESS ON FILE                  Development & International

HARRS, SHAWN                     Chief Information Officer                              $ 63.00 01/01/2024            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                        $ 799.77 01/01/2024            Reimbursement of business
ADDRESS ON FILE                                                                                                       expenses

DAWSON III, HORACE G             Director/manager of affiliate;                        $ 958.29 01/05/2024            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 586.90 01/05/2024            Car allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 01/05/2024             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 112.44 01/05/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 158.65 01/05/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 5,384.62 01/05/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 356.99 01/05/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 131.73 01/05/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 240.00 01/05/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 4,230.77 01/05/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 138.50 01/05/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 158.65 01/05/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 5,384.62 01/05/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 389.28 01/05/2024            Benefits
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 225.96 01/05/2024            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                        $ 6,250.00 01/05/2024             Salary
ADDRESS ON FILE                  Officer

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 134.15 01/05/2024            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 158.65 01/05/2024            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 240.00 01/05/2024            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 6,153.85 01/05/2024             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 168.24 01/05/2024            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 131.73 01/05/2024            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 6,730.77 01/05/2024             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 01/05/2024            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 01/05/2024             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                        $ 158.35 01/05/2024            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 1,617.23 01/05/2024             Car allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,769.23 01/05/2024             Salary
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                        $ 183.01 01/05/2024            Car allowance
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 01/05/2024             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 01/05/2024             Severance
ADDRESS ON FILE                  Development & International

BLANCHETTE, RAY                  Former Interim Chief                              $ 54,585.66 01/10/2024             Contractor fees and expenses
ADDRESS ON FILE                  Transformation Officer

DAWSON III, HORACE G             Director/manager of affiliate;                        $ 961.22 01/12/2024            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


DAWSON III, HORACE G             Director/manager of affiliate;                  $ 375,000.00 01/12/2024              Retention payment
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 01/12/2024             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 219.67 01/12/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 158.65 01/12/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                              $ 50.00 01/12/2024            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                       $ 131,000.00 01/12/2024              Retention payment
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 5,384.62 01/12/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 375.43 01/12/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 131.73 01/12/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 4,230.77 01/12/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 158.35 01/12/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 158.65 01/12/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                      $ 131,000.00 01/12/2024              Retention payment
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 5,384.62 01/12/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 181.01 01/12/2024            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 158.65 01/12/2024            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                      $ 149,000.00 01/12/2024              Retention payment
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 6,153.85 01/12/2024             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 189.04 01/12/2024            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 200.97 01/12/2024            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 240.00 01/12/2024            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                 $ 150,000.00 01/12/2024              Retention payment
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 6,730.77 01/12/2024             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 01/12/2024            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 01/12/2024             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                        $ 185.05 01/12/2024            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                    $ 70,000.00 01/12/2024             Retention payment
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,769.23 01/12/2024             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 01/12/2024             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 01/12/2024             Severance
ADDRESS ON FILE                  Development & International

HERON, TONYA T                   VP, Division General Counsel                          $ 250.00 01/15/2024            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                        $ 274.02 01/17/2024            Reimbursement of business
ADDRESS ON FILE                                                                                                       expenses

PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 256.47 01/18/2024            Reimbursement of business
450 S ORANGE AVE STE 800         Chief Financial Officer                                                              expenses
ORLANDO, FL 32801-3344
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 961.22 01/19/2024            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                         $ 75.00 01/19/2024            Phone allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 01/19/2024             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 219.67 01/19/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 158.65 01/19/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 240.00 01/19/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 5,384.62 01/19/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


HERON, TONYA T                   VP, Division General Counsel                          $ 375.43 01/19/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 131.73 01/19/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                           $ 75.00 01/19/2024            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                      $ 24,723.00 01/19/2024             Retention payment
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 4,230.77 01/19/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HIRSH, LAWRENCE R                Director                                          $ 35,000.00 01/19/2024             Director fees
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 160.98 01/19/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 158.65 01/19/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 240.00 01/19/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 5,384.62 01/19/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                            $ 75.00 01/19/2024            Phone allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                           $ 240.00 01/19/2024            Car allowance
ADDRESS ON FILE                  Officer

MCCLAIN, PHILIP B                Former EVP, Chief Financial                       $ 31,250.00 01/19/2024             Unused vacation
ADDRESS ON FILE                  Officer

PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 181.01 01/19/2024            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 158.65 01/19/2024            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                             $ 75.00 01/19/2024            Phone allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 6,153.85 01/19/2024             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 190.35 01/19/2024            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 149.04 01/19/2024            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 6,730.77 01/19/2024             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


RIVERA, NORMA                    Senior Manager, Licensing;                            $ 169.62 01/19/2024            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                             $ 75.00 01/19/2024            Phone allowance
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 01/19/2024             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                        $ 185.05 01/19/2024            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                         $ 75.00 01/19/2024            Phone allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                        $ 240.00 01/19/2024            Car allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,769.23 01/19/2024             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 01/19/2024             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 01/19/2024             Severance
ADDRESS ON FILE                  Development & International

DAWSON III, HORACE G             Director/manager of affiliate;                     $ 1,147.71 01/24/2024             Reimbursement of business
ADDRESS ON FILE                  former Chief Executive Officer;                                                      expenses
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 961.22 01/26/2024            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                         $ 35.69 01/26/2024            Car allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 01/26/2024             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 219.67 01/26/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 158.65 01/26/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                              $ 75.00 01/26/2024            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 5,384.62 01/26/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 375.43 01/26/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 131.73 01/26/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 4,230.77 01/26/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 160.98 01/26/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 158.65 01/26/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 75.00 01/26/2024            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 5,384.62 01/26/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 181.01 01/26/2024            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 158.65 01/26/2024            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 6,153.85 01/26/2024             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 190.35 01/26/2024            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 149.04 01/26/2024            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                        $ 75.00 01/26/2024            Phone allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 6,730.77 01/26/2024             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 178.07 01/26/2024            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 01/26/2024             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                        $ 185.05 01/26/2024            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,769.23 01/26/2024             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 01/26/2024             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 01/26/2024             Severance
ADDRESS ON FILE                  Development & International

DAWSON III, HORACE G             Director/manager of affiliate;                        $ 427.10 01/30/2024            Reimbursement of business
ADDRESS ON FILE                  former Chief Executive Officer;                                                      expenses
                                 former EVP, General Counsel
BITTORF, SARA                    Chief Experience Officer                        $ 100,000.00 02/02/2024              Sign-on payment
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 961.22 02/02/2024            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel

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                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 991 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


DAWSON III, HORACE G             Director/manager of affiliate;                        $ 586.90 02/02/2024            Car allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 02/02/2024             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 219.67 02/02/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 158.65 02/02/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 5,384.62 02/02/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 375.43 02/02/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 131.73 02/02/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 240.00 02/02/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 4,230.77 02/02/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 160.98 02/02/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 158.65 02/02/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 5,384.62 02/02/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 181.01 02/02/2024            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 158.65 02/02/2024            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 240.00 02/02/2024            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 6,153.85 02/02/2024             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 190.35 02/02/2024            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 149.04 02/02/2024            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 6,730.77 02/02/2024             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 178.07 02/02/2024            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344

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                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 992 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 02/02/2024             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                        $ 185.05 02/02/2024            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 1,617.23 02/02/2024             Car allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,769.23 02/02/2024             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 02/02/2024             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                   $ 351.82 02/02/2024            Deferred compensation
ADDRESS ON FILE                  Development & International

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 02/02/2024             Severance
ADDRESS ON FILE                  Development & International

DAWSON III, HORACE G             Director/manager of affiliate;                     $ 2,153.24 02/05/2024             Reimbursement of business
ADDRESS ON FILE                  former Chief Executive Officer;                                                      expenses
                                 former EVP, General Counsel
TAPANYA, TRIN                    Former Chief Operating Officer                     $ 1,235.23 02/05/2024             Reimbursement of business
ADDRESS ON FILE                                                                                                       expenses

BITTORF, SARA                    Chief Experience Officer                              $ 504.61 02/07/2024            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
BARTELS, PATRICK                 Director/manager of affiliate                     $ 50,000.00 02/09/2024             Director fees
ADDRESS ON FILE

BITTORF, SARA                    Chief Experience Officer                           $ 7,692.31 02/09/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BLANCHETTE, RAY                  Former Interim Chief                              $ 54,726.86 02/09/2024             Contractor fees and expenses
ADDRESS ON FILE                  Transformation Officer

DAWSON III, HORACE G             Director/manager of affiliate;                        $ 961.22 02/09/2024            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 02/09/2024             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 219.67 02/09/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 158.65 02/09/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 5,384.62 02/09/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 375.43 02/09/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 131.73 02/09/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 993 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


HERON, TONYA T                   VP, Division General Counsel                       $ 4,230.77 02/09/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 160.98 02/09/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 158.65 02/09/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 5,384.62 02/09/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 181.01 02/09/2024            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 158.65 02/09/2024            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 6,153.85 02/09/2024             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 190.35 02/09/2024            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 149.04 02/09/2024            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 240.00 02/09/2024            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                        $ 20.00 02/09/2024            Reimbursement of business
450 S ORANGE AVE STE 800         Chief Financial Officer                                                              expenses
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 6,730.77 02/09/2024             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 178.07 02/09/2024            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 02/09/2024             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                        $ 185.05 02/09/2024            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,769.23 02/09/2024             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 02/09/2024             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 02/09/2024             Severance
ADDRESS ON FILE                  Development & International

BITTORF, SARA                    Chief Experience Officer                           $ 7,692.31 02/16/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 961.22 02/16/2024            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel

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                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 994 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


DAWSON III, HORACE G             Director/manager of affiliate;                         $ 75.00 02/16/2024            Phone allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 02/16/2024             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 219.67 02/16/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 158.65 02/16/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 240.00 02/16/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 5,384.62 02/16/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 375.43 02/16/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 131.73 02/16/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                           $ 75.00 02/16/2024            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 4,230.77 02/16/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 160.98 02/16/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 158.65 02/16/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 240.00 02/16/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 5,384.62 02/16/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 181.01 02/16/2024            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 158.65 02/16/2024            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                             $ 75.00 02/16/2024            Phone allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 6,153.85 02/16/2024             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 190.35 02/16/2024            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 149.04 02/16/2024            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 6,730.77 02/16/2024             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 178.07 02/16/2024            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                             $ 75.00 02/16/2024            Phone allowance
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 02/16/2024             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                        $ 185.05 02/16/2024            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                         $ 75.00 02/16/2024            Phone allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                        $ 240.00 02/16/2024            Car allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,769.23 02/16/2024             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 02/16/2024             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 02/16/2024             Severance
ADDRESS ON FILE                  Development & International

HARRS, SHAWN                     Chief Information Officer                             $ 825.70 02/21/2024            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
HIRSH, LAWRENCE R                Director                                          $ 35,000.00 02/22/2024             Director fees
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HIRSH, LAWRENCE R                Director                                              $ 455.00 02/22/2024            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                              $ 496.27 02/23/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                              $ 158.65 02/23/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                           $ 7,692.31 02/23/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 961.22 02/23/2024            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                         $ 87.90 02/23/2024            Car allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 02/23/2024             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 219.67 02/23/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 996 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


HARRS, SHAWN                     Chief Information Officer                             $ 158.65 02/23/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                              $ 75.00 02/23/2024            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 5,384.62 02/23/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 375.43 02/23/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 131.73 02/23/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 4,230.77 02/23/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 160.98 02/23/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 158.65 02/23/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 75.00 02/23/2024            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 5,384.62 02/23/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MEDLEY, STEPHANIE B              Chief Financial Officer; former                   $ 22,500.00 02/23/2024             Contractor fees and expenses
450 S ORANGE AVE STE 800         Interim Chief Financial Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 181.01 02/23/2024            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 158.65 02/23/2024            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 6,153.85 02/23/2024             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 190.35 02/23/2024            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 149.04 02/23/2024            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                        $ 75.00 02/23/2024            Phone allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 6,730.77 02/23/2024             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 178.07 02/23/2024            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 02/23/2024             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


TAPANYA, TRIN                    Former Chief Operating Officer                        $ 185.05 02/23/2024            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,769.23 02/23/2024             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 02/23/2024             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 02/23/2024             Severance
ADDRESS ON FILE                  Development & International

MEDLEY, STEPHANIE B              Chief Financial Officer; former                   $ 16,500.00 02/29/2024             Contractor fees and expenses
450 S ORANGE AVE STE 800         Interim Chief Financial Officer
ORLANDO, FL 32801-3344
MEDLEY, STEPHANIE B              Chief Financial Officer; former                   $ 22,500.00 02/29/2024             Contractor fees and expenses
450 S ORANGE AVE STE 800         Interim Chief Financial Officer
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                              $ 496.27 03/01/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                              $ 158.65 03/01/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                              $ 600.00 03/01/2024            Dining card allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                              $ 240.00 03/01/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                           $ 7,692.31 03/01/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 961.22 03/01/2024            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 586.90 03/01/2024            Car allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 03/01/2024             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 219.67 03/01/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 158.65 03/01/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 5,384.62 03/01/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 375.43 03/01/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 131.73 03/01/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 240.00 03/01/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 998 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


HERON, TONYA T                   VP, Division General Counsel                       $ 4,230.77 03/01/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 160.98 03/01/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 158.65 03/01/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 5,384.62 03/01/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 181.01 03/01/2024            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 158.65 03/01/2024            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 240.00 03/01/2024            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 6,153.85 03/01/2024             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 190.35 03/01/2024            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 149.04 03/01/2024            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 6,730.77 03/01/2024             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 178.07 03/01/2024            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 03/01/2024             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                        $ 185.05 03/01/2024            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 1,617.23 03/01/2024             Car allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,769.23 03/01/2024             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 03/01/2024             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 03/01/2024             Severance
ADDRESS ON FILE                  Development & International

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,594.00 03/05/2024             Reimbursement of business
ADDRESS ON FILE                                                                                                       expenses

BITTORF, SARA                    Chief Experience Officer                           $ 1,209.70 03/06/2024             Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344

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                     Case 6:24-bk-02486-GER                        Doc 435      Filed 06/21/24           Page 999 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


BITTORF, SARA                    Chief Experience Officer                              $ 815.66 03/06/2024            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
BARTELS, PATRICK                 Director/manager of affiliate                     $ 50,000.00 03/07/2024             Director fees
ADDRESS ON FILE

HARRS, SHAWN                     Chief Information Officer                          $ 1,567.89 03/07/2024             Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
KENNY, PAUL                      Former Interim Chief Executive                    $ 12,742.57 03/07/2024             Reimbursement of business
ADDRESS ON FILE                  Officer; former                                                                      expenses
                                 director/manager of affiliate
BITTORF, SARA                    Chief Experience Officer                              $ 496.27 03/08/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                              $ 158.65 03/08/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                           $ 1,800.00 03/08/2024             Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                           $ 7,692.31 03/08/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
DASHIELL, JO ANN                 Director/manager of affiliate                      $ 2,500.00 03/08/2024             Director fees
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 961.22 03/08/2024            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                     $ 1,800.00 03/08/2024             Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 03/08/2024             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 219.67 03/08/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 158.65 03/08/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 5,384.62 03/08/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 375.43 03/08/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 131.73 03/08/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 4,230.77 03/08/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 160.98 03/08/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 158.65 03/08/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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                    Case 6:24-bk-02486-GER                       Doc 435       Filed 06/21/24           Page 1000 of 1148
Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 5,384.62 03/08/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 181.01 03/08/2024            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 158.65 03/08/2024            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 6,153.85 03/08/2024             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEÑA, CARLOS                     Director/manager of affiliate                      $ 3,500.00 03/08/2024             Director fees
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 190.35 03/08/2024            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 149.04 03/08/2024            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 240.00 03/08/2024            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 6,730.77 03/08/2024             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 178.07 03/08/2024            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 03/08/2024             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                        $ 185.05 03/08/2024            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                        $ 369.00 03/08/2024            Car allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,769.23 03/08/2024             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 03/08/2024             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 03/08/2024             Severance
ADDRESS ON FILE                  Development & International

BLANCHETTE, RAY                  Former Interim Chief                              $ 53,865.18 03/11/2024             Contractor fees and expenses
ADDRESS ON FILE                  Transformation Officer

FARREN, MIRANDA M                Director/manager of affiliate                      $ 1,500.00 03/11/2024             Director fees
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
GREENBERG, MICHAEL A             Director/manager of affiliate                      $ 2,500.00 03/11/2024             Director fees
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HIRSH, LAWRENCE R                Director                                          $ 35,000.00 03/13/2024             Director fees
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


BITTORF, SARA                    Chief Experience Officer                              $ 496.27 03/15/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                              $ 158.65 03/15/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                           $ 7,692.31 03/15/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BLANCHETTE, RAY                  Former Interim Chief                            $ 150,000.00 03/15/2024              Contractor fees and expenses
ADDRESS ON FILE                  Transformation Officer

DAWSON III, HORACE G             Director/manager of affiliate;                        $ 961.22 03/15/2024            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                         $ 75.00 03/15/2024            Phone allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 03/15/2024             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 219.67 03/15/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 158.65 03/15/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 240.00 03/15/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 5,384.62 03/15/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 375.43 03/15/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 131.73 03/15/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 4,230.77 03/15/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 160.98 03/15/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 158.65 03/15/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 240.00 03/15/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 5,384.62 03/15/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 181.01 03/15/2024            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 158.65 03/15/2024            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor             Total Amount or Value       Dates                 Reason for Payment or Transfer


PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 6,153.85 03/15/2024             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                        $ 190.35 03/15/2024           Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                        $ 149.04 03/15/2024           Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 6,730.77 03/15/2024             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                             $ 178.07 03/15/2024           Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 03/15/2024             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                         $ 185.05 03/15/2024           Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                         $ 369.00 03/15/2024           Car allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                          $ 75.00 03/15/2024           Phone allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                         $ 240.00 03/15/2024           Car allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,769.23 03/15/2024             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 03/15/2024             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 03/15/2024             Severance
ADDRESS ON FILE                  Development & International

LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 3,609.59 03/19/2024             Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
MEDLEY, STEPHANIE B              Chief Financial Officer; former                   $ 31,759.16 03/20/2024             Contractor fees and expenses
450 S ORANGE AVE STE 800         Interim Chief Financial Officer
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                               $ 496.27 03/22/2024           Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                               $ 158.65 03/22/2024           Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                                $ 75.00 03/22/2024           Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                           $ 7,692.31 03/22/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
DAWSON III, HORACE G             Director/manager of affiliate;                         $ 961.22 03/22/2024           Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 03/22/2024             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 219.67 03/22/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 158.65 03/22/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 5,384.62 03/22/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 375.43 03/22/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 131.73 03/22/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                           $ 75.00 03/22/2024            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 4,230.77 03/22/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 160.98 03/22/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 158.65 03/22/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 5,384.62 03/22/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 181.01 03/22/2024            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 158.65 03/22/2024            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                             $ 75.00 03/22/2024            Phone allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 6,153.85 03/22/2024             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 190.35 03/22/2024            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 149.04 03/22/2024            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 6,730.77 03/22/2024             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 178.07 03/22/2024            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                             $ 75.00 03/22/2024            Phone allowance
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 03/22/2024             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                        $ 185.05 03/22/2024            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                        $ 369.00 03/22/2024            Car allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,769.23 03/22/2024             Salary
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 03/22/2024             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 03/22/2024             Severance
ADDRESS ON FILE                  Development & International

BITTORF, SARA                    Chief Experience Officer                              $ 496.27 03/29/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                              $ 158.65 03/29/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                              $ 240.00 03/29/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                           $ 7,692.31 03/29/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 961.22 03/29/2024            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                     $ 2,835.00 03/29/2024             Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                         $ 73.17 03/29/2024            Car allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 03/29/2024             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 219.67 03/29/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 158.65 03/29/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                              $ 75.00 03/29/2024            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 5,384.62 03/29/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 375.43 03/29/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 131.73 03/29/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


HERON, TONYA T                   VP, Division General Counsel                          $ 240.00 03/29/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 4,230.77 03/29/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 160.98 03/29/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 158.65 03/29/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 75.00 03/29/2024            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 5,384.62 03/29/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 181.01 03/29/2024            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 158.65 03/29/2024            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 240.00 03/29/2024            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 6,153.85 03/29/2024             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 190.35 03/29/2024            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 149.04 03/29/2024            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                        $ 75.00 03/29/2024            Phone allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 6,730.77 03/29/2024             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 178.07 03/29/2024            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 03/29/2024             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                        $ 185.05 03/29/2024            Benefits
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                        $ 369.00 03/29/2024            Car allowance
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                     $ 5,769.23 03/29/2024             Salary
ADDRESS ON FILE

TAPANYA, TRIN                    Former Chief Operating Officer                    $ 61,382.30 03/29/2024             Severance
ADDRESS ON FILE


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


TAPANYA, TRIN                    Former Chief Operating Officer                    $ 40,384.62 03/29/2024             Unused vacation
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 03/29/2024             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                               $ 11,045.60 03/29/2024             Deferred compensation
ADDRESS ON FILE                  Development & International

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 03/29/2024             Severance
ADDRESS ON FILE                  Development & International

BITTORF, SARA                    Chief Experience Officer                              $ 496.27 04/05/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                              $ 158.65 04/05/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                           $ 3,890.13 04/05/2024             Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                           $ 7,692.31 04/05/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 961.22 04/05/2024            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 586.90 04/05/2024            Car allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 04/05/2024             Salary
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                  $ 300,000.00 04/05/2024              Severance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 219.67 04/05/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 158.65 04/05/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 600.00 04/05/2024            Dining card allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 3,028.87 04/05/2024             Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 639.27 04/05/2024            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 5,384.62 04/05/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 375.43 04/05/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 131.73 04/05/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor             Total Amount or Value       Dates                 Reason for Payment or Transfer


HERON, TONYA T                   VP, Division General Counsel                           $ 600.00 04/05/2024           Dining card allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 4,230.77 04/05/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 160.98 04/05/2024           Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 158.65 04/05/2024           Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 600.00 04/05/2024           Dining card allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 5,384.62 04/05/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                             $ 181.01 04/05/2024           Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                             $ 158.65 04/05/2024           Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 6,153.85 04/05/2024             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                        $ 190.35 04/05/2024           Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                        $ 149.04 04/05/2024           Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                        $ 600.00 04/05/2024           Dining card allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                        $ 240.00 04/05/2024           Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 6,730.77 04/05/2024             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                             $ 178.07 04/05/2024           Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 04/05/2024             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                         $ 600.00 04/05/2024           Dining card allowance
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 04/05/2024             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 04/05/2024             Severance
ADDRESS ON FILE                  Development & International

MEDLEY, STEPHANIE B              Chief Financial Officer; former                   $ 27,737.54 04/08/2024             Contractor fees and expenses
450 S ORANGE AVE STE 800         Interim Chief Financial Officer
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


BITTORF, SARA                    Chief Experience Officer                               $ 48.61 04/11/2024            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 249.73 04/11/2024            Reimbursement of business
450 S ORANGE AVE STE 800         Officer                                                                              expenses
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                              $ 496.27 04/12/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                              $ 158.65 04/12/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                           $ 7,692.31 04/12/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
DAWSON III, HORACE G             Director/manager of affiliate;                        $ 961.22 04/12/2024            Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 04/12/2024             Severance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                   $ 115,384.62 04/12/2024             Unused vacation
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 219.67 04/12/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 158.65 04/12/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 240.00 04/12/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 5,384.62 04/12/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 375.43 04/12/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 131.73 04/12/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                      $ 24,723.00 04/12/2024             Retention payment
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 4,230.77 04/12/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 158.65 04/12/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 240.00 04/12/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 5,384.62 04/12/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MCCLAIN, PHILIP B                Former EVP, Chief Financial                       $ 16,886.34 04/12/2024             Deferred compensation
ADDRESS ON FILE                  Officer


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor             Total Amount or Value       Dates                 Reason for Payment or Transfer


MEDLEY, STEPHANIE B              Chief Financial Officer; former                   $ 25,973.41 04/12/2024             Contractor fees and expenses
450 S ORANGE AVE STE 800         Interim Chief Financial Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                             $ 181.01 04/12/2024           Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                             $ 158.65 04/12/2024           Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 6,153.85 04/12/2024             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                        $ 190.35 04/12/2024           Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                        $ 149.04 04/12/2024           Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 6,730.77 04/12/2024             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                             $ 178.07 04/12/2024           Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 04/12/2024             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TAPANYA, TRIN                    Former Chief Operating Officer                         $ 240.00 04/12/2024           Car allowance
ADDRESS ON FILE

TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 04/12/2024             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 04/12/2024             Severance
ADDRESS ON FILE                  Development & International

BITTORF, SARA                    Chief Experience Officer                               $ 496.27 04/19/2024           Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                               $ 158.65 04/19/2024           Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                                $ 75.00 04/19/2024           Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                           $ 7,692.31 04/19/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
DAWSON III, HORACE G             Director/manager of affiliate;                         $ 961.22 04/19/2024           Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                          $ 75.00 04/19/2024           Phone allowance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 04/19/2024             Severance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                              $ 219.67 04/19/2024           Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


HARRS, SHAWN                     Chief Information Officer                             $ 158.65 04/19/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 1,406.26 04/19/2024             Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 5,384.62 04/19/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 375.43 04/19/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 131.73 04/19/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                           $ 75.00 04/19/2024            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 4,230.77 04/19/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 160.98 04/19/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 158.65 04/19/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 3,407.50 04/19/2024             Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 5,384.62 04/19/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 181.01 04/19/2024            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 158.65 04/19/2024            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                             $ 75.00 04/19/2024            Phone allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 600.00 04/19/2024            Dining card allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 6,153.85 04/19/2024             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 190.35 04/19/2024            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 149.04 04/19/2024            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 6,730.77 04/19/2024             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 178.07 04/19/2024            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor             Total Amount or Value       Dates                 Reason for Payment or Transfer


RIVERA, NORMA                    Senior Manager, Licensing;                              $ 75.00 04/19/2024           Phone allowance
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 04/19/2024             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 04/19/2024             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 04/19/2024             Severance
ADDRESS ON FILE                  Development & International

HIRSH, LAWRENCE R                Director                                          $ 35,000.00 04/22/2024             Director fees
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MEDLEY, STEPHANIE B              Chief Financial Officer; former                   $ 24,366.43 04/23/2024             Contractor fees and expenses
450 S ORANGE AVE STE 800         Interim Chief Financial Officer
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                               $ 496.27 04/26/2024           Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                               $ 158.65 04/26/2024           Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                               $ 240.00 04/26/2024           Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                           $ 7,692.31 04/26/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
DAWSON III, HORACE G             Director/manager of affiliate;                         $ 961.22 04/26/2024           Benefits
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 04/26/2024             Severance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                              $ 219.67 04/26/2024           Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                              $ 158.65 04/26/2024           Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                               $ 75.00 04/26/2024           Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 5,384.62 04/26/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                           $ 375.43 04/26/2024           Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                           $ 131.73 04/26/2024           Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                           $ 240.00 04/26/2024           Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 4,230.77 04/26/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 158.65 04/26/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 75.00 04/26/2024            Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 5,384.62 04/26/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 181.01 04/26/2024            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 158.65 04/26/2024            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 240.00 04/26/2024            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 6,153.85 04/26/2024             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 190.35 04/26/2024            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 149.04 04/26/2024            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                        $ 75.00 04/26/2024            Phone allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 6,730.77 04/26/2024             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 178.07 04/26/2024            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 04/26/2024             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 04/26/2024             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 04/26/2024             Severance
ADDRESS ON FILE                  Development & International

HARRS, SHAWN                     Chief Information Officer                          $ 1,684.52 05/01/2024             Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 1,884.42 05/01/2024             Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 1,170.61 05/01/2024             Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                              $ 496.27 05/03/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                              $ 158.65 05/03/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


BITTORF, SARA                    Chief Experience Officer                           $ 7,692.31 05/03/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 05/03/2024             Severance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 219.67 05/03/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 158.65 05/03/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 5,384.62 05/03/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 375.43 05/03/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 131.73 05/03/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 4,230.77 05/03/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 160.98 05/03/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 158.65 05/03/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 5,384.62 05/03/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 181.01 05/03/2024            Benefits
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 158.65 05/03/2024            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 6,153.85 05/03/2024             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 190.35 05/03/2024            Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 149.04 05/03/2024            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                       $ 240.00 05/03/2024            Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 6,730.77 05/03/2024             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                            $ 178.07 05/03/2024            Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 05/03/2024             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor            Total Amount or Value        Dates                 Reason for Payment or Transfer


TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 05/03/2024             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 05/03/2024             Severance
ADDRESS ON FILE                  Development & International

BITTORF, SARA                    Chief Experience Officer                              $ 116.53 05/09/2024            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 107.46 05/09/2024            Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                              $ 496.27 05/10/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                              $ 158.65 05/10/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                           $ 7,692.31 05/10/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 05/10/2024             Severance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel
HARRS, SHAWN                     Chief Information Officer                             $ 219.67 05/10/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 158.65 05/10/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                             $ 240.00 05/10/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 5,384.62 05/10/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                          $ 131.73 05/10/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 4,230.77 05/10/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 160.98 05/10/2024            Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 158.65 05/10/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                            $ 240.00 05/10/2024            Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                         $ 5,384.62 05/10/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                            $ 158.65 05/10/2024            Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                         $ 6,153.85 05/10/2024             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor             Total Amount or Value       Dates                 Reason for Payment or Transfer


PEREIRA, MEERA                   SVP, Controller; former Interim                        $ 190.35 05/10/2024           Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                        $ 149.04 05/10/2024           Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                    $ 6,730.77 05/10/2024             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                             $ 178.07 05/10/2024           Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 2,506.27 05/10/2024             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 05/10/2024             Severance
ADDRESS ON FILE

WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 05/10/2024             Severance
ADDRESS ON FILE                  Development & International

HARRS, SHAWN                     Chief Information Officer                              $ 108.86 05/13/2024           Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                          $ 1,856.51 05/13/2024             Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
MEDLEY, STEPHANIE B              Chief Financial Officer; former                    $ 5,089.20 05/14/2024             Contractor fees and expenses
450 S ORANGE AVE STE 800         Interim Chief Financial Officer
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                           $ 1,222.67 05/15/2024             Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                           $ 9,184.39 05/15/2024             Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                              $ 443.60 05/15/2024           Reimbursement of business
450 S ORANGE AVE STE 800                                                                                              expenses
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                               $ 496.27 05/17/2024           Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                               $ 158.65 05/17/2024           Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                                $ 75.00 05/17/2024           Phone allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                           $ 8,000.00 05/17/2024             Incentive compensation
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                           $ 7,692.31 05/17/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
BITTORF, SARA                    Chief Experience Officer                          $ 15,384.62 05/17/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
DAWSON III, HORACE G             Director/manager of affiliate;                    $ 11,538.46 05/17/2024             Severance
ADDRESS ON FILE                  former Chief Executive Officer;
                                 former EVP, General Counsel

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor             Total Amount or Value       Dates                 Reason for Payment or Transfer


HARRS, SHAWN                     Chief Information Officer                              $ 439.34 05/17/2024           Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                              $ 158.65 05/17/2024           Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HARRS, SHAWN                     Chief Information Officer                         $ 10,769.24 05/17/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                           $ 131.73 05/17/2024           Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                      $ 24,723.00 05/17/2024             Retention payment
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
HERON, TONYA T                   VP, Division General Counsel                       $ 8,461.54 05/17/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 191.61 05/17/2024           Benefits
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                             $ 158.65 05/17/2024           Car allowance
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
LIVESAY, MATTHEW P               Chief Supply Chain Officer                        $ 10,769.24 05/17/2024             Salary
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
MEDLEY, STEPHANIE B              Chief Financial Officer; former                   $ 10,384.62 05/17/2024             Salary
450 S ORANGE AVE STE 800         Interim Chief Financial Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                             $ 158.65 05/17/2024           Car allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                              $ 75.00 05/17/2024           Phone allowance
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PAVEL, SUSAN K                   EVP, Chief Human Resources                        $ 12,307.70 05/17/2024             Salary
450 S ORANGE AVE STE 800         Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                        $ 380.70 05/17/2024           Benefits
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                        $ 149.04 05/17/2024           Car allowance
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
PEREIRA, MEERA                   SVP, Controller; former Interim                   $ 13,461.54 05/17/2024             Salary
450 S ORANGE AVE STE 800         Chief Financial Officer
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                             $ 178.07 05/17/2024           Benefits
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                              $ 75.00 05/17/2024           Phone allowance
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
RIVERA, NORMA                    Senior Manager, Licensing;                         $ 5,012.54 05/17/2024             Salary
450 S ORANGE AVE STE 800         director/manager of affiliate
ORLANDO, FL 32801-3344
TREVINO, PATRICIA A              Former Chief Marketing Officer                     $ 7,471.15 05/17/2024             Severance
ADDRESS ON FILE


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


WHITLOW, JARRETT C               Former SVP, Concept                                $ 4,800.00 05/17/2024             Severance
ADDRESS ON FILE                  Development & International

RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,060.38 05/19/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 52,561.11 05/19/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 7,162.44 05/19/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 32,712.96 05/19/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 78,310.26 05/20/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 257,697.81 05/22/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 11,282.99 05/22/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 34,416.02 05/22/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,175.81 05/22/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 4,577.15 05/22/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 23,428.68 05/22/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 305,135.24 05/23/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 10,201.60 05/23/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 847.44 05/23/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 21,197.68 05/23/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,750.47 05/23/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER OF TEXAS INC         Affiliate entity                                  $ 78,271.78 05/23/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 7,770.57 05/23/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 13,065.43 05/23/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 5,305.37 05/23/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 3,091.78 05/23/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                         $ 116,681.94 05/24/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 9,411.79 05/24/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 24,682.44 05/24/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 948.65 05/24/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 3,845.41 05/24/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 22,474.27 05/24/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 365,665.77 05/25/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 10,604.49 05/25/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 65,078.70 05/25/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 599.09 05/25/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 5,107.42 05/25/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 40,279.28 05/25/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


CHICKEN OF THE SEA       Affiliate entity                                        $ 333,245.84 05/26/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 11,885.70 05/26/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 53,309.11 05/26/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 702.39 05/26/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,570.29 05/26/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 38,604.78 05/26/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 80,578.62 05/27/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 304,473.58 05/29/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 352,200.04 05/30/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 11,532.32 05/30/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 35,150.73 05/30/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,686.28 05/30/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 4,459.15 05/30/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 27,142.08 05/30/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                         $ 113,587.02 05/31/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 8,668.03 05/31/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY          Affiliate entity                                     $ 744.68 05/31/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY          Affiliate entity                                  $ 66,350.26 05/31/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS            Affiliate entity                                   $ 1,150.21 05/31/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC         Affiliate entity                                  $ 74,696.56 05/31/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 10,857.05 05/31/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 29,503.45 05/31/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 6,969.56 05/31/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 2,385.56 05/31/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 301,731.34 06/01/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 9,667.93 06/01/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 74,306.18 06/01/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,570.62 06/01/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 11,133.98 06/01/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 52,308.62 06/01/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 283,622.12 06/02/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 11,321.94 06/02/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,533.62 06/02/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY  Affiliate entity                                        $ 105,210.25 06/02/2023              Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 216.99 06/02/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,666.48 06/02/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 61,703.12 06/02/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 79,835.42 06/03/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 307,525.53 06/05/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 16,146.97 06/05/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 48,472.11 06/05/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 2,675.86 06/05/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 11,203.34 06/05/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 44,935.80 06/05/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 334,203.01 06/06/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 12,704.93 06/06/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 4,526.98 06/06/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 35,023.50 06/06/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC Affiliate entity                                          $ 67,144.28 06/06/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 18,776.93 06/06/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER RESTAURANTS Affiliate entity                                           $ 32,735.32 06/06/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 5,580.76 06/06/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 1,998.63 06/06/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                         $ 112,317.42 06/07/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 14,097.39 06/07/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,318.19 06/07/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 34,496.14 06/07/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 759.16 06/07/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 4,189.39 06/07/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 29,774.03 06/07/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 356,417.19 06/08/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 11,641.07 06/08/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 60,443.45 06/08/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 243.17 06/08/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 7,355.02 06/08/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 45,585.09 06/08/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 290,173.49 06/09/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 5,562.10 06/09/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 81,274.74 06/09/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 730.21 06/09/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,936.57 06/09/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 45,014.33 06/09/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 65,142.12 06/10/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 286,785.67 06/12/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 8,101.79 06/12/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 69,861.18 06/12/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 442.80 06/12/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 6,821.81 06/12/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 35,541.33 06/12/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 363,713.87 06/13/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 12,956.32 06/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 781.52 06/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 32,656.70 06/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC Affiliate entity                                          $ 69,723.50 06/13/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,081.12 06/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,243.27 06/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 5,889.16 06/13/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 2,356.70 06/13/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 165,428.10 06/14/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 8,822.42 06/14/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 25,657.45 06/14/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,468.46 06/14/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 5,492.59 06/14/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 18,209.27 06/14/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 405,714.76 06/15/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 4,732.19 06/15/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 50,687.90 06/15/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 3,338.53 06/15/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 6,866.97 06/15/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 34,513.86 06/15/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 306,791.93 06/16/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 8,978.83 06/16/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 34,586.06 06/16/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,662.51 06/16/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 23,185.36 06/16/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL CARES, INC            Non-Debtor not-for-profit entity                           $ 5,881.37 06/16/2023             Remittance of employee charitable
450 S ORANGE AVE STE 800                                                                                              contributions
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 73,275.79 06/17/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 277,270.43 06/19/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 341,646.46 06/20/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,091.72 06/20/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 31,681.83 06/20/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 6,874.37 06/20/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 36,881.40 06/20/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                         $ 115,077.86 06/21/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 17,185.48 06/21/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 821.42 06/21/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 39,364.97 06/21/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 666.21 06/21/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER OF TEXAS INC         Affiliate entity                                  $ 99,430.24 06/21/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 13,842.38 06/21/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 27,707.78 06/21/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 6,052.72 06/21/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 2,953.01 06/21/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 380,862.15 06/22/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,775.76 06/22/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 54,318.42 06/22/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,677.32 06/22/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 10,573.69 06/22/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 37,846.83 06/22/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 366,680.32 06/23/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 10,600.52 06/23/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 269.91 06/23/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 69,678.77 06/23/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 10,736.31 06/23/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 34,093.20 06/23/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


CHICKEN OF THE SEA       Affiliate entity                                          $ 88,983.57 06/24/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 317,931.72 06/26/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 9,953.20 06/26/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 43,948.14 06/26/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 284.45 06/26/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 5,197.18 06/26/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 26,674.85 06/26/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 372,705.63 06/27/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 11,324.14 06/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 448.16 06/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 32,772.47 06/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 120.72 06/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC Affiliate entity                                          $ 80,748.67 06/27/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 10,075.45 06/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 13,757.11 06/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 6,348.51 06/27/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 2,730.74 06/27/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


CHICKEN OF THE SEA       Affiliate entity                                         $ 114,825.73 06/28/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,284.76 06/28/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,423.78 06/28/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 37,985.43 06/28/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 689.74 06/28/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,461.13 06/28/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 23,501.72 06/28/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 404,932.38 06/29/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 8,814.16 06/29/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 414.36 06/29/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 33,778.46 06/29/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,107.85 06/29/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 5,101.95 06/29/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 40,662.26 06/29/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 267,230.09 06/30/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,525.86 06/30/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,816.77 06/30/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 76,554.70 06/30/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 934.46 06/30/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 7,063.76 06/30/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 42,334.01 06/30/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 74,319.98 07/01/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 323,364.74 07/03/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 11,814.67 07/03/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 88,124.36 07/03/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 2,271.04 07/03/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,619.10 07/03/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 29,666.25 07/03/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 382,591.86 07/04/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                         $ 129,811.69 07/05/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 9,195.57 07/05/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,579.14 07/05/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344




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                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY          Affiliate entity                                  $ 30,990.03 07/05/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC         Affiliate entity                                  $ 79,736.29 07/05/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 7,665.09 07/05/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 11,977.56 07/05/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 5,846.30 07/05/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 2,633.20 07/05/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 412,214.78 07/06/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 14,530.65 07/06/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 59,879.55 07/06/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,709.21 07/06/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,179.56 07/06/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 45,269.72 07/06/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 348,678.23 07/07/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 10,009.51 07/07/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 79,777.33 07/07/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 806.92 07/07/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 7,994.82 07/07/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER RESTAURANTS Affiliate entity                                           $ 39,796.69 07/07/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 97,892.99 07/08/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                         $ 326,106.11 07/10/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 10,015.16 07/10/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,684.11 07/10/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 59,979.76 07/10/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 2,010.65 07/10/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,327.56 07/10/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 38,312.45 07/10/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 374,205.13 07/11/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 21,859.91 07/11/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 2,635.22 07/11/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 35,331.28 07/11/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                              $ 157.92 07/11/2023            Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC Affiliate entity                                          $ 80,941.11 07/11/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 15,061.26 07/11/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 25,501.14 07/11/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RL BILLINGS INC                  Affiliate entity                                   $ 7,009.94 07/11/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 2,580.55 07/11/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 130,181.25 07/12/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 11,175.31 07/12/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 33,312.17 07/12/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                              $ 526.63 07/12/2023            Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 3,436.19 07/12/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 23,326.42 07/12/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL CARES, INC            Non-Debtor not-for-profit entity                          $ 13,197.78 07/12/2023             Remittance of employee charitable
450 S ORANGE AVE STE 800                                                                                              contributions
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 417,556.34 07/13/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 12,160.68 07/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,096.52 07/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 47,443.26 07/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,648.91 07/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 6,850.94 07/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 47,018.73 07/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 322,298.07 07/14/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 11,834.46 07/14/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 50,466.19 07/14/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 2,697.62 07/14/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 7,560.39 07/14/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 40,075.61 07/14/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 66,987.93 07/15/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 266,105.20 07/17/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,971.49 07/17/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 53,360.63 07/17/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                              $ 606.49 07/17/2023            Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 10,057.34 07/17/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 33,203.38 07/17/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 321,541.19 07/18/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 9,048.86 07/18/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                              $ 525.73 07/18/2023            Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 32,608.33 07/18/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC Affiliate entity                                          $ 84,493.87 07/18/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER RESTAURANTS Affiliate entity                                           $ 11,371.65 07/18/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 18,986.60 07/18/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 7,266.23 07/18/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 3,132.87 07/18/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                         $ 117,475.76 07/19/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 13,188.06 07/19/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 24,281.15 07/19/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,308.84 07/19/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 3,553.81 07/19/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 17,654.29 07/19/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 386,834.79 07/20/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 5,613.30 07/20/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 44,330.44 07/20/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                              $ 279.46 07/20/2023            Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 4,764.73 07/20/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 37,352.62 07/20/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 326,428.26 07/21/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 11,587.71 07/21/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 63,395.38 07/21/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 11,153.74 07/21/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 40,085.89 07/21/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 61,671.88 07/22/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 298,289.85 07/24/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,909.91 07/24/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 59,371.09 07/24/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,563.75 07/24/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,013.43 07/24/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 33,860.17 07/24/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 337,370.79 07/25/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 9,091.27 07/25/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,285.76 07/25/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 28,058.89 07/25/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                              $ 94.39 07/25/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC Affiliate entity                                          $ 82,568.54 07/25/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,038.88 07/25/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 10,336.12 07/25/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 7,807.18 07/25/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 3,144.22 07/25/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 99,620.26 07/26/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 13,373.68 07/26/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 20,551.70 07/26/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                              $ 582.70 07/26/2023            Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 4,304.39 07/26/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 16,287.49 07/26/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                               $ 450.00 07/26/2023            Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 363,184.75 07/27/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,428.21 07/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 37,373.05 07/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 4,945.92 07/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,060.08 07/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 28,444.31 07/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


CHICKEN OF THE SEA       Affiliate entity                                        $ 290,638.29 07/28/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,252.97 07/28/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 60,356.23 07/28/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                              $ 331.68 07/28/2023            Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 4,769.65 07/28/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 29,251.57 07/28/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 68,885.60 07/29/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 324,891.96 07/31/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 13,603.90 07/31/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 3,153.25 07/31/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 52,381.27 07/31/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,850.87 07/31/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,842.43 07/31/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 21,873.04 07/31/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 365,948.39 08/01/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 11,823.16 08/01/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY          Affiliate entity                                  $ 23,154.51 08/01/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC         Affiliate entity                                  $ 80,750.62 08/01/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 6,208.68 08/01/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 14,074.08 08/01/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 8,126.99 08/01/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 3,013.64 08/01/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 120,171.33 08/02/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 14,224.14 08/02/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 37,575.25 08/02/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 4,269.88 08/02/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 26,867.58 08/02/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 400,767.24 08/03/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 8,351.31 08/03/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 38,218.89 08/03/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 2,149.23 08/03/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 4,569.10 08/03/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 29,859.24 08/03/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


CHICKEN OF THE SEA       Affiliate entity                                        $ 312,252.01 08/04/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 11,911.47 08/04/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,740.34 08/04/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 79,823.20 08/04/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,187.89 08/04/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,556.15 08/04/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 45,782.23 08/04/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 60,812.86 08/05/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 220,481.30 08/07/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 10,945.40 08/07/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 89,546.53 08/07/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                              $ 911.27 08/07/2023            Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 10,962.58 08/07/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 42,825.58 08/07/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                         $ 283,611.34 08/08/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 9,393.21 08/08/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY          Affiliate entity                                      $ 760.55 08/08/2023            Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY          Affiliate entity                                  $ 21,886.17 08/08/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC         Affiliate entity                                  $ 84,400.06 08/08/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,770.65 08/08/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 10,665.82 08/08/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 7,842.92 08/08/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 2,880.40 08/08/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 84,784.67 08/09/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 9,063.31 08/09/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 31,461.65 08/09/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                              $ 195.84 08/09/2023            Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,206.53 08/09/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 24,211.67 08/09/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 366,067.65 08/10/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 10,097.54 08/10/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,113.21 08/10/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 85,058.51 08/10/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER OF KANSAS    Affiliate entity                                             $ 863.49 08/10/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 11,360.43 08/10/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 48,462.61 08/10/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 319,521.21 08/11/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 14,540.93 08/11/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,639.63 08/11/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 57,158.21 08/11/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,411.26 08/11/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 7,842.24 08/11/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 42,663.71 08/11/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
THAI UNION GROUP PUBLIC  Affiliate entity                                          $ 47,503.61 08/11/2023             Inventory food purchase
COMPANY LTD
72/1 MOO 7, SETHAKIT 1
ROAD, TARSRAI
SUB-DISTRICT
MUEANG SAMUT SAKHON
SAMUT SAKHON, 74000
THAILAND
THAI UNION SEAFOOD       Affiliate entity                                          $ 14,609.85 08/11/2023             Inventory food purchase
COMPANY LIMITED
72/1 MOO 7, SETHAKIT 1
ROAD, TARSRAI
SUB-DISTRICT
MUEANG SAMUT SAKHON
SAMUT SAKHON, 74000
THAILAND
CHICKEN OF THE SEA       Affiliate entity                                          $ 94,798.97 08/12/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 375,189.96 08/14/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 15,441.46 08/14/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 36,285.42 08/14/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,756.59 08/14/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,158.97 08/14/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 41,557.52 08/14/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                         $ 446,963.11 08/15/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,148.17 08/15/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 950.39 08/15/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 47,365.40 08/15/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC Affiliate entity                                          $ 82,069.62 08/15/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,311.90 08/15/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 21,856.35 08/15/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 7,266.20 08/15/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 2,809.57 08/15/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA               Affiliate entity                                $ 146,086.26 08/16/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY          Affiliate entity                                  $ 15,521.79 08/16/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY          Affiliate entity                                  $ 39,274.09 08/16/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER RESTAURANTS Affiliate entity                                            $ 4,951.83 08/16/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 25,210.20 08/16/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL CARES, INC            Non-Debtor not-for-profit entity                           $ 6,351.77 08/16/2023             Remittance of employee charitable
450 S ORANGE AVE STE 800                                                                                              contributions
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 590,817.04 08/17/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 3,534.86 08/17/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,744.06 08/17/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 64,983.92 08/17/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 4,971.27 08/17/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 12,449.39 08/17/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 60,609.67 08/17/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 481,453.70 08/18/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,052.62 08/18/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 72,417.64 08/18/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                              $ 32.83 08/18/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,441.34 08/18/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 47,964.68 08/18/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


THAI UNION GROUP PUBLIC  Affiliate entity                                             $ 615.34 08/18/2023             Reimbursement of employee-related
COMPANY LTD                                                                                                           expenses
72/1 MOO 7, SETHAKIT 1
ROAD, TARSRAI
SUB-DISTRICT
MUEANG SAMUT SAKHON
SAMUT SAKHON, 74000
THAILAND
THAI UNION GROUP PUBLIC  Affiliate entity                                           $ 3,087.72 08/18/2023             Reimbursement of employee-related
COMPANY LTD                                                                                                           expenses
72/1 MOO 7, SETHAKIT 1
ROAD, TARSRAI
SUB-DISTRICT
MUEANG SAMUT SAKHON
SAMUT SAKHON, 74000
THAILAND
CHICKEN OF THE SEA       Affiliate entity                                         $ 111,320.09 08/19/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 427,959.29 08/21/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 13,801.22 08/21/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 44,021.48 08/21/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 516.09 08/21/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 11,128.28 08/21/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 29,246.33 08/21/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 595,746.42 08/22/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,448.26 08/22/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 5,409.60 08/22/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 36,433.19 08/22/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC Affiliate entity                                          $ 86,269.44 08/22/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 18,600.54 08/22/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER RESTAURANTS Affiliate entity                                           $ 16,433.43 08/22/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 6,561.89 08/22/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 3,130.19 08/22/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 212,199.29 08/23/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,990.61 08/23/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                              $ 89.90 08/23/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 31,418.84 08/23/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,580.18 08/23/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 6,517.47 08/23/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 20,008.97 08/23/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 686,463.71 08/24/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,580.06 08/24/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 62,126.15 08/24/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 2,892.71 08/24/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 3,659.40 08/24/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 33,231.35 08/24/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 540,912.25 08/25/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,510.82 08/25/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 107.88 08/25/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 52,566.46 08/25/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 7,046.95 08/25/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 38,288.95 08/25/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 104,136.64 08/26/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                             $ 257.31 08/27/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 521,457.02 08/28/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,943.51 08/28/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 49,223.19 08/28/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 133.92 08/28/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 5,123.16 08/28/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 28,115.17 08/28/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 613,732.25 08/29/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 12,182.96 08/29/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 626.09 08/29/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY          Affiliate entity                                  $ 32,671.66 08/29/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC         Affiliate entity                                  $ 83,378.23 08/29/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 13,919.71 08/29/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 10,770.27 08/29/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 7,018.86 08/29/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 2,878.47 08/29/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 220,019.48 08/30/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,868.97 08/30/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 48,643.63 08/30/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 7,405.94 08/30/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 39,156.80 08/30/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 679,607.66 08/31/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,125.29 08/31/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 55,784.60 08/31/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 2,679.44 08/31/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,354.56 08/31/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 52,259.73 08/31/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


CHICKEN OF THE SEA       Affiliate entity                                        $ 565,884.68 09/01/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 5,382.54 09/01/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 87,077.68 09/01/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 440.13 09/01/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 12,827.29 09/01/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 47,363.93 09/01/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 142,077.24 09/02/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 544,323.15 09/04/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                         $ 558,118.37 09/05/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 4,939.20 09/05/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 62,777.60 09/05/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 781.97 09/05/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,558.93 09/05/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 38,568.99 09/05/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                         $ 211,035.26 09/06/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,900.84 09/06/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY          Affiliate entity                                   $ 2,949.21 09/06/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY          Affiliate entity                                  $ 72,036.04 09/06/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS            Affiliate entity                                   $ 2,456.04 09/06/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC         Affiliate entity                                  $ 84,029.79 09/06/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 14,236.19 09/06/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 29,899.09 09/06/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 6,866.47 09/06/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 2,861.97 09/06/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 622,399.09 09/07/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 5,870.57 09/07/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 55,220.95 09/07/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,919.97 09/07/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 6,551.03 09/07/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 33,420.71 09/07/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL CARES, INC            Non-Debtor not-for-profit entity                           $ 5,867.23 09/07/2023             Remittance of employee charitable
450 S ORANGE AVE STE 800                                                                                              contributions
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA               Affiliate entity                                $ 520,571.43 09/08/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY          Affiliate entity                                   $ 6,418.50 09/08/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344



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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 2,328.95 09/08/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 61,396.27 09/08/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 975.86 09/08/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 6,108.40 09/08/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 41,884.41 09/08/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 131,327.13 09/09/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 513,972.27 09/11/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 5,405.18 09/11/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 77,748.09 09/11/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 138.24 09/11/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,895.25 09/11/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 38,616.40 09/11/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 581,032.40 09/12/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 5,280.80 09/12/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 46,183.04 09/12/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,397.58 09/12/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC Affiliate entity                                          $ 80,978.71 09/12/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER RESTAURANTS Affiliate entity                                           $ 13,567.67 09/12/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 17,626.46 09/12/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 5,467.71 09/12/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 2,595.52 09/12/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 248,294.75 09/13/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 9,811.45 09/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,030.76 09/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 40,962.17 09/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,743.61 09/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,571.98 09/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 24,883.19 09/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 688,978.10 09/14/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,246.80 09/14/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 50,200.20 09/14/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,356.25 09/14/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,717.50 09/14/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 46,812.43 09/14/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor             Total Amount or Value       Dates                 Reason for Payment or Transfer


RL CARES, INC                    Non-Debtor not-for-profit entity                   $ 6,304.00 09/14/2023             Remittance of employee charitable
450 S ORANGE AVE STE 800                                                                                              contributions
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                         $ 593,310.13 09/15/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 4,762.17 09/15/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                               $ 906.91 09/15/2023           Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 63,836.44 09/15/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                               $ 886.53 09/15/2023           Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 5,139.51 09/15/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 44,988.23 09/15/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                         $ 125,167.69 09/16/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                         $ 522,032.08 09/18/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 8,950.61 09/18/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 45,171.54 09/18/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 3,084.88 09/18/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 6,575.55 09/18/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 28,616.48 09/18/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                         $ 614,530.42 09/19/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,022.09 09/19/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY          Affiliate entity                                     $ 818.20 09/19/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY          Affiliate entity                                  $ 25,015.76 09/19/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC         Affiliate entity                                  $ 80,195.58 09/19/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,864.32 09/19/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 18,195.46 09/19/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 4,733.43 09/19/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 2,577.83 09/19/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 254,920.08 09/20/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 8,352.20 09/20/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 295.82 09/20/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 30,019.54 09/20/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,186.45 09/20/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 3,841.77 09/20/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 20,690.36 09/20/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 621,974.14 09/21/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,547.24 09/21/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 56,586.35 09/21/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER OF KANSAS    Affiliate entity                                             $ 740.17 09/21/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,797.43 09/21/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 42,048.25 09/21/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 526,273.92 09/22/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 4,382.70 09/22/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 805.18 09/22/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 63,093.05 09/22/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 867.50 09/22/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 10,372.85 09/22/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 45,952.73 09/22/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 90,360.83 09/23/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                             $ 760.66 09/24/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 388,129.04 09/25/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 11,100.42 09/25/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 44,852.97 09/25/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 485.44 09/25/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,817.38 09/25/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 26,801.21 09/25/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 470,385.70 09/26/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,153.02 09/26/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 787.64 09/26/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 26,191.94 09/26/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 2,692.21 09/26/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC Affiliate entity                                          $ 82,905.59 09/26/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 10,673.16 09/26/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,448.03 09/26/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 6,173.41 09/26/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 3,146.28 09/26/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 199,107.44 09/27/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 9,724.33 09/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 34,848.41 09/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 753.95 09/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 11,124.50 09/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER RESTAURANTS Affiliate entity                                           $ 28,301.51 09/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 459,533.22 09/28/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 8,450.81 09/28/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 70,089.98 09/28/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,600.33 09/28/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 37,487.88 09/28/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 356,906.32 09/29/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 16,443.66 09/29/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,259.44 09/29/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 96,124.89 09/29/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 558.23 09/29/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,914.62 09/29/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 47,460.19 09/29/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
THAI UNION GROUP PUBLIC  Affiliate entity                                           $ 5,797.90 09/29/2023             Reimbursement of employee-related
COMPANY LTD                                                                                                           expenses
72/1 MOO 7, SETHAKIT 1
ROAD, TARSRAI
SUB-DISTRICT
MUEANG SAMUT SAKHON
SAMUT SAKHON, 74000
THAILAND
CHICKEN OF THE SEA       Affiliate entity                                         $ 111,638.73 09/30/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


CHICKEN OF THE SEA       Affiliate entity                                             $ 802.33 10/01/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 323,068.77 10/02/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,214.15 10/02/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 56,419.09 10/02/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 2,645.67 10/02/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,030.74 10/02/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 43,212.43 10/02/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 356,469.16 10/03/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 9,648.19 10/03/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 3,653.47 10/03/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 33,619.94 10/03/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC Affiliate entity                                          $ 89,206.37 10/03/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 5,681.83 10/03/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,706.87 10/03/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 6,746.64 10/03/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 2,601.27 10/03/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA               Affiliate entity                                $ 174,721.22 10/04/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,205.26 10/04/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 36,822.56 10/04/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,787.31 10/04/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 2,268.15 10/04/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 27,364.44 10/04/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 419,314.04 10/05/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 12,225.00 10/05/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 40,438.08 10/05/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 2,644.04 10/05/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,177.57 10/05/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 44,234.13 10/05/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 351,043.00 10/06/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,228.38 10/06/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,772.24 10/06/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 80,872.02 10/06/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 5,368.83 10/06/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER RESTAURANTS Affiliate entity                                           $ 51,602.54 10/06/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 91,498.46 10/07/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 336,289.56 10/09/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 489,968.55 10/10/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 11,131.49 10/10/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 55,622.31 10/10/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 523.97 10/10/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 22,572.96 10/10/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 39,930.54 10/10/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 223,897.91 10/11/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 8,165.51 10/11/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 249.25 10/11/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 97,972.88 10/11/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 2,162.12 10/11/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC Affiliate entity                                          $ 82,742.16 10/11/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 11,431.62 10/11/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 52,612.02 10/11/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RL BILLINGS INC                  Affiliate entity                                   $ 5,321.37 10/11/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 2,936.01 10/11/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 444,193.52 10/12/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,799.34 10/12/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 65,967.40 10/12/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 5,506.33 10/12/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 45,221.39 10/12/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 431,409.13 10/13/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,444.39 10/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 43,275.96 10/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 390.86 10/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 6,917.60 10/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 39,077.07 10/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 105,006.39 10/14/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 343,405.26 10/16/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,320.07 10/16/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 88,804.16 10/16/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER OF KANSAS    Affiliate entity                                             $ 693.21 10/16/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,788.15 10/16/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 30,404.23 10/16/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 456,108.94 10/17/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 8,224.40 10/17/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,524.97 10/17/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 31,722.93 10/17/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC Affiliate entity                                          $ 81,568.56 10/17/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 11,599.36 10/17/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 13,502.59 10/17/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 5,710.54 10/17/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 3,009.41 10/17/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA               Affiliate entity                                $ 187,154.90 10/18/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY          Affiliate entity                                   $ 5,751.61 10/18/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY          Affiliate entity                                   $ 1,678.96 10/18/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY          Affiliate entity                                  $ 41,487.12 10/18/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS            Affiliate entity                                   $ 2,152.81 10/18/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER RESTAURANTS Affiliate entity                                            $ 3,198.40 10/18/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 30,359.52 10/18/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                              $ 450.00 10/18/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 392,385.06 10/19/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 2,869.78 10/19/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 56,344.88 10/19/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 2,384.93 10/19/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,442.64 10/19/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 47,423.06 10/19/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 357,572.50 10/20/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 4,867.31 10/20/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,438.47 10/20/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 53,656.23 10/20/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 12,911.13 10/20/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 43,795.16 10/20/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL CARES, INC            Non-Debtor not-for-profit entity                          $ 10,069.26 10/20/2023             Remittance of employee charitable
450 S ORANGE AVE STE 800                                                                                              contributions
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA               Affiliate entity                                $ 106,347.15 10/21/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
                                                                    Page 141 of 205
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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


CHICKEN OF THE SEA       Affiliate entity                                        $ 279,970.60 10/23/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,256.30 10/23/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 58,600.46 10/23/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 823.06 10/23/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 10,124.73 10/23/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 31,011.59 10/23/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 359,479.46 10/24/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 3,388.94 10/24/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 2,638.62 10/24/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 36,338.20 10/24/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 745.38 10/24/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC Affiliate entity                                          $ 88,676.38 10/24/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 16,942.34 10/24/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 21,394.53 10/24/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 6,476.36 10/24/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 3,632.67 10/24/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA               Affiliate entity                                $ 174,746.48 10/25/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,243.00 10/25/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 30,486.14 10/25/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 2,698.51 10/25/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 4,539.96 10/25/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 19,616.66 10/25/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
THAI UNION GROUP PUBLIC  Affiliate entity                                             $ 878.21 10/25/2023             Reimbursement of employee-related
COMPANY LTD                                                                                                           expenses
72/1 MOO 7, SETHAKIT 1
ROAD, TARSRAI
SUB-DISTRICT
MUEANG SAMUT SAKHON
SAMUT SAKHON, 74000
THAILAND
CHICKEN OF THE SEA       Affiliate entity                                        $ 322,170.72 10/26/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 4,176.31 10/26/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 44,738.99 10/26/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 985.17 10/26/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 16,862.41 10/26/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 44,360.66 10/26/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 302,976.55 10/27/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 5,883.62 10/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 70,588.08 10/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER OF KANSAS    Affiliate entity                                             $ 285.87 10/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 15,415.21 10/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 44,310.71 10/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 75,933.48 10/28/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 250,778.50 10/30/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 9,238.00 10/30/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 60,848.85 10/30/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 985.92 10/30/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 11,641.60 10/30/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 34,953.12 10/30/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 373,591.13 10/31/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 8,263.30 10/31/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 865.58 10/31/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 35,944.93 10/31/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC Affiliate entity                                          $ 83,737.40 10/31/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 10,214.44 10/31/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 13,433.50 10/31/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RL BILLINGS INC                  Affiliate entity                                   $ 3,630.55 10/31/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 2,669.02 10/31/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 148,859.57 11/01/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 10,048.06 11/01/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 45,996.88 11/01/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 293.96 11/01/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 5,709.10 11/01/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 32,997.18 11/01/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 336,635.79 11/02/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 11,714.69 11/02/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 78,011.46 11/02/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 4,046.94 11/02/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 10,391.70 11/02/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 47,782.15 11/02/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 303,855.65 11/03/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,336.26 11/03/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                        $ 105,704.09 11/03/2023              Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER OF KANSAS    Affiliate entity                                             $ 477.67 11/03/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 17,750.09 11/03/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 55,490.86 11/03/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 71,661.20 11/04/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 241,321.12 11/06/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 12,716.17 11/06/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 53,301.40 11/06/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 962.23 11/06/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,146.68 11/06/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 41,788.44 11/06/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 336,937.13 11/07/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 3,168.44 11/07/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,558.21 11/07/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 43,790.44 11/07/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC Affiliate entity                                          $ 84,190.79 11/07/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 14,823.67 11/07/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 24,689.54 11/07/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor             Total Amount or Value        Dates                Reason for Payment or Transfer


RL BILLINGS INC                  Affiliate entity                                   $ 4,852.78 11/07/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL CARES, INC                    Non-Debtor not-for-profit entity                  $ 26,278.37 11/07/2023             Remittance of employee charitable
450 S ORANGE AVE STE 800                                                                                              contributions
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 2,819.58 11/07/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                         $ 142,687.77 11/08/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 13,105.69 11/08/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 37,779.44 11/08/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,646.91 11/08/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 11,528.03 11/08/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 26,779.78 11/08/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                         $ 359,078.48 11/09/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,484.34 11/09/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,561.05 11/09/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 47,989.03 11/09/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                               $ 561.01 11/09/2023           Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,885.95 11/09/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 54,060.66 11/09/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                         $ 302,554.16 11/10/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 8,671.81 11/10/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                         $ 114,696.12 11/10/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 550.46 11/10/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,788.32 11/10/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 51,917.53 11/10/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 72,775.43 11/11/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 11,500.94 11/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,347.72 11/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 65,214.09 11/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 418.73 11/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 15,661.58 11/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 39,825.63 11/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 223,855.24 11/14/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 8,380.90 11/14/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 28,006.86 11/14/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC Affiliate entity                                          $ 83,026.62 11/14/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 11,344.27 11/14/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER RESTAURANTS Affiliate entity                                           $ 13,382.45 11/14/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 5,379.85 11/14/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 2,863.68 11/14/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 125,532.05 11/15/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,312.51 11/15/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,191.28 11/15/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 33,070.45 11/15/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 217.22 11/15/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 4,396.64 11/15/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 20,543.46 11/15/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 280,157.19 11/16/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 15,597.41 11/16/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 64,139.42 11/16/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,662.22 11/16/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,846.46 11/16/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 35,199.56 11/16/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 287,360.27 11/17/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 12,403.38 11/17/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 63,166.72 11/17/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,130.01 11/17/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,585.04 11/17/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 39,371.15 11/17/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 64,748.16 11/18/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                          $ 48,868.21 11/19/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 194,473.24 11/20/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 11,635.30 11/20/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 68,514.31 11/20/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 277.76 11/20/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 7,606.76 11/20/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 34,707.66 11/20/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 304,580.18 11/21/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 13,542.60 11/21/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 2,517.21 11/21/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY          Affiliate entity                                  $ 17,374.09 11/21/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS            Affiliate entity                                   $ 3,869.92 11/21/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC         Affiliate entity                                  $ 79,423.56 11/21/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 18,115.27 11/21/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 21,494.19 11/21/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 4,620.18 11/21/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 3,448.46 11/21/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 187,462.37 11/22/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 8,763.45 11/22/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 37,366.17 11/22/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 7,077.21 11/22/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 31,631.01 11/22/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                           $ 7,098.87 11/23/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 253,567.81 11/24/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,697.97 11/24/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,838.96 11/24/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 62,026.24 11/24/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,319.60 11/24/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 13,913.21 11/24/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 43,835.29 11/24/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 86,558.56 11/25/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 167,833.04 11/27/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 14,370.06 11/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,329.28 11/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                         $ 114,345.25 11/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,242.09 11/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 6,056.07 11/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 44,480.28 11/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 226,141.60 11/28/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 9,166.01 11/28/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 2,082.69 11/28/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 21,703.57 11/28/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 2,176.84 11/28/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC Affiliate entity                                          $ 69,289.92 11/28/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER RESTAURANTS Affiliate entity                                            $ 6,158.77 11/28/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 11,859.46 11/28/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 5,355.46 11/28/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 2,560.65 11/28/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 90,936.93 11/29/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 12,395.36 11/29/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 32,208.89 11/29/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,458.05 11/29/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 2,058.58 11/29/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 23,778.17 11/29/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 169,273.56 11/30/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 11,418.56 11/30/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 93,505.91 11/30/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 352.07 11/30/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 11,168.69 11/30/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 58,409.42 11/30/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 154,883.43 12/01/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,717.29 12/01/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 60,996.57 12/01/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,033.46 12/01/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 36,256.16 12/01/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 37,930.13 12/02/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 127,469.19 12/04/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 18,291.28 12/04/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 769.54 12/04/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 55,459.90 12/04/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 327.63 12/04/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 13,823.47 12/04/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 30,705.89 12/04/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 191,986.41 12/05/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 11,817.46 12/05/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,013.36 12/05/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 38,010.20 12/05/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER OF KANSAS            Affiliate entity                                     $ 942.49 12/05/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC         Affiliate entity                                  $ 73,944.28 12/05/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,515.00 12/05/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 13,014.02 12/05/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 4,485.13 12/05/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 2,646.33 12/05/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 80,889.79 12/06/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 11,719.58 12/06/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 29,768.62 12/06/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,279.93 12/06/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 6,666.31 12/06/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 20,523.11 12/06/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 175,208.48 12/07/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 10,243.07 12/07/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 33,482.64 12/07/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,283.40 12/07/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 33,836.91 12/07/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


CHICKEN OF THE SEA       Affiliate entity                                        $ 162,723.88 12/08/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,325.11 12/08/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,065.33 12/08/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 77,152.07 12/08/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 173.64 12/08/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 7,776.32 12/08/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 33,380.48 12/08/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 38,958.81 12/09/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 143,343.67 12/11/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 11,287.42 12/11/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 68,052.46 12/11/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,573.78 12/11/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,692.69 12/11/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 31,003.03 12/11/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL CARES, INC            Non-Debtor not-for-profit entity                          $ 26,109.95 12/11/2023             Remittance of employee charitable
450 S ORANGE AVE STE 800                                                                                              contributions
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA               Affiliate entity                                $ 206,587.75 12/12/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY          Affiliate entity                                   $ 7,927.74 12/12/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY          Affiliate entity                                     $ 646.60 12/12/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY          Affiliate entity                                  $ 28,349.29 12/12/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS            Affiliate entity                                     $ 766.79 12/12/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC         Affiliate entity                                  $ 80,442.03 12/12/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,966.80 12/12/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 20,051.35 12/12/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 5,044.55 12/12/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 2,578.48 12/12/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 91,265.09 12/13/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 14,332.36 12/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 28,224.13 12/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 2,170.95 12/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 5,061.88 12/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 21,143.78 12/13/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 208,729.04 12/14/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 8,494.00 12/14/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 55,376.37 12/14/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER OF KANSAS    Affiliate entity                                             $ 889.56 12/14/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 6,703.42 12/14/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 45,885.93 12/14/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 195,967.62 12/15/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,416.49 12/15/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 65,822.23 12/15/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 5,988.49 12/15/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 44,102.15 12/15/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 47,399.01 12/16/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 175,717.18 12/18/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 8,914.85 12/18/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 35,480.59 12/18/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,212.39 12/18/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 6,568.20 12/18/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 26,247.12 12/18/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 227,962.02 12/19/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY          Affiliate entity                                   $ 6,168.17 12/19/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY          Affiliate entity                                   $ 2,059.78 12/19/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY          Affiliate entity                                  $ 29,397.68 12/19/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC         Affiliate entity                                  $ 82,413.95 12/19/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 15,907.35 12/19/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 12,339.73 12/19/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 5,136.55 12/19/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 3,003.74 12/19/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 107,136.32 12/20/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,968.83 12/20/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 40,059.38 12/20/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,108.64 12/20/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 2,456.35 12/20/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 32,343.71 12/20/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 245,429.69 12/21/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 8,183.64 12/21/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 40,270.10 12/21/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER OF KANSAS    Affiliate entity                                             $ 791.42 12/21/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 6,170.45 12/21/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 38,418.02 12/21/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 204,671.37 12/22/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 3,795.15 12/22/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 745.56 12/22/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 55,710.41 12/22/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 814.26 12/22/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 11,318.81 12/22/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 31,055.52 12/22/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 66,066.12 12/23/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                          $ 46,991.31 12/24/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 227,540.80 12/26/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,402.51 12/26/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 27,949.03 12/26/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 529.09 12/26/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,764.65 12/26/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 27,339.78 12/26/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 156,385.75 12/27/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,774.91 12/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,424.81 12/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 45,322.55 12/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 681.62 12/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 21,744.49 12/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 18,269.50 12/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                              $ 225.00 12/27/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 219,750.66 12/28/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 9,865.92 12/28/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 45,525.71 12/28/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,214.43 12/28/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC Affiliate entity                                          $ 83,892.87 12/28/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 3,103.56 12/28/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 21,679.57 12/28/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RL BILLINGS INC                  Affiliate entity                                   $ 5,229.94 12/28/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 2,382.46 12/28/2023             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
THAI UNION GROUP PUBLIC  Affiliate entity                                           $ 5,923.95 12/28/2023             Reimbursement of employee-related
COMPANY LTD                                                                                                           expenses
72/1 MOO 7, SETHAKIT 1
ROAD, TARSRAI
SUB-DISTRICT
MUEANG SAMUT SAKHON
SAMUT SAKHON, 74000
THAILAND
CHICKEN OF THE SEA       Affiliate entity                                        $ 232,498.22 12/29/2023              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 9,322.50 12/29/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 2,247.13 12/29/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 68,500.31 12/29/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 2,611.85 12/29/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 5,965.41 12/29/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 29,249.06 12/29/2023             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 72,625.04 12/30/2023             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 172,589.01 01/01/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 282,744.35 01/02/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,518.86 01/02/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 48,113.78 01/02/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,409.44 01/02/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER RESTAURANTS Affiliate entity                                            $ 7,116.05 01/02/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 31,787.92 01/02/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 120,948.87 01/03/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 10,150.00 01/03/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 2,690.95 01/03/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 73,053.69 01/03/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 742.06 01/03/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC Affiliate entity                                        $ 104,667.29 01/03/2024              Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 23,640.02 01/03/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 26,524.02 01/03/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 5,919.37 01/03/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 2,679.91 01/03/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 246,228.59 01/04/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 10,296.70 01/04/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 59,270.20 01/04/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                              $ 61.94 01/04/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,451.02 01/04/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER RESTAURANTS Affiliate entity                                           $ 47,202.13 01/04/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 233,764.43 01/05/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 8,889.67 01/05/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 897.89 01/05/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 72,737.61 01/05/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,910.46 01/05/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 11,367.24 01/05/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 56,420.24 01/05/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 58,746.16 01/06/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 204,274.92 01/08/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,752.79 01/08/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,591.72 01/08/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 57,390.68 01/08/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,018.44 01/08/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 15,706.24 01/08/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 40,507.03 01/08/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


CHICKEN OF THE SEA               Affiliate entity                                $ 262,507.83 01/09/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY          Affiliate entity                                   $ 6,520.31 01/09/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY          Affiliate entity                                     $ 697.60 01/09/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY          Affiliate entity                                  $ 36,274.33 01/09/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC         Affiliate entity                                  $ 77,050.90 01/09/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 16,276.15 01/09/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 19,198.11 01/09/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 4,001.39 01/09/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 2,121.28 01/09/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 108,986.77 01/10/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 11,217.90 01/10/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 45,984.61 01/10/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 3,270.88 01/10/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 6,077.03 01/10/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 36,481.68 01/10/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                         $ 211,627.69 01/11/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 15,247.34 01/11/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 47,167.74 01/11/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 575.22 01/11/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 10,361.15 01/11/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 32,390.43 01/11/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 204,130.95 01/12/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 11,829.71 01/12/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 61,939.96 01/12/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 7,203.73 01/12/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 39,446.68 01/12/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 51,681.55 01/13/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 177,632.89 01/15/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 241,082.16 01/16/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 8,042.84 01/16/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 57,628.38 01/16/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 2,007.65 01/16/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 5,968.34 01/16/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER RESTAURANTS Affiliate entity                                           $ 32,848.37 01/16/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 94,391.37 01/17/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 3,659.01 01/17/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 42,390.72 01/17/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,134.91 01/17/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC Affiliate entity                                          $ 67,332.62 01/17/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,764.31 01/17/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 28,234.83 01/17/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 1,538.03 01/17/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 1,732.40 01/17/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 184,720.23 01/18/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 10,102.68 01/18/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,900.57 01/18/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 44,449.71 01/18/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 841.00 01/18/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,516.85 01/18/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 31,116.43 01/18/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


CHICKEN OF THE SEA       Affiliate entity                                        $ 181,872.43 01/19/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 9,664.26 01/19/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 323.64 01/19/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 71,407.92 01/19/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 512.22 01/19/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,210.33 01/19/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 31,958.96 01/19/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 43,620.60 01/20/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                             $ 928.56 01/21/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 180,237.69 01/22/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,766.23 01/22/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 51,472.97 01/22/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 6,801.96 01/22/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 29,539.95 01/22/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 188,802.40 01/23/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,433.82 01/23/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY          Affiliate entity                                   $ 3,080.92 01/23/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY          Affiliate entity                                  $ 29,847.86 01/23/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS            Affiliate entity                                     $ 192.54 01/23/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC         Affiliate entity                                  $ 68,375.52 01/23/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,177.98 01/23/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 14,003.16 01/23/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 1,771.40 01/23/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 2,251.78 01/23/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 99,549.05 01/24/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 5,860.53 01/24/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 25,802.73 01/24/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 711.08 01/24/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 3,454.84 01/24/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 21,206.93 01/24/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 204,720.63 01/25/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,845.78 01/25/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 22,894.84 01/25/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER OF KANSAS    Affiliate entity                                             $ 623.44 01/25/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 3,199.50 01/25/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 26,604.69 01/25/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 181,035.80 01/26/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 4,387.72 01/26/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 52,595.23 01/26/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 537.47 01/26/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,146.94 01/26/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 25,639.03 01/26/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 45,687.27 01/27/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                         $ 178,412.11 01/29/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,687.84 01/29/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 55,456.78 01/29/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 2,238.08 01/29/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 6,348.56 01/29/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 29,474.92 01/29/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


CHICKEN OF THE SEA               Affiliate entity                                $ 226,228.98 01/30/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY          Affiliate entity                                   $ 5,470.14 01/30/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY          Affiliate entity                                   $ 1,695.67 01/30/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY          Affiliate entity                                  $ 39,265.01 01/30/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS            Affiliate entity                                     $ 760.83 01/30/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC         Affiliate entity                                  $ 77,538.95 01/30/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 4,735.66 01/30/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 16,418.07 01/30/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 5,090.30 01/30/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 2,464.76 01/30/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 123,977.66 01/31/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 4,759.28 01/31/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 29,270.00 01/31/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,333.39 01/31/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 6,122.80 01/31/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 28,903.76 01/31/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 241,556.60 02/01/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,093.37 02/01/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 38,671.52 02/01/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER MASTER       Affiliate entity                                          $ 20,000.00 02/01/2024             Intercompany funding
HOLDINGS
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,620.47 02/01/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 14,896.29 02/01/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 36,007.30 02/01/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                              $ 225.00 02/01/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 218,173.62 02/02/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,687.39 02/02/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,002.40 02/02/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                        $ 122,844.36 02/02/2024              Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,697.05 02/02/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 15,214.43 02/02/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 44,006.17 02/02/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL CARES, INC            Non-Debtor not-for-profit entity                          $ 28,703.63 02/02/2024             Remittance of employee charitable
450 S ORANGE AVE STE 800                                                                                              contributions
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA               Affiliate entity                                  $ 51,021.16 02/03/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA               Affiliate entity                                 $ 211,082.59 02/05/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 8,918.36 02/05/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 554.71 02/05/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                        $ 101,146.09 02/05/2024              Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 908.66 02/05/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 11,887.11 02/05/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 36,796.12 02/05/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 309,142.13 02/06/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 8,874.48 02/06/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,446.46 02/06/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 34,897.47 02/06/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC Affiliate entity                                          $ 82,944.26 02/06/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 10,111.88 02/06/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 13,495.99 02/06/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 5,114.17 02/06/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 3,031.91 02/06/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA               Affiliate entity                                $ 166,862.14 02/07/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY          Affiliate entity                                   $ 6,318.57 02/07/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 31,522.70 02/07/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,120.55 02/07/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 4,173.22 02/07/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 19,357.75 02/07/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 413,910.55 02/08/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 9,674.85 02/08/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 49,566.17 02/08/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 357.42 02/08/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 4,509.45 02/08/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 45,150.65 02/08/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 365,017.66 02/09/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 12,824.39 02/09/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 47,238.88 02/09/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 672.75 02/09/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 12,867.06 02/09/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 48,436.61 02/09/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


CHICKEN OF THE SEA       Affiliate entity                                          $ 80,166.00 02/10/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                             $ 158.70 02/11/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 313,590.00 02/12/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 13,028.74 02/12/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 67,592.31 02/12/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,690.72 02/12/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 12,753.56 02/12/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 41,259.40 02/12/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 431,284.54 02/13/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 10,170.86 02/13/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 2,087.75 02/13/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 27,489.50 02/13/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC Affiliate entity                                          $ 74,712.24 02/13/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 22,005.64 02/13/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 18,372.01 02/13/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 5,891.00 02/13/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 3,037.27 02/13/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


CHICKEN OF THE SEA       Affiliate entity                                        $ 150,600.98 02/14/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 9,773.00 02/14/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 33,231.56 02/14/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 2,283.66 02/14/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,361.46 02/14/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 25,630.05 02/14/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 270,890.65 02/15/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 11,276.67 02/15/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 48,079.00 02/15/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,998.66 02/15/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 12,785.87 02/15/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 43,963.30 02/15/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 249,052.53 02/16/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,567.64 02/16/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 3,417.48 02/16/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 3,417.48 02/16/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344




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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 57,741.34 02/16/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,200.69 02/16/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 13,521.51 02/16/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 42,277.46 02/16/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 61,590.49 02/17/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 191,896.15 02/19/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 248,070.28 02/20/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 10,072.53 02/20/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 43,942.68 02/20/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 5,682.66 02/20/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 30,632.77 02/20/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 107,887.78 02/21/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 10,818.22 02/21/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 220.79 02/21/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 220.79 02/21/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 63,947.40 02/21/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER OF KANSAS            Affiliate entity                                   $ 1,929.78 02/21/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC         Affiliate entity                                $ 146,669.29 02/21/2024              Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 7,242.08 02/21/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 33,956.61 02/21/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 7,446.18 02/21/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 4,983.03 02/21/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 218,152.93 02/22/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 9,347.45 02/22/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 47,808.58 02/22/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 2,564.35 02/22/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,686.20 02/22/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 42,223.81 02/22/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 192,029.26 02/23/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,526.91 02/23/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 946.40 02/23/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 946.40 02/23/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 52,874.41 02/23/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER RESTAURANTS Affiliate entity                                           $ 10,609.38 02/23/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 42,914.77 02/23/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 42,108.07 02/24/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,652.03 02/24/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 155,367.29 02/26/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 47,110.21 02/26/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 638.15 02/26/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 12,387.13 02/26/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 27,763.51 02/26/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 240,414.37 02/27/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,588.07 02/27/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,810.40 02/27/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,810.40 02/27/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 21,714.50 02/27/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC Affiliate entity                                        $ 103,052.09 02/27/2024              Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 13,097.84 02/27/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 15,677.20 02/27/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RL BILLINGS INC                  Affiliate entity                                   $ 7,142.29 02/27/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 3,305.89 02/27/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                         $ 117,814.03 02/28/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 4,917.38 02/28/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 38,523.11 02/28/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,696.06 02/28/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 4,422.20 02/28/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 25,740.56 02/28/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 210,528.37 02/29/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,171.10 02/29/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 67,084.89 02/29/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 2,718.01 02/29/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,330.68 02/29/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 57,461.82 02/29/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 208,664.26 03/01/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 9,388.80 03/01/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 98,244.77 03/01/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER OF KANSAS    Affiliate entity                                             $ 361.67 03/01/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 15,141.18 03/01/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 47,216.37 03/01/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 45,639.33 03/02/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                             $ 283.71 03/03/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                         $ 181,511.39 03/04/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,231.43 03/04/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,735.62 03/04/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,735.62 03/04/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 49,467.02 03/04/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,242.30 03/04/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 6,608.53 03/04/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 36,415.04 03/04/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 250,068.72 03/05/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 5,010.51 03/05/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 788.41 03/05/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY          Affiliate entity                                     $ 788.41 03/05/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY          Affiliate entity                                  $ 38,742.37 03/05/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC         Affiliate entity                                  $ 99,415.42 03/05/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,716.47 03/05/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 12,653.54 03/05/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 5,983.84 03/05/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 3,027.49 03/05/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 108,262.61 03/06/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 10,270.68 03/06/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,133.35 03/06/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,133.35 03/06/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 36,916.01 03/06/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 4,356.05 03/06/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 6,964.57 03/06/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 30,011.79 03/06/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 233,155.07 03/07/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 9,623.09 03/07/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 68,734.17 03/07/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,745.17 03/07/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 10,704.78 03/07/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 39,382.70 03/07/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 215,473.73 03/08/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 13,073.97 03/08/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,986.31 03/08/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,986.31 03/08/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 55,559.99 03/08/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                              $ 74.36 03/08/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 12,076.75 03/08/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 40,481.46 03/08/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 47,721.00 03/09/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                             $ 428.62 03/10/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 180,952.19 03/11/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 10,673.05 03/11/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY          Affiliate entity                                  $ 64,944.74 03/11/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS            Affiliate entity                                     $ 631.80 03/11/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC         Affiliate entity                                  $ 90,939.90 03/11/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 11,009.16 03/11/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 32,356.89 03/11/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 6,733.06 03/11/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 3,432.84 03/11/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 245,197.56 03/12/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,779.31 03/12/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 798.03 03/12/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 798.03 03/12/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 39,824.17 03/12/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 157.92 03/12/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 13,445.03 03/12/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 22,257.33 03/12/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 100,610.76 03/13/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 10,292.43 03/13/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 32,549.92 03/13/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 871.64 03/13/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 3,517.90 03/13/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 23,209.79 03/13/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 190,891.68 03/14/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 11,211.35 03/14/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 42,527.33 03/14/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,386.97 03/14/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,165.00 03/14/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 39,244.01 03/14/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 175,166.41 03/15/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 9,426.97 03/15/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 86,584.27 03/15/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 200.51 03/15/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,365.67 03/15/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 43,585.77 03/15/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


CHICKEN OF THE SEA               Affiliate entity                                  $ 38,658.15 03/16/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA               Affiliate entity                                 $ 148,319.11 03/18/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY          Affiliate entity                                   $ 3,726.42 03/18/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY          Affiliate entity                                  $ 44,359.21 03/18/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS            Affiliate entity                                   $ 2,036.97 03/18/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC         Affiliate entity                                  $ 91,933.27 03/18/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 7,754.98 03/18/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 30,056.05 03/18/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 7,000.44 03/18/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 2,574.43 03/18/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 210,597.87 03/19/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,467.34 03/19/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,251.12 03/19/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,251.12 03/19/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 34,971.78 03/19/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,061.98 03/19/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 12,726.84 03/19/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


CHICKEN OF THE SEA       Affiliate entity                                         $ 113,172.02 03/20/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,127.67 03/20/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,386.43 03/20/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,386.43 03/20/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 29,065.81 03/20/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 134.16 03/20/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 5,729.33 03/20/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 24,439.45 03/20/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 193,833.65 03/21/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 11,865.52 03/21/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 52,038.38 03/21/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 2,560.18 03/21/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 4,769.96 03/21/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 43,476.38 03/21/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 171,326.29 03/22/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,686.27 03/22/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 54,290.06 03/22/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 11,545.80 03/22/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 43,139.19 03/22/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 42,867.83 03/23/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 151,596.21 03/25/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 9,677.63 03/25/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 52,677.37 03/25/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 881.96 03/25/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC Affiliate entity                                          $ 82,915.28 03/25/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 7,605.86 03/25/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 31,204.63 03/25/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 5,156.68 03/25/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 1,356.97 03/25/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA               Affiliate entity                                $ 235,928.26 03/26/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY          Affiliate entity                                  $ 11,630.31 03/26/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY          Affiliate entity                                   $ 1,507.60 03/26/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY          Affiliate entity                                   $ 1,507.60 03/26/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 26,702.65 03/26/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 11,133.90 03/26/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 13,519.18 03/26/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 129,984.35 03/27/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,760.41 03/27/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 451.28 03/27/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 451.28 03/27/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 26,501.10 03/27/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,651.98 03/27/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 4,762.54 03/27/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 21,173.19 03/27/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 219,076.31 03/28/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 9,564.43 03/28/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 51,532.89 03/28/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 6,059.42 03/28/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 39,951.41 03/28/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


CHICKEN OF THE SEA       Affiliate entity                                        $ 179,571.36 03/29/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 5,859.16 03/29/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 99,909.01 03/29/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 4,478.21 03/29/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 45,198.31 03/29/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
THAI UNION GROUP PUBLIC  Affiliate entity                                           $ 8,593.85 03/29/2024             Reimbursement of employee-related
COMPANY LTD                                                                                                           expenses
72/1 MOO 7, SETHAKIT 1
ROAD, TARSRAI
SUB-DISTRICT
MUEANG SAMUT SAKHON
SAMUT SAKHON, 74000
THAILAND
CHICKEN OF THE SEA       Affiliate entity                                          $ 40,613.82 03/30/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                             $ 314.97 03/31/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 140,649.86 04/01/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 8,549.95 04/01/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 684.05 04/01/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 684.05 04/01/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 50,718.45 04/01/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,000.61 04/01/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC Affiliate entity                                          $ 86,061.78 04/01/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 12,561.05 04/01/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER RESTAURANTS Affiliate entity                                           $ 25,770.31 04/01/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 5,661.33 04/01/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 2,503.49 04/01/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 227,387.96 04/02/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 5,999.07 04/02/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 372.59 04/02/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 372.59 04/02/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 20,467.61 04/02/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 7,324.27 04/02/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,747.57 04/02/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                         $ 116,468.32 04/03/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 9,160.07 04/03/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 25,317.30 04/03/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 2,416.71 04/03/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 3,216.75 04/03/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 18,122.49 04/03/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 185,973.61 04/04/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 8,719.32 04/04/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 60,260.39 04/04/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,089.42 04/04/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 6,117.49 04/04/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 36,446.54 04/04/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 189,537.24 04/05/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,409.58 04/05/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 76,570.13 04/05/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,515.80 04/05/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 61,047.25 04/05/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 34,348.63 04/06/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 141,456.12 04/08/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 5,519.92 04/08/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 42,311.19 04/08/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,097.71 04/08/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC Affiliate entity                                          $ 72,019.48 04/08/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 5,611.20 04/08/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER RESTAURANTS Affiliate entity                                           $ 43,562.72 04/08/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 4,607.74 04/08/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 2,452.61 04/08/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 216,148.36 04/09/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,613.39 04/09/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 2,263.92 04/09/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 2,263.92 04/09/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 32,793.55 04/09/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 14,062.90 04/09/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 14,770.28 04/09/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 98,672.31 04/10/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 11,280.52 04/10/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 51,393.60 04/10/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 587.85 04/10/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 5,119.48 04/10/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 26,070.12 04/10/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                              $ 225.00 04/10/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


CHICKEN OF THE SEA       Affiliate entity                                        $ 169,204.39 04/11/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 8,804.10 04/11/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 59,830.00 04/11/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 4,025.08 04/11/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 13,060.97 04/11/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 42,562.12 04/11/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 183,832.87 04/12/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 11,759.03 04/12/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 366.80 04/12/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 366.80 04/12/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 61,859.28 04/12/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 905.27 04/12/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 11,703.01 04/12/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 50,772.15 04/12/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 33,353.40 04/13/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 122,525.45 04/15/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY          Affiliate entity                                  $ 11,794.94 04/15/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY          Affiliate entity                                  $ 46,714.86 04/15/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS            Affiliate entity                                   $ 2,264.01 04/15/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC         Affiliate entity                                  $ 75,046.97 04/15/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 13,106.85 04/15/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 36,131.65 04/15/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 5,055.28 04/15/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 2,430.86 04/15/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 201,725.71 04/16/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 13,090.60 04/16/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 566.06 04/16/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 566.06 04/16/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 36,480.38 04/16/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 12,030.06 04/16/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 11,041.34 04/16/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                         $ 115,142.64 04/17/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,321.03 04/17/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor             Total Amount or Value       Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,507.13 04/17/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,507.13 04/17/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 20,375.38 04/17/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                               $ 214.73 04/17/2024           Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 3,400.91 04/17/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 20,689.88 04/17/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                         $ 168,473.20 04/18/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 9,234.34 04/18/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 58,195.48 04/18/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                               $ 930.18 04/18/2024           Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 4,207.26 04/18/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 38,674.87 04/18/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL CARES, INC            Non-Debtor not-for-profit entity                          $ 24,194.31 04/18/2024             Remittance of employee charitable
450 S ORANGE AVE STE 800                                                                                              contributions
ORLANDO, FL 32801-3344
RL CARES, INC                    Non-Debtor not-for-profit entity                  $ 23,900.11 04/18/2024             Remittance of employee charitable
450 S ORANGE AVE STE 800                                                                                              contributions
ORLANDO, FL 32801-3344
RL CARES, INC                    Non-Debtor not-for-profit entity                  $ 20,108.48 04/18/2024             Remittance of employee charitable
450 S ORANGE AVE STE 800                                                                                              contributions
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA               Affiliate entity                                 $ 159,809.28 04/19/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY          Affiliate entity                                   $ 6,485.98 04/19/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

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              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 52,115.61 04/19/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 556.50 04/19/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 10,824.81 04/19/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 30,304.22 04/19/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 32,358.41 04/20/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                             $ 718.43 04/21/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 108,129.56 04/22/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 5,579.31 04/22/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 37,120.86 04/22/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,741.69 04/22/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC Affiliate entity                                          $ 74,304.76 04/22/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 10,464.98 04/22/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 31,278.94 04/22/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 4,856.08 04/22/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 2,384.41 04/22/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA               Affiliate entity                                $ 175,490.38 04/23/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY          Affiliate entity                                   $ 8,099.06 04/23/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 19,177.98 04/23/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,611.94 04/23/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,631.93 04/23/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 101,773.94 04/24/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,721.76 04/24/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 521.70 04/24/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 521.70 04/24/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 17,803.55 04/24/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,188.27 04/24/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 2,972.41 04/24/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 19,501.41 04/24/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 167,485.08 04/25/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 4,592.31 04/25/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 43,786.23 04/25/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 752.29 04/25/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 5,715.00 04/25/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER RESTAURANTS Affiliate entity                                           $ 38,604.45 04/25/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 154,572.60 04/26/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 14,820.00 04/26/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 801.46 04/26/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 801.46 04/26/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 50,062.67 04/26/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 4,835.20 04/26/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 31,911.37 04/26/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 31,467.18 04/27/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 136,264.85 04/29/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,758.64 04/29/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 44,188.59 04/29/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 198.73 04/29/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC Affiliate entity                                          $ 73,995.96 04/29/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 4,676.04 04/29/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 24,872.20 04/29/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 5,774.00 04/29/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RL OF JONESBORO INC              Affiliate entity                                   $ 2,418.56 04/29/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 203,050.95 04/30/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 9,068.96 04/30/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,844.35 04/30/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 1,844.35 04/30/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 13,431.92 04/30/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 140.69 04/30/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 7,411.54 04/30/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 14,313.16 04/30/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 142,165.81 05/01/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,478.77 05/01/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 35,323.29 05/01/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 445.00 05/01/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 5,913.74 05/01/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 18,390.98 05/01/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 205,458.86 05/02/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 4,899.40 05/02/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 63,516.52 05/02/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 1,116.62 05/02/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 5,930.13 05/02/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 39,896.42 05/02/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 186,936.06 05/03/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 8,050.74 05/03/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                        $ 103,409.73 05/03/2024              Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 9,571.13 05/03/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 45,082.38 05/03/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 36,897.22 05/04/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                        $ 188,026.79 05/06/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 4,375.43 05/06/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 52,662.41 05/06/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 2,055.43 05/06/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC Affiliate entity                                          $ 68,290.29 05/06/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 10,653.68 05/06/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 29,922.27 05/06/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RL BILLINGS INC                  Affiliate entity                                   $ 5,626.12 05/06/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 2,778.40 05/06/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 301,889.22 05/07/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,896.70 05/07/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 4,204.64 05/07/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 4,204.64 05/07/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 38,780.18 05/07/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 10,305.35 05/07/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 12,946.51 05/07/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 198,805.19 05/08/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,887.90 05/08/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 528.70 05/08/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                             $ 528.70 05/08/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 37,541.40 05/08/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 2,171.23 05/08/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 7,818.72 05/08/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 33,467.48 05/08/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344

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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


CHICKEN OF THE SEA       Affiliate entity                                        $ 257,042.36 05/09/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 8,744.03 05/09/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 57,425.26 05/09/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                           $ 5,768.49 05/09/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,845.62 05/09/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 55,266.98 05/09/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL CARES, INC            Non-Debtor not-for-profit entity                             $ 582.57 05/09/2024             Remittance of employee charitable
450 S ORANGE AVE STE 800                                                                                              contributions
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 237,467.37 05/10/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 10,484.67 05/10/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 66,385.67 05/10/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS    Affiliate entity                                             $ 486.77 05/10/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 8,111.92 05/10/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 47,258.24 05/10/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 34,793.35 05/11/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                             $ 147.47 05/12/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
CHICKEN OF THE SEA       Affiliate entity                                          $ 80,443.52 05/13/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,203.22 05/13/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER HOSPITALITY          Affiliate entity                                  $ 59,471.32 05/13/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF KANSAS            Affiliate entity                                     $ 171.97 05/13/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER OF TEXAS INC         Affiliate entity                                 $ 116,953.41 05/13/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 11,145.89 05/13/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 37,238.89 05/13/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL BILLINGS INC          Affiliate entity                                           $ 6,169.94 05/13/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL OF JONESBORO INC              Affiliate entity                                   $ 3,730.73 05/13/2024             Liquor account funding
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                        $ 164,359.40 05/14/2024              Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 14,162.98 05/14/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 2,931.58 05/14/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 2,931.58 05/14/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 34,142.54 05/14/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 20,268.74 05/14/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 20,136.93 05/14/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 87,255.45 05/15/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 12,541.23 05/15/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 15,520.44 05/15/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344


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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Insider's Name and Address       Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


RED LOBSTER OF KANSAS    Affiliate entity                                           $ 3,138.33 05/15/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 5,879.36 05/15/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 22,532.08 05/15/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 73,053.51 05/16/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 6,210.41 05/16/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                        $ 292,333.21 05/16/2024              Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 5,446.15 05/16/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 93,242.31 05/16/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RL CARES, INC            Non-Debtor not-for-profit entity                          $ 12,655.46 05/16/2024             Remittance of employee charitable
450 S ORANGE AVE STE 800                                                                                              contributions
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 71,928.47 05/17/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245
RED LOBSTER HOSPITALITY  Affiliate entity                                           $ 7,987.37 05/17/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER HOSPITALITY  Affiliate entity                                          $ 16,182.80 05/17/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                            $ 2,938.01 05/17/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
RED LOBSTER RESTAURANTS Affiliate entity                                           $ 18,846.76 05/17/2024             Liquor account funding
LLC
450 S ORANGE AVE STE 800
ORLANDO, FL 32801-3344
CHICKEN OF THE SEA       Affiliate entity                                          $ 11,270.67 05/18/2024             Inventory food purchase (through
FROZEN FOODS                                                                                                          custom distribution arrangement)
2150 E. GRAND AVE
EL SEGUNDO, CA 90245




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Debtor Name: Red Lobster Management LLC                            SOFA Question 4: Payments or other transfers of property made within 1 year before filing                                                     Case Number: 24-02486
                                                                                                    Net Annual Activity



                                                                                                                                                                                                               Net Annual Activity
Debtor                              Description                       Trading Partner                                           Period                         Beginning Balance       Ending Balance          Receivable / (Payable)
Red Lobster Management LLC          Intercompany receivable from      Red Lobster Canada, Inc.                                  4/30/2023 - 4/28/2024          $      25,227,732.89    $      13,192,404.72    $      (12,035,328.17)
Red Lobster Management LLC          Intercompany receivable from      Red Lobster Hospitality LLC                               4/30/2023 - 4/28/2024          $      93,084,211.95    $     150,814,214.00    $       57,730,002.04
Red Lobster Management LLC          Intercompany receivable from      Red Lobster International Holdings LLC                    4/30/2023 - 4/28/2024          $       6,071,288.78    $       5,823,485.40    $         (247,803.38)
Red Lobster Management LLC          Intercompany receivable from      Red Lobster of Bel Air, Inc.                              4/30/2023 - 4/28/2024          $         350,794.54    $         556,778.22    $          205,983.68
Red Lobster Management LLC          Intercompany receivable from      Red Lobster of Texas, Inc.                                4/30/2023 - 4/28/2024          $       1,958,494.27    $         401,541.55    $       (1,556,952.72)
Red Lobster Management LLC          Intercompany receivable from      Red Lobster Restaurants LLC                               4/30/2023 - 4/28/2024          $      32,520,526.13    $      96,456,506.10    $       63,935,979.97
Red Lobster Management LLC          Intercompany receivable from      Red Lobster Sourcing LLC                                  4/30/2023 - 4/28/2024          $      58,778,786.43    $      24,854,784.93    $      (33,924,001.51)
Red Lobster Management LLC          Intercompany receivable from      Red Lobster Supply LLC                                    4/30/2023 - 4/28/2024          $       4,025,691.38    $                -      $       (4,025,691.38)
Red Lobster Management LLC          Intercompany receivable from      RL Billings, Inc.                                         4/30/2023 - 4/28/2024          $          28,045.10    $          41,938.51    $           13,893.41
Red Lobster Management LLC          Intercompany receivable from      RL Columbia LLC                                           4/30/2023 - 4/28/2024          $         903,295.34    $       1,149,659.55    $          246,364.21
Red Lobster Management LLC          Intercompany receivable from      RL Intermediate Holdings                                  4/30/2023 - 4/28/2024          $         640,782.00    $         683,353.92    $           42,571.92
Red Lobster Management LLC          Intercompany receivable from      RL Kansas LLC                                             4/30/2023 - 4/28/2024          $       1,584,179.28    $       2,745,518.47    $        1,161,339.19
Red Lobster Management LLC          Intercompany receivable from      RL Maryland, Inc.                                         4/30/2023 - 4/28/2024          $         374,880.07    $         876,509.77    $          501,629.70
Red Lobster Management LLC          Intercompany receivable from      RL of Frederick, Inc.                                     4/30/2023 - 4/28/2024          $         470,029.94    $         435,177.36    $          (34,852.58)
Red Lobster Management LLC          Intercompany receivable from      RL of Jonesboro, Inc.                                     4/30/2023 - 4/28/2024          $          92,763.88    $         202,370.82    $          109,606.94
Red Lobster Management LLC          Intercompany payable to           Red Lobster Cares, Inc.                                   4/30/2023 - 4/28/2024          $          (1,102.37)   $          (7,354.78)   $           (6,252.41)
Red Lobster Management LLC          Intercompany payable to           RL Salisbury, LLC                                         4/30/2023 - 4/28/2024          $        (400,079.86)   $        (355,580.41)   $           44,499.45
Red Lobster Management LLC          Intercompany payable to           RLSV, Inc.                                                4/30/2023 - 4/28/2024          $     (79,724,777.34)   $     (82,852,382.34)   $       (3,127,605.00)
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Debtor Name: Red Lobster Management LLC                                                                                 Case Number: 24-02486

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              SOFA Question 7: Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits



Case Title                  Case Number            Nature of Case                             Court Name and Address              Status


CONNORS, RICHARD V.                                ADA Dispute                                OFFICE OF THE ARIZONA               Concluded
RED LOBSTER                                                                                   ATTORNEY GENERAL CIVIL
MANAGEMENT LLC                                                                                LITIGATION DIVISION, DIVISION
                                                                                              OF CIVIL RIGHTS SECTION
                                                                                              400 WEST CONGRESS, SOUTH
                                                                                              BUILDING, STE. S-315
                                                                                              TUCSON, AZ 85701
IPSOS V. RED LOBSTER        651226 / 2024          ADA Dispute                                SUPREME COURT OF THE                Pending
MANAGEMENT LLC                                                                                STATE OF NEW YORK, COUNTY
                                                                                              OF NEW YORK
                                                                                              60 CENTRE ST.
                                                                                              NEW YORK, NY 10007
ALVEAR, ENRIQUE V. RED      1:24-CV-20601          ADA Dispute                                U.S. DISTRICT COURT                 Pending
LOBSTER MANAGEMENT                                                                            SOUTHERN DISTRICT OF
LLC                                                                                           FLORIDA
                                                                                              400 N. MIAMI AVE.
                                                                                              MIAMI, FL 33128
DEZZIE RAE MARSHALL,        2:21-CV-04789-JAK-     Advertising Dispute                        U.S. DISTRICT COURT,                Pending
ON BEHALF OF HERSELF        MAR                                                               CENTRAL DISTRICT OF
AND ALL OTHERS                                                                                CALIFORNIA
SIMILARLY SITUATED V.                                                                         255 EAST TEMPLE STREET
RED LOBSTER                                                                                   SUITE 180
MANAGEMENT LLC AND                                                                            LOS ANGELES, CA 90012
RED LOBSTER
HOSPITALITY LLC
DEZZI RAE MARSHALL V.       2:21-CV-04786-JAK-     Class Action                               U.S. DISTRICT COURT,                Pending
RED LOBSTER                 MAR                                                               CENTRAL DISTRICT OF
MANAGEMENT LLC                                                                                CALIFORNIA
                                                                                              350 W. 1ST ST., STE. 4311
                                                                                              LOS ANGELES, CA 90012
IPSOS-INSIGHT, LLC VS.      651226/2024            Collection Action                          SUPREME COURT OF THE                Pending
RED LOBSTER                                                                                   STATE OF NEW YORK, COUNTY
MANAGEMENT LLC                                                                                OF NEW YORK
                                                                                              60 CENTRE ST.
                                                                                              NEW YORK, NY 10007
ALEJANDRO RIOS V. RED       23PDSC02848            General Liability                          SUPERIOR COURT OF                   Concluded
LOBSTER MANAGEMENT                                                                            CALIFORNIA, COUNTY OF LOS
LLC                                                                                           ANGELES, SMALL CLAIMS
                                                                                              600 S COMMONWEALTH AVE.
                                                                                              LOS ANGELES, CA 90005
SHYANNE RIOS V. RED         23PDSC02861            General Liability                          SUPERIOR COURT OF                   Concluded
LOBSTER MANAGEMENT                                                                            CALIFORNIA, COUNTY OF LOS
LLC                                                                                           ANGELES, SMALL CLAIMS
                                                                                              600 S COMMONWEALTH AVE.
                                                                                              LOS ANGELES, CA 90005
PFS GROUP LLC V. RED        2022CV371730           Landlord Breach of Contract                FULTON COUNTY SUPERIOR              Concluded
LOBSTER MANAGEMENT                                                                            COURT
LLC                                                                                           136 PRYOR ST., STE. C155
                                                                                              ATLANTA, GA 30303
BERNARD KERSHNER V.         2021-CA-013307         Personal Injury                            15H JUDICIAL CIRCUIT IN AND         Pending
RED LOBSTER                                                                                   FOR PALM BEACH COUNTY, FL
MANAGEMENT LLC                                                                                205 NORTH DIXIE HIGHWAY
                                                                                              3RD FLOOR
                                                                                              WEST PALM BEACH, FL 33401
ANGEL MORALES V. RED        2023CA003238           Personal Injury                            18TH JUDICIAL CIRCUIT IN AND        Pending
LOBSTER MANAGEMENT                                                                            FOR SEMINOLE COUNTY
LLC                                                                                           301 N PARK AVE
                                                                                              SANFORD, FL 32771
TRACY WALKER V. RED         2022L007631            Personal Injury                            CIRCUIT COURT OF COOK               Pending
LOBSTER HOSPITALITY,                                                                          COUNTY, IL
LLC; RED LOBSTER                                                                              50 W. WASHINGTON
MANAGEMENT, LLC; RED                                                                          SUITE 1001
LOBSTER RESTAURANTS,                                                                          CHICAGO, IL 60602
LLC



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Debtor Name: Red Lobster Management LLC                                                                                 Case Number: 24-02486

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              SOFA Question 7: Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits



Case Title                  Case Number            Nature of Case                             Court Name and Address              Status


GERALD GREGORY AND     22-LA-0934                  Personal Injury                            CIRCUIT COURT TWENTIETH             Concluded
ALICICA GREGORY V. RED                                                                        JUDICIAL CIRCUIT, ST. CLAIR
LOBSTER MANAGEMENT                                                                            COUNTY, IL
LLC                                                                                           10 PUBLIC SQ
                                                                                              BELLEVILLE, IL 62220
MYRA FIELDS-ROUSE V.        L-000106-21            Personal Injury                            COURT OF COMMON PLEAS               Concluded
THE RED LOBSTER; RED                                                                          LAW DIVISION, CAMDEN
LOBSTER HOSPITALITY,                                                                          COUNTY
LLC; RED LOBSTER                                                                              101 SOUTH 5TH STREET
RESTAURANTS, LLC; RED                                                                         CAMDEN, NJ 08103
LOBSTER MANAGEMENT,
LLC D/B/A RED LOBSTER;
GOLDEN GATE PRIVATE
EQUITY, INC. D/B/A
GOLDEN STATE CAPITAL
D/B/A RED LOBSTER
SANDRA GILL V. RED          GD 23-14071            Personal Injury                            COURT OF COMMON PLEAS OF Pending
LOBSTER HOSPITALITY                                                                           ALLEGHENY COUNTY, PA
LLC; RED LOBSTER                                                                              414 GRANT ST
MANAGEMENT LLC; AND                                                                           PITTSBURGH, PA 15219
THAI UNION NORTH
AMERICA INC.
AISHA MCINTOSH V. RED       200901779              Personal Injury                            COURT OF COMMON PLEAS               Concluded
LOBSTER RESTAURANTS                                                                           PHILADELPHIA COUNTY, CIVIL
LLC AND RED LOBSTER                                                                           ACTION
MANAGEMENT LLC                                                                                1400 JOHN F KENNEDY BLVD
                                                                                              PHILADELPHIA, PA 19107
TADGRICK PEART V. RED       200201974              Personal Injury                            COURT OF COMMON PLEAS               Concluded
LOBSTER RESTAURANTS                                                                           PHILADELPHIA COUNTY, CIVIL
LLC AND RED LOBSTER                                                                           ACTION
MANAGEMENT LLC                                                                                1400 JOHN F KENNEDY BLVD
                                                                                              PHILADELPHIA, PA 19107
LUISA PEREZ V. RED          202202163              Personal Injury                            DISTRICT COURT OF HARRIS            Concluded
LOBSTER MANAGEMENT                                                                            COUNTY, TX - 80TH JUDICIAL
LLC                                                                                           DISTRICT
                                                                                              201 CAROLINE ST.
                                                                                              HOUSTON, TX 77002
HOWARD GARRETT V. RED CJ-2022-01384                Personal Injury                            DISTRICT COURT OF TULSA             Concluded
LOBSTER HOSPITALITY                                                                           COUNTY, STATE OF OKLAHOMA
LLC AND RED LOBSTER                                                                           500 S DENVER AVE
MANAGEMENT LLC                                                                                TULSA, OK 74103
ROBERT WALKER V. RED 05-2021-CA-034389             Personal Injury                            EIGHTEENTH JUDICIAL CIRCUIT         Pending
LOBSTER MANAGEMENT                                                                            IN AND FOR BREVARD COUNTY,
LLC                                                                                           FL
                                                                                              2825 JUDGE FRAN JAMIESON
                                                                                              WAY
                                                                                              MELBOURNE, FL 32940
MELVIN SCOTT V. RED         35-2023-CA-001679      Personal Injury                            FIFTH JUDICIAL CIRCUIT IN AND       Pending
LOBSTER MANAGEMENT                                                                            FOR LAKE COUNTY, FL
LLC                                                                                           550 W. MAIN
                                                                                              ST. TAVARES, FL 32778
KIMBERLY SEARCY V. RED 1-390-20                    Personal Injury                            FIRST CIRCUIT COURT OF              Concluded
LOBSTER MANAGEMENT                                                                            KNOX COUNTY, TN AT
LLC AND RED LOBSTER                                                                           KNOXVILLE
RESTAURANTS LLC                                                                               300 W MAIN ST
                                                                                              KNOXVILLE, TN 37902
MARY JANE DAVIS AND         LACV 099157            Personal Injury                            IOWA DISTRICT COURT FOR             Concluded
CLETIS DAVIS V. RED                                                                           LINN COUNTY
LOBSTER RESTAURANTS                                                                           50 3RD AVENUE BRG
LLC AND RED LOBSTER                                                                           CEDAR RAPIDS, IA 52401
MANAGEMENT LLC




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Debtor Name: Red Lobster Management LLC                                                                                 Case Number: 24-02486

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              SOFA Question 7: Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits



Case Title                  Case Number            Nature of Case                             Court Name and Address              Status


JOHN RAMALHO AND         22-CI-000705              Personal Injury                            JEFFERSON CIRCUIT COURT,            Pending
KRISITE RAMALHO V. RED                                                                        DIVISION 7, KY
LOBSTER RESTAURANTS,                                                                          700 W. JEFFERSON ST.
LLC; ARCP RL PORTFOLIO                                                                        LOUISVILLE, KY 40202
IV, LLC; RED LOBSTER
HOSPITALITY, LLC; RED
LOBSTER MANAGEMENT,
LLC; FCPT HOLDINGS, LLC;
GMRI, INC.; JOHN
DOE/JANE DOE
KAREN SANSONE V. 5950 CACE-22-015270               Personal Injury                            SEVENTEENTH JUDICIAL       Concluded
NORTH FEDERAL                                                                                 CIRCUIT IN AND FOR BROWARD
INVESTMENTS LLC, RED                                                                          COUNTY, FL
LOBSTER MANAGEMENT                                                                            201 SE 6TH ST
LLC, AND RED LOBSTER                                                                          FORT LAUDERDALE, FL 33301
HOSPITALITY LLC
LINDA BROWN V. RED       21-SCCV-093685            Personal Injury                            STATE COURT OF BIBB                 Concluded
LOBSTER MANAGEMENT                                                                            COUNTY, GA
LLC                                                                                           601 MULBERRY ST
                                                                                              STE 101
                                                                                              MACON, GA 31201
ESPERANZA CARR V. RED       21-A-3726              Personal Injury                            STATE COURT OF COBB                 Pending
LOBSTER RESTAURANTS                                                                           COUNTY, GA
LLC AND RED LOBSTER                                                                           32 WADDELL STREET
MANAGEMENT LLC                                                                                MARIETTA, GA 30090
WILLIAM DENNINGHAM V.       STSV2023000385         Personal Injury                            STATE COURT OF DOUGHERTY            Pending
RED LOBSTER                                                                                   COUNTY, GA
INTERMEDIATE HOLDINGS                                                                         225 PINE AVE
LLC; RED LOBSTER                                                                              STE 311
MANAGEMENT LLC; RED                                                                           ALBANY, GA 31701
LOBSTER RESTAURANTS
LLC D/B/A RED LOBSTER
#34; JOHN DOES 1-10
SAUNDRIA STUBBS V.          2022-197925-NO         Personal Injury                            STATE OF MICHIGAN IN THE            Concluded
ARCP RL PORTFOLIO VII,                                                                        OAKLAND COUNTY CIRCUIT
LLC; RED LOBSTER                                                                              COURT
HOSPITALITY, LLC; RED                                                                         1200 N TELEGRAPH RD
LOBSTER MANAGEMENT,                                                                           PONTIAC, MI 48341
LLC; AND RED LOBSTER
#389
JACQUELINE MACK FOR         SC-000511-20/KI        Personal Injury                            STATE OF NEW YORK, COUNTY           Concluded
MARCELLUS MOFFIT 7 YO                                                                         OF KINGS, CIVIL COURT OF THE
GRANDSON V. RED                                                                               CITY OF NEW YORK SMALL
LOBSTER MANAGEMENT                                                                            CLAIM PART
LLC                                                                                           141 LIVINGSTON ST.
                                                                                              BROOKLYN, NY 11201
ERNEST VASQUEZ V. RED       CIVDS2102294           Personal Injury                            SUPERIOR CORUT OF THE               Concluded
LOBSTER HOSPITALITY,                                                                          STATE OF CALIFORNIA,
LLC; RED LOBSTER                                                                              COUNTY OF SAN BERNARDINO
MANAGEMENT, LLC;                                                                              655 W 2ND ST
LEONA TUCK                                                                                    SAN BERNARDINO, CA 92410
FAYE PORTER V. RED          CIV DS2009563          Personal Injury                            SUPERIOR CORUT OF THE               Concluded
LOBSTER MANAGEMENT                                                                            STATE OF CALIFORNIA,
LLC                                                                                           COUNTY OF SAN BERNARDINO
                                                                                              655 W 2ND ST
                                                                                              SAN BERNARDINO, CA 92410
SMOKEY SPARKS V. RED        CIV SB 2317839         Personal Injury                            SUPERIOR CORUT OF THE               Pending
LOBSTER MANAGEMENT                                                                            STATE OF CALIFORNIA,
LLC                                                                                           COUNTY OF SAN BERNARDINO
                                                                                              655 W 2ND ST
                                                                                              SAN BERNARDINO, CA 92410




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Debtor Name: Red Lobster Management LLC                                                                                 Case Number: 24-02486

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              SOFA Question 7: Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits



Case Title                  Case Number            Nature of Case                             Court Name and Address              Status


ERICH WHITEFORD V. RED CIVSB2324052                Personal Injury                            SUPERIOR COURT OF CA,     Pending
LOBSTER HOSPITALITY                                                                           COUNTY OF SAN BERNARDINO,
LLC, CHAVAN KB & KK                                                                           SAN BERNARDINO DISTRICT
LIVING TRUST, RED                                                                             247 WEST THIRD STREET
LOBSTER MANAGEMENT,                                                                           SAN BERNARDINO, CA 92415
LLC, AND DOES 1 TO 25
TAMELIA DOWELL V. GMRI, SU2023CV000547             Personal Injury                            SUPERIOR COURT OF                   Pending
INC., RED LOBSTER                                                                             MUSCOGEE COUNTY, GA
RESTAURANTS LLC, RED                                                                          100 10TH ST
LOBSTER MANAGEMENT                                                                            STE 2
LLC                                                                                           COLUMBUS, GA 31901
DOROTHY SMERKO V. RED MID-L-7067-19                Personal Injury                            SUPERIOR COURT OF NEW               Concluded
LOBSTER MANAGEMENT                                                                            JERSEY LAW DIVISION
LLC, RED LOBSTER                                                                              MIDDLESEX COUNTY
RESTAURANTS, LLC, JOHN                                                                        56 PATERSON ST
DOES, XYZ                                                                                     NEW BRUNSWICK, NJ 08901
CORPORATIONS
MIA ALERS-ALVIRA V. RED HUD-L-3263-16              Personal Injury                            SUPERIOR COURT OF NEW               Concluded
LOBSTER RESTAURANT,                                                                           JERSEY, HUDSON COUNTY
INC. (D.B.A. RED LOBSTER                                                                      595 NEWARK AVENUE
# 6314); RED LOBSTER                                                                          JERSEY CITY, NJ 07306
HOSPITALITY, LLC; RED
LOBSTER MANAGEMENT,
LLC; THE PLAZA AT
HARMON MEADOW; HARTZ
MOUNTAIN INDUSTRIES;
ABC CORP. 1-20; ABC
MAINTENANCE 1-20;
JOHN/JANE DOES 1-20
ADRIENNE SIMMONS V.      HUD-L-2583-21             Personal Injury                            SUPERIOR COURT OF NEW               Concluded
RED LOBSTER                                                                                   JERSEY, HUDSON COUNTY -
MANAGEMENT LLC, JOHN                                                                          LAW DIVISION
DOES, ABC COS, AND XYZ                                                                        595 NEWARK AVENUE
CORPS                                                                                         JERSEY CITY, NJ 07306
MACKENZIE PRATE, A       GLO-L-974-23              Personal Injury                            SUPERIOR COURT OF NEW               Pending
MINOR BY HER MOTHER                                                                           JERSEY, LAW DIVISION,
AND GUARDIAN AD LITEM,                                                                        GLOUCESTER COUNTY
CAITLIN PRATE V. RED                                                                          70 HUNTER ST
LOBSTER, RED LOBSTER                                                                          WOODBURY, NJ 08096
MANAGEMENT LLC, RED
LOBSTER HOSPITALITY,
LLC, JOHN DOES 1-10,
JACK ROES 1-10, RL
EMPLOYEE 1 AND MARY
DOES 1-10
MELISSA RANDAZZO AND 21STCV40424                   Personal Injury                            SUPERIOR COURT OF THE               Pending
DAVID ONTIVEROS V. RFP                                                                        STATE OF CALIFORNIA,
RED LOBSTER, LLC; RED                                                                         COUNTY OF LOS ANGELES
LOBSTER HOSPITALITY,                                                                          600 S COMMONWEALTH AVE
LLC; RED LOBSTER                                                                              LOS ANGELES, CA 90005
MANAGEMENT, LLC;
TERRY BAINBRIDGE; DOES
VIESA BROWN ONUNKWO 21STCV24303                    Personal Injury                            SUPERIOR COURT OF THE               Concluded
V. RED LOBSTER                                                                                STATE OF CALIFORNIA,
MANAGEMENT LLC                                                                                COUNTY OF LOS ANGELES,
                                                                                              CENTRAL DISTRICT
                                                                                              600 S COMMONWEALTH AVE
                                                                                              LOS ANGELES, CA 90005
CHRISTINE SALAMATIN V. N23C-07-140 TBA             Personal Injury                            SUPERIOR COURT OF THE               Pending
RED LOBSTER                                                                                   STATE OF DELAWARE
HOSPITALITY LLC; RED                                                                          500 N KING ST
LOBSTER MANAGEMENT                                                                            WILMINGTON, DE 19801
LLC; FCPT HOLDINGS, LLC




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Debtor Name: Red Lobster Management LLC                                                                                 Case Number: 24-02486

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              SOFA Question 7: Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits



Case Title                  Case Number            Nature of Case                             Court Name and Address              Status


ELEASIA BLACKMAN V.         901908/2017            Personal Injury                            SUPREME COURT OF THE                Pending
RED LOBSTER                                                                                   STATE OF NEW YORK, ALBANY
HOSPITALITY LLC AND                                                                           COUNTY
RED LOBSTER                                                                                   ALBANY COUNTY
MANAGEMENT LLC                                                                                COURTHOUSE
                                                                                              ROOM 102
                                                                                              16 EAGLE STREET
                                                                                              ALBANY, NY 12207
WILLIAM COLLAZO AS          31779/2018E            Personal Injury                            SUPREME COURT OF THE                Pending
ADMINISTRATOR OF THE                                                                          STATE OF NEW YORK, BRONX
GOODS CHATTLES AND                                                                            COUNTY
CREDITS OF THE ESTATE                                                                         851 GRAND CONCOURSE
OF MIGDALIA COLON AND                                                                         BRONX, NY 10451
WILLIAM COLLAZO
INDIVIDUALLY V. RED
LOBSTER HOSPITALITY
LLC, RED LOBSTER
MANAGEMENT LLC, AND
RED LOBSTER
KENNETH SCHEBEN V.          611909-18              Personal Injury                            SUPREME COURT OF THE      Pending
RED LOBSTER                                                                                   STATE OF NEW YORK, COUNTY
HOSPITALITY LLC D/B/A                                                                         OF SUFFOLK
RED LOBSTER                                                                                   1 COURT ST
MANAGEMENT, LLC; KIR                                                                          RIVERHEAD, NY 11901
COPIAGUE, L.P., AND
KIMCO REALTY
CORPORATION
TIFFANY FRISBY V. RED       605395/2021            Personal Injury                            SUPREME COURT OF THE      Concluded
LOBSTER HOSPITALITY                                                                           STATE OF NEW YORK, COUNTY
LLC AND RED LOBSTER                                                                           OF SUFFOLK
MANAGEMENT LLC                                                                                1 COURT ST
                                                                                              RIVERHEAD, NY 11901
DAMARYS                     526066/2018            Personal Injury                            SUPREME COURT OF THE      Pending
GUZMAN-PIZZARO A/K/A                                                                          STATE OF NEW YORK, KINGS
DAMARIS GUZMAN                                                                                COUNTY
PIZZARO V. GREEN ACRES                                                                        360 ADAMS ST
MALL, L.L.C., RED                                                                             BROOKLYN, NY 11201
LOBSTER HOSPITALITY,
LLC; RED LOBSTER
MANAGEMENT LLC; AND
RED LOBSTER
INTERMEDIATE HOLDINGS
ANATRA D. MAHONEY V.        21-CA-006372           Personal Injury                            THIRTEENTH JUDICIAL CIRCUIT Concluded
RED LOBSTER                                                                                   IN AND FOR HILLSBOROUGH
MANAGEMENT LLC AND                                                                            COUNTY, FL
RED LOBSTER                                                                                   800 E TWIGGS ST
HOSPITALITY, LLC                                                                              TAMPA, FL 33602
MADISON WILLIAMS V.         41-2020-CA-001025-     Personal Injury                            TWELFTH JUDICIAL CIRCUIT IN Concluded
RED LOBSTER                 CAAXMA                                                            AND FOR MANATEE COUNTY,
HOSPITALITY LLC; RED                                                                          FL
LOBSTER MANAGEMENT                                                                            1111 6TH AVE W
LLC; ESUE, LLC, FLORIDA                                                                       BRADENTON, FL 34205
SE, INC.; FLORIDA SE, LLC
GUY-POWELL, ET AL. V.       2022CH08365            Privacy Dispute                            COOK COUNTY, ILLINOIS      Concluded
RED LOBSTER                                                                                   CIRCUIT COURT, CHANCERY
MANAGEMENT LLC                                                                                DIVISION
                                                                                              50 W. WASHINGTON ST., ROOM
                                                                                              802
                                                                                              CHICAGO, IL 60602
ENRIQUE ALVEAR VS. RED 24-CV-20601                 Regulatory                                 US DISTRICT COURT,         Pending
LOBSTER MANAGEMENT                                                                            SOUTHERN DISTRICT OF
LLC                                                                                           FLORIDA
                                                                                              400 NORTH MIAMI AVE.
                                                                                              MIAMI, FL 33128




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                    Case 6:24-bk-02486-GER                   Doc 435         Filed 06/21/24           Page 1133 of 1148
Debtor Name: Red Lobster Management LLC                                                                                 Case Number: 24-02486

                                      Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 7: Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits



Case Title                  Case Number            Nature of Case                             Court Name and Address              Status


W VENTURES I LLC D/B/A      MDJ-24-1-02            Vendor Dispute                             MAGISTERIAL DISTRICT COURT Pending
FISH WINDOW CLEANING                                                                          COMMONWEALTH OF
V. RED LOBSTER                                                                                PENNSYLVANIA COUNTY OF
MANAGEMENT LLC                                                                                BLAIR
                                                                                              2601 5TH AVE.
                                                                                              ALTOONA, PA 16602




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                       Case 6:24-bk-02486-GER                      Doc 435          Filed 06/21/24            Page 1134 of 1148
Debtor Name: Red Lobster Management LLC                                                                                          Case Number: 24-02486

                                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

SOFA Question 9: List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the
                                                             gifts to that recipient is less than $1,000
Recipient Name and Address        Relationship to Debtor                Description                             Date                  Value


RL CARES                          Horace G. Dawson III, Former          Cash Donations                          June 2022                                 $ 146.60
450 S ORANGE AVENUE               Chief Executive Officer and
SUITE 800                         General Counsel of Red Lobster
ORLANDO, FL 32801                 Management LLC, is a Director
                                  and Treasurer. Susan Pavel, EVP
                                  and Chief People Officer of Red
                                  Lobster Management LLC, is a
                                  Director and the President.
RL CARES                          Horace G. Dawson III, Former          Cash Donations                          August 2022                               $ 256.85
450 S ORANGE AVENUE               Chief Executive Officer and
SUITE 800                         General Counsel of Red Lobster
ORLANDO, FL 32801                 Management LLC, is a Director
                                  and Treasurer. Susan Pavel, EVP
                                  and Chief People Officer of Red
                                  Lobster Management LLC, is a
                                  Director and the President.
MAKE-A-WISH FOUNDATION                                                  Cash Donations                          08/12/2022                             $ 10,000.00
OF AMERICA
1702 E HIGHLAND AVE STE
400
PHOENIX, AZ 85016-4630
RL CARES                          Horace G. Dawson III, Former          Cash Donations                          November 2022                             $ 185.00
450 S ORANGE AVENUE               Chief Executive Officer and
SUITE 800                         General Counsel of Red Lobster
ORLANDO, FL 32801                 Management LLC, is a Director
                                  and Treasurer. Susan Pavel, EVP
                                  and Chief People Officer of Red
                                  Lobster Management LLC, is a
                                  Director and the President.
RL CARES                          Horace G. Dawson III, Former          Cash Donations                          December 2022                             $ 253.00
450 S ORANGE AVENUE               Chief Executive Officer and
SUITE 800                         General Counsel of Red Lobster
ORLANDO, FL 32801                 Management LLC, is a Director
                                  and Treasurer. Susan Pavel, EVP
                                  and Chief People Officer of Red
                                  Lobster Management LLC, is a
                                  Director and the President.
RL CARES                          Horace G. Dawson III, Former          Cash Donations                          January 2023                              $ 790.54
450 S ORANGE AVENUE               Chief Executive Officer and
SUITE 800                         General Counsel of Red Lobster
ORLANDO, FL 32801                 Management LLC, is a Director
                                  and Treasurer. Susan Pavel, EVP
                                  and Chief People Officer of Red
                                  Lobster Management LLC, is a
                                  Director and the President.
HEART OF FLORIDA UNITED                                                 Cash Donations                          01/03/2023                              $ 5,000.00
WAY*
1940 TRAYLOR BLVD
ORLANDO, FL 328044714
UNIVERSITY OF MAINE                                                     Cash Donations                          01/26/2023                             $ 75,000.00
FOUNDATION
TWO ALUMNI PLACE
ORONO, ME 04469-5792
RL CARES                          Horace G. Dawson III, Former          Cash Donations                          February 2023                             $ 243.14
450 S ORANGE AVENUE               Chief Executive Officer and
SUITE 800                         General Counsel of Red Lobster
ORLANDO, FL 32801                 Management LLC, is a Director
                                  and Treasurer. Susan Pavel, EVP
                                  and Chief People Officer of Red
                                  Lobster Management LLC, is a
                                  Director and the President.




                                                                           Page 1 of 3
                       Case 6:24-bk-02486-GER                      Doc 435          Filed 06/21/24            Page 1135 of 1148
Debtor Name: Red Lobster Management LLC                                                                                          Case Number: 24-02486

                                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

SOFA Question 9: List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the
                                                             gifts to that recipient is less than $1,000
Recipient Name and Address        Relationship to Debtor                Description                             Date                  Value


RL CARES                          Horace G. Dawson III, Former          Cash Donations                          March 2023                                  $ 61.25
450 S ORANGE AVENUE               Chief Executive Officer and
SUITE 800                         General Counsel of Red Lobster
ORLANDO, FL 32801                 Management LLC, is a Director
                                  and Treasurer. Susan Pavel, EVP
                                  and Chief People Officer of Red
                                  Lobster Management LLC, is a
                                  Director and the President.
RL CARES                          Horace G. Dawson III, Former          Cash Donations                          April 2023                                  $ 75.00
450 S ORANGE AVENUE               Chief Executive Officer and
SUITE 800                         General Counsel of Red Lobster
ORLANDO, FL 32801                 Management LLC, is a Director
                                  and Treasurer. Susan Pavel, EVP
                                  and Chief People Officer of Red
                                  Lobster Management LLC, is a
                                  Director and the President.
RL CARES                          Horace G. Dawson III, Former          Cash Donations                          May 2023                                    $ 25.00
450 S ORANGE AVENUE               Chief Executive Officer and
SUITE 800                         General Counsel of Red Lobster
ORLANDO, FL 32801                 Management LLC, is a Director
                                  and Treasurer. Susan Pavel, EVP
                                  and Chief People Officer of Red
                                  Lobster Management LLC, is a
                                  Director and the President.
RL CARES                          Horace G. Dawson III, Former          Cash Donations                          June 2023                                 $ 146.60
450 S ORANGE AVENUE               Chief Executive Officer and
SUITE 800                         General Counsel of Red Lobster
ORLANDO, FL 32801                 Management LLC, is a Director
                                  and Treasurer. Susan Pavel, EVP
                                  and Chief People Officer of Red
                                  Lobster Management LLC, is a
                                  Director and the President.
MAKE-A-WISH FOUNDATION                                                  Cash Donations                          07/24/2023                            $ 266,497.77
OF AMERICA
1702 E HIGHLAND AVE STE
400
PHOENIX, AZ 85016-4630
RL CARES                          Horace G. Dawson III, Former          Cash Donations                          August 2023                               $ 256.85
450 S ORANGE AVENUE               Chief Executive Officer and
SUITE 800                         General Counsel of Red Lobster
ORLANDO, FL 32801                 Management LLC, is a Director
                                  and Treasurer. Susan Pavel, EVP
                                  and Chief People Officer of Red
                                  Lobster Management LLC, is a
                                  Director and the President.
WORLD WILDLIFE FUND INC                                                 Cash Donations                          08/01/2023                             $ 30,000.00
1250 24TH ST NW
WASHINGTON, DC
20037-1193
RL CARES                          Horace G. Dawson III, Former          Cash Donations                          October 2023                                $ 10.00
450 S ORANGE AVENUE               Chief Executive Officer and
SUITE 800                         General Counsel of Red Lobster
ORLANDO, FL 32801                 Management LLC, is a Director
                                  and Treasurer. Susan Pavel, EVP
                                  and Chief People Officer of Red
                                  Lobster Management LLC, is a
                                  Director and the President.
RL CARES                          Horace G. Dawson III, Former          Cash Donations                          November 2023                             $ 438.00
450 S ORANGE AVENUE               Chief Executive Officer and
SUITE 800                         General Counsel of Red Lobster
ORLANDO, FL 32801                 Management LLC, is a Director
                                  and Treasurer. Susan Pavel, EVP
                                  and Chief People Officer of Red
                                  Lobster Management LLC, is a
                                  Director and the President.




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Debtor Name: Red Lobster Management LLC                                                                                          Case Number: 24-02486

                                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

SOFA Question 9: List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the
                                                             gifts to that recipient is less than $1,000
Recipient Name and Address        Relationship to Debtor                Description                             Date                  Value


RL CARES                          Horace G. Dawson III, Former          Cash Donations                          December 2023                             $ 175.00
450 S ORANGE AVENUE               Chief Executive Officer and
SUITE 800                         General Counsel of Red Lobster
ORLANDO, FL 32801                 Management LLC, is a Director
                                  and Treasurer. Susan Pavel, EVP
                                  and Chief People Officer of Red
                                  Lobster Management LLC, is a
                                  Director and the President.
RL CARES                          Horace G. Dawson III, Former          Cash Donations                          January 2024                              $ 108.68
450 S ORANGE AVENUE               Chief Executive Officer and
SUITE 800                         General Counsel of Red Lobster
ORLANDO, FL 32801                 Management LLC, is a Director
                                  and Treasurer. Susan Pavel, EVP
                                  and Chief People Officer of Red
                                  Lobster Management LLC, is a
                                  Director and the President.
RL CARES                          Horace G. Dawson III, Former          Cash Donations                          February 2024                             $ 900.00
450 S ORANGE AVENUE               Chief Executive Officer and
SUITE 800                         General Counsel of Red Lobster
ORLANDO, FL 32801                 Management LLC, is a Director
                                  and Treasurer. Susan Pavel, EVP
                                  and Chief People Officer of Red
                                  Lobster Management LLC, is a
                                  Director and the President.
RL CARES                          Horace G. Dawson III, Former          Cash Donations                          March 2024                                $ 101.25
450 S ORANGE AVENUE               Chief Executive Officer and
SUITE 800                         General Counsel of Red Lobster
ORLANDO, FL 32801                 Management LLC, is a Director
                                  and Treasurer. Susan Pavel, EVP
                                  and Chief People Officer of Red
                                  Lobster Management LLC, is a
                                  Director and the President.
MAKE-A-WISH FOUNDATION                                                  Cash Donations                          03/29/2024                                 $559.25
OF AMERICA
1702 E HIGHLAND AVE STE
400
PHOENIX, AZ 85016-4630
MAKE-A-WISH FOUNDATION                                                  Cash Donations                          04/15/2024                             $ 30,000.00
OF AMERICA
1702 E HIGHLAND AVE STE
400
PHOENIX, AZ 85016-4630
MAKE-A-WISH FOUNDATION                                                  Cash Donations                          05/19/2024                              $30,000.00
OF AMERICA
1702 E HIGHLAND AVE STE
400
PHOENIX, AZ 85016-4630




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Debtor Name: Red Lobster Management LLC                                                                                     Case Number: 24-02486

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                           SOFA Question 10: All losses from fire, theft, or other casualty within 1 year before filing this case.



Description of Property                                         Amount of Payments                     Date of Loss           Value


Property Damage - Vehicle (Accident) at RL Store #No Site                                              07/20/2023                            Undetermined
Code
Property Damage - Vehicle (Accident) at RL Store #No Site                                              11/03/2023                            Undetermined
Code




                                                                        Page 1 of 1
                   Case 6:24-bk-02486-GER                   Doc 435         Filed 06/21/24        Page 1138 of 1148
Debtor Name: Red Lobster Management LLC                                                                          Case Number: 24-02486

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                                               SOFA Question 11: Payments related to bankruptcy



Who was paid or who received    Email or website       Who made payment,     If not money, describe any      Date             Amount
the transfer?                                          if not the debtor?    property transferred

ALIXPARTNERS LLP                https://www.alixpart                                                         11/13/2023       $ 750,000.00
909 3RD AVE                     ners.com/
NEW YORK, NY 10022
WEIL GOTSHAL & MANGES LLP       https://www.weil.co                                                          11/22/2023       $ 749,913.00
767 FIFTH AVENUE                m/
NEW YORK, NY 10153-0119
WEIL GOTSHAL & MANGES LLP       https://www.weil.co                                                          12/01/2023       $ 700,000.00
767 FIFTH AVENUE                m/
NEW YORK, NY 10153-0119
WEIL GOTSHAL & MANGES LLP       https://www.weil.co                                                          12/11/2023       $ 802,163.40
767 FIFTH AVENUE                m/
NEW YORK, NY 10153-0119
WEIL GOTSHAL & MANGES LLP       https://www.weil.co                                                          12/18/2023       $ 509,864.28
767 FIFTH AVENUE                m/
NEW YORK, NY 10153-0119
WEIL GOTSHAL & MANGES LLP       https://www.weil.co                                                          12/22/2023       $ 791,628.63
767 FIFTH AVENUE                m/
NEW YORK, NY 10153-0119
WEIL GOTSHAL & MANGES LLP       https://www.weil.co                                                          12/29/2023       $ 428,252.83
767 FIFTH AVENUE                m/
NEW YORK, NY 10153-0119
ALVAREZ & MARSAL NORTH          https://www.alvarez                                                          02/07/2024       $ 500,000.00
AMERICA LLC                     andmarsal.com/
600 MADISON AVE FL 8
NEW YORK, NY 10022-1758
ALVAREZ & MARSAL NORTH          https://www.alvarez                                                          02/15/2024       $ 374,792.28
AMERICA LLC                     andmarsal.com/
600 MADISON AVE FL 8
NEW YORK, NY 10022-1758
ALIXPARTNERS LLP                https://www.alixpart                                                         02/16/2024       $ 517,071.90
909 3RD AVE                     ners.com/
NEW YORK, NY 10022
ALIXPARTNERS LLP                https://www.alixpart                                                         02/21/2024       $ 402,479.37
909 3RD AVE                     ners.com/
NEW YORK, NY 10022
ALVAREZ & MARSAL NORTH          https://www.alvarez                                                          02/21/2024       $ 473,880.86
AMERICA LLC                     andmarsal.com/
600 MADISON AVE FL 8
NEW YORK, NY 10022-1758
ALIXPARTNERS LLP                https://www.alixpart                                                         02/28/2024       $ 682,239.83
909 3RD AVE                     ners.com/
NEW YORK, NY 10022
ALVAREZ & MARSAL NORTH          https://www.alvarez                                                          02/28/2024       $ 248,708.95
AMERICA LLC                     andmarsal.com/
600 MADISON AVE FL 8
NEW YORK, NY 10022-1758
ALVAREZ & MARSAL NORTH          https://www.alvarez                                                          03/07/2024       $ 291,704.71
AMERICA LLC                     andmarsal.com/
600 MADISON AVE FL 8
NEW YORK, NY 10022-1758
ALIXPARTNERS LLP                https://www.alixpart                                                         03/08/2024       $ 376,792.05
909 3RD AVE                     ners.com/
NEW YORK, NY 10022
ALIXPARTNERS LLP                https://www.alixpart                                                         03/14/2024       $ 348,429.00
909 3RD AVE                     ners.com/
NEW YORK, NY 10022
ALVAREZ & MARSAL NORTH          https://www.alvarez                                                          03/14/2024       $ 265,648.23
AMERICA LLC                     andmarsal.com/
600 MADISON AVE FL 8
NEW YORK, NY 10022-1758
KING & SPALDING LLP             https://www.kslaw.c                                                          03/18/2024       $ 1,000,000.00
1180 PEACHTREE STREET, NE       om/
SUITE 1600
ATLANTA, GA 30309


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Debtor Name: Red Lobster Management LLC                                                                           Case Number: 24-02486

                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                                               SOFA Question 11: Payments related to bankruptcy



Who was paid or who received    Email or website        Who made payment,     If not money, describe any      Date             Amount
the transfer?                                           if not the debtor?    property transferred

ALVAREZ & MARSAL NORTH          https://www.alvarez                                                           03/22/2024       $ 246,271.29
AMERICA LLC                     andmarsal.com/
600 MADISON AVE FL 8
NEW YORK, NY 10022-1758
BERGER SINGERMAN LLP            https://www.bergers                                                           03/27/2024       $ 350,000.00
300 SOUTH ORANGE AVENUE         ingerman.com/
SUITE 1000
ORLANDO, FL 32801
ALIXPARTNERS LLP                https://www.alixpart                                                          03/29/2024       $ 614,882.68
909 3RD AVE                     ners.com/
NEW YORK, NY 10022
ALVAREZ & MARSAL NORTH          https://www.alvarez                                                           03/29/2024       $ 313,587.80
AMERICA LLC                     andmarsal.com/
600 MADISON AVE FL 8
NEW YORK, NY 10022-1758
KING & SPALDING LLP             https://www.kslaw.c                                                           04/03/2024       $ 481,952.00
1180 PEACHTREE STREET, NE       om/
SUITE 1600
ATLANTA, GA 30309
ALVAREZ & MARSAL NORTH          https://www.alvarez                                                           04/04/2024       $ 323,857.15
AMERICA LLC                     andmarsal.com/
600 MADISON AVE FL 8
NEW YORK, NY 10022-1758
ALVAREZ & MARSAL NORTH          https://www.alvarez                                                           04/10/2024       $ 412,221.55
AMERICA LLC                     andmarsal.com/
600 MADISON AVE FL 8
NEW YORK, NY 10022-1758
BLAKE, CASSELS & GRAYDON        https://www.blakes.                                                           04/10/2024       50,000.00
LLP                             com/
199 BAY STREET
SUITE 4000
COMMERCE COURT WEST
TORONTO, ON MGL 1A9
CANADA
KING & SPALDING LLP             https://www.kslaw.c                                                           04/11/2024       $ 208,445.50
1180 PEACHTREE STREET, NE       om/
SUITE 1600
ATLANTA, GA 30309
HILCO GLOBAL                    https://hilcoglobal.c                                                         04/11/2024       $ 100,000.00
5 REVERE DR                     om/
SUITE 206
NORTHBROOK, IL 60062
ALVAREZ & MARSAL NORTH          https://www.alvarez                                                           04/15/2024       $ 291,012.37
AMERICA LLC                     andmarsal.com/
600 MADISON AVE FL 8
NEW YORK, NY 10022-1758
KING & SPALDING LLP             https://www.kslaw.c                                                           04/18/2024       $ 467,658.22
1180 PEACHTREE STREET, NE       om/
SUITE 1600
ATLANTA, GA 30309
ALVAREZ & MARSAL NORTH          https://www.alvarez                                                           04/18/2024       $ 370,035.06
AMERICA LLC                     andmarsal.com/
600 MADISON AVE FL 8
NEW YORK, NY 10022-1758
KING & SPALDING LLP             https://www.kslaw.c                                                           04/25/2024       $ 200,577.50
1180 PEACHTREE STREET, NE       om/
SUITE 1600
ATLANTA, GA 30309
ALVAREZ & MARSAL NORTH          https://www.alvarez                                                           04/25/2024       $ 322,316.52
AMERICA LLC                     andmarsal.com/
600 MADISON AVE FL 8
NEW YORK, NY 10022-1758




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Debtor Name: Red Lobster Management LLC                                                                           Case Number: 24-02486

                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                                               SOFA Question 11: Payments related to bankruptcy



Who was paid or who received    Email or website        Who made payment,     If not money, describe any      Date             Amount
the transfer?                                           if not the debtor?    property transferred

BERGER SINGERMAN LLP            https://www.bergers                                                           04/25/2024       $ 81,495.93
300 SOUTH ORANGE AVENUE         ingerman.com/
SUITE 1000
ORLANDO, FL 32801
HILCO GLOBAL                    https://hilcoglobal.c                                                         04/25/2024       $ 100,000.00
5 REVERE DR                     om/
SUITE 206
NORTHBROOK, IL 60062
ALVAREZ & MARSAL NORTH          https://www.alvarez                                                           05/02/2024       $ 366,328.24
AMERICA LLC                     andmarsal.com/
600 MADISON AVE FL 8
NEW YORK, NY 10022-1758
KING & SPALDING LLP             https://www.kslaw.c                                                           05/02/2024       $ 298,628.37
1180 PEACHTREE STREET, NE       om/
SUITE 1600
ATLANTA, GA 30309
EPIQ CORPORATE                  https://www.epiqglo                                                           05/02/2024       $ 25,000.00
RESTRUCTURING LLC               bal.com/en-us
777 THIRD AVENUE
12TH FLOOR
NEW YORK, NY 10017
KING & SPALDING LLP             https://www.kslaw.c                                                           05/09/2024       $ 360,825.00
1180 PEACHTREE STREET, NE       om/
SUITE 1600
ATLANTA, GA 30309
BERGER SINGERMAN LLP            https://www.bergers                                                           05/09/2024       $ 79,421.16
300 SOUTH ORANGE AVENUE         ingerman.com/
SUITE 1000
ORLANDO, FL 32801
ALVAREZ & MARSAL NORTH          https://www.alvarez                                                           05/10/2024       $ 372,264.55
AMERICA LLC                     andmarsal.com/
600 MADISON AVE FL 8
NEW YORK, NY 10022-1758
BERGER SINGERMAN LLP            https://www.bergers                                                           05/16/2024       $ 285,112.18
300 SOUTH ORANGE AVENUE         ingerman.com/
SUITE 1000
ORLANDO, FL 32801
KING & SPALDING LLP             https://www.kslaw.c                                                           05/16/2024       $ 1,237,656.75
1180 PEACHTREE STREET, NE       om/
SUITE 1600
ATLANTA, GA 30309
ALVAREZ & MARSAL NORTH          https://www.alvarez                                                           05/16/2024       $ 1,001,659.58
AMERICA LLC                     andmarsal.com/
600 MADISON AVE FL 8
NEW YORK, NY 10022-1758
EPIQ CORPORATE                  https://www.epiqglo                                                           05/16/2024       $ 75,000.00
RESTRUCTURING LLC               bal.com/en-us
777 THIRD AVENUE
12TH FLOOR
NEW YORK, NY 10017
HILCO GLOBAL                    https://hilcoglobal.c                                                         05/16/2024       $ 9,397.06
5 REVERE DR                     om/
SUITE 206
NORTHBROOK, IL 60062
BLAKE, CASSELS & GRAYDON        https://www.blakes.                                                           05/17/2024       187,333.39
LLP                             com/
199 BAY STREET
SUITE 4000
COMMERCE COURT WEST
TORONTO, ON MGL 1A9
CANADA




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Debtor Name: Red Lobster Management LLC                                                                            Case Number: 24-02486

                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                                          SOFA Question 13: Transfers not already listed on this statement



Creditor Name and Address            Description of Property             Relationship to Debtor       Date         Amount


WELLS FARGO BANK NA                  Sale of investments in brokerage    None/Financial Institution   09/22/2023                  $ 5,457,605.11
ACCOUNT ANALYSIS                     account
NW 7091 PO BOX 1450
MINNEAPOLIS, MN 55485




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Debtor Name: Red Lobster Management LLC                                                                                    Case Number: 24-02486

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

SOFA Question 17: Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension
                                      or profit-sharing plan made available by the debtor as an employee benefit?

Name of Plan                                                     EIN                                                Terminated?


Deferred Compensation                                            XX-XXXXXXX                                         No

Management Incentive Unit Plan                                   XX-XXXXXXX                                         No

Red Lobster 401K Plan                                            XX-XXXXXXX                                         No

Red Lobster Performance Unit Plan (RLPU)                         XX-XXXXXXX                                         No




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                                                       SOFA Question 20: Off-premises storage



Storage Facility Name and Address      Access Names                 Address                     Contents                         Still Have It


3B2                                    Steven Lovely                55 A Concourse Way          POS Terminals, Kitchen Display   Yes
55 A Concourse Way                                                  Greer, SC 29650 United      Systems
Greer, SC 29650 United States                                       States
3B2                                    Steven Lovely                35 B Concourse Way          POS Terminals, Kitchen Display   Yes
35 B Concourse Way                                                  Greer, SC 29650 United      Systems
Greer, SC 29650 United States                                       States
Ingenico                               General Manager              6190 Shiloh Crossing        Payment Devices                  Yes
6190 Shiloh Crossing                                                Alpharetta, GA 30005
Alpharetta, GA 30005 United States                                  United States
Iron Mountain                          General Manager              2 Sun Court Norcross, GA    Paper records                    Yes
2 Sun Court                                                         30092 United States
Norcross, GA 30092 United States
SSI - Oak Brook                        Jon Leech                    122 W 22nd St Oat Brook,    Computer Equipment               Yes
122 W 22nd St                                                       IL 60527 United States
Oat Brook, IL 60527 United States
SSI- Montogomery                       Greg McArdle               2251 Cornell Ave              Computer Equipment               Yes
2251 Cornell Ave                                                  Montgomery, IL 60538
Montgomery, IL 60538 United States                                United States
Suddath Orlando Warehouse              Must contact warehouse for 4850 LB McLeod Rd             Kitchen Equipment, Samples and   Yes
4850 LB McLeod Rd                      access                     Orlando, FL 32811 United      RSC / Non Restaurant Furniture
Orlando, FL 32811 United States                                   States




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                               SOFA Question 25: Other businesses in which the debtor has or has had an interest



Business Name and Address                 Nature of Business Operation             EIN                             Existed From   Existed To


RED LOBSTER CANADA, INC.                  International Seafood Restaurant Chain   XX-XXXXXXX                      05/20/2018     Present
450 S ORANGE AVENUE
SUITE 800
ORLANDO, FL 32801
RED LOBSTER HOSPITALITY LLC               International Seafood Restaurant Chain   XX-XXXXXXX                      05/20/2018     Present
450 S ORANGE AVENUE
SUITE 800
ORLANDO, FL 32801
RED LOBSTER INTERNATIONAL HOLDINGS        International Seafood Restaurant Chain   XX-XXXXXXX                      05/20/2018     Present
LLC
450 S ORANGE AVENUE
SUITE 800
ORLANDO, FL 32801
RED LOBSTER OF BEL AIR, INC.              International Seafood Restaurant Chain   XX-XXXXXXX                      05/20/2018     Present
450 S ORANGE AVENUE
SUITE 800
ORLANDO, FL 32801
RED LOBSTER OF TEXAS, INC.                International Seafood Restaurant Chain   XX-XXXXXXX                      05/20/2018     Present
450 S ORANGE AVENUE
SUITE 800
ORLANDO, FL 32801
RED LOBSTER RESTAURANTS LLC               International Seafood Restaurant Chain   XX-XXXXXXX                      05/20/2018     Present
450 S ORANGE AVENUE
SUITE 800
ORLANDO, FL 32801
RED LOBSTER SOURCING LLC                  International Seafood Restaurant Chain   XX-XXXXXXX                      05/20/2018     Present
450 S ORANGE AVENUE
SUITE 800
ORLANDO, FL 32801
RL COLUMBIA LLC                           International Seafood Restaurant Chain   XX-XXXXXXX                      05/20/2018     Present
450 S ORANGE AVENUE
SUITE 800
ORLANDO, FL 32801
RL KANSAS LLC                             International Seafood Restaurant Chain   XX-XXXXXXX                      05/20/2018     Present
450 S ORANGE AVENUE
SUITE 800
ORLANDO, FL 32801
RL MARYLAND, INC.                         International Seafood Restaurant Chain   XX-XXXXXXX                      05/20/2018     Present
450 S ORANGE AVENUE
SUITE 800
ORLANDO, FL 32801
RL OF FREDERICK, INC.                     International Seafood Restaurant Chain   XX-XXXXXXX                      05/20/2018     Present
450 S ORANGE AVENUE
SUITE 800
ORLANDO, FL 32801
RL SALISBURY, LLC                         International Seafood Restaurant Chain   XX-XXXXXXX                      05/20/2018     Present
450 S ORANGE AVENUE
SUITE 800
ORLANDO, FL 32801
RLSV, INC.                                International Seafood Restaurant Chain   XX-XXXXXXX                      05/20/2018     Present
450 S ORANGE AVENUE
SUITE 800
ORLANDO, FL 32801




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      SOFA Question 26a: List all accountants and bookkeepers who maintained the debtor 's books and records within 2 years before filing this case.



Name and Address                                                                                        From                      To


SCHMIDT,DAVID                                                                                           05/20/2022                09/09/2022
450 SOUTH ORANGE AVENUE
SUITE 800
ORLANDO, FL 32801
CAPUTO,ADELE TAYLOR                                                                                     05/20/2022                09/16/2022
450 SOUTH ORANGE AVENUE
SUITE 800
ORLANDO, FL 32801
MCCLAIN,PHILIP B                                                                                        05/20/2022                12/15/2023
450 SOUTH ORANGE AVENUE
SUITE 800
ORLANDO, FL 32801
PEREIRA,MEERA                                                                                           05/20/2022                Present
450 SOUTH ORANGE AVENUE
SUITE 800
ORLANDO, FL 32801
MEDLEY, STEPHANIE                                                                                       02/05/2024                Present
450 SOUTH ORANGE AVENUE
SUITE 800
ORLANDO, FL 32801




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 SOFA Question 26d: List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issues a financial
                                                          statement within 2 years before filing this case.


 Name and Address



The Debtors have historically provided financial statements to various interested parties over the past two years, including, but not limited to, insurance carriers,
lenders and financial institutions, landlords, material vendors, advisors and others. The Debtors do not maintain records of the parties who have requested or
obtained copies.




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SOFA Question 28: List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
                                                    control of the debtor at the time of the filing of this case.


Name                                       Address                                                     Position                              % Interest


RED LOBSTER INTERMEDIATE                   450 S ORANGE AVE STE 800                                    Member                                             100
HOLDINGS LLC                               ORLANDO, FL 32801-3344
HIRSH, LAWRENCE R                          450 S ORANGE AVE STE 800                                    Independent Director
                                           ORLANDO, FL 32801-3344
TIBUS, JONATHAN                            450 S ORANGE AVE STE 800                                    Chief Executive Officer
                                           ORLANDO, FL 32801-3344
HAUGHEY, NICHOLAS                          450 S ORANGE AVE STE 800                                    Chief Restructuring Officer
                                           ORLANDO, FL 32801-3344
MEDLEY, STEPHANIE B                        450 S ORANGE AVE STE 800                                    Executive Vice President, Chief
                                           ORLANDO, FL 32801-3344                                      Financial Officer and Treasurer
BITTORF, SARA                              450 S ORANGE AVE STE 800                                    Executive Vice President, Chief
                                           ORLANDO, FL 32801-3344                                      Experience Officer
HARRS, SHAWN                               450 S ORANGE AVE STE 800                                    Executive Vice President, Chief
                                           ORLANDO, FL 32801-3344                                      Information Officer
LIVESAY, MATTHEW P                         450 S ORANGE AVE STE 800                                    Executive Vice President, Chief
                                           ORLANDO, FL 32801-3344                                      Procurement Officer
PAVEL, SUSAN K                             450 S ORANGE AVE STE 800                                    Executive Vice President, Human
                                           ORLANDO, FL 32801-3344                                      Resources
HERON, TONYA T                             450 S ORANGE AVE STE 800                                    Vice President, Division General
                                           ORLANDO, FL 32801-3344                                      Counsel and Secretary
PEREIRA, MEERA                             450 S ORANGE AVE STE 800                                    Vice President, Controller and
                                           ORLANDO, FL 32801-3344                                      Assistant Treasurer




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  SOFA Question 29: Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
                           control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

Name                              Address                                              Position                             Start            End


Kenny, Paul                       450 South Orange Avenue                              Interim Chief Executive Officer      09/30/2022       09/06/2023
                                  Suite 800
                                  Orlando, FL
Kenny, Paul                       450 South Orange Avenue                              Director / Manager                   09/30/2022       12/23/2023
                                  Suite 800
                                  Orlando, FL
Tapanya, Trin                     450 South Orange Avenue                              Chief Operating Officer              01/30/2022       03/24/2024
                                  Suite 800
                                  Orlando, FL
Dawson, Horace G. III             450 South Orange Avenue                              Chief Executive Officer; Former      09/18/2023       03/31/2024
                                  Suite 800                                            EVP, General Counsel
                                  Orlando, FL
McClain, Philip                   450 South Orange Avenue                              EVP, Chief Financial Officer         08/29/2022       12/15/2023
                                  Suite 800
                                  Orlando, FL
Trevino, Patricia                 450 South Orange Avenue                              Chief Marketing Officer              01/31/2022       05/12/2024
                                  Suite 800
                                  Orlando, FL
Whitlow, Jarrett                  450 South Orange Avenue                              SVP Concept Development &            05/31/2021       08/13/2023
                                  Suite 800                                            International
                                  Orlando, FL
Blanchette, Ray                   450 South Orange Avenue                              Chief Transformation Officer         12/01/2023       03/15/2024
                                  Suite 800
                                  Orlando, FL
Stamm, Robert                     450 South Orange Avenue                              SVP, Chief Development and           10/01/2018       06/22/2023
                                  Suite 800                                            Facilities Officer
                                  Orlando, FL
Wentz, Douglas                    450 S Orange Avenue                                  VP, General Counsel                  04/09/2001       10/01/2023
                                  Suite 800
                                  Orlando, FL




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